Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 1 of 585




                   EXHIBIT B
    Case 1:21-cv-00119-RDM             Document 149-2        Filed 01/12/24      Page 2 of 585



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY, ET
 AL.
                   Plaintiffs,
            v.
                                                           CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, ET AL.
                   Defendants.




                             DECLARATION OF MARY DUNCAN

       1.        My name is Mary Duncan. I serve as in the Threatened and Endangered Species

Coordination role for the Florida Department of Environmental Protection (FDEP).

       2.        I declare under penalty of perjury under the laws of the United States of America

and the State of Florida that the following statements are true and correct to the best of my

knowledge and belief.

       3.        In my current role, I help to coordinate regulatory staff engagement for the Florida

Section 404 Program (as well as the Florida Environmental Resource Permit Program). I am

involved in ensuring that FDEP receives the benefit of comments and other assistance from state

and federal regulatory agencies, including the Florida Fish and Wildlife Conservation Commission

(“FWC” or “Commission”) as well as the U.S. Fish and Wildlife Service (FWS) and the National

Marine Fisheries Service (NMFS), where applicable.

       4.        The “Florida Endangered and Threatened Species Act,” Fla. Stat. 379.2291,

recognizes that the State of Florida “harbors a wide diversity of fish and wildlife.” This law

establishes Florida’s policy to “conserve and wisely manage these resources, with particular


                                                  1
    Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 3 of 585




attention to those species defined by the Fish and Wildlife Conservation Commission, the

Department of Environmental Protection, or the United States Department of Interior, or successor

agencies, as being endangered or threatened.” Id. The policy of Florida is to “provide for research

and management to conserve and protect these species as a natural resource.” Id.

       5.      FDEP is a party to a Memorandum of Understanding (MOU) between FDEP, FWC,

and U.S. Fish and Wildlife Service (FWS). The MOU, which was entered as part of Florida’s

Section 404 Program application, describes the roles, responsibilities, and commitments of each

agency in implementing the Florida Section 404 Permit Program. Coordination procedures are

further outlined in Rule 62-331 of the Florida Administrative Code, and in the FWS Programmatic

Biological Opinion and Incidental Take Statement that accompanied federal approval of Florida’s

program. These procedures ensure that endangered and threatened federally and state listed species

and their critical habitats are protected as an integral part of the State 404 Program.

       6.      FDEP participates in the “Endangered and Threatened Species Technical Team,”

which is comprised of FWC, FWS, and FDEP experts, and convenes regularly to discuss specific

projects and improvements to coordination procedures. The team has worked together to provide

training to FWC, FWS, and FDEP staff regarding species review procedures.

       7.      FWC and FWS coordinate on a proposed project’s effect on listed species before a

Florida Section 404 permit is issued in accordance with the procedures set forth in the MOU, the

Programmatic Biological Opinion, and the Florida 404 Handbook, among other places.

       8.      FWC and FWS are provided an opportunity to review all Section 404 permit

applications with reasonable potential for affecting endangered or threatened species. Wherever a

project may have the potential to affect listed species, FWC (in coordination with FWS) provides

a combined federally and State-listed technical assistance letter to FDEP to ensure that the




                                                  2
    Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 4 of 585




requirements of the Federal ESA and the Florida ESA are met. Importantly, FDEP must

incorporate as permit conditions all recommended impact avoidance and minimization measures

(protection measures) provided by FWC or FWS under their respective authorities, to avoid

jeopardizing listed species or adversely modifying designated or proposed critical habitat.

       9.      If FWC or FWS concludes that a permit application is inconsistent with State

statutes and rules, or for federally listed species is likely to jeopardize or adversely modify

designated critical habitat and no protection measures are available to reduce the risk to an

acceptable level, FDEP “shall deny the permit or shall take no action [on the permit] and notify

EPA and the applicant of the decision…”

       10.     During the July 2021 to June 2022 time period, 115 permit applications for Section

404 permits showed reasonable potential for affecting federally listed species. Those applications

were reviewed by FWC (and FWS), and appropriate conditions were included in the permits to

ensure protection of species. Likewise, during the July 2022-June 2023 time period, the species

review process involved approximately 500 species-specific “effect” determinations involving

over 30 listed species. Again, those applications were reviewed by FWC (and FWS), and

appropriate conditions were included in the permits to ensure protection of species.

       11.     It is my understanding that, in this case, certain plaintiffs have sought emergency

relief based on concerns of potential impacts to the Florida panther and the Audubon’s crested

caracara in the context of two individual permit applications. Both species are highly protected

within the State of Florida through the Florida ESA and the Federal ESA. See Fla. Admin. Code

R. 68A-27.003(1)(b) (listing both of these species and providing that they “shall be afforded the

protection afforded under [FWC] rules and Florida Statutes and under the Federal Endangered

Species Act, 16 U.S.C. §1531 et seq. and its implementing regulations”).




                                                3
    Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 5 of 585




       12.     A subspecies of puma that historically roamed much of the southeastern United

States, the Florida panther (Puma concolor coryi) is widely recognized as the last puma population

in the eastern United States. The State of Florida has sought to protect, conserve, and recover the

Florida panther for over a half century. In 1958, FWC (then known as the Florida Game and Fresh

Water Fish Commission) declared the Florida panther to be an endangered species protected under

Florida law. Federal law has protected the Florida panther since 1967.

       13.     According to most recent estimates, the current panther population size is estimated

to be within the range of 120 to 230 individuals.

       14.     The State of Florida has established a Florida Panther Protection Program, as

described on the FWC website at https://myfwc.com/wildlifehabitats/wildlife/panther/.

       15.     FWC and FWS have formed the “Florida Panther SSA Core Team,” which prepares

a “Species Status Assessment for the Florida Panther.” The most recent SSA for the Florida

Panther was published in September 2020 and is attached to this Declaration as Attachment A.

This           report          is           also          publicly           available           at

https://myfwc.com/media/29517/floridapantherssa_version1.pdf.

       16.     FWC also prepares an annual report on efforts to protect the Florida panther. The

“Annual Report on the Research and Management of Florida Panthers: 2022-2023,” which was

published in December 2023, is enclosed with this declaration as Attachment B. The report is also

available for public review at https://myfwc.com/media/32666/pantherannualreport2023.pdf.

       17.     The State of Florida has focused on conservation efforts benefitting the Florida

panther, including mapping suitable habitats, conducting population survey work, working to

develop greater habitat connectivity through construction of new wildlife crossings, developing




                                                    4
    Case 1:21-cv-00119-RDM           Document 149-2         Filed 01/12/24      Page 6 of 585




additional scientific information to better understand the threats and opportunities for panther

populations, and educating the public.

       18.     FWC’s “current panther research and management priorities include, but are not

limited to: monitoring genetic variation and correlates of inbreeding; evaluating the long-term

impacts of genetic restoration; assessing the presence and impacts of diseases and parasites;

investigating the cause, epidemiology, and impact of FLM in panthers and bobcats; assessing the

utility of integrated population models to estimate population size and demographic variables;

delineating statistically robust methods to estimate the panther population size; evaluating the

utility of new GPS collar technology and transponders to monitor kitten survival; minimizing loss

of existing panther habitat; addressing human caused and other mortality factors; and reducing

human-panther conflicts.” Florida Panther Annual Report: 2022-2023 at 9.

       19.     As explained in the most recent species assessment report: “Florida panthers have

shown and continue to show resiliency in the face of many pressures. Panthers survived as the only

functioning population of puma in eastern North America despite constant persecution to eliminate

them from the landscape. Since state and federal laws afforded them legal protections, panther

numbers slowly increased until genetic restoration efforts improved population health thereby

allowing more rapid growth of the population. The current panther population, at least 5-fold larger

in size when compared to the population 3 decades ago, has greater resiliency today than it has

exhibited for likely well over 100 years.” Species Status Assessment for the Florida Panther at viii.

       20.     While continued conservation efforts are vital, the State of Florida is continuing to

make progress on recovering panther populations.




                                                 5
    Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 7 of 585




       21.     One of the means of advancing recovery efforts is the State of Florida’s continued

practice of obtaining commitments from Florida permit applicants for mitigation benefitting

Florida panther populations.

       22.     FWC and FWS have been actively engaged in the review of the Section 404 permit

application review process for the Bellmar Villages Project.

       23.     In January 2021, just weeks after FDEP received the permit application, an FWC

biological scientist sent a Request for Additional Information related to this project (Attachment

C). Among other things, FWC requested a species survey containing dates of surveys, habitat,

survey methodology, and wildlife observed; a list of potentially affected federally and state listed

species, including species in the vicinity of the project that may be affected (and specifically

requested information related to the Florida panther, among other species); preliminary

determinations of effect for listed species and anticipated adverse impacts to listed species; a

description of how the project will be designed to avoid and minimize adverse effects and impacts

to fish and wildlife; and an analysis of any cumulative and secondary effects, including the effects

of future state or private activities that are reasonably certain to occur within the project area.

       24.     In May 2022, FWC provided comments to FDEP on the project (Attachment D),

explaining that, among other things, FWC determined that the proposed project “may affect but is

not likely to adversely affect” the Audubon’s crested caracara, but that the project “may affect and

is likely to adversely affect the Florida panther…” FWC explained that “FWC staff will work with

USFWS staff, [FDEP] staff, and the applicant to determine any necessary permit conditions for

the State 404 permit…”

       25.     After receiving and reviewing extensive additional species-related information,

FWC in coordination with the FWS provided additional comments to FDEP for this project




                                                   6
    Case 1:21-cv-00119-RDM           Document 149-2         Filed 01/12/24      Page 8 of 585




approximately 16 months later in a letter dated September 18, 2023 (Attachment E). The FWC

letter explains that FWC staff reviewed the Bellmar Villages permit application and was providing

FWC’s “comments, recommendations, and permit conditions” to support FDEP’s review of the

State 404 permit application. In preparing these comments, FWC coordinated with FWS and

incorporated their recommended requirements to ensure the conservation of Florida’s federally

listed wildlife and their habitats. The FWC letter provides information on the proposed project and

potentially affected species, along with comments and recommendations related to various species,

including the Florida panther and Audubon’s Crested Caracara, among others. With regard to the

Florida panther, FWC’s letter stated the finding that the proposed project “may affect, and is likely

to adversely affect” the Florida panther but “is not likely to jeopardize” the species. One basis for

this finding was that the loss of 1,793 acres of Florida panther habitat “represents a small portion

of its overall range (0.15 percent).” FWC and FWS also considered that the applicant’s proposed

mitigation would provide compensation resulting in a net increase of Panther Habitat Units.

       26.      FWS submitted its State 404 Permit Application Review/Response Form to FWC

for this project on September 14, 2023 and provided a revised copy with minor edits in October

2023 (Attachment F). This FWS report provides FWS’s opinion concerning the effects of the

proposed project on listed species, including the Florida panther and Audubon’s crested caracara,

among others.

       27.      For purposes of conservation of the Florida panther, as part of the permit process

for the Bellmar Villages Project, the permit applicant is required to, among other things, fully fund

the construction of five wildlife crossings within the geographic region in locations designed to

provide valuable wildlife movement corridors that will benefit Florida panthers.




                                                 7
    Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 9 of 585




       28.     The project proponent will also be required to make substantial monetary

contributions to a wildlife conservation fund (Marinelli Panther Protection Fund), which exists to

support panther conservation efforts in South Florida. This fund supports activities such as

construction of additional wildlife crossings and fencing, habitat acquisition and restoration,

corridor enhancement, public education and outreach focused on wildlife conservation, and

scientific research relevant to species conservation.

       29.     Physical buffers (such as lakes and/or fencing) are also required in key project

locations, as a means to prevent human encounters with panthers. The project proponent is also

required to disseminate educational materials to help inform the public about safety tips and

instructions for panther encounters. Additionally, this project must ensure that homes in these new

communities are subject to restrictive covenants requiring pets to be indoors or on leash when

outdoors (or secured in covered kennels).

       30.     The Bellmar Villages Project is also anticipated to have impacts on the Audubon’s

crested caracara, which is a highly protected species in Florida. This osprey-sized raptor is a

boldly-patterned, dark-colored bird that can reach a body length of approximately two feet. In the

context of the Bellmar project, FWC and FWS jointly require that, prior to conducting any clearing

activities within approximately 5,000 feet of any previously documented or newly discovered

crested caracara nest site, the applicant must conduct a survey during nesting season (January 1

through April 30) to determine if any documented or discovered nest is active. This survey must

include potential nesting and foraging habitat within the buffer zone.

       31.     Likewise, to minimize the potential for disturbance to nesting caracaras, the

permittee must conduct land clearing activities outside nesting season for areas that occur within

the primary zone of any documented caracara nest site. Restoration activities are also required to




                                                 8
   Case 1:21-cv-00119-RDM             Document 149-2        Filed 01/12/24      Page 10 of 585




ensure that nesting and foraging areas are put back in place. All such restoration activities must be

performed in consultation with FWS and FWC field staff. And restored areas must be maintained

in perpetuity and managed in a condition that supports use by crested caracara. These and other

measures, as required by FWC and FWS, are designed to protect this species from jeopardy and

to enhance recovery of the species over the long-term.

        32.       In addition to those documents listed above, the species review documents in the

current permit file for the Bellmar Villages Project include: Proposed Wildlife Crossing Plans;

Listed Species Management and Human-Wildlife Coexistence Plan; Applicant-prepared

Biological Assessment with Revised BA Part 1 and Revised BA Part 2; Listed Species Survey

Report (July 2021); and Request for Additional Information Response – Biological Assessment.

All of these documents are available for public review on the FDEP Information Portal.

        33.       I understand that Movants are also seeking to enjoin further agency action on the

Kingston Project. FWC has been actively engaged in reviewing this project since the permit

application was filed in June 2022.

        34.       FWC provided initial comments in July 2022 (Attachment G) and additional final,

combined comments in a letter dated November 6, 2023 (Attachment H) after extensive

additional information was submitted. FWS provided its State 404 Permit Application

Review/Response Form to FWC for this project in October 2023 (Attachment I).

        35.       As shown in these reports, FWC has coordinated with FWS in the review of

measures necessary to ensure the conservation of Florida’s federally listed wildlife and their

habitats, and has identified conditions and other provisions related to conservation of federally

listed species.




                                                  9
   Case 1:21-cv-00119-RDM           Document 149-2       Filed 01/12/24     Page 11 of 585




          36.   In addition to those documents listed above, the species review documents in the

current permit file for the Project include an Applicant-prepared Biological Assessment

(containing 550 pages of documentation), including Species Survey, and the Revised Biological

Assessment submitted in December 2022; as well as the Applicant-prepared Environmental

Supplement (containing over 600 pages of documentation); and various other environmental and

species-related documents. These are readily available for public review via the FDEP Information

Portal.

Executed on the 12th day of January, 2024.




                                             Mary Duncan
                                             Threatened and Endangered Species Coordination
                                             Florida Department of Environmental Protection




                                               10
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 12 of 585




                  Attachment A
Case 1:21-cv-00119-RDM   Document 149-2    Filed 01/12/24   Page 13 of 585




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER




                            Prepared by:
                    Florida Panther SSA Core Team
                             Version 1.0
                         01 September 2020
   Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 14 of 585



Florida Panther SSA Core Team:

Randy Kautz
Wildlife Ecologist
Randy Kautz Consulting LLC
Retired from Florida Fish and Wildlife Conservation Commission

Darrell Land
Florida Panther Team Leader
Florida Fish and Wildlife Conservation Commission

David Onorato, PhD.
Research Scientist, Florida Panther Project
Florida Fish and Wildlife Conservation Commission

David Shindle
Florida Panther Coordinator
Florida Ecological Services Field Office – Vero Beach
U.S. Fish and Wildlife Service



Acknowledgements:

Past and present staff of the Florida Fish and Wildlife Conservation Commission (FWC), U. S. Fish and
Wildlife Service (USFWS), and National Park Service (NPS) – produced an enormous body of work that
served as the foundation of this Species Status Assessment (SSA).

FWC's panther research and management activities are funded almost entirely by the Florida Panther
Research and Management Trust Fund. This trust fund is supported principally by the sale of Florida
panther license plates. Through the long-term public support of the trust fund, critical information
gained from the FWC’s monitoring and research efforts continues to provide conservation managers and
the public with timely, science-based information needed to guide current and future conservation
actions. Substantial portions of this SSA were products of trust fund appropriations. The FWC panther
research and management group would like to thank the citizens of Florida that continue to support our
efforts to conserve and manage panthers via contributions to this fund.

All Florida Panther Recovery Team members since 1981.

Mark Cunningham (FWC), Lara Cusack (FWC), Elina Garrison (FWC), Jeffrey Hostetler (FWC), Madan Oli
(University of Florida), Ian Bartoszek (Conservancy of Southwest Florida), and Justin Spring (Boone and
Crockett Club).

USFWS reviewers: Jack Arnold, Matthew Dekar, Roxanna Hinzman, and Erin Rivenbark.

Peer reviewers: Rich Beausoleil (Washington Department of Fish and Wildlife), Warren Johnson, PhD
(Smithsonian Conservation Biology Institute), Ken Logan, PhD (Colorado Parks and Wildlife), and Melissa
Tucker, PhD (FWC).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         ii
   Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24        Page 15 of 585



Recommended Citation:

USFWS. 2020. Species Status Assessment for the Florida Panther. Version 1.0 September, 2020. Vero
Beach, Florida.

Cover photo: Adult female Florida panther captured with infrared-triggered camera at Babcock Ranch
Preserve, Charlotte County, Florida on 7 February 2018. This panther was documented with nursed
teats in January 2017 and was later photographed traveling with 2 kittens in March 2017, the same
week that another adult female was documented in neighboring Highlands County. These are the first
female panthers confirmed north of the Caloosahatchee River since Mr. Roy McBride treed a female in
Glades County west of Lake Okeechobee in 1973, a period of time when the only breeding population of
puma in the eastern United States was estimated at ≤10 individuals, all in South Florida. ©Carlton
Ward, Jr. with Florida Fish and Wildlife Conservation Commission.



                                    The wealth of scientific information on Florida panthers that forms
                                    the foundation for this SSA is due in large part to the efforts of Mr.
                                    Roy T. McBride (Livestock Protection Company, Alpine, Texas), one
                                    of North America’s preeminent experts on Puma concolor. Mr.
                                    McBride’s field surveys in the early 1970s on behalf of the World
                                    Wildlife Fund provided the first status assessment of the Florida
                                    panther as a federally protected species. Roy served as the State
                                    of Florida’s contract houndsman for 38 years and his knowledge
                                    and expertise were instrumental in guiding the panther recovery
                                    efforts of FWC, NPS, and USFWS. Roy was assisted in his efforts by
                                    Rocky McBride, Rowdy McBride, Cougar McBride and the true
                                    panther experts, the generations of hounds that trailed and safely
                                    treed hundreds of panthers for the teams of agency panther
                                    biologists. Photo courtesy of Ms. Connie Bransilver.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       iii
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 16 of 585
                                                                                    EXECUTIVE SUMMARY


                                          EXECUTIVE SUMMARY

The Florida panther (Puma concolor coryi) has been listed as an endangered species under the 1966,
1969 and 1973 Acts pertaining to endangered species conservation and was included in the 1966 Red
Book list of endangered species citing works by Cahalane (1964) and Young and Goldman (1946). The
panther population in Florida has been recognized since the early 1900s as the last puma population in
the eastern United States and numerous publications touted its conservation importance prior to its
listing as an endangered subspecies of puma under the Endangered Species Act (ESA). In this Species
Status Assessment (SSA) for the Florida panther, we use the term “puma” for members of the species in
populations outside of Florida and the terms “panther” or “Florida panther” for the listed entity and the
Florida population.

This SSA evaluates the current status of the Florida panther as well as an assessment on the risk of
extinction in the future. This SSA applies the conservation biology principles of resiliency, redundancy,
and representation (the 3 R’s) to evaluate the current and future condition of the Florida panther.
Resiliency, redundancy, and representation are interconnected and overlapping principles that
collectively contribute to the viability of a species. We also introduce the concept of a fourth “R,”
namely resistance, which describes the willingness of people to accept the species on the landscape.
Outdoor recreationalists and rural residents may be concerned about sharing wild spaces with a large
carnivore; livestock producers may be concerned about economic losses inflicted by predation;
landowners may be concerned about whether regulatory burdens accompany panthers; and citizens in
general may be concerned about costs associated with recovery initiatives. The SSA provides a
compilation of the best available scientific information on the biological status of the Florida panther but
it is not a decisional document (does not include any recommendations or decisions regarding the status
of the listed entity). The SSA is, however, a stand-alone, science-focused assessment for use in policy-
guided decisions under the ESA and to inform future Florida panther conservation and management
efforts.

The Florida panther was first described as a unique subspecies of puma, one of 15 subspecies described
for North America, on the basis of morphological characteristics (cranial features and pelage color)
measured and qualitatively assessed from a limited number of museum specimens, a taxonomic
assessment that would not meet the standards of modern science. The Cat Classification Task Force
(CCTF), an expert group convened on behalf of the International Union for Conservation of Nature
(IUCN) Species Survival Commission (SSC) Cat Specialist Group and the IUCN Red List Unit, recognized 2
subspecies within Puma concolor based on phylogenetic studies and biogeography. Based on this 2017
publication, pumas distributed in North and Central America, including the panther population, would
be recognized as P. c. couguar. For the purpose of this SSA, we assessed the Florida panther as
representing the only breeding population of puma in the eastern United States, a characterization
consistent with the population's status at the time of the original 1967 listing and consistent with the
proposed taxonomic revisions for puma adapted by the CCTF of the IUCN/SSC Cat Specialist Group in
2017.

Pumas are the most widely distributed mammal in the Western Hemisphere, and historically were
distributed across most of North and South America. Habitat loss, declining prey populations, and
persecution resulting from European settlement were the primary causes of the decline of pumas in

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         iv
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 17 of 585
                                                                                    EXECUTIVE SUMMARY


North America, including the Florida panther. By the late 1890s, pumas had been extirpated from all of
eastern North America except for a small population in Florida. In 1958, the Florida panther was so rare
that the State of Florida designated panthers as endangered, and the federal government followed suit
in 1967. Status surveys conducted in 1973 and 1974 found only one female in Glades County west of
Lake Okeechobee and a handful of others in the Big Cypress region of South Florida.

The Florida panther currently exists as a single breeding population located in South Florida and remains
the only breeding population of puma east of the Mississippi River. Occurrence data indicate that
panthers currently are distributed from the extreme southern portions of the peninsula into Central
Florida up to Interstate 4 (I-4) and occasionally further north, but these panthers are typically dispersing
males from the core breeding population in South Florida. The longest panther dispersal is > 800 km
when a male panther originating in Hendry County, FL was shot and killed in Troup County, GA near the
Alabama border in 2008. Panther dispersal is constrained by urbanized coasts, land use changes and the
dredged Caloosahatchee River. Female panthers are philopatric and as a result, the natural expansion
of a breeding range can be a slow process. A minimum of three adult female panthers and at least four
litters of kittens have been documented in Charlotte, Glades, and Highlands County between November
2016 and June 2020, the first time since 1973 that females have been confirmed north of the
Caloosahatchee River. Nevertheless, it is too soon to conclude that this marks an expansion of the
breeding range given the absence of evidence that kittens born north of the Caloosahatchee River have
survived to independence and successfully reproduced. It took about 20 years for females to repopulate
areas 40 km north of the Big Cypress region occupied by the remnant panther population in the 1970s
and it took over 40 years for females to be documented in areas north of the Caloosahatchee River,
approximately 60 km north of the Big Cypress region.

The estimated census population size may have been as low as 6 panthers for two bottleneck
generations in the late-1960s based on genetic analyses, and as low as 10 individuals in 1974 based on
field surveys. The minimum panther population size was 20–30 animals in the 1970s through the early
1990s but has been increasing steadily since the introduction of 8 female pumas from Texas into South
Florida in 1995, a successful management action that restored the genetic health of a panther
population suffering the effects of inbreeding depression and described as being on the brink of
extinction. The size of the panther population in areas south of the Caloosahatchee River identified as
suitable habitat was reported to be 120–230 adults and subadults in 2015. A scientific estimate of
population size based on highway mortality of radio-collared panthers indicated that the population
may have been as large as 414 panthers in 2017, but the estimate had a margin of error of 222–773
panthers, which is too wide to inform conservation decisions. Florida panther population density
estimates of independent-aged panthers over time have been as low as 0.91/100 km2, but the
increasing size of the panther population post-genetic introgression has resulted in higher densities of
independent-aged panthers in the range of 1.37–4.03/100 km2 in occupied habitats on public and
private lands in South Florida.

Conservation planning for panthers involves mapping suitable habitats, identifying source and sink
populations, managing populations for low mortality, minimizing conflict with humans, and identifying
and protecting landscape linkages to connect populations. Florida panthers require large landscapes to
meet their biological needs and minimum areas needed to support viable populations of panthers and
pumas have been estimated at 1000–8100 km2. The U.S. Fish and Wildlife Service (USFWS) and the
Florida Fish and Wildlife Conservation Commission (FWC) utilized extensive panther occurrence data in

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          v
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 18 of 585
                                                                                    EXECUTIVE SUMMARY


South Florida, including telemetry data, locations of mortalities associated with vehicle collisions,
depredation locations, and confirmed sightings in conjunction with the latest peer-reviewed panther
habitat model to delineate the Functional Zone, which is the only area known to support a viable
population of panthers based on the results of recent habitat and PVA modeling. The Functional Zone
encompasses 9094 km2 of occupied habitat in South Florida and supports a panther population that is
demographically viable but will require periodic introduction of new genetic material to be viable in the
long-term, perhaps as many as five female puma every 20–40 years.

The process used to delineate the Functional Zone would not be applicable statewide because the
habitat model used was restricted to South Florida and the lack of panthers statewide means there are
little to no occurrence data to further refine the model output. We did however use a modified
statewide habitat model to identify unique patches of panther habitat that matched or exceeded
characteristics of occupied habitat in South Florida. Areas of North Florida most likely to support viable
populations of panthers that would function as source populations in the future include the Big Bend
region and Apalachicola National Forest. Another 15 patches of suitable habitat >217 km2 in size (mean
home range of female panthers) distributed around Florida may have the potential to support small
subpopulations of panthers if connectivity to source populations can be maintained. Many potentially
suitable panther habitat patches we identified in Florida are fragmented by exurban, rural, and
agricultural development and by busy highways, which may limit their capacity to accommodate
panthers in the future.

Anthropogenic factors that affect what panthers need for long-term viability include habitat loss and
fragmentation, mortality associated with vehicle collisions, human-panther conflicts, illegal shootings,
infectious diseases, and an emerging neuromuscular disorder of unknown origin. Habitat loss in the
form of agricultural conversion and urbanization associated with a continually increasing human
population is a primary threat to the long-term viability of the panther population in South Florida and
to the potential for population expansion north of the Caloosahatchee River. The genetic consequences
of small populations have the potential to adversely affect panther populations and likely will require
management in the form of future introductions of new genetic material into the Florida population.
Vehicle collisions are a significant source of mortality and directly impact the panther population
through reduction in panther numbers and potential for population expansion. Human-panther
conflicts, including depredations of pets, hobby livestock as well as calves, and human intolerance may
adversely affect conservation efforts and result in permanent removal of panthers from the wild.
Concerns over calf depredation and an aversion to government involvement in ranch management have
the potential to compromise panther population expansion north of the Caloosahatchee River in areas
used for cattle operations. Several infectious disease agents (e.g., Pseudorabies Virus and Feline
Leukemia Virus) have proven to cause mortality in panthers, and the risk of outbreak from these and
novel infectious agents remains a threat to the health and recovery of the population.

The efforts of Hostetler et al. (2013) and van de Kerk et al. (2019) utilized the long-term datasets
collected on panthers to develop robust estimates of demographic parameters that would subsequently
be used in PVA models. The matrix based PVA model of Hostetler et al. (2013) utilized data collected
from 1981–2006. This model revealed a population growth rate (λ) indicative of a growing population; λ
was most sensitive to estimates of survival, especially kittens; and the probability of quasi-extinction in
the next 100 years was low at 7.2 percent. The van de Kerk et al. (2019) PVA model followed up on the
work for Hostetler et al. (2013) and included data from 1981 to 2013. Analytical techniques of van de

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        vi
   Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24        Page 19 of 585
                                                                                     EXECUTIVE SUMMARY


Kerk et al. (2019) were similar in many respects with Hostetler et al. (2013). Additional analyses
involved the implementation of an individually based PVA model (IBM) as well as assessing varied
genetic introgression management scenarios for effectiveness and cost. This model revealed λ
indicative of a growing population; λ was most sensitive to estimates of survival, especially kittens; the
probability of quasi-extinction within the next 100 years was only 1.4 percent. The probability of quasi-
extinction was substantially higher (17 percent) within the next 100 years when incorporating a failure
to address genetic erosion.

Assessing varied introgression scenarios via the introduction of western pumas into the Florida
population, which accounted for genetic improvements and the monetary costs of implementation,
revealed that releasing 5 pumas every 20–40 years would help decrease the probability of quasi-
extinction by 26 percent to 42 percent in the future. Whereas the panther population in South Florida is
noted as being viable for the next 100 years under current conditions, the impact of genetic erosion
substantially reduces said viability if genetic introgression is not implemented on a periodic basis.

Population projections indicate that approximately 14.9 million new residents are likely in Florida by
2070, and the population of Lee, Collier, and Hendry counties, where most panthers are currently found,
will increase by 1.27 million new residents. The combined effects of future land development and sea
level rise have the potential to cause loss of panther habitat, which could affect the viability of current
and future panther populations. Assessments were made of near-term loss of panther habitats through
2040, long-term loss of habitat through 2070, and very long-term loss of habitat through 2100. Planned
developments south of the Caloosahatchee River would result in the loss of 581 km2 (6 percent) of
Functional Zone panther habitats through 2040. A rise in sea level of 0.5 m by 2040 would result in the
loss of 973 km2 (11 percent) of Functional Zone habitats along the southern fringe of the Big Cypress and
Long Pine Key regions. Future developments in South Florida also have the potential to reduce the area
and functionality of critical landscape linkages, which in turn would compromise the ability of panthers
to disperse out of South Florida in the future. A smaller panther population would become less viable in
the long-term. Resiliency, redundancy and representation would all decrease over time if the only
viable population is constrained to South Florida. Resistance would be expected to remain near current
levels.

Statewide models of future development in Florida through 2070 project the loss of approximately 3.7
percent to 5.5 percent of all areas mapped as potentially suitable panther habitat in Florida, depending
on the amount of land placed into conservation. Only one patch (Okaloacoochee Slough) of potentially
suitable panther habitat remaining by 2070 would fall below the mean adult female home range size of
217 km2, and it is projected to only shrink slightly to 213–216 km2, depending on growth model. Future
developments projected through 2070 are likely to effectively isolate the Green Swamp and
Withlacoochee regions, rendering them incapable of supporting panthers. Landscape linkages between
the Avon Park/Bull Creek and St. Johns River South regions and between the Ocala National Forest and
Osceola National Forest regions are likely to be compromised by future developments without
additional land conservation efforts. Sea levels could rise as much as 0.3 m to 2.5 m by 2100. Sea level
rise models of 0.52 m, 1.04 m, 1.5 m, and 2.0 m were used to estimate possible loss of panther habitat
through 2100. Occupied panther habitats in the Long Pine Key and Big Cypress regions are most
susceptible to loss due to sea level rise. Potentially suitable panther habitats in the coastal areas of the
Big Bend and Apalachicola National Forest regions are moderately susceptible to loss due to sea level


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         vii
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 20 of 585
                                                                                     EXECUTIVE SUMMARY


rise. Smaller and inland patches of potentially suitable panther habitats are less likely to be affected by
sea level rise than larger patches with coastal components.

Florida panthers have shown and continue to show resiliency in the face of many pressures. Panthers
survived as the only functioning population of puma in eastern North America despite constant
persecution to eliminate them from the landscape. Since state and federal laws afforded them legal
protections, panther numbers slowly increased until genetic restoration efforts improved population
health thereby allowing more rapid growth of the population. The current panther population, at least
5-fold larger in size when compared to the population 3 decades ago, has greater resiliency today than it
has exhibited for likely well over 100 years.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        viii
     Case 1:21-cv-00119-RDM                              Document 149-2                     Filed 01/12/24                 Page 21 of 585
                                                                                                                            TABLE OF CONTENTS


                                                              TABLE OF CONTENTS

EXECUTIVE SUMMARY ................................................................................................................................. iv
TABLE OF CONTENTS.................................................................................................................................... ix
CHAPTER 1 INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK ....................................................... 1
   1.1        INTRODUCTION ............................................................................................................................. 1
       1.1.1 Purpose and Focus of this Assessment ..................................................................................... 1
       1.1.2 Geographic Scope ..................................................................................................................... 2
       1.1.3 Review of Previous Status Assessments (5-Year Reviews) ....................................................... 3
   1.2        AVAILABLE DATA, DATASETS, AND MODELING EFFORTS ............................................................. 3
   1.3        ANALYTICAL FRAMEWORK............................................................................................................ 3
       1.3.1 Resiliency .................................................................................................................................. 4
       1.3.2 Redundancy .............................................................................................................................. 4
       1.3.3 Representation ......................................................................................................................... 4
       1.3.4 Resistance ................................................................................................................................. 4
CHAPTER 2 LISTING HISTORY AND LEGAL STATUS .................................................................................. 10
   2.1        LISTING HISTORY ......................................................................................................................... 10
   2.2        LEGAL STATUS ............................................................................................................................. 13
       2.2.1 Federal Legal Status ................................................................................................................ 13
       2.2.2 State of Florida Legal Status ................................................................................................... 13
       2.2.3 State Legal Status Outside of Florida ...................................................................................... 14
       2.2.4 International Legal Status ....................................................................................................... 15
CHAPTER 3 SPECIES DESCRIPTION AND TAXONOMY .............................................................................. 16
   3.1        PHYSICAL DESCRIPTION .............................................................................................................. 16
       3.1.1 General Characteristics of Cats ............................................................................................... 16
       3.1.2 Characteristics of the Florida Panther .................................................................................... 17
   3.2        FLORIDA PANTHER TAXONOMY.................................................................................................. 18
       3.2.1 Background on Florida Panther Taxonomy ............................................................................ 19
       3.2.2 Assessment of the Historic Classification of the Florida Panther as a Distinct Subspecies .... 25
       3.2.3 Assessment of the Evidence Informing Taxonomic Certainty ................................................ 30
       3.2.4 Scientific Consensus on the Taxonomic Classification of the Puma ....................................... 46
       3.2.5 Use of Genetics to Identify Source Population of Origin for Pumas Found Outside of Known
       Breeding Ranges ................................................................................................................................. 48


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                                                        ix
    Case 1:21-cv-00119-RDM                              Document 149-2                      Filed 01/12/24                 Page 22 of 585
                                                                                                                             TABLE OF CONTENTS


      3.2.6 Assessment of Binomial/Trinomial use in Scientific Literature .............................................. 49
      3.2.7 Taxonomic Assessment Summary .......................................................................................... 50
CHAPTER 4 LIFE HISTORY AND ECOLOGY ................................................................................................ 51
   4.1       REPRODUCTION .......................................................................................................................... 51
   4.2       SURVIVAL AND CAUSES OF MORTALITY ..................................................................................... 51
   4.3       DISPERSAL ................................................................................................................................... 53
   4.4       HOME RANGE DYNAMICS AND MOVEMENTS ............................................................................ 57
      4.4.1 Florida Panther Home Range Dynamics ................................................................................. 58
      4.4.2 General Characteristics of Florida Panther Movements......................................................... 58
      4.4.3 Daytime versus Nighttime Movements .................................................................................. 59
      4.4.4 Effects of Season on Movements ........................................................................................... 59
      4.4.5 Effects of Reproductive Status on Movements of Females .................................................... 60
      4.4.6 Territoriality and Transitory Movements in Males ................................................................. 60
      4.4.7 Effects of Habitats on Panther Movements............................................................................ 61
   4.5       INTRASPECIFIC INTERACTIONS.................................................................................................... 61
      4.5.1 Interactions of Males with Other Florida Panthers ................................................................ 61
      4.5.2 Interactions of Females with Other Florida Panthers ............................................................. 62
      4.5.3 Indirect Interactions................................................................................................................ 62
   4.6       FOOD HABITS .............................................................................................................................. 63
   4.7       SPACE AND HABITAT USE ............................................................................................................ 65
      4.7.1 Florida Panther Habitat Use.................................................................................................... 65
      4.7.2 Den Site Selection by Females ................................................................................................ 66
CHAPTER 5 HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE ....................................................... 67
   5.1       HISTORICAL DISTRIBUTION AND DECLINE OF PUMAS IN EASTERN NORTH AMERICA ............... 67
   5.2       HISTORICAL DISTRIBUTION AND DECLINE OF THE FLORIDA PANTHER ...................................... 68
CHAPTER 6 CURRENT CONDITION OF THE FLORIDA PANTHER ............................................................... 76
   6.1       CURRENT POPULATION DISTRIBUTION, SIZE, AND TREND ......................................................... 76
      6.1.1 Current Distribution of the Florida Panther as Determined by Occurrence Records............. 77
      6.1.2 Recent Expansion of Female Panthers North of Caloosahatchee River ................................. 82
      6.1.3 Current Distribution of Pumas in Eastern United States Outside of Florida .......................... 85
      6.1.4 Current Size and Trend of the Florida Panther Population .................................................... 87
      6.1.5 Florida Panther Population Density ........................................................................................ 91
   6.2       GENETIC STATUS OF THE FLORIDA PANTHER ............................................................................. 91


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                                                          x
   Case 1:21-cv-00119-RDM                           Document 149-2                    Filed 01/12/24                Page 23 of 585
                                                                                                                     TABLE OF CONTENTS


  6.3      HABITAT SUITABILITY ANALYSIS .................................................................................................. 94
    6.3.1 Conservation Planning for Pumas and Panthers .................................................................... 95
    6.3.2 Area Metrics for Source and Sink Populations ....................................................................... 96
    6.3.3 Application of Conservation Planning Guidelines to the Florida Panther .............................. 96
    6.3.4 Panther Habitat Suitability Model for Florida......................................................................... 97
    6.3.5 Panther Habitat Suitability Model for Florida (Statewide) ................................................... 103
    6.3.6 Panther Functional Zone for the USFWS’s Regulatory Framework ...................................... 103
    6.3.7 Identification of Unique Panther Habitat Patches in Florida ................................................ 109
    6.3.8 Potential Panther Habitat Reserves in Florida ...................................................................... 117
    6.3.9 Criteria for Landscape Linkages for Panthers ....................................................................... 120
    6.3.10 Landscape Connectivity for Panthers Based on Modeling ................................................... 121
    6.3.11 Potential Constraints on the Suitability of Panther Habitat ................................................. 126
  6.4      THREATS (FACTORS INFLUENCING VIABILITY) .......................................................................... 131
    6.4.1 Habitat Loss, Degradation, and Fragmentation .................................................................... 131
    6.4.2 Increasing Human Populations ............................................................................................. 140
    6.4.3 Genetic Consequences of Small Populations........................................................................ 140
    6.4.4 Road and Highway Mortality ................................................................................................ 140
    6.4.5 Human-Panther Conflict ....................................................................................................... 142
    6.4.6 Infectious Diseases................................................................................................................ 146
    6.4.7 Prey Availability..................................................................................................................... 148
    6.4.8 Environmental Toxicants ...................................................................................................... 152
    6.4.9 Emerging Neuromuscular Disorder of Unknown Origin ....................................................... 153
  6.5      CURRENT CONSERVATION MEASURES ..................................................................................... 153
    6.5.1 Land Conservation ................................................................................................................ 154
    6.5.2 Regulatory Programs ............................................................................................................ 162
    6.5.3 Recovery Planning................................................................................................................. 167
    6.5.4 Reducing Vehicle-Related Panther Mortalities ..................................................................... 167
    6.5.5 Agency Management Activities ............................................................................................ 172
    6.5.6 Public Education and Outreach............................................................................................. 174
  6.6      CURRENT CONDITION SUMMARY............................................................................................. 175
    6.6.1 Current Resiliency ................................................................................................................. 175
    6.6.2 Current Redundancy ............................................................................................................. 176
    6.6.3 Current Representation ........................................................................................................ 176


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                                                xi
     Case 1:21-cv-00119-RDM                             Document 149-2                    Filed 01/12/24                 Page 24 of 585
                                                                                                                          TABLE OF CONTENTS


       6.6.4 Current Resistance ................................................................................................................ 177
CHAPTER 7 FUTURE CONDITION OF THE FLORIDA PANTHER................................................................ 180
   7.1        POPULATION VIABILITY ANALYSIS ............................................................................................ 180
       7.1.1 Hostetler et al. (2013) PVA ................................................................................................... 182
       7.1.2 van de Kerk et al. (2019) PVA................................................................................................ 183
       7.1.3 PVA Summary ....................................................................................................................... 188
   7.2        LANDSCAPE-FACTORS PROJECTED TO IMPACT FUTURE POPULATIONS .................................. 188
       7.2.1 Land Development Projections ............................................................................................. 189
       7.2.2 Sea Level Rise Projections ..................................................................................................... 191
       7.2.3 Near-Term (2040) Impacts of Habitat Loss in South Florida................................................. 194
       7.2.4 Long-Term (2070) Impacts of Habitat Loss Statewide in Florida .......................................... 198
       7.2.5 Very Long-Term (2100) Impacts of Sea Level Rise on Panther Habitat ................................ 230
       7.2.6 Impacts of Habitat Loss on Near-term (2040) and Long-term (2070) Population Viability .. 234
       7.2.7 Assessment of Future Management Scenarios on the 4 R’s ................................................ 241
   7.3        FUTURE RESILIENCY .................................................................................................................. 242
   7.4        FUTURE REDUNDANCY ............................................................................................................. 244
   7.5        FUTURE REPRESENTATION........................................................................................................ 244
   7.6        FUTURE RESISTANCE ................................................................................................................. 245
CHAPTER 8 STATUS ASSESSMENT SUMMARY ....................................................................................... 247
LITERATURE CITED .................................................................................................................................... 248
APPENDIX A — ACRONYMS AND ABBREVIATIONS ................................................................................... 284
APPENDIX B — DATA SOURCES ................................................................................................................ 285
APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN .................. 288




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                                                    xii
      Case 1:21-cv-00119-RDM           Document 149-2           Filed 01/12/24       Page 25 of 585


                                                   INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK



                CHAPTER 1        INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK

1.1     INTRODUCTION

1.1.1    Purpose and Focus of this Assessment

The Florida panther (Puma concolor coryi) has been listed as an endangered species under the 1966,
1969, and 1973 Acts that dealt with endangered species conservation and was included in the 1966 Red
Book list of endangered species citing works by Cahalane (1964) and Young and Goldman (1946). In this
Species Status Assessment (SSA) for the Florida panther, we use the term “puma” for members of the
species in populations outside of Florida and the terms “panther” or “Florida panther” for the current
listed entity and the Florida population. The panther population has been recognized since the early
1900s as the last puma population in the eastern US and numerous publications touted its conservation
importance prior to the passage of the Endangered Species Act (ESA; Beard et al. 1942, Matthiessen
1959, Cahalane 1964).

The Florida panther represents the only breeding population of puma in the eastern United States
(Figure 1.1) and is currently listed as an endangered subspecies under the ESA of 1973, as amended (16
U.S.C. 1531 et seq.). The purpose of the ESA is to conserve threatened and endangered species and the
ecosystems upon which they depend. For the purposes of the ESA, the term “species” includes
subspecies and distinct population segments. Periodic assessments of a species’ status are required
under the Act and these assessments are compiled using the best scientific and commercial data
available. Section 4(c)(2)(A) of the ESA requires the U.S. Fish and Wildlife Service (USFWS) to review
each listed species’ status at least once every 5 years (5-Year Review).

The USFWS is required by law to periodically evaluate the biological status of listed species and
therefore, developed a Species Status Assessment (SSA) Framework to aid in that process. The purpose
of the SSA Framework is to provide a consistent, integrated, conservation-focused, and scientifically
robust approach to assessing a species’ biological status such that the information and analysis are
useful to all decisions and activities under the ESA.

The objective of this SSA is to describe the viability of the Florida panther based on the best scientific
and commercial information available. The SSA begins with a compilation of the best available
information on the Florida panther (taxonomy, life history, and habitat) and its ecological needs at the
individual, population, and/or species levels based on how environmental factors are understood to act
on the panther and its habitat. Next, the SSA describes the current condition of the panther’s habitat
and demographics, and the probable explanations for past and ongoing changes in abundance and
distribution within the panther’s ecological settings (i.e., areas representative of geographic, genetic, or
life history variation across the range of the species). Lastly, the SSA forecasts the panther’s response to
probable future scenarios of environmental conditions and conservation efforts.

Throughout this assessment, the SSA uses the conservation biology principles of resiliency (ability to
withstand year-to-year ecological changes), redundancy (ability to withstand catastrophes), and
representation (ability to adapt to long-term changes) (collectively known as the “3 Rs”; see Section 1.3
Analytical Framework) as a lens to evaluate the current and future condition of the panther. This SSA

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           1
   Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24       Page 26 of 585
                                                   INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK


provides a compilation of the best available scientific information on the biological status of the Florida
panther and provides a stand-alone, science-focused assessment for use in policy-guided decisions
under the ESA and to inform future conservation and management efforts.

The SSA does not provide any recommendations regarding the species’ status under the ESA and does
not result in a decision document. Rather, the SSA provides the scientific basis for such decisions. The
SSA is expected to be a living document and should be updated and revised as new scientific information
becomes available.

On 29 June 2017, the USFWS initiated a 5-Year Review of the Florida panther (82 FR 29916) to
determine whether its status has changed since the time of its last status review in 2009. Upon
completion of the 5-Year Review, the USFWS can make the following possible recommendations:

        •    Maintain the Florida panther’s current classification;
        •    Reclassify the Florida panther from endangered to threatened (downlist); or
        •    Remove the Florida panther from the Endangered Species List (delist).

This SSA will inform decisions regarding these recommendations and will be used, along with policy
judgment, to inform subsequent decisions on the legal status of the Florida panther under the ESA
(Smith et al. 2018). This SSA could also be used to inform other ESA determinations, including future
recovery planning activities, consultations, and permitting.

1.1.2       Geographic Scope

The geographic scope of this SSA is Florida-centric. The puma population in North America historically
had a transcontinental distribution and the use of the southeastern state boundaries to describe the
historic range of the Florida panther was a subjective delineation based on scant museum specimens
(see Chapter 3.2.2). The Florida panther represents the only breeding population of puma in the eastern
United States and all evidence supports that this population has been restricted to the peninsula of
Florida for over 100 years (See Chapter 5) and that the natural expansion of the breeding population
into areas outside of Florida is unlikely to occur over the next 50 years (see Chapter 7). Although areas
of sufficient size to support puma populations outside of Florida have been identified (see Chapter 6.3.5;
Thatcher et al. 2006), these areas are not essential for the continued persistence of the panther
population (see Chapter 7.1.3). Furthermore, reintroduction of panthers into states outside of Florida is
not a likely scenario in the near-term future as no past or present planning activities have occurred
regarding reintroduction efforts. There is also no indication that the resistance to panther
reintroductions previously held by state wildlife agencies outside of Florida has changed since the
release of the Third Revision of the Florida Panther Recovery Plan in 2008 (See Section 6.6.4).

We divided Florida into 3 regions primarily to make map details easier to see and to provide consistency
in the SSA for referencing regions of the state. These regions were based on the current known
distribution of panthers (see Chapter 6 Current Conditions). South Florida incorporates an area where
most panthers reside and includes the known distribution of females (Figure 1.2), basically from Lake
Okeechobee southward. Central Florida extends northward from South Florida to the junction of
Interstate 95 (I-95) and Interstate 4 (I-4) in Volusia County (Figure 1.3). There is consistent evidence of
male panthers throughout this region although panther densities would be very low. North Florida
extends northward from the Central Florida region to Florida’s northern border (Figure 1.4). We have


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                             2
      Case 1:21-cv-00119-RDM              Document 149-2            Filed 01/12/24         Page 27 of 585
                                                      INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK


very little documentation of panther occurrences in this region, mostly along the I-95 corridor, and no
verified occurrences in Florida’s panhandle in modern times.

1.1.3    Review of Previous Status Assessments (5-Year Reviews)

The USFWS initiated 5-Year Reviews for the Florida panther in 1979 (44 FR 29566), 1985 (50 FR 29901),
1991 (56 FR 56882), and 2005 (70 FR 35689). No changes in the status of the Florida panther were
recommended in these 5-Year Reviews. The most recent 5-Year Review for the Florida panther (USFWS
2009) was conducted prior to the development of the SSA framework and determined that the Florida
panther remained in danger of extinction throughout all or a significant portion of its range. This
determination was based on the threats of an increasing human population, increasing habitat
development, and that the population was at risk to catastrophic events given its present distribution as
a single, isolated population with a history of inbreeding and reduced genetic diversity due to its
historical isolation and reduced population size (USFWS 2009).

1.2     AVAILABLE DATA, DATASETS, AND MODELING EFFORTS

This SSA draws primarily on the substantial amount of scientific information regarding Florida panthers
available from the Florida Fish and Wildlife Conservation Commission (FWC), the National Park Service
(NPS), and the USFWS. This body of scientific literature has been published over the course of the State
of Florida’s research and monitoring efforts that began in 1981. We cite information pertaining
specifically to the Florida panther population when possible and supplement these citations with
information published on other puma populations in North America. Appendix A provides a
comprehensive list of data sources used to assess and model the current and future conditions for this
SSA.

1.3     ANALYTICAL FRAMEWORK

We used the SSA Framework described above to evaluate the current status of the Florida panther as
well as an assessment on the risk of extinction in the future. This SSA applies the conservation biology
principles of resiliency, redundancy, and representation (the 3 R’s) to evaluate the current and future
condition of the Florida panther. Resiliency, redundancy, and representation are interconnected and
overlapping principles that collectively contribute to the viability of a species. We also introduce the
concept of a fourth “R,” namely resistance, which describes the willingness of people to accept the
species on the landscape. For the purposes of this assessment, we generally define viability 1 as the
ability of the Florida panther to sustain populations in the wild over a biologically meaningful time
frame. Our evaluation of the resiliency, redundancy, representation, and resistance for the Florida
panther is made in the context of its life history and ecology. Resiliency, redundancy, representation,
and resistance are described as follows for the purposes of this SSA (USFWS 2016a, Smith et al. 2018).




1
  Viability is not a specific state, but rather a continuous measure of the likelihood that the species will sustain
populations over time. In addition, the term viability denotes a trajectory opposite to extinction and a focus on
species conservation. From, U.S. Fish and Wildlife Service. 2016. USFWS Species Status Assessment Framework: an
integrated analytical framework for conservation. Version 3.4 dated August 2016.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                 3
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 28 of 585
                                                  INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK


1.3.1   Resiliency

Resiliency describes the panther’s ability to withstand environmental variation and disturbance events.
This resiliency is associated with abundance, survival, population growth rate, genetic heterogeneity,
and habitat quality. Environmental variation includes normal year-to-year variation in rainfall and
temperatures, for example, as well as unseasonal weather events. Disturbances (i.e., discrete events
which cause substantial changes to the structure or resources of an ecosystem) are stochastic events
such as fire, flooding, tropical cyclones, and disease outbreaks. Simply stated, resiliency is having the
means to recover from the impacts of such disturbances and persist over time (viability). To be resilient,
the panther must have healthy populations that are able to sustain themselves through good and bad
years. Panther resiliency would increase with improvements in population health, population size, and
an increase in the area occupied by the breeding population. Resiliency would also be affected by the
degree of connectivity within occupied habitat. A population must be resilient to contribute to
redundancy or representation.

1.3.2   Redundancy

Redundancy describes the panther’s ability to withstand catastrophic events, which is related to the
number, distribution, and resilience of populations. Redundancy spreads risks among multiple
populations (or subpopulations) and ensures that the loss of a single population (or subpopulation) does
not lead to the loss of representation. A sufficiently widespread single population may achieve the same
result as multiple populations by reducing the likelihood that the entire population is affected
simultaneously by a catastrophic event. Furthermore, the more diverse and widespread that a panther
population is, the more likely it is that the panther’s adaptive diversity will be preserved. Having
multiple panther subpopulations would help preserve the breadth of adaptive diversity, and hence, the
evolutionary flexibility of the panther. Given sufficient redundancy, single or multiple catastrophic
events are unlikely to cause the panther’s extinction. Thus, the greater redundancy the panther has, the
more viable it will be.

1.3.3   Representation

Representation describes the panther’s ability to adapt to changing environmental conditions and is
characterized by the breadth of genetic and ecological diversity within and among populations. The
greater this adaptive diversity the more viable the panther will be. Maintaining adaptive diversity
includes conserving both the panther’s ecological and genetic diversity. Ecological diversity is the
physiological, ecological, and behavioral variation exhibited by a species across its range. Genetic
diversity is the number and frequency of unique alleles within and among populations. By maintaining
these two sources of adaptive diversity across a species’ range, the responsiveness and adaptability of
the panther over time is preserved, which increases overall viability. Representation is therefore
measured by the breadth of genetic and ecological diversity within and among populations.
Representation is considered a proxy for the adaptive capacity of the species over time.

1.3.4   Resistance

Resistance describes the sociological pressures that are exerted either on the species (i.e., human
unwillingness to accept panthers leading to direct persecution) or on the management of the species
(i.e., varying degrees of support for translocations or population re-establishment). There will be a


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         4
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 29 of 585
                                                    INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK


range of resistance among different stakeholders because of the “mixture of tolerance of problems and
desires for benefits from wildlife” that constitute Wildlife Stakeholder Acceptance Capacities (WSAC;
Carpenter et al. 2000). Stakeholders and their associated WSAC’s are more engaged in wildlife
management decisions as evidenced by the complexities of large carnivore recovery issues nationwide
(grizzly bear [Ursus arctos horribilis], red wolf [Canis rufus], gray wolf [Canis lupus], and Mexican wolf [C.
l. baileyi] as examples) and successful recovery will depend upon how well managers integrate biological
and human dimensions in decision-making (Riley et al. 2002). Resistance is more of a qualitative rather
than a quantitative measure. It can range from low resistance where people desire to see more
panthers on the landscape to high resistance where people do not want them near their homes or
livestock operations (Carpenter et al. 2000).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            5
   Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 30 of 585
                                                INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK




Figure 1.1. Historic and current distribution of the Puma (Puma concolor). The Puma is the most widely
distributed terrestrial mammal in the Western Hemisphere (Sunquist and Sunquist 2002).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    6
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 31 of 585
                                                INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK




Figure 1.2. Base map of South Florida emphasizing the locations of conservation lands in January 2019,
American Indian reservations, counties, major cities and towns, and major highways.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        7
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 32 of 585
                                                 INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK




Figure 1.3. Base map of Central Florida emphasizing the locations of conservation lands in January 2019,
American Indian reservations, counties, major cities, and major highways.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     8
                       Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 33 of 585
                                                                                         INTRODUCTION, DATA, AND ANALYTICAL FRAMEWORK




Figure 1.4. Base map of North Florida emphasizing the locations of conservation lands in January 2019, counties, major cities, and major
highways.

                                        SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  9
      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 34 of 585
                                                                     LISTING HISTORY AND LEGAL STATUS


                            CHAPTER 2      LISTING HISTORY AND LEGAL STATUS

2.1       LISTING HISTORY

      •    The Florida panther was first declared to be an endangered species by the State of Florida in
           1958.
      •    The Florida panther was listed as an endangered species under the 1966 and 1969 federal Acts
           that dealt with endangered species conservation and is currently listed as endangered wherever
           it is found under the ESA of 1973.
      •    The Florida panther was included in the 1966 Red Book list of endangered species citing works
           by Cahalane (1964) and Young and Goldman (1946).
                  Cahalane (1964) stated “cougars” were eliminated from the east except for an “isolated,
                     remnant” Florida population and he did not use any taxonomic names.
                  Cahalane (1964) was used to identify the endangered population of conservation
                     interest and the subspecies name from Young and Goldman (1946) was used for its
                     geographic convenience.
      •    The Florida panther population has been recognized since the early 1900s as the last breeding
           population of puma in the eastern United States and numerous publications tout its
           conservation importance.

One of the first attempts at identifying endangered or recently-extinct wildlife began in 1936 under the
auspices of the American Committee for International Wild Life Protection (ACIWLP). The ACIWLP was
founded in 1930 to promote wildlife conservation and to protect vanishing birds and mammals
worldwide. The book “Extinct and Vanishing Mammals of the Western Hemisphere” (Allen 1942) was
created for the ACIWLP and this work stated that pumas “have been extirpated from most of their range
in the eastern United States” and that due to predator control efforts, puma in the western US have
been locally reduced in numbers. Of the 10 puma subspecies identified by Nelson and Goldman (1929),
Allen (1942) reported that one was extinct (eastern puma) and two were greatly reduced in numbers,
the Florida panther and the Yuma puma. This assessment was echoed by Beard et al. (1942) when they
stated that puma have been the object of constant persecution that was still being carried on unabated.
Beard et al. (1942:113) found that the only puma remaining in the eastern United States were “Florida
cougars” and they stated their stronghold was “in the fastness of the Big Cypress Swamp.” A book by
Peter Matthiessen, “Wildlife in America” (Matthiessen 1959, revised 1987), stated that “cougars” were
essentially extirpated from the eastern United States by 1903 except for a few that managed to persist
in South Florida. Matthiessen (1959:62) also stated that “For most of us, in any case, it is less important
that the turkey, prairie chicken, wolf, cougar, bison, elk, and other creatures now extirpated from the
East were subspecies than that such creatures ever existed there at all.” These three works were
identified as general references on mammals for the 1966 Red Book and provided further support that
Florida panthers were the last puma population in the eastern United States at the time of the 1967
listing.

The first comprehensive U.S. legislation to deal with endangered species conservation was the
Endangered Species Preservation Act (15 October 1966, Public Law 89-669). This Act provided a
“program for the conservation, protection, restoration, and propagation of selected species of native
fish and wildlife, including migratory birds, that are threatened with extinction.” The Act also required

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       10
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 35 of 585
                                                                     LISTING HISTORY AND LEGAL STATUS


the Secretary of the Interior to publish an endangered species list in the Federal Register. In July 1966,
the Committee on Rare and Endangered Wildlife Species, Bureau of Sport Fisheries and Wildlife
produced “Resource Publication 34 – Rare and Endangered Fish and Wildlife of the United States.” This
report, and a preliminary draft released in 1964, became known as the Red Book and this was the
source that identified all the species that populated the first endangered species list (Federal Register,
Vol. 32, No. 48, 11 March 1967).

The Florida panther was included in the Red Book citing Cahalane (1964) and Young and Goldman (1946)
and was subsequently placed on the 1967 endangered species list. The 1964 report by Victor H.
Cahalane, then President of the New York Zoological Society, was initiated through a September 1961
invitation from the Conservation Committee of the Boone and Crockett Club that passed a resolution to
bend their conservation efforts towards the protection of “North America’s three most precariously
situated large mammals, the grizzly bear, the cougar and the wolf – timber and red” (Boone and
Crockett Club 1961). The New York Zoological Society and the Boone and Crockett Club co-sponsored
Mr. Cahalane in 1962 to undertake this “Special Predator Survey” that involved questionnaires (Figure
2.1; Boone and Crockett Club 1964) sent to state and provincial game departments in North America
and to biologists and federal officials in those states and provinces in order to provide a cross-check for
the status information provided by the game departments (Boone and Crockett Club 1962). Cahalane
consulted with thirty state wildlife agencies and about forty other biologists and found that puma had
been eliminated from the eastern portion of its original range except for an “isolated, remnant”
population in Florida (Cahalane 1964). Cahalane (1964) did not use any scientific names (species or
subspecies) in this report. It appears that Cahalane (1964) was used by the Committee on Rare and
Endangered Wildlife Species to identify an endangered puma population and that Young and Goldman
(1946) was used to affix a scientific name to these pumas as a label of convenience.

The 1966 Endangered Species Preservation Act was expanded by the ESA of 1969 (Public Law 91-135) to
include protections against importation and sale of endangered species, both domestically and
worldwide. These two Acts still did not provide the management tools needed to proactively prevent
the extinction of endangered species and that led to the passage of the ESA of 1973 (Public Law 93-205).
The purposes of the ESA of 1973 were “to provide a means whereby the ecosystems upon which
endangered species and threatened species depend may be conserved” and “to provide a program for
the conservation of such endangered species and threatened species.” The Florida panther was on the
inaugural endangered species list of 1967 and has since remained on these lists.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       11
   Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 36 of 585
                                                                  LISTING HISTORY AND LEGAL STATUS




Figure 2.1. Copy of questionnaire sent by Victor H. Cahalane to state and provincial game departments,
biologists, and federal officials in North America from 1962–1963 as part of a large predator survey
(Cahalane 1964) co-sponsored by the Boone and Crockett Club and the New York Zoological Society.
Courtesy of the Boone and Crockett Club Records (Mss738), Archives and Special Collections, Maureen
and Mike Mansfield Library, University of Montana-Missoula.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   12
      Case 1:21-cv-00119-RDM             Document 149-2        Filed 01/12/24       Page 37 of 585
                                                                    LISTING HISTORY AND LEGAL STATUS


2.2     LEGAL STATUS

2.2.1    Federal Legal Status

The USFWS listed the Florida panther (Puma (=Felis) concolor coryi) as endangered throughout its
historical range on 11 March 1967 (32 FR 4001). The Florida panther subsequently was designated as
endangered wherever it is found under the ESA of 1973, as amended (16 U.S.C. 1531 et seq.). The ESA
defines an endangered species as any species that is in danger of extinction throughout all or a
significant portion of its range.

The ESA protects endangered species and their habitats by prohibiting the "take" of listed animals and
the interstate or international trade in listed plants and animals, including their parts and products,
except under a Federal permit. Take is defined as "to harass, harm, pursue, hunt, shoot, wound, kill,
trap, capture, or collect or attempt to engage in any such conduct." Through regulations, the term
"harm" is defined as "an act which actually kills or injures wildlife. Such an act may include significant
habitat modification or degradation where it actually kills or injures wildlife by significantly impairing
essential behavioral patterns, including breeding, feeding, or sheltering." Federal take permits generally
are available for conservation and scientific purposes.

A person would be exempt from prosecution under the aforementioned take prohibitions if that person
injured or killed a Florida panther and “committed the offense based on good faith belief that he was
acting to protect himself or herself, a member of his or her family, or any other individual, from bodily
harm from any endangered or threatened species” (16 U.S. Code § 1540 [b] 3). This take exemption
does not apply to the protection of pets and livestock.

The Secretary of the Interior has discretion on whether to designate critical habitat for species, such as
the Florida panther, that were listed prior to the 1978 amendments to the ESA. Critical habitat has not
been designated for the Florida panther. A designation of critical habitat requires federal agencies to
consult with the USFWS to ensure that any actions they authorize, fund, or carry out are not likely to
result in the destruction or adverse modification of designated critical habitat. The most recent position
of the USFWS is that a critical habitat designation for the Florida panther “would provide little
conservation benefit on the private lands that are so important to panther recovery, and critical habitat
designation may in fact be an impediment to the voluntary and collaborative partnerships with
landowners that are needed to support future growth and expansion of the Florida panther population”
(USFWS 2016b).

The USFWS determined in 1991 that all other free-living Puma concolor (common names: mountain lion,
cougar, puma, panther, etc.) are threatened wherever they may occur in Florida under the “Similarity of
Appearance” provisions of the ESA (Federal Register 56(157):40265-40267). This action was necessary
to protect the endangered Florida panther from illegal take. It is very difficult to morphologically
distinguish Florida panthers from individuals of unlisted subspecies of Puma concolor, which periodically
occur in Florida as either escapees from captivity or are deliberate releases.

2.2.2    State of Florida Legal Status

The Florida panther was first declared to be an endangered species by the Florida Game and Fresh
Water Fish Commission (GFC), the predecessor agency of the current FWC, in 1958, at which time
complete protection was afforded to the species. FWC currently lists the Florida panther as a Federally-

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      13
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 38 of 585
                                                                      LISTING HISTORY AND LEGAL STATUS


designated Endangered Species (68A-27.003, Florida Administrative Code). Federally-designated
Endangered and Threatened Species are defined by the State of Florida as "species of fish or wild animal
life, subspecies or isolated populations of species or subspecies, whether vertebrate or invertebrate,
that are native to Florida and classified as Endangered and Threatened under Commission rule by virtue
of designation by the United States Departments of Interior or Commerce as endangered or threatened
under the Federal Endangered Species Act, 16 U.S.C. § 1532 et seq. and rules thereto..." (68A-27.001(2)
Florida Administrative Code).

State rule provides that "no person shall take, possess, or sell any of the endangered or threatened
species included in this subsection, or parts thereof or their nests or eggs except as allowed by specific
federal permit or authorization" (68A-27.003(1)(a) Florida Administrative Code). Take is defined as "to
harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to engage in such
conduct" (68A-27.003(4) Florida Administrative Code). The term “harm” in the definition of take means
"an act which actually kills or injures fish or wildlife. Such act may include significant habitat
modification or degradation where it actually kills or injures wildlife by significantly impairing essential
behavioral patterns, including breeding, feeding or sheltering." The term “harass” in the definition of
take means "an intentional or negligent act or omission which creates the likelihood of injury to wildlife
by annoying it to such an extent as to significantly disrupt normal behavioral patterns which include, but
are not limited to, breeding, feeding or sheltering."

Florida statutes also provide that “it is unlawful for a person to kill a member of the Florida ‘endangered
species,’ as defined in s. 372.072(3), known as the Florida panther (Felis concolor coryi)” and that “it is
unlawful for a person to kill any member of the species of panther (Felis concolor) occurring in the wild”
(Section 372.671 Florida Statutes). Persons convicted of unlawfully killing a Florida panther or any
member of the species of the panther in the wild is guilty of a felony of the third degree.

2.2.3   State Legal Status Outside of Florida

Alabama: The Alabama Department of Conservation and Natural Resources (ADCNR) lists the status of
P. concolor as “Extirpated” within the state. The 2018-2019 Regulations of the ADCNR designates the
mountain lion (cougar) as a game animal, but designates other State or Federally protected nongame
species as “Protected Nongame Species.” In accordance with rule 220-2-.92(1)(f), “It shall be unlawful
to take, capture, kill, or attempt to take, capture or kill; possess, sell, trade for anything of monetary
value, or offer to sell or trade for anything of monetary value” protected nongame species (Code of
Alabama 1975, §§ 9-2-8).

Arkansas: Arkansas Game and Fish Commission (AGFC) regulations state “It is unlawful to import,
transport, sell, purchase, hunt, harass, or possess any threatened or endangered species of wildlife or
parts (including without limitation those species listed under the Federal Endangered Species Act, 50
CFR 17.11, 50 CFR 17.12 and Addendum Chapter P1.00)” (Arkansas Administrative Code 002.00.1-
05.27). The Arkansas Code of Regulations lists mountain lions (P. concolor) as a Prohibited Captive
Wildlife Species.

Georgia: The Georgia Department of Natural Resources (GDNR) lists the Florida panther (P. c. coryi) as a
state “Protected species” and classifies its status as “Endangered” (Rule 391-4-10-.09[1][h]). The GDNR
prohibits “activities which are intended to harass, capture, kill, or otherwise directly cause death of any
protected species” (Rule 391-4-10-.06).

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         14
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 39 of 585
                                                                     LISTING HISTORY AND LEGAL STATUS


Louisiana: The Louisiana Department of Wildlife and Fisheries (LDWF) lists the Florida panther (P. c.
coryi) as an endangered species under Louisiana statute LSA-R.S. 56 § 1904 where “any species of
wildlife or native plant determined by the secretary of the Louisiana Department of Wildlife and
Fisheries to be an endangered or threatened species pursuant to the federal Endangered Species Act
shall be deemed to be an endangered or threatened species.”

Mississippi: The Mississippi Department of Wildlife, Fisheries, and Parks (MDWFP) lists the Florida
panther (P. c. coryi) as “Protected Wildlife” and may not be hunted, molested, bought, or sold. The
Mississippi Natural Heritage Program ranks the Florida panther’s status in the state as “Presumed
Extirpated” and the state legal protection designation is “Listed Endangered”
(https://www.mdwfp.com/media/255911/ms-listed-species-2018.pdf), as determined by the MDWFP
under MS Code § 49-5-109 (2017).

South Carolina: The South Carolina Department of Natural Resources (SCDNR) does not include the
Florida panther (P. c. coryi) on its list of Rare, Threatened, and Endangered Species of South Carolina
(http://www.dnr.sc.gov/species/state.html), nor is it tracked through the SCDNR’s Heritage Trust or
State Wildlife Action Plan. However, if a Florida panther was present in South Carolina, it would be
categorized as an “Endangered species” as defined under South Carolina Code of Laws § 50-15-10
(https://www.scstatehouse.gov/code/t50c015.php), due its federal status under the ESA.

Tennessee: The Tennessee Wildlife Resources Agency (TWRA) does not list the Florida panther (P. c.
coryi) as a state threatened or endangered species pursuant to Tennessee Code §§ 70-8-105 and 70-8-
107 (https://www.tn.gov/content/dam/tn/twra/documents/1660-01-32%20threatened-endangered-
species-rule.pdf). Tennessee law (§ 70-8-104) prohibits the take and attempt to take of nongame
wildlife. Puma are not considered a game species in Tennessee and no hunting season has been
proclaimed as of 2019, therefore the nongame classification would apply. However, Tennessee law
permits a landowner to destroy any wild animal that damages their property (§ 70-4-115).

2.2.4   International Legal Status

The Convention on International Trade in Endangered Species of Wild Fauna and Flora (CITES) is an
international agreement between governments to ensure that international trade in specimens of wild
animals does not threaten their survival. CITES manages lists of these species in the form of Appendices
I, II and III with Appendix I representing species that are the most endangered. In recognition of the
panther’s endangered species status, this subspecies was initially listed in Appendix I. However, the
Florida panther was transferred from Appendix I to Appendix II in 2016 and lumped with P. c. couguar in
2017 following the taxonomic changes adopted at the 17th Meeting of the Conference of the Parties to
CITES in 2016 (see Taxonomy section for further discussion). All puma in North America are now
classified as an Appendix II subspecies (P. c. couguar) under CITES
(https://www.speciesplus.net/#/taxon_concepts/12325/legal, last accessed 02 February 2020).
Appendix II includes “species not necessarily threatened with extinction, but in which trade must be
controlled in order to avoid utilization incompatible with their survival.”




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         15
      Case 1:21-cv-00119-RDM            Document 149-2           Filed 01/12/24       Page 40 of 585
                                                                    SPECIES DESCRIPTION AND TAXONOMY


                         CHAPTER 3         SPECIES DESCRIPTION AND TAXONOMY

3.1     PHYSICAL DESCRIPTION

The Florida panther is a large, long-tailed cat in the monotypic genus Puma, a member of the family
Felidae of the order Carnivora, class Mammalia (Kitchener et al. 2017). This genus is known by many
names, including mountain lion, panther, puma, and cougar, depending on region of occurrence. Pumas
were formerly included in the small cat group (Felis) based on the shape of the nose, the morphology of
the feet, and the shape of the pupils, all of which are similar to those of small cats (Sunquist and
Sunquist 2002). They also resemble the smaller cats by having a short wide skull and a short face (i.e.,
distance from eyes to end of nose). Additionally, pumas do not roar in the manner of lions (Panthera
leo) and leopards (Panthera pardus), but purr like the smaller cats, a function of anatomical differences
in the hyoid apparatus below the tongue and the vocal folds within the larynx (Kitchener et al. 2017).

3.1.1    General Characteristics of Cats

The body of all cats, including the puma, is a reflection of diet. Like all cats, they are strict carnivores
designed for capturing and killing live prey, and they require a higher proportion of protein in the diet
than almost any other mammal (Sunquist and Sunquist 2002). In order to allow cats to climb and grasp
prey, they have evolved short, powerful forelimbs that rotate. Their forepaws have long, sharp,
retractable claws used to restrain prey; they have a long body with a flexible spine; and they have well-
muscled hindlimbs. Most cats, including pumas, have long tails that measure one-third to one-half their
total head and body length, a feature thought to add balance aid in moving around in difficult terrain or
making quick turns while pursuing prey. All cats are digitigrade, meaning that they walk on their toes,
with the soft toe pads distributing the weight over the balls of the feet while the ankle and wrist remain
elevated. This trait results in a fluid walking motion. Soft toe pads ensure a silent, firm grip during
stalking and final approach to prey, and when climbing with or without claws (Kitchener et al. 2010).
The evolution of these features has resulted in an animal that is quick, agile, and strong. Pumas, in
particular, are intermediate among felids in their adaptations for speed; they are fast and agile but not
adapted for extended pursuit (Murphy and Ruth 2010). Rather, they are ambush predators that silently
approach to within 2–30 m of prey, and then rapidly accelerate, hold prey with powerful forelimbs, and
kill with a powerful bite (Murphy and Ruth 2010).

A cat’s skull is highly domed, the cheek bones (or zygomatic arches) are wide, the face is foreshortened,
and the sagittal crest (or ridge of bones on top of the skull) provide an attachment point for powerful
jaw muscles (Kitchener et al. 2010). These muscles increase the bite force of the canine teeth.
Dentition is characterized by large and somewhat rounded canines that are used for securing and
stabbing the prey, delivering a killing bite. Small incisors, arranged in a row at the front of the jaws, are
used for plucking hair and cutting through tough skin, and the rear molars (or carnassials) shear meat
from prey by moving against each other like scissor blades. These features allow cats to quickly kill prey
in one of two ways. A bite on the nape of the neck, typical for smaller prey, involves dislocation of
cervical vertebrae and severing of the spinal cord by the canines. For larger prey, a throat- or snout-
covering bite is used, both of which typically kill by suffocation and may not even break the skin of the
prey (Kitchener et al. 2010).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          16
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 41 of 585
                                                                     SPECIES DESCRIPTION AND TAXONOMY


Cats hunt prey that are either nocturnal or diurnal, so their eyes must be able to function across a wide
range of available light conditions (Sunquist and Sunquist 2002, Murphy and Ruth 2010). Adaptations
that allow cats to see in this broad range of lighting conditions include: large eyes (especially relative to
body size); ability to regulate the amount of light entering the eye by dilating the pupil almost
completely or contracting the pupil to a narrow slit; a predominance of rods in the retina for gathering
light in low lighting conditions; a small cone-rich area in the center of the retina that provides the ability
to discern green and blue wavelengths, and possibly red wavelengths; and the presence beneath the
retina of a tapetum lucidum, a mirror-like layer that reflects light back through the retina and enhances
night vision (Sunquist and Sunquist 2002, Kitchener et al. 2010). Cats also have highly developed
binocular vision due to the eyes being set well forward and high on the skull, allowing for accurate
judgment of distances when leaping or capturing prey. They also have an extensive field of peripheral
vision that allows for the detection of movement lateral to the animal.

Cats have specialized whiskers (or vibrissae), which are stout touch-sensitive hairs located on the wrists,
around the eyes, sides of the muzzle, and below the chin (Sunquist and Sunquist 2002, Murphy and Ruth
2010). These whiskers are extremely sensitive to minor fluctuations in air currents moving around
objects, and they are used in pouncing on prey and detecting which way a prey animal is dodging in the
final instant before capture. Cats are capable of hearing in the range of 65–70 kHz range, well above the
upper limit of human hearing (15–20 kHz). Although cats do not produce vocalizations at a range as
high as they can hear, they are able to detect high-frequency sounds produced by many prey species,
which contributes to their success in locating prey. They are also able to move their ears in a manner
that enables them to pinpoint the location of sounds. Although cats’ sense of smell is considered to be
less than that of dogs, odors nevertheless play an important role in the social lives of cats. Felids are
known to use both visual and olfactory cues in conspecific communications, the latter which can include
odors from anal sacs as well as subcaudal, facial, and interdigital glands (see Section 4.5.3 Indirect
Interactions).

3.1.2   Characteristics of the Florida Panther

The Florida panther has been described as being differentiated from other pumas in North America on
the basis of phenotypic and genotypic characteristics (see 3.2. Florida Panther Taxonomy). Adult Florida
panthers are unspotted, typically rusty reddish-brown on the back, tawny on the sides, and pale gray or
buffy underneath. Comparatively, Florida panthers are similar in appearance to pumas occurring in
other areas of North and South America. Slight variations in color are common in pumas, whose dorsal
pelage may vary in color from shades of grizzled gray or dark brown to shades of rufous, tawny, and
ferruginous, with more intense coloration along the mid-dorsal line from the top of head to the base of
the tail (Young and Goldman 1946, Pierce and Bleich 2003, Shaw 2010). The underside of the pelage is
generally a dull whitish, the chin and throat colored white, and the muzzle and back of ears being black
(Shaw 2010). Nevertheless, the Latin word concolor means “of the same color or uniform color
throughout” indicating a relatively uniform appearance among pumas in North and South America.

Like puma kittens throughout their range, panther kittens are born with blue eyes, blackish spots on
buffy brown to gray coats, and with black rings on the tail (Shaw 2010). The spots and tail bands
gradually fade by five to six months-of-age, with the spots appearing as light brown dapples as the kitten
grows older. The blue eyes of kittens slowly transition to the light-brown or amber color of adults by
about five months-of-age (Belden 1988, Logan and Sweanor 2010).

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           17
      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 42 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY


Pumas are sexually dimorphic in size throughout their range, including Florida. Male pumas are larger
than females in weight (40–60 percent) and all body measurements (Sunquist and Sunquist 2002). In
Florida, standard morphometric measurements (e.g., body weight, chest girth, and neck girth) from
adult male panthers were significantly larger than adult female panthers (Bartareau 2017). Throughout
the range of North American puma outside of Florida, adult males weigh 50–105 kg, have a total length
of 1.8–2.9 m, and are 56–79 cm high at the shoulder (Shaw 2010). By comparison, average weight of
adult male panthers >36 months-of-age was 58 kg (44–72 kg; n = 64) (FWC unpublished data). Adult
female panthers >36 months-of-age are smaller with an average weight of 38 kg (27–60 kg; n = 85) (FWC
unpublished data). Comparatively, throughout the range of North American puma outside of Florida,
adult females weigh 36–60 kg, have a total length of 1.6–2.2 m, and are 53–76 cm high at the shoulder
(Shaw 2010). These data indicate that Florida panthers are generally smaller than pumas in other areas
of its range in North America. Iriarte et al. (1990) found that puma subspecies inhabiting areas proximal
to the equator weigh less than subspecies at the northern and southern extremes of their distribution.
The pattern of geographic variation in puma size is consistent with Bergmann’s rule, which states that
endotherms closer to the equator have smaller body size than those at higher latitudes (Gay and Best
1996b).

3.2       FLORIDA PANTHER TAXONOMY

      •    The Florida panther was first described as a unique subspecies (Puma concolor coryi) on the
           basis of morphological characteristics (cranial features and pelage color) measured and
           qualitatively assessed from a limited number of museum specimens, a taxonomic assessment
           that would not meet the standards of modern scientific journals.
      •    More recent morphological analyses suggest that the Florida panther retains cranial features
           that can distinguish this population from some previously described subspecies, yet these
           analyses also highlight inconsistencies with the arbitrary delineation of historic subspecies
           boundaries and classifications.
      •    Recent genetic analyses that applied nuclear genomics indicated that the lineage which led to
           North American pumas likely split from South American pumas ~300,000 to 100,000 years ago, a
           time period that is considerably older than previous genetic analyses had estimated.
      •    Recent phylogenetic studies provide support for a single North American puma subspecies,
           Puma concolor couguar, and based on these studies alone, the Florida panther population does
           not meet the standards of taxonomic distinctiveness.
      •    Genetic analyses in 2017 revealed that the Florida panther can still be differentiated from puma
           populations in the western United States, suggesting that some level of genetic distinctness
           remains in the Florida panther population. These same techniques are used to differentiate
           other geographic populations of puma in North America.
      •    The Cat Classification Task Force, an expert group convened on behalf of the IUCN SSC Cat
           Specialist Group and the IUCN Red List Unit, reviewed the current classification of Felidae and
           recognized two subspecies within Puma concolor based on phylogenetic studies and
           biogeography. Based on this review, pumas distributed in North and Central America, including
           the Florida panther population, would be recognized as P. c. couguar.
      •    There has been an absence of scientific debate on the single North American puma subspecies
           concept since the revision was first proposed in 2000. The majority of peer-reviewed papers on
           puma in scientific journals do not use the subspecies trinomial when referencing the study

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       18
   Case 1:21-cv-00119-RDM                Document 149-2           Filed 01/12/24        Page 43 of 585
                                                                     SPECIES DESCRIPTION AND TAXONOMY


        population(s), the exception being for populations whose conservation status is of concern, such
        as the Florida panther.
    •   The best available information and expert opinion supports a single North American subspecies
        of puma. However, the Florida panther subspecies is currently the listed entity under the ESA
        and is the subject of this assessment.
    •   For the purpose of this SSA, we assessed the Florida panther as representing the only breeding
        population of puma in the eastern United States, a characterization consistent with the
        population's status at the time of the original 1967 listing and consistent with the proposed
        taxonomic revisions for puma adapted by the CCTF of the IUCN/SSC Cat Specialist Group.

3.2.1   Background on Florida Panther Taxonomy

Cats are one of the more easily recognizable mammal forms in the world and all species are grouped in
the Family Felidae. However, this similarity in body form and function has also led to much debate on
how to group the various cat species within the Felidae. The second largest cat of the Western
Hemisphere, now known as Puma concolor, has many local names due to its hemispheric distribution. These
include mountain lion, cougar, panther or puma. In this document, we will use “puma” as a name for all P.
concolor populations outside of Florida and use “Florida panther” or “panther” for the current listed entity and
the Florida population.

Puma were named Felis concolor by Carl Linnaeus, the father of modern taxonomy, in his Systema Naturae
(1771). The genus Felis at that time included all other species of wild cats including lions, tigers
(Panthera tigris), leopards and jaguars (Panthera onca) (Jardine 1834). Jardine (1834), in his synopsis,
was the first to use the genus Puma but this convention was not used by subsequent authors until the
mid-1990s. Merriam (1901) was the first naturalist to study puma specimens from North and South
America and recognized 6 species and 5 subspecies. Merriam accepted the Florida panther (Felis coryi
Bangs) as a separate species as described by Charles B. Cory in his book “Hunting and Fishing in Florida”
(Cory 1896). Cory, along with 5 other men including his guide John Davis, hunted the panther with
hounds in South Florida and collected at least 3 panther specimens, including the type specimen for the
first uniquely described Florida panther subspecies, a female killed in April 1895 in the Allapattah Flats
area northeast of Lake Okeechobee (Figure 3.1). Cory had named the panther Felis concolor floridana
but Bangs (1899) renamed it Felis coryi because Felis floridana was already being used for the Florida
Lynx (=bobcat). Outram Bangs described the Florida Puma through examination of six specimens,
including the type specimen for the current listed entity, collected by F. R. “Frank” Hunter from 1896–
1898 “in the same general region of Florida, namely, the great wilderness back of Sebastian, in Brevard
and Osceola counties” (Bangs 1899:17). Bangs further stated that “the Florida Puma is now restricted to
peninsular Florida and can no longer intergrade with any other form, and it is doubtful if it ever did. It
must, therefore, be given full specific rank” (Bangs 1899:16-17).

Nelson and Goldman (1929) revisited puma classifications and had access to many North American
specimens due to predator control efforts of the U.S. Biological Survey, precursor to the USFWS. Rather
than giving full specific status to some pumas, Nelson and Goldman (1929) recognized 19 puma
subspecies throughout North and South America, including Felis concolor coryi (Bangs) as the
synonymized form of the Louisiana puma (Felis arundivaga, Hollister 1911) and the Florida puma (Felis
coryi). Young and Goldman (1946) expanded the number of subspecies to 30 and were the first to map
the subspecies ranges (Figure 3.2 and Figure 3.3). Jackson (1955) later described an additional

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            19
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 44 of 585
                                                                SPECIES DESCRIPTION AND TAXONOMY


subspecies for North America, the Wisconsin puma (Felis concolor schorgeri), and Cabrera (1958) later
described a new subspecies for South America, Felis concolor hudsoni. Hall and Kelson (1959) revised
the classification of the North American puma subspecies to reflect the Wisconsin puma described by
Jackson (1955) and also the removal of the Olympic puma (F. c. olympus), thereby maintaining the
number of described subspecies for North America at 15. Hall and Kelson (1959) and Hall (1981) also
revised the subspecific ranges of pumas in North America that were initially delineated by Young and
Goldman (1946), including a revision to the distribution line delineating the northern and southern
boundaries of F. c. coryi and F. c. couguar, respectively (Figure 3.4).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       20
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 45 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY




Figure 3.1. Charles B. Cory (left) and John Davis (right) in 1895, reprinted from Cory (1896).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     21
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 46 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY




Figure 3.2. Distribution of subspecies of Felis concolor in North and Middle America as delineated by
Young and Goldman (1946:10). Reprinted with permission from the Wildlife Management Institute.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       22
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 47 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY




Figure 3.3. Distribution of subspecies of Felis concolor in North and South America as delineated by
Young and Goldman (1946). Reprinted with permission from the Wildlife Management Institute.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      23
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 48 of 585
                                                                  SPECIES DESCRIPTION AND TAXONOMY




Figure 3.4. Distribution of subspecies and locations of marginal records of Felis concolor in North and
Middle America as delineated by Hall (1981). Reprinted with permission from John Wiley & Sons Ltd.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         24
   Case 1:21-cv-00119-RDM                Document 149-2           Filed 01/12/24        Page 49 of 585
                                                                     SPECIES DESCRIPTION AND TAXONOMY


Throughout the 20th century, taxonomists further refined our understanding of the Felidae and offered
different ways to group the various species. Most authorities agreed that 4 genera exist within the
family Felidae, namely Felis (small cats including puma), Neofelis (clouded leopard), Panthera (lions,
tigers, jaguars and leopards) and Acinonyx (cheetahs) (Nowak 1991). In the mid-1990s, the puma was
placed into the genus Puma, as first used by Jardine (1834), of which it was the only species (Wilson and
Reeder 1993, Nowell and Jackson 1996). The major scientific journals have been using Puma concolor since
the late 1990s and still refer to the Florida panther as Puma concolor coryi in recognition of its distinct
conservation status.

Although there is general agreement among felid taxonomists regarding recognition of cat species,
there is less certainty with regards to subspecies definitions and whether the traditional taxonomic
concept is valid in the light of contemporary knowledge of population biology and genetics (Nowell and
Jackson 1996). Mayr (1963:348) described subspecies as “geographically defined aggregates of local
populations which differ taxonomically from other such subdivisions of the species.” Frankham et al.
(2002) said subspecies were “populations partway through the evolutionary process of divergence
toward full speciation.” O’Brien and Mayr (1991) proposed that members of a subspecies would share:
(a) a unique geographic range, (b) close similarity in size, shape, and color, (c) genetic similarity, and (d)
obvious habitat-related differences relative to other subspecies. Some argue that both genetics and
morphology should be used to establish boundaries between species and subspecies (Haig et al. 2006,
Patton and Conroy 2017). Others portray that subspecies are primarily a taxonomic convenience for
ordering specimens within the known geography of their ranges (Mayr 1982).

Still others believe that reaching consensus on a subspecies definition is an impossible goal and that a
single trinomial cannot represent accurately the wealth of information we have at our disposal today
(Fitzpatrick 2010). Furthermore, Fitzpatrick (2010) states that subspecies are a label of convenience and
that management policies should be based on ecologically and genetically relevant information about
population distinctiveness. This is echoed by Haig et al. (2006:1590) who states that “The lack of rigid
definitions does not mean that currently described subspecies are not useful for defining populations
worthy of ESA listings. For example, listings have included well-known and accepted subspecies such as
Florida panther (Felis concolor coryi; USFWS 1967), Northern Spotted Owl (Strix occidentalis caurina;
USFWS 1990), and Marbled Murrelet (Brachyramphus marmoratus marmoratus; USFWS 1992).”
Regardless of the on-going debate, most experts agree that too many subspecies of wild cats have been
described in the past based on slim evidence and many are likely to be invalid (Nowell and Jackson 1996,
Kitchener et al. 2017).

3.2.2   Assessment of the Historic Classification of the Florida Panther as a Distinct Subspecies

The current taxonomic classification of the Florida panther as a geographic race or subspecies of puma
was described by Young and Goldman (1946). Young and Goldman delineated a total of 30 subspecies
or geographic races of puma, including 15 subspecies in North America, based on the morphological
characteristics of museum specimens and the geographic location from where the specimens were
collected. Young and Goldman characterized the historically transcontinental puma population as
extinct in eastern North America, with the exception of the Florida population. The “closely allied” and
intergrading “Florida Puma” (F. c. coryi) and “Eastern Puma” (F. c. couguar) were the only subspecies or
geographic races of puma described by Young and Goldman (1946) for eastern North America. It should
be noted that Young and Goldman assigned common names to all 30 geographic races or subspecies

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           25
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 50 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY


using the following format: “Geographic Region Puma” (e.g., Texas Puma, Florida Puma, Sierra Madre
Puma, and Chilean Forest Puma). References to other puma common names were provided in the state
and regional historical accounts for North and South America, including 18 states (not exclusive to the
eastern United States) and 3 Canadian provinces where “panther” was used.

In describing the general characteristics of the 30 subspecies or geographic races of puma, Young and
Goldman (1946:185) acknowledged “evidence of intergradation is not lacking” and the boundaries
between subspecies were “arbitrarily drawn along lines representing the nearest approach to accuracy,
as shown by the specimens examined.” Young and Goldman further stated that the degree of individual
variation in puma skulls limits the value of standard measurements in making subspecific
determinations. In regard to the use of distribution maps, Young and Goldman (1946:192) said that “no
attempt has been made to present keys to subspecies of puma. The construction of satisfactory keys to
closely intergrading subspecies is not very practical, and it is suggested that recourse to the distribution
maps will afford more reliable clues to the identification of specimens.” This statement is consistent
with Mayr’s (1982) observation that subspecific names are primarily a geographic convenience for a
population of interest.

Young and Goldman (1946) classified the Florida Puma based on the examination of only 17 museum
specimens, 14 specimens collected from Florida and 3 specimens collected in Louisiana that were
previously classified as the Louisiana Puma (Felis arundivaga; Hollister 1911) and later synonymized with
F. c. coryi by Nelson and Goldman (1929) (Figure 3.5). The 14 Florida specimens were represented by 10
individuals with both skin and skull, 2 by skull only, and 2 by skin only. The 3 Louisiana specimens were
represented by the skin and skull of the F. arundivaga type specimen and 2 individuals represented by
skull only. Comparatively, Young and Goldman examined just 8 specimens collected in New York (n = 6),
Pennsylvania (n = 1), and West Virginia (n = 1) to qualitatively describe the distinguishing characteristics
of the Eastern Puma, a population described as historically intergrading with the geographic race
classified as F. c. coryi. The Eastern Puma specimens consisted of 7 skulls and a single skin. And of these
7 Eastern Puma skulls, including one described as “fragmentary,” only 2 were measured.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        26
   Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24       Page 51 of 585
                                                               SPECIES DESCRIPTION AND TAXONOMY




Figure 3.5. Approximate collection locations of Puma concolor specimens examined by Young and
Goldman (1946) and used to delineate the historic distributions and subspecies boundaries of the
Florida panther (Puma concolor coryi) and Eastern cougar (Puma concolor couguar).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  27
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 52 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY


Young and Goldman (1946) described the former distribution of F. c. coryi as occurring in the
Austroriparian Zone from eastern Texas or western Louisiana and the Lower Mississippi River valley
eastward through the southeastern states. Young and Goldman (1946) depicted the Florida panther as
intergrading to the north with F. c. couguar, and to the west and northwest with F. c. stanleyana and F.
c. hippolestes, respectively (Figure 3.2). The boundary delineating the historic distributions of the
Florida panther and the aforementioned subspecies exemplified the arbitrary nature of the geographic
subspecies distributions described by Young and Goldman (1946). The subspecific boundaries were
delineated predominantly along state borders and did not correspond to any major geographical
features or barriers that would have limited gene flow within the historic, contiguous population of
pumas in this region.

The only non-Florida puma specimens examined by Young and Goldman (1946) in describing F. c. coryi
were 3 specimens from Louisiana (formerly classified as F. arundivaga), yet the historic distribution for
F. c. coryi in the southeastern United States was extended northward to encompass the state of
Arkansas, with no explanation provided. The approximate distance between specimens examined also
highlighted the arbitrary nature of these boundary delineations, especially considering the boundary
delineations were claimed to have been drawn along lines “as shown by the specimens examined”
(Young and Goldman 1946:185). The approximate distances between the southernmost F. c. couguar
specimen examined (Capon Springs, WV) and the nearest F. c. coryi specimens examined from Louisiana
and Florida were 1390 km and 1150 km, respectively (Figure 3.5). No specimens from Arkansas,
Mississippi, Alabama, Georgia, South Carolina, North Carolina, Kentucky, or Virginia were examined. The
historic distributions and subspecies delineations were based on scant evidence (17 specimens for
Florida Puma and 8 specimens for Eastern Puma) from a small geographic area (only 5 states within a
29-state region with a total land area of approximately 2,443,410 km2; U.S. Census Bureau
https://www.census.gov/geo/reference/state-area.html).

In his book chronicling the early years of the Florida panther program, Alvarez (1993:131) appropriately
cautioned that “It cannot be known to what extent the subspecies boundaries drawn by Young and
Goldman represent the actual variation in appearance of pumas at the time of uninterrupted
distribution. The spotty arrangement and uneven abundance of specimens left much to be desired
when designing a classification system for subspecies.” As further evidence for the arbitrary and
subjective nature of the historic subspecies boundaries, Hall and Kelson (1959) revised the boundary line
delineated by Young and Goldman (1946) that separated the Florida panther and eastern Puma (Figure
3.4). This adjustment that included portions of Arkansas, Tennessee, and South Carolina was based
solely on historical accounts described in Young and Goldman (1946) and not on the examination of
specimens. These historical, unverified anecdotes included puma observations along the Santee River in
South Carolina and the Tellico River drainage in Tennessee, both attributed as marginal records for F. c.
couguar by Hall and Kelson (1959). The Arkansas boundary was revised based on the Greene County
account described in Young and Goldman (1946) and attributed to F. c. coryi by Hall and Kelson (1959).

Young and Goldman (1946) distinguished F. c. coryi specimens from other identified puma subspecies or
geographic races primarily through a qualitative assessment of 15 skulls (3 from Louisiana and 12 from
Florida). Quantitative measures of cranial characteristics were only recorded for 11 of the 15 skulls (2
from Louisiana and 9 from Florida). The primary diagnostic features of the crania used by Young and

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      28
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 53 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY


Goldman (1946:235) to distinguish F. c. coryi included a “broad, flat frontal region; nasals remarkably
broad and highly-arched or expanded upward,” a cranial feature previously characterized by
professional puma hunter Ernest Lee as a “Roman-nosed” contour (Newell 1935). Of the
aforementioned diagnostic characteristics, only the width of the nasals measured “between anterior
ends of frontal processes” was quantified using standard measurements (Figure 3.6; Young and
Goldman 1946:192). Young and Goldman (1946:237) also noted that “the tendency of the outer borders
of the nasals to overlap the anterior processes of the frontals” was a characteristic that usually
distinguished F. c. coryi from other described subspecies. The characterization of the inflated nasal
profile trait was an example of Young and Goldman (1946:191) determining a geographic race of puma
“based on structural details that are not revealed by standard measurements taken”.

In addition to identifying diagnostic cranial features, Young and Goldman (1946) also described the
pelage characteristics of the Florida puma in comparison to other geographic races of puma in North
and South America based on the qualitative description of 13 pelts (1 from Louisiana and 12 from
Florida). The authors note that “marked variation in color is exhibited throughout the range of the
species” and that individuals from the same locality can vary widely in coloration (Young and Goldman
1946:189). The Florida puma was described as a dark subspecies with pelage that was “short and rather
stiff and bristly,” the latter pelage characteristic noted in other pumas from the warmer regions of its
range (Young and Goldman 1946:237). The dark color tones of F. c. coryi were described as approaching
the Olympic puma (F. c. olympus), but with a more distinct tawny color over the median dorsal area.
The generalized “dark” characterization was also noted by Cory who described the pelage of the Florida
Puma as being “more rufus in color” than more northern pumas (Cory 1896:41). Young and Goldman
also noted that in most Florida specimens the head, neck, and shoulders were “irregularly flecked with
white,” a pelage characteristic observed in pumas throughout its range but much more prevalent in the
Florida population.

In their 5-Year Status Review of the Eastern Puma, the USFWS characterized Young and Goldman (1946)
as follows:

Young and Goldman’s (1946) taxonomy of pumas was inadequate, even by the standards of their time.
Their results were based on very small sample sizes, the samples were from an extremely small portion of
the alleged eastern puma’s range, their work was not peer reviewed, their taxonomy lacked statistical
analysis, and their work would likely be rejected under standards for modern scientific journals
(COSEWIC 1998:5, USFWS 2011:32).

This characterization applies to Young and Goldman’s classification of the Florida Puma as well.
However, at the time of publication, Young and Goldman (1946) represented the most comprehensive
historical assessment of the puma throughout its range in North and South America, including their
descriptions of morphological characteristics that could be used to inform taxonomic distinctiveness.
That said, the limited sample size of specimens examined, their qualitative assessment of certain
diagnostic characters, and the arbitrary nature of their historic range delineations suggest that their
classification of 30 subspecies or geographic races of puma “may not reflect historical subdivision and
may not be the optimal units for conservation and management of cougars” (Culver 2010:30).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     29
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 54 of 585
                                                                    SPECIES DESCRIPTION AND TAXONOMY


3.2.3   Assessment of the Evidence Informing Taxonomic Certainty

Below we assess the best available science on the characteristics used to describe the Florida panther in
relation to the puma throughout its range in North and South America, including characteristics used to
differentiate populations and inform taxonomic distinctiveness that were unavailable at the time of
Young and Goldman (1946) and unavailable for the original listing of the Florida panther as an
Endangered subspecies in 1967. Lastly, we assess the current scientific consensus on the taxonomic
classification of puma, including the taxonomic revision for P. concolor recognized by the Cat
Classification Task Force (CCTF) of the International Union for Conservation of Nature (IUCN) Cat
Specialist Group (Kitchener et al. 2017).

We acknowledge the subjective nature of subspecies classification and that universally accepted criteria
for delineating subspecies, including mammals, are lacking. However, when assessing the reliability or
certainty of the taxonomic status of species and subspecies, it is important to use multiple sources of
information on the concurrence of multiple lines of evidence, including morphological, molecular,
biogeographical, behavioral, and ecological characteristics (Haig et al. 2006, Kitchener et al. 2017).
Kitchener et al. (2017) proposed and implemented a system for indicating taxonomic certainty of Felidae
taxa based on the aforementioned lines of evidence; therefore, our assessment of the best available
science informing the taxonomic classification of the Florida panther is structured based on these
categories.

Morphological: The Florida panther, as with many traditional subspecies, was initially described based
on a combination of morphological traits. Young and Goldman (1946) placed the greatest emphasis on a
combination of defining cranial characters as a means to distinguish the geographic races of puma.
Below we assess the best available science on the skull morphometric and pelage characteristics used to
distinguish the Florida panther population in relation to the puma throughout its range in North and
South America.

Anderson (1983) provided the first statistical assessment of the cranial measurements recorded by
Young and Goldman (1946). Anderson tested for significant differences in mean cranial measurements
among 20 of the 30 subspecies recognized by Young and Goldman (1946) that had sufficient sample
sizes for analysis. Anderson (1983) found no significant differences between P. c. coryi and other
subspecies in the mean width of nasals, a primary characteristic used by Young and Goldman (1946) to
distinguish P. c. coryi specimens from other populations. The test for differences in mean cranial
measurements among subspecies quantified by Anderson (1983) demonstrated inconsistencies with
some of the characters that formed the basis for the subspecies delineated by Young and Goldman
(1946). However, the tests applied by Anderson to the cranial measurements did provide support for a
latitudinal variation in the size of puma, a relationship first statistically quantified by Kurtén (1973) and
noted by Young and Goldman (1946) in their qualitative assessment of puma cranial features.

The first comprehensive assessments of the variations in puma skull morphology across North and South
America was published approximately 50 years after Young and Goldman (1946) published their
extensive study and taxonomic classification of pumas. These assessments examined cranial and
mandibular measurements for 1201 and 1700 adult puma skulls, respectively, from North and South
America to explain patterns of geographic and age-related variation in puma cranial morphology (Gay
and Best 1995, Gay and Best 1996a, Gay and Best 1996b). The cranial, tooth, and mandibular
measurements in the Gay and Best studies did not replicate all measurements used by Young and

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           30
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 55 of 585
                                                                  SPECIES DESCRIPTION AND TAXONOMY


Goldman (1946) and some characteristics that were consistent with those quantified by Young and
Goldman were measured differently. For example, Young and Goldman (1946) measured nasal width at
the “anterior tips of frontals,” whereas Gay and Best (1995, 1996b) measured nasal width at the opening
of the nasals (Figure 3.6). Gay and Best (1995) found considerable geographic variation and a lack of any
geographic pattern in sexual dimorphism among puma populations and concluded that sexual selection
was the most probable explanation for the differences in cranial and mandibular characters between
genders among populations. Gay and Best (1996a) found the pattern of geographic variation in the size
of puma skulls was consistent with Bergmann’s rule of size variation (Bergmann 1847, Mayr 1963), with
populations of larger pumas occurring more distant from the equator than populations of smaller
pumas. These results supported the findings of earlier studies that found Bergmann’s rule explained the
variation in cranial measurements of pumas (Kurtén 1973, Anderson 1983). Skulls examined from
Florida (n = 26), Arkansas-Louisiana (n = 6), and New England (n = 8) occasionally grouped with samples
from South America, indicating that pumas from these populations were smaller relative to other puma
populations in United States and Canada (Gay and Best 1996b). Their research also demonstrated that
changes in cranial characteristics occur throughout the lifetime of a puma and cautioned that “age
variation should be considered in studies involving the assessment of morphologic variation among
pumas” (Gay and Best 1996a:197). The objectives of the Gay and Best studies were not to provide a
taxonomic assessment or validation of the described subspecies of North and South American pumas.
However, their research quantified the geographic patterns of morphologic variation in the skulls of
pumas and their findings demonstrated that these patterns were attributed to latitudinal clines as
opposed to the geographical groupings described by Young and Goldman (1946).

Wilkins et al. (1997) conducted the most comprehensive assessment of the morphological characters of
the Florida panther population in the context of the geographic variation expressed by the species
throughout its range. Wilkins et al. (1997) examined the pelage characteristics and cranial morphology
of museum specimens assigned to P. c. coryi in comparison to specimens of puma collected throughout
its range in North and South America. The primary objectives of their study were to identify and
quantify the morphological traits that best describe the Florida panther, to assess if any changes in
morphology over time were the result of the small, isolated nature of the Florida population, and to
discern whether genetic differences corresponded to any morphological differences within the Florida
population. A secondary objective of their study was to develop a means to identify Florida panthers as
a tool for law enforcement to determine the origin and identification of pumas killed outside the known
range of the panther. Their sample from the southeastern United States included 72 specimens from
Florida dating back to the mid-1800s and seven specimens from outside of Florida. The specimens
outside of Florida included 3 from Louisiana originally classified as F. arundivaga and later synonymized
with F. c. coryi by Nelson and Goldman (1929), the only non-Florida specimens used by Young and
Goldman (1946) to delineate F. c. coryi. The non-Florida specimens examined by Wilkins et al. (1997)
also included the following: 1 collected in Caddo Parish, Louisiana in 1965; 2 collected in Arkansas
(Ashley County and Logan County, 1969 and 1975 respectively); and 1 specimen from South Carolina
with unknown origin.

Wilkins et al. (1997) quantified nonlinear characters of the cranial profile (Figure 3.6) as a measure of
the distinctive nasal contour, or “Roman nose,” of the Florida panther qualitatively described by Young
and Goldman (1946) as a diagnostic characteristic that distinguished the Florida panther from other
described subspecies. Wilkins et al. (1997:227) also employed multivariate techniques to evaluate “the

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      31
   Case 1:21-cv-00119-RDM                Document 149-2           Filed 01/12/24        Page 56 of 585
                                                                     SPECIES DESCRIPTION AND TAXONOMY


possible morphological boundaries of populations (subspecies) and variation within the Florida
population.” The sample included 338 specimens representing 29 historic subspecies, although some
taxa were represented by a single or few specimen. Wilkins and her colleagues found significant
differences in cranial profile measurements in 15 of 27 subspecies when compared to historic P. c. coryi
specimens, including the historic Louisiana puma (F. arundivaga) specimens reclassified by Nelson and
Goldman (1929) as F. c. coryi. Significant differences in cranial profile measurements were also
recorded between historic P. c. coryi specimens and more recent kills from Arkansas and Louisiana,
areas within the described historic range of the Florida panther (Wilkens et al. 1997). Wilkins et al.
(1997) detected no significant differences in cranial profile measurements between historic P. c. coryi
and P. c. couguar (n = 4), P. c. olympus (n = 1), and P. c. oregonensis (n = 24). Wilkins et al. (1997)
attributed their findings to small sample sizes and limitations of their technique, yet the cranial profile
findings related to F. arundivaga and P. c. couguar remain inconsistent with Young and Goldman (1946).

Wilkins et al. (1997) analyzed 18 cranial measurements of 55 specimens assigned to P. c. coryi, including
the 3 historic specimens from Louisiana, and specimens from other North American subspecies (n = 183)
to test the assertion of Young and Goldman (1946) that the skull proportions of Florida panther differ
from those of western subspecies. The authors noted that sample size constraints limited the analyses
to six subspecies: P. c. azteca, P. c. californica, P. c. coryi, P. c. hippolestes, P. c. kaibabensis, and P. c.
oregonensis; however, specimens of P. c. stanleyana were also used in the analysis that explored
whether specimens identified as P. c. coryi from Louisiana and Florida could be discriminated from other
populations from the southern United States. The most significant findings from these analyses showed
a general lack of overlap in cranial measures between P. c. coryi, P. c. stanleyana, and P. c. azteca and
that the more recent specimens examined from Louisiana and Arkansas were reclassified into P. c.
stanleyana. In addition to the more recent specimens form Louisiana and Arkansas, one of the three
historic specimens from Louisiana was also reclassified as P. c. stanleyana based on the cranial
proportions analyses. It should be noted that one of the few diagnostic characteristics of P. c. coryi
skulls quantified by Young and Goldman (1946) was the width of nasals measured at the anterior tips of
frontals. Wilkins et al. (1997) did not include nasal width measurements in their comparisons of cranial
proportions.

Wilkins et al. (1997) examined pelage features of specimens classified as P. c. coryi relative to other
subspecies throughout its range. Wilkins et al. (1997) used a spectrometer to quantify the color of 282
museum pelts representing 13 historic puma subspecies from North and South America and found
considerable overlap among all subspecies, a result not unexpected given the color variation present in
the puma species. Separate comparisons of P. c. coryi pelts to selected North and South American
subspecies revealed patterns that corresponded to the qualitative descriptions given by Young and
Goldman (1946). Wilkins et al. (1997:232) characterized the P. c. coryi specimens as darker than
western and northern inland North American populations but found “virtually no difference in color
measures between P. c. coryi and coastal populations from Oregon and Washington (P. c. oregonensis
and P. c. olympus),” observations consistent with Young and Goldman (1946). Wilkens et al. (1997) also
examined two additional pelage features, white flecks and a mid-dorsal whorl, that were frequently
observed in the Florida panther population. The authors noted the prevalence of irregular flecking of
white hairs on the head, neck, and shoulders of Florida panthers, a characteristic noted by Bangs (1899)
and Young and Goldman (1946). The authors concluded that the flecking in the Florida population was
likely caused by ticks (Ixodes sp.) and that this trait should not be considered a true morphological

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            32
   Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24        Page 57 of 585
                                                                    SPECIES DESCRIPTION AND TAXONOMY


character given it was an environmentally induced color change. Wilkens et al. (1997) examined 648
skins from museum specimens representing 15 North American and 14 South American described
subspecies and live animals from 3 states (Florida, Texas, and Colorado) to assess the prevalence of a
mid-dorsal whorl of hairs, a trait frequently present in Florida panthers but not mentioned in earlier
morphological descriptions. The authors found the trait expressed in six North American subspecies and
four South American subspecies, but at very low frequencies outside of Florida. Although the
prevalence of the mid-dorsal whorl could be used to identify a cat from the Florida population, the
authors alluded to the fact that the high frequency of expression of this trait is considered a
manifestation of inbreeding and reduced levels of genetic variability, a conclusion supported by later
studies (Roelke et al. 1993b, Johnson et al. 2010).

Although small sample sizes and problematic techniques limited the interpretive value of some of their
results, Wilkins et al. (1997) supported the characterization by Young and Goldman (1946) that
geographic races of puma are based on a combination of morphological characteristics that prevail in
areas of uniform environmental conditions. For example, Wilkens et al. (1997) found that the Florida
population was morphologically most similar, based on pelage coloration and cranial profile, to the
puma populations from the coastal area of the northwestern United States (P. c. oregonensis and P. c.
olympus), similarities that may be attributable to a common environmental parameter (e.g. high
humidity). The quantitative measures of the inflated nasal profile reinforced the diagnostic importance
of this trait for identifying individuals from the Florida population, as first described by Young and
Goldman (1946). Wilkins et al. (1997:251) concluded that the Florida population “appears to be well
defined based on pelage markings, color, and the cranial profile. None of these characters is unique in
itself; however, in combination, they provide a basis to describe the Florida population, whether or not
one accepts the concept of a subspecies.” Whereas this characterization may have been accurate for
color and cranial profile, Wilkens et al. (1997) use of pelage markings (e.g., white flecking, mid-dorsal
whorl) to describe the Florida population should not be used as evidence to support taxonomic
distinctiveness. Wilkens et al. (1997) placed importance on the presence of a mid-dorsal whorl and
kinked tail as diagnostic morphological traits that clearly identify an individual as originating from the
native Florida population. However, the prevalence of these phenotypic traits in the Florida population
were indicators of inbreeding depression resulting from recent anthropogenic impacts (Roelke et al.
1993b, Johnson et al. 2010) and should not be considered diagnostic characters that inform taxonomic
distinction (Kitchener et al. 2017). The other pelage marking Wilkins et al. (1997:236) identified as
useful for recognizing cats from Florida, the “white flecking” of hairs caused by ticks, is “an
environmentally induced color change and not a genetically inherited trait, it is not considered a true
morphological character.” Whereas the findings of Wilkins et al. (1997) support the importance of the
inflated nasal profile as a diagnostic character for identifying individuals from the Florida population, the
findings relative to the historic specimens from Louisiana (F. arundivaga) and those classified as the
Eastern puma (P. c. couguar) are inconsistent with Young and Goldman (1946). Also of note is that the
recent specimen from Louisiana categorized by Wilkens et al. (1997) as significantly different from P. c.
coryi was previously assessed by Lowery (1974:466) as being “unequivocally assignable to coryi,” a
finding inconsistent with Wilkins et al. (1997) and highlighting the limitations of using morphological
differences, especially when qualitatively assessed, to inform assignment to geographic races or
subspecies.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         33
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 58 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY


A subsequent morphometric study by Finn et al. (2013) examined the characteristic skull morphology of
Florida panthers described by Young and Goldman (1946) and quantified by Wilkins et al. (1997) to
determine whether the genetic introgression with Texas pumas in 1995 changed these defining
characteristics and also to assess whether the metrics that were historically used to differentiate Florida
panthers from other subspecies of puma were still valid. Finn et al. (2013) used a high-resolution digital
imaging system to measure and compare the nasal profiles and 15 other cranial characteristics of
several groupings of Florida panthers: Historic = born prior to 1995; Recent = born after 1995; Non-
admixed = pure Florida panthers (or canonical Florida panthers); Admixed = panthers with >10 percent
Non-Florida ancestry; and Texas pumas. By incorporating Texas-Florida admixed panthers and known
genetic ancestry, the Finn et al. (2013) study added 2 additional levels of scrutiny to the Wilkens et al.
(1997) study in addition to the increased precision of cranial measurements by using high-resolution
digital imaging instead of calipers.

Finn et al. (2013) found significant differences between males and females for the 15 cranial
measurements, findings that supported Gay and Best (1995) and Wilkens et al. (1997) and that these 15
measures were not significantly changed as a result of the intentional introgression of Texas puma
genes. Finn et al. (2013) found significant differences in the 15 skull measurements when comparing
Texas pumas to Florida panthers, findings that supported Young and Goldman (1946), Gay and Best
(1995), and Wilkens et al. (1997). As with Wilkins et al. (1997), Finn et al. (2013) did not include nasal
width measurements, one of the few diagnostic characteristics of P. c. coryi skulls quantified by Young
and Goldman (1946). No significant differences in nasal profiles were found when comparing canonical
panthers to admixed panthers, adding further evidence that the genetic introgression did not
significantly alter the defining characteristics or uniqueness of the Florida panther in regard to skull
morphology (Finn et al. 2013). However, Finn et al. (2013) did not observe significant differences in
nasal profile measurements when comparing Florida panthers to Texas pumas, a finding contrary to
Young and Goldman (1946) and Wilkens et al. (1997). Finn et al. (2013) stated that the lack of significant
differences in nasal profiles between Florida panthers and Texas pumas, findings contrary to Wilkens et
al. (1997), may have been an artifact of the small sample size of Texas pumas (n=8) and/or attributable
to the differences in data collection methods between the 2 studies (measurements taken with a high-
resolution digital imagery versus a carpenter’s contour gauge).

In summary, Young and Goldman (1946) emphasized the importance of cranial measurements and the
qualitative assessment of cranial features as diagnostic tools for determining taxonomic distinction
among puma subspecies in North and South America. More recent scientific studies provided a more
comprehensive assessment of these cranial features using more advanced analytical techniques. These
later studies demonstrated that geographic variation in puma cranial features was more attributable to
the distance from the equator as opposed to the geographic clines that formed the basis for the
subspecies groupings described by Young and Goldman (1946). Although these morphological studies
provided support for the general characterization of the highly-arched nasal profile used by Young and
Goldman as a diagnostic characteristic that distinguished the Florida population, these studies also
demonstrated inconsistencies with the characterization of earlier subspecies groups. Kitchener et al.
(2017:5) caution that “average differences and size differences alone are not considered reliable
indicators of taxonomic distinctiveness.” The described difference in puma cranial morphology that
formed the basis for the earlier subspecific designations may not necessarily represent actual genetic



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        34
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 59 of 585
                                                                SPECIES DESCRIPTION AND TAXONOMY


differences and may not be reflective of the historic subdivision of puma in North and South America
(Haig et al. 2006, Culver 2010).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      35
                        Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 60 of 585
                                                                                                           SPECIES DESCRIPTION AND TAXONOMY




Figure 3.6. Nasal width measured at anterior tips of frontals (A; Young and Goldman 1946), opening of the nasals (B; Gay and Best 1995, Gay
and Best 1996b). Approximate delineation of the nasal profile contour (C) qualitatively assessed by Young and Goldman (1946) and
quantitatively measured by Wilkins et al. (1997) using a carpenter’s contour gauge and by Finn et al. (2013) using high-resolution digital imaging.




                                        SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        36
   Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24        Page 61 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY




Genetic: Genetics have increasingly played an important role in delineating the taxonomic status of
varied species and subspecies over the past 30 years. As techniques have improved and costs
associated with implementing them have declined, genetic markers have proved invaluable at compiling
data that can serve to inform decisions related to taxonomy.

Genetic data, along with the fossil record, from varied extant wild felids (Family Felidae) have helped
clarify their phylogenetic relationships (Johnson et al. 2006). The Puma Lineage (comprised puma,
jaguarundi [Puma yaguarondi], and African cheetah [Acinonyx jubatus]) is old and divergent within the
Felidae and likely originated from a North American ancestor (Johnson and O’Brien 1997, Slattery and
O'Brien 1998, Culver 2010). Molecular data has shown that puma diverged from jaguarundi 4.17 million
years ago (MYA; Matte et al. 2013). The Puma Lineage probably evolved in North America and then
migrated into South America 2–4 MYA during the Great American Interchange after the formation of the
Panamanian land bridge (Culver 2010:28). Subsequent phylogenetic analyses have revealed that genetic
diversity in the puma is larger in South America in comparison to specimens from North and Central
America, which suggests that puma likely had to recolonize North America from South America,
following mass extinctions in North America that occurred in the late Pleistocene (Pielou 1991, Culver et
al. 2000, Matte et al. 2013). This founder effect is what is believed to have led to the mono-haplotypic
character of North American puma identified in several studies via mitochondrial DNA (mtDNA)
sequencing (Culver et al. 2000, Caragiulo et al. 2013, Matte et al. 2013). That being said, results from
recent genomic analyses that utilized nuclear DNA presented an alternate theory to the phylogeographic
history of puma (Saremi et al. 2019). Their data suggest that North American puma diverged from a
South American ancestor ~300,000–100,000 years ago, a significantly longer timeframe into the past in
comparison to the 20,000 years noted in mtDNA studies (Culver et al. 2000; Matte et al. 2013). These
findings support a scenario where puma dispersed into North America from South America —where the
puma lineage originated— prior to the last glacial maximum (20,000 year ago) and have persisted there
until present day (Saremi et al. 2019). Recent puma fossil evidence unearthed in South America that
dates 1.2–0.8 mya provides additional support for this hypothesis (Chimento and Dondas 2017).

All combined, these genetic studies provide empirical evidence for a need to revisit puma taxonomy (see
previous sections), and more specifically the trinomial status of some populations of puma, with the
caveat that subspecific designations in mammals have a history of being controversial and difficult to
rigidly define, whether through morphology, molecular techniques, geography, or other variables (Mayr
1982, O'Brien and Mayr 1991, Haig et al. 2006).

Early genetic analyses on puma include work on karyotyping varied members of Felidae that was
completed as far back as the 1960s (Hsu et al. 1963, Robinson 1976). Interestingly, molecular research
that opened the way for a subsequent wide array of projects focusing on puma phylo- and conservation
genetics relied on samples collected from Florida panthers (O'Brien et al. 1990). This study used both
allozyme polymorphisms (i.e., protein electrophoresis) and mtDNA restriction fragment length
polymorphisms to assess the history of genetic introgression in Florida panthers and where panthers
cluster in comparison to other puma from North and South America. Whereas O’Brien et al (1990)
deciphered the sources of a historic introgression apparent in panthers, it also alluded to the dire straits
faced by the Florida panther in terms of the reduced allozyme variation relative to other puma
populations.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         37
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 62 of 585
                                                                SPECIES DESCRIPTION AND TAXONOMY


It would take another decade before puma were the focus of genetic analyses assessing their
phylogeography and taxonomy. Culver et al. (2000) completed an exhaustive study on puma samples
from across a wide breadth of their distribution to assess the genomic ancestry of puma. They applied
more novel molecular markers (mtDNA sequence and microsatellites) compared to previous studies.
Their findings gave further support to a hypothesis that ancestral puma populations radiated out of
South America to recolonize North America via a small number of founders after the late Pleistocene
extinctions on that continent approximately 10,000 years ago. The phylogeographic groupings that they
surmised from their analyses also permitted them to suggest revisiting the subspecific taxonomy of
puma throughout their distribution. Culver et al. (2000) followed the modus operandi for qualifying the
subspecies taxonomic level by noting they should share: a unique range; a group of phylogenetic
concordant characters, and a unique natural history relative to other subdivisions of the species (Avise
and Ball 1990, O'Brien and Mayr 1991). Culver et al. (2000) did not affirm the 32 subspecies of puma
presented by Young and Goldman (1946) and subsequent descriptions by Jackson (1955) and Cabrera
(1958). Culver et al. (2000) proposed a revision to subspecific designations assorting modern
populations of puma into six phylogeographic subspecies (Figure 3.7). One of these phylogeographic
subspecies encompassed all puma in North America, effectively collapsing 15 subspecies defined in that
region by Young and Goldman (1946) to a single subspecies, P. c. couguar. Since the Florida panther
samples that were used in this study did not separate out as a unique subspecies, the results of this
work suggest that the Florida panther may not merit said taxonomic designation. Of note, Culver (2010)
mentions that there is not complete agreement among biologists and managers on whether the Florida
panther should be lumped with the rest of the North American pumas. Culver does not provide a
citation for the aforementioned statement; however, this was likely a reference to the characterization
presented in the 2009 Florida Panther Five-Year Review of the scientific community’s acceptance of the
use of genetics in puma taxonomy (USFWS 2009:10).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    38
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 63 of 585
                                                                SPECIES DESCRIPTION AND TAXONOMY




Figure 3.7. Geographic ranges of six revised subspecies of Puma concolor as defined by mtDNA and
microsatellite analyses and delineated by Culver et al. (2000). Map provided by Dr. Melanie Culver.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     39
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 64 of 585
                                                                  SPECIES DESCRIPTION AND TAXONOMY


A subsequent phylogeographic analysis of puma was completed by Caragiulo et al. (2014). They
followed up on the work of Culver et al. (2000) using mtDNA sequence data from 586 contemporary and
15 historic puma samples that were collected from portions of North, Central and South America. Their
findings were in part similar to Culver et al. (2000) with regards to their reconstruction of the genomic
history of puma: ancestral haplotypes and greater genetic variation were rooted in South America;
North American puma exhibited fewer haplotypes and lower genetic diversity, indicative of a founder
event associated with recolonization of puma from South to North America in the post-Pleistocene era.
Caragiulo et al. (2014) conclude that their analyses do not support six taxonomic units (i.e., subspecies)
of Culver et al. (2000), with the caveat that this may have been due to incomplete geographic sampling.
Their results indicate that puma can be separated into only 3 broad geographic groupings: North,
Central and South America. Unlike Culver et al. (2000), they do not suggest using these groupings to
revise the subspecific taxonomy of P. concolor. It’s important to note that sampling across the United
States was limited in this study. Specifically, no samples from Florida panthers, or pumas from the
Central Rockies, Desert Southwest or California were analyzed.

The puma genomics study by Ochoa et al. (2017) focused on both evolutionary and functional
mitogenomics (i.e., assessment of phylogeographic histories and identifying polymorphisms which may
have beneficial or deleterious impacts on function) of the panther and the impact of genetic restoration.
They analyzed the complete mtDNA genomes (17,513bp) of 6 Florida panthers with differing genetic
backgrounds: 3 canonical panthers (FP12, FP45, and FP60), 1 Everglades panther (FP16), and 2 admixed
F1 panthers that resulted from the genetic restoration project (FP73, FP79). They also sequenced the
mtDNA genomes of the 5 Texas females that successfully reproduced after release into South Florida in
1995 (TX101, TX105-TX108). They identified 5 unique haplotypes (Pco1-Pco5): Pco1 was associated
with FP16, a sample previously noted as having genetic signatures of inadequately documented releases
of captive puma in the 1950s and 1960s in Everglades National Park (ENP; Roelke at al. 1993, Johnson et
al. 2010); Pco2 was unique to the three canonical Florida panthers; Pco3 and Pco4 were associated with
the Texas females introduced into Florida in 1995; and Pco5 was identified in a sample that was
downloaded from GenBank® for comparative purposes. The fact that a unique haplotype for Florida
panthers was identified using the complete mtDNA genome is of interest, although perhaps not
surprising given the number of base pairs that are involved in the comparison between samples. That
said, Ochoa et al. (2017) provide an interesting comparison of portions of the mtDNA genome that
overlap with mtDNA sequence data from Culver et al. (2000) that was used to propose the delineation
of all pumas in North America as a singular subspecies (P. c. couguar). Ochoa et al. (2017) revealed that
Pco1 aligns with haplotype C (Costa Rica and Panamanian origin) of Culver et al. (2000), while Pco2-Pco4
correspond to haplotype M, the haplotype that comprised almost all the North and Central American
samples analyzed by Culver et al. (2000). The conclusions of Ochoa et al. (2017) lend additional support
to the taxonomic revisions suggested by Culver et al. (2000).

The most recent analysis of puma genomics was published by Saremi et al. (2019). The focus of this
study was assessing the genomic impacts of inbreeding on pumas from both North and South America.
In doing so, they also revisited the phylogeographic question of the origin of P. concolor previously
described in Culver et al. (2000), Matte et al. (2013) and Ochoa et al. (2017). They analyzed a draft
nuclear genome of a puma from California along with a geographically broad panel of nine puma that
were resequenced, including samples from three Florida panthers. Mitochondrial (mtDNA) genomes
were also reconstructed for these puma. The maternally inherited mtDNA genomes inferred that

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      40
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 65 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY


observed haplotypes in North America cluster together, the exception being a panther from Everglades
National Park that was known to have mixed ancestry from previous analyses (Johnson et al. 2010).
These results coincide with the findings of analyses that focused on maternally inherited mtDNA that
also showed most North American pumas belonging to a singular haplotype versus Central and South
American animals that expressed higher haplotypic diversity (Culver et al. 2000, Matte et al. 2013,
Ochoa et al. 2017). Conversely, nuclear genomic data analyzed by Saremi et al. (2019) suggest a
different finding for the divergence theory of North and South American puma than previous studies
that relied on mtDNA. Saremi et al. (2019) data suggest that North American puma diverged from a
South American ancestor ~300,000-100,000 years ago, a significantly longer timeframe into the past in
comparison to the 20,000 years noted in mtDNA studies. These findings support an alternative
hypothesis regarding puma divergence in which pumas dispersed into North America from South
America prior to the last glacial maximum (20,000 year ago) and have persisted there till present day.

Saremi et al. (2019) also assessed clustering of samples using 166,037 single nucleotide polymorphisms
(SNPs) as markers. The STRUCTURE analysis for assignment testing to clusters delineated that samples
would be most likely to fall into three groupings (K=3). Of the 10 puma that were analyzed, they
clustered into South American (Brazilian samples, N=2), Western North American (California and
Wyoming, N=5), and Florida (N=2). The Florida panther collected in Everglades National Park expectedly
showed a mixed ancestry between Florida and South American clades. These results provide evidence
to support the continued ability to assign pumas to specific geographic regions due to the genetic
signatures which are unique to those areas.

Given the long history of research on the Florida panther, there has been a voluminous archive of DNA
samples collected from the population over more than 3 decades. These samples have been comprised
of individuals that have canonical, Everglades, and admixed ancestry. Researchers at the FWC have
recently completed analyses that utilized genotype data from 16 microsatellite loci (nuclear DNA that is
biparentally inherited) using both a multivariate technique known as a Principal Coordinate Analysis
(PCoA) in GenAlEx 6.503 (Peakall and Smouse 2012) and an individual-based Bayesian clustering analysis
to identify ancestral groupings in the program STRUCTURE 2.2.4 (Pritchard et al. 2000). The PCoA
analysis permits the plotting of patterns in a multivariate data set (e.g., multiple loci for multiple
samples) of allele frequencies. The FWC completed a PCoA on a group of samples that included 424
panthers and 135 pumas from western populations in Texas, Idaho, Colorado, North Dakota, and South
Dakota (FWC unpublished data). The PCoA revealed that Florida panthers can still be differentiated
from puma populations in the western United States via the suite of 16 microsatellites that continue to
be used to monitor the genetic health of the population. Cohorts of panthers born prior to genetic
restoration (mostly canonical panthers but inclusive of some with Everglades ancestry) and in the post-
genetic restoration era (mostly admixed but some canonical panthers) continue to separate from puma
in Texas, although that group of samples is most proximal in terms of the amount of variation between
them (Figure 3.8). Most western United States populations, except Texas, show a high degree of overlap
in the PCoA. This degree of overlap is likely because many populations of puma in the western United
States have more contiguous habitat, increasing the likelihood of long-range dispersal between states
and reducing the level of genetic structure between them. The clustering analysis in STRUCTURE was
completed using genotype data from 218 panthers and 7 of the 8 female Texas pumas that were
released into South Florida as part of the genetic introgression project (see Figure 4 in van de Kerk et al.
2019). The proportional membership of these samples was delineated into two clusters (i.e., canonical

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        41
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 66 of 585
                                                                  SPECIES DESCRIPTION AND TAXONOMY


and admixed [non-Florida] ancestry). The analysis clearly revealed how genetic introgression has
resulted in increased admixture of the population in the post-introgression era as well as the differences
in ancestry between the Texas pumas and all panthers (Figure 3.9). It is plausible that the admixed
ancestry of panthers that comprise most individuals in the wild today more closely resembles that of
Florida panthers that existed prior to their isolation in South Florida. We would expect a population that
receives periodic levels of gene flow from conspecifics, such as likely occurred before panthers were
restricted to South Florida, would have levels of ancestry associated with gene flow from adjacent
populations. Nevertheless, all panthers in the post-introgression era continue to exhibit varied levels of
ancestry associated with the canonical panthers. In summary, data from these analyses provide support
for a level of genetic distinctness that remains in Florida panthers when compared to puma populations
in the western United States, including Texas.

The CCTF of the IUCN SSC Cat Specialist Group published a report in the winter of 2017 that focused on
revising the taxonomy of the Felidae (Kitchener et al. 2017). One species that this group of specialists
reviewed was the puma, P. concolor. The section for each felid species is very brief. For puma, the CCTF
outlined the initial six phylogeographic groups that were designated as subspecies by Culver et al. (2000)
and then cited the recent findings of Caragiulo et al. (2014) as evidence that supports only two
geographical groupings, with a caveat regarding sample size for that study. However, Caragiulo et al.
(2014) clearly stated that their results suggested 3 groupings for puma, not 2, so Kitchner et al. (2017)
offered their own interpretation of the haplotypes presented in Caragiulo et al. (2014). Using this
information, Kitchener et al. (2017) proposed the following subspecific taxonomic designations for P.
concolor: puma from North and Central America, as well as northern South America west of the Andes,
are designated as P. c. couguar; puma from South America, perhaps excluding northern South America
west of the Andes, are designated as P. c. concolor (Figure 3.10). The conclusions of Kitchener et al.
(2017) support those of Culver et al. (2000) and do not suggest the continued designation of P. c. coryi
as a unique subspecies.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      42
                       Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 67 of 585
                                                                                                         SPECIES DESCRIPTION AND TAXONOMY




Figure 3.8. Principal Coordinates Analysis (PCoA) constructed using genetic covariance matrices for 424 Florida panthers and pumas from Idaho
(N = 23), Colorado (N = 23), Texas (N = 41), South Dakota (N = 26) and North Dakota (N = 22). This multivariate technique plotted major patterns
for a multilocus (16 loci) dataset for multiple samples (total N = 559). Each point represents an individual animal. The clustering of Florida
panthers (PreGR, PostGR1, and PostGR2 for pre-genetic restoration [born ≤1995], post-genetic restoration1 [1996–2005], and post-genetic
restoration2 [2006–2016], respectively) from pumas in Texas as well as larger contiguous population in western North America reinforce the
level of distinctiveness retained in the Florida population. The two panther samples highlighted with arrow were genetically identified as non-
Florida, which provided further evidence to the initial conclusion that those animals were escapees or released from captivity.



                                        SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     43
                       Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 68 of 585
                                                                                                        SPECIES DESCRIPTION AND TAXONOMY




Figure 3.9. Proportional membership (q) of radiocollared Florida panthers (N = 218) and Texas pumas (N = 7) in two clusters identified by
STRUCTURE. Each individual animal is represented by a separate vertical bar. Yellow indicates canonical panther ancestry, while blue represents
admixed ancestry. The admixed ancestry of the Texas females and F1 generation panthers that were radiocollared are highlighted red and
green, respectively, to demarcate those groups. The pre-introgression period is inclusive of panthers radiocollared from 10 February 1981 to 6
March 1996. The post-introgression era, inclusive of the F1 panthers, includes animals radiocollared from 4 March 1997 to 18 February 2015 (as
presented in van de Kerk et al. 2019).




                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     44
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 69 of 585
                                                                  SPECIES DESCRIPTION AND TAXONOMY




Figure 3.10. Distribution of the subspecies of puma as revised by the Cat Classification Task Force of the
IUCN/SSC Cat Specialist Group (Kitchener et al. (2017).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       45
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 70 of 585
                                                                   SPECIES DESCRIPTION AND TAXONOMY


Biogeographical: Puma have the largest geographic range of any terrestrial mammal of the Western
Hemisphere ranging throughout North, Central and South America (Figure 1.1; Sunquist and Sunquist
2002). This broad range includes major mountain ranges like the Andes and the Rockies, major rivers
like the Amazon and Mississippi (historically), and deserts like the Sonoran, Chihuahuan and Atacama.
Puma are found in all of these regions as long as the associated habitats provide adequate prey and
cover. None of these features within the puma geographic range are considered barriers to their
distribution. However, the panther population has become isolated by over 2200 km from the nearest
puma population, which is located in western Texas (Holbrook et al. 2012), due to varied anthropogenic
factors.

Behavioral: There are no known behaviors unique to panthers that would tend to isolate them
reproductively or otherwise from other puma.

Ecological: The extant panther population is currently restricted to the state of Florida and most
panthers are found in the southern half of the state. The latitude of the southern tip of Florida is further
south than the rest of the continental United States and is considered a tropical savanna climate (Henry
et al. 1994). Tropical savannas are characterized by alternating wet (May through October) and dry
(November through April) seasons. North Florida and the rest of the panther’s historical range, namely
the southeastern United States, fall within a humid subtropical climate zone. Habitat types within the
panther’s former and current range include mixed hardwood forests, conifer forests, bottomland
hardwood swamps, cypress swamps, and pine flatwoods among others.

The tropical savanna climate of South Florida supports many habitats that are unique to the Northern
Hemisphere, but this same climate is shared by portions of Brazil where puma also live (Henry et al.
1994). The Pantanal region of Brazil is very similar to the Everglades/Big Cypress ecosystems of South
Florida with respect to wet and dry seasons and vegetative communities and both of these ecoregions
support puma populations (Schaller and Crawshaw 1980, Iriarte et al. 1990, Negroes et al. 2010,
Onorato et al. 2010).

Wilkens et al. (1997) postulated similarities in pelage coloration and cranial profile between the Florida
population and puma populations from the coastal area of the northwestern United States may be
attributable to a common environmental parameter (e.g., high humidity). However, verifying the
presence of local adaptations can be challenging, especially for a generalist species such as puma.
Furthermore, eight female pumas from arid western Texas were translocated into the panther
population as part of a genetic management strategy. These pumas appeared to adapt quickly to a
dramatically different climate and its associated ecosystems and five of the eight successfully produced
offspring (Johnson et al. 2010).

3.2.4   Scientific Consensus on the Taxonomic Classification of the Puma

Since Culver et al. (2000) first proposed a revision to puma subspecific designations, there has been an
absence of scientific debate or rebuttal in peer-reviewed literature. To the contrary, taxonomic
authorities, including the CCTF of the IUCN Cat Specialist Group, have supported the single North
American subspecies designation. The scientific nomenclature indicating a single subspecies, P. c.
couguar (Kerr, 1972), in North America has gained wide acceptance in the scientific community and
among taxonomic authorities. For example:


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        46
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 71 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY


   •   Mammal Species of the World, 3rd edition (Wilson and Reeder 2005), a collaborative project
       between the Smithsonian Institution’s National Museum of Natural History and the American
       Society of Mammalogists (ASM), is the authoritative reference and industry standard for
       mammalian taxonomy (Haig et al. 2006). Wilson and Reeder (2005) recognized six subspecies of
       P. concolor, as allocated by Culver et al. (2000). Culver et al. (2000) was listed as the sole
       authority for the list of valid synonyms, including P. c. couguar (Wozencraft 2005).
       (http://www.departments.bucknell.edu/biology/resources/msw3/browse.asp?s=y&id=1400020
       9, last accessed 07 February 2020).
   •   The Integrated Taxonomic Information System (ITIS; http://www.itis.gov/) is a partnership of
       federal agencies that includes the Smithsonian Institution, U.S. Department of Interior, and
       USFWS. ITIS is periodically reviewed to ensure valid taxonomic classifications based on the
       latest scientific consensus available; however, ITIS is not a legal authority for statutory or
       regulatory purposes. ITIS recognizes the 6 phylogeographic subspecies designated by Culver et
       al. (2000), including P. c. couguar (Kerr, 1792) as the valid subspecies for North American puma
       with P. c. coryi (Bangs, 1899) listed as an invalid junior synonym
       (https://itis.gov/servlet/SingleRpt/SingleRpt?search_topic=TSN&search_value=552781#null, last
       accessed 07 February 2020) .
   •   The Convention on International Trade in Endangered Species of Wild Fauna and Flora (CITES) at
       its 17th meeting of the Conference of the Parties on October 4, 2016 adopted Wilson and Reeder
       (2005) as the official taxonomic and nomenclatural reference for Puma concolor, with all North
       American pumas representing a single subspecies P. c. couguar (CITES 2016).
   •   The IUCN Red List of Threatened Species™ in its assessment of Puma concolor recognizes one
       subspecies of puma in North America (P. c. couguar) based on Culver et al. (2000) and notes that
       the taxonomy is currently under review by the IUCN SSC Cat Specialist Group (Nielsen et al.
       2015). The review by the IUCN SSC Cat Specialist Group is complete (Kitchener et al. 2017; see
       below).
   •   The IUCN SSC Cat Specialist Group provides periodic assessment of the conservation status of all
       cat species and subspecies based on the IUCN Red List of Threatened Species process. The CCTF
       of the IUCN SSC Cat Specialist Group was comprised of a panel of 22 experts tasked with
       producing a consensus revised classification of the Felidae for use by the IUCN, based on a
       review of recent published research (Kitchener et al. 2017). The CCTF acknowledged the need
       for a system for indicating taxonomic certainty of species and subspecies based on the reliability
       and rigor of the scientific basis behind the classifications (Kitchener et al. 2017). The CCTF
       proposed and applied a simple system to indicate the reliability of a particular taxa that requires
       at least three lines of correlated evidence for taxonomic certainty (Kitchener et al. 2017). The
       CCTF based their taxonomic assessment of P. concolor on the classification used by the IUCN
       Red List of Threatened Species, the accepted classification of the six phylogeographic groups
       designated as subspecies by Culver et al. (2000), and cite the recent findings of Caragiulo et al.
       (2014) as evidence that supports only two geographical groupings and proposed the following
       subspecific taxonomic designations for P. concolor: puma from North and Central America are
       designated as P. c. couguar (Kerr, 1792); puma from South America are designated as P. c.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      47
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 72 of 585
                                                                  SPECIES DESCRIPTION AND TAXONOMY


        concolor (Linnaeus, 1771). Kitchener et al. (2017) did not suggest the continued designation of
        P. c. coryi as a unique subspecies. The CCTF did not identify P. concolor as a species with
        taxonomic uncertainty and no additional research needs were recommended (Kitchener et al.
        2017). The three lines of correlated evidence for P. concolor included morphology, molecular,
        and biogeography.
    •   The Mammal Diversity Database (MMD; Mammal Diversity Database 2020) represents the most
        comprehensive taxonomic compendium of currently recognized mammals in an updatable
        online database managed by the ASM Biodiversity Committee (Burgin et al. 2018). The MDD
        supersedes Wilson and Reeder (2005) and provides real-time published changes to mammalian
        taxonomy and defers to peer-reviewed literature for arbitrating the relative strength of
        evidence supporting taxonomic revisions (Burgin et al. 2018). The MMD entry for P. concolor
        notes two well-supported subspecies, P. c. concolor and P. c. cougar, citing Kitchener et al.
        (2017) (Puma concolor [ASM Mammal Diversity Database #18868] fetched 2020-08-02. Mammal
        Diversity Database. 2020. https://mammaldiversity.org/species-account/species-id=18868).

Although the aforementioned taxonomic authorities support a single North America subspecies of puma
and consider the currently listed Florida panther subspecies as an invalid synonym, there have been no
formal petitions or proposed rulemaking by the USFWS to implement this taxonomic change. However,
there is precedent for the USFWS revising subspecies classifications and listings based on these
authorities. In their 2014 final rule (Federal Register Vol. 79, No. 194, 07 October 2014) determining the
threatened status for a subspecies of markhor (Capra falconeri), the USFWS implemented a taxonomic
change to reflect the combining of the straight-horned markhor (C. f. jerdoni) and Kabul markhor (C. f.
megaceros) into one subspecies, the straight-horned markhor (C. f. megaceros). This taxonomic revision
reflected the current scientifically accepted taxonomy and nomenclature and maintained consistency
with the taxonomic classification for markhor subspecies recognized by ITIS, IUCN, the IUCN SSC
Caprinae Specialist Group, and CITES. Prior to the taxonomic change, the straight-horned markhor and
Kabul markhor were listed separately as endangered. The USFWS eliminated the separate listing and
added the combined straight-horned markhor as a threatened subspecies under the ESA.

There is also precedent for the USFWS revising the taxonomic classification of cat species based on a
taxonomic change recommended by the IUCN SSC CCTF. In the 2015 final rule (Federal Register Vol. 80,
No. 246, 23 December 2015) listing two lion subspecies, the USFWS accepted the taxonomic change for
two lion subspecies (P. l. leo and P. l. melanochaita) as recommended by the IUCN CCTF and the
supporting genetic analyses of mtDNA, nuclear DNA sequence, and microsatellite variation as the best
available scientific and commercial data.

3.2.5   Use of Genetics to Identify Source Population of Origin for Pumas Found Outside of Known
        Breeding Ranges

The expansion of puma eastward from established population in the western United States has been
extensively documented over the last several decades (LaRue et al. 2012). Reestablishment of puma
populations in certain parts of the Midwest and Eastern United States seems to be a possibility in the
long-term if females begin to follow male counterparts on eastward dispersals (LaRue and Nielsen 2011,
Hawley et al. 2016). Given that we know Florida panthers can disperse extensive distances (e.g.,
UCFP123 was shot >800 km from the source population in South Florida; FWC unpublished data), it

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      48
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 73 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY


stands to reason that it is plausible pumas from the west may eventually disperse into Florida as well.
Having a standardized and regimented technique to assist with deciphering the population of origin of
these dispersing puma is informative to puma science and may have conservation implications for
Florida panthers from a taxonomic perspective. Puma experts and law enforcement agencies rely on
genetics as a primary tool to identify the source population of origin for pumas found outside of known
breeding ranges and do not rely on the morphological characteristics traditionally used to describe the
geographic races and subspecies.

As previously noted, the FWC currently has a database of microsatellite genotypes from over 800
panthers that has proven useful in denoting the genetic distinction between DNA samples from
panthers and populations of pumas from several states in western North America using a principal
coordinate analysis (PCoA; FWC unpublished data). A larger, more comprehensive database that utilizes
puma samples collected in 12 different states and genotypes from 20 microsatellite loci has been
compiled at the National Genomics Center for Wildlife and Fish Conservation (NGCWFC) in Missoula
Montana. This is the same laboratory that is the current contractor for processing panther samples for
FWC. The NGCWFC has been involved in several high-profile case studies involving DNA samples
collected from pumas that were located far eastward from the breeding ranges in the western United
States (Tumlison and Barbee 2015, Hawley et al. 2016). The NGCWFC uses a three-pronged approach
for population assignment to quantitatively assess what population a DNA sample from a puma can be
assigned to. This approach involves the application of population assignment testing using
microsatellite genotypes within three population genetic programs: STRUCTURE, GenAlEx and
GENECLASS2 (Peakall and Smouse 2012, Piry et al. 2004, Pritchard et al. 2000). Typically, all three
programs provide good consensus on the population of origin. In the minority of cases where a
consensus is not clear, GENECLASS2 provides results that assess the probability that samples originated
from a reference population or a population that has not been sampled. The level of genetic
distinctiveness between different populations of pumas remains sufficient, at this time, to assist with
determining whether a sample is, for example, a disperser from source populations in the Black Hills of
South Dakota, West Texas, or Colorado. Having this capacity to assign puma to source populations
certainly has ramifications for assessing range expansion in panthers and determining the probability of
gene flow between this population and dispersing animals from the west.

This gradient of genetic distinctiveness within North American puma and among all puma in the
Western Hemisphere also complicates subspecies designations. As discussed earlier in the SSA, there is
no “bright line” that allows puma populations to be segregated into easily-defined groups. Since 2000,
various genetic analyses have suggested 6 groupings (Culver et al. 2000), 3 groupings (Caragiulo et al.
2013) and 2 groupings (Kitchener et al. 2017) of all puma in the Western Hemisphere. Regardless of
how puma are grouped, this spectrum of genetic distinctiveness, a component of its representation (one
of the 3 R’s), contributes to this species ability to adapt to changing environmental conditions.

3.2.6   Assessment of Binomial/Trinomial use in Scientific Literature

We examined over 200 scientific papers published on puma ecology, management, taxonomy, genetics,
human dimensions and health and recorded whether the authors used binomials (genus and species) or
trinomials (genus, species and subspecies). Our literature list included papers published between 1966
and early 2018, 89 of which dealt specifically with Florida panthers and 113 were on puma outside of
Florida. Overall, 100 percent of panther papers used the trinomial (Puma concolor coryi) but only 12

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     49
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 74 of 585
                                                                 SPECIES DESCRIPTION AND TAXONOMY


percent (n = 14 papers) of puma papers used trinomials. Of those 14 puma papers that used trinomials,
six appeared to use trinomials as a geographic convenience to indicate where their study animals
occurred and another six used trinomials when referring to subspecies having a unique conservation
status (i.e., eastern cougar, Florida panther, and Yuma puma). The remaining two papers were focused
on puma taxonomy at the subspecific level. Trinomials are most commonly used when referring to a
puma population that has a conservation status of concern and Puma concolor coryi is still used by
current peer-reviewed papers in scientific journals.

3.2.7   Taxonomic Assessment Summary

We recognize that a more formal resolution regarding the current taxonomic status of the Florida
panther may be warranted. That said, based on our assessment, the taxonomic classification of the
Florida panther as described by Young and Goldman (1946) is no longer based on the best available
scientific data and does not reflect the current scientifically accepted taxonomy and nomenclature for
Puma. The best available information and expert opinion supports a single North American subspecies
of puma. However, the Florida panther subspecies is currently the listed entity under the ESA and is the
subject of this assessment. To resolve this inconsistency for the purpose of this SSA, we assessed the
Florida panther as representing the only breeding population of puma in the eastern United States, a
characterization consistent with the population's status at the time of the original 1967 listing and
consistent with the proposed taxonomic revisions for puma adapted by the CCTF of the IUCN SSC Cat
Specialist Group.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     50
      Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 75 of 585
                                                                               LIFE HISTORY AND ECOLOGY


                                CHAPTER 4       LIFE HISTORY AND ECOLOGY

4.1       REPRODUCTION

Florida panther social structure is polygamous in nature and males do not contribute directly to the care
and raising of offspring (Anderson 1983). Males may contribute indirectly to the survival of kittens they
sire by discouraging the presence of non-resident males within female home ranges (Kitchener 1991).
Pumas can mate and produce young throughout the year (Sunquist and Sunquist 2002). However, in
most northern latitude populations, mating activity peaks from February to July in northern latitudes
and is followed by a gestation period of approximately 92 days (Anderson 1983, Logan and Sweanor
2001, Logan and Sweanor 2010, Quigley and Hornocker 2010). Panther dens have been detected in
every month of the year, but most births occurred from March through July (FWC 2019) with the
probability of denning being higher during the dry season from December to May (Hostetler et al. 2012).
Den sites are selected closer to upland hardwoods, pinelands and mixed wet forests, which may
minimize the risk of dens becoming inundated by seasonal high water (Benson et al. 2008). Den sites
are found typically in areas with dense ground-level vegetation that are nearly impenetrable (Maehr et
al. 1989). Kittens remain in the den for up to 8 weeks post-parturition (Maehr et al. 1989, van de Kerk et
al. 2015). Females tending to neonate kittens at dens restrict their movements to a smaller area that
gradually increases in size as the kittens get older (Maehr et al. 1989, Benson et al. 2008, van de Kerk et
al. 2015).

Age at first female reproduction averaged 2.62 ± 0.25 years but the earliest was documented at 21
months-of-age (Hostetler et al. 2012). Panthers ≥10 years of age typically exhibit reproductive
senescence although the oldest female documented to have successfully reproduced in the wild was
13.5 years old (Hostetler et al. 2012). Annual probability of female reproduction is 0.410 ± 0.034, which
is within the range for western North America puma (Hostetler et al. 2012). Average litter size is 2.6 ±
0.09 kittens (range 1–4) and the inter-birth interval averaged 2.16 ± 0.19 years between litters
(Hostetler et al. 2012). The probability that a female panther would produce a litter increased as the
panther population increased, perhaps due to the greater availability of mates or as a result of lower
kitten survival rates that are associated with increases in the density of the population (Hostetler et al.
2010, Hostetler et al. 2012). Den failures resulting from kitten mortality can cause a female to produce
multiple litters within ≤12 months (Hostetler et al. 2012).

4.2       SURVIVAL AND CAUSES OF MORTALITY

      •    Genetic management improved survival of adult panthers and kittens.
      •    Kitten survival is density-dependent with lower survival when population increases.
      •    Intraspecific aggression is the most important mortality cause for radiocollared panthers >1
           year-of-age, followed by unknown causes, and vehicle strikes.
      •    Vehicle strikes have been responsible for the 60 percent of the panther deaths documented
           from 1972 to 2018 when combining the deaths of radiocollared and uncollared panthers.

Florida panthers can live up to 20 years in the wild, but the mean age at death for panthers
radiocollared at ≥1 year-of-age are 7.7 years and 5.5 years for females (n = 68) and males (n = 91),
respectively (FWC unpublished data). Survival rates are higher for females than for males with subadult
females exhibiting the highest annual survival (Table 4.1; Benson et al. 2011). These estimates follow

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         51
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 76 of 585
                                                                              LIFE HISTORY AND ECOLOGY


the same pattern as other puma studies with average female and male survival rates of 0.798 and 0.691,
respectfully (female range: 0.586 – 0.86; male range: 0.33 – 0.91), across 8 different studies (Logan and
Sweanor 2001, Lambert et al. 2006, Laundré et al. 2007, Clark et al. 2014, Robinson et al. 2014, Vickers
et al. 2015). Genetic introgression, implemented via the release of 8 Texas pumas into South Florida in
1995, influenced annual survival of panthers with F1 and subsequent generations of admixed panthers
having higher survival rates in comparison to canonical panthers. Additionally, individual heterozygosity
levels also positively influenced adult and subadult survival (Benson et al. 2011).



Table 4.1. Model-averaged survival rates for Florida panthers from Benson et al. (2011).

                                   Females                                     Males
  Category         Survival rate        SE             n       Survival rate       SE               n
  Subadulta           0.951           0.034           40          0.713          0.049              54
  Prime adultb        0.872           0.023           64          0.799          0.036              44
  Older adultc        0.760           0.056           12          0.635          0.083              11
a
  1–2.5 and 1–3.5 years old (estimated) for males and females, respectively.
b
  2.5–10 and 3.5–10 years old (estimated) for males and females, respectively.
c
  ≥10 years old (estimated) for both males and females.


Hostetler et al. (2010) used multiple sources of data collected during 1982-2008 to estimate and model
survival of Florida panther kittens (0–1 years-of-age). Average annual kitten survival rate was estimated
at 0.323 ± 0.065 and found to be negatively influenced by the annual index of panther abundance,
suggestive of a density dependent effect with kitten survivorship decreasing as the panther population
size increased (Hostetler et al. 2010). Kitten survivorship was positively influenced by genetic
introgression, with higher survival rates among kittens with greater heterozygosity and admixed
ancestry (Hostetler et al. 2010). Panther kitten survival is lower than published rates for several puma
populations in the western United States, which averaged 0.686 (range: 0.47–0.785) across 4 studies
(Lambert et al. 2006, Laundré et al. 2007, Robinson et al. 2014, Thompson et al. 2014).

Intraspecific aggression (panthers killing other panthers) is the greatest documented cause of mortality
for radiocollared panthers >1 year-of-age, followed by unknown causes, vehicle strikes, and other
causes (Benson et al. 2011). Between 10 February 1981 and 31 December 2018, 68 radiocollared
panthers have died from intraspecific aggression, 39 from vehicle strikes, 41 from unknown causes, 18
by disease, and 10 by other causes (FWC 2019). Combining deaths of radiocollared and uncollared
panthers (n = 531) for the period 13 February 1972 through 31 December 2018 (FWC 2019) revealed
that vehicle strikes have been responsible for 333 mortalities (60 percent). Panthers that die as a result
of a vehicle strike have a high probability of being reported by the public due to the high visibility of
carcasses along roadways. This factor likely biases mortality data that includes uncollared panthers.
Conversely, radiocollared panthers can be found wherever they die, thus removing said bias and
potentially providing a better assessment of cause-specific mortality.

Panther deaths by vehicle collision are an important human-caused mortality type and highway
exposure risk varies for individual panthers and across the landscape. Vehicle collisions, sport hunting
and removals in response to depredations and public safety concerns are also important anthropogenic


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        52
      Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 77 of 585
                                                                               LIFE HISTORY AND ECOLOGY


mortality factors in western United States puma populations. These anthropogenic mortality factors are
thought to be additive to natural causes in western puma populations (Cooley et al. 2009, Robinson et
al. 2014). Immigration and recruitment of philopatric female offspring help to maintain these
populations over time (Lindzey et al. 1992, Sweanor et al. 2000, Cooley et al. 2009, Robinson et al.
2014). These researchers studied puma populations that were connected to other populations. In the
Black Hills of South Dakota, Thompson et al. (2014) found that human mortality causes (primarily vehicle
collisions and depredation removals) were not reducing puma abundance in a 6723 km2 area of high-
quality habitat, an area of similar size to that occupied by panthers. Isolated populations in Southern
California appear to be vulnerable to local extinctions and the leading cause of mortality was vehicle
strikes (Benson et al. 2019). Immigration into these populations is highly constrained due to the
immense footprint of human development.

4.3        DISPERSAL

      •     Dispersal is the movement from a birthplace to where reproduction occurs.
      •     Panthers are polygamous and males disperse further than females.
      •     Young female puma typically exhibit philopatry with most living adjacent to or within their
            mothers’ use areas.
      •     Longest recorded panther dispersal is >800 km; and the mean dispersal distances were longer
            for male panthers than for females, at 68.4 km and 20.3 km, respectively.
      •     Panther dispersal is constrained by urbanized coasts, land use changes and dredged
            Caloosahatchee River.
      •     It took about 20 years for females to repopulate areas 40 km north of the Big Cypress region
            occupied by the remnant panther population in the 1970s.
      •     It took over 40 years for female panthers to expand to areas north of the Caloosahatchee River,
            approximately 60 km north of the Big Cypress region.

Dispersal is the movement an animal makes from its birthplace to where it reproduces or would have
reproduced if it had survived (Howard 1960). This is a straight-line measurement and quantifies the
greatest distance that genes are carried rather than the total distance of a pathway that was traveled.
Various population-level benefits result from dispersal including:

      1)    Reduces inbreeding;
      2)    Gene flow;
      3)    Rapidly extends a species range into suitable but unoccupied habitat;
      4)    Enables repopulation in areas depopulated by human activities;
      5)    Reduces intraspecific conflict and local competition for resources; and
      6)    Maintains a wide distribution of genes with potential future value (Howard 1960).

Most mammals, including panthers, are polygamous where males strive to dominate breeding activities
with numerous females (Greenwood 1980, Logan and Sweanor 2010). Young female puma typically
exhibit philopatry with most living adjacent to or within their mothers’ use areas and male offspring
being the dispersers (Logan and Sweanor 2010). In polygynous mammals, females invest heavily into
offspring both in terms of time as well as access to necessary resources such as prey, but males do not.
Female use areas are clumped in time and space and males compete for access to as many females as
possible by establishing use areas that intersect with numerous females. Subordinate males are

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         53
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 78 of 585
                                                                            LIFE HISTORY AND ECOLOGY


excluded from breeding in natal areas so dispersal may help increase their mating probability
(Greenwood 1980). Males gain greater evolutionary benefits by having access to many females.
Therefore, males need to be more mobile than females and competition between males can be intense.
A large proportion of males can be denied access to females and it is this competition that leads to male
dispersal.

Howard (1960) hypothesized 2 dispersal patterns: innate (predisposition to disperse beyond confines of
parental range ignoring suitable habitat and entering strange/unfavorable areas) and environmental
(movement away in response to crowding/density dependence). Research on Florida panthers (Maehr
et al. 2002b) suggests panther dispersal patterns exhibit elements of both models. Young male panthers
can be frequent visitors to unfavorable habitats, such as highly urbanized areas, and the increase in the
density of the panther population since 1995 has resulted in the detection of more panthers in exurban
areas outside of the public conservation lands and private ranchlands supporting the panther population
in the Big Cypress region (Interagency Florida Panther Response Team 2014, Interagency Florida Panther
Response Team 2015).

Maehr et al. (2002b) studied dispersal patterns of 27 subadult panther (9 females, 18 males) and
determined that the mean dispersal distances were longer for male panthers than for females, at 68.4
km and 20.3 km, respectively. Dispersals occurred at about 14 months of age and lasted 7–10 months
(Maehr et al. (2002b). Female panthers were philopatric and established home ranges less than one
home range width from their natal range (Maehr et al. 2002b). All nine females were successful at
establishing a home range but only 58 percent of males were successful (Maehr et al. 2002b). The
longest recorded dispersal for a male panther was approximately 805 km north of the established
panther population south of the Caloosahatchee River (FWC 2009). This panther was shot in Troup
County, GA on 16 November 2008. Subsequent genetic testing using a panel of microsatellites revealed
that his genotypes clustered with Florida panthers in a Principal Coordinate Analysis (FWC, unpublished
data). These same genetic data showed that his sire was a known Florida panther (FWC 2009).

Panther dispersal patterns are similar to puma elsewhere. Females tend to be philopatric (Ross and
Jalkotzy 1992, Sweanor et al. 2000) and males disperse longer distances (Beier 1995, Sweanor et al.
2000, Thompson and Jenks 2005, Hawley et al. 2016). Although most female puma establish use areas
within or adjacent to their natal range, the longest documented female dispersal was 357 km, but the
actual total estimated distance traveled was > 1341 km (Stoner et al. 2008). The longest documented
male dispersal was > 2450 km when a young male traveled from the Black Hills puma population in
South Dakota to Connecticut where the puma was killed by a vehicle (Hawley et al. 2016). Panther ages
at independence and dispersal are consistent with puma studies elsewhere (Hemker et al. 1984, Ross
and Jalkotzy 1992, Beier 1995, Sweanor et al. 2000).

Panther dispersal is constrained geographically by human activities, fragmented habitat, and the fact
that the population exists on a peninsula. Major urban areas are found on both the Atlantic and Gulf
coasts restricting the current breeding population of panthers to the southern interior of the peninsula.
When research by FWC began in 1981, the panther population was restricted to the Big
Cypress/Everglades region of South Florida (USFWS 1981). No females had been documented outside of
this region since 1973, when a female was treed north of the Caloosahatchee River some 100 km from
the remnant population in Big Cypress (Nowak and McBride 1974). During the early 1980s, it is likely
that the small size of the panther population in combination with the philopatric behavior of females

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      54
   Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 79 of 585
                                                                           LIFE HISTORY AND ECOLOGY


reduced the likelihood of range expansion into suitable habitat. As the panther population increased in
size following genetic introgression in 1995, female presence began to be documented further from the
Big Cypress region occupied by the remnant population in the 1970s. For example, in 1987 survey and
capture work began in Hendry County on what is now the Okaloacoochee Slough State Forest (OSSF), 40
km north of Big Cypress. No females and only one male were detected during this survey (Maehr
1997:71). However, by 2000, female panthers were present and breeding on OSSF (FWC 2001).
Subsequently, in 2012, a female was documented with kittens via remote camera capture just south of
the Caloosahatchee River, about 15 km north of OSSF (FWC unpublished data). Visualizing locations of
female road kills over time reveals a similar pattern of range expansion from the areas occupied by the
remnant population in the Big Cypress to areas north and west, eventually reaching the Caloosahatchee
River (Figure 4.1).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    55
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 80 of 585
                                                                             LIFE HISTORY AND ECOLOGY




Figure 4.1. Vehicle-caused mortality locations of female Florida panthers that illustrate the expansion of
panther population in South Florida from 1979–2018.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      56
      Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 81 of 585
                                                                             LIFE HISTORY AND ECOLOGY


The Caloosahatchee River has been considered an impediment to panther movement (Maehr et al.
2002b), especially for females. The river flows from Lake Okeechobee westward to Ft. Myers where it
empties into the Gulf of Mexico. In its natural state prior to 1880, the river’s headwaters were near
LaBelle at Lake Flirt (which no longer exists today) and the river levels varied with the yearly shifts
between wet and dry seasons (Kimes and Crocker 1998). During the spring dry season, the river
drainage would “dry up so much that a horse could be ridden in the channel” between LaBelle and Lake
Okeechobee (Antonini et al. 2002:136). Dredging of the river began in 1880 to facilitate agricultural
growth and navigation to and from Florida’s interior. This dredging changed the river’s character of
intermittent drainage to a permanent waterway and opened the interior to development (Kimes and
Crocker 1998), particularly along the shorelines. Today’s Caloosahatchee River is a wide, ranging from
100 to 400 meters in areas occupied by panthers, and deep waterway that poses a major obstacle to
terrestrial animal movement.

Male panthers have been detected north of the Caloosahatchee River since 1980, including 4
radiocollared panthers that were tracked as they dispersed across the river (FWC unpublished data,
Belden and McBride 2006). Additionally, 23 male panthers were detected post-mortem north of the
river from 1983–2017, primarily through vehicle collisions. Given what we know about male-biased
dispersal in pumas, it’s not surprising that these were the panthers that have been initially documented
north of the River. Male-biased dispersal is the root cause of the pattern of puma detections in areas of
the central United States that currently do not sustain breeding populations (LaRue et al. 2012).

Natural recolonization and breeding range expansion in large mammals that exhibit male-biased
dispersal hinges on the eventual dispersal of breeding females. Natural recolonization would be
expected to be a long process that may take several decades, given the generally philopatric nature of
females (Onorato and Hellgren 2001). In November 2016, camera traps deployed by the FWC revealed
the presence of a female panther on the Babcock Ranch Preserve in Charlotte County. This was the first
documentation of a female panther north of the Caloosahatchee River in 44 years. Subsequently,
pictures from March 2017 documented a litter with at least 2 kittens. Another female panther was
photographed in March 2017 while associating with a male at the Platt Branch Wildlife and
Environmental Area in Highlands County. Whether these females are related or whether they were
born north or south of the river is unknown. But, these two events demonstrate the length of time
recovery efforts may require when relying on natural recolonization that can be hindered by intrinsic
and extrinsic obstacles.

4.4       HOME RANGE DYNAMICS AND MOVEMENTS

      •    Pumas occur at low densities, maintain large home ranges, and require large landscapes to meet
           their needs.
      •    Adult male pumas are territorial and have home ranges that are larger than those of females
           and that overlap the home ranges of several adult females.
      •    Mean minimum convex polygon home range size of adult male Florida panthers was 428 km2
           and mean home range size of female panthers was 217 km2.
      •    Florida panthers exhibit three modes of movement: 1) resting mode; 2) moderate activity mode;
           and 3) traveling mode.
      •    Activity levels for Florida panthers are greatest at night with peaks around sunrise and after
           sunset; daytime hours are mostly dedicated to resting.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      57
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 82 of 585
                                                                            LIFE HISTORY AND ECOLOGY


    •   Overall, male Florida panthers move substantially longer distances each hour, move farther each
        day, and cover a larger percentage of their home range each week than females.

4.4.1   Florida Panther Home Range Dynamics

Panthers occur at low densities, maintain large home ranges, and require large landscapes to meet their
needs (Kautz et al. 2006, Onorato et al. 2010, Frakes et al. 2015). Numerous factors influence panther
home range size including habitat quality, prey density, interrelationships with other panthers, and
landscape configuration (Belden 1988, Sunquist and Sunquist 2002, Logan and Sweanor 2010). Home
ranges of resident adults tend to be stable unless influenced by the death of other residents. Several
adult males and adult females have shown significant home range shifts that may be related to aging,
and male fidelity to territories in western North America tends to decline with time (FWC unpublished
data, USFWS 2008b, Logan and Sweanor 2010). Adult female pumas in western North America exhibit
strong fidelity to their home ranges, but they sometimes shift their activity areas to accommodate the
activity of other females, to avoid dangerous males, or to follow prey (Logan and Sweanor 2010).
Similarly, adult male pumas in western North America exhibit territory fidelity, but territory boundaries
may increase to include more area if males are victorious when challenged by other males or they may
avoid an area if they are defeated (Logan and Sweanor 2010). Home-range overlap is extensive among
resident females and limited among resident males (Maehr et al. 1991). Adult males maintain large
home ranges that overlap those of one or more adult females, but subadult males often range widely in
search of opportunities to establish an adult home range (Maehr et al. 2002b, USFWS 2008b).

We used minimum convex polygons (MCP) to estimate the home ranges of panthers based on VHF-
telemetry data collected between 2004 and 2018 (FWC unpublished data). Minimum convex polygons
were used in order to be comparative with historic data in the literature. This methodology is known to
overestimate the size of the home range of animals and more novel methods are available that provide
more accurate representations of home range. Those analyses are the focus of future research by FWC
staff and collaborators. Mean MCP home range size of females >24 months-of-age was 217.04 km2
(48.38–765.35 km2; n = 43). Mean MCP home range size of adult males >36 months-of-age was 428.35
km2 (91.16–1987.60 km2; n = 34). Adult female puma MCP home ranges in western North America vary
from about 55 km2 to over 300 km2 (Pierce and Bleich 2003, Logan and Sweanor 2010). Male puma MCP
home ranges in western North America are typically 1.5–3 times the size of female home ranges at 150
km2 to 700 km2 (Pierce and Bleich 2003, Logan and Sweanor 2010).

4.4.2   General Characteristics of Florida Panther Movements

Florida panthers exhibit three states of movement based on an analysis of 10 males and 3 females
monitored with GPS-telemetry between 2005 and 2012: 1) resting mode, 2) moderately active mode;
and 3) traveling mode (van de Kerk et al. 2015). Resting mode was characterized by very short step
lengths (i.e., distance between subsequent hourly GPS locations) and near-uniform turning angles.
Panthers of both sexes spent the majority of the day in this mode, generally resting in daybeds or
otherwise inactive. The moderately active movement mode was characterized by long step lengths but
more variable turning angles indicating more of a wandering pattern. These results suggested that the
moderately active mode occurred during intrapatch movements or when searching for prey. Thus,
movement in this mode is slower and lacks directionality. Traveling mode is characterized by long step
lengths and a near-straight-line movement pattern, indicating persistent directional movement. These


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      58
   Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24        Page 83 of 585
                                                                               LIFE HISTORY AND ECOLOGY


observations suggest that Florida panthers exhibit traveling mode while moving among habitat patches
and patrolling home ranges or territories. While in this mode, panthers travel efficiently and fast in a
straight line (van de Kerk et al. 2015).

Overall, male Florida panthers had substantially longer step lengths and longer daily movement
distances than females (van de Kerk et al. 2015, Criffield et al. 2018). Movement patterns of panthers
are generally constrained within home ranges except when dispersing (van de Kerk et al. 2015). A single
dispersing male had longer average step lengths than resident males, possibly because dispersers must
traverse longer distances in the search for available territories. Telemetry data indicate that panthers
typically do not return to the same resting site day after day, except for females with dens or panthers
remaining near kill sites for several days (USFWS 2008b).

4.4.3   Daytime versus Nighttime Movements

Activity levels for Florida panthers are greatest at night with peaks around sunrise and after sunset
(USFWS 2008b, Onorato et al. 2011, Criffield et al. 2018). Panthers were primarily in resting mode
during the day and in traveling mode during the night (van de Kerk et al. 2015). Males spent most of the
time (~65 percent) during the day in resting mode, whereas females spent approximately equal amounts
of time (~40 percent each) in resting and moderately active modes (van de Kerk et al. 2014). Males
spent little or no time in traveling mode around mid-day, whereas females spent >20 percent of time in
traveling mode during the hottest part of the day. Although females spent more time in the traveling
mode than males, males had substantially longer step lengths than females while in traveling mode,
especially during the night, leading to significantly longer average hourly step lengths for males.

Panthers have been repeatedly shown to select forested habitats either within their home range or
within a study area (Belden et al. 1988, Cox et al. 2006, Kautz et al. 2006, Land et al. 2008, Onorato et al.
2011). Panthers are more likely to be found in forested cover during the day than at night. Panthers
may move along the edges of forested habitat, which they use as stalking cover to ambush white-tailed
deer or feral hogs feeding in open areas. Panthers often move into open areas to make the kill, and
then drag the prey into forest cover to feed (Onorato et al. 2011). Panther movement into and use of
open habitats such as prairie grasslands was greater during nighttime hours than during daytime
(Onorato et al. 2011). The increased use of open habitats at night was attributed to optimization of
predation opportunities and facilitation of movements across the landscape, activities that predators
may carry out more covertly during darkness than in light (Onorato et al. 2011).

4.4.4   Effects of Season on Movements

Seasonal rainfall patterns have a strong influence of Florida panther movements (Criffield et al. 2018).
South Florida is characterized by a tropical climate, a topographically flat landscape that includes
permanent and ephemeral wetlands, and abundant rainfall during the hotter summer months (May–
October) followed by relatively dry cooler winters (October–May). Step lengths (i.e., distance moved
hourly) and daily movement distance were longer for males than females, but these varied between
seasons, with panthers of both sexes traveling faster during the dry season than the wet season (van de
Kerk et al. 2015, Criffield et al. 2018). Mean hourly step length during the dry season was 372 m (31–
794 m) for males and 280 m (95–642 m) for females. During the wet season, mean step length for males
was 289 m (24–621 m) and for females was 186 m (6–471 m). Mean daily movement distance for males
during the dry season was 6701 m (667–14,636 m) and for females was 5249 m (1688–14,114 m).

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         59
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24       Page 84 of 585
                                                                               LIFE HISTORY AND ECOLOGY


During the wet season, mean daily movement distance for males was 4616 m (476–11,796 m) and for
females was 2629 m (553–6719 m).

Males covered a larger part of their home range weekly than did females, and both sexes covered a
larger part of their home ranges each week in the dry season than the wet season (Criffield et al. 2018).
Males covered approximately 26 percent of their home range each week in the winter dry season
compared to approximately 11 percent of their home range in the summer wet season. Females
covered approximately 12 percent of their home range in the dry season compared to 4 percent in the
wet season.

4.4.5   Effects of Reproductive Status on Movements of Females

Movements of females are dictated by their reproductive chronology and are influenced by the
presence of young (Criffield et al. 2018). Pregnant females establish a den within their home range just
prior to giving birth. For the first 2 months following birth, kittens remain at the den, and feeding and
caring for young anchors the mother to the den except for short jaunts to hunt and feed. After the
young reach 2 months-of-age, the mother abandons the den and leads young on short movements to
kills or temporary cache sites. Movements become progressively longer until young disperse at
approximately 14 months-of-age (Maehr et al. 2002b). Following dispersal of the young, females
typically have a short period of less-constrained movement until they mate again and the cycle repeats
(Criffield et al. 2018). Adult males often have been observed in close proximity to females within 2
weeks of the dispersal of juveniles (Maehr et al. 2002b).

These patterns of movement were demonstrated by the only GPS-collared female that gave birth during
the study reported by van de Kerk et al. (2015) and Criffield et al. (2018). This female moved fastest
with longer average step lengths when she did not have kittens, and she moved slowest with shortest
average step lengths when she was with older dependent kittens >2 months-of-age. When caring for
kittens, this female spent 22 percent more time in resting mode than when she was without kittens.
Florida panther kittens generally stay in their natal dens for the first 8 weeks of their lives, during which
time movements of their mothers are restricted to areas close to the den. Kittens older than about 8
weeks can follow their mothers, but their limited mobility may constrain movement speed of their
mothers, leading to shorter average step lengths.

4.4.6   Territoriality and Transitory Movements in Males

Movement by males should manifest itself in two forms: territoriality and transitory movements
(Criffield et al. 2018). Territoriality is exhibited by dominant males guarding their home ranges to
control access to resources and females (Logan and Sweanor 2001). Territoriality is recognizable by
constant, regular movement from one end of the home range to the other. The movement metrics
reported by Criffield et al. (2018) reflect the territorial behavior of adult males, which showed evidence
of rapid movement with a high degree of directional persistence to traverse their home ranges as
quickly and frequently as possible to defend against male challengers and to locate resident females
that are in estrous (Logan and Sweanor 2010). Territorial behavior of adult males resulted in their
covering an average of 27 percent of their home range each week during the dry season and 11 percent
during the wet season (Criffield et al. 2018).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         60
      Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 85 of 585
                                                                                LIFE HISTORY AND ECOLOGY


Transitory movement, however, is typically associated with younger males that lack a home range and
are on the move to seek food, avoid injurious and potentially fatal conflicts with resident males, and
establish a permanent territory of their own. Transitory movements are characterized by irregular,
large, straight-line movements punctuated by lengthy periods during which they remain near a single
location.

4.4.7      Effects of Habitats on Panther Movements

Panthers generally covered longer daily movement distances but did so at a slower pace in habitats that
are less often selected by panthers (i.e., marsh-shrub, agriculture, water, urban, coastal wetlands)
(Criffield et al. 2018). During the wet season, panthers moved faster in higher-selected habitat (i.e.,
upland forest, wetland forest), while step length during the dry season did not vary extensively with
habitat preferences. Possible explanations include: 1) during the dry season more of the landscape is
easily traversed and panthers can quickly pass through less-selected habitat to reach better habitat with
more prey; and 2) when water levels rise, panthers may be forced to limit their movements and will
avoid less-selected habitat altogether and concentrate movement in higher-selected habitats (Criffield
et al. 2018).

4.5       INTRASPECIFIC INTERACTIONS

Florida panthers live primarily solitary adult lives, but they nevertheless interact with other panthers in
ways that are vital to individual survival and reproductive success, and thus to population persistence.

      •    Adult male panthers are territorial, and they aggressively defend their territories against other
           adult and subadult males, often to the point of death.
      •    Adult male territories overlap, but the shared areas are rarely used by more than one male at a
           time.
      •    Adult males and females spend 1–16 days together for mating while the female is in estrus.
      •    Adult females establish a close bond with their offspring until independence is achieved at
           approximately 14 months-of-age.
      •    Adult female home ranges may overlap, but females do not often encounter other females and
           their young, nor do females defend their home ranges against other females.
      •    Adult males sometimes kill females, and they are also known to kill kittens, especially those
           kittens sired by other males.
      •    Panthers indirectly communicate with one another via scent markers, vocalizations, facial rubs
           on vegetation, and claw-marks to announce presence and female reproductive status.

4.5.1      Interactions of Males with Other Florida Panthers

Adult male panthers are solitary, except for the 1–16 days they spend with a female in estrus for mating.
Adult males establish and defend territories that overlap the home ranges of several adult females,
encompassing some of them completely. Adult males patrol their territories to assess the location and
breeding condition of females, and they mate with each of the females within their territories as they
come into estrus. Male panthers aggressively attempt to establish dominance in an area by competing
with other males for access to mates and space, and often fight other males to death (Logan and
Sweanor 2010). Aggressive encounters between males and females have been documented (FWC 2003,
Jansen et al. 2005), and adult males have been reported to kill kittens that are not their offspring and

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         61
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 86 of 585
                                                                            LIFE HISTORY AND ECOLOGY


may even kill the mothers. Male panthers were documented to have killed 7 juvenile panthers that
ranged in age from 4 to 11 months old (FWC 2018a). Intraspecific aggression (panthers killing other
panthers) is the greatest documented cause of mortality for radiocollared panthers, accounting for 40
percent of deaths recorded between 1981 and 2018. Mortality resulting from intraspecific aggression
was more common for males than females (Benson et al. 2009). Defense of kittens or a kill was
suspected in half of known instances of female intraspecific mortality in 2003 (FWC 2003). The
territories of males overlap the territories of other males when depicted with annual minimum convex
polygon home ranges. Overlap of male territories also has been documented for puma populations in
western North America. For example, in a non-hunted puma population in the Chihuahuan Desert,
roughly 50–70 percent of a male’s annual territory overlapped other male territories, and annual core
areas overlapped by 15–40 percent (Logan and Sweanor 2001). However, males tended to avoid using
shared areas at the same time (Logan and Sweanor 2010).

4.5.2   Interactions of Females with Other Florida Panthers

Female panthers, like other pumas, generally avoid other panthers, except for the cohesive social unit
they form with their dependent offspring and to breed with adult males (Logan and Sweanor 2001). In
rare instances, female panthers have been observed together, but females with juveniles almost never
associate with sires. However, female panthers with kittens at the den have been observed to
temporarily abandon the den and consort with (and presumably copulate with) males that have come
into the vicinity of the den (Benson et al. 2012). This type of pseudo-estrus behavior (i.e., estrus
behavior for reasons other than reproduction) most likely is an attempt to maintain amicable
relationships with these males to prevent infanticide. Young adult females typically do not disperse far
from natal home ranges such that adult female pumas in a particular geographic area consist of groups
of closely related individuals as well as unrelated females that immigrated from elsewhere (Logan and
Sweanor 2010). Mothers, daughters, sisters, and aunts often establish home ranges that overlap or are
adjacent to each other. However, evidence from the Yellowstone ecosystem indicated that the genetic
effects of this phenomenon are inconsequential at the population level (Biek et al. 2006); and female
relatedness in the Garnet Mountains of Montana was lower than might be predicted for carnivores that
exhibit female philopatry (Onorato et al. 2011). Females do not aggressively defend their home ranges
against other females (Logan and Sweanor 2010). Adult females spend the bulk of their adult lives in
activities related to reproduction, including seeking mates, mating, gestation (which lasts for
approximately 82–96 days), nursing cubs at the den for approximately 8 weeks, and raising offspring to
independence at an age of approximately 14 months (Maehr et al. 1990b, Maehr et al. 2002b, Pierce
and Bleich 2003, Logan and Sweanor 2010). All these activities occur over a period of about 17–24
months (Maehr et al. 1991, Logan and Sweanor 2010, Hostetler et al. 2012).

4.5.3   Indirect Interactions

Interactions between panthers also occur indirectly through urine markers, vocalizations, rubbing facial
glands on vegetation, and marking logs with claws (Sunquist and Sunquist 2002, Logan and Sweanor
2010, McBride and McBride 2011, Benson et al. 2012, McBride and Sensor 2012, Allen et al. 2015).
Urine markers, which are referred to as scrapes, are made by piling ground litter using a backwards-
pedaling motion with the hind feet. This pile is then scent-marked with urine and occasionally feces.
Both sexes make urine markers. Males use scrapes to mark their territory and announce presence while
females advertise their reproductive status. Male pumas seem to scrape throughout their territories,

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     62
      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 87 of 585
                                                                              LIFE HISTORY AND ECOLOGY


usually along travel routes (Logan and Sweanor 2010). Scrapes often are used by more than one male in
areas where territories overlap, perhaps to convey spatial and temporal activity as well as social status
(Logan and Sweanor 2010). Allen et al. (2015) found that female pumas use multiple cues at community
scrape sites to select for more dominant resident males. Vocalizations used by panthers to announce
presence or reproductive status or to convey defensive or offensive threats include growls, snarls,
hissing, yowling, caterwauling, whistle calls, chirping, and purring (Sunquist and Sunquist 2002, Pierce
and Bleich 2003, Logan and Sweanor 2010, Benson et al. 2012, Allen et al. 2015). Rubbing facial glands
on vegetation is a means of leaving olfactory clues to presence and status, and claw-marking logs may
leave both visual and scent clues (Pierce and Bleich 2003, Logan and Sweanor 2010, McBride and
McBride 2011, McBride and Sensor 2012).

4.6       FOOD HABITS

      •    Panthers are carnivores and prey mostly on white-tailed deer, wild hogs, raccoons, and
           armadillos.
      •    Anthropogenic food sources include calves, goats, sheep, cats and dogs.
      •    Panther diets are similar to puma diets in the western United States.
      •    Puma that live in areas with greater human occupancy tend to prey on a greater diversity of
           animals.
      •    Puma in these same areas spend less time at kills and make more frequent kills, presumably as a
           result of anthropogenic disturbances.

Panthers are strict carnivores and rely on their hunting skills to acquire food. Food habits analyses,
based samples of stomach content, scat, and feces (large intestine contents) collected in South Florida
1996–2014, revealed that wild hog (Sus scrofa), white-tailed deer (Odocoileus virginiana), raccoon
(Procyon lotor) and nine-banded armadillo (Dasypus novemcinctus) were the primary food items
consumed, representing >75 percent of their diet (Table 4.2; Caudill et al. 2019), findings consistent with
earlier studies (Maehr et al. 1990a, Dalrymple and Bass 1996). Panthers living in the Everglades
ecosystem, the southernmost part of occupied panther range, preyed most frequently on deer,
raccoons and American alligators (Alligator mississippiensis) but also consumed rabbits, armadillo, hogs
and Virginia opossums (Didelphis virginiana) (Dalrymple and Bass 1996). Panther predation was the
leading cause of death documented in a radiocollared sample (n = 241) of adult white-tailed deer
monitored in South Florida in 2015–2018, accounting for 71.6 percent (n = 96) of total documented
mortalities (Cherry et al. 2019).

Table 4.2. Percent occurrence (and number of observations) of prey items found in scat, as well as feces
and stomach contents collected at necropsy, of Florida panthers in South Florida, 1996–2014 (Caudill et
al. 2019).

 Prey Item                    Scientific name          Count                Percent Occurrence
 Raccoon                      Procyon lotor            53                   24.42
 White-tailed deer            Odocoileus virginiana    50                   23.04
 Wild hog                     Sus scrofa               48                   22.12
 Nine-banded armadillo        Dasypus novemcinctus     23                   10.60
 Rodentia                     -                        13                   5.99
 Virginia opossum             Didelphis virginiana     11                   5.07

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       63
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 88 of 585
                                                                            LIFE HISTORY AND ECOLOGY


 Prey Item                 Scientific name           Count                 Percent Occurrence
 Domestic cat              Felis catus               11                    5.07
 Rabbit                    Sylvilagus spp.           7                     3.23
 Livestock                 -                         4                     1.84
 Other                     -                         12                    5.53


Panthers also prey upon a variety of anthropogenic food sources and the majority of these depredations
(excluding calves) occur in residential areas (Interagency Florida Panther Response Team 2017).
Twenty-one species of hobby livestock or pets have been killed by panthers and the most common
species taken during these depredation events include goats, sheep, cats and dogs. Panthers also prey
upon calves produced by livestock operations. Jacobs and Main (2015) revealed annual calf losses
attributed to panthers of 0.5 to 5.3 percent. Calves were generally <8 months-of-age and <350 lbs.

Puma diets in western North America are dominated by ungulates, principally mule deer (O. hemionus),
black-tailed deer (O. h. columbianus), and elk (Cervus canadensis), and white-tailed deer (Ackerman et
al. 1984, Cooley et al. 2008, Murphy and Ruth 2010). Puma prey items in northwestern Mexico were
desert bighorn sheep (Ovis canadensis nelsoni), lagomorphs (Lepus spp. and Sylvilagus audubonii),
collared peccary (Pecari tajacu), and white-tailed deer (Rosas-Rosas et al. 2003). In contrast, puma in
Central and South America have diets that are comprised predominantly of small to medium-sized prey
(from <1 kg to 15 kg; Iriarte et al. 1990, Branch et al. 1996).

Puma in the western United States also prey upon cattle (primarily calves) and sheep, with most cattle
losses occurring in Arizona (Cunningham et al. 1999, Bodenchuck 2011). Puma diet based on frequency
of occurrence in scats from southeastern Arizona was 48 percent deer (O. v. cousi and 0. hemionus), 34
percent cattle, 17 percent collared peccary, and 6 percent rabbit (Sylvilagus spp. and L. californicus).
Puma in this study selected calves slightly more frequently than expected according to their availability
(Cunningham et al. 1999). In contrast, percent occurrence of cattle and sheep in puma diets ranges
from 0–11 percent in other western states (Murphy and Ruth 2010). A radiocollared calf study in
Arizona revealed puma depredation losses ranged from 0 to < 6.5 percent on two separate ranches
(Breck et al. 2011). Domestic sheep account for most of the losses across the western United States and
depredation events often involve multiple kills (Cougar Management Working Group 2005, Bodenchuck
2011).

In areas where puma diets are based on large ungulates, females with kittens killed more frequently,
generally <1 week between kills, than solitary adults whose time between kills was 7 to 9 days (Cooley
et al. 2008, Ruth et al. 2010, Clark et al. 2014a). Predation rates will vary based on mean weights of
vertebrate prey, caloric needs, prey availability, season and climate (Ruth and Murphy 2010).

A study from southern California showed that puma prey diversity increased, and the size of prey
decreased in areas with greater human occupancy (Smith et al. 2016). These pumas preyed mostly on
black-tailed deer, raccoons, house cats and opossums with house cat kills occurring closer to homes and
deer kills occurring further away. Male puma tended to make kills further from homes than female
puma (Smith et al. 2016). Female puma reduced the time spent at kill sites as housing density increased
presumably due to disturbance (Smith et al. 2016). Female puma also killed 36 percent more deer in
high housing density areas compared to females living in areas with a smaller human footprint,


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        64
      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 89 of 585
                                                                              LIFE HISTORY AND ECOLOGY


reflective of a higher energy cost to living in close association with human developments (Smith et al.
2015). Similar findings occurred in the Front Range area of Colorado where puma preyed upon a more
diverse group of prey species, including non-native anthropogenic prey, but they still were reliant upon
deer (Moss et al. 2016).

Puma are opportunistic scavengers and they often treat carcasses as if they were kills with typical
caching and feeding behavior (Logan and Sweanor 2001, Bauer et al. 2005, Bacon and Boyce 2010).
Panthers have been documented scavenging (FWC unpublished data) but Florida’s humid, sub-tropical
climate likely limits the amount of time a carcass remains palatable due to rapid decomposition,
saprophytic insects and other scavengers. Scavenging can provide a net caloric gain because it requires
no energy to stalk and kill prey and does not pose an injury risk associated with subduing prey.

4.7       SPACE AND HABITAT USE

Florida panther habitat is an extensive landscape of natural, semi-natural, and agricultural lands.

      •    Panthers primarily select forested habitats, which are used for cover, ambushing prey, daytime-
           rest sites, and den sites.
      •    Panthers use forest patches of any size.
      •    Herbaceous- and shrub-dominated wetlands, prairie grasslands, and upland shrub lands are also
           selected by panthers but to a lesser extent than forest cover.
      •    Agricultural and urban lands are used in proportion to availability within panther home ranges.
      •    Non-forested habitats are used primarily at night, and most use of non-forested habitats occurs
           within 200 m of forest cover.
      •    Sites selected by females for dens typically are in upland pine or hardwood habitats where saw
           palmettos are dense.

4.7.1      Florida Panther Habitat Use

The habitat of the Florida panther is an extensive landscape of natural, semi-natural, and agricultural
lands. Forested habitats, including pinelands, upland hardwood forests, hardwood swamps, and cypress
swamps, are selected by and of vital importance to panthers in South Florida. These cover types provide
the most important habitat for panthers to meet life cycle requirements that include selection of den
sites, daytime-rest sites, and cover for hunting prey (Belden et al. 1988, Maehr and Caddick 1995, Cox et
al. 2006, Kautz et al. 2006, Land et al. 2008, Onorato et al. 2011). Panthers utilize forest habitat patches
of any size (Kautz et al. 2006, Onorato et al. 2011).

Freshwater marsh, shrub swamp, upland shrub and brush land, and prairie grasslands are also selected
by panthers, but to a lesser extent than forests and usually when they are in close proximity to forest
cover. Agricultural lands (e.g., croplands, improved pasture, and citrus groves) and other habitats (e.g.,
open water, salt marshes, mangrove swamps, exotic plants, urban land uses) are used in proportion to
availability (Onorato et al. 2011).

GPS-telemetry records collected across the diel-period revealed that panthers occur in forest cover 59
percent of the time and in open habitats 41 percent of the time (Onorato et al. 2011). Although
panthers may be found at distances of >1000 m from forest patches, 74 percent and 85 percent of GPS-
telemetry records were located within 100 m and 200 m, respectively, of forest cover (Onorato et al.
2011). These data indicate that panthers often move in open habitats, particularly at night, but usually

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        65
   Case 1:21-cv-00119-RDM               Document 149-2         Filed 01/12/24       Page 90 of 585
                                                                              LIFE HISTORY AND ECOLOGY


are in areas where forest cover is nearby. Onorato et al. (2011) attributed the increased panther use of
prairie grasslands at night to optimization of predation opportunities and facilitation of movements
across the landscape, activities that predators may carry out more covertly during darkness than in the
light. White-tailed deer and wild hogs, the primary prey of panthers, would be expected to use more
open cover types such as pasturelands and other agricultural lands adjacent to forest cover due to the
plentiful food sources in these habitats. White-tailed deer tend for forage during crepuscular hours
whereas wild hogs are typically diurnal or crepuscular most of the year but primarily nocturnal during
hot summer months (Sweeney et al. 2003, Giuliano et al. 2009). White-tailed deer in South Florida
displayed a preference for diurnal activity patterns suggesting a behavioral response to reduce
predation risks from the more nocturnally-active panther (Crawford et al. 2019).

4.7.2   Den Site Selection by Females

Female panthers consistently select den sites in areas with extremely dense understory vegetation, such
as saw palmetto (Serenoa repens) thickets, shrubs, or vines (Maehr et al. 1990b, Benson et al. 2008).
Sites selected for dens typically are in upland pine or hardwood habitats where saw palmettos are
dense. Most sites are under a forest canopy where vegetation is sufficiently dense that dens are not
visible beyond about 2 m (Maehr et al. 1990b). Panthers apparently do not select den sites based on
distance from the edges of forest patches, nor does forest patch size influence selection of sites for dens
except for mixed wetland forests (Benson et al. 2008). Although some dens have been located in mixed
forested wetlands, dense cover usually is not available in these habitats due to prolonged or frequent
flooding. Den sites in mixed forested wetland habitats were located in smaller habitat patches than
random points, suggesting that den sites closer to uplands would allow females convenient access to
higher ground if flooding occurred during the denning period (Benson et al. 2008). Despite the
preference for upland den sites, some dens have been located in dense sawgrass (Cladium jamaicense)
during dry periods or were at the fringes of marsh habitats (e.g., OSSF).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       66
      Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 91 of 585
                                                    HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE


                   CHAPTER 5       HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE

      •    Pumas are the most widely distributed terrestrial mammal in the Western Hemisphere, and
           historically were distributed across most of North and South America.
      •    Habitat loss, declining prey populations, and persecution resulting from European settlement
           were the primary causes of the decline of pumas in North America, including the Florida
           panther.
      •    By the late 1890s, pumas had been extirpated from eastern North America except for a small
           population in Florida.
      •    By 1958, the Florida panther was so rare that the State of Florida designated panthers as
           endangered, and the federal government followed suit in 1967.
      •    Field surveys conducted in 1973 and 1974 found only one female in Glades County north of the
           Caloosahatchee River and a handful of others in the Big Cypress region of South Florida.
      •    By the time the GFC began capturing and monitoring panthers using radio collars, signs of
           inbreeding depression were evident, and the population was estimated at no more than 20–30
           individuals.

Pumas are the most widely distributed terrestrial mammal in the Western Hemisphere (Sunquist and
Sunquist 2002). The range of pumas originally included most of the Western Hemisphere from the
Canadian Yukon in northern British Columbia, across southern Canada to New Brunswick, and south to
the tip of South America at elevations from sea level up to 5800 m in southern Peru (Young and
Goldman 1946, Sunquist and Sunquist 2002, Culver 2010, Shaw 2010) (Figure 1.1).

The oldest unequivocal fossil of P. concolor was discovered in Argentina and dates to the early-middle
Pleistocene (1.2–0.8 million years ago [MYA]) and provides evidence for a South American origin of P.
concolor (Chimento and Dondas 2017; Saremi et al. 2019). There are no confirmed fossil records of P.
concolor in North America previous to the late Pleistocene and the oldest P. concolor fossils in North
America date to the Rancholabrean land mammal age, ~200 thousand years ago (KYA; Morgan and
Seymour 1997; Chimento and Dondas 2017; and Saremi et al. 2019). Recent puma genomic analyses
suggest that puma dispersed into North America from South America prior to the last glacial maximum
(20,000 year ago) and have persisted in North America since that time (Saremi et al. 2019).

It is generally accepted that persecution and the expanding footprint of human civilization were the root
causes of the decline of the Florida panther. The trajectory of the Florida panther population has
followed a pattern of decline similar to that of pumas throughout North America, but especially east of
the Mississippi River. Prior to the arrival of Europeans in the early 1500s, pumas had coexisted with
Native Americans for 10,000–20,000 years, holding positions of spiritual reverence as well as being
feared and hunted (Gill 2010).

5.1       HISTORICAL DISTRIBUTION AND DECLINE OF PUMAS IN EASTERN NORTH AMERICA

In North America, puma were noted as being widespread along the east coast by early European
explorers during the sixteenth century (Guggisberg 1975). At this point in time, old-growth forests were
thought to extend across 950 million acres of land (Davis 1996). However, as colonists and settlers
gradually spread westward, they converted vast acreages of old-growth forest into open agricultural
land. Subsequently, approximately 50–75 percent of the landscape on the eastern seaboard was open

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     67
      Case 1:21-cv-00119-RDM           Document 149-2          Filed 01/12/24       Page 92 of 585
                                                   HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE


agricultural land by the mid-1800s. In some areas, this alteration exceeded 90 percent (Foster et al.
2004).

As westward settlement progressed, wildlife dwindled due partly to habitat loss and partly to direct
persecution from shooting, trapping, and poisoning. The numbers of white-tailed deer, a primary prey
species of pumas, plummeted in response to habitat loss and unrestricted hunting. This rapid decline in
deer populations actually led to the closure of hunting seasons in some areas as early as 1639 (Gill
2010). Furthermore, Native Americans started to see deer hides as a commodity to trade with European
settlers in return for varied items between the late 1600s and middle 1700s, leading to an increased
take of deer from 85,000 skins to >500,000 annually, respectively (Hewitt 2015). Market hunting alone
accounted for 600,000 deer hides being exported from Savannah, Georgia, from 1755–1773 (Demarais
et al. 2000). After the Civil War, the technological advances in firearms (e.g., repeating rifles) improved
market hunters’ efficiency such that deer populations declined to about 350,000–500,000 animals
throughout their range by 1900, down from an estimated 23.6–32.8 million prior to European
settlement (McCabe and McCabe 1984, Hewitt 2015).

Simultaneously, predators, including pumas, were feared, despised and killed at every opportunity (Gill
2010). This take of predators was further enhanced by the implementation of reward payments.
Bounties were generally in effect in states or counties where puma depredations had been experienced
during all of the 1800s and into the early 1900s (Young and Goldman 1946). The state of Pennsylvania,
for example, established a bounty specifically for pumas in 1807. Bounty acts for the control of pumas
spread westward as new lands became populated and developed. The establishment of bounties led to
the emergence of a cadre of professional hunters, some of whom made their entire living by killing
predators (Gill 2010). Bounty hunters used a variety of techniques to kill predators, including pit traps,
steel traps, guns, poisons, and encircling drives (Young and Goldman 1946, Gill 2010).

The cumulative effects of habitat loss, declining prey, and wanton persecution led to the extirpation of
pumas from the eastern United States by the late 1890s, except for Florida, where a small, isolated
population persisted (Sunquist and Sunquist 2002).

5.2    HISTORICAL DISTRIBUTION AND DECLINE OF THE FLORIDA PANTHER

The historic distribution of the Florida panther as initially described by Young and Goldman (1946)
included the southeastern United States from Louisiana and Arkansas to the east coast and generally
south of Tennessee and South Carolina (Figure 3.2; Young and Goldman 1946:10). However, the
boundary lines delineating the historic distribution of the Florida panther and other geographic races
described by Young and Goldman (1946) were arbitrarily drawn and based on scant evidence (see 3.2.
Florida Panther Taxonomy). Evidence does suggest that the puma in North America historically had a
transcontinental distribution and that intergradation among the previously described geographic races
was not restricted given the absence of geographic barriers that would limit dispersal and gene flow
among populations (Culver et al. 2008, Culver 2010).

Fossil evidence of P. concolor in Florida is known from at least 15 late Rancholabrean (130,000–11,000
years before present) sites distributed throughout peninsular Florida from as far north as Columbia
County near the Georgia state line to as far south as Dade County (Morgan and Seymour 1997).
Archeological occurrences of panther remains in Florida from 200 B.C.–1763 A.D. are rare and include
modified jaws and teeth found in midden deposits, mounds, and a few examples of being interred with

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       68
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 93 of 585
                                                  HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE


human burials (Wheeler 2011). Artistic representations of the panther from pre-Columbian Florida
cultures include wooden statuettes (Figure 5.1) and wood effigy carvings (Figure 5.2), including some
associated with ceremonial mortuary ponds (Figure 5.3; Wheeler 2011, Marquardt 2019).




Figure 5.1. The Key Marco Cat statuette or figurine recovered at Key Marco (present day Marco Island)
on the southwest coast of Florida in 1895 by Frank Cushing (Cushing 1896). Described by Cushing (1896)
as a mountain lion or panther god, the statuette was carved from local dense tropical hardwood and is
attributed to the Calusa people inhabiting the island between 300–1500 AD. Catalog number A240915,
Smithsonian Institution, National Museum of Natural History, Department of Anthropology.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       69
   Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 94 of 585
                                                HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE




Figure 5.2. The Padgett Figurine, a pre-Columbian carved wooden statuette recovered at the Palm
Hammock site (8GL30) on the western side of Lake Okeechobee in 1929, depicts a human kneeling on a
platform and wearing a feline-like headdress or mask (Wheeler 2011). Florida Museum of Natural
History (FMNH) catalog number 2013-3-1. Photo by Kristen Grace, courtesy FMNH.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                               70
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 95 of 585
                                                  HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE




Figure 5.3. The “running panther” (Sears 1982), a wood carving recovered by William H. Sears from a
pre-Columbian mortuary pond at the Fort Center site in Glades County west of Lake Okeechobee.
Larger tenoned effigy carvings of panthers and other large carnivores were also recovered at the site.
Florida Museum of Natural History (FMNH) catalog number A15864. Photo by Kristen Grace, courtesy
FMNH.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        71
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 96 of 585
                                                    HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE


The first European colonies established on the east coast of Florida in the seventeenth century gradually
spread to the west and south and led to an increasing number of humans within the range of the Florida
panther. Most colonists viewed carnivores, including panthers, as not only threats to humans and
livestock, but also as direct competitors for game species. In the South, panthers were considered a
menace at the same time that they became a frequent part of Florida folklore (Williams 1978). In fact, a
bounty was placed on panther in Florida in 1832, which was 13 years prior to the ratification of
statehood (Tinsley 1970:13). Townshend (1875) noted that settlers were adamant about eliminating
bobcats (Lynx rufus), red wolves (Canis rufus), and panthers, which resulted in dwindling populations of
these predators. By 1887, Florida had authorized a $5 statewide bounty on panthers (Florida Statutes
§3763-83 [1887]). This bounty would be equivalent to $130 in 2018 prices, which was not an
insignificant reward for a settler. Unregulated hunting would eventually have a major impact on
panthers in the southeastern United States near the end of the nineteenth century (Figure 5.4).




Figure 5.4. Florida panther killed by James Armour, a half mile west of Jupiter, Florida in 1879 and
photographed by Mellville E. Spencer at the Jupiter Lighthouse. Courtesy of The Historical Society of
Palm Beach County, Spencer-Peebles Collection catalog number 83/Spencer.069.



According to Tinsley (1970), by the early 1900s, the Florida panther persisted only in large wilderness
areas, mostly within Florida, including: Green Swamp and Big Scrub (today’s Ocala National Forest) in
Central Florida; and the Everglades of South Florida. These natural areas were particularly difficult to
access for settlers and hunters. Due to this inaccessibility, some reports, including those by Indian

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          72
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 97 of 585
                                                   HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE


tribes, mention panthers as numerous in parts of South Florida, including the Big Cypress region (Cory
1896). This is the same area in extreme southern Florida that would eventually provide the last
refugium for panthers when listed as endangered in 1967.

A dwindling number of panthers survived only in Central and South Florida by the late 1920s (Young and
Goldman 1946, Tinsley 1970, Alvarez 1993), but by the 1930s, there are reports that some residents
believed panthers were extinct (Newell 1935). However, in 1935, a hunting expedition into the Big
Cypress region of Collier County resulted in the killing of eight panthers in five weeks (Newell 1935). The
proliferation of ranching, agriculture, development, and persecution gradually reduced panthers into a
population that was becoming progressively fragmented. Additionally, attempts to control an outbreak
of cattle-fever tick in Florida during the late 1930s led to a government-sanctioned white-tailed deer
eradication program that led to the extermination of 9478 deer between 1939 and 1943, including 8428
deer killed in Collier County (Davis 1943, Game and Fresh Water Fish Commission 1946, Alvarez 1993).
The negative impact of this program on an important prey species correlated with a subsequent
increase in reports of livestock depredations involving panthers (Hamilton 1941).

Hamilton (1941) reported that the panther still occurred in Lee, Collier, and Hendry counties in 1939–
1940 and that panther depredations on cattle had increased as a result of the sanctioned deer
eradication program. Hamilton (1941) shared records of panthers shot near Naples, Bonita Springs
(Figure 5.5), and Estero in 1939 and of a female panther killed by a cowhand near Immokalee in 1941,
her 2 kittens captured and displayed in Fort Myers (Hamilton 1941). One report mentions two panthers
killing 20–30 head of cattle near Naples, Florida in 1939 (Alvarez 1993). One of the specimens examined
by Young and Goldman (1946) was reportedly collected near Immokalee in 1940. Reports such as these
provided sufficient fodder to those who considered panthers to be pests. In combination with the deer
eradication program, these factors accelerated the decline of the panther.

A 1946 hunting expedition into the Fakahatchee Strand revealed that a few panthers continued to
persist in Florida (Tinsley 1970). In recognition of the waning numbers of panthers in Florida, GFC
afforded partial protection to the Florida panther as a game animal in 1950. This meant panther could
only be legally hunted during deer season, although nuisance animals involved in livestock depredations
could be removed by a special permit whenever necessary (Tinsley 1970). Subsequently, the panther
was given complete legal protection by GFC in 1958.

In further recognition of the dwindling panther population, the USFWS listed the Florida panther as
endangered throughout its historic range on 11 March 1967 (32 FR 4001). The Florida panther
subsequently was designated as endangered wherever it is found under the ESA of 1973, as amended
(16 U.S.C. 1531 et seq.). The heightened awareness afforded to the Florida panther by this designation
ultimately led to the initiation of research and management aimed at averting what appeared to be
imminent extinction.

By the time the Florida panther was listed as federally endangered, very little was known about their
status and distribution in Florida. In February and March 1973, a survey was initiated to ascertain the
status of panthers in Florida (Nowak and McBride 1974). A single female approximately 10 years-of-age
and in poor physical condition was captured by Roy T. McBride in Glades County west of Lake
Okeechobee and north of the Caloosahatchee River. McBride also conducted limited sign surveys in
Ocala National Forest and in areas south of the Caloosahatchee River that included ENP, the Big Cypress
Swamp region, and cattle ranchlands directly north of the Big Cypress Swamp region (Nowak and

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        73
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 98 of 585
                                                  HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE


McBride 1974). Although these initial surveys were based on areas with reliable reports of panthers, the
only panther sign confirmed was the female treed in Glades County in February 1973. Based on their
initial sign surveys and taking into account the reports considered credible, McBride estimated the
panther population “from the Lake Okeechobee area southward to be about 20 or 30 individuals”
(Nowak and McBride 1974:242).

In March and April 1974, Roy T. McBride conducted a second survey in South Florida centered in the Big
Cypress Swamp region (Nowak and McBride 1975). McBride found the sign of only two panthers during
the 1974 surveys, both in the Fakahatchee Strand, including the area now designated as the Florida
Panther National Wildlife Refuge (Nowak and McBride 1975). Subsequent to the 1974 sign surveys and
interviews with individuals in Florida reporting reliable sightings, McBride revised his estimate of the
panther population in Florida downward, suggesting “that there could not be more than about ten
individual panthers in the area around Lake Okeechobee and southward in the state” (Nowak and
McBride 1975:245). Interestingly, Culver et al. (2008) estimated the census size of the Florida panther
population empirically using microsatellite data that accounted for the genetic bottleneck that occurred
during that time period. Those data revealed that at its nadir, within a timeframe of two generations
during such an extreme bottleneck, the population may have encompassed as few as 6 panthers. Based
on documented evidence that panthers persisted in extreme South Florida in the 1970s, FWC research
biologists began a panther research and monitoring program in 1981.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     74
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 99 of 585
                                                  HISTORICAL DISTRIBUTION AND CAUSES FOR DECLINE




Figure 5.5. Panther killed by Mitt McSwain on 10 October 1937, one mile from Bonita Springs, Lee
County, Florida. Hamilton (1941) published an account of this panther but noted that it was killed on 10
October 1939. Courtesy of the Bonita Springs Historical Society.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     75
  Case 1:21-cv-00119-RDM                 Document 149-2          Filed 01/12/24       Page 100 of 585
                                                           CURRENT CONDITION OF THE FLORIDA PANTHER


                      CHAPTER 6       CURRENT CONDITION OF THE FLORIDA PANTHER

6.1       CURRENT POPULATION DISTRIBUTION, SIZE, AND TREND

      •    The distribution of pumas, including Florida panthers, is determined by three essential habitat
           requirements: areas large enough to provide refugia from most human activities, adequate prey
           including large ungulates, and ambush or stalking cover.
      •    The Florida panther currently exists as a single breeding population located in South Florida, and
           it represents the only breeding population of puma east of the Mississippi River.
      •    Occurrence data indicate that panthers currently are distributed into Central Florida up to I-4
           and beyond, but these panthers are primarily dispersing males from the core breeding
           population in South Florida.
      •    An adult female panther was documented in Charlotte County in November 2016, the first time
           since 1973 that a female panther has been confirmed north of the Caloosahatchee River.
      •    A minimum of three adult female panthers and at least four litters of kittens have been
           documented north of the Caloosahatchee River between November 2016 and June 2020.
      •    As of June 2020, there is no evidence that successful recruitment has occurred north of the
           Caloosahatchee River, and until that evidence is documented, it would be premature to
           conclude that the breeding range of Florida panthers has expanded beyond South Florida.
      •    The size of the panther population in areas south of the Caloosahatchee River identified as
           suitable habitat was reported to be 120–230 adults and subadults in 2015.
      •    The panther population may have been as low as 10 individuals in 1974 based on field surveys,
           and as low as 6 panthers for two generations in the mid-1900s based on genetic analyses.
      •    The minimum panther population size was 20–30 animals in the 1970s through the early 1990s.
      •    The size of the panther population has been increasing steadily since the introduction of 8 Texas
           females into South Florida in 1995.
      •    A scientific estimate of population size based on highway mortality of radio-collared panthers
           indicated that the population may have been as large as 414 panthers in 2017, but the estimate
           had a margin of error of 222–773 panthers, which is too wide to inform conservation decisions.
      •    Abundance estimates suggest that the increase in the panther population has been stabilizing
           since 2012, especially for the adult male panther population.
      •    Florida panther population density estimates over time have been as low as 0.91/100 km2, but
           the increasing size of the panther population post introgression has resulted in higher densities
           of independent-aged panthers in the range of 1.37–4.03/100 km2 in occupied high-quality
           habitats on public and private lands.

Pumas are the most widely distributed terrestrial mammal in the Western Hemisphere, extending from
western Canada southward through the western United States, Central and South America to southern
Chile (Figure 1.1; Sunquist and Sunquist 2002, Nielsen et al. 2015). The broad geographic distribution of
pumas attests to their ability to adapt to a wide range of habitats and environmental conditions
(Sunquist and Sunquist 2002, Pierce and Bleich 2003). The three essential habitat requirements that
determine the distribution of pumas are areas large enough to provide refugia from most human
activities, adequate prey including large ungulates, and ambush or stalking cover (Beier 2010). As
ambush predators, pumas rely on the presence of vegetative or topographic cover to approach to within

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         76
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 101 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


2–30 m of prey (Murphy and Ruth 2010). Therefore, puma distribution is realized in landscapes that not
only support preferred prey but also provide cover for stalking prey to within a close distance (Sunquist
and Sunquist 2002, Beier 2010). However, like other large carnivores, pumas exhibit characteristics (i.e.,
large home ranges, low densities, persecution by humans) that make them vulnerable to localized
extinction due to habitat loss and fragmentation, thus affecting distribution (Crooks 2002).

6.1.1   Current Distribution of the Florida Panther as Determined by Occurrence Records

Throughout the remainder of this SSA, we use only verifiable and documented occurrence records to
assess the current distribution of the panther population as these records constitute the best available
scientific information. FWC maintains several continually updated spatially referenced databases useful
in assessing the distribution of panthers. These databases include verified occurrence records collected
since 1972 comprised of VHF and GPS telemetry locations, mortality and injury locations, confirmed
sightings, tracks, locations of panther depredations and locations of human-panther interactions (see
Appendix B).

The Florida panther currently exists as a single population located in South Florida and represents the
only population of puma east of the Mississippi River (Federal Register, Vol. 83, No. 15, 23 January
2018). The first recovery plan produced in 1981 showed a very limited distribution extending from what
is now the FPNWR southeastward to ENP (Figure 6.1). A revised recovery plan (1987) showed an
expansion of panther occurrences into Hendry, Glades and Palm Beach counties in addition to the
counties that were shown in the 1981 plan (Figure 6.2).

Panthers have since been documented in 26 Florida counties based on verified occurrence records and a
single dispersing male panther was killed by a hunter in Troup County, central Georgia, near the
Alabama state line in 2008 (Figure 6.3). Telemetry, mortality, depredation, human interaction, and
sighting records indicate that panthers currently are distributed into Central Florida at least as far north
as I-4, but most of these records are transient adult or subadult males that are not part of a breeding
population (Figure 6.4). Within Florida, the furthest north a panther has been documented was a road
kill on I-95 at the Flagler-St. Johns county line in northeast Florida in 2005. This road kill and the Georgia
mortality attest to the dispersal capabilities of Florida panthers, but they appear to be outliers from the
regions of South and Central Florida where most panthers are found.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          77
  Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 102 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.1. Range of the Florida panther as depicted in the 1981 Florida Panther Recovery Plan (USFWS
1981).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  78
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24       Page 103 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.2 Range of the Florida panther as depicted in the 1987 Florida Panther Recovery Plan (USFWS
1987).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  79
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 104 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.3. Distribution of the Florida panther based on verified occurrence records by county collected
from 1972–2019, including a dispersing male panther (UCFP123) killed in Troup County, GA in 2008.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     80
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 105 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.4. Distribution of the Florida panther based on verified occurrence records collected from
1972–2019.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     81
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 106 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER


6.1.2   Recent Expansion of Female Panthers North of Caloosahatchee River

Female panthers have been documented in 8 Florida counties since 1973 (Figure 6.5). From 1980
through October 2016, all occurrence data demonstrated that female panthers were present only south
of the Caloosahatchee River and most reproduction occurred in Collier, Hendry, Lee and Miami-Dade
counties. Between November 2016 and June 2020, a minimum of three adult female panthers and at
least four litters of kittens have been documented north of the Caloosahatchee River (Kelly and Onorato
2020). In November 2016, an adult female panther was documented on the Babcock Ranch Preserve
(Charlotte County, FL; FWC 2017) via trail camera photographs and confirmed tracks. Then, on 13
January 2017, a trail camera deployed on the Babcock Ranch Preserve captured a lactating female
panther, likely the same female documented in November 2016 (FWC 2017). FWC trail cameras
subsequently documented a female with a minimum of two kittens on the Preserve on 15 March 2017,
and with a minimum of one kitten on several subsequent occasions that spring. The age of the kittens
and locations of captures suggested this was the same lactating female documented in January 2017
and verified that reproduction had occurred north of the Caloosahatchee River. A second adult female,
exhibiting behavior consistent with estrous and paired with an adult male, was documented with a trail
camera on Platt Branch Wildlife and Environmental Area (Highlands County, FL) in March 2017 (FWC
unpublished data). These were the first females that have been confirmed north of the Caloosahatchee
River since a female was captured in Glades County in 1973 (Nowak and McBride 1974, FWC 2017) and
represent a significant milestone in panther recovery efforts. However, evidence collected as of June
2020 and discussed below, provides caution against prematurely drawing the conclusion that the
breeding range of panthers has expanded beyond South Florida without evidence that successful
recruitment has occurred north of the Caloosahatchee River.

Subsequent to the first documentation of kittens in March 2017, the female panther at Babcock Ranch
Preserve was documented traveling without kittens and paired with an adult male for a period of
approximately 4 days in April 2017. She was later photographed on 27 April 2018 traveling with a kitten
that had an obvious impairment to its rear legs that may be symptomatic of an emerging neuromuscular
disorder of unknown cause detected in panthers and bobcats in the State of Florida (See Section 6.4.9).
The last observation of her traveling with a kitten from this first litter was on 14 May 2017. Trail
cameras deployed by FWC on Babcock Ranch Preserve later documented a second pair of panther
kittens traveling with an adult female on multiple occasions from 22 November 2017 through 12
February 2018. Although this was verification of a second reproductive event north of the
Caloosahatchee, the chronology of camera capture events suggested that this was the same female first
detected with kittens in March 2017. It should also be noted that this female paired with an adult male
on 27 January 2018 when the second litter of kittens were approximately 6 months-of-age. She was last
observed with her kittens on 12 February 2018, although one kitten was later captured traveling alone
on 20 April 2018. FWC cameras subsequently detected an adult female exhibiting signs consistent with
pregnancy on 23 April 2018 and then later with actively nursed teats on 7 May and again on 13 May
2018, confirming that she had successfully denned and given birth. The last detection of this female in
Babcock Ranch Preserve occurred on 16 May 2018 and there is no evidence that offspring from this last
litter survived beyond the neonate stage.

Trail cameras deployed by FWC and the USFWS confirmed the presence of an adult female using the
eastern portions of Babcock Ranch Preserve from October 2019 through June 2020, including a pairing
with an adult male in April 2020 (Kelly and Onorato 2020). An examination of pelage markings

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    82
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 107 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER


confirmed that this female is a different individual than the female last observed on Babcock Ranch
Preserve in May 2018. In November 2019, a 4–6-month-old dependent-aged panther kitten was
captured on the trail cameras deployed on Bob Janes Preserve in Lee County. This kitten was not
photographed with adult female and there is no evidence that this kitten survived (Kelly and Onorato
2020). However, this kitten would mark the fourth known litter of kittens born north of the
Caloosahatchee River since 1973. Trail camera photos from March 2020 confirmed the presence of an
adult female panther using the Fisheating Creek Wildlife Management Area in Glades County, including
captures of her traveling with an adult male panther (Kelly and Onorato 2020). The adult female
captured at Fisheating Creek in March 2020 was presumed not to be the same individual as the adult
female photographed in eastern Babcock Ranch Preserve in March 2020 based on the distance between
capture locations (>20 km) along with short time intervals between captures (Kelly and Onorato 2020).
Subsequently collected photos of the Fisheating Creek female also show a distinguishing pelage
difference (mid-dorsal cowlick; FWC unpublished data).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  83
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 108 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.5. Distribution of female Florida panthers based on verified occurrence records collected from
1972–2019.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    84
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 109 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER


6.1.3   Current Distribution of Pumas in Eastern United States Outside of Florida

The Cougar Network (www.cougarnet.org), a nonprofit research organization dedicated to studying
puma-habitat relationships and the role of pumas in ecosystems, is studying the recent phenomenon of
the expansion of puma populations into former habitats. The Cougar Network maintains and
continually updates a database of confirmed records of pumas throughout the eastern United States
and Canada. The database of confirmed cougar records between 1990 and 2017 shows that pumas are
occurring more frequently west of the Mississippi River, and they appear to be expanding into
Wisconsin, Illinois, and Tennessee (Figure 6.6). Adult male pumas have even been confirmed from as far
east as New Brunswick and New England. The Cougar Network database contains one record of a
female puma in Carroll County, Tennessee, dated 26 September 2015, a finding that suggests that
reproduction in the eastern United States in areas outside of Florida may be possible. The female puma
in Tennessee was confirmed via DNA testing of dried blood, hair, and tissue recovered from a crossbow
bolt after a hunter reported shooting a puma along the South Fork of the Obion River in western
Tennessee (Pilgrim and Schwartz 2015). DNA testing confirmed the samples were from a female and
represented a new individual to the National Genomics Center for Wildlife and Fish Conservation
database (Pilgrim and Schwartz 2015). Preliminary substructure analysis showed that this puma was
most closely related to individuals from the Black Hills of South Dakota, although these results do not
suggest that the female originated directly (e.g., dispersal) from the Black Hills (Pilgrim and Schwartz
2015). Tennessee Wildlife Resources Agency (TWRA) did not confirm additional field evidence (e.g.,
tracks, scat, or photographs) of the female from the reported collection site (Joy Sweaney, TWRA,
personal communication).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    85
                      Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 110 of 585
                                                                                             CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.6. Confirmed locations of Puma concolor by county (or Canadian equivalent) for areas outside known puma range (green shading) in
North America during 1990–2017. Map provided by and reprinted with permission from the Cougar Network
(www.cougarnetwork.org/confirmations).




                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    86
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 111 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


6.1.4   Current Size and Trend of the Florida Panther Population

The 2008 Florida Panther Recovery Plan used a metric of 240 adults and subadults as a measure of a
viable population size. The plan provided guidance that multiple viable populations of at least 240
adults and subadults would need to be established for a minimum of 12 years before the USFWS should
consider either downlisting or delisting the panther. This number was derived from a population
viability analysis (see Section 7.1). Obtaining a statistically defensible estimate of the population size
has not been feasible for Florida panthers (Sollmann et al. 2013), even though it is currently used as a
critical parameter to assess the progress of recovery (USFWS 2008b). Estimating puma population size is
challenging because: they typically occur at low densities; they are distributed over large areas;
detection rates are low; individuals are not readily identifiable; and the assumptions of varied
estimation techniques are difficult to satisfy (Proffitt et al. 2014, Davidson et al. 2014, Beausoleil et al.
2016). There are several capture-mark-recapture methods (CMR) that can utilize either data from DNA
hair snares or trail cameras to develop population estimates, and these have been effective for bears
(Immell and Anthony 2008, Kendall et al. 2008) or felids with uniquely identifiable fur coloration
patterns (Karanth and Nichols 1998, Simcharoen et al. 2007), respectively.

Historically, most statements regarding panther population numbers have resulted from expert opinion
informed by field observations by those most closely engaged in panther research (FWC and USFWS
2017). The population may have been as low as 10 individuals in 1974 based on surveys by Nowak and
McBride (1975), and an analysis of microsatellite data suggested that a population as low as 6 panthers
for two generations in the mid-1900s would account for a genetic bottleneck reported by Culver et al.
(2008). Various population sizes have been used over the years, including: 20–30 throughout the 1970s
and early 1980s; 30–50 in the late 1980s through the mid-1990s; 50–70 for several years following
genetic restoration in 1995; and 90–120 in the early 2000s (FWC and USFWS 2017).

FWC, the USFWS, NPS, and other partners used formerly a minimum count index to track trends in the
panther population since the 1980s (McBride et al. 2008). This method provided a long-term measure
of panther numbers for managers to assess changes in the population. That said, this technique did not
provide a true population estimate because it did not have an associated measure of variance and it did
not consider changes in detectability or sampling effort. In addition, it provided a minimum count, so
the index was used with the understanding that a portion of the population was not counted. Based on
this minimum count method, the USFWS and FWC reported that as of 2015 there were 120 to 230 adult
and subadult panthers in the Primary Zone (Kautz et al. 2006, FWC and USFWS 2017). Annual counts of
the minimum number of panthers (>3 months-of-age) known to be alive increased steadily between
2000 and 2015 (See Figure 7 in McBride and McBride 2015). The last annual count was completed in
2015 and this count has since been discontinued.

Since 2015, females with kittens have been documented outside of the Primary Zone both north and
south of the Caloosahatchee River. As we noted earlier, the panther population increased in size
following the 1995 genetic introgression and female presence began to be documented further from the
Big Cypress region as time elapsed (Figure 4.1). It took 25 years for females to expand their range from
Big Cypress to just south of the Caloosahatchee River. In the past, panthers documented north of the
Caloosahatchee River were not included in population estimates as they were primarily dispersing males
that contribute little if at all to the breeding population. If female presence, reproduction and



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         87
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 112 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


recruitment is documented in this area in the future, these individuals will need to be included in
population assessments.

A new technique to estimate total population size over time based on mathematical models derived
from data on vehicle mortality of radio-collared panthers indicated that the population may have been
as large as 269 individuals in 2012, but the 95 percent CI around the estimate indicated that the actual
population size was somewhere between 143 and 509 panthers (Figure 6.7; McClintock et al. 2015).
This model included a risk layer based on traffic, fencing and wildlife crossings to control for unequal
exposure to the threat of vehicle strikes. After a period of growth following the introduction of Texas
females into South Florida in 1995, this technique showed that the panther population appears to have
been stabilizing in 2012, especially for the adult male population (McClintock et al. 2015). Recent PVA
models that account for density dependence predict that future growth of the panther population south
of the Caloosahatchee River will be nominal, and estimates of population size suggest that population
growth may already be slowing (van de Kerk et al. 2019). Although the margin of error for this
technique is too imprecise to inform conservation decisions, this methodology may have a greater utility
to inform managers when used in combination with other data sources (e.g., camera trap data; see next
section).

The McClintock et al. (2015) model was rerun with six additional years of data to estimate the total
population size from 2000–2018 (Onorato and McClintock unpublished data). The addition of these new
data resulted in some slight differences in population estimates for the time period covered in
McClintock et al. (2015), but these were likely insignificant as confidence intervals overlapped between
the two model runs. This second effort involved development of an updated risk layer to incorporate
new traffic volume and road data that has become available since 2012. Lastly, the 2019 model is
calculated slightly different from the 2015 model (McClintock et al. 2015) via the implementation of
multiple spline-based models for abundance. For the 2019 analysis, the population was estimated to
have ranged from 128 to 414 individuals during the study period, with the 95 percent CI around the
latter estimate ranging from 222 and 773 panthers (Figure 6.8). The uncertainty of abundance estimates
derived via this technique continues to be an issue, and this reduction in precision was likely
exacerbated by: 1) the reduced number of marked panthers in the population over the last 5 years; 2)
the fact that the model does not account for density dependence in the population estimate and upper
confidence interval. By focusing instead on the trends of the population estimates and lower confidence
intervals, it’s apparent that population growth has slowed in the last 4 years and even declined in 2018
for the first time during the study period. While we caution against over analyzing this trend, it’s worth
noting, especially if said trend continues the next time this analysis is rerun with new data. For the time
being, this method remains the only technique that can inform managers as to the change in the
panther population size.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       88
                      Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 113 of 585
                                                                                              CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.7. Annual estimates of the subadult and adult (≥1 year old) Florida panther population size using the breeding range from 2000–2012.
Estimates were calculated via a population abundance model that utilized panther motor-vehicle mortality data within a mark-resight modeling
framework. Total counts for the minimum number assumed alive (MNA) based on physical evidence (McBride et al. 2008) are included for
comparative purposes. Data presented were extracted from McClintock et al. (2015).



                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    89
                      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 114 of 585
                                                                                              CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.8. Reassessment annual estimates of the subadult and adult (≥1 year old) Florida panther population size using the breeding range from
2000–2018. Estimates were calculated via a population abundance model that utilized panther motor-vehicle mortality data within a mark-
resight modeling framework. Total counts for the minimum number assumed alive (MNA) based on physical evidence (McBride et al. 2008) are
included for comparative purposes. Collection of MNA data ceased in 2015. Figure reprinted from Onorato and McClintock (unpublished data).




                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    90
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 115 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.1.5    Florida Panther Population Density

Maehr et al. (1991) provided the earliest estimate of panther population density at 0.91/100 km2 at a
time when the number of panthers was thought to be 30–50 animals. This estimate was based on
counting marked (radiocollared) and unmarked panthers in a given area. This technique has been
described as the “gold standard” for estimating puma density even though it lacks a measure of variance
and is in fact, nothing more than a simple count (Cougar Management Working Group 2005). Twenty
years later, and following genetic restoration, new techniques have been developed that utilize a CMR
framework on data collected from camera trap grids. These spatial mark-resight (SMR) models account
for detection probabilities and effort, and provide measures of uncertainty associated with estimates.
Sollmann et al. (2013) used an SMR model to estimate panther density in the Picayune Strand
Restoration Project area at 1.5/100 km2. Similar SMR models were later applied to data generated from
camera trap grids on three 225-km2 study areas that included public and private land in South Florida
Dorazio and Onorato 2018, Onorato et al. 2020). Panther density in the Addition Lands of Big Cypress
National Preserve (BCNP) was estimated at 1.37/100 km2 in 2014. Panther density in a study area that
included FPNWR and adjoining areas of Picayune Strand State Forest (PSSF) and Fakahatchee Strand
Preserve State Park (FSPSP) was estimated 4.03/100 km2 in 2014. Panther density in the Immokalee
Ranch (IMR) study area was estimated at 3.90/100 km2 over a 14-month study period in 2017–2018.
IMR encompassed privately-owned land in Collier and Hendry counties that included a mosaic of native
cover and active agricultural land uses (e.g, improved and semi-improved pastures for cow-calf
operation and a variety of row crops). These results suggest that the increasing size of the panther
population post-introgression has resulted in higher densities in the range of 1.37–4.03/100 km2 in
occupied habitats on public and private lands in South Florida. However, densities in other areas within
the range of panthers have not been studied.

Estimates of Florida panther densities are within the range of reported densities from other
geographical areas within the range of pumas (Sollmann et al. 2013). Generally, lowest puma densities
of <1/100 km2 are found in the northern part of the species range, whereas higher densities of just over
1 to almost 7 individuals per 100 km2 are found in Central and South America (Sollmann et al. 2013).
Most estimates of puma density in western North America have been in the range of 0.3 to 3.6
individuals per 100 km2 (Pierce and Bleich 2003, Quigley and Hornocker 2010). However, recent studies
employing new methodologies have reported puma densities in the range of 3.7 to 6.7 individuals per
100 km2 in areas of northeast Oregon and the Rocky Mountains in western Montana, and estimates as
high as 7.1 and 7.3/100 km2 have been reported for Vancouver Island and Texas, respectively (Pierce
and Bleich 2003, Quigley and Hornocker 2010, Russell et al. 2012, Davidson et al. 2014). Comparing
puma densities across different studies is complicated by the lack of a common format that makes cross-
project comparisons valid (Quigley and Hornocker 2010). The main reasons for this involve the
methodology for calculating densities, the extensive areas used by such a large and long-lived mammal,
and the secretive nature of pumas (Choate et al. 2006). Issues are exacerbated by their low density and
the difficulty of consistently tracking all individuals in a population (Quigley and Hornocker 2010).

6.2     GENETIC STATUS OF THE FLORIDA PANTHER

Genetics has been an integral part of Florida panther conservation since research commenced in 1981.
These initial studies clearly revealed the panther population was in dire straits. The few panthers that
persisted in the 1980s and early 1990s exhibited some of the lowest levels of genetic variation that had

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      91
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 116 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


been recorded for wild felids, certainly in comparison to other populations of pumas in western North
America (Driscoll et al. 2002). Populations of animals — especially those that persist at low densities
such as large carnivores — that are small and isolated from conspecifics invariably begin to be affected
by a variety of factors such as altered sex ratios, reproductive declines, and outbreaks of disease. The
prevalence of these issues in small populations can often be associated with inbreeding depression,
which can result in the expression of deleterious alleles that can contribute to a variety developmental,
reproductive and epidemiological problems (Roelke et al. 1993a, Roelke et al. 1993b). The
documentation of many of these factors in Florida panthers during that time period supported the
notion that inbreeding depression was having a major impact on the population.

Several physiological and morphological correlates of inbreeding were noted in early research on the
panther population (Onorato et al. 2010). The more infamous traits included the mid-dorsal pelage
whorls (cowlicks) and kinked tails that were documented at high frequencies in panthers. The impact of
these morphological attributes on the fitness of panthers is most likely trivial, yet they may be
harbingers of low levels of genetic variation in the population. Inbreeding correlates that certainly could
have a direct impact on the evolutionary potential of panthers included cryptorchidism, poor sperm
quality and quantity, atrial septal defects, and compromised immune systems. Cryptorchidism, the
failure of one or both testes to descend into the scrotum, results in reduced fertility and has been
associated with inbreeding in panthers (O'Brien et al. 1990, Barone et al. 1994, Mansfield and Land
2002). Whereas sperm quality in wild felids is notoriously poor, research revealed that panthers had
poorer sperm quality than a variety of other wild felids, including pumas from western populations
(Roelke et al. 1993b, Barone et al. 1994). The presence of atrial septal defects, which results when the
openings between the two atrial chambers of the heart fail to close normally at birth, can lead to a
variety of issues related to an impaired circulatory system, including heart failure. Whereas small atrial
septal defects (<5 mm diameter) may have a minimal impact on the health of an individual, larger
defects (25 mm) have been linked to the death of several panthers (Cunningham et al. 1999). Finally,
inbreeding depression in panthers likely resulted in the increased susceptibility of panthers to a suite of
infectious diseases due to compromised immune systems. The seroprevalance of infectious disease
agents in panthers, such as feline panleukopenia, feline calicivirus, feline immunodeficiency virus, and
toxoplasmosis were all noted in wild panthers into the mid-1990s. These certainly all had the potential
to impact the long-term persistence of the Florida panther (Roelke et al. 1993a).

It was this confluence of information regarding the exceedingly small population size, poor genetic
health, and correlates of inbreeding depression that was the impetus for discussions on what
management options might hold the most promise to avert the extinction of the Florida panther. A
captive breeding program was initially proposed as a means of improving prospects for the panther
population. Captive breeding was the preferred option of some experts involved with panther research
because it would prevent the need to introduce pumas from western populations into South Florida and
thereby would potentially prevent the loss of local adaptations that may have evolved in the panther
population over millennia (i.e., outbreeding depression, but see ensuing discussion below). An
environmental assessment was approved by the USFWS in 1991 that permitted the removal of wild
panthers into captivity to commence a captive breeding program (Jordan 1991). By 1992, ten panther
kittens had been removed from the wild. Concurrently, a workshop convened a diverse group of
researchers to outline a roadmap to improve the genetic health of the panther population in a more
expeditious manner (Conservation Breeding Specialist Group 1994). While attendees reviewed multiple

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       92
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 117 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


options, including no action at all, they eventually settled on the idea of implementing a genetic
introgression project via the release of eight female pumas from Texas (Puma concolor stanleyana) into
South Florida. The goal was to diversify the genetic composition of panthers with Texas genes to a level
where 20 percent of the average genotype of panthers was of Texas origin. Thereafter, any remaining
Texas pumas would be removed from the population.

There were invariably some concerns raised regarding the prospects for introducing pumas from a
western population into the panther population. One concern, as previously noted, had to do with the
plausible impact of outbreeding depression in a small population (Maehr and Caddick 1995).
Outbreeding depression is theorized to occur when local adaptations in a population are lost as a result
of overrepresentation of genes from the introduced population (Moritz 1999). This could have
ramifications on the persistence of the population if those local adaptations were imperative for survival
in the ecosystem in which they have evolved. While plausible, documented instances of outbreeding
depression in wild animals is rare (Whiteley et al. 2015). An additional concern with implementing
genetic introgression was that admixing genetics from pumas that were not the same subspecies might
jeopardize the legal protections afforded panthers under the ESA. This concern was eventually
alleviated via a 1994 memo sent by Director Mollie Beattie of the USFWS in which she indicated that
intercrossing between subspecies was authorized as long as progeny “…most closely resemble the
species as listed” (USFWS 1994b). Hence, progeny of genetic introgression, hereafter known as admixed
panthers, were delineated as continuing to receive full protection under the ESA. This provided the
necessary support for agency staff to officially move forward with a plan for genetic restoration
(Conservation Breeding Specialist Group 1994). This memo, along with the need for a fast-acting
management initiative, effectively ended the captive breeding program in 1992 and opened the door for
implementation of a genetic introgression program.

A final environmental assessment was approved by the USFWS (USFWS 1994a) that allowed the project
to commence. Eight female Texas pumas were captured by Roy T. McBride (Livestock Protection
Company, Alpine, Texas) in West Texas. These pumas were quarantined and underwent a health
assessment prior to being introduced into South Florida. Releases subsequently occurred at five
locations from March to July of 1995. Most of the Texas females successfully established home ranges
within months of release and the first den was documented in September of 1995. A minimum of 20 F1
kittens were produced by the Texas pumas and many of these kittens were subsequently documented
to have reproduced successfully. By 2003, the remaining three Texas females that persisted in the wild
were removed to permanent captivity (Onorato et al. 2010).

An analysis of the results of the genetic introgression project was published in 2010 (Johnson et al.
2010). This research provided unambiguous support for the beneficial impacts afforded to the panther
population from the temporary release of the Texas pumas. There were significant improvements in
admixed panthers for most all of the aforementioned correlates of inbreeding including: the reduction
of kinks, cowlicks, and cryptorchidism; and increases in average heterozygosity and percent normal
sperm. Concurrently, the panther population increased from a minimum of 20–30 panthers in the early
1990s to the 120–230 panthers thought to exist in 2015 (FWC and USFWS 2017). Whereas genetic
introgression was likely not the sole impetus for the increase in the population size (i.e., wildlife
underpasses, land preservation efforts) it most certainly played a major role.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      93
   Case 1:21-cv-00119-RDM                Document 149-2         Filed 01/12/24       Page 118 of 585
                                                           CURRENT CONDITION OF THE FLORIDA PANTHER


Recently, the FWC has reviewed data collected on varied correlates of inbreeding and genetic variation
on >900 panthers sampled through 2016. These analyses lead to the conclusion that currently, the
panther population continues to reap the benefits of genetic introgression more than 20 years after the
project was initiated (FWC unpublished data). Kinks, cowlicks and the number of cryptorchid males
continues to decrease in the most recent cohort of panthers (born 2006–2016), while heterozygosity
and sperm quality have improved. Nevertheless, long-term genetic monitoring of the panther
population is warranted as it is predicted that the population will once again begin to be impacted by a
loss of genetic variation due to a variety of factors, including genetic drift. Without periodic natural
migration of pumas into Florida that would promote gene flow with another extant population of
pumas, there is the inevitability that a genetic introgression management initiative will have to be
repeated in the future.

6.3       HABITAT SUITABILITY ANALYSIS

      •    Conservation planning for panthers involves mapping suitable habitats, identifying source and
           sink populations, managing populations for low mortality and minimizing conflict with humans,
           and identifying and protecting landscape linkages to connect populations.
      •    Florida panthers require large landscapes to survive and minimum areas needed to support
           viable populations of panthers and pumas have been estimated at 1000–8100 km2.
      •    The occupied habitat of South Florida, which covers an area of 9094 km2, supports a panther
           population that is demographically viable, but periodic introduction of new genetic material will
           likely be needed to maintain long-term persistence of the population.
      •    A statewide habitat model was created to identify unique patches of panther habitat that
           matched or exceeded characteristics of occupied habitat in South Florida.
      •    Areas of North Florida most likely to support viable populations of panthers that would function
           as source populations in the future include the Big Bend region and Apalachicola National
           Forest.
      •    Another 15 patches of suitable habitat >217 km2 in size (mean home range of female panthers)
           distributed around Florida may have the potential to support small subpopulations of panthers
           and act as stepping stones for panther dispersal if connectivity to source populations can be
           maintained.
      •    Many potentially suitable panther habitat patches in Florida are fragmented by exurban, rural,
           and agricultural development and by busy highways that may limit their capacity to
           accommodate panthers in the future.

In this section, we assess the quality, quantity, and connectivity of habitat available to panthers in
Florida. These variables all have the potential to impact the resilience of the panther population. The
panther population of South Florida is viable for the next 100 years if current conditions persist. Herein,
we have used the characteristics of occupied habitat to identify other areas of Florida with similar
features that may be capable of supporting panther populations in the future. We also address the
importance of landscape linkages that are needed to maintain connections among subpopulations and
potential constraints on expansion of the panther population outside of South Florida.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         94
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 119 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.1    Conservation Planning for Pumas and Panthers

A recurring point of interest among conservation biologists is the identification of the locations and sizes
of reserves needed to support viable populations of rare or imperiled species (Scott et al. 1993, Noss
and Cooperrider 1994, Groves 2003). The Cougar Management Guidelines Working Group (2005)
developed recommendations for identifying areas to be conserved and managed for pumas. Those
recommendations, which can be applied to conservation planning for the panther, are as follows:

    1.   Map puma habitat in an accessible, modifiable format.
    2.   Identify and map subpopulations as a network of sources and sinks.
    3.   Manage areas designated as sources for low mortality and minimal human conflict.
    4.   Assess and map the status of, and threats to, each subpopulation.
    5.   Identify linkages using GPS collars, surveys for sign, or GIS analyses.
    6.   Assess the quality of each linkage.
    7.   Conserve and restore linkages.
    8.   Provide incentives to landowners to protect habitat.

Puma metapopulations may be described as a network of source and sink populations (Cougar
Management Working Group 2005, Quigley and Hornocker 2010). Source populations are those where
productivity exceeds mortality (i.e., mean growth rate is positive); they sustain themselves and supply
surplus individuals to other populations. Sink populations are those where mortality exceeds
productivity (i.e., mean growth rate is negative); they are not self-sustaining and rely on immigration for
persistence. The Cougar Management Guidelines Working Group (2005) considers designation of a
population as a source or a sink as a matter of setting a management objective rather than selecting a
label for a population based on a population’s growth rate. Metapopulation theory promotes larger
regional management, emphasizes the importance of “non-traditional” habitats such as linkages, and
acknowledges that subpopulation status is expected to vary independently between source and sink.
Areas designated as sources should be managed for low mortality and human conflict as these are the
areas that contribute to population resilience by producing dispersing subadult pumas to augment, both
numerically and genetically, more heavily exploited sink areas (Logan and Sweanor 2001).

The dispersal capabilities of pumas make them good candidates for persistence, even in highly
fragmented, widely separated subpopulations (Quigley and Hornocker 2010). Genetic analysis of puma
populations in the Black Hills region of South Dakota and the Badlands region of North Dakota indicated
that both populations were recolonized from a few individuals originating from multiple puma
populations in Montana, Wyoming, and Colorado and that the Dakota populations showed no
deleterious genetic effects from the few founding individuals (Jenks 2018). One to four immigrants into
a small population each decade greatly increased the probability of persistence of a small puma
population in southern California based on a 100-year model of population viability (Beier 1993). A
single male migrant into a small isolated inbred puma population in the Santa Ana Mountains of
southern California sired 11 offspring, which resulted in enhanced genetics in the inbred population and
demonstrated the benefits of landscape connectivity (Gustafson et al. 2017). Thus, linkages that allow
for panther movements become crucial components of landscapes fragmented by human development
or characterized naturally by an abundance of zones that are marginal or uninhabitable for pumas.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        95
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 120 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.2   Area Metrics for Source and Sink Populations

Source areas for puma conservation are typically very large due to the large home range sizes of
individuals, the low densities of puma populations, and the population size needed to ensure positive
growth rates. Published data on the smallest areas occupied by viable puma populations or
recommendations for minimum reserve sizes needed for western pumas and Florida panthers that may
be considered as the area needed to support source populations are as follows:

    •   1000–2200 km2 – California (Beier 1993)
    •   2625 km2 – South Dakota (LaRue and Nielsen 2011)
    •   2590 km2 – Florida (Belden and Hagedorn 1993)
    •   3000 km2 – New Mexico (Logan et al. 1996, Logan and Sweanor 2001, Logan et al. 2004)
    •   8100 km2 – Florida (Kautz and Cox 2001)

Sink areas may be as small as the area needed to support at least one female home range, but by
definition, sink areas must be connected to other areas of occupied habitat to function as a component
of a metapopulation. LaRue and Nielsen (2016) considered the smallest documented female post-
parturition home range of 64 km2 as the minimum habitat patch size needed for pumas in the Midwest.
However, Beier (1993) noted that pumas were extirpated from a patch of 75 km2 after it was
surrounded by development and isolated from immigration by other pumas in southern California.
Taking a more conservative approach, we used the mean female panther home range size of 217 km2 to
identify smaller habitat patches in Florida that may be capable of supporting sink populations consisting
of at least one female if landscape connectivity can be maintained. Sink population areas are important
for maintaining the resiliency of the metapopulation.

6.3.3   Application of Conservation Planning Guidelines to the Florida Panther

Results from the two most recent PVA models provide concrete evidence that the panther population in
South Florida is viable for the next 100 years if current conditions persist and genetic introgression is
repeated with 5-10 panthers every 20–40 (Hostetler et al. 2013, van de Kerk et al. 2019). Several
landscape features contribute to that viability. First, the South Florida population occupies a large,
contiguous block of high-quality habitat (i.e., core habitat). Second, contiguous with the high-quality
core habitat is a large block of suitable habitat comprised of lower quality habitat that supports the core
habitat (i.e., supporting habitat). The larger block of supporting habitat also includes smaller patches of
high-quality habitat that are connected by lower quality habitats such that panthers inhabiting the
smaller patches are part of and contribute to the viability of the total population. OSSF and the Greater
Corkscrew Region (Corkscrew Regional Ecosystem Watershed and Audubon’s Corkscrew Swamp
Sanctuary) are examples of occupied high-quality habitats surrounded by lower quality habitats but
connected to the high-quality occupied habitats of the Big Cypress region. Third, from a conservation
planning standpoint, the smaller blocks of habitat should be large enough for a female to establish a
home range.

We used these concepts and the recommendations of the Cougar Management Guidelines Working
Group (2005) as the foundations for identifying other areas of Florida that may have the potential to
support viable populations of panthers in the future. We assume that areas that can support viable
populations or subpopulations must contain a core area of high-quality habitat comparable in size to the


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        96
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 121 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


area that now supports a viable population in South Florida. We also assume that core habitats should
be contiguous with large blocks of supporting habitat comprised of lower quality habitats than the core
area, but still considered suitable habitat. Supporting habitats also provide landscape linkages between
high-quality core habitats. We also assume that patches >217 km2 may be capable of supporting at least
one female panther and thus play a role in panther conservation if the quality of habitats is suitable and
the patches are connected to other patches that support panthers.

6.3.4   Panther Habitat Suitability Model for Florida

An earlier effort to map areas of South Florida important for panther habitat conservation resulted in
three distinct regions of panther habitat (Kautz et al. 2006): Primary Zone (9189 km2), Secondary Zone
(3286 km2), and Dispersal Zone (113 km2) (Figure 6.10). The Primary Zone was defined as lands essential
to the long-term viability and survival of the Florida panther. Approximately 78 percent of the Primary
Zone is in public ownership, 17 percent is in private ownership, and 5 percent is in tribal ownership. The
Secondary Zone, generally considered to be areas of less suitable habitat only occasionally occupied by
panthers, was defined as "natural and disturbed lands in south Florida that may be important to
transient sub-adult male panthers and have the potential to support an expanding panther population,
especially if habitat restoration were possible" (Kautz et al. 2006:123). The Dispersal Zone was defined
as a small wildlife corridor east of LaBelle, Florida, intended for protection to facilitate long-term
movements of panthers out of South Florida and into potentially suitable habitats in Central Florida
north of the Caloosahatchee River. Kautz et al. (2006) developed their spatially explicit habitat model
based on adult and subadult panther (>2 years old; n = 79) radio telemetry records collected from 1981–
2001 and concluded that the habitat zones had the capacity to support approximately 80–94 adult and
subadult panthers, a population size determined by the authors to have a high probability of persistence
for 100 years. The habitat zones delineated by Kautz et al. (2006) and their assessment that these zones
had the capacity to support a viable population of 80–94 panthers formed the basis for the current
USFWS regulatory framework used to assess impacts to panther habitat. However, the best available
information now suggests that Kautz et al. (2006) underestimated the capacity of these areas to support
panthers, because the density estimate they used (0.91/100 km2; Maehr et al. 1991) is much lower than
the range of densities reported today (1.37 to 4.03/100 km2; Sollmann et al. 2013, Dorazio and Onorato
2018, Onorato et al. 2020; see Section 6.1.4).

Frakes et al. (2015) developed an updated landscape-scale habitat model designed to predict the
current distribution of panther habitat and intended to be used as a tool to evaluate the impacts of
development projects, prioritizing areas for panther conservation, identifying areas for possible panther
reintroductions, and evaluating the potential impacts of sea-level rise and changes in hydrology on
panther habitat. Frakes et al. (2015) used a random forest modeling technique to identify areas of
suitable panther habitat in South Florida based on a probability of presence design using radio-telemetry
data collected from 2004 through 2013 on breeding-aged (≥3 years old) panthers (Figure 6.11). These
areas of suitable habitat (probability of panther presence >0.338) cover 5579 km2 (1.38 million acres),
approximately 73 percent of which is in public ownership, 23 percent is in private ownership, and 4
percent is in tribal ownership. The most important factors determining the presence or absence of
breeding-aged panthers in the study area were: 1) amount of forest cover; 2) human population
density; 3) amount of forest edge; and 4) average water level. These results were consistent with
findings of other studies: panthers prefer forest cover (Kautz et al. 2006, Land et al. 2008, Onorato et al.
2011); white-tailed deer, the primary prey of panthers, prefer edges (Miller et al. 2003, Giuliano et al.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        97
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 122 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


2009); and pumas elsewhere in the range avoided intensively developed urban or suburban areas,
showed a negative response to exurban development, and responded neutrally to rural development
(Burdett et al. 2010). Frakes et al. (2015) identified areas of suitable habitat largely coincident with the
previously mapped panther Primary Zone (Kautz et al. 2006) with a few notable exceptions that are no
longer considered to be areas of quality habitat: the Water Conservation Areas included along the east
side of the Primary Zone, Shark River Slough in the Everglades, and a narrow finger of habitat extending
east from the Primary Zone along an existing levee.

Frakes et al. (2015) described the areas mapped by their model, hereafter labeled the South Florida
Random Forest Panther (RFP) model, as representing the remaining adult breeding habitat for the
Florida panther south of the Caloosahatchee River. The South Florida RFP model (Frakes et al. 2015) is
the most current landscape-level model designed to predict the distribution of suitable panther habitat,
and it currently represents the best available data. However, there are several shortcomings that could
be addressed in future iterations of the model.

First, the South Florida RFP model (Frakes et al. 2015) employed grid cells of 1 km2, a very large grid cell
size relative to the resolution of many readily available GIS data layers in Florida. The use of grid cells
this large could have the effect of over- or under-estimating the total area of panther habitat in south
Florida due to the low resolution of the data. The justifications given for using 1-km2 grid cells were to
account for VHF-telemetry error of 120–230 m and because of an interest in modeling at a landscape
scale. A grid cell size of 250 m (0.06 km2) would have overcome the spatial error of the telemetry data
and would have allowed for a resolution 16 times smaller than the resolution used in the study. By
comparison, the land use/land cover database used in the model has minimum mapping units of 142 m
(2 ha) for uplands and 90 m (0.8 ha) for wetlands. The most current statewide land use/land cover data
available from FWC have a 10 m (0.01 ha) grid cell size (FWC 2018b). Additionally, multiple landscape-
scale conservation planning efforts in Florida, such as the Florida Forever Conservation Needs
Assessment (Florida Natural Areas Inventory 2018), Critical Lands Identification Project (Oetting et al.
2016), and Florida Ecological Greenways Network (Oetting et al. 2016), typically produce statewide
databases with a resolutions of 10–30 m grid cells. Thus, accomplishment of landscape-scale habitat
modeling for panthers should be achievable at a finer resolution than that used for the South Florida
RFP model (Frakes et al. 2015).

Second, Frakes et al. (2015) based their model on a probability of presence design using an extensive
panther telemetry dataset overlain on a grid with 1-km2 cell sizes to inform panther presence. Grid cells
lacking telemetry locations were assumed to represent true absences. The authors considered their
panther dataset to be valid and concluded that it was highly unlikely that an area would have been used
by an adult panther without being detected via telemetry locations. However, these data were limited
to an existing VHF radio-telemetry dataset with an inherent sampling bias based on the location of
panther capture effort and individual panthers targeted for specific sampling objectives during their
period of study. Additionally, telemetry records were usually collected on 2–3-day intervals, a period
sufficiently long that highly mobile animals could move into and out of a grid cell without being detected
as present. Therefore, there was a reasonable likelihood that some locations assumed to be absences
were instead “pseudo-absences.” For example, occurrence records of adult breeding-aged panthers,
including den locations and adult females with dependent-aged kittens, have been confirmed in areas
outside of the areas mapped by the South Florida RFP model (Figure 6.5 and Figure 6.12) as areas


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         98
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 123 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


predicted to have a high probability of presence. Thus, the model appears to have under-represented
the value of habitats used by panthers in some areas.

Third, Frakes et al. (2015) did not consider agricultural lands (i.e., croplands, sugar cane fields, citrus
groves, ornamentals) to be edge-forming, even when these agricultural lands were adjacent to forested
habitats. Forest edge was used as a measure of prey availability, and the model identified forest edge as
one of the most important factors determining panther presence. The use of agricultural lands by
breeding-aged panthers is supported by habitat use studies (Land et al. 2008, Onorato et al. 2011) and
verified occurrence records (FWC unpublished data; Figure 6.9), and these lands contribute to the
functionality of panther habitat, especially when juxtaposed within a mosaic of natural forest cover
types. Conversely, the edges of forest cover adjacent to open water were considered to be an
acceptable indicator of prey availability even though neither panthers nor their prey are likely to occur
in open waters adjacent to forest cover.

Lastly, although Frakes et al. (2015) stated that they calculated the total length of forest edge within
each grid cell, they did not provide a description of the methodology used to calculate edge length.
Without this information, future researchers may not be able to reproduce the results of the model.




Figure 6.9. Breeding pair of panthers photographed in a Citrus Grove in South Florida illustrates some
of the limitations of predictive models discussed in Section 6.3.4. Photo courtesy of Donna L. McMurrer.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          99
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 124 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.10. Primary, Secondary, and Dispersal Zones of South Florida as delineated by Kautz et al.
(2006).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     100
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 125 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.11. Florida panther habitat in South Florida as determined by the South Florida Random Forest
Model (Frakes et al. 2015).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  101
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 126 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.12. Florida panther occurrence records from 1972–2018, including dens and adult female
telemetry records since 2004, in relation to panther habitat mapped by the South Florida Random Forest
Panther Model (Frakes et al. 2015).


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 102
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 127 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.5   Panther Habitat Suitability Model for Florida (Statewide)

USFWS biologists (R. A. Frakes and M. L. Knight, South Florida Ecological Services Field Office, Vero
Beach) developed a statewide model of potentially suitable panther habitats in Florida with a spatial
resolution of 1 km2 (Figure 6.13; hereafter labeled the Statewide RFP model [USFWS unpublished data]).
This model satisfies the first recommendation of the Cougar Management Guidelines Working Group
(2005) to map puma habitats. The methods used for the Statewide RFP model were similar to the South
Florida RFP model (Frakes et al. 2015) used to identify suitable habitat in South Florida, but some of the
variables were modified such that the Statewide RFP model was less specific to South Florida, an area
with a higher predominance of wetland habitats. Potential shortcomings of the model are similar to
those described for the South Florida RFP model (Frakes et al. 2015) in Section 6.3.4. The RFP models
identified many of the same areas that were first identified by Thatcher et al. (2006), whose analyses
covered the southeastern US and Thatcher et al. (2009) that was focused on potential panther habitat
north of the Caloosahatchee River (Figure 6.14).

Output from the Statewide RFP model was the probability of presence (0–1) of breeding-aged panthers
in each 1-km2 grid cell. The cutoff probability for panther presence was 0.315, which was the point at
which model sensitivity and specificity were equal. Thus, 1-km2 grid cells with a probability of panther
presence >0.315 indicate areas with the potential to support adult panthers. For the South Florida RFP
model, excellent panther habitat in South Florida had probabilities of panther presence of 0.85–0.95;
medium quality habitat had probabilities of 0.45–0.55; and poor habitat had probabilities of 0.05–0.15
(Frakes et al. 2015). Therefore, we considered all areas of Florida with a probability of presence >0.315
to comprise potentially suitable panther habitat, and areas with a probability of presence >0.550 to
comprise high-quality habitats that are most suitable for panthers. High-quality habitats are especially
important for supporting reproduction given the increased energy demands for female panthers to
successfully raise kittens to independence (Logan and Sweanor 2010).

Translocation studies conducted by FWC in 1988–1989 and 1993–1995 (Belden and Hagedorn 1993,
Belden and McCown 1996) to assess the suitability of North Florida habitats to support panther
reintroduction appear to confirm the validity of the Statewide RFP model. Telemetry data for the Texas
pumas translocated into North Florida showed that these pumas used the high-quality panther habitats
identified by the Statewide RFP model (Figure 6.15). Although some of the Texas pumas from the two
studies moved into parts of Georgia, habitat models derived from the same methods used for the
Statewide RFP model (USFWS unpublished data) are not available for other states to compare habitat
use by Texas pumas in Georgia.

6.3.6   Panther Functional Zone for the USFWS’s Regulatory Framework

The USFWS recognized that their current regulatory framework (see Section 6.5.2. for a detailed
discussion about the current framework) needed to be updated by incorporating information from the
South Florida RFP model. A draft framework was available at the time this SSA was completed and it
addresses some of the short comings of the South Florida RFP model. As stated above, the South Florida
RFP model (Frakes et al. 2015) does not detect some areas where panther use, and reproduction have
been documented in southwest Florida. The USFWS and FWC utilized extensive panther occurrence
data in southwest Florida, including telemetry data, road kill locations, depredation locations, and
confirmed sightings in conjunction with the RFP modeling to delineate the Functional Zone:


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     103
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 128 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


Functional Zone: This is the only area known to support a viable population of panthers based on the
results of recent habitat and PVA modeling (USFWS unpublished data, Hostetler et al. 2013, Frakes et al.
2015, van de Kerk et al. 2019). The Functional Zone is the combined area of Zones A and B (Figure 6.16)
as mapped by USFWS and FWC biologists. These zones comprise areas of suitable habitat identified by
the South Florida RFP model (Frakes et al. 2015) and additional areas of habitat known to support
panthers based on existing occurrence data. Zone A covers 6103 km2 and is largely coincident with the
areas of suitable habitat identified by the South Florida RFP model (Frakes et al. 2015) with a probability
presence ≥0.30 and an average probability of presence value of 0.667. Approximately 4357 km2 (71
percent) of Zone A is within existing conservation lands. Zone B, which covers 2991 km2, is comprised of
generally lower quality habitat that nevertheless provides connectivity among habitats in Zone A, is used
by dispersing panthers, and occasionally supports breeding females. Zone B consists of panther habitat
with a probability of presence ranging from 0.1 to 0.29 and an average probability of presence value of
0.158. Approximately 1339 km2 (45 percent) of Zone B is within existing conservation lands. The
combined area of Zones A and B is 9094 km2, which is larger than the minimum areas recommended for
puma and panther conservation, which range 1000–8100 km2 (Beier 1993, Belden and Hagedorn 1993,
Logan et al. 1996, Logan and Sweanor 2001, Kautz and Cox 2001, Logan et al. 2004, LaRue and Nielsen
2011). Approximately 5696 km2 (63 percent) of the Functional Zone is protected by existing
conservation lands.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      104
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 129 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.13. Areas of Florida that could potentially support the presence of Florida panthers based on
the Statewide Random Forest Panther model (USFWS unpublished data).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    105
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 130 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.14. Contiguous areas of Florida panther habitat identified as potential reintroduction sites
(Thatcher et al. 2006) and areas that would support expansion of the panther population in Central
Florida (Thatcher et al. 2009).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       106
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 131 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.15. Translocated Texas puma use of areas of North Florida with P >0.315 that could potentially
support the presence of Florida panthers based on the Statewide Random Forest Panther model (USFWS
unpublished data).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  107
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 132 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.16. The Functional Zone comprises areas of panther habitat known to support a viable
reproducing population of panthers. Zone A is largely coincident with the areas of suitable habitat
identified by the South Florida Random Forest Panther model (Frakes et al. 2015). Zone B is comprised
of generally lower quality habitat that nevertheless provides connectivity among habitats in Zone A, is
used by dispersing panthers, and occasionally supports breeding females.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    108
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 133 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.7   Identification of Unique Panther Habitat Patches in Florida

The same process used to delineate the Functional zone would not be applicable statewide because the
habitat model used was restricted to South Florida and the lack of panthers statewide means there are
little to no occurrence data to further refine the model output. The Statewide RFP model (USFWS
unpublished data) predicts that any areas of Florida that have a probability of presence >0.315 have the
potential to support panthers. However, patch size is a factor in likelihood of occupancy. Therefore, to
address the second recommendation of the Cougar Management Guidelines Working Group (2005) to
map potential subpopulations as sources and sinks, we used the Spatial Analyst extension of ArcGIS
Desktop 10.5.1 (ESRI, Inc. 2017) and the Statewide RFP model to identify and calculate the sizes of
unique patches of suitable panther habitat in Florida. Areas of Florida with a probability of panther
presence >0.315 were converted to a 1-km2 grid, and the Spatial Analyst Region Group tool was used to
group cells into regions using an eight-cell neighborhood around each cell to define a region. Thus, cells
that were defined as suitable habitat and connected to the left or right, top or bottom, or diagonally to
other suitable habitat cells were included in a region whereas cells >1 km away from a cell were grouped
into a different region, which could be as small as one cell. The same method was used to identify and
calculate the sizes of unique patches of the higher-quality, most suitable habitats based on a probability
of presence >0.550.

The Region Group method identified 1473 and 1459 unique patches of habitat for areas with probability
of panther presence >0.315 and >0.550, respectively, but the vast majority of patches in both cases
were 1 km2, which was the grid resolution of the habitat map produced by the Statewide RFP model.
We used the mean female panther home range size of 217 km2 as the minimum habitat patch size that
may be capable of supporting at least one female panther. The Region Group analysis for the
probability of panther presence >0.315 data layer produced 15 unique patches of suitable habitat >217
km2 in size, hereafter labeled as Supporting Habitat Regions (Figure 6.17). The largest Supporting
Habitat Region covered 36,852 km2 and extended over a very large region of North Florida, suggesting
that connectivity remains in that part of the state even though connections may be only 1-km2 wide.
The Region Group analysis for the most suitable, high-quality habitat (i.e., probability of presence
>0.550) data layer produced 20 unique patches that were >217 km2 in size, hereafter labeled as Core
Habitat Regions. The largest Core Habitat Region covered 7004 km2 in the Big Bend region (Figure 6.18).

To identify which of the statewide Supporting and Core Habitat Regions that could be capable of
supporting source or sink panther populations, we first characterized the Supporting and Core Habitat
Regions known to support the current panther population in southwest Florida:

    •   Southwest Florida Supporting Habitat Regions: The Region Group analysis identified two
        Supporting Habitat Regions in South Florida. The largest Supporting Habitat Region in South
        Florida covers 5058 km2 (Area 2, Figure 6.17) and is hereafter labeled the Southwest Florida
        Supporting Habitat Region. Most panthers occur within this supporting region. A smaller patch
        of occupied habitat in ENP (Area 15, Figure 6.17), hereafter labeled the Long Pine Key
        Supporting Habitat Region, covers 236 km2. The Southwest Florida Supporting Habitat Region is
        somewhat smaller in size than the 5579 km2 of suitable habitat identified by the South Florida
        RFP model (Frakes et al. 2015) primarily because the Region Group analysis excluded isolated
        patches of suitable habitat <217 km2 and separated the Long Pine Key Supporting Habitat
        Region from the larger occupied patch in southwest Florida. The combined areas of these

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     109
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 134 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER


       Supporting Habitat Regions are also smaller than the Functional Zone (9094 km2) but recall that
       the Functional Zone utilized existing panther occurrence data to assist in delineating areas
       known to support panthers but that were not identified as suitable habitat by the predictive
       South Florida RFP model (Frakes et al. 2015). Also, the Functional Zone purposefully includes all
       grid cells that fall within a perimeter boundary regardless of their respective p-values.
       Approximately 3736 km2 (74 percent) of the Southwest Florida Supporting Habitat Region and
       approximately 234 km2 (99 percent) of the Long Pine Key Supporting Habitat Region are
       protected by existing conservation lands.
   •   Southwest Florida Core Habitat Regions: The Region Group analysis identified two Core Habitat
       Regions in South Florida, both within the Southwest Florida Supporting Habitat Region. The
       largest Core Habitat Region in South Florida covers 3219 km2 (Area 3, Figure 6.18) and is
       hereafter labeled the Big Cypress Core Habitat Region. A smaller patch of high-quality habitat,
       hereafter labeled the Okaloacoochee Slough Core Habitat Region, covers 217 km2 (Area 20,
       Figure 6.18) but is not contiguous with the Big Cypress Core Habitat Region.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   110
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 135 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.17. Patches of Florida panther habitat >217 km2 based on region groupings of potentially
suitable habitats with probabilities of presence >0.315 identified by the Statewide Random Forest
Panther model (USFWS unpublished data).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   111
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 136 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.18. Patches of Florida panther habitat >217 km2 based on region groupings of potentially
suitable habitats with probabilities of panther presence >0.550 identified by the Statewide Random
Forest Panther model (USFWS unpublished data).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    112
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 137 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


Given that the current panther population is deemed viable (see section 7.1), we posit that a Supporting
Habitat Region of at least 5058 km2 that also includes a Core Habitat Region of at least 3219 km2 is
needed to support a viable population elsewhere. We used these metrics for the Supporting and Core
Habitat Regions in South Florida as a screening tool or template to identify other areas in Florida that
may be capable of supporting viable panther populations and that could function as source populations
(hereafter labeled as “Source Population Areas”). If a Core Habitat Region was >5058 km2 (size of the
Southwest Florida Supporting Habitat Region), then that area was deemed capable of supporting a
viable population. If a Core Habitat Region was >3219 km2 AND the Supporting Habitat Region that
contains the Core Habitat Region was at least 5058 km2 in size (size of the Southwest Florida Supporting
Habitat Region), then that area was also deemed capable of supporting a viable population (Figure 6.19).
These size thresholds for Source Population Areas were intended to identify areas with the highest
likelihood of supporting a viable population, not to serve as a hard metric for determining whether a
population can be considered viable (i.e. areas smaller in size may be capable of supporting a viable
population). Core and Supporting Habitat Regions that do not meet the above Source Population Area
size criteria can still support panthers, but many of the smaller patches would most likely function as
population sinks and are hereafter labeled as “Sink Population Areas.” However, we posit that all
habitat patches ≥217 km2 have the potential to support panthers and are important for maintaining the
resiliency of the larger Source Population Areas; therefore, all Supporting and Core Habitat Regions are
considered “Conservation Focus Areas.”




Figure 6.19. Flow chart of the steps involved in identifying potential source and sink habitat blocks in
Florida based on the characteristics of South Florida panther habitats.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      113
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 138 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


Ultimately, panthers will determine where panther habitat occurs, not computer models. Rule-based or
expert-based habitat models must be interpreted with caution given their underlying assumptions.
Extrapolating results from these predictive models to different parts of a species’ range where field data
may be scarce, especially for habitat generalists such as Puma, can lead to erroneous estimations on
potentially suitable habitat (Fechter and Storch 2014). We used the RFP modeling approach (USFWS
unpublished data, Frakes et al. 2015) to help identify three areas (including the current population) with
the potential to support viable panther populations (Table 6.1), but acknowledge that the South Florida
RFP model (Frakes et al. 2015) does not detect some areas where panther use and reproduction has
been documented in southwest Florida (Figure 6.12). Therefore, we would not expect the Statewide
RFP model to be fully predictive in identifying habitat suitability in areas north of the Caloosahatchee
River with sparse occurrence data or in currently unoccupied parts of the state. However, we assert
that the South Florida and Statewide RFP models are useful for identifying where the best large blocks of
potential habitat exist within the state.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     114
      Case 1:21-cv-00119-RDM                 Document 149-2           Filed 01/12/24           Page 139 of 585
                                                               CURRENT CONDITION OF THE FLORIDA PANTHER


Table 6.1. Total areas (km2) and locations of Supporting Habitat Regions (SHR) and Core Habitat Regions
(CHR) that currently function or have the potential to function as source or sink population areas for
Florida panthers.


                                                                        Conservation Land              Map Location
                                                          Source or
    Conservation Focus Area 2                Area (km2)     Sink 3      (km2)        Percent       Figure No.   Area No.
    Southwest Florida SHR                         5058     Source         3735              74       6.17          2
               Big Cypress CHR                    3219                    2645              82       6.18          3
               Okaloacoochee Slough CHR             217                    142              66       6.18         20
    North Florida SHR                            36,852                  14,231             39       6.17          1
               Big Bend CHR                       7004     Source         1655              24       6.18          1
               Apalachicola CHR                   6297     Source         3353              53       6.18          2
               Eglin Air Force Base CHR           2725      Sink          1910              70       6.18          4
               Osceola National Forest CHR        2355      Sink          1050              45       6.18          5
               Ocala National Forest CHR          1307      Sink          1239              95       6.18          6
               St. Johns River South CHR            718     Sink           407              57       6.18          8
               St. Johns River North CHR            524     Sink                33             6     6.18         10
               Camp Blanding CHR                    522     Sink           267              51       6.18         11
               Farmton CHR                          419     Sink                67          16       6.18         14
               North Nassau CHR                     317     Sink                10             3     6.18         17
               Blackwater State Forest CHR          287     Sink           243              85       6.18         19
    Osceola-Orange SHR                            4292      Sink          1888              44       6.17          3
               Bull Creek CHR                       500     Sink           241              48       6.18         12
               Deseret Ranch CHR                    335     Sink                23             7     6.18         16
               Avon Park-Osceola CHR                309     Sink           290              94       6.18         18
    Babcock-Fisheating Creek SHR                  1634      Sink           767              47       6.17          4
    Green Swamp SHR                               1395      Sink          1001              72       6.17          5
               Green Swamp CHR                      734     Sink           677              92       6.18          7
    Escambia SHR                                    818     Sink           135              17       6.17          6


2
  SHR and CHR were identified by applying the Region Group tool in the Spatial Analyst extension of ArcGIS
Desktop 10.5.1 (ESRI, Redlands, CA) to the Statewide Random Forest Panther Model (USFWS unpublished data).
Region Group combines contiguous grid cells of suitable panther habitat into discrete patches. The total area and
specific geographic locations of each habitat patch can then be determined. The Region Group analysis was
performed separately for all areas of potentially suitable habitat with p >0.315 and all areas of medium-high- and
high-quality habitats with p > 0.55.
3
  If a CHR was >5058 km2 (size of the Southwest Florida SHR), then that area was deemed capable of supporting a
viable population. If a CHR was >3219 km2 AND the SHR that contains the CHR was at least 5058 km2 in size (size of
the Southwest Florida SHR), then that area was also deemed capable of supporting a viable population. These size
thresholds for Source Population Areas were intended to identify areas with the highest likelihood of supporting a
viable population, not to serve as a hard metric for determining whether a population can be considered viable
(i.e. areas smaller in size may be capable of supporting a viable population). Core and Supporting Habitat Regions
that do not meet the above Source Population Area size criteria can still support panthers, but many of the smaller
patches would most likely function as population sinks.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                      115
  Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24           Page 140 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER



                                                                 Conservation Land            Map Location
                                                   Source or
 Conservation Focus Area 2            Area (km2)     Sink 3      (km2)        Percent     Figure No.   Area No.
            Escambia CHR                     494     Sink           101              20     6.18         13
 Myakka SHR                                  664     Sink           421              63     6.17          7
            Myakka CHR                       359     Sink           302              84     6.18         15
 Corbett-Loxahatchee SHR                     657     Sink           533              81     6.17          8
            Corbett-Loxahatchee CHR          544     Sink           465              85     6.18          9
 Duette-West Hardee SHR                      591     Sink           109              18     6.17          9
 Withlacoochee SHR                           436     Sink           260              60     6.17         10
 Plantation Lands SHR                        393     Sink                97          25     6.17         11
 South DeSoto SHR                            319     Sink           161              51     6.17         12
 Twelve Mile Swamp SHR                       309     Sink           118              38     6.17         13
 Wauchula East SHR                           244     Sink                47          19     6.17         14
 Long Pine Key SHR                           236     Sink           234              99     6.17         15




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                             116
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 141 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.8   Potential Panther Habitat Reserves in Florida

Potential Source Population Areas: Based on the landscape features that currently support a viable
population of panthers south of the Caloosahatchee River, only two Core Habitat Regions north of the
River, Big Bend and Apalachicola National Forest, appear to have the potential to support viable panther
populations that could function as source populations (Figure 6.18, Figure 6.20; Table 6.1). The Core
Habitat Region of each of these areas is smaller than the 9094 km2 of the Functional Zone in South
Florida. However, the Core Habitat Regions of the Big Bend and Apalachicola National Forest are larger
than 5058 km2, which is the combined area of Core and Supporting Habitat Regions in the Functional
Zone of southwest Florida, and the Core Habitat Regions of these areas are larger than all
recommendations for the minimum size of puma and panther reserves except for those of Kautz and
Cox (2001). Moreover, the Core Habitat Regions of the Big Bend and Apalachicola National Forest areas
are embedded in a much larger connected landscape of Supporting Region habitat that extends
throughout most of North Florida, suggesting that these areas are capable of supporting source
populations that would supply dispersing individuals to other occupied and unoccupied patches of
habitat. Approximately 24 percent and 53 percent of the Big Bend and Apalachicola National Forest
Core Habitat Regions, respectively, are part of existing conservation lands (Table 6.1).

Two other large Core Habitat Regions of North Florida, Eglin Air Force Base and Osceola National Forest,
are worthy of mention as possible candidates for source population areas (Figure 6.18, Figure 6.21;
Table 6.1). The Core Habitat Region of Eglin Air Force Base is smaller than the Core Habitat Region of
the Functional Zone, but it is connected to the larger system of apparently suitable habitats that
currently extends throughout North Florida. Similarly, the Core Habitat Region of Osceola National
Forest is smaller than the Core Habitat Region of the Functional Zone, but it too is connected to the
larger Supporting Habitat Region that currently extends throughout North Florida. Moreover, the Core
Habitat Region of Osceola National Forest is immediately adjacent to and contiguous with the 1627 km2
of habitat in Okefenokee National Wildlife Refuge in Georgia, a region that was used by Texas pumas
during translocation studies conducted 1988–1995 (Belden and Hagedorn 1993, Belden and McCown
1996). The combined area of these parcels is over 4000 km2, suggesting that this region may well be
capable of supporting a viable panther population. Thatcher et al. (2006) identified the region around
Osceola National Forest as a prospective site for panther reintroduction based on area, habitat quality,
and expert opinion. A large percentage of the Eglin Air Force Base and the Osceola National
Forest/Okefenokee National Wildlife Refuge ecosystems are already protected by public ownership.

Other Areas of Potential Importance to Panther Conservation: Based on the criteria used above to
identify areas that could function as source or sink populations, the areas identified in Figure 6.21 and
Table 6.1 have the potential to support sink populations that would contribute to the resiliency and
representation of the source population(s), but would not be expected to persist over time without
connectivity to occupied source areas or intrusive management actions (e.g., augmentations, see page
30 Cougar Management Guidelines 2005). The Core Region or Supporting Region habitat of each of
these areas is larger than 217 km2, the mean home range size of female panthers.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      117
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 142 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.20. Locations of Supporting Habitat Regions (SHR) and Core Habitat Regions (CHR) that
currently function or have the potential to function as source or sink population areas for Florida
panthers.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     118
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 143 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.21. Areas of Florida that have the potential to function as source and sink habitats capable of
ensuring the future of the panther in Florida if landscape connections can be maintained.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     119
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 144 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.9   Criteria for Landscape Linkages for Panthers

The Cougar Management Guidelines Working Group (2005) recommendations for conservation planning
for pumas include the identification and assessment of landscape linkages needed between sources and
sinks to maintain the integrity and viability of puma populations. Two types of linkages are described in
the scientific literature: habitat linkages and movement linkages (Beier and Loe 1992, Bolger et al. 2001).
Habitat linkages are occupied habitats that support sustained reproduction and are therefore an
extension of occupied habitat. Movement linkages, on the other hand, facilitate the movement of
individuals between occupied patches of habitat, but the linkage itself cannot support reproducing
members of a population for extended periods of time.

Key issues in planning for conservation linkages are to determine how wide and long they should be.
Harrison (1992) suggested that linkage widths necessary to support continued occupancy by wide-
ranging species could be estimated by assuming a rectangular home range shape with the width being
half the length. Harrison (1992) calculated the minimum width for a linkage occupied by pumas in
California was 5 km. According to this suggestion, a linkage of suitable habitat capable of supporting a
reproducing female panther with the mean home range size of 217 km2 should be 10.4 km wide.
However, several female Florida panthers have had smaller home ranges of 48–93 km2, which means
that widths for linkages occupied by females could be narrow as 4.9–6.8 km. The Cougar Management
Guidelines Working Group (2005) suggested that occupied linkages generally must be comprised of
higher quality habitats, and when distances between larger patches of occupied habitat are >50 km, the
linkage should probably be an occupied habitat linkage and not simply be a movement linkage.

The characteristics of linkages needed to accommodate movements among habitat patches generally
are a function of the habitat being traversed, the distance to be covered while moving from patch to
patch, and the movement or dispersal capabilities of the animal in question. Beier (1995) suggested
that linkages designed to accommodate puma movements in southern California should be >100 m wide
if the total distance to be traveled was <800 m; >400 m wide for distances of 1–7 km; and that as linkage
length increases, width should also be increased. The Cougar Management Guidelines Working Group
(2005) suggested that when distances between occupied habitats are <10 km, a movement linkage
could suffice to ensure connection between the patches. The Florida Panther Protection Program
Panther Review Team (2009) measured the lengths and widths of 9 linkages used by two panthers
outfitted with GPS collars to assess the efficacy of two linkages proposed for southwest Florida.
Linkages used by panthers had a mean width of 572 m (range 27–2684 m), a mean length of 8.2 km
(range 3.2–13.5 km), and an average width to length ratio of 7.9 percent (range 2.3–13.1 percent).

In some cases, habitat stepping stones may be an acceptable alternative to linkages comprised of
continuous habitat (Hility et al. 2006). Stepping stones are relatively small scattered patches of native
vegetation that a species might use when traveling through fragmented landscapes to reach larger more
suitable habitat patches. For example, small patches of upland or wetland forest interspersed within a
large region of agricultural lands (e.g., improved pasture or cropland) might facilitate movement of
panthers through otherwise open landscapes. Stepping stone connectivity designs may be a suitable
alternative to corridors composed of continuous native cover to facilitate movements of animals that
are adapted to habitat mosaics and have proven capable of dispersing through fragmented habitats
(Hility et al. 2006).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      120
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 145 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


In summary, these data suggest that occupied habitat linkages should be designed to connect larger
patches of occupied habitats separated by >50 km. Occupied patches separated by >50 km are farther
apart than a panther normally travel in a day or even a week (Criffield et al. 2018), and this distance is
beyond documented dispersal distances for female panthers (Maehr et al. 2002b). Occupied habitat
linkages should be at least 5.5–6.4 km wide to support small female home ranges, but widths >10.4 km
would have greater likelihood of supporting female panthers.

Panthers have been reported to use movement linkages that average 572 m wide over an average
distance of 8.2 km, and movement linkages appear to be acceptable to connect larger habitat patches
<10 km apart (Cougar Management Working Group 2005). Panthers could be expected to travel along a
10-km linkage in less than two days as long as habitats were suitable. Minimum widths of movement
linkages should probably be 500–600 m, but bottlenecks should not be <100 m wide (Beier 1993). Small
patches of upland or wetland forest in open areas dominated by pasturelands or croplands have the
potential to function as stepping stones to facilitate panther movements. Isolated forest patches in
open landscapes should probably be no more than 320 m apart based on the observation of Onorato et
al. (2011) that 90 percent of all GPS telemetry records were within 320 m of forest cover.

6.3.10 Landscape Connectivity for Panthers Based on Modeling

A close visual inspection of Figure 6.21 reveals that many of the patches of potentially suitable panther
habitats that have a probability of panther presence >0.315 and that lie between source or sink habitats
are small and fragmented. Some source and sink areas are separated by gaps where no potentially
suitable panther habitats occur. Thus, the capacity of many areas of the landscape to function as
occupied habitat or movement linkages between prospective source and sink populations appears to be
compromised. The Green Swamp may be a prime example of an area that could be capable of
supporting reproducing females based on habitat quality and size, but the area is completely
surrounded by multi-lane expressways that make connections with other areas of potentially suitable
panther habitat problematic. Isolation and increased mortality were identified as threats to two small
puma populations in California (Benson et al. 2019). These authors suggested that extinction
probabilities could be reduced by increasing connectivity among puma populations and reducing risks of
vehicle collisions.

Oetting et al. (2016) developed a statewide map of landscape linkages referred to as the Florida
Ecological Greenways Network (FEGN). The FEGN database contains five levels of priority for landscape
linkages throughout Florida; however, the top three priorities appear to be sufficient for identifying the
locations of linkages to connect the prospective source and sink habit areas identified for panthers
(Figure 6.22, Figure 6.23, and Figure 6.24). Some linkages, such as Priority 1 Critical Linkage between
Babcock-Fisheating Creek and Avon Park, appear to be wide enough that they could function as
occupied habitat linkages if protected. On the other hand, the Priority 2 linkage between the Avon Park
region and the Corbett-Loxahatchee area is so narrow that it probably would be considered a movement
linkage, but, since it spans a distance of 68 km, it may be too long to function as an effective movement
linkage. The FEGN database may provide useful information for identifying landscape linkages that
would close and protect the gaps between prospective source and sink habitats for future panther
populations.

Additionally, the FEGN database not only depicts landscape linkages but it also identifies areas for
conservation of other elements of Florida’s biodiversity (Oetting et al. 2016). Beier (2010) has promoted

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       121
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 146 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


the use of pumas and panthers as focal species for conservation planning because protection of the
large landscapes needed for panthers also protects many other species and natural communities with
smaller area requirements. Thus, the protection of habitats and linkages for panthers also has the
potential to serve as an umbrella for the protection of identified landscape linkages and other
components of biodiversity in Florida.

To assess the status and future of landscape connectivity of panther habitats, we identified and digitized
12 landscape linkages that appear to be most beneficial to maintaining connectivity between Core and
Supporting Habitat Regions (Figure 6.22, Figure 6.23, and Figure 6.24). We made minor revisions to the
4 South Florida linkages identified by Thatcher et al. (2009) to ensure that they conformed to today’s
environment based on lands now in conservation and based on panther habitats reflected in the
Statewide RFP model. We identified 8 other linear linkages between major patches of panther habitats
statewide by digitizing lines that passed through modeled panther habitats and connected major
patches either from the edges of the patches or from the boundaries of public lands that covered
portions of the patches. The digitized linkages followed the FEGN model where possible. More detail on
the functional values of these connections as occupied habitat linkages, movement linkages, stepping
stone linkages appears in Section 7.2.4.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     122
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 147 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.22. Landscape linkages with the potential to connect areas of South Florida that could function
as source and sink habitats for Florida panthers if landscape connectivity could be maintained.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    123
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 148 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.23. Landscape linkages with the potential to connect areas of Central Florida that could
function as source and sink habitats for Florida panthers if landscape connectivity could be maintained.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    124
                       Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 149 of 585
                                                                                                 CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.24. Landscape linkages with the potential to connect areas of North Florida that could function as source and sink habitats for Florida
panthers if landscape connectivity could be maintained.

                                        SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      125
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 150 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


6.3.11 Potential Constraints on the Suitability of Panther Habitat

The Cougar Management Guidelines Working Group (2005) also recommended an assessment of the
threats affecting subpopulations and landscape linkages. The South Florida and Statewide RFP models
of panther habitat included 15 variables for features of the natural and human environment that affect
the suitability of the landscape for panthers (USFWS unpublished data, Frakes et al. 2015). Frakes et al.
(2015) found that human population density, road density, and agricultural land uses other than pasture
had negative effects on panther habitat suitability. Thus, the Statewide RFP model takes into account
these factors in predicting areas of Florida with potentially suitable habitat for panthers, especially for
areas with medium-high and excellent habitats.

As a check, we reviewed available data layers for residential densities, road density, and distribution of
croplands in relation to panther and puma use of the landscape. Many areas, such as along the
Interstate 75 (I-75), I-95, and Interstate 10 (I-10) corridors and other busy federal and state highways,
are small and fragmented patches of forest set in a landscape of rural or exurban development. Some
areas considered rural based on a housing density <0.62 residences/ha are associated with agricultural
lands that were found to be strong negative predictors of panther habitat suitability (Frakes et al. 2015)
(Figure 6.25). Large regions of the North Florida landscape have residential densities of 0.62–1.45
residences/ha, which are comparable to exurban areas of southern California that were not selected by
pumas and present a higher risk of mortality (Burdett et al. 2010). Florida panthers regularly occur in
the exurban residential landscape of the 230 km2 Golden Gate Estates (GGE) in Collier County where
there is an average of 0.40 residences/ha (Figure 6.26). The occurrence of panthers in this area is a
continuing source of human-panther conflicts and depredations on domestic pets and livestock
(Interagency Florida Panther Response Team 2017). Developed and exurban lands occur adjacent to
many of the areas identified as potentially suitable for panthers (Figure 6.27). These areas may become
sources of panther-human conflict in the future if panther populations become established outside of
South Florida. Moreover, developed and exurban lands may compromise the ecological integrity and
functionality of linkages between subpopulations.

Much of the Florida landscape is characterized by high road density, a variable found to be a strong
negative indicator of habitat suitability for panthers due to the fragmentation of the landscape and the
increased risk of vehicle collisions (Frakes et al. 2015). The probability of adult panther presence
declined precipitously as the number of people and roads per unit area increased (Frakes et al. 2015).
The most likely habitats suitable for panthers in North Florida appear to be those areas with no humans
or rural areas with <0.62 residences/ha; road densities of <3 km/km2; and rural areas where agricultural
operations are limited.

Pumas in California were sensitive to habitat fragmentation, and they responded negatively to exurban
developments (Crooks 2002, Dickson and Beier 2002, Orlando et al. 2008, Burdett et al. 2010). Pumas in
Washington used wildlands most of the time (79 percent) with use decreasing as housing densities
increased (Maletzke et al. 2017). When pumas were present in human-developed areas of eastern
Washington, 99 percent of the habitat that pumas used had housing densities <0.77 residences/ha; but,
in areas of western Washington with higher human densities, 99 percent of the habitat used by pumas
had <8.46 residences/ha. Puma use of areas of western Washington with higher housing densities was
likely due to the clustered nature of housing developments, greater connectivity among habitat patches
via greenbelts and forested corridors, and denser vegetative cover than occurred in eastern Washington

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      126
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 151 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


(Maletzke et al. 2017). If Florida panthers respond to human presence and activities in a fashion similar
to pumas elsewhere in North America, the large areas of apparently suitable panther habitat shown in
Figure 6.13 and Figure 6.20 may be compromised by the interspersion of human dwellings and
agricultural lands in a landscape of small forest fragments dissected by numerous busy highways.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     127
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 152 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.25. Dwelling unit densities in Florida in 2010 ordered according to density categories described
by Theobald (2005) and locations of agricultural lands.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    128
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 153 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.26. Florida panther occurrence records in and around the low density residential area of
Golden Gate Estates in Collier County, FL. Most records are between 2004 and 2018.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   129
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 154 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.27. Areas of Florida with the greatest likelihood of supporting panthers in relation to developed
and exurban lands that may constrain Florida panther conservation.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     130
  Case 1:21-cv-00119-RDM                 Document 149-2          Filed 01/12/24       Page 155 of 585
                                                           CURRENT CONDITION OF THE FLORIDA PANTHER


6.4       THREATS (FACTORS INFLUENCING VIABILITY)

      •    Habitat loss in the form of agricultural conversion and urbanization associated with a continually
           increasing human population is a primary threat to the long-term viability of the panther
           population both statewide and in South Florida.
      •    The genetic consequences of small populations have the potential to adversely affect panther
           populations and likely will require management in the form of future introductions of new
           genetic material into the Florida population.
      •    Vehicle collisions are a significant source of mortality and directly impact the panther population
           through reduction in panther numbers and potential for population expansion.
      •    Human-panther conflicts, including depredations, and human intolerance may adversely affect
           conservation efforts and result in permanent removal of panthers from the wild.
      •    Concerns over calf depredation and an aversion to government involvement in ranch
           management have the potential to compromise panther population expansion north of the
           Caloosahatchee River in areas used for cattle operations.
      •    Illegal shootings have been documented but the magnitude of the problem is unknown, and
           these takes result in the loss of individuals from the population.
      •    Diseases and environmental contaminants have the potential to result in panther mortality or
           may lead to a reduction in individual health and vigor.
      •    Although panther prey species are ubiquitous in Florida, factors such as disease outbreaks and
           predation by non-native species, such as the Burmese python, have the potential to reduce prey
           availability.
      •    Most management plans for public conservation lands call for restoration and maintenance of
           natural conditions, which benefit panthers and their prey, but mismanagement due to lack of
           prescribed fire, proliferation of exotics, overdevelopment for recreational use, and the potential
           for declines in native prey may adversely affect habitat quality for panthers.

In this section, we evaluate the anthropogenic and natural factors that negatively influence the habitat
and demographics of the Florida panther, and thus its population. The term “threat” describes—either
together or separately—the source of the action or condition that negatively affects the panther or the
action or condition itself, which includes direct impacts and stressors. Anthropogenic factors that affect
what panthers need for long-term viability include habitat loss and fragmentation, road and highway
mortality, human-panther conflicts, illegal shootings, infectious diseases, and an emerging
neuromuscular disorder of unknown origin.

6.4.1      Habitat Loss, Degradation, and Fragmentation

Habitat loss and habitat degradation are terms that are often used interchangeably in the scientific
literature (Lindenmayer and Fischer 2006). Habitat loss may be defined as the loss of suitable habitat
that renders an area unsuitable for a given species. Habitat loss is usually irreversible. Habitat
degradation refers to the reduction in quality in an area of habitat for a given species. A species may
still inhabit an area where habitat degradation occurs, but certain life history functions, such as
reproduction, may no longer be successful. Habitat fragmentation is the subdivision of larger
contiguous patches of habitat into smaller patches that may be incapable of supporting viable
populations or subpopulations. The remaining smaller habitat patches are typically separated by greater

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         131
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 156 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


distances and can become isolated if they are beyond the distances dispersing individuals would
normally travel (Lindenmayer and Fischer 2006).

Florida Panther Habitat Loss: Habitat loss has been identified as a key factor affecting the long-term
viability of the panther population (Maehr 1992, USFWS 2008b, Onorato et al. 2010, van de Kerk et al.
2019). Survey data of land use/land cover in Florida have been available since 1936 when the U.S.
Forest Service completed their first forest inventory for Florida (Kautz 1998). More detailed statewide
vegetation data derived from satellite imagery have been collected since the late 1980s through as
recent as 2015 (Kautz et al. 1993, Kautz et al. 2007, FWC 2016). These data have been used for the
Florida Panther SSA to estimate historical loss of panther habitat in Florida during three time periods:
1936–1987; 1987–2003; and 2003–2015.

Forest cover repeatedly has been demonstrated as a key component of landscapes used by panthers in
Florida (Belden et al. 1988, Maehr and Cox 1995, Cox et al. 2006, Kautz et al. 2006, Land et al. 2008,
Onorato et al. 2011). Using forest cover as an index to panther habitats, Kautz (1998) reported that
17,677 km2 of Florida forests were converted to agricultural or urban uses between 1936 and 1987,
which was a total loss of 20.8 percent and a rate of loss of 0.41 percent per year. During the same
period, forests declined by 3966 km2 (33 percent) in 10 South Florida counties, a rate of loss of 0.65
percent per year (Kautz 1994).

Kautz et al. (2007) reported the results of a change detection analysis that compared land use/land
cover in Florida between 1987 and 2003. For the purposes of the Florida Panther SSA, the change
detection database was clipped to the Florida panther Primary Zone (9189 km2; Kautz et al. 2006) and to
the areas of suitable habitat delineated by the South Florida RFP model (5579 km2; Frakes et al. 2015),
and conversion of natural areas to agricultural or urban land uses was tabulated (Table 6.2). These two
areas represent recent efforts to identify important panther habitat areas in South Florida, and there is
overlap between them. A total of 367 km2 (4.4 percent) of natural habitats in the Primary Zone was
converted to other uses between 1987 and 2003, a rate of loss of 0.28 percent per year (Table 6.2;
Figure 6.28). A total of 241 km2 (4.8 percent) of natural habitats identified by the South Florida RFP
model was converted to other uses during this time frame, a rate of loss of 0.30 percent per year (Table
6.2; Figure 6.29). Most (55–67 percent) of the conversions of natural areas to other uses in the Primary
Zone and in the areas of suitable habitat delineated by the South Florida RFP model between 1987 and
2003 were to agriculture. Conversions to urban/developed uses accounted for only 0.16-0.19 percent of
the loss of natural habitats within these two important panther habitat areas of South Florida.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     132
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 157 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


Table 6.2 Estimated loss of panther habitat in the Primary Zone and the area of the South Florida RFP
Model between 1987 and 2003 based on a change detection analysis completed by Kautz et al. (2007).

                                                 Area                                        Area   Percent
  Region                     Land Cover (1987)   km2          Change Type (1987–2003)        km2    change
  Primary Zone              Natural              8254      Natural to Agricultural           226     2.74
                            Agriculture           616      Natural to Urban/Developed         16     0.19
                            Urban/Barren          277      Natural to Water                  124     1.51
                            Water                  42      Agricultural to Urban/Developed    48     7.71
                            Total Land Area      9189      Total Area of Change              414     4.51

  South Florida RFP Model   Natural              4995      Natural to Agricultural           185     3.70
                            Agriculture           402      Natural to Urban/Developed          8     0.16
                            Urban/Barren          163      Natural to Water                   48     0.96
                            Water                  20      Agricultural to Urban/Developed    33     8.32
                            Total Land Area      5579      Total Area of Change              274     4.91




Dr. Robert Kawula (FWC, unpublished data) completed a change detection analysis of South Florida
habitats by comparing 2003 land cover data (Kautz et al. 2007) with a land cover database from 2015
(FWC 2016). The land use change database (FWC, unpublished data) was clipped to the Florida panther
Primary Zone and the areas mapped by the South Florida RFP model (Frakes et al. 2015), and
conversions of natural and semi-natural habitats to other uses over the years from 2003–2015 were
tabulated (Table 6.3). A total of 144 km2 of natural and semi-natural habitats in the Primary Zone (1.56
percent of the Primary Zone) was converted to other uses between 2003 and 2015, a rate of loss of 0.13
percent per year (Table 6.3; Figure 6.30). These losses represent an area roughly equivalent to 50
percent of the average home range of a single female panther. A total of 75 km2 of natural and semi-
natural habitats in the South Florida RFP model area (1.34 percent of suitable habitat) was converted to
other uses during this time frame, a rate of loss of 0.11 percent per year (Table 6.3; Figure 6.31). These
losses represent an area roughly equivalent to 25 percent of the average home range of a single female
panther. Conversion to urban/developed uses accounted for 41–42 percent of natural and semi-natural
panther habitats lost during this time frame compared to 25–27 percent lost to agriculture in these two
important panther habitat areas of South Florida. Although the aforementioned losses in habitat could
be perceived as minor in the context of the spatial requirements of individual panthers, small losses of
habitat in critical landscape linkages in the Functional Zone could result in the isolation and reduced
functionality of habitat patches, creation of population sinks from existing source population areas,
reduction in gene flow, and reduced dispersal potential north of the Caloosahatchee River.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      133
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 158 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


Table 6.3. Estimated loss of panther habitat in the Primary Zone and the area of the South Florida RFP
Model between 2003 and 2015 based on a change detection analysis completed by R. Kawula (FWC
unpublished data).

                                                      Area                                     Area   Percent
  Region                  Land Cover (2003)           km2         Change Type (2003-2015)      km2    Change
                                                                Natural to Agricultural
  Primary Zone    Natural                             8362      (Non-Pasture)                  35      0.42
                  Agriculture (Non-Pasture)            259      Natural to Other Non-Habitat   47      0.57
                  Urban/Barren                         240      Natural Urban/Developed        61      0.73
                  Other Non-Habitat/Coastal Wetland    328
                  Total Land Area                     9189      Total Area of Change           144     1.56

  South Florida                                                 Natural to Agricultural
  RFP Model       Natural                             5178      (Non-Pasture)                  20      0.39
                  Agriculture (Non-Pasture)            176      Natural to Other Non-Habitat   24      0.46
                  Urban/Barren                         142      Natural to Urban/Developed     31      0.59
                  Other Non-Habitat/Coastal Wetland     83
                  Total Land Area                     5579      Total Area of Change           75      1.34


Discrepancies exist between the analyses of habitat loss between 1987–2003 and 2003–2015. For
example, the total area of natural land cover and urban/barren lands were slightly higher in 2003 than
1987, a result that would not be expected as the landscape of South Florida continued to develop over
this period. These discrepancies are likely due to differences in the complexity of the land cover data at
each time period, the different classification schemes used in each land cover data set, and the differing
objectives and methods of Kautz et al. (2007) compared to those of Dr. R. Kawula (FWC unpublished
data). Despite the discrepancies, the differences appear to be minor, and the results help to frame the
extent of panther habitat loss in South Florida over these two time periods.

Panther Habitat Fragmentation and Degradation: The Big Cypress region of South Florida is the largest
relatively intact parcel of habitat inhabited by panthers. Secondarily, the eastern area of the Everglades
in the vicinity of Long Pine Key also supports small numbers of panthers. The Big Cypress region was
first penetrated by roads in 1928 with the construction of Tamiami Trail (US Highway 41) to connect
Tampa with Miami via Naples (Tebeau 1957). Despite the presence of this new highway, the majority of
panther habitat north and south of the Naples–Miami section of the Tamiami Trail remained difficult to
access for several decades. However, the construction of the Alligator Alley segment of State Road 84
(SR84) connecting Naples to Ft. Lauderdale in 1966–67 further facilitated public access into remaining
patches of panther habitat in remote areas of the Big Cypress region. Other major access roads were
built from Alligator Alley into the heart of the Big Cypress region, permitting recreational use of these
areas by hunters and off-road vehicle enthusiasts. Concurrently, a vast system of canals was
constructed to drain the wetlands that constituted large parts of South Florida, allowing development of
areas once considered uninhabitable for humans. A prime example is the large region of GGE made
accessible for residential development by an extensive system of drainage canals. Similarly, the
construction of a vast system of drainage ditches and canals improved the capability of many areas for
agricultural development. Lime rock and sand mining to provide the raw materials for new road and


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      134
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 159 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


building construction has contributed to the loss, fragmentation, and degradation of habitats in specific
areas, exemplified by areas southeast of the Southwest Florida International Airport near Fort Myers.
The combination of easier access, a tropical climate, and inexpensive real estate was the catalyst for an
exponential increase in the human population that continues in Florida today and is projected to
continue into the long-term future (2070). As expected, this chain of events resulted in the dilution of
the remote character of the Big Cypress region, the subdivision of panther habitats into smaller patches,
and the degradation of remaining panther habitat in many areas of South Florida.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    135
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24       Page 160 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.28. Land use changes within privately owned areas of the Florida panther Primary Zone
between 1987 and 2003.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                136
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 161 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.29. Land use changes within privately owned areas of Florida panther habitat as defined by the
South Florida Random Forest Panther model (Frakes et al. 2015), between 1987 and 2003.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  137
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 162 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.30. Land use changes within privately owned areas of the Florida panther Primary Zone (Kautz
et al. 2006), between 2003 and 2015.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 138
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 163 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.31. Land use changes within privately owned areas of Florida panther habitat as defined by the
South Florida Random Forest Panther model (Frakes et al. 2015), between 2003 and 2015.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  139
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 164 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.4.2   Increasing Human Populations

Human developments have been encroaching on the landscapes occupied by panthers for decades.
Florida’s human population grew from 1.73 million residents in 1936 to nearly 21 million residents in
2017 (Kautz 1993, U.S. Census Bureau website https://www.census.gov/quickfacts/FL). These 80 years
were a period of rapid agriculturalization and urbanization in Florida accompanied by the loss of vast
areas of forested habitats, and they coincided with reports of dwindling numbers and extirpation of
panthers in all areas except extreme South Florida. Since 1987, the principal cover types used by
panthers have continued to be converted to agricultural and urban uses within the core areas of panther
range in South Florida. Although the human population of Florida nearly doubled between 1987 and
2017, since 2000 losses of habitat have occurred during a period when the panther population has been
increasing. However, the increase in the panther population during a period of habitat loss on private
lands was undoubtedly facilitated by the available habitat capacity on public lands that could support an
increase in the population from a nadir of 20–30 individuals. The human population of Collier, Lee, and
Hendry counties, where most of the Primary Zone and suitable habitat mapped by the South Florida RFP
model (Frakes et al. 2015) is found, increased 127 percent between 1987 and 2015 from 452,400 to
1,028,200 residents.

6.4.3   Genetic Consequences of Small Populations

Inbreeding and loss of genetic diversity are unavoidable in small, isolated, sexually reproducing
populations and can result in inbreeding depression. Subsequently, inbreeding depression can lead to
decreases in survival rates, reproduction, and overall fitness, which ultimately can cause reduced
population growth and increased extinction risk (Hostetler et al. 2013, Frankham et al. 2014). These are
the very problems that threatened the survival of the Florida panther by the mid-1990s and prompted
the introgression project to restore genetic diversity (Onorato et al. 2010). Despite the success of the
introgression project, recent population viability modeling reveals that, without genetic intervention in
the future, the panther population would face a substantially increased risk of quasi-extinction (see
Section 7.1). So, the question is not whether future genetic management will be needed but when and
how it should be implemented (van de Kerk et al. 2019).

Exacerbating the problem of inbreeding in small populations is that not all sexually mature individuals
mate and produce offspring each year for a variety of reasons. This is the case for Florida panthers
where females produce kittens every 2–4 years depending on age (van de Kerk et al. 2019), and the
population at any point in time includes subadult males and females that do not have opportunities to
breed. Thus, the effective population size (Ne), or number of individuals in a population that mate and
produce young in a given year, is smaller than the census population.

6.4.4   Road and Highway Mortality

The second leading known cause of mortality of radio-collared panthers is collisions with motor vehicles
(Onorato et al. 2010). From 10 February 1982 through 31 December 2018, intraspecific aggression
accounted for 38.6 percent of recorded mortalities of radio-collared panthers >1 year-of-age, and
collisions with motor vehicles accounted for 22.2 percent (FWC unpublished data). However, when
records of radio-collared and uncollared panthers >1 year-of-age are pooled, vehicle collisions
accounted for 60 percent of panther mortalities during this period.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    140
  Case 1:21-cv-00119-RDM                           Document 149-2                     Filed 01/12/24               Page 165 of 585
                                                                           CURRENT CONDITION OF THE FLORIDA PANTHER


Vehicle mortalities have risen since 2000 as the panther population has increased following the
introduction of 8 female pumas from Texas into South Florida in 1995 (Figure 6.32). Prior to 2000,
panther roadkills were 4 or fewer per year, but since 2000, these numbers have ranged from 6 to 34
annually. The deadliest year for panther roadkills was 2016 when 34 vehicle mortalities were
documented.

The ages and sexes of panthers killed by vehicles have been remarkably consistent over the past 4
decades. Males represent over 60 percent of vehicle-caused mortalities. Males appear to be more
vulnerable to collisions with vehicles, most likely the result of having large home ranges and greater
distances traveled by dispersing subadults. Panthers <3 years of age represent 70 percent of vehicle-
related mortalities; 26 percent were dependent aged kittens.




                                             Florida Panther Roadkills
 40
 35
 30
 25
 20
 15
 10
   5
   0
         1981
                1983
                       1985
                              1987
                                     1989
                                            1991
                                                   1993
                                                          1995
                                                                 1997
                                                                        1999
                                                                               2001
                                                                                      2003
                                                                                             2005
                                                                                                    2007
                                                                                                           2009
                                                                                                                  2011
                                                                                                                         2013
                                                                                                                                2015
                                                                                                                                       2017
                                                                                                                                              2019




Figure 6.32. Number of Florida panthers killed in collisions with motor vehicles each year between 1981
and 2019.



Areas of panther habitat with many roads and high human density are inherently riskier for panthers
due to higher traffic volumes, particularly at night. As panther numbers have increased since 2000, the
population has expanded into areas of suitable habitat formerly occupied by panthers. Some of these
areas are closer to the west coast of Florida where presence of humans and roads are greater than more

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                                              141
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 166 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


wild areas such as BCNP, FPNWR, and other public lands. Currently, there is no evidence that the
increase in panther deaths caused by vehicle collisions is resulting in population decline, but the long-
term impacts of these human-related mortalities may become more evident over time. Highway
mortality has the potential to slow the expansion of the panther population north of the Caloosahatchee
River. The numbers of panthers to the north are so few that each individual lost to roadkill mortality has
a greater proportional impact on the total number of panthers in the region, thus reducing the potential
for population growth.

Non-fatal vehicle strikes resulting in injuries represent the primary reason that panthers are removed
from the wild and placed in either temporary or permanent captivity. Of the total number of panthers
removed from the wild and placed into captivity (n = 71), 33.8 percent of them (n = 24) have directly
been the result of injury due to a vehicle strike (n = 20) or indirectly as animals orphaned by mortality of
the dam due to vehicle injury (n = 4).

6.4.5   Human-Panther Conflict

Panther Depredations: A depredation is when a panther kills or injures domestic animals such as goats,
sheep, calves, dogs, or house cats. Panthers are carnivores that prey primarily on white-tailed deer,
wild hogs, and raccoons, but they hunt opportunistically and their diet varies. Any unsecured domestic
animal may be at risk of depredation. Depredations have generally followed an increasing trend since
2005, when five instances of depredation were documented. By 2017, 47 depredation events were
reported, and that was the highest year on record (FWC 2017) but only 33 depredation events were
tallied in 2018 (FWC unpublished data). Animals killed or injured by panthers in 2016–2017 alone
included 65 goats, 37 sheep, 22 calves, 4 pigs, 2 turkeys, 2 ducks, 2 geese, 1 dog, 1 cat, 1 mini horse, and
1 alpaca (FWC 2017). Most depredations occurred in the GGE subdivision east of Naples in Collier
County (Figure 6.26), but depredations have also been reported from South Naples, Immokalee, Felda,
Clewiston, and LaBelle (Figure 6.33). A panther depredation documented in Polk County in March 2017
represented the first verified panther depredation north of the Caloosahatchee River since the State of
Florida began soliciting panther occurrence data from the public in 1976 (FWC 2017) (Figure 6.33; FWC
2017). Tolerance of panthers by GGE residents was mixed (Rodgers and Pienaar 2018). Residents with
pro-environmental attitudes generally were tolerant, but older residents or those who owned livestock
or had experience depredations generally had negative views of panthers.

Injuring or killing a panther in defense of pets or livestock is prohibited under federal (16 U.S. Code
§ 1540 [b] 3) and State of Florida (68A-27.003(1)(a) Florida Administrative Code) laws. The option exists
for panthers involved in these conflicts to be captured and relocated by the USFWS or FWC as form of
aversive conditioning (USFWS 2008a). However, relocation of these animals to other areas generally is
not feasible because potentially suitable areas of unoccupied habitat are difficult to find in South
Florida. Moreover, relocation often will result in another panther moving into the same area after a
period of time, and relocated panthers may attempt to return to the original area (Ruth et al. 1998),
increasing the likelihood of mortality during the journey. A panther responsible for multiple
depredations in a short period of time could be classified as a threat to human safety and may be
permanently removed from the wild if the panther’s behavior departs from known or expected behavior
and if management actions fail to alter this behavior (USFWS 2008a).

Concern over the loss of calves to panther depredations in southwest Florida led to a depredation study
on two ranches in the Primary Zone where presence of panthers has been confirmed by telemetry data

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       142
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 167 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


(Main and Jacobs 2014, Jacobs and Main 2015). These researchers found that calf depredation by
Florida panthers on a ranch near BCNP was 5.3 percent per year whereas the depredation rate on a
ranch approximately 3 km south of Dinner Island Wildlife Management Area was 0.5 percent per year.
The majority of depredations occurred during the calving season (September–February). Depredated
calves averaged 43 kg, which suggests that panthers select for smaller calves that are approximately the
same size as white-tailed deer and wild hogs. A panther-hunting-habitat model created by Jacobs and
Main (2015) showed that ranches with higher cattle densities, larger open areas of improved pasture,
and greater distances from forest edge had lower rates of calf predation by panthers. Conversely,
ranches with small open patches of improved pasture near forest edges provide enhanced hunting
opportunities for panthers resulting in a higher rate of calf depredation.

The expansion of the panther population into Central Florida may be threatened by the presence of a
thriving cattle industry that extends over a very large landscape south of I-4. Florida is a cow-calf state
where the primary cattle “crop” is calves that are shipped to other states to be finished and processed
into beef (Florida Department of Agriculture and Consumer Services 2010). Over 800,000 calves are
produced annually in Florida. As of 1 January 2018, there were 732,000 head of cattle in Hendry,
Glades, Highlands, Okeechobee, Desoto, Hardee, Polk, and Osceola counties. These counties account
for 45 percent of the statewide total of 1,630,000 head of cattle and calves (U.S. Department of
Agriculture 2018). Portions of Hendry County are in the Functional Zone in southwest Florida, and the
other seven counties are in areas north of the Caloosahatchee River where expansion of the panther
population is most likely to occur.

Florida’s cattle ranches are low-intensity land use operations that support a mosaic of habitat types that
benefit the panther and its prey base. Thus, ranching operations are likely to play a key role in panther
conservation and recovery, especially north of the Caloosahatchee River (Pienaar et al. 2015).
Interviews with Florida livestock producers resulted in the identification of four stressors that may affect
the future of ranching and consequently may affect expansion of the panther population (Pienaar et al.
2015). First, there is a general trend away from intergenerational ranching as younger family members
may move away or are not interested in maintaining the family ranch. This trend may result in the rapid
subdivision of rangelands. Second, ranching generally provides lower economic returns on investment
compared to the real estate market, which tempts some landowners to sell their lands for development.
Third, livestock producers are concerned about loss of calves to any predator. Record keeping of calf
losses is generally poor, but for those ranchers north of the Caloosahatchee River that do maintain
records, average calf loss to all predators was 6–7 percent (Pienaar et al. 2015). Ranchers in the
expansion area are skeptical about the stated loss of calves to panthers and are more concerned about
losses to coyotes (Canis latrans). Regardless of the predator responsible, the financial costs and
emotional stress to livestock producers associated with depredation events undermine predator
conservation efforts through increased resistance. Fourth, livestock producers are frustrated by
negative perceptions of those urban residents and environmentalists that view them as not good
stewards of the land, and there is a lack of trust between governmental agencies and livestock
producers regarding conservation initiatives. Livestock producers generally have a sense of community
identity; they are consistent in their concerns regarding government interventions on private ranch
operations; and individuals with cattle operations in South Florida are strongly concerned about the
costs of living with panthers (Kreye et al. 2017a). Part of the identity of being a good rancher includes
killing predators that cause harm to livestock and cattle production (Kreye et al. 2017a). The

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        143
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 168 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


combination of these factors may function as threats (resistance) to panther conservation in expansion
areas dominated by ranchlands. The limitations of existing compensation programs (e.g., USDA Farm
Service Agency’s Livestock Indemnity Program) to fully compensate for calf losses attributed to panthers
further exacerbates this threat.

Human-Panther Interactions: Humans may also encounter panthers in a direct unexpected meeting
where the panther displays non-threatening behavior or potentially threatening behavior (FWC 2017).
Encounters pose a low to moderate risk to human safety. Although there have been no verified attacks
by panthers on humans in Florida, pumas in western North America have attacked and even killed
humans. Beier (1991) found that young and underweight pumas (12–23 months-of-age) were most
likely to attack humans. Studies in western North America have suggested that shifts in the age-
structure towards younger pumas and the orphaning of kittens as a result of sport hunting can
exacerbate human-puma conflicts, including increased complaints and livestock depredations (Peebles
et al. 2013, Teichman et al. 2016, Elbroch et al. 2017, O’Malley et al. 2018). Surveys of residents in GGE,
an exurban development in Collier County within the range of panthers, revealed that a subset of
residents expressed some concerns about human safety risks associated with living with the panther,
but a greater number of residents viewed the panther positively (Rodgers and Pienaar 2017). Most
residents who expressed negative opinions about the panther tended to have experienced a
depredation. In general, human intolerance due to a concern over personal safety or the loss of
domestic animals has the potential to function as a threat to the panther population, especially if
individuals are removed from the wild to resolve concerns over safety or depredation. Two studies
implemented in the late 1980s and early 1990s assessed the potential for translocating panthers into
North Florida (Belden and Hagedorn 1993, Belden and McCown 1996). Results indicated that the
habitats were suitable for supporting panthers, but issues related to human intolerance from some
residents demonstrated that successful reintroductions into former range outside of South Florida will
require extensive foresight and education to have a chance at being successful.

Illegal Shootings: Injury due to gunshot is not an uncommon finding in panthers and may result in
immediate death or may be found at necropsy following the death due to other causes. The FWC
database of illegal takes through 02 November 2020 contains records of 38 panthers that have been
wounded or killed by gunshot and one killed by arrow shot since 22 May 1983. Twenty-three of these
records have occurred within the last 10 years, suggesting an increase in the incidence of shootings of
panthers that is concurrent with a growing population. In several cases, evidence of gunshot was
discovered during necropsy of an individual that died of collision with a motor vehicle. Death was not
attributed to the gunshot wound but rather to collision with a motor vehicle. Injury from gunshot has
been documented in panthers as a cause of penetrating chest trauma, fractures, and blindness, without
causing immediate death and with partial to full healing occurring. It is therefore plausible that a
panther that survives an initial injury from gunshot could be predisposed to injury or mortality by other
causes (e.g., vehicle strike or intraspecific aggression) due to secondary infections, lameness, and loss of
ability to hunt. These findings indicate that panthers have been and continue to be shot, but the
wounding or killing of panthers is not reported. Therefore, the degree to which shootings are a threat
to the panther population is not known, but shootings result in the loss of individuals from the
population, potentially affecting recovery of the panther.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       144
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24       Page 169 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.33. Florida panther depredation and panther-human interaction records in the Florida
peninsula from 2004–2018.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                               145
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 170 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.4.6   Infectious Diseases

Several infectious disease agents have proven to cause mortality in panthers, and the risk of outbreak
from these and novel infectious agents remains a threat to the health and recovery of the population.

Pseudorabies Virus (PRV): Pseudorabies (also known as Aujesky’s disease) is caused by a herpes virus
and can affect a variety of mammals, including panthers (Glass et al. 1994). Pseudorabies virus is now
known to have been the cause of death in at least 10 panthers and is currently believed to be the third-
leading known cause of death, following vehicle collision and intraspecific aggression (Cunningham et al.
unpublished).

Though typically asymptomatic in feral swine, about 35–50 percent of feral swine in Florida carry the
virus, which they can transmit to predators that consume them if they are actively shedding virus (van et
al. 1993, Pedersen et al. 2013). Panthers become exposed when they consume infected feral swine that
are shedding the virus (Hahn et al. 1997). Pseudorabies in panthers is typically fatal and the disease
progression is likely very rapid with animals dying within 48 hours of the onset of clinical signs
(Cunningham et al. unpublished). There is no treatment for PRV infection, and safe and effective
vaccines for use in panthers are not available. As wild pigs are an important panther prey item, PRV will
likely remain a long-term threat to both individual panthers and the panther population.

Feline Leukemia Virus (FeLV): A retrovirus found in domestic cats, FeLV is uncommonly documented in
wild felid populations and North and South American puma have historically not been infected by this
virus. Recently, 6 panthers tested positive for FeLV, with one suspected to have died from the infection.
Overall, there have been three FeLV caused mortalities (Cunningham et al. 2008), one suspected
mortality (Chiu et al. 2019) and 11 antigen positive panthers (FWC unpublished data).

Although testing for the disease in panthers has been performed since 1978, the first positive cases
were documented in 2002–2004 (Cunningham et al. 2008). This outbreak resulted in the deaths of at
least 3 panthers and, since 2010, an additional 6 panthers have tested positive for the disease (Chiu et
al. 2019). Transmission in domestic cats is primarily through mutual grooming, contaminated
food/water bowls, bite wounds, and other contact; however vertical transmission (transmission from
parent to offspring via infected semen or ovum, through the placenta, during parturition, via milk, or
due to direct contact), has also been documented (Levy et al. 2008). The clinical disease resultant from
FeLV infection in panthers, including anemia and septicemia, appears similar to that seen in the
domestic cat; however, progression of clinical disease appears to be quite rapid in panthers that are
persistently infected, and most die within a few months of infection (Cunningham et al. 2008).

Recent genetic analysis investigating the origin of these outbreaks indicates that the source of initial
infection was likely a domestic cat (Brown et al. 2008, Chiu et al. 2019). One survey of domestic cats in
Florida documented a prevalence of approximately 4 percent (Lee et al. 2002). Although the prevalence
in domestic cats in this study was relatively low, the known consumption of domestic cats by panthers
and rapid progression of disease in panthers maintain FeLV as a threat to panther health. Vaccination
against FeLV may be effective, but there is no curative treatment for FeLV infection. Beginning in 2003,
all handled panthers over two months-of-age received an FeLV vaccination and this program may have
helped control the initial epizootic (Cunningham et al. 2008).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    146
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 171 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


As a density-dependent disease, FeLV is unlikely to have a catastrophic impact on the population or
result in its extirpation. However, FeLV has the potential to be a significant cause of mortality, and the
periodic recurrence of FeLV positive panthers highlights the on-going risk of future epizootics. With
increasing interactions between panthers and domestic cats (resultant from a growing urban-wildlife
interface) and lack of a widespread vaccination program for wild panthers, the risk of future outbreaks
may increase.

Feline Immunodeficiency Virus (FIV): A retrovirus, FIV is known to infect both domestic cats and non-
domestic felids (including lions, cheetah, panthers, and bobcats). In domestic cats, FIV causes
immunosuppression and secondary infections. Although the effects of FIV on the panther population
are unknown, investigation into immunosuppression in FIV-infected wild lions and pumas does suggest
that immunosuppression occurs (Roelke et al. 2006).

Like FeLV, transmission is primarily through bite wounds but vertical transmission has also been
documented. Previous molecular studies of FIV in panthers have shown a shared ancestry with FIV of
domestic cats (O'Brien et al. 1990) and transfer of FIV between a domestic cat and panther has been
documented (Carpenter et al. 1996). More interactions between panthers and domestic cats may
introduce domestic cat strains of FIV and increase the prevalence in panthers so continued monitoring
of this disease is necessary to assess changes in prevalence in the population. There is no curative
treatment for or effective vaccination against FIV infection.

Dermatophytosis: Commonly referred to as ringworm, dermatophytosis is an infection of keratinized
tissue (skin, hair, and claws) by one of the three genera of dermatophyte fungi (Epidermophyton,
Microsporum, and Trichophyton). Species of Microsporum and Trichophyton are the most important
animal pathogens and M. canis is the most common species reported in domestic felids. Direct contact
with fungal spores in the soil, contact with an infected animal, or contact with an item that has been in
contact with an infected animal can all cause infection. The fungi damage hair follicles, causing hair loss
and inflammation that is characteristic of the disease. First diagnosed in a panther in 1995,
dermatophytosis (Microsporum and Trichophyton species) has since been documented in multiple
juvenile and adult panthers (FWC unpublished data, Rotstein et al. 1999) with varying levels of disease
severity.

The clinical effects of the disease in panthers seem to parallel that in other species, with some animals
clearing the infection and others being severely affected. Known to affect kittens more severely than
adult cats, severe dermatophytosis has been detected in several panther kittens (including entire
litters), as well as the mother panther (FWC unpublished data). In 2017, a severely affected male
panther with confirmed dermatophytosis was documented; this animal had almost complete hair loss
and was emaciated at the time of death in 2018 (FWC unpublished data). To date, there have been 10
confirmed cases of dermatophytosis in panthers, with an additional 4 probable cases (i.e., a panther
with clinical signs consistent with dermatophytosis and a direct link to a confirmed case, such as a
littermate with a confirmed diagnosis) and 6 suspect cases (i.e., a panther with clinical signs consistent
with dermatophytosis, such as hair loss).

Inbreeding depression and low genetic diversity may cause immunosuppression in panthers (Roelke et
al. 1993) and there is evidence that panthers with lower genetic diversity could be more vulnerable to
this condition. Alternatively, severely affected animals may have other underlying disease that renders
them unable to clear the dermatophyte infection. Treatment for dermatophytosis is possible but can

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       147
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 172 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


require months of treatment in captivity. Dermatophytosis is likely a larger concern for individual
panthers but it could be an indicator of reduced genetic diversity for the population.

Other Disease: Additional infectious disease agents, such as internal and external parasites, viruses,
bacteria, and other pathogens have been documented in panthers and likely play a role in overall health.
Severe burdens, or infections of multiple disease entities, can play a role in immunosuppression,
debilitation, and potentially death of the individual. For example, heavy burdens of gastrointestinal
parasites (e.g., roundworms and flatworms), which are typically mild to moderate in healthy wild
individuals, have been documented in panthers at necropsy and may be an indicator of a debilitated
health status, even without overt signs of disease. Similarly, heavy burdens of external parasites, such
as ticks, can be important indicators of overall health status and may play a role in transmission of other
diseases, such as blood borne parasites, which could have secondary effects on the health of a panther.
Another disease of domestic cats, notoedric mange is caused by the sarcoptiform mite Notoedres cati.
Infestation causes intense pruritic, inflammation, and secondary infections in domestic cats and wildlife
species, including panthers and pumas (Maehr et al. 1995, Uzal et al. 2007). The combined effects of
multiple disease agents, while minor individually, can impact the health and productivity of individuals.
Further, the impact of these pathogens can work additively or synergistically with other stressors such
as environmental contaminants, inbreeding depression, and nutritional deficiencies can significantly
impact individual and even population health.

Infectious Diseases Summary: Recent developments in infectious disease testing and DNA sequencing
are showing promise for elucidation of the source of infectious disease in panthers and diagnosis of
additional and/or novel disease in panthers is likely as testing modalities improve. It is possible that
identification of such diseases will allow determination of the cause of death of mortalities which were
unknown at the time of examination and subsequently highlight on-going risks to panther health.

Disease prevalence is a fluid process dependent on host (panther) susceptibility (e.g., genetics, health,
population density, etc.) pathogen characteristics (virulence, etc.), and environmental conditions (e.g.,
contaminants, hydrology, prey availability, etc.). As these factors shift, the risk of new epizootics (e.g.,
FeLV) and potentially catastrophic population effects can increase. As such, continual disease
monitoring will be critical to track and identify known and emerging threats to the panther population.

6.4.7   Prey Availability

In natural conditions, puma population density is expected to be ultimately limited by the abundance of
available prey (Pierce et al. 2000, Logan and Sweanor 2001, Laundre et al. 2007). The primary food
items of the Florida panther are white-tailed deer, wild hogs, raccoons, and armadillos (Maehr et al.
1990a, Caudill et al. 2019). Panthers also prey opportunistically on other species including rabbits,
opossums, alligators and domestic livestock (Dalrymple and Bass 1996, McBride and McBride 2010,
Interagency Florida Panther Response Team 2017). These species are generally ubiquitous in Florida,
with the exception of southeastern Florida, and under normal circumstances it is unlikely that
availability of prey would be a stressor potentially affecting the survival of panther populations.
However, historical and recent events suggest that there are factors which could affect prey species and
thus panther numbers.

Historic Prey Availability: In general, deer populations in South Florida are characterized by lower
density and fecundity than in other areas of the state, primarily due to seasonal flooding, climatic stress,

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         148
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 173 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


and the thin, nutrient poor soils that contribute to the low nutritional value of available forage and
overall poor habitat quality (Harlow and Jones 1965, Fleming et al. 1994, Labisky et al. 1995, Garrison et
al. 2011). Market, subsistence and trade hunting of deer pre-1900 were substantial in the area and
similar to areas in eastern United States and throughout the southeast, likely contributed to the decline
of prey and the imperilment of the panther population (Schortemeyer et al. 1991, Gill 2010). The white-
tailed deer herd in Florida reached its lowest point near the end of the 1930s (FWC 2007). A white-
tailed deer eradication program that began in Florida during the late 1930s to control the cattle-fever
tick resulted in the extermination of 9478 deer between 1939 and 1943, including 8428 deer killed in
Collier County (Davis 1943, Game and Fresh Water Fish Commission 1946, Alvarez 1993). The
introduction of New World screwworm fly (Cochliomyia hominivorax) in 1933 also undoubtedly had an
impact on deer populations in Florida. Concomitant with the reduced deer populations was a reported
increase in panther livestock depredation and persecution of panthers in the region (Hamilton 1941).
However, centuries earlier (in the 1500s) European wild hogs were introduced near Big Cypress and wild
pigs were well established by the 1900s (Belden and Frankenberger 1977). This alternative source of
prey, along with the introduction of armadillos in 1924 (Taulman and Robbins 1996), may have allowed
the panther population to persist during this period of deer population declines.

The low point was followed with decades of harvest regulations and their enforcement, reduction of
subsistence hunting, screwworm eradication in 1958, re-introduction of deer from other states,
increased habitat availability and quality (due to logging and drainage program), and habitat protection
through the creation of state wildlife management areas. And despite the substantial increase in human
activity and development during this period, the deer herd flourished. Prey management was
recognized as important, evident in the conservative hunting regulations (e.g., buck-only harvest) and
land acquisition (e.g., purchase of the FPNWR).

Current Prey Availability and Recent Declines: Deer herds in the southeastern portions of the panther’s
occupied range have a history of extreme population fluctuations and have been subjected to severe,
weather-related mortality events (Loveless 1959, Forrester 1992, Maehr and Lacy 2002). Although
extreme water events are rare, the hydrological changes in the last decades in general have resulted in
the increased depth and duration of hydroperiods. This change in hydrology, along with other
landscape-level changes, has potentially impacted both deer and wild hog populations. Harvest and
aerial monitoring data suggest both ungulate species have experienced population declines in portions
of South Florida. For example, feral swine harvest on BNCP averaged 125.7 head/year during 1993–
2003 and 2.4 head/year during 2004–2015, with no harvest in recent years
(http://myfwc.com/hunting/harvest-reports/). Deer harvest has followed a similar declining trend in
some management units, while elsewhere harvest appears to be stable or increasing. The most drastic
declines in the white-tailed deer populations have been observed in the southern portions of BCNP
(south of U.S. Highway 41 [US 41]) since the early 2000s. Recent survey and harvest data indicate a near
complete population crash in this region (FWC unpublished data). Further south in ENP, based on
anecdotal evidence, deer and other mammals have declined since 2000, or even earlier (Garrison et al.
2011). This drastic population decline in white-tailed deer has undoubtedly impacted the quality and
suitability of habitat for panthers in this region. The causes for this decline are unknown, but analyses of
hydrological data suggest that increasing water levels since 1995 have had a negative effect on the deer
population (Garrison et al. 2011). However, the authors caution that the decline is likely due to a
combination of factors that interact with high water levels, including predation, disease, and habitat

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       149
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 174 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


degradation (Garrison et al. 2011). Extreme fluctuations in hydrological conditions caused by seasonal
flooding, weather events (e.g., tropical storms), and manmade water impoundments, can increase stress
and vulnerability to predation, diseases, malnutrition, and negatively influence reproduction,
recruitment of fawns, and adult deer survival (Loveless 1959, Fleming et al. 1994, Labisky et al. 1995,
MacDonald-Beyers and Labisky 2005, Garrison et al. 2011, Cherry et al. 2019). Cherry et al. (2019) found
no evidence of persistent white-tailed deer population declines during a large-scale study conducted
from 2015–2018 in the FPNWR and BCNP north of I-75; however, the low adult survival rates and low
fecundity rates suggested that the deer population in this region could decline in the future.

The role that predation by panthers or other predators played in the severe deer declines in
southeastern Florida is not fully understood as it is unlikely that a single predator-prey model accurately
represents the predator-prey system in southeastern BCNP and ENP at all times (Gese and Knowlton
2001). This area has traditionally supported fluctuating deer and panther populations and it is likely that
panther numbers “reflect the relative abundance and stability of local prey populations” (Maehr and
Lacy 2002:973). Maehr and Lacy (2002) postulated that severe deer population nadirs in South Florida
may prevent continuous occupation of a large carnivore population. The authors characterized the
predator-prey system in South Florida as a stable-limit cycling model (Ballard et al. 2001) and further
cautioned that the deer herd in southeastern Florida could be reduced or a herd increase neutralized by
an artificial and rapid increase in a large predator population (Maehr and Lacy 2002). However, the
recurrent fluctuations model (Gese and Knowlton 2001) may better approximate the relationship
between panthers and deer in South Florida as the deer herd may never reach a state of equilibrium due
to the interactive effects of a nutrient poor habitat, fire, seasonal flooding, and predation.

Burmese Python Impacts on Prey Availability: Burmese pythons (Python bivittatus), a non-native
invasive apex predator from southeast Asia, are well-established in South Florida and have been
associated with declining mammal populations due to predation and resource competition (Holbrook
and Chesnes 2011, Dorcas et al. 2012, McCleery et al. 2015). Burmese pythons were likely first
introduced in the southern portions of ENP prior to 1985 via releases or escapees from private
ownership (Wilson et al. 2011). Pythons were encountered regularly in the region beginning in the mid-
1990s; however, it was not until the early 2000s that they were first recognized as being established in
ENP (Meshaka et al. 2000, Wilson et al. 2011). As of 2018, breeding populations of Burmese pythons
have been documented across South Florida, including areas within the occupied range of the Florida
panther in ENP, BCNP, and areas within and surrounding Collier Seminole State Park, PSSF, and Rookery
Bay National Estuarine Research Reserve.

Burmese pythons are habitat generalists and radio-tracked pythons in ENP used a mosaic of habitat
types and exhibited frequent use of elevated tree islands within a freshwater wetland matrix (Hart et al.
2015). Pythons are large, ambush predators that can grow up to 20 feet in length and have few natural
predators. Free-ranging Burmese pythons in Florida are generalist predators that consume a variety of
prey species, including birds, mammals, reptiles, amphibians and fish (Snow et al. 2007, Rochford et al.
2010, Dove et al. 2011). Burmese pythons have been correlatively associated with severe declines of
mammals in ENP, including marsh rabbit (Sylvilagus palustris), raccoon, and white-tailed deer (Holbrook
and Chesnes 2011, Dorcas et al. 2012). McCleery et al. (2015) empirically demonstrated that pythons
caused reductions in marsh rabbit populations in ENP. All of these species are prey for Florida panthers,
and thus the presence of Burmese pythons may be having an adverse effect on the panther prey base.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      150
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 175 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


Python predation on white-tailed deer has been confirmed throughout the established breeding range
of this invasive constrictor (Rochford et al. 2010, Boback et al. 2016, Bartoszek et al. 2018). Although
the extent of the impact of python predation on white-tailed deer population is unknown or speculative,
some noteworthy python predation events on deer have been reported that illustrate the potential
threat that pythons pose as a non-native competitor to panther prey resources in South Florida. These
noteworthy events include a single adult python (4.32 m in length, 48.3 kg) consuming one adult deer
and two fawns within a period of several months in ENP (Boback et al. 2016) and a comparatively
smaller python (2.94 in length, 14.3 kg) in Collier County consuming a fawn (15.9 kg) that was 111.1
percent of the mass of the snake (Bartoszek et al. 2018). Burmese pythons represent a novel predatory
threat to the native prey populations of the panther in South Florida, including white-tailed deer
(Boback et al. 2016).

Disease Impacts on Prey Availability: White-tailed deer in Florida are at risk to infectious disease
outbreaks that could reduce white-tailed deer populations and adversely affect the availability of
panther prey. These diseases include bluetongue and epizootic hemorrhagic disease viruses (collectively
referred to as hemorrhagic disease viruses), both considered to be the most important infectious
diseases of white-tailed deer in Florida and the southeastern United States (Forrester 1992). White-
tailed deer populations in Florida are also at risk from the New World screwworm (NWS) fly larvae.
Fawn mortality in Texas was between 50–80 percent when NWS was present (). The negative effect of
this infestation was demonstrated when NWS eradication efforts initiated in southeastern United States
in 1958 resulted in dramatic increases in the white-tailed deer herds in South and Central Florida in the
1960s (Forrester 1992). A recent NWS infestation detected in the Lower Florida Keys in 2016 impacted
the population of Florida Key deer (O. v. clavium) but was successfully managed and contained with no
infestations detected in deer herds on the Florida peninsula (Lopez et al. 2016, Parker et al. 2017, Skoda
et al. 2018). The recent NWS infestation in the Florida Keys highlights the need for continued
surveillance to detect future occurrences and for rapid response plans to contain and eradicate future
infestations (Forrester 1992).

Of greater concern would be the introduction of chronic wasting disease (CWD) or heartwater disease—
either of which could have long-term, negative impacts on deer populations. Chronic wasting disease is
a transmissible spongiform encephalopathy of cervids that is slowly spreading across North America.
Management efforts to contain or eradicate the disease in areas where it occurs have largely been
ineffective, and in some regions the disease is negatively impacting deer densities. Although CWD has
not yet been detected in Florida it has recently been found in TN and MS. Heartwater disease is caused
by the bacteria Ehrlichia ruminantium. The bacteria is vectored by ticks, and in the southeastern United
States, the Gulf Coast tick (Amblyomma maculatum) is a competent vector. The acute and fatal
response of white-tailed deer experimentally infected with E. ruminantium demonstrated the
susceptibility of this prey species to this tick-borne disease (Dardiri et al. 1987). Although the disease
was endemic to sub-Saharan Africa, it has become established in parts of the Caribbean.

Land Management Impacts on Prey Availability: Habitat management via prescribed fire is a critical
conservation tool that has a positive influence on increased prey availability (Garrison and Gedir 2006).
Large areas of the most important habitats occupied by panthers are on publicly owned conservation
lands, including BCNP, FPNWR, FSPSP, PSSF, ENP, OSSF, Dinner Island Wildlife Management Area
(WMA), Spirit of the Wild WMA, and others. How public lands are managed has the potential to affect
panther habitat and prey populations via the following: prescribed fire, hydrologic alterations, levels of

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       151
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 176 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


recreational uses, prevalence of invasive exotic plant communities, conversions from natural to
plantation forests, and other activities. However, a prime goal in the management plans for most of
these lands is to restore and maintain the areas in a natural state, which ultimately favors panther
habitats and prey.

6.4.8   Environmental Toxicants

Several environmental contaminants, namely mercury, poly-chlorinated biphenols (PCB) and
dichlorodiphenyldichloroethylene (DDE), have been documented in panther tissue and continue to be a
potential threat to panther health and survivability (Facemire et al. 1995). These contaminants
bioaccumulate in the aquatic food chain and reach most elevated concentrations in the upper trophic
levels. Levels of these contaminants in panther tissues have fluctuated over the years of sampling, likely
representing both ecological shifts that lead to variable contaminant levels in prey species, as well as
changes in prey species selected by panthers.

Environmental contaminants have not been documented as the ultimate cause of death in a panther.
However, it is likely that contamination with one or more environmental toxins could cause subclinical
health effects and when combined with other stressors (environmental or physical), may reduce fitness
and reproductive performance and increase susceptibility to disease. Ongoing research into the effects
of environmental contaminants in panthers is required as the subtle long-term effects of exposure to
environmental contaminants is often challenging to prove until population declines occur (World Health
Organization and United Nations and Environment Programme 2013). FWC continues to monitor these
contaminants.

Toxicosis from exposure to commercially available rodenticides in residential and agricultural areas is an
undocumented, yet potentially under-reported, threat to the health of individual panthers in Florida.
Exposure to anticoagulant rodenticides has resulted in direct mortality and possibly sub-lethal effects
(e.g, notoedric mange) in pumas in California (Riley et al. 2007). Cunningham (2012) detected the
second-generation anticoagulant rodenticides brodifacoum and bromadiolone in tissues from seven
(20.6 percent) and two (5.9 percent) panthers, respectively. No clinical effects were observed in
exposed panthers (Cunningham 2012). Although the approved target species for rodenticides are not
the usual prey items for panthers, non-target species may consume the baits and subsequently be
preyed upon by panthers. Riley et al. (2007) speculated that puma in California may be exposed to
anticoagulant rodenticides through exposure to secondarily exposed carnivores such as coyotes.
Predation of coyotes by panthers has been documented in Charlotte and Collier counties (FWC
unpublished data). The California Department of Pesticide Regulation (CDPR) analyzed data provided by
the California Department of Fish and Wildlife (CDFW) and found that 92 percent of pumas tested (n =
64) had detectable levels of secondary anticoagulant rodenticides, and the majority (67 percent) of
pumas tested also were exposed to first-generation anticoagulant rodenticides (CDPR 2018). In
response to the risks posed by second-generation anticoagulant rodenticides to target animals and non-
target wildlife, the CDPR in 2014 restricted the use of four second-generation anticoagulant compounds:
brodifacoum, bromadiolone, difenacoum, and difethialone (CDPR 2018). First-generation anticoagulant
rodenticides (e.g, chlorophacinone, diphacinone, and warfarin) were not included in the 2014 CDPR
regulations (CDPR 2018).

The restrictions placed on second-generation anticoagulant rodenticides in 2014 resulted in the
increased availability and use of first-generation anticoagulant rodenticides and by rodenticides

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      152
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 177 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


containing bromethalin, a potent neurotoxin (McMillin et al. 2016). Investigations of bromethalin
exposure in California wildlife suggest that bromethalin intoxication may be an under-reported threat to
wildlife in Florida, including panthers, given that the neurological behaviors associated with bromethalin
exposure, such as rear leg paralysis, could be mistaken for distemper infection or trauma (McMillin et al.
2016).

6.4.9      Emerging Neuromuscular Disorder of Unknown Origin

A neuromuscular disorder of unknown cause, termed Feline Leukomyelopathy (FLM), has recently been
detected in panthers and bobcats in the state of Florida. All affected animals have exhibited some
degree of hind limb paresis (weakness) and ataxia (incoordination) ranging from mild to severe, and
histopathological findings indicate symmetrical axon (primarily) and myelin degeneration primarily in
the ventral and lateral tracts of the spinal cord. The most likely causes for this disorder fall within the
following categories: 1) infectious (viral, bacterial, other); 2) nutritional; and/or 3) toxin (anthropogenic
or environmental). Numerous infectious diseases, toxins, and other possible causes have been
evaluated, but a cause has not been determined. Although the condition was first recognized in a
panther family group in April 2018, subsequent data review revealed that the condition may have been
present since May 2017 or earlier. As of August 2020, there have been two panthers and nine bobcats
confirmed through histopathological findings to have FLM from Collier, Lee, Charlotte, Hillsborough, and
Alachua counties. There is also photographic/video evidence of probable cases from Alachua, Charlotte,
Collier, Hendry, Hillsborough, Lee, Manatee, Orange, Pasco, Sarasota, and St. Johns counties. The
probable Charlotte County case includes at least one panther kitten born north of the Caloosahatchee
River. This dependent-aged kitten was photographed in April 2017 and initially presumed to have
suffered trauma that affected its ability to use its rear legs. The possibility that that this disorder
prevented the successful recruitment of the known kittens born north of the Caloosahatchee River
cannot be ruled out (See Section 6.1.2). The impact on panther and bobcat populations is unknown;
however, at least one adult panther was euthanized due to FLM, and several kittens are presumed to
have died as a direct or indirect result of FLM. If the loss of one or more panther litters north of the
Caloosahatchee River was attributable to FLM, this disease would present a threat to the expansion of
the Florida panther population. Consultation with experts in the field of veterinary and wildlife
medicine, as well as adjunct specialties including environmental toxicology, have been ongoing and will
continue in the investigation of this disorder.

6.5       CURRENT CONSERVATION MEASURES

      •    Land conservation measures include public acquisition of conservation lands and conservation
           easements, establishment of panther conservation banks, protection of panther habitats by
           wetlands mitigation banks, NRCS purchase of easements to protect wetlands, and management
           efforts of Native American tribes.
      •    Regulatory programs that affect panther habitat conservation include consultation between the
           USFWS and the U.S. Army Corps of Engineers for wetlands permitting under the Clean Water Act
           and ESA, state and federal commenting on development projects, the East Collier Rural Lands
           Stewardship Area program, and habitat conservation planning under Section 10 of the ESA.
      •    Recovery planning is being addressed by the Panther Recovery Implementation Team and the
           Transportation and Recovery Criteria Sub-teams.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        153
  Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 178 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


    •   Locations for wildlife crossings are being identified, wildlife crossings are being constructed, and
        speed zones have been established to reduce panther mortalities resulting from collisions with
        motor vehicles.
    •   FWC, the USFWS, and NPS have been actively engaged in panther research and monitoring since
        the 1970s, and a successful genetic restoration program was planned and implemented in the
        1990s.
    •   Panther biologists address ongoing problems of human-panther interactions and depredation of
        domestic livestock according to the Interagency Florida Panther Response Plan.
    •   ZooTampa, Naples Zoo, and White Oak currently maintain facilities to provide for the
        convalescence and rehabilitation of injured or diseased panthers prior to return to the wild.
    •   A captive breeding program with the goal of introducing captive-bred or rehabilitated panthers
        into the wild was attempted in the 1980s and 1990s but was subsequently abandoned.
    •   Public education and outreach are accomplished via agency Florida panther web sites, agency
        biologists who actively engage with members of the public, and a variety of non-governmental
        organizations that advocate for panther conservation.

6.5.1   Land Conservation

Land Acquisition: Publicly owned conservation lands provide a significant portion of the core habitat
areas occupied by Florida panthers (Figure 1.2 and Figure 6.34). Key parcels include BCNP, FPNWR,
FSPSP, PSSF, ENP, OSSF, Spirit of the Wild WMA, Dinner Island WMA, and Corkscrew Regional Ecosystem
Watershed (CREW). Important parcels north of the Caloosahatchee River include Babcock Ranch
Preserve, Fred C. Babcock-Cecil M. Webb WMA, Fisheating Creek WMA, and Fisheating Creek/Lykes
Brothers Conservation Easement.

Multiple federal, state, regional, and local government agencies have programs to acquire public
conservation lands or to purchase conservation easements to preclude future development on lands
that remain in private ownership. Some of these programs target lands that are within the core range of
panther habitats.

Florida Forever, the State of Florida’s primary conservation and recreation lands acquisition program,
and its predecessor Preservation 2000 have purchased more than 10,120 km2 statewide, including 501
km2 of panther habitat in South Florida. Funding for Florida Forever is divided among 10 agencies of
state and regional governments, which have somewhat different but often overlapping goals. The
current Florida Forever acquisition list includes several parcels that, if fully acquired, would provide
additional protection to the core panther habitat area. These projects include Belle Meade, CREW,
Panther Glades, Devil’s Garden, Half Circle L Ranch, Twelvemile Slough, and Caloosahatchee Ecoscape
(Figure 6.35). The Fisheating Creek Ecosystem and Hall Ranch projects in Charlotte and Glades Counties
north of the Caloosahatchee River would add to existing conservation lands in areas where females and
kittens have been observed since 2017.

Local governments also have small programs for the purchase of conservation and recreation lands.
Flint Pen Strand in Lee County and Pepper Ranch and Caracara Prairie Preserve in Collier County are
examples of lands that contribute to the conservation of core panther habitat areas.

The Rural and Family Lands Protection Program (RFLPP) is administered by the Florida Forest Service, a
division of the Florida Department of Agriculture and Consumer Services. Established in 2001, the

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       154
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 179 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER


purpose for the program is acquire perpetual conservation easements on Florida ranches and farms to
protect rural and working agricultural lands threatened by development. RFLPP easements allow
landowners to continue to work the lands, keep the property on the tax roll, and remain agriculturally
sustainable. RFLPP projects must meet one of the following public purposes: perpetuate open space;
protect, restore, or enhance water bodies; buffer natural areas, functioning ecosystems, and military
installations; or promote restoration and enhancement of species habitat. To date, the only RFLPP
easement acquired in core panther habitats has been the 6.54 km2 easement on JB Ranch in Collier
County. Projects approved for acquisition of RFLPP easements in areas of important panther habitat
include RM Farm (11.67 km2) in Hendry County, Buck Island Ranch (27.33 km2) and Hendrie Ranch
(29.34 km2) in Highlands County, and Lykes Ranch–Ingram’s Crossing (42.35 km2) in Glades County.

Non-governmental conservation organizations also have contributed to land conservation that benefits
the panther. The Corkscrew Swamp Sanctuary, owned by the National Audubon Society, is a key
component of CREW lands that are occupied by panthers. The Nature Conservancy (TNC) has purchased
lands or holds conservation easements on several privately-owned properties, and TNC often acts as a
facilitator to connect existing public acquisition programs with landowners willing to sell or place a
conservation easement on their properties.

At the federal level, the U.S. Department of Agriculture’s Natural Resources Conservation Service (NRCS)
has purchased Wetlands Reserve Easements to conserve wetlands and wildlife habitats on agricultural
lands within areas supporting the current panther population (Figure 6.36). The USFWS administers a
variety of grant programs to assist state agencies with funding for conservation programs. The USFWS’s
Partners for Fish and Wildlife program has awarded funding for habitat management in the Primary
Zone to benefit panthers.

Land Management: Management of public conservation lands is essential to maintain or restore the
natural resource values for which the lands were purchased and to accommodate human use. Agencies
responsible for the management of conservation lands are required to draft management plans that
serve as a basic statement of policy and provide direction for the parcel. Management plans typically
include an assessment of natural and cultural resources and their management needs, an allocation of
recreational resources based on human populations in the region and the accessibility of the site to the
public, and an implementation schedule with cost estimates. Management plans for conservation lands
that support panthers typically address the history of panther use of the property and panther habitat
requirements, area needs, and sensitivity to human presence to ensure that management operations
are not in conflict with the continued existence of this endangered species. Management actions that
affect panthers include prescribed fire, exotic plant removal, population monitoring, hydrologic
restoration, vegetation plantings, silvicultural operations, public outreach and education, recreation
management, and maintenance of utility corridors.

Prescribed fire is one of the most important management actions that benefit panthers and their prey.
Most Florida ecosystems historically were shaped by natural lightning-set fires that increased the
abundance and health of many wildlife species. However, wildfires no longer occur with historical
frequency or extent with the result that natural community structure and function have been altered. In
the absence of fires, vegetation naturally becomes so overgrown that it is susceptible to wildfires that
often are difficult to control and may be devastating to natural communities. Prescribed fires conducted
under controlled conditions are used to mimic natural lightning-set fires with the goal of minimizing

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    155
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 180 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


destruction of overstory vegetation while clearing out underbrush. This process reduces fuel loads,
recycles nutrients stored in vegetation to the soil, stimulates new vegetative growth that benefits
wildlife, especially white-tailed deer and other prey of the panther, and maintains natural communities
by inhibiting hardwood encroachment. Deer in South Florida increased their use of burned areas
following fire, but also maintained portions of their home ranges in areas that were not burned (Cherry
et al. 2018).

Exotic species of plants are those that are not native to Florida. Invasive exotic species are able to out-
compete, displace, or destroy native species and their habitats, often because they have been released
from the natural controls of their native range. If left unchecked, invasive exotic species alter the
character, productivity, and conservation values of the natural areas they invade. Thus, a high priority
of many management plans is the removal of exotic species from native natural communities. Some of
the more invasive exotic species that are targeted for control on public lands in the range of the panther
include Brazilian pepper (Schinus terebinthifolius), melaleuca (Melaleuca quinquenervia), Australian pine
(Casuarina spp.), Old World climbing fern (Lygodium microphyllum), cogon grass (Imperata cylindrica),
and air potato (Dioscorea bulbifera). Species such as melaleuca and Australian pine often grow so
densely that they crowd out native plants, rendering these areas unsuitable for panthers and prey.

Many areas of South Florida have been subject to large scale drainage projects intended to lower the
water table of wet areas and make them available for human development. These projects have altered
the hydrology and native natural plant communities of many areas that are now in public ownership. A
prime example is PSSF, which was drained to accommodate a large subdivision formerly known as
Golden Gate South. Restoration of public lands to original natural conditions often depends on
returning natural hydrologic processes to the landscape. Management actions taken to accomplish this
goal include filling or plugging ditches, removing obstructions to surface water sheet flow, installing
culverts or low-water crossings on roads, and installing water control structures to manage water levels.
The intended result of these efforts is the gradual restoration of natural habitats that support panthers
and prey.

Conservation Banks: Conservation banks are permanently protected lands that contain natural
resource values and are conserved and managed for endangered and threatened species, candidates for
listing, or species that are otherwise at risk. Conservation banks function to offset adverse impacts to
these species that occurred elsewhere, sometimes referred to as off-site mitigation. In exchange for
permanently protecting the land and managing it for listed species, the USFWS approves a specified
number of habitat or species credits that bank owners may sell. Developers who need to compensate
for the unavoidable adverse impacts their projects have on a species may purchase the credits from a
conservation bank to mitigate their impacts. A conservation bank is a market enterprise that offers
landowners incentives to protect species and their habitats. Developers and others whose activities
result in adverse impacts to listed species typically are required to compensate for their impacts, and
the purchase of credits from a conservation bank is a simple and economical alternative that saves
developers time and money and provides regulatory certainty.

Currently, there are three conservation banks approved to sell panther credits known as Panther Habitat
Units (PHU). Florida Panther Conservation Bank I includes approximately 7.81 km2 of south central
Hendry County in the Primary Zone. Panther Conservation Bank II covers approximately 1.91 km2 of the
Dispersal Zone in northwest Hendry County. Panther Passage Conservation Bank also is located in the

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      156
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 181 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


Dispersal Zone and covers approximately 5.23 km2 of panther habitat. In the past, the cost to purchase
panther credits from these banks has ranged from $500-$2000/PHU. However, as of this writing, the
cost is approximately $750-$850/PHU. The final cost of PHUs usually is negotiable and depends on the
terms of the sale, the number being purchased, the timing of the sale, and the number of credits left in
the bank.

Wetlands Mitigation Banks: Mitigation banking is a practice in which an environmental enhancement
and preservation project is conducted by a public agency or private entity (“banker”) to provide
mitigation for unavoidable wetland impacts within a defined region (mitigation service area). The bank
is the site itself, and the currency sold by the banker to the impact permittee is a credit, which
represents the wetland ecological value equivalent to the complete restoration of one acre (0.4 ha). The
number of potential credits permitted for the bank and the credit debits required for impact permits are
determined by the permitting agencies. The Uniform Mitigation Assessment Method (UMAM) is the
method of assessment for banks established after 2 February 2004. UMAM provides a standardized
procedure for assessing ecological functions provided by wetlands and other surface waters, the amount
that those functions are reduced by a proposed impact, and the amount of mitigation necessary to
offset that loss.

The service areas of three wetlands mitigation banks in South Florida include portions of the USFWS’s
Panther Focus Area. The USFWS has allowed each of the banks to also sell PHUs that are tied to the
purchase of wetland credits. If a development project impacts wetlands within the PFA and the
developer elects to purchase wetland credits to offset wetland impacts, the developer also is purchasing
the number of PHUs associated with wetland credits at each bank to offset impacts to panther habitat at
no additional cost. Panther Island Mitigation Bank covers approximately 11.24 km2 contiguous with
Corkscrew Swamp Sanctuary in Collier County, and each wetland credit purchased also includes 33.65
PHUs. Corkscrew Regional Mitigation Bank covers approximately 2.56 km2 that straddle in Primary and
Secondary Zones north of CREW in Lee County, and each wetland credit includes 14.20 PHUs. Big
Cypress Mitigation Bank is comprised of two parcels covering 8.74 km2 of Primary Zone Habitat in
Hendry County, and each wetland credit includes 8.96 PHUs. Wetlands mitigation banks were
established primarily to sell credits to offset impacts to wetlands, and the cost of a wetland credit is
generally very high relative to the cost of a PHU. Therefore, developers who need to purchase wetland
credits are also able to offset some of their panther mitigation requirements because each wetland
credit includes a specific number of PHUs associated with the credit. However, developers that have no
wetland impacts but whose projects impact panther habitats would typically purchase the PHUs needed
from an established panther conservation bank rather than from a wetland mitigation bank due to the
high cost of purchasing PHUs from a wetland mitigation bank.

NRCS Easements: NRCS offers easement programs to landowners who want to maintain or enhance
their land in a way beneficial to agriculture or the environment. All NRCS easement programs are
voluntary. Current easement programs include the Agricultural Conservation Easement Program (ACEP)
and the Healthy Forests Reserve Program (HFRP). The ACEP provides financial and technical assistance
to help landowners conserve agricultural lands and wetlands and their related benefits. The easements
are designed to protect working agricultural lands and limit non-agricultural uses of the land. The ACEP
includes a Wetlands Reserve Easements component (formerly Wetlands Reserve Program) under which
NRCS helps to restore, protect, and enhance enrolled wetlands with the goal of achieving greatest
wetland function and optimum wildlife habitat. The HFRP helps landowners restore, enhance, and

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    157
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 182 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER


protect forest land resources on private lands through easements and financial assistance. Through the
HRFP, landowners promote the recovery of endangered and threatened species, improve plant and
animal biodiversity, and enhance carbon sequestration.

The Florida Natural Areas Inventory July 2018 database of lands managed for conservation contains
approximately 24 Wetlands Reserve Program easements covering 186.16 km2 of panther habitat (Figure
6.36). Most of these easements are along the eastern periphery of the Panther Focus Area in a region
where agricultural land uses predominate.

Tribal Lands: Lands of the Seminole Tribe of Florida and Miccosukee Tribe of Indians of Florida
encompass over 1416 km2 in south Florida. Of these, 469 km2 are used by panthers, and comprise 5
percent of the Primary Zone. These lands are not specifically managed for the panther and are largely in
cultivation. Nevertheless, the tribes employ prescribed fire and have invasive species management
programs that benefit panthers and their prey, including white-tailed deer.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   158
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 183 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.34. Conservation lands in South Florida in January 2019 categorized according to federal, state,
local, and private ownership in relation to the U.S. Fish and Wildlife Service Panther Focus Area and
suitable habitat identified by the South Florida Random Forest Panther Model (Frakes et al. 2015).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    159
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 184 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.35. Conservation lands in South Florida in January 2019 and lands proposed for acquisition
under the state's Florida Forever program.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     160
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 185 of 585
                                                      CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.36. USDA Natural Resources Conservation Service easements in South Florida in the range of
the Florida panther.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 161
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 186 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.5.2   Regulatory Programs

U.S. Endangered Species Act (ESA) Consultation: By way of a letter dated 19 February 2007, to the U.S.
Army Corps of Engineers (ACOE) Jacksonville Office, the USFWS’s Ecological Services Office in Vero
Beach, FL provided ACOE with a consultation area map and a Florida Panther Effect Determination Key.
These documents were to be used by ACOE wetlands regulatory staff as an aid in identifying
development projects that may have an effect on the Florida panther and result in the need for
consultation with the USFWS under the ESA. The consultation area map, referred to as the Panther
Focus Area (PFA; Figure 6.37), and the effect determination key have been in use since 2007 to ensure
that projects that potentially affect panthers and their habitats are reviewed in a coordinated fashion by
the USFWS and ACOE with the ultimate goal that development projects avoid, minimize, or mitigate
adverse impacts on panthers and their habitats.

The USFWS developed a panther habitat assessment methodology in 2006 and updated the
methodology in 2009 for use in assessing the panther habitat values of sites proposed for development
in the PFA. The methodology is used to: 1) calculate the value of panther habitats in terms of PHUs on
proposed development sites based on pre-development conditions; 2) calculate the value of panther
habitats on the site post-development; and 3) calculate mitigation requirements. Recognizing that not
all land cover types provide the same functional value as panther habitat, the USFWS and FWC biologists
developed a scoring system for major land cover types in South Florida based on the work of Kautz et al.
(2006), Cox et al. (2008), and Land et al. (2008). Forest cover types have high panther habitat values
ranging from 9.0 to 9.5; agricultural lands, pasturelands, herbaceous wetlands, and dry prairie habitats
have medium values ranging from 4.7 to 6.3; and water, urban lands, barren lands, salt marshes,
mangrove swamps, and areas dominated by exotic vegetation have low values ranging from 0 to 3.

The number of acres of each land cover type on a site prior to development is multiplied by its
corresponding land cover score, and the results are summed to calculate the number of PHUs, a
dimensionless metric of panther habitat value, on the site before development occurs. Similarly, the
number of acres of each land cover type on the site post-development is multiplied by the
corresponding land cover score, and the results are summed to calculate the number of PHUs on site
post-development. The impact of the project on panther habitat is determined by the difference in
PHUs on the site pre- and post-development.

The amount of mitigation required is determined by applying what is called a “base ratio” to the number
of PHUs of impact. As of 31 December 2018, a base ratio of 1.98:1 is applied to all projects that occur
within the Primary Zone, Secondary Zone, or Dispersal Zone of the PFA (Figure 6.37). Thus, the number
of PHUs of impact for projects in these three PFA Zones is multiplied by 1.98 to determine the number
of PHUs needed to mitigate impacts on panther habitats. However, if proposed projects are located in
the Secondary Zone but mitigation occurs in the Primary Zone or Dispersal Zone, the USFWS allows for
mitigation requirements to be reduced by a factor of 0.69 to encourage habitat conservation to be
directed to regions of higher panther habitat value. The base ratio for projects that occur north of the
Caloosahatchee River in the Primary Dispersal/Expansion Area have a base ratio of 1:1 for use in
calculating mitigation requirements, and the USFWS allows for mitigation of projects to occur either
north of the river or in the Primary or Dispersal Zones south of the river. No mitigation for impacts to



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      162
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 187 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


panther habitat is requested for projects that result in a net increase in PHUs on site after the project is
complete.

Under section 7(a)(2) of the ESA, other federal agencies proposing actions that may affect the panther
are required to consult with the USFWS. For example, the USFWS has provided consultation to the NPS
regarding proposed fire management operations in BCNP and FPNWR because those activities may
affect panthers and other listed species.

Many of the impacts from development projects have been compensated through habitat protection in
recent years. Using the evolving panther habitat methodology described above, the USFWS has helped
secure panther habitats in the Primary, Secondary, and Dispersal Zones. In addition to habitat
conservation, regulatory review allows other important compensation strategies to be considered and
implemented. For example, new roads can be configured to direct traffic away from panther habitat.
Moreover, to help offset projected increases in panther mortalities resulting from increases in traffic
within panther habitat, project sponsors can construct wildlife underpasses and associated fencing that
allow panthers to pass safely from one side of a road to another, thereby minimizing the likelihood of
vehicular collisions.

State Project Review: FWC provides comments regarding potential impacts to panther habitat to state,
regional, and local permitting agencies, including the Florida Department of Environmental Protection,
the Florida Department of Economic Opportunity, the state’s five Water Management Districts, and the
state’s 11 Regional Planning Councils under the authority of Chapter 20.331, Florida Statutes. FWC
comments generally provide technical guidance to agencies and developers for project designs that
avoid, minimize, or mitigate impacts on panthers and their habitats.

East Collier RLSA and Florida Panther Protection Program: The Rural Lands Stewardship Area (RLSA)
program applies to a rural landscape of eastern Collier County covering 792.58 km2 (Figure 6.38). The
RLSA program was established under the Collier County Future Land Use Element of the Growth
Management Plan. The objective of the program is the creation of an incentive-based land use overlay
system based on the principles of rural land stewardship found in Florida Statutes, Section 163.3177(11),
including environmental preservation, agricultural preservation, and smart growth development.

Through the RLSA program, Stewardship Sending Areas can be approved for preservation purposes,
creating credits to entitle Stewardship Receiving Areas, typically for the development of new towns,
villages, hamlets, and compact rural developments. The credit system was designed to incentivize
preservation of the most import environmental lands, including large, connected wetland systems and
significant habitat for listed species, including the panther, by awarding higher credit values for high
value preservation areas. As of February 2014, 201 km2 of areas designated as Stewardship Sending
Areas had been approved to supply credits to support developments in Stewardship Receiving Areas;
however, Stewardship Sending Areas can be modified or revoked by the landowner unless they are used
for a specific development. Thus far, the only those Stewardship Sending Areas that have been
committed to perpetual conservation were those used to generate credits for construction of the Town
of Ave Maria, which covered an area of approximately 69 km2.

Florida panthers are known to occur in the RLSA project area based on occurrence data collected by
FWC and by habitat modeling. Large areas of the RLSA have been modeled as potentially suitable
panther habitats (Kautz et al. 2006, Frakes et al. 2015). Approximately 606 km2 (76 percent) of the RLSA

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        163
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 188 of 585
                                                           CURRENT CONDITION OF THE FLORIDA PANTHER


are in the Primary Zone, 187 km2 (24 percent) are in the Secondary Zone, and 58 percent of the RLSA
was identified as suitable habitat by the South Florida RFP model (Frakes et al. 2015).

Despite the intent of the RLSA program to protect lands with high natural resource values, the program
does not exempt proposed developments from review for impacts to panthers and their habitats under
Sections 7 and 10 of the ESA and Florida Rule 68A-27.003, Florida Administrative Code. Consequently,
private property owners within the RLSA submitted a first draft of the Eastern Collier Multi-Species
Habitat Conservation Plan (HCP) and Notice of Intent for a draft Environmental Impact Statement (EIS)
to the USFWS on 22 April 2015. The USFWS issued a draft EIS and a revised Eastern Collier Multi-Species
HCP associated with the incidental take application of 11 landowners in the East Collier RLSA on 19
October 2018 (FWS-R4-ES-2018-0079-0001).

Habitat Conservation Plans: Habitat conservation plans (HCP) are planning documents required as part
of an application for an incidental take permit under Section 10(a)(1)(B) of the ESA. Incidental take
permits are required of anyone whose otherwise lawful activities will result in the incidental take of a
listed species. HCPs typically are required when a project is likely to affect a listed species or its habitat
but there is no nexus to permitting required under Section 7 of the ESA, such as federal wetlands
permitting. HCPs describe the anticipated effects of the proposed taking; how those impacts will be
minimized or mitigated; and how the HCP is to be funded.

As mentioned above, the USFWS issued a draft EIS and the Eastern Collier Multi-Species HCP associated
with the incidental take applications of 11 property owners of the East Collier RLSA on 19 October 2018.
The intent of the HCP is to provide regulatory approval for all projects that are developed according to
the provisions of the HCP rather than each property owner having to seek a separate take permit from
the USFWS for each individual project that might be proposed. In another example, the USFWS
approved an HCP for a new 0.97 km2 mixed use development in Collier County called City Gate in 2010.
The HCP offered strategies to mitigate impacts on panthers, including funding of construction of a new
underpass on CR 846 east of Immokalee to reduce collisions with motor vehicles, the preservation of
0.41 km2 of panther habitat in perpetuity, and the restoration of 1.31 km2 of panther habitat off-site in
South Florida.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          164
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 189 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.37. The Panther Focus Area is the consultation area map used to determine which proposed
development projects should be referred to U.S. Fish and Wildlife Service for consultation under the U.S.
Endangered Species Act.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    165
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 190 of 585
                                                     CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.38. Land cover types in the Rural Land Stewardship Area of eastern Collier County, FL in
relation to Florida panther habitat mapped by the South Florida Random Forest Panther Model (Frakes
et al. 2015).



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                166
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 191 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


6.5.3   Recovery Planning

Panther Recovery Implementation Team: In recognition of new opportunities to foster recovery of the
Florida panther, the USFWS formed a new Panther Recovery Implementation Team (PRIT) in 2013 to
begin implementing new possibilities to aid in the recovery of the panther. The PRIT consists of
members representing the USFWS, NPS, FWC, and other stakeholders with a mandate to facilitate those
recovery activities most needed to progress toward the goals identified in the panther recovery plan
(USFWS 2008b). The PRIT was tasked with identifying priority recovery actions that it would address
and then drawing on technical experts to develop detailed plans and methods to accomplish those
actions. The first meeting PRIT was held in August 2013, and PRIT has continued to meet several times
each year to review recovery actions and develop plans for implementing panther recovery. PRIT has
also appointed a Transportation Sub-team and a Recovery Criteria Sub-team to delve more deeply into
these two issues affecting panther recovery.

The Transportation Sub-Team was formed in recognition that collision with motor vehicles is a leading
cause of panther injuries and death, and that poorly planned roads can eliminate and fragment habitat
and result in sprawling development that increases the occurrence of human-panther conflicts. The
Transportation Sub-team consists of members from the USFWS, FWC, the Florida Department of
Transportation, non-governmental conservation organizations, the University of Central Florida, and the
Lee County Metropolitan Planning Organization. The sub-team, which has been meeting several times
each year since October 2014, was directed to consider a broad range of options, including engineered
alternatives, avoidance, mitigation, education, enforcement, and policy recommendations. The sub-
team has reviewed existing information on locations of panther roadkills, locations of wildlife crossings,
wildlife crossing and fencing guidelines, implementation of a Roadside Animal Detection System on US
41 to alert drivers to the presence of wildlife on the highway, and the use of speed limits to reduce
wildlife mortality on roads. Special focus has been on the identification of panther roadkill hot spots
and the targeting of specific road segments for possible construction of wildlife crossings in the future to
reduce panther roadkill mortality.

The Panther Recovery Criteria Sub-Team was tasked with reviewing and evaluating existing recovery
criteria as described in the 2008 Panther Recovery Plan. The sub-team was directed to address the topic
of recovery criteria using the best available science and following the most current USFWS guidance and
procedures for recovery planning, keeping in mind that recovery criteria should be specific, measurable,
achievable, realistic, and time-referenced. Options available for the sub-team were to recommend
keeping the existing recovery criteria as they are, suggesting edits or modifications to existing criteria, or
proposing new alternative criteria. The sub-team consists of members of the USFWS, FWC, the U.S.
Geological Survey, the University of Florida, and a consulting wildlife ecologist. The sub-team has met
several times since October 2015 to review existing recovery criteria, the recovery planning process,
results from population viability modeling, panther demographic parameters, and historical and future
habitat loss. A draft of possible revisions to recovery criteria has been submitted to PRIT for review and
comment and future sub-team meetings have been put on hold pending completion of the Florida
panther SSA.

6.5.4   Reducing Vehicle-Related Panther Mortalities

Wildlife Crossings and Underpasses: Wildlife underpasses to reduce panther vehicle collisions were
first constructed in South Florida beginning in 1985 and 1986 as part of two road improvement projects:

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         167
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 192 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


1) the conversion of 2-lane State Road 84 (Alligator Alley) into I-75, a limited access four-lane
expressway between Naples and Ft. Lauderdale; and 2) widening and realignment of State Road 29 (SR
29) north of I-75. These crossings successfully allow for the safe movement of panthers and prey,
including white-tailed deer, raccoons, and bobcats, beneath these busy roadways (Foster and Humphrey
1995, Land and Lotz 1996). Based on demonstrated use of wildlife crossings by panthers and prey, over
60 crossings and enhancements to existing bridges have been completed in other locations where
panther roadkill mortalities have been frequent (Figure 6.39). Some replacement bridges on roadways
(e.g., State Road 80) have been modified with ledges and fencing so that the crossing serves the dual
purposes of water conveyance and wildlife movements. Future road projects will be reviewed to
determine whether crossings or bridge modifications are needed to accommodate wildlife movements.

The PRIT Transportation Sub-team identified road segments in southwest Florida that were hot spots of
panther mortalities and injuries due to collisions with motor vehicles (USFWS 2020; Figure 6.40). The
road segments were categorized according to number of panther-vehicle collisions: 9+ collisions, 6–8
collisions, 3–5 collisions, and 1–2 collisions (USFWS 2020). The Sub-team exempted hot spots from the
final map in certain cases where collisions had occurred prior to installation of wildlife crossings and
fencing. These hot spot analyses and subsequent maps will be updated annually by FDOT. Swanson et
al. (2008) used least cost path modeling to identify key road segments that might be candidates for
future wildlife crossings to reduce panther roadkill mortalities (Figure 6.41). Similarly, Kautz et al. (2006)
used least cost path modeling to identify paths most likely to be taken by panthers dispersing into
Central Florida from occupied habitats in BCNP and FPNWR, and these least cost paths provide
additional information about places where roads might be crossed by panthers (Figure 6.41).
Collectively, the results of these studies are useful in making decisions about the possible locations and
cost-effectiveness of new wildlife crossings intended to reduce panther roadkill mortality.

Speed Zones and Enforcement: Reduced nighttime speed zones have been in effect along many roads
since July 1985 to minimize the likelihood of panther-vehicle collisions. Roads with nighttime speed
limits include sections of SR 29 and US 41. Nevertheless, compliance is a continuing problem, and
panther-vehicle collisions have occurred despite drivers following the legal speed limit. Speed zones are
established on the premise that slower speeds allow enough reaction time for both animal and driver to
avoid some collisions. However, speed zones are never as effective as the use of exclusionary fencing
and crossings to reduce panther collisions with motor vehicles. Further evaluation of the effectiveness
of these zones in reducing such collisions could help determine if adjustments to the speed limits are
warranted.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         168
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 193 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.39. Florida panther vehicle mortality records from 1972–2018 and existing wildlife crossings in
South Florida as of December 2018.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    169
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 194 of 585
                                                       CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.40. Florida panther roadkill hot spots identified by the Transportation Sub-Team of the Florida
Panther Recovery Implementation Team and existing wildlife crossings in southwest Florida as of 31
December 2019.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    170
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 195 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.41. Least cost path models and locations of potential wildlife crossings to reduce panther
roadkills based on Kautz et al. (2006) and Swanson et al. (2008).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     171
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 196 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


6.5.5   Agency Management Activities

Research and Monitoring: Panther research and monitoring has been a cooperative effort involving
personnel from FWC, the USFWS, BCNP, and ENP. The overall goal of research and monitoring has been
to complement historical data sets with ongoing, objective-driven research to provide the information
necessary to manage and conserve panthers. The objectives of research and monitoring have been
directed toward understanding the basic biology and habitat needs of the Florida panther, such as
movements, home range size, habitat use, morphological descriptions, food habits, mortality causes,
and reproduction. Panther prey studies, including population dynamics, deer herd health and
reproduction, and deer mortality have also been accomplished. FWC’s current panther research and
management priorities include, but are not limited to: monitoring genetic variation and correlates of
inbreeding; evaluation of the long-term impacts of genetic restoration; assessing the presence and
impacts of diseases and parasites; delineating statistically robust methods to estimate panther
population size; evaluating the utility of new GPS collar technology; assisting with the development of
new panther recovery criteria; minimizing loss of existing panther habitat; addressing human-caused
and other mortality factors; and reducing human-panther conflicts (FWC 2017). BCNP’s research and
monitoring work has focused on determining the area’s potential to support panthers, evaluating the
effects of restoration projects and management strategies on the panther population within BCNP, and
the extent of connectivity with the panthers in ENP.

FWC began research on the panther with the development of a Florida Panther Record Clearinghouse in
1976. This was the first step in identifying whether this species existed in Florida and where it occurred.
A total of 4620 observations were reported to the Clearinghouse, but only 91 of these were confirmed
to be a panther (Belden et al. 1991). The majority of the confirmations came from Collier, Hendry, and
Miami-Dade counties. FWC efforts to capture, radio-collar, and monitor panthers with fixed-wing
aircraft began in 1981. Monitoring of radio-collared panthers in ENP and BCNP by fixed-wing aircraft has
been accomplished by NPS personnel since 1986 and 1988, respectively. However, monitoring of
panthers outfitted with radio-collars in ENP ceased in 2008. Since that time, the status of the population
in ENP has been monitored with trail cameras. Beginning in 2003, BCNP was permitted by the USFWS
and FWC to conduct panther captures and conduct aerial monitoring of radio-collared panthers within
BCNP boundaries south of I-75. Technological advances in Global Positioning System (GPS) technology
in the 1990s offered new opportunities for monitoring wildlife over the entire 24-hour period with
increased frequency of observations and higher spatial accuracy than afforded by VHF technology. FWC
has been deploying GPS-collars on some panthers since in 2002, yielding new information on habitat use
and movements not available previously (Land et al. 2008, Onorato et al. 2011, van de Kerk et al. 2015,
Criffield et al. 2018).

Capture, handling, and biomedical sample collection by FWC and NPS follow established protocols to
ensure safety and thoroughness (FWC 2017). Radio-collared panthers are typically monitored by fixed-
wing aircraft three times per week to determine location, habitat use, movements, interactions, births,
and deaths. Several types of GPS collars have been deployed by both FWC and NPS to obtain data on
nocturnal movements and habitat use by panthers (Land et al. 2008, Onorato et al. 2011).

Genetic Restoration: Concurrent with the field studies in the late 1980s and early 1990s, genetics work
was being conducted by Dr. Stephen O'Brien of the National Cancer Institute, and collaborations
between panther researchers and the Conservation Breeding Specialists Group were initiated.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      172
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 197 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


Consultations with these experts on small population dynamics and inbreeding depression yielded a
strategy to manage the panther population via genetic restoration in September 1994 (Conservation
Breeding Specialist Group 1994). The level of introgression needed to reverse the effects of inbreeding
and genetic loss required the release of 8 female Texas pumas into areas occupied by Florida panthers
(Conservation Breeding Specialist Group 1994). These 8 female Texas pumas were released in 1995, 5 of
which produced a minimum of 20 offspring (Land et al. 2004). None of the original 8 Texas pumas
remain in the wild today (Land et al. 2004).

From 1995 through 2003, most panther capture and monitoring activities were directed towards
evaluating genetic restoration. A preliminary assessment of genetic restoration suggested that the
desired 20 percent introgression level had been achieved, but the contributions were primarily from two
of the released females (Land and Lacy 2000). The genetic restoration program appears to have been
successful as determined by improved genetic diversity, improved sperm quality, improved kitten
survival, improved survival for both sexes of adults, an increasing population, and an expansion in
occupied range (Hostetler et al. 2010, Johnson et al. 2010, Hostetler et al. 2013).

Interagency Florida Panther Response Plan: An Interagency Florida Panther Response Team (Response
Team) was established by FWC, the USFWS, and NPS in 2004 to respond to human-panther interactions
(USFWS 2008a). The Response Team developed the Interagency Florida Panther Response Plan
(Response Plan) to provide guidelines for responding to human-panther interactions and conflicts.
Included in the plan is an outreach strategy that provides goals and objectives for educating the public.
The Response Plan has been the guiding document for the Response Team since February 2005. An
Environmental Assessment for the Response Plan was finalized in October 2008. The Response Plan
requires the Response Team to meet at least once each year to review the past year’s activities and
suggest revisions to the Response Plan, if needed. A report documenting the previous year’s activities is
published annually.

The Response Plan identifies five classes of human-panther interactions: sighting, encounter, incident,
threat, and attack. Panther depredation (i.e., preying on domestic animals) is addressed separately
because it does not involve direct interaction with a human. Definitions, associated panther behaviors,
risk factors, and team response to each type of interaction are detailed in the Response Plan. An
interaction or depredation is tallied when physical evidence, examined by experienced personnel
knowledgeable in interpreting panther sign, supports the conclusion that a panther was involved. Only
those interactions or depredations where physical evidence of panther activity was found and that
occurred within the calendar year are documented in each annual report. Actions taken to resolve a
situation for the benefit of human or panther safety are also reported.

Under certain conditions, panthers can be relocated or permanently removed from the wild. A panther
that has wandered into an urbanized area where the location itself could cause harm to the panther or
where the panther could pose a potential safety risk can be captured and relocated to a more suitable
area. However, any panther that is deemed a threat to public safety or has aggressively made physical
contact with a person will be permanently removed from the wild.

Funding: Since 1990, Florida panther research and management by FWC has been funded through the
Florida Panther Research and Management Trust Fund, which receives its monies from the purchase of
“Protect the Panther” specialty license plates. More than one million panther license plates have been
issued, generating over $40 million for panther conservation. All of the proceeds from the annual

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    173
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 198 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


$25.00 donation per license plate is deposited into this trust fund. To obtain the money, FWC must
submit a budget request each year to the Florida Legislature for approval. ENP and BCNP researchers
support their panther work within their annual budgets or through special funding requests.

Maintenance of a Captive Population: Between 2000 and 2018, FWC captured 25 panthers in response
to surviving a vehicle collision (n = 6), orphaning (n = 15), or a management situation where a panther
was extracted from the wild because immediate action was deemed necessary (n = 4). Eight of the 25
were deemed non-releasable due to their very young age at capture or for health reasons and were
placed into permanent captivity.

Currently, White Oak, ZooTampa at Lowry Park (ZooTampa), and the Naples Zoo at Caribbean Gardens
(Naples Zoo) maintain the facilities necessary to provide short-term and long-term convalescence and
rehabilitation for injured or diseased panthers that eventually are returned to the wild. These facilities,
along the Palm Beach Zoo, Zoo Miami, Jacksonville Zoo and Gardens, and Homosassa Springs Wildlife
State Park, also house captive panthers that will not be returned to the wild for various reasons and are
used as a tool to familiarize the public with panthers and their conservation needs. These panthers can
serve as a safety net in case of some unforeseen threat to the wild population that would require
resumption of a captive breeding program (see Section 6.2).

6.5.6   Public Education and Outreach

Panther Web Sites: A multidisciplinary interactive website was launched and funded by FWC in 1999
with proceeds of the Florida panther license plate. The current site (http://myfwc.com/panther)
includes information on the natural history of the panther, habitat requirements, threats to survival, and
research, management, and conservation efforts. The site also contains links to report injured or dead
panthers to the FWC, to report sightings of panthers, and to purchase “Protect the Panther” license
plates. The USFWS also maintains the following websites that provide information on the panther:
South Florida Ecological Services Field Office
(https://www.fws.gov/verobeach/ListedSpeciesMammals.html#fp); USFWS Southeast Region
(https://www.fws.gov/southeast/wildlife/mammals/florida-panther/); and the FPNWR
(https://www.fws.gov/refuge/florida_panther/).

Education and Outreach Initiatives: A variety of panther outreach initiatives have been undertaken in
recent years to assist residents in southwest Florida learn to live safely and responsibly with the Florida
panther and other wildlife. The USFWS coordinates a panther outreach team that collaborates to
produce informational materials and hold outreach events about living and recreating safely in panther
habitat. The USFWS, NPS, and FWC have led “Living with Panther” town hall meetings in communities
experiencing human-panther interactions. Many members of the outreach team participated in the
construction of predator-proof enclosures for livestock and pets to demonstrate proper husbandry for
domestic animals while avoiding attracting predators. In recent years, a number of celebrations, field
trips, educational talks, and other events have been held each March in southwest Florida to coincide
with Save the Florida Panther Day (Florida Statute 683.18 designates the third Saturday of March of
each year as “Save the Florida Panther Day”).

Conservation Organizations: Several conservation organizations are working to conserve and recover
the panther through education, outreach, and advocacy. These include Defenders of Wildlife
(https://defenders.org), Friends of the FPNWR (https://floridapanther.org), National Wildlife Federation

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       174
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24      Page 199 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER


(www.nwf.org) and its state affiliate the Florida Wildlife Federation (www.fwfonline.org), TNC
(www.nature.org), Audubon Florida (www.fl.audubon.org) and its state chapter Audubon of Western
Everglades (www.audubonwe.org), Naples Zoo (www.napleszoo.org), ZooTampa at Lowery Park
(https://zootampa.org), and the Conservancy of Southwest Florida (www.conservancy.org). The
programs of these organizations encompass public education and awareness initiatives, habitat
conservation, transportation and land-use planning, compensation for livestock depredation, landowner
incentive initiatives, and projects aimed at fostering human-panther coexistence.

6.6       CURRENT CONDITION SUMMARY

6.6.1      Current Resiliency

Resiliency describes the panther’s ability to withstand environmental variation and disturbance events.
This resiliency is associated with abundance, survival, population growth rate, genetic heterogeneity,
and habitat quality. Environmental variation includes normal year-to-year variation in rainfall and
temperatures, for example, as well as unseasonal weather events. Disturbances (i.e., discrete events
which cause substantial changes to the structure or resources of an ecosystem) are stochastic events
such as fire, flooding, tropical cyclones, and disease outbreaks. Simply stated, resiliency is having the
means to recover from the impacts of such disturbances and persist over time (viability). To be resilient,
the panther must have healthy populations that are able to sustain themselves through good and bad
years. Panther resiliency would increase with improvements in population health, population size and
an increase in the area occupied by the population. Resiliency would also be affected by the degree of
connectivity within occupied habitat. A population must be resilient to contribute to redundancy or
representation.

Florida panthers have shown and continue to show resiliency in the face of many pressures. They
survived as the only functioning population of puma in eastern North America despite constant
persecution to eliminate them from the landscape. Since state and federal laws afforded them legal
protections, panther numbers slowly increased until genetic restoration efforts improved population
health thereby allowing more rapid growth of the population. The current panther population, at least
5-fold larger in size when compared to the population 3 decades ago, has greater resiliency today than it
has exhibited for likely well over 100 years.

Characteristics that contribute to panther resiliency include:

      •    They are long-lived and can have a reproductive life of over 10 years;
      •    Reproduction can occur year-round.
      •    Females can produce new litters quickly after the loss of a litter.
      •    Kitten survivorship is density-dependent so if panther numbers were to drop, kitten survivorship
           would increase until the population again entered a stage of environmental resistance that
           caused survival to decline.
      •    Panthers are mostly solitary in nature with few interactions outside of a family group; limits
           potential of disease transmission.
      •    Panthers can utilize a wide range of habitat types if they provide prey habitat and quality cover
           for stalking, denning, and rest sites.
      •    Panther numbers appear to be stable despite losing 20–30 individuals annually to vehicle
           strikes.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       175
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 200 of 585
                                                         CURRENT CONDITION OF THE FLORIDA PANTHER


    •   The source-sink population structure provides a secure, better protected core sub-population
        that would be less prone to year-to-year fluctuations of population sinks.
    •   Pumas have the capacity to recover from large reductions in population size once causes for
        decline are remedied (Lindzey et al. 1992, Logan and Sweanor 2001) or to repopulate an area
        from a few individuals (Jenks 2018).

As the population increased to its current level, panthers began re-occupying habitats where they had
been absent and these areas are more prone to development (i.e., habitat loss) and human-panther
conflicts. More panthers have been killed illegally and others are found with evidence of old gunshot
injuries. Depredations on pets, hobby livestock and cattle have increased as panther numbers increased
and these events may erode panther tolerance over time. Although there is no evidence to show that
these threats are reducing panther resiliency today, changes in public attitudes and agency
management approaches to these issues may impact future resiliency.

6.6.2   Current Redundancy

Redundancy describes the panther’s ability to withstand catastrophic events, which is related to the
number, distribution, and resilience of populations. Redundancy spreads risks among multiple
populations (or subpopulations) and ensures that the loss of a single population (or subpopulation) does
not lead to the loss of representation. A sufficiently widespread single population may achieve the same
result as multiple populations by reducing the likelihood that the entire population is affected
simultaneously by a catastrophic event. Furthermore, the more diverse and widespread that the
population is, the more likely it is that the panther’s adaptive diversity will be preserved. Having
multiple panther subpopulations would help preserve the breadth of adaptive diversity, and hence, the
evolutionary flexibility of the panther. Given sufficient redundancy, single or multiple catastrophic
events are unlikely to cause the panther’s extinction. Thus, the greater redundancy a panther has, the
more viable it will be.

Panthers are currently distributed from the extreme southern portions of the peninsula into Central
Florida up to Interstate 4 (I-4) and occasionally further north, but these panthers are typically dispersing
males from the core breeding population in South Florida. Panthers currently exist as a single breeding
population located in South Florida and most reproduction occurs south of the Caloosahatchee River on
>9000 km2 of habitat. This widespread distribution, coupled with the solitary nature of panthers with
limited interactions among conspecifics, has the potential to reduce the impact of catastrophic events
that may occur (e.g, disease outbreaks and major weather events). Panthers exist in a source-sink
population configuration and all these features indicate that panthers are redundant enough to
withstand catastrophic events.

6.6.3   Current Representation

Representation describes the panther’s ability to adapt to changing environmental conditions and is
characterized by the breadth of genetic and ecological diversity within and among populations. The
greater this adaptive diversity the more viable the panther will be. Maintaining adaptive diversity
includes conserving both the panther’s ecological and genetic diversity. Ecological diversity is the
physiological, ecological, and behavioral variation exhibited by a species across its range. Genetic
diversity is the number and frequency of unique alleles within and among populations. By maintaining


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        176
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 201 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


these two sources of adaptive diversity across a species’ range, the responsiveness and adaptability of
the panther over time is preserved, which increases overall viability. Representation is therefore
measured by the breadth of genetic diversity and ecological diversity within and among populations.
Representation is considered a proxy for the adaptive capacity of the species over time. Panther
representation is probably higher than it has been for well over a century given the rise in panther
numbers, the ability of male panthers to disperse widely, the documented expansion of female
distribution over time and a genetic management strategy to ensure population genetic health.

6.6.4   Current Resistance

Resistance describes the sociological pressures that are exerted either on the species (i.e., human
unwillingness to accept panthers leading to direct persecution) or on the management of the species
(i.e. varying degrees of support for translocations or population re-establishment). There is a range of
resistance among different stakeholders because of the “mixture of tolerance of problems and desires
for benefits from wildlife” that constitute Wildlife Stakeholder Acceptance Capacities (WSAC; Carpenter
et al. 2000:6). Resistance is more of a qualitative rather than a quantitative measure. It can range from
low resistance where people desire to see more panthers on the landscape to high resistance where
people do not want them near their homes or livestock operations.

Panther resistance takes on different forms throughout Florida based on the current distribution of
panthers. Most panthers occur south of the Caloosahatchee River and they have been present there
since well before pre-Columbian times. People accept that panthers are present south of the river and
that helps to reduce resistance. In GGE, Collier County, some residents express concerns about living
with panthers, particularly those that have experienced depredations, but a greater number of residents
had positive views of panthers (Rodgers and Pienaar 2017). Ranchers are concerned with the economic
losses inflicted by panther depredations on calves and these concerns elevate resistance (Kreye et al.
2017b). This resistance could be lowered if the USDA Farm Service Agency’s Livestock Indemnity
Program would be more widely and easily applied in Florida to compensate ranchers for these losses.
Resistance is also lowered because of outreach efforts and the fact that panther stories, both positive
and negative, are regular items in local media. These public relations efforts reinforce the fact that
panthers are part of the South Florida landscape. There is also an acceptance by private landowners
that a regulatory framework is in place to help assure compliance with the ESA if changes in land use are
proposed. This acceptance also helps to reduce resistance because it is viewed as a cost of doing
business in South Florida.

In Central Florida, from the Caloosahatchee River north to I-4, there is a recognized panther presence
but they exist at very low densities. These low densities contribute to lower panther resistance because
the probabilities of people experiencing negative interactions or economic losses are much lower than
for people south of the river.

Evidence of panther presence is sparse to non-existent in Florida north of the I-4 corridor and extending
into the panhandle. As a result of having few to no panthers, current resistance to this degree of
presence is very low. However, translocation studies conducted in 1988–1989 and 1993–1995 (Belden
and Hagedorn 1993, Belden and McCown 1996) demonstrated that the capacity for increased resistance
to panthers on the landscape among some stakeholders persist, in spite of the absence of large
carnivores on the landscape for multiple generations (Figure 6.42).


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     177
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 202 of 585
                                                        CURRENT CONDITION OF THE FLORIDA PANTHER


The Third Revision of the Florida Panther Recovery Plan (USFWS 2008) established a recovery strategy of
expanding the South Florida panther population and reintroducing at least two additional viable
populations within the historic range of the Florida panther, an area identified in the Plan as including
the southeast states from Arkansas eastward through South Carolina. In response to the 2006 Federal
Register notice (71 FR 5066) soliciting public comment on the draft version of the Plan, the USFWS
received official statements from state wildlife agencies expressing concerns, and in some cases
opposition (e.g., Arkansas Game and Fish Commission), to the reintroduction of panthers outside of
Florida and the potential reintroduction sites in the southeast identified by Thatcher et al. (2013; see
Chapter 6.3.5) and included in the Plan, especially in light of the unresolved questions on taxonomy and
the subjective delineation of the historic range boundaries of the federally-listed subspecies (Appendix
C). The Director of the Missouri Department of Conservation expressed support of the conservation
goal of recovering the species in Florida but opposed any release of Florida panthers in Arkansas given
the likelihood of reintroduced panthers and their offspring moving into Missouri via the shared Ozark
Mountain range. The Missouri Department of Conservation also opposed the Plan as drafted and any
future reintroduction programs due to the unresolved taxonomic classification and the arbitrary nature
of the historic range delineations.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    178
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 203 of 585
                                                          CURRENT CONDITION OF THE FLORIDA PANTHER




Figure 6.42. A reproduction of a cartoon illustrating the concept of “Resistance” originally published in
the Gainesville Sun on August 10, 1996 in response to the North Florida Panther Reintroduction Study.
Cartoon was re-drawn by the original artist Jake Fuller, a fifth-generation Floridian, as a courtesy to U.S.
Fish and Wildlife Service and the Florida Fish and Wildlife Conservation Commission for use in the
Florida Panther Species Status Assessment.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        179
  Case 1:21-cv-00119-RDM                 Document 149-2           Filed 01/12/24       Page 204 of 585
                                                             FUTURE CONDITION OF THE FLORIDA PANTHER


                       CHAPTER 7        FUTURE CONDITION OF THE FLORIDA PANTHER

7.1       POPULATION VIABILITY ANALYSIS

      •    Population viability analyses (PVA) have the potential to inform conservation planning for the
           Florida panther.
      •    PVA models can assist with: assessing population growth rate (λ); quantifying the sensitivity and
           elasticity of λ to varied demographic parameters; determining the probability of and time to
           extinction; and prioritizing future data collection programs.
      •    There have been six separate PVA models developed for Florida panthers since 1989.
      •    Shortcomings of early PVA modeling attempts including a reliance on expert opinion and too
           many arbitrary assumptions, among other issues.
      •    Suggestions of the Scientific Review Team in 2003 initiated a new round of PVA analyses that
           would attempt to improve on past modeling efforts.
      •    The efforts of Hostetler et al. (2013) and van de Kerk et al. (2019) utilized the long-term datasets
           collected on panthers to develop robust estimates of demographic parameters that would
           subsequently be used in PVA models.
      •    The matrix based PVA model of Hostetler et al. (2013) utilized data collected from 1981–2006.
      •    This model revealed a population growth rates (λ) indicative of a growing population; λ was
           most sensitive to estimates of survival, especially kittens; and the probability of quasi-extinction
           was 7.2 percent.
      •    Several hypothetical scenarios were assessed regarding genetic restoration in 1995 and
           projected population growth rates with and without the addition of Texas pumas.
      •    The probability of quasi-extinction from 1995–2010 was 9.8 percent for an admixed population
           but increased to 44.5 percent if the population was solely comprised of canonical panthers (no
           genetic restoration).
      •    The van de Kerk et al. (2019) PVA model followed up on the work for Hostetler et al. (2013) and
           included data from 1981–2013.
      •    Analytical techniques of van de Kerk et al. (2019) were similar in many respects with Hostetler et
           al. (2013). Additional analyses involved the implementation of an individually based PVA model
           (IBM) as well as assessing varied genetic introgression management scenarios for effectiveness
           and cost.
      •    This model revealed λ indicative of a growing population; λ was most sensitive to estimates of
           survival, especially kittens; the probability of quasi-extinction was 1.4 percent.
      •    The probability of quasi-extinction was substantially higher when incorporating the impacts of
           genetic erosion 17 percent.
      •    Assessing varied introgression scenarios via the introduction of western pumas into the Florida
           population that accounted for genetic improvements and cost revealed that releasing 5 pumas
           every 20–40 years would help decrease the probability of quasi-extinction by 26–42 percent in
           the future.
      •    While the panther population in South Florida is noted as being viable for the next 100 years
           under current conditions, the impact of genetic erosions substantially reduces said viability if
           genetic introgression in not implemented on a periodic basis.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          180
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 205 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER




Population viability analyses (PVA) are analytical techniques that have the potential to inform
conservation planning for threatened and endangered species by identifying threats to and projecting
the probability of persistence of a population into the future (Shaffer 1983, Gilpin and Soulé 1986, Boyce
1992). The PVA framework is capable of providing estimates of the population growth rate (λ), and
information on sensitivity and elasticity of λ; this information can in turn be used for prioritizing future
data collection initiatives to ensure the most informative data are available for subsequent PVA
modeling efforts. These analyses inherently have varied assumptions that can include demographic and
environmental stochasticity as well as density dependence, among others. Given these factors, it’s
evident how PVA can play an important role in many projects assessing the potential of recovery for
species protected under the ESA, including red wolves, Mexican wolves, gray wolves, and Florida
panthers.

As with many analytical techniques available to wildlife researchers, the types of PVA models applied to
endangered species have evolved over the years. This is certainly the case when we review the history
of this analytical technique as applied to the Florida panther. Since 1989, there have been six different
attempts at developing PVA models using varied sources of panther demographic and genetic data (Seal
and Lacy 1989, Captive Breeding Specialist Group 1992, Maehr et al. 2002a, Root 2004, Hostetler et al.
2013, van de Kerk et al. 2019). All have attempted to use the best available data at the time. Some of
the initial PVA models (Seal and Lacy 1989, Captive Breeding Specialist Group 1992, Maehr et al. 2002a,
Root 2004) have subsequently been criticized as having relied on expert opinion or consensus to settle
on demographic parameter values used in the modeling or that they required too many arbitrary
assumptions and lacked sufficient sensitivity analyses (Beier et al. 2003, Beier et al. 2006). Additionally,
early attempts at PVA modeling for panthers relied on the use of canned software (e.g., RAMAS GIS,
VORTEX) that often have limited flexibility and require large number of arbitrary assumptions. These
latter issues were deemed as potentially problematic by an independent team of experts (Scientific
Review Team [SRT]) commissioned by the USFWS and FWC to conduct an independent critical review of
literature related to the ecology and management of the panther (Beier et al. 2003). This subsequently
led to a renewed focus on re-initiating PVA analyses in 2006 that would consider lessons learned in
previous attempts while also deriving robust estimates of varied demographic parameters to avoid the
pitfalls of using consensus approaches or expert opinion.

Revised estimates of several demographic parameters that play an integral role in PVA modeling were
necessary. These included assessments of: 1) adult, subadult and kitten survival; 2) cause-specific
mortality; 3) female reproductive performance (e.g., annual probability of reproduction, average
number of kittens produced per year); 4) genetic parameters such as ancestry (canonical, F1 admixed,
backcrosses) and individual heterozygosity. Panther research has benefited from a continuous stream
of data for >35 years and this has provided the necessary information to determine robust estimates of
varied demographic parameters. Subsequently, peer-reviewed manuscripts have been published on
survival rates (Hostetler et al. 2010, Benson et al. 2011, van de Kerk et al. 2019), female reproduction
parameters (Hostetler et al. 2012, van de Kerk et al. 2019) and genetic variables (Johnson et al. 2010,
van de Kerk et al. 2019). These estimates have then been incorporated into the most recent PVA
modeling efforts (Hostetler et al. 2013, van de Kerk et al. 2019) to avoid any reliance on demographic
parameter values obtained by consensus or via expert opinion. Whereas the models of Hostetler et al.
(2013) and van de Kerk et al. (2019) share similarities, they differ in: 1) the temporal breadth of data

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       181
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 206 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


that were analyzed; and 2) the type of PVA models that were applied. Hostetler et al. (2013) applied a
matrix-based PVA, which basically assumes that all members within a stage (e.g., age group) are affected
equally by demographic variables specific to that stage. The PVA models applied by van de Kerk et al.
(2019) included both matrix-based and an individually based models (IBM), the latter of which allows for
more complexity with regards to the incorporation of differences between individuals due to factors
such as genetics as well as interactions between them. The Hostetler et al. (2013) and van de Kerk et al.
(2019) PVA models did not take into account: large-scale habitat loss or other detrimental
anthropogenic activities (e.g., increased vehicle-related mortality due to highway expansion), climate
change, probability of natural immigration, or catastrophes.

7.1.1   Hostetler et al. (2013) PVA

The groundwork laid to initiate the PVA modeling of Hostetler et al. (2013; hereafter labeled as
Hostetler et al. PVA) was directly related to comments provided by the SRT (Beier et al. 2003). The
aforementioned shortcomings of early PVA attempts resulted in a renewed effort to obtain robust
estimates of multiple demographic parameters using data collected from 1981–2006. To determine the
best analytical techniques to apply to these data for demographic parameters and PVA modeling, FWC
organized a two-day workshop in 2007 that involved agency panther biologists as well as academic
quantitative ecologists and geneticists. Besides allowing for development of collaborative relationships,
this workshop provided researchers that were leading the analysis a variety of different perspectives
from some of the top researchers in the fields of demographic analyses and PVA modeling. In the
ensuing 6 years, the collaboration of FWC and NPS staff with University of Florida researchers led to the
publication of three manuscripts that provided comprehensive estimates of demographic parameters
that would play integral roles in the Hostetler et al. PVA (Hostetler et al. 2010, Benson et al. 2011,
Hostetler et al. 2012).

The main objectives of the Hostetler et al. PVA project were to assess the impacts of genetic restoration
on population dynamics and persistence. This analysis had the potential to provide additional support
to the work of Johnson et al. (2010) in terms of how genetic restoration played an integral role in the
improvements observed in the population since the release of the Texas pumas in 1995. Specifically, the
main goals of the Hostetler et al. PVA were:

    1. Estimate λ and probability of extinction.
    2. Perform elasticity and sensitivity analyses of λ and measures of population persistence to vital
       demographic parameters.
    3. Estimate λ for a hypothetical population comprised solely of canonical panthers.
    4. Assess the observed difference in λ between the overall population (admixed and canonical) and
       solely the canonical population.
    5. Assess λ and probability of extinction with and without genetic restoration scenarios.


Estimates of λ, sensitivity analyses, and probability of extinction for current population

The population growth rate (λ) estimates for the Florida panther were all >1, whether deterministic
(1.04, 95% CI 0.95–1.14; no stochasticity incorporated) or stochastic (1.03, 0.95–1.11), which
substantiated that the panther population was growing at an annual rate of 3–4 percent in the post-
genetic restoration era (Hostetler et al. 2013). These results correlate well with minimum count data


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     182
   Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24       Page 207 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


from 1995–2008, that also indicated a steady increase in the population during that period (McBride et
al. 2008). Estimates of λ were shown to be most sensitive to changes in survival rates of prime adults,
subadults, and kittens. These sensitivity analyses highlight the importance of continuing to collect those
survivorship data to effectively monitor recovery of the Florida panther. The probabilities of extinction
(population size N < 1) and quasi-extinction (selected as Ncrit = 10 as this was proximal to the minimum
size when the population was at its nadir [Nowak and McBride 1975, Culver et al. 2008]) within the next
100 years were 5.7 percent (0–45.8) and 7.2 percent (0–60.6), respectively (Hostetler et al. 2013). These
probabilities of extinction were most sensitive to the mean and variance of kitten survival. In
combination, these results substantiate that the imminent extinction of the panther had been
forestalled by genetic restoration implemented in 1995.

Estimates of λ, sensitivity analyses, and probability of extinction for scenarios involving a hypothetical
canonical panther population

To further assess the impact of genetic restoration, the Hostetler et al. PVA conducted a series of
analyses using estimates of demographic parameters that were specific to canonical Florida panthers.
The estimates of the deterministic λ(c) for a hypothetical population that would be comprised solely of
canonical Florida panthers in 1995 was 0.95 (0.83–1.08), demonstrating that without genetic
restoration, the population would have declined at a rate of 5 percent per year (Hostetler et al. 2013).
The difference of 0.1 between λ and λ(c) was shown to be mainly due to kitten survival probability being
lower in canonical panthers.

Extinction probabilities (N < 1 panther) for a starting population size of 26 panthers (minimum count of
population in 1995 inclusive of 8 Texas female puma released that year) for a period from 1995 to 2010
was 0.4 percent (0–1.5) and 6.9 percent (0.1–28.5) for the overall population (comprised of admixed and
canonical panthers) and a hypothetical population comprised solely of canonical panthers, respectively.
These values substantially increased when assessed as the probability of quasi-extinction (Ncrit = 10
panthers) for the same period-of-time: 9.8 percent (0.2–33.2) overall population; 44.5 percent (3.2–
94.4) hypothetical canonical population (Hostetler et al. 2013). These hypothetical modeling scenarios
help to further substantiate how improved demographic performance associated with genetic
restoration had a substantial impact on increasing the probability of recovery for the Florida panther.

7.1.2   van de Kerk et al. (2019) PVA

The compendium of papers associated with the Hostetler et al. PVA ultimately led to additional ideas on
how to model the viability of the panther population. The PVA modeling of van de Kerk et al. (2019;
hereafter labeled as van de Kerk et al. PVA) was initiated in 2012. The van de Kerk PVA built on the work
of Hostetler et al. (2013) via an update of some key demographic parameters that were utilized in the
Hostetler et al. PVA (1981–2008) using additional field data collected 2009–2013. These updated
demographic parameters would then be incorporated into both matrix and individual-based PVA
models, the latter providing an opportunity to assess the impact of genetics on population viability at
both the individual and population level. Lastly, this project proposed to assess the implementation of
varied genetic management scenarios on the future persistence of the panther population using
individual-based population models, the results of which can provide managers with a conservation
roadmap moving forward.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        183
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 208 of 585
                                                            FUTURE CONDITION OF THE FLORIDA PANTHER


While van de Kerk et al. (2019) focuses on additional objectives besides a PVA, herein, we focus solely
on analyses directly related to the PVA. Specifically, the objectives for the van de Kerk et al. PVA were:

    1. Derive deterministic and stochastic annual population growth rates (λ) for the panther
       population using matrix-based population models applied to panther demographic data
       collected from 1981–2013.
    2. Assess sensitivity and elasticity of λ to changes in the rates of varied demographic parameters.
    3. Calculate probabilities of quasi-extinction using both matrix and individually based population
       models.
    4. Estimate the benefits and costs of varied future genetic management scenarios on the panther
       population.
Annual population growth rates, sensitivity analyses and probabilities of quasi-extinction

The matrix population model deterministic and stochastic λ were 1.06 (0.99–1.14) and 1.04 (0.72–1.41),
respectively (van de Kerk et al. 2019). The fact that these values were both >1 indicates the data utilized
in these models was collected during a period of population growth. Similar to what was observed in
the Hostetler et al. PVA, population growth rates in the van de Kerk et al. PVA were most sensitive to
changes in prime adult female and kitten survival rates.

Cumulative probabilities of quasi-extinction (Ncrit = 10 panthers) over the next 100 years assessed via
the population estimates of McClintock et al. (2015) were 1.4 percent (0–0.8; 5th and 95th percentiles)
and 1.3 percent (0–0.6) for the IBM and matrix model, respectively (Figure 7.1). These values are lower
than the probability of quasi-extinction (7.2 percent) reported in the matrix population model of the
Hostetler et al. PVA. Lower probabilities of quasi-extinction than those reported by Hostetler et al.
(2013) for comparable scenarios are perhaps a consequence of the changes in estimates of abundance
(McBride et al. 2008, McClintock et al. 2015), although pinpointing an exact cause is difficult.

van de Kerk et al. (2019) completed additional analyses on the probability of quasi-extinction by
assessing the impacts of genetic erosion under a no-introgression scenario over the next 100 years. In
those simulations, the probability of quasi-extinction over the next 100 years was substantially greater
than models that incorporated periodic introgression. The probability of quasi-extinction increased to
13 percent (0–99) when utilizing the minimum count data of McBride et al. (2008) and 17 percent (0–
100) when applying population estimates from McClintock et al. (2015). These results highlight the
importance of incorporating genetics when analyzing the viability of small, isolated populations such as
the Florida panther.

Benefits and costs of future genetic management scenarios

Genetic introgression is a management tool that has been repeatedly demonstrated as having played a
critical role in averting the extinction of the Florida panther (Johnson et al. 2010, Onorato et al. 2010,
Hostetler et al. 2010, van de Kerk et al. 2019). Nevertheless, even given the improvements to the
population since 1995, panthers remain completely isolated from any other breeding population of
pumas in North America. This lack of gene flow with conspecifics is expected to eventually impact the
population in the future via the loss of genetic variation, genetic drift, an increase in the probability of
inbreeding, and subsequent population decline. This scenario highlights the need to ask not whether
genetic introgression will be needed in the future, but when and how will it be implemented.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        184
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 209 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


The van de Kerk et al. PVA applied an IBM that accounted for individual genetics (e.g., heterozygosity
levels) to determine fates of individuals while parameterizing this model using long-term demographic
and genetic data. It assessed 13 different future genetic management scenarios based on either no
genetic management or introducing 5, 10, and 15 female Texas pumas every 10, 20, 40, and 80 years.
The incorporation of observed allele frequencies of individuals into the model allowed for the
observation of how the population-level heterozygosity changed over time and how alternative
strategies would affect heterozygosity.

Model results revealed that without any genetic management intervention in the future, the probability
of quasi-extinction (Ncrit = 10) in the next 100 years was 17 percent (0–100; Figure 7.2) when utilizing
population size estimates from McClintock et al. (2015). From a cost-benefit perspective, the van de
Kerk et al. PVA assessed varied genetic introgression scenarios to determine which may prove to be the
most effective for benefiting the genetics of the population in the long-term and minimizing cost. The
most expensive scenario tested was releasing 15 female pumas every 10 years for 100 years. This
scenario reduced the probability of quasi-extinction by 63 percent to 73 percent, depending on the
population size estimate used (McClintock et al. [2015] or McBride et al. [2008], respectively), at a cost
of $1,200,000. Releasing 5 female pumas every 80 years was the least expensive scenario at $50,000,
but reductions in the probability of quasi-extinction were minimal (5–10 percent). A less costly scenario
that involved releasing 5 female puma every 20 years for 100 years would cost approximately $200,000
but would afford a 24–42 percent reduction in the probability of quasi-extinction (van de Kerk et al.
2019).

Cumulative probabilities of quasi-extinction (Ncrit = 10 panthers) over the next 100 years assessed via
the population estimates of McClintock et al. (2015) were 1.4 percent (0–0.8; 5th and 95th percentiles)
and 1.3 percent (0–0.6) for the IBM and matrix model, respectively (Figure 7.1). These values are lower
than the probability of quasi-extinction (7.2 percent) reported in the matrix population model of the
Hostetler et al. PVA. Lower probabilities of quasi-extinction than those reported by Hostetler et al.
(2013) for comparable scenarios are perhaps a consequence of the changes in estimates of abundance
(McBride et al. 2008, McClintock et al. 2015), although pinpointing an exact cause is difficult.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     185
     Case 1:21-cv-00119-RDM                                                       Document 149-2                                 Filed 01/12/24                                  Page 210 of 585
                                                                                                                          FUTURE CONDITION OF THE FLORIDA PANTHER




   1.5                                                                                                                1.5
                                                                                                1.4
                                                                                                                                                                                                                    1.3
                                                                                    1.2
                                                                                                                                                                                                      1.1

          1                                                                                                               1
IBM PQE




                                                                                                             Matrix PQE
                                                        0.7                                                                                                                0.7

   0.5                                                                                                                0.5

                                                                                                                                                   0.2
                               0.1

          0                                                                                                               0
              2014
                     2022
                            2030
                                   2038
                                          2046
                                                 2054
                                                        2062
                                                               2070
                                                                      2078
                                                                             2086
                                                                                       2094
                                                                                              2102
                                                                                                     2110




                                                                                                                              2014
                                                                                                                                     2022
                                                                                                                                            2030
                                                                                                                                                   2038
                                                                                                                                                          2046
                                                                                                                                                                 2054
                                                                                                                                                                          2062
                                                                                                                                                                                 2070
                                                                                                                                                                                        2078
                                                                                                                                                                                               2086
                                                                                                                                                                                                      2094
                                                                                                                                                                                                             2102
                                                                                                                                                                                                                    2110
          200                                                                                                             200
                                                                   187                    188          188                                                                        189                        189      190
          190                                                                                                             190
                                                                                                                                              186
          180                             185                                                                             180
                                                                                                             Matrix N
IBM N




          170                                                                                                             170

          160                                                                                                             160

          150                                                                                                             150

          140                                                                                                             140
                 2014
                        2022
                               2030
                                      2038
                                             2046
                                                    2054
                                                           2062
                                                                  2070
                                                                         2078
                                                                                2086
                                                                                       2094
                                                                                              2102
                                                                                                     2110




                                                                                                                                2014
                                                                                                                                       2022
                                                                                                                                              2030
                                                                                                                                                     2038
                                                                                                                                                            2046
                                                                                                                                                                   2054
                                                                                                                                                                          2062
                                                                                                                                                                                 2070
                                                                                                                                                                                        2078
                                                                                                                                                                                               2086
                                                                                                                                                                                                      2094
                                                                                                                                                                                                             2102
                                                                                                                                                                                                                    2110
Figure 7.1. Mean Florida panther probabilities (%) of quasi-extinction (PQE) and population trajectories
(N) under the motor vehicle mortality (MVM) scenario as predicted by the individually-based model
(IBM) and matrix population model from 2014–2114. These model projections did not take into
account: genetic erosion, future large-scale habitat loss or other detrimental anthropogenic activities
(e.g., increased vehicle-related mortality due to highway expansion), climate change, probability of
natural immigration, or catastrophes. Orange circles represent values for PQE and N at 2040, 2070, and
2100, which correlate to the time periods assessed for near-, long-, and very long-term habitat loss
projections assessed in Section 7.2. Blue Circles represent estimates of PQE or N at 100 years (2114).
Data presented were extracted with permission from Figure 11 in van de Kerk et al. (2019).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                                                                                                                          186
   Case 1:21-cv-00119-RDM               Document 149-2              Filed 01/12/24   Page 211 of 585
                                                                 FUTURE CONDITION OF THE FLORIDA PANTHER


                              18

                              16

                              14

                MPC PQE (%)   12

                              10

                               8

                               6

                               4

                               2

                               0
                                   10      20               40                 80    N
                                                Introgression Interval (yrs)


                              18

                              16

                              14

                              12
                MVM PQE (%)




                              10

                               8

                               6

                               4

                               2

                               0
                                   10      20               40                 80    N
                                                Introgression Interval (yrs)


Figure 7.2 Average probability of quasi-extinction (PQE) of the Florida panther population within 100
years without genetic introgression (N; black diamond) and with each of the genetic management
strategies for the minimum population count (MPC) and motor vehicle mortality (MVM) scenarios.
Introgression strategies include releases of 5 (red square), 10 (blue circle), 15 (grey triangle) pumas from
Texas, USA, at intervals of 10, 20, 40, or 80 years. The critical threshold was 10 panthers. Based on data
collected in South Florida, USA, 1981–2013. Data presented were extracted with permission from Figure
18 in van de Kerk et al. (2019).


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       187
  Case 1:21-cv-00119-RDM                 Document 149-2          Filed 01/12/24        Page 212 of 585
                                                             FUTURE CONDITION OF THE FLORIDA PANTHER


7.1.3      PVA Summary

Results from the two most recent PVA models (Hostetler et al. [2013] and van de Kerk et al. [2019])
reveal that the South Florida population is viable for the next 100 years, although when the impacts of
genetic erosion are considered, the population remains at risk, especially if genetic introgression
initiatives are not implemented in the future. These PVA models further substantiated that the panther
population was growing (λ > 1) through 2013. We caveat that with the population estimate results of
McClintock et al. (2015) that show population growth may be slowing. These models provided
additional evidence as to the benefits that were accrued to the panther population via genetic
introgression. Without the implementation of that management initiative in 1995, the probability of
quasi-extinction of the population would have been substantially higher. From a management
perspective, these PVA models have provided managers with a roadmap for prioritizing data collection
and scheduling genetic management in the future. The sensitivity of the PVA outputs to adult and kitten
survival estimates highlight the need for the continued collection of those data to monitor progress
towards recovery. Lastly, while continued genetic monitoring may fine-tune decision-making as to when
additional genetic introgression initiatives are implemented, these PVA models have indicated that the
release of 5 female pumas every 20 years should assist in the maintenance of a viable population for the
long-term.



7.2       LANDSCAPE-FACTORS PROJECTED TO IMPACT FUTURE POPULATIONS

      •    Approximately 14.9 million new residents are likely in Florida by 2070, and the population of
           Lee, Collier, and Hendry counties, the region of South Florida where most panthers occur, is
           projected to increase by 1.27 million new residents by 2070.
      •    The combined effects of future projections of land development and sea level rise will result in
           the loss of panther habitat, which could affect the viability of current and future panther
           populations.
      •    Assessments were made of near-term loss of panther habitats through 2040, long-term loss of
           habitat through 2070, and very long-term loss of habitat through 2100.
      •    Planned developments would result in the loss of 581 km2 (6 percent) of Functional Zone
           panther habitats through 2040, with losses split roughly evenly between Zones A and B and with
           most losses occurring in the CREW area of southeastern Lee and northwestern Collier counties.
      •    A rise in sea level of 0.5 m by 2040 would result in the loss of 973 km2 (11 percent) of Functional
           Zone habitats along the southern fringe of the Big Cypress and Long Pine Key regions.
      •    The combined effects of future developments and a SLR of 0.52 m have the potential to result in
           the loss of 1501 km2 (16.5 percent) of panther habitat in the Functional Zone by 2040.
      •    Future developments in South Florida have the potential to reduce the area and functionality of
           the Dispersal Zone, which would compromise the ability of panthers to disperse out of South
           Florida in the future.
      •    Models of future development in South Florida through 2070 indicate the loss of approximately
           828 km2 (9.1 percent) to 1541 km2 (16.9 percent) of the Functional Zone with losses likely to be
           greater in Zone B than Zone A.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         188
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 213 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


    •   A 1.0 m rise in sea levels by 2070 has the potential to result in the loss of 1639 km2 (18.0
        percent) of the Functional Zone, and total area lost would be comparable between Zones A and
        B.
    •   Statewide models of future development in Florida through 2070 project the loss of
        approximately 1208 km2 (3.7 percent) to 1789 km2 (5.5 percent) of all areas mapped as
        potentially suitable panther habitat in Florida, depending on the amount of land placed into
        conservation.
    •   All but one patch (Okaloacoochee Slough) of potentially suitable panther habitat remaining by
        2070 would be larger than the mean adult female home range size of 217 km2, and
        Okaloacoochee Slough would only fall to 213–216 km2, depending on growth model.
    •   Future developments through 2070 are likely to effectively isolate the Green Swamp and
        Withlacoochee regions, rendering them incapable of supporting panthers.
    •   Landscape linkages between the Bull Creek and St. Johns River South regions, between the
        Ocala National Forest and Osceola National Forest regions, between the Babcock-Fisheating
        Creek and Duette-West Hardee regions, and between the Duette-West Hardee and Avon Park
        regions are likely to be compromised by future developments without additional land
        conservation efforts.
    •   Sea levels could rise as much as 0.3 m to 2.5 m by 2100.
    •   Sea level rise models of 0.52 m, 1.04 m, 1.5 m, and 2.0 m were used to estimate possible loss of
        panther habitat through 2100.
    •   Occupied panther habitats in the Long Pine Key and Big Cypress regions are most susceptible to
        loss due to sea level rise.
    •   Potentially suitable panther habitats in the coastal areas of the Big Bend and Apalachicola
        National Forest regions are moderately susceptible to loss due to sea level rise.
    •   Smaller and inland patches of potentially suitable panther habitats are less likely to be affected
        by sea level rise than larger patches with coastal components.
    •   The combination of data projecting habitat loss and population viability over the next 50 years
        revealed that there is the potential for a smaller footprint of habitat in the Functional Zone to
        support what is currently considered a viable population of panthers.
    •   Continued expansion of the current population into Central Florida should further improve the
        prospects for a viable population through 2070.

In this section, we forecast the Florida panther’s response to probable future scenarios of environmental
conditions, specifically land development and sea level rise. We analyze and describe anticipated future
environmental conditions and project consequences on the panther’s ability to sustain populations in
the wild over time. We have selected 3 time frames to evaluate the loss of panther habitat in the
future: 1) near-term, or between now and 2040 in the occupied habitats of the Functional Zone of
South Florida; 2) long-term, or between now and 2070 in the occupied habitats of the Functional Zone
and in potentially suitable patches of habitat throughout Florida; and 3) very-long term, which relates to
potential effect of sea level rise on patches of suitable habitats in Florida through the year 2100.



7.2.1   Land Development Projections



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      189
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 214 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER


Future Population Growth: The human population of Florida is projected to increase from 18.8 million
residents in 2010 to 33.7 million in 2070 based on medium growth projections (Carr and Zwick 2016).
Thus, an estimated 14.9 million new people will have to be accommodated by 2070. Population change
will not be evenly distributed. Most of the new residents will be absorbed into central and South
Florida. The population of Lee, Collier, and Hendry counties where most of the occupied panther
habitat occurs is expected to increase from 979,400 to 2,252,700 residents between 2010 and 2070, a
projected increase of 1,273,300 residents (Carr and Zwick 2016). Lee County is projected to add 932,200
new residents, Collier County 338,200 new residents, and Hendry County 2970 new residents.

Future Developments in South Florida Through 2040: We assembled a spatially explicit GIS database of
planned developments in South Florida to assess the potential impact of currently planned development
projects on panther habitats in the Functional Zone, Primary Zone, and Dispersal Zone. The Functional
Zone takes priority in these calculations because it represents our current understanding of the
distribution of the panther population. The Primary Zone and Dispersal Zones were also included in
these projections of future habitat loss because they are components of the Panther Focus Area used in
regulatory reviews of impacts on panther habitats and because the Dispersal Zone, which is not
specifically represented in the Functional Zone, was identified as the only effective landscape linkage
capable of accommodating dispersal of panthers out of South Florida in the future. There is no specific
time horizon associated with the planned developments database. Rather, most of these developments
have been approved or are pending approval by local, regional, and state agencies and have a
reasonable likelihood of being built at some time in the near future, which we take to be by the year
2040. Some proposed developments in the assembled GIS database have been withdrawn by the
applicant or denied by government agencies, but the possibility remains that site plans for projects in
this category could be revised to obtain agency approvals or the properties could change ownership and
new developments could be proposed for the same parcels of land in the future. The planned
developments database consisted of the following GIS layers:

   •   Developments of Regional Impact (DRI): DRIs as of the first quarter of 2018 were downloaded
       from the Florida Geographic Data Library (FGDL) at the University of Florida.
   •   Planned Unit Developments (PUD): PUDs as of the fourth quarter of 2009 were downloaded
       from FGDL.
   •   Lee County Planned Developments: These projects were downloaded from the Lee County
       website on 31 August 2018.
   •   Collier County PUDs: These projects were downloaded from the Collier County website on 1
       September 2018.
   •   Rodina and King Ranch Sector Plans: The proposed development areas for these two sector
       plans in Hendry County were digitized from documents downloaded from the Hendry County
       website.
   •   North Belle Meade Receiving Lands: The boundaries of Transfer of Development Rights (TDR)
       receiving lands were extracted from the Collier County Future Land Use map downloaded from
       the Collier County website.
   •   East Collier Rural Lands Stewardship Area (RLSA): RLSA categories not considered for future
       protection were extracted from the RLSA data layer and presumed to be available for future
       development.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  190
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 215 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


These data layers were merged to create a single GIS data layer of future developments likely to be
constructed in South Florida through the year 2040. Although the Florida growth models of Zwick and
Carr (2006) included a projection of impacts of human developments as of 2040, these models were not
suitable for application to this project due to the different methodology employed (P. Zwick personal
communication).

Future Developments Statewide in Florida through 2070: We used the growth models of Carr and
Zwick (2016) to predict long-term impacts of future development on core and supporting patches of
panther habitat statewide in Florida through the year 2070. Carr and Zwick (2016) modeled the
locations of future growth and development in Florida from 2010 (i.e., the baseline year) through 2070
using a variety of GIS data layers, including census data, gross development density, suitability of
landscapes for development, proximity to roads, and proximity to water. Their models addressed two
development scenarios for accommodating 14.9 million new residents by 2070. The Trend 2070 model
distributed the locations of future population growth assuming that current development patterns
would continue through 2070 without further protection of conservation lands. The Alternative 2070
model distributed future growth by allowing for a 20-percent increase in urban density, purchase of all
lands on the 2015 Florida Forever acquisition list, protection of Priorities 1 and 2 of the FEGN data layer
(Oetting et al. 2016), and preclusion of development on irrigated agricultural lands on good soils. We
presume that the Alternative 2070 model reflects the potential for future conservation efforts to protect
panther habitats. For both the Trend and Alternative models, areas of Florida likely to accommodate
new residents were distributed geographically based on the following suitability criteria: 1) proximity to
existing urban areas; 2) presence/absence of wetlands; 3) road density; 4) proximity to coastline; 5)
approved DRIs or Sector Plans; 6) proximity to major roads; 7) city/town influence; and 8) proximity to
open water.

7.2.2   Sea Level Rise Projections

Global mean sea levels have risen approximately 0.2 m since 1880; the rate of sea level rise (SLR) has
roughly doubled in the last 20 years; and, in 2014, it was reported that SLR was expected to increase
another 0.3 to 1.2 m by 2100 (Melillo et al. 2014). However, the most recent projections of SLR by 2100
from U.S. National Oceanic and Atmospheric Administration (NOAA) are for an increase between 0.3 m
to an “extreme” possibility of a 2.5 m globally SLR by 2100 (Sweet et al. 2017). Florida is extremely
susceptible to the effects of SLR caused by climate change due to a combination of low land elevations,
a high-water table, peninsular geography, vulnerability to tropical storms, and a large and growing
human population that is mainly concentrated near the coasts (Noss et al. 2014). Intermediate,
intermediate-high, and extreme SLR scenarios of 1.0 m, 1.5 m, and 2.5 m, respectively, were thought to
be reasonably possible at Virginia Key, an island in Biscayne Bay near Miami, Florida. These scenarios
were used to assess risk of flooding at Virginia Key through 2100 (Sweet et al. 2017).

Noss et al. (2014) used a Digital Elevation Model (DEM) of Florida topography to identify areas of Florida
that would be inundated by a rise in sea levels of 0.52 m, 1.04 m, 1.5 m, and 2.0 m by the year 2100
(Figure 7.3). These SLR models were used to assess the potential for loss of panther habitat in the
Functional Zone, Primary Zone, and Dispersal Zone in South Florida and in our models of Core and
Supporting Habitat Regions of suitable panther habitats (Figure 6.20 and Figure 6.21).

We also developed models to calculate the potential for panther habitat loss due to the combined
effects of future development and SLR under three time frames. Sweat et al. (2017) indicated that sea

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      191
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 216 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


levels around Florida could rise by as much as 0.5 m by the year 2040 and by as much as 1.0 m by the
year 2070. Therefore, we combined our GIS database of future developments in South Florida to the
Noss et al. (2014) SLR model for 0.52 m, and we used the resulting data layer to estimate the loss of
panther habitat in South Florida through 2040 due to the dual effects of future land development and
SLR. Similarly, we added the Noss et al. (2014) model of 1.0 m SLR to the Carr and Zwick (2016) Trend
and Alternative models and used the resulting data layers to calculate the combined effects of future
land development and SLR through the year 2070 on our models of Core and Supporting regions of
panther habitat statewide. Finally, we used the Noss et al. (2014) models to calculate the potential loss
of Core and Supporting patches of panther habitat statewide in Florida through the year 2100.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     192
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24          Page 217 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.3. Projections of sea level rise in Florida through 2100 (Noss et al. 2014).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     193
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 218 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


7.2.3   Near-Term (2040) Impacts of Habitat Loss in South Florida

Planned developments have the potential to result in the loss of 581 km2 (6.4 percent) of panther
habitat in the Functional Zone (i.e., 265 km2 of Zone A and 316 km2 of Zone B) by the year 2040 (Table
7.1). Slightly more than half of that loss would occur in Zone B (Table 7.1). Planned developments are
most likely to impact panther habitats in southeastern Lee County and northwestern Collier County
(Figure 7.4). These data indicate that there is a high likelihood that the occupied panther habitats of the
CREW region will become more isolated and that the existing landscape linkage between CREW region
and Big Cypress along Camp Keais Strand may become compromised. Future developments also are
likely to affect small areas of Zone B panther habitats on private property along the eastern edge of the
Everglades, indicating a further reduction in the capacity of habitats in ENP to support panthers (Figure
7.4). However, the conservation of all lands on the 2015 Florida Forever list and all areas within
Priorities 1 and 2 of the FEGN (Oetting et al. 2016) have the potential to dramatically reduce the loss of
panther habitat to future development by the year 2040 (Table 7.1). Conservation of these lands would
result in the loss of only 175 km2 (1.9 percent) of panther habitat in the Functional Zone to future
development.

A rise in sea levels of 0.52 m by 2040 has the potential to result in the loss of 973 km2 (10.7 percent) of
panther habitat in the Functional Zone (i.e., 370 km2 of Zone A and 603 km2 of Zone B) by the year 2040
(Table 7.1). This loss would occur along the southern fringes of the Big Cypress and Long Pine Key
regions (Figure 7.4). The only area of overlap between future developments and a SLR of 0.52 m would
occur in approximately 18 km2 in the southwest corner of the Functional Zone south of US 41. The
combined effects of future developments and a SLR of 0.52 m have the potential to result in the loss of
1501 km2 (16.5 percent) of panther habitat in the Functional Zone by 2040 (Table 7.1).

Planned developments are projected to result in the loss of 312 km2 (3.4 percent) of panther habitats in
the Primary Zone and 6 km2 (5.2 percent) in the Dispersal Zone by 2040 (Table 7.1). However, a sea
level rise of 0.52 m by 2040 would result in the loss of 1313 km2 (14.3 percent) of the Primary Zone,
most of which is along the southern fringes of the Primary Zone (Figure 7.5). There is very little overlap
between planned developments and a SLR of 0.52 m. The combined area of panther habitat loss due to
future developments and SLR by 2040 was calculated to be 1602 km2 (17.4 percent) of the Primary Zone.

The State of Florida has a strong commitment to the protection and restoration of its natural resources
and this commitment has been exemplified through programs like Preservation 2000 and its successor,
Florida Forever. Together, these programs protected 2.5 million acres of environmentally-sensitive
lands, many of which are used by Florida panthers. In 2014, Florida voters approved Amendment 1 –
Water and Land Conservation with a 75 percent majority. This amendment was intended to dedicate
funds over a 20-year period to acquire, restore, improve and manage conservation lands. Projected
revenues were estimated to total $1.2 billion by the 20th year. However, the amendment has yet to be
fully implemented and there is no assurance for future funding of the Florida Forever program. The
conservation of all lands on the 2015 Florida Forever list and all areas within Priorities 1 and 2 of the
FEGN (Oetting et al. 2016) have the potential to dramatically reduce the loss of panther habitat to future
development in the Primary Zone by the year 2040 (Table 7.1). Conservation of these lands would result
in the loss of only 30 km2 (0.3 percent) of panther habitat in the Primary Zone to future development.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       194
  Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24        Page 219 of 585
                                                             FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.1. Calculations of future loss of panther habitat regions in South Florida in the near term (i.e.,
through the year 2040) due to planned developments (i.e., DRIs, PUDs, East Collier RLSA, Sector Plans,
Lee County Planned Developments, and North Belle Meade TDR receiving lands), sea level rise of 0.5 m,
and assuming protection of lands planned for development that were on the State's Florida Forever (FF)
acquisition list as of September 2018 and Priority 1 and 2 linkages of the Florida Ecological Greenways
Network (FEGN) (Oetting et al. 2016).

                                                       Habitat Loss Near Term 2040
                                                                                             Developed
                                                                           Developments      Area After
                             Total        Planned         Sea Level Rise   and Sea Level    Protection of
                             Area      Developments 4         0.5 m        Rise Combined    FF and FEGN
  Region                     km2       km2        %        km2      %      km2         %     km2       %
  South Florida RFP Model    5579      213       3.8       341     6.1      538       8.3     19      0.3
  Functional Zone            9094      581       6.4       973    10.7     1501      16.5    175      1.9
             Zone A          6103      265       4.3       370     6.1      617       9.0     24      0.4
             Zone B          2991      316      10.6       603    20.2      884      20.4    151      5.2
  Primary Zone               9189      312       3.4      1313    14.3     1602      11.3     30      0.3
  Dispersal Zone              113       6        5.2        1      0.5       6        9.4      0      0.0




    4

    •   Developments of Regional Impact (DRI): DRIs as of the first quarter of 2018 were downloaded from the
        Florida Geographic Data Library (FGDL) at the University of Florida.
    •   Planned Unit Developments (PUD): PUDs as of the fourth quarter of 2009 were downloaded from FGDL.
    •   Lee County Planned Developments: These projects were downloaded from the Lee County website on 31
        August 2018.
    •   Collier County PUDs: These projects were downloaded from the Collier County website on 1 September
        2018.
    •   Rodina and King Ranch Sector Plans: The proposed development areas for these two sector plans in
        Hendry County were digitized from documents downloaded from the Hendry County website.
    •   North Belle Meade Receiving Lands: The boundaries of Transfer of Development Rights (TDR) receiving
        lands were extracted from the Collier County Future Land Use map downloaded from the Collier County
        website.
    •   East Collier Rural Lands Stewardship Area (RLSA): RLSA categories not considered for future protection
        were extracted from the RLSA data layer and presumed to be available for future development.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           195
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 220 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.4. Planned developments (DRI, PUD, RLSA, North Belle Meade receiving lands, Sector Plans)
and 0.52 m sea level rise projected through 2040 in relation to the Florida panther Functional Zone in
South Florida.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    196
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 221 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.5. Planned developments (DRI, PUD, RLSA, North Belle Meade receiving lands, Sector Plans)
and 0.52 m sea level rise projected through 2040 in relation to Florida panther Primary and Dispersal
Zones (Kautz et al. 2006) in South Florida.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       197
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 222 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


7.2.4   Long-Term (2070) Impacts of Habitat Loss Statewide in Florida

Habitat Loss Through 2070

To assess the potential long-term (2070) impact of future habitat loss, we first overlaid the Trend 2070
and Alternative 2070 growth models (Carr and Zwick 2016) on the Functional Zone, Primary Zone, and
Dispersal Zone of South Florida and calculated the projected area lost in each habitat region (Table 7.2).
As in the near-term (2040) habitat loss assessment, the Functional Zone takes priority in these
calculations because it represents our current understanding of the distribution of the panther
population. The Primary Zone and Dispersal Zones were also included in these projections of future
habitat loss because they are components of the Panther Focus Area used in regulatory reviews of
impacts on panther habitats and because the Dispersal Zone, which is not specifically represented in the
Functional Zone, was identified as the only effective landscape linkage capable of accommodating
dispersal of panthers out of South Florida in the future. In addition, we estimate the potential loss of
habitat in the aforementioned South Florida habitat regions due to a 1.0 m rise in sea levels by 2070,
and we calculated the combined effects of future development and sea level rise on the area of panther
habitat in each region.

For all long-term (2070) habitat loss projections on the Functional Zone, the projected impacts on Zone
B were greater than the impacts on Zone A (Table 7.2). The Trend 2070 growth model would result in
the loss of approximately 1541 km2 (16.9 percent) of the Functional Zone (Table 7.2), with a greater
percentage of loss occurring in Zone B (991 km2 [33.1 percent]) compared to the losses in Zone A (550
km2 [9.0 percent]). The Alternative 2070 growth model would result in the loss of approximately 828
km2 (9.1 percent) of the Functional Zone, with a greater percentage loss occurring in the Zone B (647
km2 [21.6 percent]) compared to the losses in Zone A (181 km2 [3.0 percent]). A rise in sea levels of 1.0
m by 2070 would result in the loss of approximately 1639 km2 (18.0 percent) of the Functional Zone.
Although the total area of loss in Zones A and B would be comparable, the proportional effect on Zone B
would be greater (27.6 percent) than the effect on Zone A (13.3 percent). The combined effects of land
development and a 1.0 m rise in sea level by 2070 would result in the greatest habitat loss under both
the Trend and Alternative 2070 growth models (Table 7.2), with higher percentage of loss occurring in
Zone B relative to Zone A in both scenarios.

The Trend 2070 model also predicts a greater impact on the panther habitats of the Primary and
Dispersal Zones than the Alternative 2070 model (Table 7.2). The Trend 2070 model would result in the
loss of approximately 644 km2 (7.0 percent) of the Primary Zone and 38 km2 (33.8 percent) of the
Dispersal Zone. Comparatively, the Alternative 2070 model would result in a loss of approximately 279
km2 of the Primary Zone and 7 km2 (6.4 percent) of the Dispersal Zone. A 1.0 m rise in sea levels by 2070
would have greater impacts on the Primary Zone than land development alone. A 1.0 m SLR would
result in the loss of approximately 2111 km2 (23.0 percent) of the Primary Zone and <1 km2 (0.2 percent)
of the Dispersal Zone. The combined effects of land development and a 1.0 rise in sea levels by 2070
would result in the loss of approximately 2650 km2 (28.8 percent) of the Primary Zone under the Trend
2070 growth model compared to the loss of approximately 2297 km2 (25.0 percent) under the
Alternative 2070 model. The combined effects of land development and SLR in the Dispersal Zone
would be comparable to the effects of land development alone due to the inland location of the
Dispersal Zone.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     198
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 223 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


To assess the potential long-term (2070) impact of future development on panther habitats statewide,
we overlaid the Trend 2070 and Alternative 2070 models on our models of Core and Supporting Region
Habitat Regions (Figure 7.6 and Figure 7.7) and calculated the area lost in each patch for the two
development scenarios. In addition, we estimated the potential loss of panther habitat in each patch
due to a 1.0 m rise in sea levels by 2070, and we calculated the combined effects of future development
and sea level rise on the area of panther habitat in each patch (Figure 7.8 and Figure 7.9).

Overall, the Trend 2070 model would result in the loss of approximately 5189 km2 (9.6 percent) of all
areas mapped as potentially suitable panther habitat, whereas the Alternative 2070 model would result
in a loss of 3292 km2 (6.1 percent) of habitat overall (Table 7.3). The Trend 2070 model predicts that
approximately 84 km2 (2.6 percent) of the Big Cypress Core Region of occupied panther habitat would
be lost to future development, but only 50 km2 (1.6 percent) would be lost under the Alternative 2070
model. Core Habitat Regions that would be expected to experience the greatest habitat loss under the
Trend 2070 model were St. Johns River North (283 km2 [54.1 percent]), Farmton (174 km2 [41.5
percent]), Big Bend (165 km2 [2.3 percent]), Eglin Air Force Base (145 km2 [5.3 percent]), St. Johns River
South (145 km2 [20.2 percent]), and Deseret Ranch (143 km2 [42.8 percent]). Core Habitat Regions that
would experience the greatest amount of loss under the Alternative 2070 model were St. Johns North
(231 km2 [44.1 percent]), Farmton (138 km2 [32.9 percent]), Big Bend (125 km2 [1.8 percent]), Eglin Air
Force Base (118 km2 [4.3 percent]), Nassau North (87 km2 [27.4 percent]), and Deseret Ranch (71 km2
[21.1 percent]). In general, the amount of habitat loss projected by either the Trend 2070 model or the
Alternative 2070 model probably would not significantly degrade the capacity of any of the regions in
Table 7.3 to support panthers in the future on the basis of area alone as only one area, Okaloacoochee
Slough, would fall below the threshold of 217 km2 needed to support an adult female home range. The
impact of future growth on the Okaloacoochee Slough area would be marginal, declining to 213–216
km2 depending on growth model, and the area remaining would be much larger than the smallest
female home range of 48 km2 recorded between 2004 and 2017.

Core and Supporting Habitat Regions that would experience the greatest amount of habitat loss under a
projected 1.0 m rise in sea levels by 2070 include Big Bend (439 km2 [6.3 percent]), Apalachicola
National Forest (344 km2 [5.5 percent]), Big Cypress (272 km2 [8.5 percent]), and Long Pine Key in ENP
(134 km2 [56.8 percent]) (Table 7.3). The only patch of panther habitat that would fall below the 217
km2 mean home range of females would be Long Pine Key, which would be reduced to 102 km2
following a 1.0 m rise in sea levels.

The combined effects of land development and a 1.0 m rise in sea levels by 2070 would result in a total
decrease of 7183 km2 (13.3 percent) and 5288 km2 (9.8 percent) of Supporting Habitat Regions under
the Trend 2070 and Alternative models, respectively (Table 7.3). Those habitat patches with coastal
components would be most affected by the combined effects of future land development and an SLR of
1.0 m by 2070 regardless of growth model. Supporting Habitat Regions most affected the combined
effects of development and SLR are North Florida, Osceola-Orange, Southwest Florida, Babcock-
Fisheating Creek, Green Swamp, and Long Pine Key. The Core Habitat Regions in North Florida projected
to be most affected ty the combined effects of land development and a 1.0-m SLR are St. Johns River
North, St. Johns River South, Farmton, and North Nassau (Table 7.3). The only Supporting Habitat
Regions that would fall below the mean female home range size of 217 km2 would be Twelve Mile
Swamp (167 km2 remaining), Wauchula East (187 km2 remaining), and Long Pine Key (101 km2
remaining) under the Trend 2070 model. However, the Alternative 2070 model indicates that only

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      199
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 224 of 585
                                                       FUTURE CONDITION OF THE FLORIDA PANTHER


Twelve Mile Swamp (191 km2 remaining) and Long Pine Key (101 km2 remaining) would fall below the
female home range size threshold. None of the patches would fall below the smallest home range size
of 48 km2 recorded for female panthers between 2004 and 2017.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                200
  Case 1:21-cv-00119-RDM                 Document 149-2               Filed 01/12/24          Page 225 of 585
                                                                   FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.2. Total area (km2) of panther habitat lost in the South Florida RFP Model (Frakes et al. 2015),
the Functional Zone of South Florida, and the Primary and Dispersal Zones (Kautz et al. 2006) based on
the Carr and Zwick (2016) Trend 2070 and Alternative 2070 growth models and a sea level rise (SLR) of
1.0 m (Noss et al. 2014).

                                                 Long-Term (2070) Projected Habitat Loss in South Florida

                                                     Alternative                                            Alternative +
                                  Trend 2070            2070           SLR 1.0 m      Trend + SLR 1 m          SLR 1 m
 Conservation Focus        Area
 Areas                     km2    km2      %        km2      %        km2      %       km2        %         km2      %
 South Florida RFP Model   5579   461     8.3       176      3.2      731     13.1     1137     20.4        858     15.4
 Functional Zone           9094   1541    16.9      828      9.1      1639    18.0     2995     32.9        2314    25.4
            Zone A         6103   550     9.0       181      3.0      812     13.3     1301     21.3        940     15.4
            Zone B         2991   991     33.1      647     21.6      827     27.6     1694     56.6        1374    45.9
 Primary Zone              9189   644     7.0       279       3       2111    23.0     2650     28.8        2297    25.0
 Dispersal Zone            113    38      33.8       7       6.4       0       0.2      38      34.3         7       6.9




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                    201
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 226 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.6. Areas of potentially suitable panther habitats (Probability of Presence > 0.315) in relation to
future development in Florida through 2070 based the Carr and Zwick (2016) Trend growth model.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      202
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 227 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.7. Areas of potentially suitable panther habitats (Probability of Presence > 0.315) in relation to
future development in Florida through 2070 based the Carr and Zwick (2016) Alternative growth model.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       203
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 228 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.8. Areas of potentially suitable panther habitats (Probability of Presence > 0.315) in relation to
future development and sea level rise of 1.0 m in Florida through 2070 based the Carr and Zwick (2016)
Trend growth model.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      204
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 229 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.9. Areas of potentially suitable panther habitats (Probability of Presence > 0.315) in relation to
future development and sea level rise of 1.0 m in Florida through 2070 based the Carr and Zwick (2016)
Alternative growth model.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       205
                            Case 1:21-cv-00119-RDM              Document 149-2        Filed 01/12/24              Page 230 of 585
                                                                                                             FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.3. Total area (km2) of panther habitat lost in the Supporting Habitat Regions (SHR) and Core Habitat Regions (CHR) of potentially suitable
habitat in Florida based on the Carr and Zwick (2016) Trend 2070 and Alternative 2070 growth models and a sea level rise (SLR) of 1.0 m (Noss et
al. 2014).

                                                                                                Habitat Loss Long-Term 2070


                                                Area       Trend 2070        Alternative 2070              SLR 1.0 m       Trend + SLR 1 m   Alternative + SLR 1 m
    Conservation Focus Areas 5                   km2      km2        %        km2        %            km2              %      km2      %       km2           %
    Southwest Florida SHR                       5058      363       7.2       122        2.4          486          9.6        840     16.6      593        11.7
               Big Cypress CHR                  3219      84        2.6        50        1.6          272          8.5        354     11.0      317         9.8
               Okaloacoochee Slough CHR          217       4        2.0        1         0.4           0           0.0         4      2.0        1          0.4
    North Florida SHR                           36,852   3097       8.4       2311       6.3         1392          3.8        4420    12.0     3642         9.9
               Big Bend CHR                     7004      165       2.3       125        1.8          439          6.3        594     8.5       557         8.0
               Apalachicola CHR                 6297      76        1.2        72        1.2          344          5.5        417     6.6       414         6.6
               Eglin Air Force Base CHR         2725      145       5.3       118        4.3          71           2.6        215     7.9       188         6.9
               Osceola National Forest CHR      2355      45        1.9        24        1.0           0           0.0        45      1.9       24          1.0
               Ocala National Forest CHR        1307      41        3.1        19        1.4          55           4.2        93      7.1       70          5.4
               St. Johns River South CHR         718      145       20.2       65        9.1          10           1.4        154     21.5      75         10.5
               St. Johns River North CHR         524      283       54.1      231       44.1           4           0.8        286     54.5      234        44.6
               Camp Blanding CHR                 522      52        9.9        68       13.0           2           0.3        53      10.2      69         13.2
               Farmton CHR                       419      174       41.5      138       32.9          28           6.7        197     46.9      165        39.5
               North Nassau CHR                  317      100       31.6       87       27.4          14           4.4        112     35.3      99         31.2
               Blackwater State Forest CHR       287       5        1.7        4         1.2           0           0.1         5      1.8        4          1.3
    Osceola-Orange SHR                          4292      738       17.2      418        9.7           1           0.0        739     17.2      419         9.8
               Bull Creek CHR                    500      39        7.9        39        7.8           0           0.0        39      7.9       39          7.8
               Deseret Ranch CHR                 335      143       42.8       71       21.1           0           0.0        143     42.8      71         21.1
               Avon Park-Osceola CHR             309       7        2.3        1         0.3           0           0.0         7      2.3        1          0.3


5
 SHR and CHR were identified by applying the Region Group tool in the Spatial Analyst extension of ArcGIS Desktop 10.5.1 (ESRI, Redlands, CA) to the
Statewide Random Forest Panther Model (USFWS unpublished data). Total area of habitat lost in each SHR and CHR was determined by overlaying the Trend
2070, Alternative 2070, and SLR 1.0 m models on the panther habitat models and subtracting the areas lost from total patch area. The Trend 2070 and
Alternative 2070 models were then added to the SLR 1.0 m models, and the total area of habitat lost from each patch due to the combined effects of human
population growth and SLR was calculated.

                                             SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                              206
                         Case 1:21-cv-00119-RDM          Document 149-2      Filed 01/12/24              Page 231 of 585
                                                                                                    FUTURE CONDITION OF THE FLORIDA PANTHER


                                                                                       Habitat Loss Long-Term 2070


                                          Area      Trend 2070      Alternative 2070              SLR 1.0 m       Trend + SLR 1 m   Alternative + SLR 1 m
Conservation Focus Areas 5                 km2     km2        %     km2         %            km2              %      km2      %       km2           %
Babcock-Fisheating Creek SHR              1634     320       19.6    62         3.8           2           0.1        320     19.6      63          3.8
Green Swamp SHR                           1395     205       14.7    38         2.7           0           0.0        205     14.7      38          2.7
           Green Swamp CHR                 734     39        5.3      6         0.8           0           0.0        39      5.3        6          0.8
Escambia SHR                               818     31        3.7     23         2.8          38           4.6        66      8.0       58          7.1
           Escambia CHR                    494     11        2.2      8         1.7          26           5.2        34      6.9       32          6.4
Myakka SHR                                 664     19        2.8     48         7.2          18           2.7        36      5.4       62          9.3
           Myakka CHR                      359      3        0.7      5         1.5           1           0.3         4      1.0        6          1.8
Corbett-Loxahatchee SHR                    657     76        11.5    50         7.6           0           0.0        76      11.5      50          7.7
           Corbett-Loxahatchee CHR         544     46        8.5     29         5.4           0           0.0        46      8.5       29          5.4
Duette-West Hardee SRH                     591     76        12.8    43         7.4           0           0.0        76      12.8      44          7.4
Withlacoochee SHR                          436     44        10.0    44        10.2           0           0.0        44      10.0      44         10.2
Plantation Lands SHR                       393     27        6.9     17         4.4           0           0.0        27      6.9       17          4.4
South DeSoto SHR                           319      0        0.2      2         0.6           0           0.0         0      0.2        2          0.6
Twelve Mile Swamp SHR                      309     134       43.4   110        35.7          15           4.9        142     46.1      118        38.1
Wauchula East SHR                          244     57        23.2     3         1.2           0           0.0        57      23.2       3          1.2
Long Pine Key SRH                          236      2        0.8      1         0.5          134          56.8       135     57.1      135        57.0
Supporting Habitat Region Total           53,898   5189      9.6    3292        6.1         2087          3.9        7183    13.3     5288         9.8
           Core Habitat Region Total      29,186   1607      5.5    1161        4.0         1267          4.3        2843    9.7      2402         8.2




                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           207
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 232 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER


Effects of Habitat Loss on Landscape Linkages 2070

Maintaining a functional landscape of private and public lands that is permeable to panther movement
is necessary for panther persistence in the near and long-term future. A future landscape that is
impermeable to panther movement hampers resiliency, redundancy, and representation. We evaluated
the potential impacts of the Trend and Alternative 2070 development models on the 12 landscape
linkages identified in Section 6.3.10 as having the potential to maintain connections among patches of
panther habitat in Florida. This assessment was performed in a qualitative fashion by considering the
linkages in the context of criteria for occupied habitat linkages, movement linkages, stepping stone
linkages, and the movement capabilities of Florida panthers (see Section 4.4 Home Range Dynamics and
Movements and Section 6.3.9 Criteria for Landscape Linkages for Panthers). A brief summary of linkage
evaluation criteria based on the work of the Beier and Loe (1992), Harrison (1992), Beier (1993), Beier
(1995), Bolger et al. (2001), Maehr et al. (2002b), Cougar Management Guidelines Working Group
(2005), Hilty et al. (2006), Florida Panther Protection Program Review Team (2009), Onorato et al.
(2011), and Criffield et al. (2018) is as follows:

    •   Occupied Habitat Linkages
            Preferred when distances between major habitat patches are >50 km.
            Widths should be a minimum of 5.5 km.
    •   Movement Linkages
            Most valuable when connecting habitat patches over distances of <10 km.
            Minimum widths should probably be 500–600 m.
            Bottlenecks should not be <100 m wide.
            Stepping stone linkages, or isolated patches of forest cover in open environments such
               as pasturelands, should be <320 m apart.
    •   Panther Movements
            Male panthers in South Florida exhibited a mean daily movement distance of 6.7 km
               (0.7–14.6 km) during the dry season
            Female panthers in South Florida exhibited a mean daily movement distance of 5.2 km
               (1.7–14.1 km)
            The longest daily movement distance recorded for an adult male was 24.02 km.
            Mean maximum dispersal distance of male panthers was 68.4 km (n = 18).
            Mean maximum dispersal distance of female panthers was 20.3 km (n = 9).
            Longest dispersal distance for a male panther was 224 km over 7 months.

1. Camp Keais Strand: The Camp Keais Strand linkage is 27.7 km in length, ranges from approximately
100 m to 3 km in width, and connects FPNWR to CREW (Figure 6.22). This linkage is comprised of a
relatively narrow system of wetlands interspersed in a predominantly agricultural landscape, and it is
critical to maintaining a connection between the Big Cypress Core Habitat Region and the smaller and
more isolated natural habitats of the CREW Supporting Habitat Region. The Camp Keais Strand linkage
apparently functions more as a movement linkage rather than as an occupied habitat linkage based on
observations from telemetry, a width that is likely too small to accommodate a rectangular female home
range, and the large percentage of active agricultural lands within the linkage. An adult male panther
could travel this distance in a single day, but a 4-day travel time would be more likely. A female panther

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     208
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 233 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


would likely require 2–5 days to traverse the entire length of this linkage. The Trend 2070 development
model indicates that the Camp Keais Strand linkage would become highly fragmented if current
development patterns persist, and it appears likely that this linkage would no longer function as an
effective movement corridor by 2070 (Figure 7.10). However, the Camp Keais Strand linkage would be
preserved under the Alternative 2070 model, which specifies that existing priority greenways and lands
on the Florida Forever list are preserved (Figure 7.11).

2. Okaloacoochee Slough: This linkage is comprised of the Okaloacoochee Slough wetland ecosystem
and adjacent agricultural lands that lie between BCNP and OSSF (Figure 6.22). This linkage is a broad
swath of occupied panther habitat. The Trend 2070 model indicates that the croplands and
pasturelands in this region would be converted into human developments that would extend to the
edges of this wetland system in many areas and the linkage would be completely severed in at least
three locations (Figure 7.10). Thus, if current development trends persist, this linkage would likely cease
to function as a corridor connecting BCNP and OSSF, increasing the isolation of OSSF. The Alternative
2070 model would result in no development impacts on this linkage as all panther habitats in this area
would be preserved (Figure 7.11).

3. Dispersal Zone: The Dispersal Zone is a predominantly agricultural landscape covering
approximately 113 km2 east of the town of LaBelle (Figure 6.22). This area was identified by Kautz et al.
(2006) as an area that should be protected to ensure that panthers dispersing out of south Florida have
an undeveloped pathway into central Florida as the population continues to expand. The Dispersal Zone
is approximately 20.5 km long, ranges 2.9–6.3 km wide, and was intended as a movement corridor as it
is too small to support a female home range entirely within its boundary. Approximately one-third of
the Dispersal Zone has been protected by conservation easements since this area was first identified as
a key pathway for allowing dispersing panthers to move into central Florida. The Trend 2070 model
shows that future development would expand eastward from LaBelle and SR 29, reducing the width of
the Dispersal Zone and potentially severing the southern end of the Dispersal Zone (Figure 7.10).
Furthermore, future development on the north side of the Caloosahatchee River would completely
sever the Dispersal Zone, and the area would no longer function as a dispersal corridor to facilitate
panther movements into central Florida. However, under the Alternative 2070 scenario, future
developments would have little impact on the Dispersal Zone, and this landscape would remain viable as
a linkage to connect the south Florida panther population with potentially suitable panther habitats
north of the Caloosahatchee River (Figure 7.11).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      209
  Case 1:21-cv-00119-RDM              Document 149-2         Filed 01/12/24       Page 234 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.10. Impacts of future development on landscape linkages with the potential to connect areas
of South Florida that could function as source and sink habitats for Florida panthers based on the Trend
2070 growth model.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    210
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 235 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.11. Impacts of future development on landscape linkages with the potential to connect areas
of South Florida that could function as source and sink habitats for Florida panthers based on the
Alternative 2070 growth model.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 211
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 236 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


4. Fisheating Creek to Kissimmee River: This is a linkage identified by Thatcher et al. (2009) as a
potential connection between major patches of panther habitat associated with Fisheating Creek in
Glades County and Avon Park Air Force Range (APAFR) in Polk and Highlands counties (Figure 6.23). This
linkage is 32.6 km long and connects an area of Fisheating Creek under conservation easement with a
system of public lands owned by SFWMD along the Kissimmee River that ultimately connect to APAFR.
This linkage passes through an agricultural landscape dominated by pasturelands. Although most of this
area has been designated as Priority 1 or 2 linkages as part of the FEGN, very little of this area was
mapped as suitable panther habitat in the Statewide RFP model. Those areas that were mapped as
panther habitat occur as small patches with low p-values, and these areas would most likely function as
stepping stones for panther dispersal rather than as linkage comprised of a continuous swath of suitable
panther habitat. Neither the Trend 2070 nor the Alternative 2070 model indicate that future
development is likely to affect this linkage (Figure 7.12 and Figure 7.13). The value of this landscape as a
potential dispersal pathway for panthers appears to be based more on the likelihood that the landscape
will remain undeveloped. Although there are a few telemetry records of male panthers using this
general area, most of the data show that panthers dispersing out of the Fisheating Creek area have
traveled along the west side of the Lake Wales Ridge before crossing the Ridge and moving into lands in
and around APAFR, Lake Kissimmee, and east into Osceola and Brevard counties.

5. Babcock to Duette-West Hardee: Although the Duette-West Hardee Supporting Habitat Region is
comprised of a single region group of 591 km2, the habitats in this region nevertheless have low p-
values, are characterized by multiple lobes with long edges, appear to be fragmented, and are imbedded
in a landscape dominated by pasturelands. The Thatcher et al. (2009) linkage that connects the
Babcock-Fisheating Creek region with the Duette-West Hardee region is 45.4 km long and passes
through a landscape dominated by pasturelands interspersed with wetlands (Figure 6.23).
Approximately 2–7 days would be required for an adult male panther to travel the length this linkage in
the dry season. The Trend 2070 model indicates that future development would eliminate
approximately 9 km of the linkage immediately north of Babcock-Webb WMA (Figure 7.12). This model
shows that a possible alternate linkage through a Priority 3 Greenway to the east also would be severed
along the north boundary of Babcock-Webb WMA, rendering this alternate linkage nonviable as well.
Similarly, the Alternative 2070 model would eliminate approximately 6 km immediately north of
Babcock-Webb WMA (Figure 7.13). The Alternative 2070 model would also result in more development
on either side of the Peace River in the vicinity of Arcadia in Desoto County, effectively rendering this
linkage nonviable despite the increased preservation associated with the Alternative 2070 model. Both
the Trend 2070 and the Alternative 2070 growth models would also sever the linkage between Babcock-
Fisheating Creek and the Myakka Core Habitat Region. These growth models appear to indicate that
future developments are likely to isolate and further fragment the panther habitats of the Myakka and
Duette-West Hardee habitat regions, compromising the ability of these areas to support small panther
populations in the future.

6. Duette-West Hardee to Avon Park: This 36.3 km-long linkage was identified by Thatcher et al. (2009)
to connect the Duette-West Hardee major habitat patch with APAFR (Figure 6.23). Although the west
end of this linkage touches the eastern end of the major habitat patch identified by Thatcher et al.
(2009), the patches habitat with P > 0.315 at the west end of the linkage are few, generally small and
isolated, and not protected by public ownership. The linkage itself traverses a narrow pathway of linear
wetlands and natural upland habitats west of and over the Lake Wales Ridge in a landscape otherwise

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       212
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 237 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


dominated by citrus groves, pasturelands, and some residential and urban development. The Trend
2070 model would effectively sever this linkage in multiple locations, rendering this connection
unusable as a movement corridor for panthers. Conversely, this linkage would remain intact along its
entire length under the Alternative 2070 model, but new urban development would encroach along its
edges, particularly along its western 12 km. The value of this linkage as a landscape connection for
dispersing panthers remains in doubt, however, due to the low habitat values at the west terminus of
the linkage, and the long distance and relatively narrow width of the linkage.

7. Bull Creek to Tosohatchee WMA: This 28.5 km-long linkage would connect the Bull Creek habitat
region to the Tosohatchee WMA on the west side of the St. Johns River east of Orlando (Figure 6.23).
This linkage passes through a broad landscape of pasturelands interspersed with isolated and
streamside wetlands in a single ownership. Although the Statewide RFP model indicates that most of
this region has p-values >0.315, suggesting a potential for panther presence, this pathway would most
likely function as a movement corridor for panthers along the stepping stones formed by isolated
wetland habitats rather than as an occupied habitat corridor. Although rare, dispersing male panthers
have been recorded in this area based on VHF- and GPS-telemetry data. Both the Trend and Alternative
2070 model show that this entire linkage would be eliminated by future growth on Deseret Ranch
(Figure 7.12 and Figure 7.13). Although dispersing panthers may be able to follow an alternative linkage
along the west side of the St. Johns River, the functionality of this possible linkage is questionable due to
the predominance of herbaceous wetlands in much of the area and the likelihood that future
development and human disturbance will extend all the way to the wetland edges. The end result is
that future development may compromise the ability of panther to disperse out of south Florida into
apparently suitable habitats farther to the north.

8. Farmton: The 21.7 km-long Farmton linkage is in southern Volusia County and extends from the
Little Big Econ SF north to the Wiregrass Prairie Preserve (Figure 6.23). Most of the linkage traverses a
parcel in single ownership known as Farmton. This linkage passes through an undeveloped landscape
dominated by pine flatwoods and forested wetlands interspersed with forest clearcuts. The entire area
constitutes the Farmton Core Habitat Region, a 419 km2 landscape that could support one or more
female panthers. Thus, this region could function as an occupied habitat linkage connecting panther
habitats south of the site to those to the north along a continuous system of public lands that includes
most of the St. Johns South Core Habitat Region. Existing wildlife underpasses along I-4 between
Daytona Beach and Deland should ensure the safe passage of panthers through this region. Both the
Trend and Alternative 2070 growth models indicate that future development is likely to eliminate one-
third or more of the Farmton linkage, thereby rendering the Farmton landscape linkage nonviable as an
occupied habitat or movement corridor for panthers (Figure 7.12 and Figure 7.13). The end result is that
future development in the Farmton area may make it more difficult for panthers to move farther north
into the South St. Johns Core Habitat Region, which is largely protected by public ownership.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        213
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 238 of 585
                                                       FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.12. Impacts of future development on landscape linkages with the potential to connect areas
of Central Florida that could function as source and sink habitats for Florida panthers based on the
Trend 2070 growth model.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 214
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 239 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.13. Impacts of future development on landscape linkages with the potential to connect areas
of Central Florida that could function as source and sink habitats for Florida panthers based on the
Alternative 2070 growth model.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 215
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 240 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


9. Ocala National Forest to Camp Blanding: This 32.5 km-long linkage extends from Rice Creek
Conservation Area, which is connected through a system of public lands to the Ocala National Forest, to
Camp Blanding Military Reservation (Figure 6.24). Along the way, this linkage passes through Etoniah
Creek SF, Belmore SF, Nochaway Mitigation Bank, and the Highbrighton Conservation Easement. This
linkage traverses a large landscape dominated by pine plantations and forested wetlands, portions of
which are included within the 522 km2 Camp Blanding Core Habitat Region. Thus, this landscape has the
potential to function as an occupied habitat linkage capable of supporting 2 or more female home
ranges. The Trend 2070 model would result in severing this linkage due to new developments between
SR 21 and CR 315 immediately east of Camp Blanding (Figure 7.14). This entire linkage would be
preserved, however, under the Alternative 2070 model because all of this landscape is included within a
Priority 1 Critical Linkage in the FEGN, and all Priority 1 and 2 Linkages would be preserved according to
the Alternative 2070 model (Figure 7.15).

10. Camp Blanding to Osceola National Forest: This 34.0 km-long linkage would connect Camp
Blanding Military Reservation to Osceola National Forest by passing through a large undeveloped
landscape dominated by pine plantations, forest clearcuts, and forested wetlands (Figure 6.24). Most of
this landscape is within the Osceola Core Habitat Region, an area containing 2355 km2 potentially
capable of supporting a large number of female home ranges. Thus, this linkage could be considered
not only core panther habitat but an occupied habitat corridor. Neither the Trend 2070 nor the
Alternative 2070 development model would adversely impact this linkage, and the entire area is likely to
remain undeveloped through 2070 according to these models (Figure 7.14 and Figure 7.15).

11. Osceola National Forest to Big Bend: This 83.2 km-long linkage extends from the west boundary of
Osceola National Forest to a large landscape of unprotected habitats that are part of the Big Bend Core
Habitat Region (Figure 6.24). Most of this linkage follows a narrow system of public lands along the
Suwannee River where protected lands range from 0.3 km to 2.0 km wide, although some protected
parcels are as wide as 3.0 km. There are several gaps in the system of public lands along the Suwannee
River in the range of 0.4 km to 1.5 km long; there is a 6.9 m-long gap in protection between Osceola
National Forest and the public lands along the Suwannee River; and the west end of the linkage includes
7.8 km of unprotected lands between the Suwannee River and habitats included within the Big Bend
Core Habitat Region. This linkage traverses a rural landscape where agricultural and silvicultural lands
extend to the edges of lands in public ownership. The Trend 2070 model indicates that this linkage is
likely to be severed as development encroaches into the gaps now present in the system of public lands
along the Suwannee River (Figure 7.14). The Alternative 2070 model indicates that this corridor would
remain largely intact because most of this linkage is within a Priority 1 Critical Linkage in the FEGN, and
the Alternative 2070 model precludes development of these priority linkages (Figure 7.15). Although
the Suwannee River corridor appears to provide the only linkage between the Osceola and Big Bend
Core Habitat Regions, this linkage is too narrow and too long to be considered an occupied habitat
linkage. Moreover, it may not function well or at all as a movement linkage. For example, adult male
panthers would require 4–12 days to travel the entire length of this 83 km linkage based on
observations from south Florida, and females would require 6–16 days to complete the journey.
Additionally, the linkage includes gaps between public ownership, and some protected bottlenecks are
as narrow as 300 m.

12. Big Bend to Withlacoochee: This 14.9 km-long linkage extends from the southeast corner of Goethe
SF (i.e., southeastern corner of the Big Bend Core Habitat Region) to the edge of the Cross Florida

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      216
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 241 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


Greenway in southwest Marion County (Figure 6.24). The Cross Florida Greenway connects to a system
of public lands that contain most of the 436 km2 Withlacoochee Supporting Habitat Region. The
northern third of this linkage passes through an area of pine plantations and forested wetlands; the
central portion is bordered by some developed lands just north of Dunnellon; and the southern third
crosses the Rainbow River and Rainbow Springs State Park before connecting to the Cross Florida
Greenway. The Trend 2070 model indicates that the entire length of this linkage from Goethe State
Forest to the Rainbow River would be developed and would no longer function as a movement linkage
for panthers (Figure 7.14). The Alternative 2070 model indicates that urban development would
encroach upon the linkage and create a narrow bottleneck north of Dunnellon to such an extent that
this linkage would no longer be viable (Figure 7.15). Thus, future developments are likely to isolate the
Withlacoochee Supporting Habitat Region to the extent that it would no longer function as a habitat
region capable of supporting a small subpopulation of panthers.

Green Swamp: The Green Swamp Core Habitat Region comprises 734 km2 of apparently high-quality
panther habitats in west central Florida, and it appears to be capable of supporting several female home
ranges. However, Green Swamp is entirely surrounded by multi-lane expressways, including I-4, I-75,
the Florida Turnpike (SR 91), and SR 429 (Figure 6.23). Moreover, Green Swamp is almost completely
surrounded by existing human developments. These high-volume expressways and existing
developments effectively isolate Green Swamp from other regions of potentially suitable panther
habitats in central Florida. Both the Trend 2070 and Alternative 2070 growth models indicate that
future development will further isolate Green Swamp, rendering the apparently suitable habitats of the
area incapable of supporting a subpopulation of panthers (Figure 7.14 and Figure 7.15).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     217
                      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 242 of 585
                                                                                                FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.14. Impacts of future development on landscape linkages with the potential to connect areas of North Florida that could function as
source and sink habitats for Florida panthers based on the Trend 2070 growth model.

                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       218
                      Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 243 of 585
                                                                                                FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.15. Impacts of future development on landscape linkages with the potential to connect areas of North Florida that could function as
source and sink habitats for Florida panthers based on the Alternative 2070 growth model.

                                       SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       219
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 244 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


Habitat Fragmentation Through 2070

As discussed in Section 6.3.7, patch size is a factor in the likelihood of occupancy and not solely the
amount of suitable habitat. Therefore, we assessed the additive impact of habitat loss on habitat patch
connectivity among those patches we identified as currently supporting or with the potential to support
panther populations in the future. To assess future impacts of habitat loss on the connectivity of
individual patches, the areas of habitat that would be lost to the combined effects of land development
(i.e., Trend 2070 and Alternative 2070 models) and a 1.0 m rise in sea levels were deleted from each of
the current Supporting and Core Habitat Regions (Figure 6.17 and Figure 6.18). The region group
analysis used to identify these regions was then rerun on these values. If areas were projected to
become fragmented yet remaining above the 217 km2 threshold in size (i.e., mean size of a female home
range), new names were assigned to these region groups.

In most cases, the combined effects of development and sea level rise resulted in smaller remaining
patches of suitable habitat than would result due to simply subtracting the area of habitat loss from the
current patch size, as was reported in the previous section. That is because habitat loss results in the
fragmentation of larger patches into groups of smaller patches, some of which fall below the threshold
of 217 km2. Thus, in addition to the area of habitat lost from a unique patch, fragmentation causes
some patches to become too small to function as sink population areas, and the too small patches are
removed from further calculations of patch size.

The effects of fragmentation associated with the Alternative 2070-SLR model are generally less than
those of the Trend 2070-SLR model. The Trend 2070-SLR model results in the fragmentation of the large
North Florida Supporting Habitat Region into 8 patches, each of which is significantly smaller than the
current patch of 36,852 km2 (Figure 7.16; Table 7.4). Comparatively, the Alternative 2070-SLR model
results in the fragmentation of the large North Florida SHR into 5 smaller patches, the combined area of
which is 86.7 percent of the area of the current North Florida SHR (Figure 7.17; Table 7.4). However,
under either scenario, the effects of habitat loss and fragmentation did not affect the potential for the
Apalachicola and Big Bend regions to function as potential Source Population Areas (Figure 7.18 and
Figure 7.19; Table 7.5). The Apalachicola CHR remained intact under both scenarios and the project
patch sizes remain above the 5058 km2 threshold established for identifying areas capable of supporting
source populations (see Section 6.3.7; Figure 6.19). The Trend 2070-SLR and Alternative 2070-SLR
models result in the fragmentation of the current Big Bend CHR into 2 smaller patches (Figure 7.16 and
Figure 7.17; Table 7.5), but the projected patch sizes of the larger Big Bend patch under both scenarios
remain above the 5058 km2 threshold for functioning as a source population area.

The Trend 2070-SLR model results in the fragmentation of the Southwest Florida SHR (5058 km2) into 2
smaller patches, with the Okaloacoochee Slough SHR (359 km2) fragmented from the larger Big Cypress
SHR (3641 km2). Comparatively, the Alternative 2070-SLR results in the Southwest Florida SHR
remaining intact, although reduced in size (4328 km2) from current conditions (Figure 7.17; Table 7.4).
Under both the Trend 2070-SLR and Alternative 2070-SLR model scenarios, the Big Cypress CHR is
projected to remain intact, although reduced in size from current conditions (Figure 7.18 and Figure
7.19; Table 7.5). The smaller Okaloacoochee Slough CHR that is currently is contained within the
Southwest Florida SHR falls below the 217-km2 threshold under the both the Trend and Alternative
2070-SLR models, but the region is still projected to provide sufficient suitable habitat to support female



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      220
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 245 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER


panthers in the future. However, the Long Pine Key SHR falls below the threshold of 217 km2 and is not
projected to function as a sink population area in the long-term future.

In the areas north of the Caloosahatchee River and south of I-4, the Alternative 2070-SLR model results
in the existing Osceola-Orange SHR being fragmented into 2 smaller patches, but the total effect of
habitat loss is less than that from the Trend 2070-SLR model projections (Figure 7.16 and Figure 7.17;
Table 7.4). Within the aforementioned Osceola-Orange SHR, the Avon Park and Bull Creek CHRs are
projected to remain intact under both 2070 scenarios, with the Deseret Ranch CHR projected to become
smaller than the 217-km2 threshold under both projections (Figure 7.18 and Figure 7.19; Table 7.5). The
effects of fragmentation from the Trend 2070-SLR model result in the following habitat patches falling
below the threshold of 217 km2: 1) Duette-West Hardee; 2) Withlacoochee; and 3) Wauchula East
(Figure 7.16; Table 7.4).

Whereas the Alternative 2017-SLR model results in the Babcock Ranch-Fisheating Creek, Myakka,
Corbett-Loxahatchee, Duette-West Hardee, South Desoto SHR, and the Wauchula East SHRs remaining
larger than the 217-km2 threshold, with only the Wauchula East SHR falling below the 217-km2 threshold
(Figure 7.17; Table 7.4).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                  221
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 246 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.16. Patches of Florida panther habitat >217 km2 based on region groupings of potentially
suitable habitats with P > 0.315 after habitat loss (Trend 2070+1.0 m SLR).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   222
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 247 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.17. Patches of Florida panther habitat >217 km2 based on region groupings of potentially
suitable habitats with P >0.315 after habitat loss (Alternative 2070+1.0 m SLR).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   223
                           Case 1:21-cv-00119-RDM                  Document 149-2           Filed 01/12/24          Page 248 of 585
                                                                                                               FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.4. Total area (km2) of each Supporting Habitat Region (SHR) remaining after the loss of panther habitat due to the combined effects of
the Trend 2070 and Alternative 2070 growth models (Carr and Zwick 2016) and sea level rise of 1.0 m (Noss et al. 2014).

                                                                                          Habitat Patch Sizes 2070 - After Development and 1.0 m Sea Level Rise

                                                                                                Trend 2070                                Alternative 2070
           Current (2018)         Current (2018)   Projected Long-Term (2070)                           Map        Figure                            Map          Figure
      Supporting Habitat Region     Area km2       Supporting Habitat Region 6    km2          %      Location      No.         km2        %       Location        No.
    North Florida                    36,852
                                                   Apalachicola NF-Eglin AFB     13,912         -         1         7.16      14,014        -         1           7.17
                                                   Big Bend-Osceola NF           11,367         -         2         7.16      11,994        -         2           7.17
                                                   Ocala NF-NE Florida           4171           -         3         7.16       5452         -         3           7.17
                                                   Northwest Jackson              294           -         14        7.16        294         -         15          7.17
                                                   West Nassau-Duval              250           -         15        7.16         -          -          -            -
                                                   Turnbull Hammock               241           -         16        7.16         -          -          -            -
                                                   North Nassau                   238           -         17        7.16        263         -         16          7.17
                                                   North Flagler                  224           -         18        7.16         -          -          -            -
    Southwest Florida                 5058
                                                   Big Cypress                   3641           -         4         7.16       4328         -         4           7.17
                                                   Okaloacoochee Slough           359           -         12        7.16         -          -          -            -
    Osceola-Orange                    4292                                       3127         72.8        5         7.16       3698       86.2         -            -
                                                   South Osceola                   -            -          -          -        2897         -         5           7.17
                                                   East Orange                     -            -          -          -         801         -         8           7.17
    Babcock-Fisheating Creek          1634         Babcock-Fisheating Creek      1246         76.2        6         7.16       1553       95.0        6           7.17
    Green Swamp                       1395         Green Swamp                   1088         78.0        7         7.16       1354       97.0        7           7.17
    Escambia                           818         Escambia                       728         88.9        8         7.16        734       89.7        9           7.17
    Myakka                             664         Myakka                         575         86.6        9         7.16        563       84.7        11          7.17
    Corbett-Loxahatchee                657         Corbett-Loxahatchee            470         71.5        10        7.16        604       92.0        10          7.17

6
 Areas of Florida in the Statewide Random Forest Panther Model (USFWS unpublished data) that would be developed under the combined effects of the Trend
2070 model and a 1.0 m rise in sea levels, and the combined effects of the Alternative 2070 and a 1.0 m rise in sea levels, were subtracted from the panther
habitat model. A Region Group analysis (Spatial Analyst extension of ArcGIS Desktop 10.5.1 [ESRI, Redlands, CA]) was then run on the revised panther habitat
model (p>0.315) to calculate the total areas (km2) of patches of Supporting Habitat Regions of panther habitat remaining after the combined effects of
development and sea level rise as of 2070.

                                              SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                    224
                       Case 1:21-cv-00119-RDM                   Document 149-2           Filed 01/12/24          Page 249 of 585
                                                                                                            FUTURE CONDITION OF THE FLORIDA PANTHER


                                                                                       Habitat Patch Sizes 2070 - After Development and 1.0 m Sea Level Rise

                                                                                             Trend 2070                                Alternative 2070
       Current (2018)         Current (2018)       Projected Long-Term (2070)                        Map        Figure                            Map          Figure
  Supporting Habitat Region     Area km2           Supporting Habitat Region 6   km2        %      Location      No.         km2        %       Location        No.
Duette-West Hardee                 591         Duette-West Hardee                 -          -          -          -         500       84.7        12          7.17
Withlacoochee                      436         Withlacoochee                      -          -          -          -         220       50.5        17          7.17
Plantation Lands                   393         Plantation Lands                  360       91.7        11        7.16        371       94.3        13          7.17
South DeSoto                       319         South DeSoto                      318       99.8        13        7.16        317       99.4        14          7.17
Twelve Mile Swamp                  309         -                                  -          -          -          -          -          -          -            -
Wauchula East                      244         -                                  -          -          -          -          -          -          -            -
Long Pine Key                      236         -                                  -          -          -          -          -          -          -            -
Total                            53,898




                                          SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                     225
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 250 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.18. Patches of Florida panther habitat >217 km2 based on region groupings of potentially
suitable habitats with P >0.55 after habitat loss (Trend 2070+1.0 m SLR).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   226
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 251 of 585
                                                        FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.19. Patches of Florida panther habitat >217 km2 based on region groupings of potentially
suitable habitats with P >0.55 after habitat loss (Alternative 2070+1.0 m SLR).




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                   227
                              Case 1:21-cv-00119-RDM                  Document 149-2         Filed 01/12/24          Page 252 of 585
                                                                                                                FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.5. Total area (km2) of each Core Habitat Region (CHR) remaining after the loss of panther habitat due to the combined effects of the
Trend 2070 and Alternative 2070 growth models (Carr and Zwick 2016) and sea level rise of 1.0 m (Noss et al. 2014).

                                                                                         Habitat Patch Sizes 2070 - After Development and 1.0 m Sea Level Rise

                                                                                              Trend 2070                                  Alternative 2070
         Current (2018)          Current (2018)     Projected Long-term (2070)                         Map        Figure                              Map        Figure
       Core Habitat Region         Area km2            Core Habitat Region 7     km2         %       Location      No.         km2          %       Location      No.
    Big Cypress                      3219          Big Cypress                   2805       87.1         3         7.18       2872        89.2          3        7.19
    Okaloacoochee Slough              217          -                             < 217       -           -           -        < 217         -           -          -
    Apalachicola                     6297          Apalachicola                  5783       91.8         1         7.18       5789        91.9          1        7.19
    Big Bend                         7004
                                                   Big Bend                      5137       73.3         2         7.18       5156        73.6          2        7.19
                                                   Levy County                   1067       15.2         7         7.18       1094        15.6          7        7.19
    Eglin-Nokuse                     2725
                                                   Eglin Air Force Base          1480       54.3         5         7.18       1481        54.3          5        7.19
                                                   Nokuse                        889        32.6         8         7.18        919        33.7          8        7.19
    Osceola National Forest          2355          Osceola National Forest       2284       97.0         4         7.18       2328        98.8          4        7.19
    Ocala National Forest            1307          Ocala National Forest         1193       91.3         6         7.18       1219        93.3          6        7.19
    St. Johns River South             718          St. Johns River South         498        69.3        10         7.18        631        87.8         10        7.19
    Camp Blanding                     522          Camp Blanding                 264        50.5        16         7.18        239        45.9         18        7.19
    Blackwater State Forest           287          Blackwater State Forest       263        91.7        17         7.18        283        98.7         16        7.19
    St. Johns River North             524          St. Johns River North         < 217       -           -           -         269        51.4         17        7.19
    St. Johns River South             718          -                             < 217       -           -           -        < 217         -           -          -
    Farmton                           419          -                             < 217       -           -           -        < 217         -           -          -
    North Nassau                      317          -                             < 217       -           -           -        < 217         -           -          -

7
 Areas of Florida in the Statewide Random Forest Panther Model (USFWS unpublished data) that would be developed under the combined
effects of the Trend 2070 model and a 1.0 m rise in sea levels, and the combined effects of the Alternative 2070 and a 1.0 m rise in sea levels,
were subtracted from the panther habitat model. A Region Group analysis (Spatial Analyst extension of ArcGIS Desktop 10.5.1 [ESRI, Redlands,
CA]) was then run on the revised model of medium-high- and high-quality panther habitats (p>0.55) to calculate the total areas (km2) of CHRs of
panther habitat remaining after the combined effects of development and sea level rise as of 2070.


                                                  SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                228
                      Case 1:21-cv-00119-RDM        Document 149-2    Filed 01/12/24     Page 253 of 585
                                                                                   FUTURE CONDITION OF THE FLORIDA PANTHER


Bull Creek                  500    Bull Creek                401     80.3     13       7.18    389    77.9    13      7.19
Avon Park                   309    Avon Park                 301     97.4     15       7.18    308    99.7    15      7.19
Deseret Ranch               335    -                        < 217     -       -               < 217    -       -       -
Green Swamp                 734    Green Swamp               650     88.6     9        7.18    728    99.2    9       7.19
Escambia                    494    Escambia                  440     89.2     10       7.18    443    89.7    11      7.19
Myakka                      359    Myakka                    355     98.8     14       7.18    352    98.0    14      7.19
Corbett-Loxahatchee         544    Corbett-Loxahatchee       407     74.9     12       7.18    421    77.4    12      7.19




                                  SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                    229
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 254 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


7.2.5   Very Long-Term (2100) Impacts of Sea Level Rise on Panther Habitat

Although models of future development in Florida are not available beyond the year 2070, existing sea
level rise models project possible areas of inundation based on several scenarios of sea level rise
through the year 2100. We overlaid the sea level rise database on our models of Core and Supporting
Habitat Regions and calculated the area of habitat that could be lost under each scenario of sea level
rise (Table 7.6; Figure 7.20).

Panther habitats at Long Pine Key in ENP are at greatest risk of habitat loss due to SLR. A rise in sea
levels of 0.52 m would result in the loss of 11 percent of the panther habitat in this area, and would
leave only 210 km2 of habitat remaining, which is smaller than the mean adult female home range of
217 km2 recorded between 2004 and 2017. Rising sea levels would lead to progressive losses of panther
habitats at Long Pine Key. Panther habitats in the Big Cypress CHR are also at significant risk of habitat
loss due to rising sea levels (Table 7.6). Habitat loss resulting from a 0.52-m rise in sea levels would be
relatively small, amounting to only 2.9 percent of the total panther habitat in the Big Cypress CHR.
However, losses increased sharply from 8.4 percent due to a 1.04-m rise in sea levels to 30.1 percent if a
2.0-m rise in sea levels were to occur. The coastal panther habitats of the Big Bend and Apalachicola
National Forest CHRs are also susceptible to loss due to rising sea levels. A SLR scenario of 2.0 m by
2100 projected losses of 11.7 percent for Big Bend and 8.7 percent for Apalachicola. However, based on
2100 SLR projections alone, habitat loss would not reduce the potential of these areas to support source
populations in the future. Smaller and more inland patches of Core and Supporting Habitat Regions
were generally at less risk to loss of habitat due to SLR through 2100.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      230
                              Case 1:21-cv-00119-RDM            Document 149-2                Filed 01/12/24           Page 255 of 585
                                                                                                                 FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.6. Total area (km2) and percentage loss of panther habitat patches under each of four scenarios of sea level rise in Florida through 2100.

                                                                                        Area and Percent Loss - Sea Level Rise Scenarios by 2100 8

                                              Current (2018)         0.52 m                        1.04 m                       1.5 m                       2.0 m
    Conservation Focus Area                     Area km2       km2            %             km2             %            km2             %           km2            %
    Southwest Florida SHR                         5058           218              4.3             427           8.4         1085             21.5      1352             26.7
               Big Cypress CHR                    3219               95           2.9             270           8.4            622           19.3          969          30.1
               Okaloacoochee Slough CHR            217               0            0.0              0            0.0             0             0.0           0            0.0
    North Florida SHR                            3,6852          731              2.0          1390             3.8         1815              4.9      2310              6.3
               Big Bend                           7004           181              2.6             441           6.3            623            8.9          818          11.7
               Apalachicola National Forest       6297           220              3.5             343           5.4            430            6.8          546           8.7
               Eglin Air Force Base               2725               39           1.4             72            2.6            91             3.3          112           4.1
               Osceola National Forest            2355               0            0.0              0            0.0             0             0.0           0            0.0
               Ocala National Forest              1307               32           2.4             54            4.1            62             4.8          72            5.5
               St. Johns River South               718               4            0.6             10            1.4            16             2.2          24            3.3
               St. Johns River North               524               2            0.4              4            0.8             5             1.0           6            1.2
               Camp Blanding                       522               1            0.2              2            0.3             2             0.5           3            0.5
               Farmton                             419               5            1.3             28            6.7            41             9.7          52           12.3
               North Nassau                        317               5            1.6             13            4.2            22             6.9          38           12.0
               Blackwater State Forest             287               0            0.0              0            0.1             0             0.1           1            0.2
    Orange-Osceola SHR                            4292               0            0.0              5            0.1            13             0.3          14            0.3
               Bull Creek                          500               0            0.0              0            0.0             0             0.0           0            0.0
               Deseret Ranch                       335               0            0.0              0            0.0             0             0.0           0            0.0
               Avon Park-Osceola                   309               0            0.0              0            0.0             0             0.0           0            0.0
    Babcock-Fisheating Creek SHR                  1634               0            0.0              0            0.0             0             0.0           0            0.0
    Green Swamp SHR                               1395               0            0.0              1            0.1             1             0.1           1            0.1
               Green Swamp CHR                     734               0            0.0              0            0.0             0             0.0           0            0.0


8
 The total area of each panther habitat patch lost to various levels of sea level rise through the year 2100 was determined by overlaying four
scenarios of sea level rise (Noss et al. 2014) on the patches of panther habitat and calculating the area of overlap.


                                               SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                    231
                          Case 1:21-cv-00119-RDM         Document 149-2                 Filed 01/12/24           Page 256 of 585
                                                                                                            FUTURE CONDITION OF THE FLORIDA PANTHER


                                                                                  Area and Percent Loss - Sea Level Rise Scenarios by 2100 8

                                       Current (2018)         0.52 m                         1.04 m                       1.5 m                       2.0 m
Conservation Focus Area                  Area km2       km2            %              km2             %            km2             %           km2            %
Escambia SHR                                818               18            2.2             22             2.6           36             4.3          55            6.7
           Escambia CHR                     494               11            2.3             26             5.2           32             6.5          37            7.6
Myakka SHR                                  664               2             0.3              7             1.1           18             2.8          34            5.1
           Myakka CHR                       359               0             0.1              1             0.3            3             0.7           6            1.6
Corbett-Loxahatchee SHR                     657               0             0.0              0             0.0            0             0.0           0            0.0
           Corbett-Loxahatchee CHR          544               0             0.0              0             0.0            0             0.0           0            0.0
Duette-West Hardee SHR                      591               0             0.0              0             0.0            0             0.0           0            0.0
Withlacoochee SHR                           436               0             0.0              0             0.0            0             0.0           0            0.0
Plantation Lands SHR                        393               0             0.0              0             0.0            0             0.0           0            0.0
South DeSoto SHR                            319               0             0.0              0             0.0            0             0.0           0            0.0
Twelve Mile Swamp SHR                       309               5             1.5             15             4.9           21             6.9          28            8.9
Wauchula East SHR                           244               0             0.0              0             0.0            0             0.0           0            0.0
Long Pine Key SHR                           236               50           21.0             134           56.9           181           76.7          203          86.0
Supporting Habitat Region Total           53,898         1024               1.9          2002              3.7        3173              5.9      4000              7.4
           Core Habitat Region Total      29,186          596               2.0          1264              4.3        1950              6.7      2684              9.2




                                        SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                                     232
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 257 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER




Figure 7.20. Projections of sea level rise in Florida through 2100 (Noss et al. 2014) in relation to patches
of Florida panther habitat >217 km2.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        233
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 258 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


7.2.6   Impacts of Habitat Loss on Near-term (2040) and Long-term (2070) Population Viability

There is an innate link between the viability of a population and the amount of supporting habitat that is
available (Wilcove et al. 1998, Reed et al. 2002). The impact of habitat loss and fragmentation is
especially significant for imperiled species that require expansive habitats and that are vulnerable to
human intolerance and conflict, like many large carnivores throughout the world (Ripple et al. 2014). In
previous sections, we have outlined the impact of habitat loss on Florida panthers at differing time
intervals (2040, 2070, and 2100) and from differing sources (development, SLR). Similarly, we have
determined population viability in terms of probability of quasi-extinction (PQE; N <10 panthers) of the
panther population at intervals up to 200 years into the future (van de Kerk et al. 2019). The next logical
step would be to conduct a spatially-explicit PVA that incorporated models of future habitat loss to
determine its impact on the PQE at intervals in the future. The most recent PVA models for panthers
(Hostetler et al. 2013, van de Kerk et al. 2019) were not spatially-explicit, hence the conundrum of
determining how the predicted loss of habitat and future conditions will impact population persistence.
Initiating and completing a spatially-explicit PVA for the panther is certainly something that merits
consideration for future research, but the development of such a project was beyond the scope of this
document.

Nevertheless, there are data that have been analyzed that reveal under current conditions (e.g., current
available habitat, genetic variation, and population size), the panther population has a low PQE (7.2
percent at 100 years, Hostetler et al. 2013; 1.4 percent at 100 years; van de Kerk et al. 2019). This can
be interpreted as demonstrating that the breeding population that exists south of the Caloosahatchee
River in the Functional Zone is viable if current conditions remain constant. That said, development (i.e.,
habitat loss and fragmentation) and SLR are predicted to have an impact on the amount of habitat
available to panthers in the coming decades, even under the most optimistic, conservation-focused
scenario (i.e., Alternative Trend 2070). So, a question remains as to whether it is possible to assess the
impact of habitat loss on population viability given that there is currently no spatially-explicit PVA model
for panthers. To answer this question, we utilized a combination of data from near-term (2040) and
long-term (2070) habitat loss projections (see Sections 7.2.3 and 7.2.4), panther density estimates
derived in habitat of varied quality to panthers (see Section 6.1.4; Sollmann et al. 2013, Dorazio and
Onorato 2018), and PQE values from previous PVA modeling efforts (see Section 7.1; Hostetler et al.
2013, van de Kerk at al. 2019), to make an informed assessment regarding whether panthers are
expected to persist as a viable population within a shrinking Functional Zone over the next 50 years.

There are many caveats which must be mentioned prior to completing such an assessment including:

    •   All predictions associated with PVA models have their shortcomings, limitations, and
        uncertainties. This includes PQE estimates.
    •   A spatially-explicit PVA would likely provide more robust estimates of the impact of habitat loss
        on PQE. Regardless, said model would still have limitations afforded by the data available to
        run the model.
    •   Estimates of adult panther density range from 1.3 to 4.03 individuals per 100 km2 (see section
        6.1.4) across 4 study areas comprised of differing quality panther habitat on public and private
        lands. Therefore, it is a fair assumption that habitat quality and panther density vary within the
        Functional Zone. By definition, Zone A and B of the Functional Zone are comprised of habitats
        of differing quality for panthers.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       234
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 259 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


    •   Extrapolating said density estimates across the Functional Zone is problematic given the
        variation in the quality of habitat for panthers and how it impacts density. Nevertheless, such
        density estimates are the best available data to assist with determining how many panthers
        may persist in a defined unit of space.
    •   Models of habitat loss, such as the Trend and Alternative 2070 models, are only as accurate as
        the data used to develop them. It’s reasonable to accept that there is the possibility that
        habitat loss 50 years from present could be higher, lower, or impact different areas than
        currently projected.

With those caveats in mind, we can look at the results of the Hostetler et al. (2013) and van de Kerk et
al. (2019) PVA models, both of which revealed low levels of PQE in the next 100 years under current
conditions. For this assessment, we focus on the results of the following model in van de Kerk et al.
(2019; see Section 7.12) for the near-term (2040) and long-term (2070) periods of the habitat loss
projection scenarios:

     • Individually based model (IBM)
     • Motor Vehicle Mortality Scenario (MVM) that uses McClintock et al. (2015) estimates of the
       adult and subadult population size
     • Density dependent scenario
     • Habitat conditions are static (no assessment of habitat loss)
     • Genetic drift is not accounted for

Impacts of Habitat Loss on Near-Term (2040) Population Viability

Results from the van de Kerk et al. (2019) model revealed: 1) a projected population size of 185 adults
and subadults (142–216, 95% CI); and 2) a cumulative PQE of 0.123 percent (0–0.1; 5th and 95th
percentiles) by 2040 (Figure 7.1). These results can be interpreted as showing that the population
would be viable with a very low PQE for the next 20 (2040) years, should conditions remain constant.
Applying the 20-year population estimate of 185 to the current Functional Zone size of 9094 km2 (Table
7.2) permits us to estimate a density of 2.03 panthers/100 km2. This density falls within the range of
published density estimates for puma (Quigley and Hornocker 2010) as well as estimates that have
recently been calculated for Florida panthers at 4 different study areas in southwestern Florida
(Sollmann et al. 2013, Dorazio and Onorato 2018, Onorato et al. 2020; see section 6.1.4). These density
estimates were calculated using trail camera data and spatial mark-resight (SMR) models for study areas
in the PSSF (1.5 panthers/100 km2; PSSF), Addition Lands Unit of BCNP (1.37 panthers/100 km2; Addition
Lands), the privately-owned Immokalee Ranch (3.90 panthers/100 km2; IMR) and a complex of public
lands inclusive of the entire FPNWR plus portions of the FSPSP and PSSF (4.03 panthers/100 km2;
Panther Refuge Complex). These sites could be considered as stretching across a habitat quality
gradient for panthers. Keeping the aforementioned caveats in mind, we can deduce that a density of
2.03 panthers/100 km2 in the current Functional Zone is supporting a viable population. Given our
range of density estimates from recent modeling efforts, it’s reasonable to state that the current
Functional Zone may have the capacity to sustain more panthers in areas with higher quality habitat or if
land managers improve marginal or low-quality habitat.

Projections of habitat loss in the Functional Zone for the next 20 years all show a net loss of panther
habitat by 2040 (Table 7.7). What is necessary is knowing if a viable population of panthers could be


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         235
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 260 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER


sustained on what will invariably be a smaller footprint of habitat. If we use 185 panthers as our
benchmark for a viable population, per the van de Kerk et al. (2019) PVA, we then should assess
whether a smaller Functional Zone would theoretically be able to support a density of panthers that
equates to 185 animals and does said density fall within the range we’ve estimated for panthers in
South Florida and for pumas in other populations.

We assessed the projected near-term (2040) impacts of habitat loss in the Functional Zone on panther
population viability under the following scenarios (Table 7.7):

      1. Planned Developments – Future developments likely to be constructed in South Florida
         through the year 2040 (See Section 7.2.1)
      2. SLR of 0.5 m
      3. Planned Developments and SLR of 0.5 Combined
      4. Developments after Protection of Florida Forever and FEGN Acquisition List

For the Functional Zone, we see a reduction from 9094 km2 today to 8513 km2, 8121 km2, 7593 km2, and
8919 km2 for the 2040 Planned Developments, SLR of 0.5 m, Planned Developments + SLR, and
Developments after Protection of Florida Forever and FEGN, respectively (Table 7.7). For 185 adult and
subadult panthers to persist in those areas, they would need to support densities of 2.17 panthers/100
km2, 2.28 panthers/100 km2, 2.44 panthers/100 km2, and 2.07 panthers/100 km2, for the 2040 Planned
Developments, 2040 SLR of 0.5 m, Planned Developments + SLR, and Developments after Protection of
Florida Forever and FEGN, respectively. These projected densities for the four different near-term
habitat loss scenarios are all within the aforementioned range of density estimates for panthers (1.37–
4.03 panthers/100 km2). Therefore, we can surmise that there is the potential for a smaller footprint of
habitat to support what we currently consider a viable population of panthers over the next 20 years.
We caution that habitat management and restoration efforts would play a key role in making this
increase in density feasible.

Impacts of Habitat Loss on Long-Term (2070) Population Viability

Results from the van de Kerk et al. (2019) model revealed: 1) a projected population size of 187 adults
and subadults (142–218, 95% CI) and cumulative PQE of 0.72 percent (0–0.31 5th and 95th percentiles) by
2070 (Figure 7.1). These results can be interpreted as showing that the population would be viable with
a very low PQE for the next 50 (2070) years, should conditions remain constant. Applying the 50-year
population estimate of 187 to the current Functional Zone size of 9094 km2 (Table 7.3) permits us to
estimate a density of 2.06 panthers/100 km2. This density falls within the range of published density
estimates for puma (Quigley and Hornocker 2010) as well as estimates that have recently been
calculated for Florida panthers at 4 different study areas in southwestern Florida (Sollmann et al. 2013,
Dorazio and Onorato 2018, Onorato et al. 2020, see section 6.1.4). These density estimates were
calculated using trail camera data and spatial mark-resight (SMR) models for study areas in the PSSF (1.5
panthers/100 km2; PSSF), Addition Lands Unit of BCNP (1.37 panthers/100 km2; Addition Lands), the
privately owned Immokalee Ranch (3.90 panthers/100 km2; IMR), and a complex of lands inclusive of the
entire FPNWR plus portions of the FSPSP and PSSF (4.03 panthers/100 km2; Panther Refuge Complex).
These sites could be considered as stretching across a habitat quality gradient for panthers. Keeping the
aforementioned caveats in mind, we can deduce that a density of 2.06 panthers/100 km2 in the current
Functional Zone is supporting a viable population. Given our range of density estimates from recent
modeling efforts, it’s reasonable to state that the current Functional Zone may have the capacity to

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     236
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 261 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


sustain more panthers in areas with higher quality habitat or if land managers improve marginal or low-
quality habitat.

Models that assess habitat alterations for the next 50 years all show a net loss of panther habitat by
2070 (Table 7.8). What is necessary is knowing if a viable population of panthers could be sustained on
what will invariably be a smaller footprint of habitat. If we use 187 panthers as our benchmark for a
viable population, per the van de Kerk et al. PVA, we then should assess whether a smaller Functional
Zone would theoretically be able to support a density of panthers that equates to 187 animals and does
said density fall within the range we’ve estimated for panthers in South Florida and for pumas in other
populations.

There are three factors that permit estimates of habitat loss for four different scenarios by the year
2070 in Table 7.8. These include:

      1. Trend 2070 Scenario – Development projected to continue at current trend for 50 years.
      2. Alternative 2070 Scenario – Overall loss of habitat is reduced, assuming lands planned for
         development that were on the State's Florida Forever acquisition list as of September 2018
         and Priority 1 and 2 linkages of the FEGN (Oetting et al. 2016) are afforded protection in
         perpetuity.
      3. Trend 2070+SLR Scenario – Habitat loss under the Trend scenario associated with an
         estimated SLR of 1.0 m by 2070.
      4. Alternate 2070+SLR Scenario – Habitat loss under the Alternative scenario associated with an
         estimated SLR of 1.0 m by 2070.

For the Functional Zone, we see a reduction from 9094 km2 today to 7553 km2, 8266 km2, 6099 km2, and
6780 km2 for the Trend 2070, Alternative 2070, Trend 2070+SLR, and Alternative 2070+SLR, respectively.
For 187 adult and subadult panthers to persist in those areas, they would need to support densities of
2.48 panthers/100 km2, 2.26 panthers/100 km2, 3.07 panthers/100 km2, and 2.76 panthers/100 km2, for
the Trend 2070, Alternative 2070, Trend 2070+SLR, and Alternative 2070+SLR, respectively. These
projected densities for the four different long-term habitat loss scenarios are all within the
aforementioned range of density estimates for panthers (1.37–4.03 panthers/100 km2). So, we can
surmise that there is the potential for a smaller footprint of habitat to support what we currently
consider a viable population of panthers over the next 50 years. We caution that habitat management
and restoration efforts would play a key role in making this increase in density feasible.

In addition to maintaining a viable population in the Functional Zone in tandem with a level of habitat
loss, it’s also important to note that there’s the distinct probability that natural expansion of panthers
into Central Florida will continue over the next 50 years. As previously noted, FWC documented an
adult female panther north of the Caloosahatchee River for the first time in over 40 years in 2016 (FWC
2017). A minimum of three adult female panthers and at least four litters of kittens have been
documented north of the Caloosahatchee River between November 2016 and June 2020 (Kelly and
Onorato 2020), creating optimism that range expansion of the South Florida population will continue.
There is also the potential management option of releasing female panthers into Central Florida to
improve prospects for expansion of the breeding population. Given the appropriate conservation
measures and securing lands identified as Conservation Focus Areas, the expansion of panthers into
Central Florida will further improve the probability of maintaining a viable population of panthers to and


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        237
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 262 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER


beyond 2070 and will offset the projected reductions in resiliency south of the Caloosahatchee River
expected to occur as a result of habitat loss and fragmentation.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      238
                           Case 1:21-cv-00119-RDM                Document 149-2         Filed 01/12/24        Page 263 of 585
                                                                                                         FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.7. Total area (km2) of panther habitat remaining in the South Florida RFP Model (Frakes et al. 2015), the Functional Zone of South
Florida, and the Primary and Dispersal Zones (Kautz et al. 2006) in the near-term (2040) due to planned developments (i.e., DRIs, PUDs, East
Collier RLSA, Sector Plans, Lee County Planned Developments, and North Belle Meade TDR receiving lands), sea level rise of 0.5 m, and assuming
protection of lands planned for development that were on the State's Florida Forever (FF) acquisition list as of September 2018 and Priority 1
and 2 linkages of the Florida Ecological Greenways Network (FEGN) (Oetting et al. 2016). The potential number of panthers these remainng
habitat regions could support are based on the current range of density estimates (1.37–4.03 panthers/100 km2) for panthers in South Florida.

                                                                                Habitat Remaining Near Term 2040

                                                                                                  Developments and Sea Level       Developed Area After
                                        Planned Developments         Sea Level Rise of 0.5 m            Rise Combined            Protection of FF and FEGN
                            Current            Potential Panther             Potential Panther              Potential Panther             Potential Panther
                             Area     Area         Capacity         Area          Capacity        Area           Capacity       Area            Capacity
 Panther Habitat Region      km2      km2       1.37       4.03     km2        1.37        4.03    km2       1.37       4.03    km2        1.37        4.03
 South Florida RFP Model     5579     5366       73        216      5238        71       211      5041       69        203      5560       76         224
 Functional Zone             9094     8513      116        343      8121       111       327      7593       104       306      8919      122         359
            Zone A           6103     5838       80        235      5733        78       231      5486       75        221      6079       83         245
            Zone B           2991     2675       36        108      2388        32        96      2107       29         85      2840       39         114
 Primary Zone                9189     8877      121        357      7876       108       317      7587       104       305      9169      125         369
 Dispersal Zone              113      107        1          4        112        1          4      107         1          4      113         1          4




                                             SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                             239
                           Case 1:21-cv-00119-RDM                 Document 149-2         Filed 01/12/24        Page 264 of 585
                                                                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


Table 7.8. Total area (km2) of panther habitat remaining in the South Florida RFP Model (Frakes et al. 2015), the Functional Zone of South
Florida, and the Primary and Dispersal Zones (Kautz et al. 2006) of South Florida based on the Carr and Zwick (2016) Trend 2070 and Alternative
2070 growth models and a sea level rise (SLR) of 1.0 m (Noss et al. 2014). The potential number of panthers these remaining habitat regions
could support are based on the current range of density estimates (1.37–4.03 panthers/100 km2) for panthers in South Florida.

                                                                                 Habitat Remaining Long Term 2070


                                              Trend 2070                  Alternative 2070              Trend + SLR 1 m            Alternative + SLR 1 m
                            Current             Potential Panther              Potential Panther            Potential Panther             Potential Panther
                             Area     Area          Capacity         Area           Capacity       Area          Capacity       Area           Capacity
 Panther Habitat Region      km2      km2        1.37       4.03     km2        1.37       4.03    km2       1.37       4.03    km2       1.37         4.03
 South Florida RFP Model     5579     5118       70         206      5403        74       217      4442       60        179     4721       64         190
 Functional Zone             9094     7553       103        304      8266       113       333      6099       83        245     6780       92         273
            Zone A           6103     5553       76         224      5922        81       239      4802       65        193     5163       70         208
            Zone B           2991     2000       27          80      2344        32        94      1297       17        52      1617       22         65
 Primary Zone                9189     8545       117        344      8910       122       359      6539       89        263     6892       94         277
 Dispersal Zone              113      75          1          3        106        1          4       75        1          3      106         1          4




                                             SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                             240
  Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 265 of 585
                                                       FUTURE CONDITION OF THE FLORIDA PANTHER


7.2.7   Assessment of Future Management Scenarios on the 4 R’s

Future conditions projected under 3 management scenarios:

   1. Natural Population Expansion plus Current Conservation Measures—Continuation of existing
      threats and conservation efforts. Let natural population expansion continue to the north
      without management facilitation;
   2. Scenario 1 + Augmentation of Central Florida Population—Human-assisted expansion by
      releasing select panthers from South Florida into Central Florida; natural expansion beyond the
      I-4 corridor;
   3. Scenario 2 + Reintroduction in Source Population Areas in North Florida— Human-assisted
      expansion by releasing select panthers north of the Caloosahatchee River into the Source
      Population Areas identified in the Panhandle of North Florida.

Scenario table removed. Section revisions will commence post-RTM feedback. Including “no
management” future condition.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 241
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 266 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


7.3   FUTURE RESILIENCY

Resiliency describes the panther’s ability to withstand environmental variation and disturbance events.
This resiliency is associated with abundance, survival, population growth rate, genetic heterogeneity,
and habitat quality. Environmental variation includes normal year-to-year variation in rainfall and
temperatures, for example, as well as unseasonal weather events. Disturbances (i.e., discrete events
which cause substantial changes to the structure or resources of an ecosystem) are stochastic events
such as fire, flooding, tropical cyclones, and disease outbreaks. Simply stated, resiliency is having the
means to recover from the impacts of such disturbances and persist over time (viability). To be resilient,
the panther must have healthy populations that are able to sustain themselves through good and bad
years. Panther resiliency would increase with improvements in population health, population size and
an increase in the area occupied by the population. Resiliency would also be affected by the degree of
connectivity within occupied habitat. A population must be resilient to contribute to redundancy or
representation.

As described in the Current Conditions chapter, Florida panthers have historically and continue to
currently demonstrate resiliency in the face of many pressures. Florida panthers survived as the only
functioning population of puma in eastern North America despite constant persecution to eliminate
them from the landscape. The current panther population, at least 5-fold larger in size when compared
to the population 3 decades ago, likely has greater resiliency today than it has for over 100 years.
However, human populations and associated expansion of development will continue in Florida and
these factors will reduce the resiliency of the existing panther population if no range expansion occurs
outside of South Florida to offset this reduction in resiliency.

South Florida

Future projections of near-term (2040), long-term (2070), and very long-term (2100) habitat loss will
very likely reduce the resiliency of the South Florida source population. Two small puma populations
were shown to be at an elevated risk of extinction due to isolation caused by urbanization and major
highways (Benson et al. 2019). Projected near-term (2040) development in areas within and
surrounding the Functional Zone would not only result in a loss of the spatial extent of habitat that
supports the current population but would also result in reduced or compromised landscape
connections between the Big Cypress CHR and the Okaloacoochee Slough and CREW areas. Projected
development within these regions could also result in a “halo” effect of reduced habitat quality, beyond
the spatial extent of the habitat loss.

Reductions in future resiliency because of projected habitat losses under all future development
scenarios could be offset, and in some cases, improved if important landscape connections within the
Functional Zone are maintained, particularly between the Big Cypress CHR and CREW area and the Big
Cypress CHR and Okaloacoochee Slough area. Future habitat losses in the Dispersal Zone could
compromise the tenuous connectivity between the South Florida panther population and any female
panthers currently established north of the Caloosahatchee River. A loss or degradation of the Dispersal
Zone connection would significantly reduce the likelihood of continued natural range expansion of the
current source population, thereby impacting resiliency in the absence of human-assisted expansion of
females north of the Caloosahatchee River. Significant portions of the Dispersal Zone have been
protected. Securing additional habitat and improving the functionality of this corridor should be


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     242
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 267 of 585
                                                           FUTURE CONDITION OF THE FLORIDA PANTHER


prioritized in order to offset projected reductions in resiliency due to future habitat loss and
fragmentation.

In summary, resiliency is expected to be lower by 2070 than it is today. However, our projections
suggest that the future habitat footprint should be sufficient to support a viable population in South
Florida. This future population should be able to produce individuals to facilitate natural population
expansion into Central Florida under Scenario 1.

Central Florida

Future resiliency would also be affected by the degree of connectivity not only within occupied habitat,
but also within areas necessary for future population expansion. Although panthers have been
documented throughout the Central Florida area, females have only been detected in the Babcock-
Fisheating Creek area. To increase resiliency for the population as a whole, the ability for panthers to
move from South Florida into Central Florida needs to be maintained and more areas of Central Florida
need to be occupied by females.

Starting from the Babcock-Fisheating Creek complex, linkages need to remain passable to Myakka River
State Park/Carlton Reserve and the Duette area in western Hardee County (Figure 7.12 and Figure 7.13).
Both the Trend and Alternative 2070 models show that the linkage is comprised of habitats with low p-
values and will be subject to development that could sever this linkage. There is a large block of core
habitat centered on the Myakka River State Park, but the surrounding Supporting habitats are
convoluted and linear in nature.

Panthers have traveled north from Fisheating Creek to the west of US 27 and have managed to navigate
across this busy highway at several locations. The Wauchula East linkage (Figure 7.12 and Figure 7.13)
was identified by Thatcher et al. (2009) but both the Trend and Alternative 2070 models predict either
complete severing of this linkage or a considerable restriction in its width. The future value of this
linkage is questionable due to the projected urban growth along the Lake Wales Ridge/US 27 corridor.

The most resilient linkage for panther movement north from Fisheating Creek would be across US 27 to
the Kissimmee River (Figure 7.12 and Figure 7.13). Both the Trend and Alternative 2070 models indicate
this linkage will remain undeveloped and intact. Although the habitat quality is mapped as lower
quality, there are stepping stones of higher quality habitat patches to facilitate panther movement. This
linkage connects to the Avon Park core habitat region which then links to the Bull Creek, Deseret Ranch
and Farmton regions. The Thatcher et al. (2009) pathways are compromised in the Trend and
Alternative 2070 models through the Deseret and Farmton areas but there are other pathways that
should remain intact to facilitate movement northward. The portion of I-4 north between Farmton and
St. John’s South has 3 wildlife crossings thereby permitting safe passage across this highway.

North Florida

Natural population expansion is not likely to reach the North Florida region by 2070 based on the rate of
female occupancy that was documented in South Florida (see Chapter 4.3). Therefore, this region will
not affect panther future resiliency under Scenario 1. Resiliency should increase under Scenario 2 as the
presence of females increases throughout Central Florida; this human-assisted female range expansion
should offset losses of resiliency in South Florida. However, it is not likely that females will occupy the
North Florida source habitat regions by 2070 based on the documented rate of female occupancy

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        243
   Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 268 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


observed in South Florida. These source regions are separated from the Farmton/St. John’s South
regions by a circuitous route of >200 km that passes through patchy source habitat. Resiliency would
receive its maximum lift under Scenario 3 with the establishment of viable populations in the North
Florida source regions.

7.4   FUTURE REDUNDANCY

Redundancy describes the panther’s ability to withstand catastrophic events, which is related to the
number, distribution, and resilience of populations. Redundancy spreads risks among multiple
populations (or subpopulations) and ensures that the loss of a single population (or subpopulation) does
not lead to the loss of representation. A sufficiently widespread single population may achieve the same
result as multiple populations by reducing the likelihood that the entire population is affected
simultaneously by a catastrophic event. Furthermore, the more diverse and widespread that the
population is, the more likely it is that the panther’s adaptive diversity will be preserved. Having
multiple panther subpopulations would help preserve the breadth of adaptive diversity, and hence, the
evolutionary flexibility of the panther. Given sufficient redundancy, single or multiple catastrophic
events are unlikely to cause the panther’s extinction. Thus, the greater redundancy a panther has, the
more viable it will be.

Under Scenario 1, panthers could be distributed from the southern tip of the peninsula into Central
Florida at least as far north as I-4, mirroring the current distribution. Currently, most panthers and most
reproduction occur south of the Caloosahatchee River on >9000 km2 of habitat. If the natural expansion
of female panthers in Central Florida documented in 2017-2019 persists through 2070, redundancy
would increase. This lift would also be achieved under Scenario 2 but the time frame for female range
expansion would most likely be accelerated through population augmentation. Achieving Scenario 3
would ensure that panthers have enough redundancy to persist into the long-term future.

Under all future scenarios of habitat loss through 2070, suitable habitat patches are projected to remain
that have the potential to support a source-sink population configuration throughout Florida, including
the Apalachicola and Big Bend Source Population Areas. The continued expansion of female panthers
north of the Caloosahatchee River would improve redundancy for the entire Florida population.
Human-assisted expansion through augmentation of the Central Florida population and/or
reintroduction of panthers into the Source Population Areas of North Florida, would significantly
improve redundancy throughout the state.

7.5   FUTURE REPRESENTATION

Representation describes the panther’s ability to adapt to changing environmental conditions and is
characterized by the breadth of genetic and ecological diversity within and among populations. The
greater this adaptive diversity the more viable the panther will be. Maintaining adaptive diversity
includes conserving both the panther’s ecological and genetic diversity. Ecological diversity is the
physiological, ecological, and behavioral variation exhibited by a species across its range. Genetic
diversity is the number and frequency of unique alleles within and among populations. By maintaining
these two sources of adaptive diversity across a species’ range, the responsiveness and adaptability of
the panther over time is preserved, which increases overall viability. Representation is therefore
measured by the breadth of genetic diversity and ecological diversity within and among populations.
Representation is considered a proxy for the adaptive capacity of the species over time.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      244
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 269 of 585
                                                          FUTURE CONDITION OF THE FLORIDA PANTHER


Representation would increase into the long-term future (2070) under all 3 Scenarios with the biggest
lift occurring if viable populations are established in the North Florida source regions. Panther
populations distributed throughout Florida could plausibly maintain levels of genetic variation that may
reduce or possibly negate the need for periodic assisted genetic introgression. This would depend on
natural migration/dispersal events between source habitats throughout Florida. There is evidence that
promoting interchange between populations at a rate of >1 animal per generation can provide sufficient
genetic variation to promote a genetically healthy population and reduce the probability of extinction.
In order for such a scenario to become a reality, important habitat linkages would need to be protected
in perpetuity to permit gene flow between populations in different portions of Florida. However, if
panther distribution remains static and the female range expansion into Central Florida does not persist,
representation would decline, and genetic management would be necessary to maintain adequate
representation.

7.6   FUTURE RESISTANCE

Resistance describes the sociological pressures that are exerted either on the species (i.e. human
unwillingness to accept panthers leading to direct persecution) or on the management of the species
(i.e., varying degrees of support for translocations or population re-establishment). There is a range of
resistance among different stakeholders because of the “mixture of tolerance of problems and desires
for benefits from wildlife” that constitute Wildlife Stakeholder Acceptance Capacities (WSAC; Carpenter
et al. 2000:6). Resistance is more of a qualitative rather than a quantitative measure. It can range from
low resistance where people desire to see more panthers on the landscape to high resistance where
people do not want them near their homes or livestock operations.

Under Scenario 1, panther resistance should remain at its current level in South Florida but resistance
might increase in Central Florida as panther numbers rise. As the population increased to its current
level, panthers began re-occupying habitats in South Florida where they had been absent, and these
areas are often prone to development (habitat loss) and human-panther conflicts. An expanding
population has led to an increase in the number panthers killed illegally as well as findings of panthers
with old gunshot injuries. Depredations on pets, hobby livestock and cattle have increased as the
panther population grew, and these events may erode tolerance over time. Although there is no
evidence to show that these threats are increasing panther resistance today, changes in public attitudes
and agency management approaches to these issues may impact future resistance. A panther attack on
a human has the potential to increase resistance to panthers and constrain human-assisted population
expansion. Resistance is lessened by having a Response Plan in place that helps manage human-panther
conflicts and provide assurances to the public that managing agencies will respond appropriately to any
panther threats, including the permanent removal of panthers from the wild. The continuation of public
outreach and education efforts to reduce human-panther conflicts would also lessen resistance to the
current and/future populations in Florida.

Panther resistance in Central Florida is currently low given that few panthers are occupying this area and
people accept this level of panther presence. Under Scenario 2, resistance may increase in Central
Florida as panthers become numerous following population augmentation. Human-panther conflicts
are likely to increase as human and panther populations increase and the agency-conducted population
augmentation will become a likely target of criticism.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     245
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 270 of 585
                                                         FUTURE CONDITION OF THE FLORIDA PANTHER


Resistance is likely to be much higher in North Florida because panthers have not been present there for
well over a century. Public reaction to Scenario 3 may very well follow the pattern witnessed during the
1988–1995 North Florida Reintroduction Feasibility Studies. There was little resistance expressed during
the planning stages of these studies but once puma were released, resistance by some residents in the
area grew. These studies concluded that reintroduction was biologically feasible, but resistance to
puma would be a major problem. Whether such sentiment still persists a quarter century later is
something that should be assessed, but inherently, it should be expected that resistance will need to be
assuaged via targeted outreach efforts if said programs are to be successful.

Private ranchlands provide high-quality panther habitat in South Florida and in areas identified as
important for population expansion in Central Florida. Levels of resistance towards panthers among
some members of the ranching community are elevated due to the perceived and real threat they pose
to livestock operations. Ensuring that there are effective and simplistic means of providing
compensation to cattle ranchers for loss to panther depredations is important in order to attempt to
reduce resistance levels in that community. Ranchers in Florida are under intense pressure to sell land
for urban and suburban development, and those land uses are incompatible with panthers. As the
Florida panther’s range expands and population density increases on private lands, an increase in
panther depredation events on commercial cattle operations has a negative economic impact on
producers and has become a threat that could undermine previous collaborative efforts in the
protection and recovery of the species. A failure to address concerns regarding resistance due to
panther depredations on livestock has the potential to hinder population expansion into Central Florida,
an area where panthers will be more reliant on private lands as compared to the current breeding range
in South Florida.

Although this SSA’s geographic scope was Florida-centric (Chapter 1.1.2), these same resistance factors
would be expected throughout the panther’s former range as mapped by Young and Goldman (1946)
(Fig. 3.1). As evidence of such resistance, several states expressed concerns about the 2008 Recovery
Plan because the plan included actions to evaluate the top three Thatcher (2006) reintroduction sites for
future releases. (Discuss reaction by some SE states to the recovery plan, specifically the letter from
Missouri director.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    246
   Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 271 of 585
                                                                         STATUS ASSESSMENT SUMMARY


                            CHAPTER 8       STATUS ASSESSMENT SUMMARY

Panther numbers were at their lowest in the late 1960s early 1970s, perhaps as few as 6-10 breeding
adults, but some 50 years later, the population is estimated to range between 120 and 230 individuals.
The human population of Florida is projected to grow by 56 percent over the next 50 years and the
number of people in the region of South Florida where most panthers are currently found is expected to
rise from 979,000 to 2.2 million between 2010 and 2070. Although habitat losses will undoubtedly
occur as the human population grows, nearly 74 percent of the Southwest Florida SHR is protected as
conservation lands. If future distribution is constrained within a smaller footprint of the current SHR,
panther numbers and heterozygosity would be predicted to decline. A smaller population would
become less viable in the long-term. Resiliency, redundancy and representation would all decrease over
time if the only viable population is constrained to South Florida. Resistance would be expected to
remain near current levels.

Statewide habitat analyses of current and future conditions show there are opportunities for expanding
the distribution of panthers. Such an expansion would reduce the threats posed by development in the
Southwest Florida SHR. Resiliency, redundancy and representation would all be improved if panthers
expanded throughout the state. However, addressing human resistance to a statewide presence of this
large carnivore may be a significant challenge. Panthers currently occur south of the I-4 corridor and
this distribution should reduce resistance to an expansion of the breeding population in the Central
Florida area between the Caloosahatchee River and I-4. Increasing the distribution of breeding females
north of the river would improve resiliency, redundancy and representation for the population as a
whole and would help to offset any reduction in these measures south of the river due to projected
habitat losses over the next 50 years. However, the availability of connected panther habitat in Central
Florida is likely not sufficient in size to support a viable population. Natural expansion of the breeding
range may be occurring currently, and this process may lead to female panther presence throughout
Central Florida over the next 50 years. Population augmentation would likely accelerate this process.
Resistance due to human-panther conflicts would be expected to increase in Central Florida as more
panthers recolonize that region. If population augmentation is employed as a management tool, it
would likely increase resistance and become a target of criticism by some stakeholders based on
reactions to the North Florida Reintroduction studies (1988–1993) and Genetic Restoration (1995–
2003).

We identified 2 areas outside of South Florida that are large enough to support source panther
populations, namely the Big Bend and Apalachicola Core Habitat Regions; both areas are in North
Florida. Although there are habitat linkages that panthers could use to re-populate North Florida, such
natural expansion is unlikely to occur in the next 50 years. Reintroductions of panthers into North
Florida would accelerate this process and the establishment of 2 viable populations outside of South
Florida would provide big lifts to panther resilience, redundancy and representation. However,
reintroductions of large carnivores are controversial and such a management action is likely to be met
with high resistance by some citizens. Strategies to lessen the impacts of human-panther conflicts, such
as compensation for economic losses caused by panthers, may improve the likelihood of initiating such
reintroductions and their subsequent long-term success.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      247
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 272 of 585
                                                                                         LITERATURE CITED


                                             LITERATURE CITED


Ackerman, B. B., F. G. Lindzey, and T. P. Hemker. 1984. Cougar food habits in southern Utah. The Journal
     of Wildlife Management 48:147–155.


Allen, G. M. 1942. Extinct and vanishing mammals of the western hemisphere, with the marine species
     of all the oceans. American Committee for International Wild Life Protection, Special Publication II.


Allen, M. L., H. U. Wittmer, P. Houghtaling, J. Smith, L. M. Elbroch, and C. C. Wilmers. 2015. The role of
     scent marking in mate selection by female pumas (Puma concolor). Plos One 10:e0139087.


Alvarez, K. 1993. Twilight of the panther: biology, bureaucracy, and failure in an endangered species
     program. First edition. Myakka River Publishing, Sarasota, Florida.


Anderson, W. E. 1983. A critical review of literature on puma (Felis concolor). Colorado Division of
     Wildlife Special Report No. 54:1–91.


Antonini, G. A., D. A. Fann, and P. Roat. 2002. A historical geography of southwest Florida waterways,
     volume two: Placida Harbor to Marco Island. Florida Sea Grant and West Coast Inland Navigation
     District, Gainesville and Venice, Florida.


Avise, J. C., and R. M. Ball. 1990. Principles of genealogical concordance in species concepts and
     biological taxonomy. Oxford Surveys in Evolutionary Biology 7:45–67.


Bacon, M. M., and M. S. Boyce. 2010. Scavenging of an elk, Cervus elaphus, carcass by multiple cougars,
     Puma concolor, in Southeastern Alberta. Canadian Field-Naturalist 124:242–245.


Ballard, W. B., D. Lutz, T. W. Keegan, L. H. Carpenter, and J. C. deVos. 2001. Deer-predator relationships:
     a review of recent North American studies with emphasis on mule and black-tailed deer. Wildlife
     Society Bulletin (1973-2006) 29:99–115.


Bangs, O. 1899. The Florida puma. Proceedings of the Biological Society of Washington 13:15–17.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                       248
   Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 273 of 585
                                                                                         LITERATURE CITED


Barone, M. A., M. E. Roelke, J. Howard, J. L. Brown, A. E. Anderson, and D. E. Wildt. 1994. Reproductive
     characteristics of male Florida panthers: comparative studies from Florida, Texas, Colorado, Latin
     America, and North American zoos. Journal of Mammalogy 75:150–162.


Bartareau, T. M. 2017. Estimating the body weight of Florida panthers from standard morphometric
     measurements. Journal of Fish and Wildlife Management 8:618–624.


Bartoszek, I. A., P. T. Andreadis, C. Prokopervin, M. Patel, and R. N. Reed. 2018. Python bivittatus
     (Burmese python). Diet and prey size. Herpetological Review 49:139–140.


Bauer, J. W., K. A. Logan, L. L. Sweanor, and W. M. Boyce. 2005. Scavenging behavior in puma. The
     Southwestern Naturalist 50:466–471.


Beard, D. B., F. C. Lincoln, V. H. Cahalane, H. H. T. Jackson, and B. H. Thompson, editors. 1942. Fading
     trails: the story of endangered American wildlife. The Macmillan Company, New York; Boston.


Beausoleil, R. A., J. D. Clark, and B. T. Maletzke. 2016. A long-term evaluation of biopsy darts and DNA to
     estimate cougar density: An agency-citizen science collaboration. Wildlife Society Bulletin 40:583–
     592.


Beier, P. 1993. Determining minimum habitat areas and habitat corridors for cougars. Conservation
     Biology 7:94–108.


-------- 1995. Dispersal of juvenile cougars in fragmented habitat. The Journal of Wildlife Management
     59:228–237.


--------2010. A focal species for conservation planning. Pages 177–189 in M. Hornocker, and S. Negri,
     editors. Cougar: ecology and conservation. The University of Chicago Press, Chicago.


Beier, P., and S. Loe. 1992. In my experience: a checklist for evaluating impacts to wildlife movement
     corridors. Wildlife Society Bulletin (1973–2006) 20:434–440.


Beier, P., M. R. Vaughan, M. J. Conroy, and H. Quigley. 2006. Evaluating scientific inferences about the
     Florida panther. The Journal of Wildlife Management 70:236–245.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          249
   Case 1:21-cv-00119-RDM                Document 149-2           Filed 01/12/24         Page 274 of 585
                                                                                             LITERATURE CITED


Beier, P., M. R. Vaughan, M. J. Conroy, and H. Quigley. 2003. An Analysis of scientific literature related to
     the Florida panther. Final Report. Florida Fish and Wildlife Conservation Commission, Tallahassee,
     Florida, USA.


Belden, R. C. 1988. The Florida panther. Pages 514–532 in W. J. Chandler, editor. Audubon Wildlife
     Report 1988/1989. National Audubon Society, New York, New York.


Belden, R. C., W. B. Frankenberger, R. T. McBride, and S. T. Schwikert. 1988. Panther habitat use in
     southern Florida. The Journal of Wildlife Management 52:660–663.


Belden, R. C., and W. B. Frankenberger. 1977. Management of feral hogs in Florida: past, present and
     future. Pages 5–10 in G. W. Wood, editor. Research and management of wild hog populations.
     Clemson University, Georgetown.


Belden, R. C., W. B. Frankenberger, and J. C. Roof. 1991. Florida panther distribution. Final Report 7501,
     E-1 II-E-1. Florida Game and Fresh Water Fish Commission, Tallahassee, FL.


Belden, R. C., and B. W. Hagedorn. 1993. Feasibility of translocating panthers into northern Florida. The
     Journal of Wildlife Management 57:388–397.


Belden, R. C., and R. T. McBride. 2006. Panther peripheral areas survey final report 1998–2004. Florida
     Fish and Wildlife Conservation Commission, Tallahassee, Florida.


Belden, R. C., and J. W. McCown. 1996. Florida panther reintroduction feasibility study. Final Report
     7507. Florida Game and Fresh Water Fish Commission, Bureau of Wildlife Research, Tallahassee,
     Florida.


Benson, J. F., M. A. Lotz, E. D. Land, and D. P. Onorato. 2012. Evolutionary and practical implications of
     pseudo-estrus behavior in Florida panthers (Puma concolor coryi). Southeastern Naturalist 11:149–
     154.


Benson, J. F., P. J. Mahoney, T. W. Vickers, J. A. Sikich, P. Beier, S. P. D. Riley, H. B. Ernest, and W. M.
     Boyce. 2019. Extinction vortex dynamics of top predators isolated by urbanization. Ecological
     Applications 0:e01868.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                              250
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 275 of 585
                                                                                          LITERATURE CITED


Benson, J. F., J. A. Hostetler, D. P. Onorato, W. E. Johnson, M. E. Roelke, S. J. O’Brien, D. Jansen, and M.
     K. Oli. 2011. Intentional genetic introgression influences survival of adults and subadults in a small,
     inbred felid population. Journal of Animal Ecology 80:958–967.


Benson, J. F., J. A. Hostetler, D. P. Onorato, W. E. Johnson, M. E. Roelke, S. J. O'Brien, D. Jansen, and M.
     K. Oli. 2009. Chapter 2: Survival and cause-specific mortality of sub-adult and adult Florida
     panthers. Pages 10–61 in J. A. Hostetler, D. P. Onorato, and M. K. Oli, editors. Population ecology of
     the Florida panther. Final report submitted to Florida Fish and Wildlife Conservation Commission
     and U.S. Fish and Wildlife Service.


Benson, J. F., M. A. Lotz, and D. Jansen. 2008. Natal den selection by Florida panthers. The Journal of
     Wildlife Management 72:405–410.


Bergmann, C. 1847. Ueber die Verhältnisse der Wärmeökonomie der Thiere zu ihrer Grösse. Göttingener
     Studien 3:595–708.


Biek, R., N. Akamine, M. K. Schwartz, T. K. Ruth, K. M. Murphy, and M. Poss. 2006. Genetic consequences
     of sex-biased dispersal in a solitary carnivore: Yellowstone cougars. Biology Letters 2:312–315.


Boback, S. M., R. W. Snow, T. Hsu, S. C. Peurach, C. J. Dove, and R. N. Reed. 2016. Supersize me: Remains
     of three white-tailed deer (Odocoileus virginianus) in an invasive Burmese python (Python molurus
     bivittatus) in Florida. BioInvasions Records 5:197–203.


Bodenchuck, M. J. 2011. Population management: depredation. Pages 135-144 in J. A. Jenks, editor.
     Managing cougars in North America. Jack H. Berryman Institute, Utah State University, Logan, USA.


Bolger, D. T., T. A. Scott, and J. T. Rotenberry. 2001. Use of corridor-like landscape structures by bird and
     small mammal species. Biological Conservation 102:213–224.


Boone and Crockett Club. 1961. Minutes of the luncheon meeting of the Conservation Committee and
     its advisors held on September 13, 1961 at the Yale Club of New York. Boone and Crockett Club
     Records (Mss 738), Archives and Special Collections. Maureen and Mike Mansfield Library.
     University of Montana-Missoula.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         251
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 276 of 585
                                                                                            LITERATURE CITED


Boone and Crockett Club. 1962. Minutes of the combined Meeting of Records, Conservation and
     Executive Committees of the Boone and Crockett Club held on Monday, May 21st, 1962, at the
     Rolling Rock Club, Ligonier, Pennsylvania, at 9:00 A.M. Boone and Crockett Club Records (Mss 738),
     Archives and Special Collections. Maureen and Mike Mansfield Library. University of Montana-
     Missoula.


Boone and Crockett Club. 1964. Minutes of the meeting of the Executive Committee of the Boone and
     Crockett Club held on Tuesday, January the 7th, 1964 at the Yale Club, 15 Vanderbilt Avenue, New
     York City. Boone and Crockett Club Records (Mss 738), Archives and Special Collections. Maureen
     and Mike Mansfield Library. University of Montana-Missoula.


Boyce, M. S. 1992. Population Viability Analysis. Annual Review of Ecology and Systematics 23:481–506.


Branch, L. C., M. Pessino, and D. Villarreal. 1996. Response of pumas to a population decline of the
     plains vizcacha. Journal of Mammalogy 77:1132–1140.


Breck, S. W., B. M. Kluever, M. Panasci, J. Oakleaf, T. Johnson, W. Ballard, L. Howery, and D. L. Bergman.
     2011. Domestic calf mortality and producer detection rates in the Mexican wolf recovery area:
     Implications for livestock management and carnivore compensation schemes. Biological
     Conservation 144:930–936.


Brown, M. A., M. W. Cunningham, A. L. Roca, J. L. Troyer, W. E. Johnson, and S. O’Brien J. 2008. Genetic
     characterization of feline leukemia virus from Florida panthers. Emerging Infectious Diseases
     14:252–259.


Burdett, C. L., K. R. Crooks, D. M. Theobald, K. R. Wilson, E. E. Boydston, L. M. Lyren, R. N. Fisher, V. T.
     Winston, S. A. Morrison, and W. M. Boyce. 2010. Interfacing models of wildlife habitat and human
     development to predict the future distribution of puma habitat. Ecosphere 1:1–21.


Burgin, C. J., J. P. Colella, P. L. Kahn, and N. S. Upham. 2018. How many species of mammals are there?
     Journal of Mammalogy 99(1):1–14.


Cahalane, V. H. 1964. A preliminary study of distribution and numbers of cougar, grizzly and wolf in
     North America. New York Zoological Society, Bronx, New York.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          252
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24         Page 277 of 585
                                                                                            LITERATURE CITED


California Department of Pesticide Regulation. 2018. An investigation of anticoagulant rodenticide data
     submitted to the Department of Pesticide Regulation, November 16, 2018.


Captive Breeding Specialist Group. 1992. Genetic management strategies and population viability of the
     Florida panther (Felis concolor coryi). Report of a Workshop. White Oak Plantation Conservation
     Center, Yulee, Florida.


Caragiulo, A., I. Dias-Freedman, J. A. Clark, S. Rabinowitz, and G. Amato. 2013. Mitochondrial DNA
     sequence variation and phylogeography of Neotropic pumas (Puma concolor). Mitochondrial DNA
     25:304–312.


Carpenter, M. A., E. W. Brown, M. Culver, W. E. Johnson, J. Pecon-Slattery, D. Brousset, and S. J. O'Brien.
     1996. Genetic and phylogenetic divergence of feline immunodeficiency virus in the puma (Puma
     concolor). Journal of Virology 70:6682–6693.


Carr, M. H., and P. D. Zwick. 2016. Florida 2070: mapping Florida's future--alternative patterns of
     development in 2070. Technical Report. A research project prepared for Florida Department of
     Agriculture and Consumer Services and 1000 Friends of Florida. Geoplan Center at the University of
     Florida, Gainesville, Florida.


Caudill, G., D. P. Onorato, M. W. Cunningham, D. Caudill, E. H. Leone, L. M. Smith, and D. Jansen. 2019.
     Temporal trends in Florida panther food habits. Human-Wildlife Interactions:13(1):87–97.


Cherry, M. J., R. B. Chandler, E. P. Garrison, D. A. Crawford, B. D. Kelly, D. B. Shindle, K. G. Godsea, K. V.
     Miller, and L. M. Conner. 2018. Wildfire affects space use and movement of white-tailed deer in a
     tropical pyric landscape. Forest Ecology and Management 409:161–169.


Cherry, M. J., D. A. Crawford, K. N. Engebretsen, H. N. Abernathy-Conners, W. H. Ellsworth, L. L. Stiffler,
     F. Bled, E. P. Garrison, K. V. Miller, R. J. Warren, L. M. Conner, and R. B. Chandler. 2019. South
     Florida Deer Project. Final Report to the Florida Fish and Wildlife Conservation Commission
     Contract No. 14003.


Chimento, N. R., and A. Dondas. 2017. First record of Puma concolor (Mammalia, Felidae) in the Early-
     Middle Pleistocene of South America. Journal of Mammalian Evolution 25:381–389.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           253
   Case 1:21-cv-00119-RDM                Document 149-2         Filed 01/12/24       Page 278 of 585
                                                                                          LITERATURE CITED


Chiu, E. S., S. Kraberger, M. W. Cunningham, L. Cusack, M. E. Roelke, and S. VandeWoude. 2019.
     Multiple introductions of domestic cat Feline Leukemia Virus in endangered Florida panthers.
     Emerging Infectious Diseases 25:92–101.


Choate, D. M., M. L. Wolfe, and D. C. Stoner. 2006. Evaluation of cougar population estimators in Utah.
     Wildlife Society Bulletin (1973-2006) 34:782–799.


Clark, D. A., G. A. Davidson, B. K. Johnson, and R. G. Anthony. 2014. Cougar kill rates and prey selection
     in a multiple-prey system in northeast Oregon. The Journal of Wildlife Management 78:1161–1176.


Clark, D. A., B. K. Johnson, D. H. Jackson, M. Henjum, S. L. Findholt, J. J. Akenson, and R. G. Anthony.
     2014. Survival rates of cougars in Oregon from 1989 to 2011: a retrospective analysis. The Journal
     of Wildlife Management 78:779–790.


Conservation Breeding Specialist Group. 1994. A plan for genetic restoration and management of the
     Florida Panther (Felis concolor coryi). Report Prepared by Workshop Participants for Florida Game
     and Fresh Water Fish Commission Contract # 94027. U. S. Seal, editor. Workshop Hosted by White
     Oak Conservation Center, 11–13 September 1994, Yulee, Florida.


Convention on International Trade in Endangered Species of Wild Fauna and Flora. 2016. Summary
     record of the fourth plenary session. Seventeenth Meeting of the Conference of the Parties,
     Johannesburg, South Africa, 24 September–05 October 2016.


Cooley, H. S., H. S. Robinson, R. B. Wielgus, and C. S. Lambert. 2008. Cougar prey selection in a white-
     tailed deer and mule deer community. The Journal of Wildlife Management 72:99–106.


Cory, C. B. 1896. Hunting and fishing in Florida, including a key to the water birds known to occur in the
     state. Estes and Lauriat, Boston.


COSEWIC. 1998. COSEWIC assessment and update status report on the cougar (eastern population)
     Puma concolor couguar in Canada. Unpublished Report. Committee on the Status of Endangered
     Wildlife in Canada, Ottawa.


Cougar Management Working Group. 2005. Cougar management guidelines. First edition. Wild Futures,
     Brainbridge Island, Washington.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          254
   Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24         Page 279 of 585
                                                                                             LITERATURE CITED


Cox, J. J., D. S. Maehr, and J. L. Larkin. 2006. Florida panther habitat use: new approach to an old
     problem. The Journal of Wildlife Management 70:1778–1785.


Crawford, D. A., M. J. Cherry, B. D. Kelly, E. P. Garrison, D. Shindle, L. M. Conner, R. B. Chandler, and K. V.
     Miller. 2019. Chronology of reproductive investment determines predation risk aversion in a felid-
     ungulate system. Journal of Animal Ecology 9:3264–3275.


Criffield, M., M. van de Kerk, E. Leone, M. W. Cunningham, M. Lotz, M. K. Oli, and D. P. Onorato. 2018.
     Assessing impacts of intrinsic and extrinsic factors on Florida panther movements. Journal of
     Mammalogy 99:702–712.


Crooks, K. R. 2002. Relative sensitivities of mammalian carnivores to habitat fragmentation.
     Conservation Biology 16:488–502.


Culver, M. 2010. Lessons and insights from evolution, taxonomy, and conservation genetics. Pages 27–
     42 in M. Hornocker, and S. Negri, editors. Cougar: ecology and conservation. First edition.
     University of Chicago Press, Chicago.


Culver, M., P. W. Hedrick, K. Murphy, S. O'Brien, and M. G. Hornocker. 2008. Estimation of the
     bottleneck size in Florida panthers. Animal Conservation 11:104–110.


Culver, M., W. E. Johnson, J. Pecon-Slattery, and S. J. O'Brien. 2000. Genomic ancestry of the American
     puma (Puma concolor). Journal of Heredity 91:186–197.


Cunningham, M. W. 2012. Geographic distribution of environmental contaminants in the Florida
     panther. U.S. Fish and Wildlife Service Cooperative Agreement No. 401817J004. Florida Fish and
     Wildlife Conservation Commission, Gainesville, Florida.


Cunningham, M. W., M. A. Brown, D. B. Shindle, S. P. Terrell, K. A. Hayes, B. C. Ferree, R. T. McBride, E. L.
     Blankenship, D. Jansen, S. B. Citino, M. E. Roelke, R. A. Kiltie, J. L. Troyer, and S. J. O'Brien. 2008.
     Epizootiology and management of feline leukemia virus in the Florida puma. Journal of Wildlife
     Diseases 44:537–552.


Cunningham, S. C., C. R. Gustavson, and W. B. Ballard. 1999. Diet selection of mountain lions in
     southeastern Arizona. Journal of Range Management 52:202–207.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                               255
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 280 of 585
                                                                                          LITERATURE CITED


Dalrymple, G. H., and O. L. Bass. 1996. The diet of the Florida panther in Everglades National Park,
     Florida. Bulletin of the Florida Museum of Natural History 39:173–193.


Dardiri, A. H., L. L. Logan, and C. A. Mebus. 1987. Susceptibility of white-tailed deer to experimental
     heartwater infections. Journal of Wildlife Diseases 23(2):215–219.


Davidson, G. A., D. A. Clark, B. K. Johnson, L. P. Waits, and J. R. Adams. 2014. Estimating cougar densities
     in northeast Oregon using conservation detection dogs. The Journal of Wildlife Management
     78:1104–1114.


Davis, J. H., Jr. 1943. The natural features of southern Florida: especially the vegetation, and the
     Everglades. Geological Bulletin no. 25. State of Florida, Department of Conservation, Florida
     Geological Survey.


Davis, M. D. 1996. Eastern old-growth forests: prospects for rediscovery and recovery. Island Press,
     Washington, D.C.


Demarais, S., K. V. Miller, and H. A. Jacobson. 2000. White-tailed deer. Pages 601-628 in S. Demarais,
     and P. R. Krausman, editors. Ecology and management of large mammals in North America.
     Prentice Hall, Upper Saddle River, New Jersey.


Dickson, B. G., and P. Beier. 2002. Home-range and habitat selection by adult cougars in southern
     California. The Journal of Wildlife Management 66:1235–1245.


Dorazio, R. M., and D. P. Onorato. 2018. Estimating the density of Florida panthers using camera traps
     and telemetry – Report for Phase 1 of project with Addendum. Florida Fish and Wildlife
     Conservation Commission, Naples, Florida.


Dorcas, M. E., J. D. Willson, R. N. Reed, R. W. Snow, M. R. Rochford, M. A. Miller, W. E. Meshaka, P. T.
     Andreadis, F. J. Mazzotti, C. M. Romagosa, and K. M. Hart. 2012. Severe mammal declines coincide
     with proliferation of invasive Burmese pythons in Everglades National Park. Proceedings of the
     National Academy of Sciences 109:2418–2422.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          256
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 281 of 585
                                                                                         LITERATURE CITED


Dove, C. J., R. W. Snow, M. R. Rochford, and F. J. Mazzotti. 2011. Birds Consumed by the Invasive
     Burmese Python (Python molurus bivittatus) in Everglades National Park, Florida, USA. The Wilson
     Journal of Ornithology 123:126–131.


Driscoll, C. A., M. Menotti-Raymond, G. Nelson, D. Goldstein, and S. J. O'Brien. 2002. Genomic
     microsatellites as evolutionary chronometers: a test in wild cats. Genome Research 12:414–423.


Ercoli, M. D., M. A. Ramírez, M. M. Morales, A. Álvarez, and A. M. Candela. 2019. First record of
     Carnivora (Puma Lineage, Felidea) in the Uquía Formation (Late Pliocene–Early Pleistocene, NW
     Argentina) and its significance in the Great American Biotic Interchange. Ameghiniana 56(3):195–
     212.


Facemire, C. F., T. S. Gross, and L. J. Guillette. 1995. Reproductive impairment in the Florida panther:
     nature or nurture? Environmental Health Perspectives 103:79–86.


Fechter, D., and I. Storch. 2014. How many wolves (Canis lupus) fit into Germany? The role of
     assumptions in predictive rule-based habitat models for habitat generalists. PloS One 9:e101798.


Finn, K. T., M. A. Criffield, D. P. Onorato, and D. L. Reed. 2013. The impact of genetic restoration on
     cranial morphology of Florida panthers (Puma concolor coryi). Journal of Mammalogy 94:1037–
     1047.


Fitzpatrick, J. W. 2010. Chapter 5: Subspecies are for convenience - las subespecies son por
     conveniencia. Ornithological Monographs 67:54–61.


Fleming, D. M., J. Schortemeyer, and J. Ault. 1994. Distribution, abundance, and demography of white-
     tailed deer in the Everglades. Pages 247–274 in D. Jordan, editor. Proceedings of the Florida
     Panther Conference. Fort Myers, Florida, USA. U.S. Fish and Wildlife Service, Gainesville, Florida.


Florida Department of Agriculture and Consumer Services. 2010. Florida's cattle industry. Brochure
     DACS-P-00044, Rev 09-2102. Florida Department of Agriculture and Consumer Services,
     Tallahassee, Florida.


Florida Natural Areas Inventory. 2018. Florida Forever conservation needs assessment, version 4.4.
     Technical Report. Florida Natural Areas Inventory, Tallahassee, Florida.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          257
   Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24        Page 282 of 585
                                                                                             LITERATURE CITED


Forrester, D. J. 1992. Parasites and diseases of wild mammals in Florida. University Press of Florida,
     Gainesville, Florida.


Foster, D., G. Motzkin, J. O'Keefe, E. Boose, D. Orwig, J. Fuller, and B. Hall. 2004. The environmental and
     human history of New England. Pages 43–100 in D. R. Foster, and J. D. Aber, editors. Forests in
     time: the environmental consequences of 1,000 years of change in New England. Yale University
     Press, New Haven, Connecticut.


Foster, M. L., and S. R. Humphrey. 1995. Use of Highway Underpasses by Florida Panthers and Other
     Wildlife. Wildlife Society Bulletin (1973–2006) 23:95–100.


Frakes, R. A., R. C. Belden, B. E. Wood, and F. E. James. 2015. Landscape analysis of adult Florida panther
     habitat. PLoS One 10:e0133044.


Frankham, R., C. J. A. Bradshaw, and B. W. Brook. 2014. Genetics in conservation management: Revised
     recommendations for the 50/500 rules, Red List criteria and population viability analyses. Biological
     Conservation 170:56–63.


Froese, D., M. Stiller, P. D. Heintzman, A. V. Reyes, G. D. Zazula, A. E. R. Soares, M. Meyer, E. Hall, B. J. L.
     Jensen, L. J. Arnold, R. D. E. MacPhee, and B. Shapiro. 2017. Fossil and genomic evidence constrains
     the timing of bison arrival in North America. Proceedings of the National Academy of Sciences of
     the United States of America 114(13):3457–3462.


FWC. Unpublished data.


-------- 2001. Florida panther genetic restoration and management. Annual Report: 2000–2001. Florida
     Fish and Wildlife Conservation Commission, Naples, Florida.


-------- 2003. Florida panther genetic restoration and management. Annual Report. Florida Fish and
     Wildlife Conservation Commission, Tallahassee, Florida.


-------- 2007. Strategic plan for deer management in Florida 2008–2018. Technical Report. Florida Fish
     and Wildlife Conservation Commission, Tallahassee, Florida.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            258
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 283 of 585
                                                                                          LITERATURE CITED


-------- 2009. Annual report on the research and management of Florida panthers: 2008–2009. Fish and
     Wildlife Research Institute & Division of Habitat and Species Conservation, Naples, Florida.


-------- 2016. Cooperative Land Cover, Version 3.2 - published October 2016.


-------- 2017. Annual report on the research and management of Florida panthers: 2016–2017. Fish and
     Wildlife Research Institute and Division of Habitat and Species Conservation, Naples, Florida.


-------- 2018a. Annual report on the research and management of Florida panthers: 2017–2018. Fish and
     Wildlife Research Institute & Division of Habitat and Species Conservation, Naples, Florida.


-------- 2018b. Cooperative land cover, version 3.3. Florida Fish and Wildlife Conservation Commission,
     Tallahassee, Florida.


-------- 2019. Annual report on the research and management of Florida panthers: 2018–2019. Fish and
     Wildlife Research Institute and Division of Habitat and Species Conservation, Naples, Florida.


-------- 2020. Feline leukomyelopathy (FLM) draft investigation plan. Fish and Wildlife Research Institute,
     Gainesville, Florida.


FWC, and USFWS. 2017. Determining the size of the Florida panther population. Outreach Document.


Game and Fresh Water Fish Commission. 1946. Biennial report: for period ending December 31, 1946.
     State of Florida, Game and Fresh Water Fish Commission, Tallahassee, Florida.


Garrison, E. P., and J. Gedir. 2006. Ecology and management of white-tailed deer in Florida. Technical
     report. Florida Fish and Wildlife Conservation Commission, Tallahassee, Florida.


Garrison, E. P., E. Leone, K. Smith, T. Bartareau, J. Bozzo, R. Sobczak, and D. Jansen. 2011. Analysis of
     hydrological impacts on white-tailed deer in the Stairsteps Unit, Big Cypress National Preserve.
     Final Report. Florida Fish and Wildlife Conservation Commission and National Park Service.


Gay, S. W., and T. Best L. 1996a. Age-related variation in skulls of the Puma (Puma concolor). Journal of
     Mammalogy 77:191–198.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           259
   Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24        Page 284 of 585
                                                                                            LITERATURE CITED


Gay, S. W., and T. L. Best. 1995. Geographic variation in sexual dimorphism of the Puma (Puma concolor)
     in North and South America. The Southwestern Naturalist 40:148–159.


-------- 1996b. Relationships between abiotic variables and geographic variation in skulls of pumas (Puma
     concolor: Mammalia, Felidae) in North and South America. Zoological Journal of the Linnean
     Society 117:259–282.


Gese, E. M., and F. F. Knowlton. 2001. The role of predation in wildlife population dynamics. Pages 7–25
     in T. F. Ginnett, and S. E. Henke, editors. The role of predator control as a tool in game
     management. Texas Agricultural Research and Extension Center, San Angelo, Texas.


Gill, R. B. 2010. To save a mountain lion: evolving philosophy of nature and cougars. Pages 5–16 in M.
     Hornocker, and S. Negri, editors. Cougar: ecology and conservation. First edition. The University of
     Chicago Press, Chicago.


Gilpin, M., and M. E. Soulé. 1986. Minimum viable populations: processes of species extinction. Pages
     19–34 in M. E. Soulé, editor. Conservation biology: the science of scarcity and diversity. Sinauer
     Associates, Sunderland, Massachusetts.


Giuliano, W. M., E. P. Garrison, and B. J. Schad. 2009. Understanding white-tailed deer: Florida and the
     southeast. N. Sloan, and D. Palmer, editors. First edition. IFAS Information and Communication
     Services, University of Florida, Gainesville, Florida.


Glass, C. M., R. G. McLean, J. B. Katz, D. S. Maehr, C. B. Cropp, L. J. Kirk, A. J. McKeiman, and J. F.
     Evermann. 1994. Isolation of pseudorabies (Aujeszky's disease) virus from a Florida panther.
     Journal of Wildlife Diseases 30:180–184.


Greenwood, P. J. 1980. Mating systems, philopatry and dispersal in birds and mammals. Animal
     Behaviour 28:1140–1162.


Groves, C. 2003. Drafting a conservation blueprint: a practitioner's guide to planning for biodiversity.
     Island Press, Washington.


Guggisberg, C. A. W. 1975. Puma, Cougar. Pages 107–124 in C. A. W. Guggisberg, editor. Wild Cats of the
     World. 1st ed. edition. David & Charles, Newton Abbot, London.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          260
   Case 1:21-cv-00119-RDM                Document 149-2           Filed 01/12/24         Page 285 of 585
                                                                                              LITERATURE CITED


Gustafson, K. D., T. W. Vickers, W. M. Boyce, and H. B. Ernest. 2017. A single migrant enhances the
     genetic diversity of an inbred puma population. Royal Society Open Science 4:170115.


Hahn, E. C., G. R. Page, P. S. Hahn, K. D. Gillis, C. Romero, J. A. Annelli, and E. P. J. Gibbs. 1997.
     Mechanisms of transmission of Aujeszky's disease virus originating from feral swine in the USA.
     Veterinary Microbiology 55:123–130.
     <http://www.sciencedirect.com/science/article/pii/S0378113596013090>.


Haig, S. M., E. A. Beever, S. M. Chambers, H. M. Draheim, B. D. Dugger, S. Dunham, Elise Elliott-Smith, J.
     B. Fontaine, D. C. Kesler, B. J. Knaus, I. F. Lopes, P. Loschl, T. D. Mullins, and L. M. Sheffield. 2006.
     Taxonomic considerations in listing subspecies under the U.S. Endangered Species Act.
     Conservation Biology 20:1584–1594.


Hall, E. R., and K. R. Kelson. 1959. The mammals of North America. Ronald Press Co., New York.


Hamilton, W. J. 1941. Notes on some mammals of Lee County, Florida. The American Midland Naturalist
     25:686–691.


Harlow, R. F., and F. K. Jones. 1965. The white-tailed deer in Florida. Florida Game and Fresh Water Fish
     Commission. Technical Bulletin No. 9.


Harrison, R. L. 1992. Toward a theory of inter-refuge corridor design. Conservation Biology 6:293–295.


Hart, K. M., M. S. Cherkiss, B. J. Smith, F. J. Mazzotti, I. Fujisaki, R. W. Snow, and M. E. Dorcas. 2015.
     Home range, habitat use, and movement patterns of non-native Burmese pythons in Everglades
     National Park, Florida, USA. Animal Biotelemetry 3:8.


Hawley, J. E., P. W. Rego, A. P. Wydeven, M. K. Schwartz, T. C. Viner, R. Kays, K. L. Pilgrim, and J. A. Jenks.
     2016. Long-distance dispersal of a subadult male cougar from South Dakota to Connecticut
     documented with DNA evidence. Journal of Mammalogy 97:1435.


Hemker, T. P., F. G. Lindzey, and B. B. Ackerman. 1984. Population characteristics and movement
     patterns of cougars in southern Utah. The Journal of Wildlife Management 48:1275–1284.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            261
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24       Page 286 of 585
                                                                                           LITERATURE CITED


Henry, J. A., K. M. Portier, and J. Coyne. 1994. The climate and weather of Florida. Pineapple Press,
     Sarasota, Florida.


Hewitt, D. G. 2015. Hunters and the conservation and management of white-tailed deer (Odocoileus
     virginianus). International Journal of Environmental Studies 72:839–849.


Hility, J. A., W. Z. Lidicker, and A. M. Merenlender. 2006. Corridor ecology: the science and practice of
     linking landscapes for biodiversity conservation. Island Press, Washington, DC.


Holbrook, J., and T. Chesnes. 2011. An effect of Burmese pythons (Python molurus bivittatus) on
     mammal populations in southern Florida. Florida Scientist 74:17–24.


Holbrook, J. D., R. W. DeYoung, J. E. Janecka, M. E. Tewes, R. L. Honeycutt, J. H. Young, and B. J.
     Swanson. 2012. Genetic diversity, population structure, and movements of mountain lions (Puma
     concolor) in Texas. Journal of Mammalogy 93(4):989–1000.


Hollister, N. 1911. The Louisiana Puma. Proceedings of the Biological Society of Washington 24:175–178.


Hostetler, J. A., D. P. Onorato, B. M. Bolker, W. E. Johnson, S. J. O'Brien, D. Jansen, and M. K. Oli. 2012.
     Does genetic introgression improve female reproductive performance? A test on the endangered
     Florida panther. Oecologia 168:289–300.


Hostetler, J. A., D. P. Onorato, D. Jansen, and M. K. Oli. 2013. A cat's tale: the impact of genetic
     restoration on Florida panther population dynamics and persistence. Journal of Animal Ecology
     82:608–620.


Hostetler, J. A., D. P. Onorato, J. D. Nichols, W. E. Johnson, M. E. Roelke, S. J. O’Brien, D. Jansen, and M.
     K. Oli. 2010. Genetic introgression and the survival of Florida panther kittens. Biological
     Conservation 143:2789–2796.


Howard, W. E. 1960. Innate and environmental dispersal of individual vertebrates. The American
     Midland Naturalist 63:152–161.


Hsu, T. C., H. H. Rearden, and G. F. Luquette. 1963. Karyological Studies of Nine Species of Felidae. The
     American Naturalist 97:225–234.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          262
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 287 of 585
                                                                                           LITERATURE CITED


Immell, D., and R. G. Anthony. 2008. Estimation of black bear abundance using a discrete DNA sampling
     device. The Journal of Wildlife Management 72:324–330.


Interagency Florida Panther Response Team. 2014. Annual Report: 2013–2014. Florida Fish and Wildlife
     Conservation Commission, U.S. Fish and Wildlife Service, National Park Service.


-------- 2015. Annual Report: 2014-2015. Florida Fish and Wildlife Conservation Commission, U.S. Fish
     and Wildlife Service, National Park Service.


-------- 2017. Annual Report: 2017. Florida Fish and Wildlife Conservation Commission, U.S. Fish and
     Wildlife Service, and National Park Service.


Iriarte, J. A., W. L. Franklin, W. E. Johnson, and K. H. Redford. 1990. Biogeographic variation of food
     habits and body size of the America Puma. Oecologia 85:185–190.


Jackson, H. H. T. 1955. The Wisconsin Puma. Proceedings of the Biological Society of Washington
     68:149–150.


Jacobs, C. E., and M. B. Main. 2015. A conservation-based approach to compensation for livestock
     depredation: the Florida panther case study. Plos One 10:e0139203.


Jansen, D. K., S. R. Schulze, and A. T. Johnson. 2005. Florida panther (Puma concolor coryi) research and
     monitoring in Big Cypress National Preserve. Annual Report 2004–2005. National Park Service,
     Ochopee, Florida.


Jardine, S. W. 1834. The naturalist's library: the natural history of the Felinae. 1834. W. H. Lizars,
     Edinburgh.


Jenks, J. a. 2018. Mountain lions of the Black Hills: history and ecology. Johns Hopkins University Press,
     Baltimore, Maryland.


Johnson, W. E., E. Eizirik, J. Pecon-Slattery, W. J. Murphy, A. Antunes, E. Teeling, and S. J. O'Brien. 2006.
     The late Miocene radiation of modern Felidae: a genetic assessment. Science 311:73–77.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         263
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 288 of 585
                                                                                            LITERATURE CITED


Johnson, W. E., and S. J. O’Brien. 1997. Phylogenetic reconstruction of the felidae using 16S rRNA and
     NADH-5 mitochondrial genes. Journal of Molecular Evolution 44:S116.


Johnson, W. E., D. P. Onorato, M. E. Roelke, E. D. Land, M. W. Cunningham, R. C. Belden, R. McBride, D.
     Jansen, M. Lotz, D. Shindle, J. Howard, D. E. Wildt, L. M. Penfold, J. A. Hostetler, M. K. Oli, and S. J.
     O'Brien. 2010. Genetic restoration of the Florida panther. Science 329:1641–1645.


Jordan, D. B. 1991. Supplemental Environmental Assessment: a proposal to establish a captive breeding
     population of panthers. U.S. Fish and Wildlife Service, Gainesville, Florida.


Karanth, K. U., and J. D. Nichols. 1998. Estimation of tiger densities in India using photographic captures
     and recaptures. Ecology 79:2852–2862.


Kautz, R. S. 1994. Historical trends within the range of the Florida panther. Pages 285–296 in D. B.
     Jordan, editor. Proceedings of the Florida Panther Conference. U.S. Fish and Wildlife Service,
     Gainesville, Florida.


-------- 1998. Land use and land cover trends in Florida 1936-1995. Florida Scientist 61:171–187.


Kautz, R. S., D. T. Gilbert, and G. M. Mauldin. 1993. Vegetative cover in Florida based on 1985–1989
     Landsat Thematic Mapper imagery. Florida Scientist 56:135–154.


Kautz, R. S., and J. A. Cox. 2001. Strategic habitats for biodiversity conservation in Florida. Conservation
     Biology 15:55–77.


Kautz, R. S., R. Kawula, T. Hoctor, J. Comiskey, D. Jansen, D. Jennings, J. Kasbohm, F. Mazzotti, R.
     McBride, L. Richardson, and K. Root. 2006. How much is enough? Landscape-scale conservation for
     the Florida panther. Biological Conservation 130:118–133.


Kautz, R. S., B. Stys, and R. Kawula. 2007. Florida vegetation 2003 and land use change between 1985–89
     and 2003. Florida Scientist 70:12–23.


Kendall, K. C., J. B. Stetz, D. A. Roon, L. P. Waits, J. B. Boulanger, and D. Paetkau. 2008. Grizzly bear
     density in Glacier National Park, Montana. The Journal of Wildlife Management 72:1693–1705.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           264
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 289 of 585
                                                                                          LITERATURE CITED


Kelly, B., and D. Onorato. 2020. Assessment of the Distribution of Florida Panthers North of the
     Caloosahatchee River. Central Florida Panther Study Interim Report. Fish and Wildlife Research
     Institute, Naples, Florida


Kimes, C. A., and L. C. Crocker. 1998. The Caloosahatchee River and its watershed. A historical overview
     submitted to Florida Gulf Coast University Library Services. Florida Gulf Coast University Library
     Services and South Florida Water Management District.


Kitchener, A. 1991. The natural history of the wild cats. Comstock Publishing Associates, Ithaca, New
     York.


Kitchener, A., C. Breitenmoser-Wursten, E. Eizirik, A. Gentry, L. Werdelin, A. Wilting, N. Yamaguchi, A. V.
     Abramov, P. Christiansen, C. Driscoll, J. W. Duckworth, W. Johnson, S. -J. Luo, E. Meijaard, P.
     O'Donoghue, J. Sanderson, K. Seymour, M. Bruford, C. Groves, M. Hoffmann, K. Nowell, Z.
     Timmons, and S. Tobe. 2017. A revised taxonomy of the Felidae. The final report of the Cat
     Classification Task Force of the IUNC/SSC Cat Specialist Group. Cat News Special Issue 11, 80 pp.


Kitchener, A., B. Van Valkenburgh, and N. Yamaguchi. 2010. Felid form and function. Pages 83-106 in D.
     W. Macdonald, and A. J. Loveridge, editors. Biology and Conservation of Wild Felids. Oxford
     University Press, Loveridge.


Kreye, M. M., E. F. Pienaar, and A. E. Adams. 2017. The role of community identity in cattlemen
     response to Florida panther recovery efforts. Society & Natural Resources 30:79–94.


Kreye, M. M., E. F. Pienaar, J. R. Soto, and D. C. Adams. 2017. Creating voluntary payment programs:
     effective program design and ranchers’ willingness to conserve Florida panther habitat. Land
     Economics 93:459–480.


Kurtén, B. 1973. Geographic variation in size in the puma (Felis concolor). Commentationes Biologicae
     63:2–8.


Labisky, R. F., M. C. Boulay, K. E. Miller, R. A. Sargent Jr, and J. M. Zultowsky. 1995. Population ecology of
     white-tailed deer in Big Cypress National Preserve and Everglades National Park. Final Report to




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         265
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 290 of 585
                                                                                          LITERATURE CITED


     USDI-National Park Service. Department of Wildlife Ecology and Conservation, University of Florida,
     Gainesville, Florida.


Lambert, C. M. S., R. B. Wielgus, H. S. Robinson, D. D. Katnik, H. S. Cruickshank, R. Clarke, and J. Almack.
     2006. Cougar population dynamics and viability in the Pacific Northwest. The Journal of Wildlife
     Management 70:246–254.


Land, E. D., and R. C. Lacy. 2000. Introgression level achieved through Florida panther genetic
     restoration. Endangered Species Update 17:100–105.


Land, E. D., and M. Lotz. 1996. Wildlife crossing designs and use by Florida panthers and other wildlife in
     southwest Florida. Technical report. Florida Fish and Wildlife Conservation Commission, Naples,
     Florida.


Land, E. D., D. B. Shindle, M. W. Cunningham, M. Lotz, and B. Ferree. 2004. Florida Panther Genetic
     Restoration and Management. 2003–2004 Final Report. Florida Fish and Wildlife Conservation
     Commission, Naples, Florida.


Land, E. D., D. B. Shindle, R. J. Kawula, J. F. Benson, M. A. Lotz, and D. P. Onorato. 2008. Florida panther
     habitat selection analysis of concurrent GPS and VHF telemetry data. The Journal of Wildlife
     Management 72:633–639.


LaRue, M. A., and C. K. Nielsen. 2011. Modelling potential habitat for cougars in midwestern North
     America. Ecological Modelling 222:897–900.


LaRue, M. A., C. K. Nielsen, M. Dowling, K. Miller, B. Wilson, H. Shaw, and C. R. Anderson. 2012. Cougars
     are recolonizing the Midwest: analysis of cougar confirmations during 1990–2008. The Journal of
     Wildlife Management 76:1364–1369.


Laundré, J. W., L. Hernández, and S. G. Clark. 2007. Numerical and demographic responses of pumas to
     changes in prey abundance: testing current predictions. The Journal of Wildlife Management
     71:345–355.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                        266
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 291 of 585
                                                                                          LITERATURE CITED


Lee, I. T., J. K. Levy, S. P. Gorman, P. C. Crawford, and M. R. Slater. 2002. Prevalence of feline leukemia
     virus infection and serum antibodies against feline immunodeficiency virus in unowned free-
     roaming cats. Journal of the American Veterinary Medical Association 220:620–622.


Levy, J., C. Crawford, K. Hartmann, R. Hofmann-Lehmann, S. Little, E. Sundahl, and V. Thayer. 2008. 2008
     American Association of Feline Practitioners' feline retrovirus management guidelines. Journal of
     Feline Medicine and Surgery 10:300–316.


Lindenmayer, D. B., and J. Fischer. 2006. Habitat fragmentation and landscape change: an ecological and
     conservation synthesis. Island Press, Washington, DC.


Lindzey, F. G., W. D. Van Sickle, S. P. Laing, and C. S. Mecham. 1992. Cougar population response to
     manipulation in southern Utah. Wildlife Society Bulletin (1973-2006) 20:224–227.


Logan, K. A., and L. L. Sweanor. 1998. Cougars management in the West: New Mexico as a template.
     Pages 101–110 in Cougars management in the West: New Mexico as a template. Proceedings of
     Western Association of Fish and Wildlife Agencies. Wyoming Game and Fish Department, Jackson,
     Wyoming.


--------2010. Behavior and social organization of a solitary carnivore. Pages 105–117 in M. Hornocker,
     and S. Negri, editors. Cougar: Ecology and conservation. The University of Chicago Press, Chicago
     and London.


Logan, K. A., L. L. Sweanor, T. K. Ruth, and M. G. Hornocker. 1996. Cougars of the San Andreas
     Mountains, New Mexico. Final Report. Federal Aid in Wildlife Restoration Project W-128-R. New
     Mexico Department of Game and Fish, Santa Fe, New Mexico.


Logan, K. A., and L. L. Sweanor. 2001. Desert puma: evolutionary ecology and conservation of an
     enduring carnivore. Island Press, Washington, DC.


Logan, K. A., L. L. Sweanor, and M. G. Hornocker. 2004. Reconciling science and politics in puma
     management in the West: New Mexico as a template. Presented in Special Session: Managing
     Mammalian Predators and Their Populations to Avoid Conflicts, 69th North American Wildlife and
     Natural Resources Conference, Spokane, Washington.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         267
   Case 1:21-cv-00119-RDM                Document 149-2            Filed 01/12/24        Page 292 of 585
                                                                                              LITERATURE CITED


Lopez, R. R., I. D. Parker, N. J. Silvy, B. L. Pierce, J. T. Beaver, and A. A. Lund. 2016. Florida Key deer
     screwworm final report (Phase I). Texas A&M Natural Resources Institute, College Station, Texas.


Loveless, C. M. 1959. The Everglades deer herd: life history and management. Technical Bulletin No. 6.
     Florida Game and Fresh Water Fish Commission.


Lowery, G. H. J., and Louisiana Wild Life and Fisheries Commission. 1974. The mammals of Louisiana and
     its adjacent waters, Published for the Louisiana Wild Life and Fisheries Commission by the Louisiana
     State University Press, Baton Rouge, Louisiana.


MacDonald-Beyers, K., and R. F. Labisky. 2005. Influence of flood waters on seasonal survival,
     reproduction, and habitat use of white-tailed deer in the Florida Everglades. Wetlands 25:659–666.


Maehr, D. S. 1992. Florida panther. Pages 176–189 in S. R. Humphrey, editor. Rare and endangered biota
     of Florida. Volume I: mammals. University Press of Florida, Gainesville, Florida.


--------1997. The Florida panther: life and death of a vanishing carnivore. Island Press, Washington, D.C.


Maehr, D. S., and J. A. Cox. 1995. Landscape features and panthers in Florida. Conservation Biology
     9:1008–1019.


Maehr, D. S., and R. C. Lacy. 2002. Avoiding the lurking pitfalls in Florida panther recovery. Wildlife
     Society Bulletin (1973–2006) 30:971–978.


Maehr, D. S., R. C. Belden, E. D. Land, and L. Wilkins. 1990. Food habits of panthers in southwest Florida.
     The Journal of Wildlife Management 54:420–423.


Maehr, D. S., and G. B. Caddick. 1995. Demographics and genetic introgression in the Florida panther.
     Conservation Biology 9:1295–1298.


Maehr, D. S., E. C. Greiner, J. E. Lanier, and D. Murphy. 1995. Notoedric mange in the Florida panther
     (Felis concolor coryi). Journal of Wildlife Diseases 31:251–254.


Maehr, D. S., R. C. Lacy, E. D. Land, O. L. Bass Jr., and T. S. Hoctor. 2002. Evolution of population viability
     assessments for the Florida panther: a multiperspective approach. Pages 284–311 in S. R.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                             268
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24         Page 293 of 585
                                                                                            LITERATURE CITED


     Beissinger, and D. R. McCullough, editors. Population Viability Analysis. The University of Chicago
     Press, Chicago, Illinois, USA.


Maehr, D. S., E. D. Land, and J. C. Roof. 1991. Social ecology of Florida panthers. National Geographic
     Research and Exploration 7:414–431.


Maehr, D. S., E. D. Land, J. C. Roof, and J. W. McCown. 1989. Early maternal behavior in the Florida
     panther (Felis concolor coryi). The American Midland Naturalist 122:34–43.


Maehr, D. S., E. D. Land, J. C. Roof, and J. W. McCown. 1990. Day beds, natal dens, and activity patterns
     of Florida panthers. Proceedings of Annual Conference of Southeastern Fish and Wildlife Agencies
     44:310–318.


Maehr, D. S., E. D. Land, D. B. Shindle, O. L. Bass, and T. S. Hoctor. 2002. Florida panther dispersal and
     conservation. Biological Conservation 106:187–197.


Main, M. B., and C. Jacobs. 2014. Calf depredation by the Florida panther in southwest Florida. Final
     Report to the U.S. Fish and Wildlife Service. University of Florida IFAS, Gainesville, Florida.


Maletzke, B., B. Kertson, M. Swanson, G. Koehler, R. Beausoleil, R. Wielgus, and H. Cooley. 2017. Cougar
     response to a gradient of human development. Ecosphere 8:e01828.


Mammal Diversity Database. 2020. www.mammaldiversity.org. American Society of Mammalogists.
     Accessed 02 August 2020.


Mansfield, K. G., and E. D. Land. 2002. Cryptorchidism in Florida panthers: prevalence, features, and
     influence of genetic restoration. Journal of Wildlife Diseases 38:693–698.


Marquardt, W. H. 2019. The Padgett figurine and other pre-Columbian wooden statuettes from Florida.
     In Iconography and wetsite archaeology of Florida’s watery realms, edited by Ryan Wheeler and
     Joanna Ostapkowitz, pp. 152–178. University of Florida Press, Gainesville.


Matte, E. M., C. S. Castilho, R. A. Miotto, D. A. Sana, W. E. Johnson, S. O’Brien J., T. de Freitas R.O., and E.
     Eizirik. 2013. Molecular evidence for a recent demographic expansion in the puma (Puma concolor)
     (Mammalia, Felidae). Genetics and Molecular Biology 36:586–597.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           269
  Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 294 of 585
                                                                                       LITERATURE CITED


Matthiessen, P. 1959. Wildlife in America. Viking Press, New York.


Mayr, E. 1963. Animal species and evolution. Belknap Press of Harvard University Press, Cambridge, MA.


-------- 1982. Of what use are subspecies? The Auk 99:593–595.


McBride, R. T., and C. McBride. 2010. Predation of a large alligator by a Florida panther. Southeastern
     Naturalist 9:854–856.


-------- 2011. Photographic evidence of Florida panthers claw-marking logs. Southeastern Naturalist
     10:384–386.


-------- 2015. Florida panther annual count 2015. Ranchers Supply, Inc. Ochopee, Florida.


McBride, R. T., R. T. McBride, R. M. McBride, and C. E. McBride. 2008. Counting pumas by categorizing
     physical evidence. Southeastern Naturalist 7:381–400.


McBride, R. T., and R. Sensor. 2012. Photographic evidence of wild Florida panthers scent-marking with
     facial glands. Southeastern Naturalist 11:349–354.


McCabe, R. E., and T. R. McCabe. 1984. Of slings and arrows: a historical retrospection. Pages 19–72 in L.
     K. Halls, editor. White-tailed deer: ecology and management. Stackpole, A Wildlife Management
     Institute Book, Harrisburg, Pennsylvania.


McCleery, R. A., A. Sovie, R. N. Reed, M. W. Cunningham, M. E. Hunter, and K. M. Hart. 2015. Marsh
     rabbit mortalities tie pythons to the precipitous decline of mammals in the Everglades. Proceedings
     of the Royal Society B 282:2050120.


McClintock, B. T., D. P. Onorato, and J. Martin. 2015. Endangered Florida panther population size
     determined from public reports of motor vehicle collision mortalities. Journal of Applied Ecology
     52:893–901.


McMillin, S., M. S. Piazza, L. W. Woods, and R. H. Poppenga. 2016. New rodenticide on the block:
     diagnosing bromethalin intoxication in wildlife. Proceedings of the Vertebrate Pest Conference, 27.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                     270
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 295 of 585
                                                                                         LITERATURE CITED


Melillo, J. M., T. Richmond, and G. W. Yohe, editors. 2014. Climate change impacts in the United States:
     the third climate assessment. U.S. Global Change Research Program. U.S. Government Printing
     Office, Washington, DC.


Merriam, C. H. 1901. Preliminary revision of the pumas (Felis concolor group). Proceedings of the
     Washington Academy of Sciences 3:577–600.


Meshaka, W. E., Jr, W. F. Loftus, and T. Steiner. 2000. The herpetofauna of Everglades National Park.
     Florida Scientist 2:84–103.


Moritz, C. 1999. Conservation units and translocations: strategies for conserving evolutionary processes.
     Hereditas 130:217–228.


Morgan, G. S. and K. L. Seymour. 1997. Fossil history of the panther (Puma concolor) and the cheetah-
     like cat (Miracinonyx inexpectatus) in Florida. Bulletin of the Florida Museum of Natural History.
     40(2):177–219.


Moss, W. E., M. W. Alldredge, K. A. Logan, and J. N. Pauli. 2016. Human expansion precipitates niche
     expansion for an opportunistic apex predator (Puma concolor). Scientific Reports 6:39639.
     https://doi.org/10.1038/srep39639


Murphy, K., and T. K. Ruth. 2010. Diet and prey selection of a perfect predator. Pages 118–137 in M.
     Hornocker, and S. Negri, editors. Cougar: Ecology and Conservation. The University of Chicago
     Press, Chicago.


Negroes, N., P. Sarmento, C. Eira, C. Fonseca, E. Revilla, J. Cruz, R. Sollmann, N. M. Torres, M. M.
     Furtado, A. T. A. Jacomo, and L. Silveira. 2010. Use of camera-trapping to estimate puma density
     and influencing factors in central Brazil. Journal of Wildlife Management 74:1195–1203.


Nelson, E. W., and E. A. Goldman. 1929. List of the pumas, with three described as new. Journal of
     Mammalogy 10:345–350.


Newell, D. 1935. Panther! Saturday Evening Post 208:72.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         271
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24         Page 296 of 585
                                                                                            LITERATURE CITED


Nielsen, C., D. Thompson, M. Kelly, and C. A. Lopez-Gonzalez. 2015. Puma concolor (errata version
     published in 2016). The IUCN Red List of Threatened Species 2015: E. T18868A97216466.
     <http://dx.doi.org/10.2305/IUCN.UK.2015-4.RLTS.T18868A50663436.en>. Accessed 03 July 2018.


Noss, R. F., and A. Y. Cooperrider. 1994. Saving nature's legacy: protecting and restoring biodiversity.
     Island Press, Washington, D.C.


Noss, R. F., J. S. Reece, T. Hoctor, and J. Oetting. 2014. Adaptation to sea-level rise in Florida: biological
     conservation priorities. Final Report. Kresge Foundation, Troy, Michigan.
     <https://floridaclimateinstitute.org/images/reports/201409NossKresge.pdf>.


Nowak, R. M. 1991. Walker's mammals of the world. Fifth edition. Johns Hopkins University Press,
     Baltimore.


Nowak, R. M., and R. McBride. 1974. Status survey of the Florida panther. Pages 237–242 in P. Jackson,
     editor. World Wildlife Yearbook 1973–74. World Wildlife Fund, 1110 Morges, Switzerland.


--------1975. Status of the Florida panther. Pages 244–246 in P. Jackson, editor. World Wildlife Yearbook
     1974–75. World Wildlife Fund, 1110 Morges, Switzerland.


Nowell, K., and P. Jackson. 1996. Wild cats: status survey and conservation action plan. IUCN/SSC Cat
     Specialist Group, Gland, Switzerland.


O'Brien, S. J., M. E. Roelke, N. Yuhki, K. W. Richards, W. E. Johnson, W. L. Franklin, A. E. Anderson, O. L.
     Bass Jr, R. C. Belden, and J. S. Martenson. 1990. Genetic introgression within the Florida panther
     Felis concolor coryi. National Geographic Research 6:485–494.


O'Brien, S., J., and E. Mayr. 1991. Bureaucratic mischief: recognizing endangered species and subspecies.
     Science 251:1187–1188.


Ochoa, A., D. P. Onorato, R. R. Fitak, M. E. Roelke-Parker, and M. Culver. 2017. Evolutionary and
     functional mitogenomics associated with the genetic restoration of the Florida panther. Journal of
     Heredity 108:449–455.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           272
   Case 1:21-cv-00119-RDM                Document 149-2            Filed 01/12/24         Page 297 of 585
                                                                                               LITERATURE CITED


Oetting, J., T. Hoctor, and M. Volk. 2016. Critical land and waters identification project (CLIP): version
     4.0. Technical Report - September 2016. Florida Natural Areas Inventory, Florida State University
     and Center for Landscape Conservation Planning, University of Florida.


O’Malley, C., L. M. Elbroch, A. Kusler, M. Peziol., and H. Quigley. 2018. Aligning mountain lion hunting
     seasons to mitigate orphaning dependent kittens. Wildlife Society Bulletin 42(3):438–443.


Onorato, D. P., C. Belden, M. W. Cunningham, D. Land, R. McBride, and M. E. Roelke. 2010. Long-term
     research on the Florida panther (Puma concolor coryi): historical findings and future obstacles to
     population persistence. Pages 453-469 in D. W. Macdonald, and A. J. Loveridge, editors. Biology
     and Conservation of Wild Felids. First edition. Oxford University Press, New York.


Onorato, D. P., M. Criffield, M. Lotz, M. W. Cunningham, R. McBride, E. H. Leone, O. L. Bass, and E. C.
     Hellgren. 2011. Habitat selection by critically endangered Florida panthers across the diel period:
     implications for land management and conservation. Animal Conservation 14:196–205.


Onorato, D. P., and E. C. Hellgren. 2001. Black bear at the border: the recolonization of the Trans-Pecos.
     Pages 245–259 in D. S. Maehr, R. F. Noss, and J. L. Larkin, editors. Large mammal restoration:
     ecological and sociological challenges in the 21st Century. Island Press, Washington D. C.


Onorato, D. P., and B. T. McClintock. Unpublished data.


Onorato, D. P., D. B. Shindle, M. Criffield, B. Kelly, D. Land, M. Lotz, L. Cusack, M. Cunningham, and C.
     Shea. 2020. Summary of results for the application of spatial mark-resight models to trail camera
     data in order to estimate density of Florida panthers on public and private lands (2014–2018). Draft
     FWC Report.


Orlando, A. M., S. G. Torres, W. M. Boyce, E. H. Girvetz, E. A. Laca, and W. Demment. 2008. Does rural
     development fragment puma habitat? Pages 124–147 in D. E. Toweill, S. Nadeau, and D. Smith,
     editors. Proceedings of the Ninth Mountain Lion Workshop, May 5–8, 2008, Sun Valley, ID. Sun
     Valley, Idaho.


Parker, I. D., B. L. Pierce, J. T. Beaver, R. R. Lopez, N. J. Silvy, and D. S. Davis. 2017. Florida Key deer
     screwworm final report. Texas A&M Natural Resources Institute, College Station, Texas.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                              273
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 298 of 585
                                                                                          LITERATURE CITED


Patton, J. L., and C. J. Conroy. 2017. The conundrum of subspecies: morphological diversity among
     desert populations of the California vole (Microtus californicus, Cricetidae). Journal of Mammalogy
     98:1010–1026.


Peakall, R., and P. E. Smouse. 2012. GenAlEx 6.5: genetic analysis in Excel. Population genetic software
     for teaching and research—an update. Bioinformatics 28:2537–2539.


Pedersen, K., S. N. Bevins, J. A. Baroch, J. C. Cumbee, S. C. Chandler, B. S. Woodruff, T. T. Bigelow, and T.
     J. DeLiberto. 2013. Pseudorabies in feral swine in the United States, 2009–2012. Journal of Wildlife
     Diseases 49:709–713.


Peebles, K. A., R. B. Wielgus, B. T. Maletzke, and M. E. Swanson. 2013. Effects of remedial sport hunting
     on cougar complaints and livestock depredations. PLOS ONE 8(11): e79713.


Pielou, E. C. 1991. After the Ice Age: the return of life to glaciated North America. University of Chicago
     Press, Chicago.


Pienaar, E. F., M. M. Kreye, and C. Jacobs. 2015. Conflicts between cattlemen and the Florida panther:
     insights and policy recommendations from interviews with Florida cattlemen. Human Ecology
     43:577–588.


Pierce, B. M., and V. C. Bleich. 2003. Mountain lion. Pages 744–757 in G. A. Feldhamer, B. C. Thompson,
     and J. A. Chapman, editors. Wild mammals of North America: management and conservation.
     Second edition. Johns Hopkins University Press, Baltimore, Maryland, USA.


Pilgrim, K., and M. Schwartz. 2015. Testing of cougar (Puma concolor) DNA recovered from a crossbow
     bolt collected in Carroll County, Tennessee: individual, sex, and population origin. Report submitted
     to Tennessee Wildlife Resources Agency. National Genomics Center for Wildlife and Fish
     Conservation, USFS Rocky Mountain Research Station, Missoula, Montana.


Piry, S., A. Alapetite, J. M. Cornuet, D. Paetkau, L. Baudouin, and A. Estoup. 2004. GENECLASS2: A
     software for genetic assignment and first-generation migrant detection. Journal of Heredity
     95:536–539.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         274
   Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24        Page 299 of 585
                                                                                             LITERATURE CITED


Pritchard, J. K., M. Stephens, and P. Donnelly. 2000. Inference of population structure using multilocus
     genotype data. Genetics 155:945–959.


Proffitt, K. M., M. Hebblewhite, B. Jimenez, J. Goldburg, and R. Russell. 2014. Estimating mountain lion
     abundance in the Bitterroot Watershed. Montana Fish, Wildlife and Parks, Helena, Montana.


Quigley, H., and M. Hornocker. 2010. Cougar population dynamics. Pages 59–75 in Cougar: Ecology and
     Conservation. The University of Chicago Press, Chicago.


Reed, J. M., L. S. Mills, J. B. Dunning Jr., E. S. Menges, K. S. McKelvey, R. Frye, S. R. Beissinger, M. Anstett,
     and P. Miller. 2002. Emerging issues in population viability analysis. Conservation Biology 16:7–19.


Riley, S. P. D., C. Bromley, R. H. Poppenga, F. A. Uzal, L. Whited, and R. M. Sauvajot. 2005. Anticoagulant
     exposure and notoedric mange in bobcats and mountain lions in urban southern California. Journal
     of Wildlife Management 71:1874–1884.


Ripple, W. J., J. A. Estes, R. L. Beschta, C. C. Wilmers, E. G. Ritchie, M. Hebblewhite, J. Berger, B.
     Elmhagen, M. Letnic, M. P. Nelson, O. J. Schmitz, D. W. Smith, A. D. Wallach, and A. J. Wirsing.
     2014. Status and ecological effects of the world’s largest carnivores. Science 343:1241484.


Robinson, H. S., R. Desimone, C. Hartway, J. A. Gude, M. J. Thompson, M. S. Mitchell, and M.
     Hebblewhite. 2014. A test of the compensatory mortality hypothesis in mountain lions: a
     management experiment in west-central Montana. The Journal of Wildlife Management 78:791–
     807.


Robinson, R. 1976. Homologous genetic variation in the Felidae. Genetica 46:1–31.


Rochford, M., K. L. Krysko, J. Nifong, L. Wilkins, R. W. Snow, and M. S. Cherkiss. 2010. Python molurus
     bivittatus (Burmese python). Diet. Herpetological Review 41:97.


Rodgers, P. D., and E. F. Pienaar. 2017. Amenity or nuisance? Understanding and managing human–
     panther conflicts in exurban southwest Florida. Human Dimensions of Wildlife 22:295–313.


-------- 2018. Tolerance for the Florida panther in exurban southwest Florida. The Journal of Wildlife
     Management 82:865–876.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            275
   Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24        Page 300 of 585
                                                                                            LITERATURE CITED


Roelke, M. E., D. J. Forrester, E. R. Jacobson, G. V. Kollias, F. W. Scott, M. C. Barr, J. F. Evermann, and E.
     C. Pirtle. 1993. Seroprevalence of infections disease agents in free-ranging Florida panthers (Felis
     concolor coryi). Journal of Wildlife Diseases 29:36–49.


Roelke, M. E., J. S. Martenson, and S. J. O'Brien. 1993. The consequences of demographic reduction and
     genetic depletion in the endangered Florida panther. Current Biology 3:340–350.


Roelke, M. E., J. Pecon-Slattery, S. Taylor, S. Citino, E. Brown, C. Packer, S. VandeWoude, and S. J.
     O'Brien. 2006. T-lymphocyte profiles in FIV-infected wild lions and pumas reveal CD4 depletion.
     Journal of Wildlife Diseases 42:234–248.


Root, K. V. 2004. Florida panther (Puma concolor coryi): using models to guide recovery efforts. Pages
     491-503 in H. R. Akcakaya, M. Burgman, O. Kindvall, C. C. Wood, P. Sjogren-Gulve, and J. Hatfield,
     editors. Species conservation and management: case studies. Oxford University Press, New York,
     New York USA.


Rosas-Rosas, O., R. Valdez, L. C. Bender, and D. Daniel. 2003. Food habits of pumas in northwestern
     Sonora, Mexico. Wildlife Society Bulletin (1973–2006) 31:528–535.


Ross, P. I., and M. G. Jalkotzy. 1992. Characteristics of a hunted population of cougars in southwestern
     Alberta. The Journal of Wildlife Management 56:417–426.


Rotstein, D. S., R. Thomas, K. Helmick, S. B. Citino, S. K. Taylor, and M. R. Dunbar. 1999. Dermatophyte
     infections in free-ranging Florida panthers (Felis concolor coryi). Journal of Zoo and Wildlife
     Medicine 30:281–284.


Russell, R. E., J. A. Royle, R. Desimone, M. K. Schwartz, V. L. Edwards, K. P. Pilgrim, and K. S. McKelvey.
     2012. Estimating abundance of mountain lions from unstructured spatial sampling. The Journal of
     Wildlife Management 76:1551–1561.


Ruth, T. K., K. A. Logan, L. L. Sweanor, M. G. Hornocker, and L. J. Temple. 1998. Evaluating cougar
     translocation in New Mexico. Journal of Wildlife Management 62(4):1264–1275.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           276
   Case 1:21-cv-00119-RDM                Document 149-2            Filed 01/12/24        Page 301 of 585
                                                                                              LITERATURE CITED


Ruth, T. K., P. C. Buotte, and H. B. Quigley. 2010. Comparing ground telemetry and Global Positioning
     System methods to determine cougar kill rates. The Journal of Wildlife Management 74:1122–
     1133.


Ruth, T. K., and K. Murphy. 2010. Cougar-prey relationships. Pages 138-162 in M. Hornocker, and S.
     Negri, editors. Cougar: Ecology and Conservation. The University of Chicago Press, Chicago.


Saremi, N. F., M. A. Supple, A. Byrne, J. A. Cahill, L. Lehmann Coutinho, L. Dalén, H. V. Figueiró, W. E.
     Johnson, H. J. Milne, S. J. O’Brien, B. O’Connell, D. P. Onorato, S. P. D. Riley, J. A. Sikich, D. R.
     Stahler, P. M. Schmidt Villela, C. Vollmers, R. K. Wayne, E. Eizirik, R. B. Corbett-Detig, R. E. Green, C.
     C. Wilmers, and B. Shapiro. 2019. Puma genomics from North and South America provide insights
     into the genomic consequences of inbreeding. Nature Communications 4769 (2019).


Schaller, G. B., and P. G. Crawshaw. 1980. Movement patterns of jaguar. Biotropica 12:161–168.


Schortemeyer, J. L., D. S. Maehr, J. W. McCown, E. D. Land, and P. D. Manor. 1991. Prey management for
     the Florida panther: a unique role for wildlife managers. Transactions of the North American
     Wildlife and Natural Resources Conference 56:512–526.


Scott, J. M., F. Davis, B. Csuti, R. Noss, B. Butterfield, C. Groves, H. Anderson, S. Caicco, F. D'Erchia, T. C.
     Edwards, J. Ulliman, and R. G. Wright. 1993. Gap Analysis: a geographic approach to protection of
     biological diversity. Wildlife Monographs 123:3–41.


Seal, U. S., and R. C. Lacy. 1989. Florida panther (Felis concolor coryi) viability analysis and species
     survival plan. Report to the U.S. Fish and Wildlife Service. Captive Breeding Specialist Group,
     Species Survival Commission, IUCN.


Sears, W. H. 1982. Fort Center: An archaeological site in the Lake Okeechobee Basin. University Presses
     of Florida, Gainesville.


Shaffer, M. L. 1983. Determining minimum viable population sizes for the grizzly bear. Bears: Their
     Biology and Management 5:133–139.


Shaw, H. 2010. The emerging cougar chronicle. Pages 17–26 in M. Hornocker, and S. Negri, editors.
     Cougar: Ecology and Conservation. The University of Chicago Press, Chicago.

SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                             277
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 302 of 585
                                                                                          LITERATURE CITED


Simcharoen, S., A. Pattanavibool, K. U. Karanth, J. D. Nichols, and N. S. Kumar. 2007. How many tigers
     Panthera tigris are there in Huai Kha Khaeng Wildlife Sanctuary, Thailand? An estimate using
     photographic capture-recapture sampling. Oryx 41:447–453.


Skoda, S. R., P. L. Phillips, and J. B. Welch. 2018. Screwworm (Diptera: Calliphoridae) in the United
     States: response to and elimination of the 2016–2017 outbreak in Florida. Journal of Medical
     Entomology 55:777–786.


Slattery, J. P., and S. J. O'Brien. 1998. Patterns of Y and X chromosome DNA sequence divergence during
     the Felidae radiation. Genetics 148:1245–1255.


Smith, D. R., N. L. Allan, C. P. McGowan, J. A. Szymanski, S. R. Oetker, and H. M. Bell. 2018. Development
     of a Species Status Assessment process for decisions under the U.S. Endangered Species Act.
     Journal of Fish and Wildlife Management 9:302–320.


Smith, J. A., Y. Wang, and C. C. Wilmers. 2015. Top carnivores increase their kill rates on prey as a
     response to human-induced fear. Proceedings of the Royal Society B, 282:20142711.


Smith, J. A., W. Yiwei, and C. C. Wilmers. 2016. Spatial characteristics of residential development shift
     large carnivore prey habits. The Journal of Wildlife Management 80:1040–1048.


Snow, R. W., M. L. Brien, M. S. Cherkiss, L. Wilkins, and F. J. Mazzotti. 2007. Dietary habits of the
     Burmese python, Python molurus bivittatus, in Everglades National Park, Florida. Herpetological
     Bulletin 101:5–7.


Sollmann, R., B. Gardner, R. B. Chandler, D. B. Shindle, D. P. Onorato, J. A. Royle, and A. F. O'Connell.
     2013. Using multiple data sources provides density estimates for endangered Florida panther.
     Journal of Applied Ecology 50:961–968.


Stoner, D. C., W. R. Rieth, M. L. Wolfe, M. B. Mecham, and A. Neville. 2008. Long-distance dispersal of a
     female cougar in a basin and range landscape. The Journal of Wildlife Management 72:933–939.


Sunquist, M., and F. Sunquist. 2002. Wild cats of the world. University of Chicago Press, Chicago.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                           278
   Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 303 of 585
                                                                                          LITERATURE CITED


Sweanor, L. L., K. A. Logan, and M. G. Hornocker. 2000. Cougar dispersal patterns, metapopulation
     dynamics, and conservation. Conservation Biology 14:798–808.


Sweeney, J. R., J. M. Sweeney, and S. W. Sweeney. 2003. Feral hog (Sus scrofa). Pages 1164–1179 in G. A.
     Feldhamer, B. C. Thompson, and J. A. Chapman, editors. Wild mammals of North America: biology,
     management, and conservation. Second edition. The Johns Hopkins University Press, Baltimore,
     Maryland.


Sweet, W. V., R. E. Kopp, C. P. Weaver, J. Obeysekera, R. M. Horton, E. R. Thieler, and C. Zervas. 2017.
     Global and regional sea level rise scenarios for the United States. NOAA Technical Report NOS CO-
     OPS 083. National Oceanic and Atmospheric Administration, Silver Spring, Maryland.


Taulman, J. F., and L. W. Robbins. 1996. Recent range expansion and distributional limits of the nine-
     banded armadillo (Dasypus novemcinctus) in the United States. Journal of Biogeography 23:635–
     648.


Tebeau, C. W. 1957. Florida's last frontier: the history of Collier County. University of Miami Press, Coral
     Gables, Florida.


Teichman, K. J., B. Cristescu, and C. T. Darimont. 2016. Hunting as a management tool? Cougar-human
     conflict is positively related to trophy hunting. BMC Ecology 16:44.


Thatcher, C. A., F. T. Van Manen, and J. D. Clark. 2006. Identifying suitable sites for Florida panther
     reintroduction. The Journal of Wildlife Management 70:752–763.


Thatcher, C. A., F. T. van Manen, and J. D. Clark. 2009. A habitat assessment for Florida panther
     population expansion into central Florida. Journal of Mammalogy 90:918–925.


Thompson, D. J., and J. A. Jenks. 2005. Long-distance dispersal by a subadult male cougar from the Black
     Hills, South Dakota. The Journal of Wildlife Management 69:818–820.


Thompson, D. J., J. A. Jenks, and D. M. Fecske. 2014. Prevalence of human-caused mortality in an
     unhunted cougar population and potential impacts to management. Wildlife Society Bulletin
     38:341–347.



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         279
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 304 of 585
                                                                                           LITERATURE CITED


Tinsley, J. B. 1970. The Florida panther. First edition. Great Outdoors Publishing Co., St. Petersburg,
     Florida.


Tumlison, R., and M. Barbee. 2015. Recent history of mountain lion (Puma concolor) observations in
     Arkansas, with notes on the individual killed in Bradley County, Arkansas in 2014. Journal of the
     Arkansas Academy of Science 69:149–152.


U.S. Department of Agriculture. 2018. Florida county estimates: cattle 2017-2018. Brochure. U.S.
     Department of Agriculture, NASS Southern Region, Athens, Georgia.


U.S. Fish and Wildlife Service. 1967. U.S. endangered species list. Federal Register 32:4001.


USFWS. Unpublished data. Use of random forest model to predict the distribution of potential Florida
     panther (Puma concolor coryi) habitat in Florida. R. A. Frakes and M. L. Knight. South Florida
     Ecological Services Field Office, Vero Beach, Florida.


-------- 1981. Florida panther recovery plan. U.S. Fish and Wildlife Service, Atlanta, Georgia.


-------- 1987. Florida panther (Felis concolor coryi) recovery plan. U.S. Fish and Wildlife Service, Atlanta,
     Georgia.


-------- 1992. ETWP; Determination of threatened status for the Washington, Oregon and California
     population of the Marbled Murrelet. Federal Register 57:45328–45333. .


-------- 1994a. Final Environmental Assessment: genetic restoration of the Florida panther. U.S. Fish and
     Wildlife Service, Gainesville, Florida.


-------- 1994b. Proposed genetic restoration program for the Florida panther. Memorandum dated June
     13, 1994, from Director Beattie (Washington, D.C.) to the Regional Director (Atlanta, GA).


-------- 2008a. Environmental Assessment for the Interagency Florida Panther Response Plan. U.S. Fish
     and Wildlife Service, Naples, Florida.


-------- 2008b. Florida Panther Recovery Plan (Puma concolor coryi). Third Revision. U.S. Fish and Wildlife
     Service. Atlanta, Georgia.


SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          280
   Case 1:21-cv-00119-RDM               Document 149-2            Filed 01/12/24        Page 305 of 585
                                                                                             LITERATURE CITED


-------- 2009. Florida panther (Puma concolor coryi) 5-Year Review: summary and evaluation. U.S. Fish
     and Wildlife Service, Southeast Region, South Florida Ecological Services Office, Vero Beach,
     Florida.


-------- 2011. Eastern puma (=cougar) (Puma concolor couguar). 5-year review: summary and evaluation.
     U.S. Fish and Wildlife Service, Orono, Maine.


-------- 2016a. Species status assessment framework: an integrated analytical framework for
     conservation. Version 3.4. August 2016. U.S. Fish and Wildlife Service, Falls Church, Virginia.


-------- 2016b. U.S. Fish and Wildlife Service response to congressional requests to designate critical
     habitat for the Florida panther. Correspondence dated February, 26, 2016, from Deputy Director
     Steve Guertin (Washington, D.C.) to Members of Congress (Washington, DC).


-------- 2020. Southwest Florida road hot spots, 2.0 based on documented panther vehicle mortalities
     and injuries as of December 31, 2019. Transportation SubTeam Report to the Florida Panther
     Recovery Implementation Core Team. June 2020.


Uzal, F. A., R. S. Houston, S. P. D. Riley, R. Poppenga, J. Odani, and W. Boyce. 2007. Notoedric mange in
     two free-ranging mountain lions (Puma concolor). Journal of Wildlife Diseases 43:274–278.


van de Kerk, M., D. P. Onorato, M. A. Criffield, B. M. Bolker, B. C. Augustine, S. A. McKinley, and M. K. Oli.
     2015. Hidden semi‐Markov models reveal multiphasic movement of the endangered Florida
     panther. Journal of Animal Ecology 84:576–585.


van de Kerk, M., D. P. Onorato, J. A. Hostetler, B. M. Bolker, and M. K. Oli. 2019. Dynamics, persistence,
     and genetic management of the endangered Florida panther population. Wildlife Monographs
     203:3-35. DOI: 10.1002/wmon.1041


van, d. L., H. N. Becker, E. C. Pirtle, P. Humphrey, C. L. Adams, B. P. All, G. A. Erickson, R. C. Belden, W. B.
     Frankenberger, and E. P. J. Gibbs. 1993. Prevalence of pseudorabies (Aujeszky's disease) virus
     antibodies in feral swine in Florida. Journal of Wildlife Diseases 29:403–409.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                            281
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 306 of 585
                                                                                           LITERATURE CITED


Vickers, T. W., J. N. Sanchez, C. K. Johnson, S. A. Morrison, R. Botta, T. Smith, B. S. Cohen, P. R. Huber, H.
     B. Ernest, and W. M. Boyce. 2015. Survival and mortality of Pumas (Puma concolor) in a
     fragmented, urbanizing landscape. Plos One 10:e0131490.


Whiteley, A. R., S. W. Fitzpatrick, W. C. Funk, and D. A. Tallmon. 2015. Genetic rescue to the rescue.
     Trends in Ecology & Evolution 30:42–49.


Wilcove, D. S., D. Rothstein, J. Dubow, A. Phillips, and E. Losos. 1998. Quantifying threats to imperiled
     species in the United States. Bioscience 48:607–615.


Wilkins, L., J. M. Arias-Reveron, B. Stith, M. E. Roelke, and R. C. Belden. 1997. The Florida panther Puma
     concolor coryi: A morphological investigation of the subspecies with a comparison to other North
     and South American cougars. Bulletin of the Florida Museum of Natural History 40:221–269.


Williams, L. E. 1978. Florida Panther. Pages 13–15 in J. N. Layne, editor. Rare and endangered biota of
     Florida. Volume I: Mammals. University of Florida Press, Gainesville, Florida.


Wilson, D. E., and D. M. Reeder, editors. 1993. Mammal species of the world: a taxonomic and
     geographic reference. 2nd edition. Smithsonian Institution Press, Washington.


Wilson, D. E., and D. M. Reeder, editors. 2005. Mammal species of the world. A taxonomic and
     geographic reference. 3rd edition. Johns Hopkins University Press, 2142 pp.


Wilson, J., M. E. Dorcas, and R. W. Snow. 2011. Identifying plausible scenarios for the establishment of
     invasive Burmese pythons (Python molurus) in southern Florida. Biological Invasions 13:1493–1504.


World Health Organization, and United Nations and Environment Programme. 2013. State of the Science
     of Endocrine Disrupting Chemicals - 2012. Å Bergman, J. J. Heindel, S. Jobling, K. A. Kidd, and R. T.
     Zoeller, editors. United Nations Environment Programme (UNEP) and the World Health
     Organization (WHO), Geneva, Geneva.


Wozencraft, W. C. 2005. Order Carnivora. Pages 532–628 in Mammal species of the world: a taxonomic
     and geographic reference. 3rd edition. Johns Hopkins University Press, 2142 pp.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                          282
  Case 1:21-cv-00119-RDM               Document 149-2          Filed 01/12/24        Page 307 of 585
                                                                                         LITERATURE CITED


Young, S. P., and E. A. Goldman. 1946. The Puma: mysterious American cat: history, life habits, economic
     status, and control; classification of the races of the Puma. First edition. The American Wildlife
     Institute, Washington, D.C.




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                         283
  Case 1:21-cv-00119-RDM         Document 149-2         Filed 01/12/24      Page 308 of 585
                                                   APPENDIX A — ACRONYMS AND ABBREVIATIONS


                       APPENDIX A — ACRONYMS AND ABBREVIATIONS

ACIWLP       American Committee for International Wild Life Protection (ACIWLP)
BCNP         Big Cypress National Preserve
CCTF         Cat Classification Task Force
CHR          Core Habitat Region
CITES        Convention on International Trade in Endangered Species of Wild Fauna and Flora
ESA          Endangered Species Act
ENP          Everglades National Park
FEGN         Florida Ecological Greenways Network
FeLV         Feline Leukemia Virus
FIV          Feline Immunodeficiency Virus
FPNWR        Florida Panther National Wildlife Refuge
FSPSP        Fakahatchee Strand Preserve State Park
FWC          Florida Fish and Wildlife Conservation Commission
GFC          Game and Fresh Water Fish Commission
GGE          Golden Gate Estates
HCP          Habitat Conservation Plan
ITIS         Integrated Taxonomic Information System
IUCN         International Union for Conservation of Nature
I-10         Interstate 10
I-75         Interstate 75
I-95         Interstate 95
NGCWFC       National Genomics Center for Wildlife and Fish Conservation
NPS          National Park Service
PCoA         Principal Coordinate Analysis
PFA          Panther Focus Area
PVA          Population Viability Analysis
PRIT         Panther Recovery Implementation Team
PSSF         Picayune Strand State Forest
RFPM         Random Forest Panther Model
RLSA         Rural Lands Stewardship Area
RLSA-SSA     Stewardship Sending Area of the Rural Lands Stewardship Area program
SR 29        State Road 29
SRT          Scientific Review Team
SSA          Species Status Assessment
SSC          Species Survival Commission
SHR          Supporting Habitat Region
TNC          The Nature Conservancy
US 41        U.S. Highway 41
USFWS        U.S. Fish and Wildlife Service
WMA          Wildlife Management Area




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                              284
  Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 309 of 585
                                                                           APPENDIX B — DATA SOURCES


                                    APPENDIX B — DATA SOURCES

Base Data Layers

   •   Interstate highways, toll roads, U. S. highways, state roads, county roads, and off-system roads)
       – Florida Department of Transportation
   •   Florida outline, county boundaries, native American lands, city limits and city locations – Florida
       Geographic Data Library, University of Florida
   •   Florida land cover 2003 – Florida Fish and Wildlife Conservation Commission
   •   Florida land cover 2016 and 2018 (Cooperative Land Cover Database, versions 3.2 and 3.3) –
       Florida Fish and Wildlife Conservation Commission
   •   South Florida land cover/land use 2008 – South Florida Water Management District
   •   USA census blocks 2010 (cenblk2010_aug11.shp) – Florida Geographic Data Library, University
       of Florida
   •   Wildlife crossings (date range: 1993-2016) - Florida Fish and Wildlife Conservation Commission
   •   Golden Gate Estates boundary – Collier County, FL
   •   USA States Generalized – streamed online from Environmental Systems Research Institute
       (ESRI), Redlands, CA
   •   World Imagery (one meter or better satellite imagery in many parts of the world) – streamed
       online from ESRI, Redlands, CA
   •   National Geographic World Map – streamed online from ESRI, Redlands, CA
   •   Western Hemisphere Land Boundaries – streamed online from ESRI, Redlands, CA

Panther Occurrence Data

   •   Florida counties with occurrence records – Florida Fish and Wildlife Conservation Commission
   •   Location of uncollared Florida panther 123 death site – Florida Fish and Wildlife Conservation
       Commission
   •   Release sites and VHF-telemetry records of Texas pumas released into North Florida to study the
       feasibility of reintroducing panthers into formerly occupied habitats (Belden and Hagedorn
       1993, Belden and McCown 1996) – Florida Fish and Wildlife Conservation Commission
   •   VHF-telemetry records (date range: February 1981-June 2018) – Florida Fish and Wildlife
       Conservation Commission
   •   GPS-telemetry records (date range: February 2002-August 2015) - Florida Fish and Wildlife
       Conservation Commission
   •   Mortality records (date range: February 1972-December 2018) - Florida Fish and Wildlife
       Conservation Commission
   •   Depredation records (date range: June 2004-December 2018) - Florida Fish and Wildlife
       Conservation Commission
   •   Panther-human interaction records (date range: May 2004-May 2017) - Florida Fish and Wildlife
       Conservation Commission
   •   Verified sightings records (date range: January 1900-September 2018) - Florida Fish and Wildlife
       Conservation Commission



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                      285
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 310 of 585
                                                                          APPENDIX B — DATA SOURCES


   •    Den records (date range: June 1987-August 2018) - Florida Fish and Wildlife Conservation
        Commission

Panther Conservation Data

   •    Puma concolor range map - IUCN Red List of Threatened Species, version 2017-3, 11 March
        2017; downloaded from www.iucnredlist.org.
   •    Puma specimens examined by Young and Goldman (1946) – U. S. Fish and Wildlife Service
   •    Panther Focus Area (i.e., Primary Zone, Dispersal Zone, Secondary Zone, Primary
        Dispersal/Expansion Zone) – U. S. Fish and Wildlife Service
   •    Panther Functional Zone (Zones A and B) – U. S. Fish and Wildlife Service
   •    Panther range map (date: 1981) – digitized by R. Kautz from the 1981 Florida Panther Recovery
        Plan
   •    Panther range map (date: 198) – digitized by R. Kautz from the 1987 Florida Panther Recovery
        Plan

Habitat Modeling Data

   •    South Florida Random Forest Panther Model (Frakes et al. 2015) – Robert Frakes
   •    Statewide Random Forest Panther Model (USFWS unpublished data) – Robert Frakes
   •    Florida Ecological Greenways Network (Oetting et al. 2016) – Florida Natural Areas Inventory
   •    Florida land use/land cover change detection 1987-2003 (Kautz et al. 2007) - Florida Fish and
        Wildlife Conservation Commission
   •    Panther habitat loss 2003-2015 (R. Kawula unpublished data) - Florida Fish and Wildlife
        Conservation Commission
   •    Panther roadkill hotspots (date: January 2017) - Florida Fish and Wildlife Conservation
        Commission
    •   Least cost path models of routes likely to be followed by dispersing panthers (Kautz et al. 2006,
        Swanson et al. 2008) - Florida Fish and Wildlife Conservation Commission
    •   Priority road segments for wildlife crossings based on Swanson et al. (2008) - Florida Fish and
        Wildlife Conservation Commission
    •   Potential landscape linkages for panther occupancy and dispersal – digitized by R. Kautz
    •   Potential rangewide panther reintroduction sites based on Thatcher et al. (2006) – U. S. Fish and
        Wildlife Service
    •   Potential panther population expansion sites and linkages in central Florida based on Thatcher
        et al. (2009) – C. Thatcher, University of Tennessee

Conservation Lands

   •    Lands in public or private ownership or under easement that are managed primarily for
        conservation, updated quarterly (dates: April 2018, September 2018, January 2019) – Florida
        Natural Areas Inventory
   •    Florida Forever conservation land acquisition program project boundaries (date: January 2019)
        – Florida Natural Areas Inventory

Sea Level Rise Data



SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                    286
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 311 of 585
                                                                       APPENDIX B — DATA SOURCES


   •   Sea level rise models developed by Noss et al. (2014) –M. Volk, Center for Landscape
       Conservation Planning and Department of Landscape Architecture, University of Florida

Land Development Data for Near-Term (2040) and Long-Term (2070) Projections

   •   Developments of Regional Impact (DRI) (date: first quarter of 2018) – Florida Geographic Data
       Library, University of Florida
   •   Planned Unit Developments (PUD) (date: fourth quarter of 2009) - Florida Geographic Data
       Library, University of Florida
   •   Lee County Planned Developments (date: August 31, 2018) – Lee County, FL
   •   Collier County Planned Unit Developments (date: September 1, 2018) – Collier County, FL
   •   Rodina and King Ranch Sector Plans – digitized by R. Kautz from documents downloaded from
       the Hendry County, FL, web site
   •   North Belle Meade Receiving Lands (boundaries of Transfer of Development Rights (TDR)
       receiving lands extracted from Collier County Future Land Use Map) – Collier County, FL
   •   East Collier Rural Lands Stewardship Area boundary and land use categories – Stantec (formerly
       WilsonMiller)
   •   Future development in Florida through 2070 based on Carr and Zwick (2016) – Florida
       Geographic Data Library, University of Florida




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                                 287
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 312 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN


     APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   288
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 313 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   289
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 314 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   290
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 315 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   291
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 316 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   292
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 317 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   293
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 318 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   294
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 319 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   295
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 320 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   296
  Case 1:21-cv-00119-RDM       Document 149-2       Filed 01/12/24   Page 321 of 585
             APPENDIX C — STATE WILDLIFE AGENCY RESPONSES TO 2006 DRAFT OF RECOVERY PLAN




SPECIES STATUS ASSESSMENT FOR THE FLORIDA PANTHER                                   297
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 322 of 585




                   Attachment B
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 323 of 585




Annual Report on the Research and Management of
          Florida Panthers: 2022-2023




 Florida Fish and Wildlife Conservation Commission

                          7 December 2023
  Case 1:21-cv-00119-RDM          Document 149-2       Filed 01/12/24     Page 324 of 585




FWC Contributors and Contact Information:

The compilation of this report was the result of the combined efforts of multiple
FWC staff members currently working on the Florida Panther Project. Further
analyses of these data will be conducted, and results published in the scientific
literature by the FWC and collaborators. Persons interested in obtaining the most
current data should contact the FWC at:


                  Florida Fish and Wildlife Conservation Commission
                  298 Sabal Palm Road
                  Naples, Florida 34114 USA
                  (239) 417-6352


This report and previous annual reports can be downloaded as a pdf file at the Florida Fish
and Wildlife Conservation Commission Florida Panther Website   U




Citation:

Florida Fish and Wildlife Conservation Commission. 2023. Annual report on the
      research and management of Florida panthers: 2022-2023. Fish and
      Wildlife Research Institute & Division of Habitat and Species
      Conservation, Naples, Florida, USA.


                                                                                              i
    Case 1:21-cv-00119-RDM                               Document 149-2                      Filed 01/12/24                   Page 325 of 585




                                                              Table of Contents
                                                                                                                                                         Page
EXECUTIVE SUMMARY .......................................................................................................................1
ACKNOWLEDGEMENTS ......................................................................................................................4
DEDICATION ......................................................................................................................................5
INTRODUCTION .................................................................................................................................6
METHODS ..........................................................................................................................................9
       Study Area ............................................................................................................................................ 9
       Trail Camera Monitoring .................................................................................................................... 10
       Captures ............................................................................................................................................. 10
       Physical Examination .......................................................................................................................... 10
       Live-capture Sample Collection .......................................................................................................... 11
       Vaccination and Treatment ................................................................................................................ 11
       Neonatal Kittens ................................................................................................................................. 12
       Collaring ............................................................................................................................................. 12
       Necropsy ............................................................................................................................................. 12
       Diagnostics ......................................................................................................................................... 13
RESULTS AND DISCUSSION ...............................................................................................................14
       Trail Camera Monitoring .................................................................................................................... 14
       Captures ............................................................................................................................................. 14
       Radiocollared Panthers and Bobcats.................................................................................................. 15
       Reproduction ...................................................................................................................................... 15
       Biomedical Summaries ....................................................................................................................... 15
       Mortality ............................................................................................................................................. 16
       Captive Florida Panthers .................................................................................................................... 16
       Florida Panther Response Plan Activity .............................................................................................. 17
       Land use, habitat impacts, environmental commenting and recovery tasks ..................................... 17
       Current Research ................................................................................................................................ 18
LITERATURE CITED ...........................................................................................................................20
FWC PANTHER STAFF PUBLICATIONS AND PRESENTATIONS 2022-2023 .............................................22
TABLES ............................................................................................................................................23
        Table 1. Florida panthers captured by FWC from 1 July 2022 to 30 June 2023. .............................. 23
        Table 2. Bobcats captured or released by FWC from 1 July 2022 to 30 June 2023. ......................... 24
        Table 3. Neonate kittens handled at bobcat dens by FWC from 1 July 2022 to 30 June 2023......... 25
        Table 4. Verified Florida panther mortalities and injuries recorded between 1 July 2022 and 30
                June 2023. Data collected by FWC staff. Causes of death include hit-by-car (HBC). The
                presence of atrial septal defects (ASD) and other biomedical and morphometric data are
                also noted. Sex is male (M) or female (F). Age is in years unless noted otherwise. Some
                characteristics were not determined (ND) or not applicable (NA). ..................................... 26
        Table 5. Florida panthers in captivity between 1 July 2022 and 30 June 2023. ............................... 27



                                                                                                                                                               ii
    Case 1:21-cv-00119-RDM                              Document 149-2                      Filed 01/12/24                  Page 326 of 585



FIGURES...........................................................................................................................................28
        Figure 1. Depiction of the 95% local convex hull (k=20) home ranges for adult and subadult Florida
                  panthers monitored by FWC from 1 July 2022 to 30 June 2023. Data collected via aerial
                  telemetry and Iridium GPS collars by FWC......................................................................... 28
        Figure 2. Confirmed human-panther interactions from FY 2010-2011 through 2022-2023. Note:
                  Data in FY 2011-2012 and FY 2012-2013 includes five and six depredations of domestic
                  animals, respectively, that involved radiotagged calves monitored as part of the UF-IFAS
                  calf mortality study (Jacobs and Main 2015). Data in 2021-2022 includes increased prey
                  monitoring efforts of a radiocollared panther. Definitions of conflict categories can be
                  found in Appendix C of the USFWS Environmental Assessment for the Interagency Florida
                  Panther Response Plan. ...................................................................................................... 29
APPENDICES ....................................................................................................................................30
        Appendix I. List of radiocollared Florida panthers and Texas pumas in southern Florida from 10
                   February 1981 to 30 June 2023. Data includes panthers collared by FWC and BCNP
                   staff. ................................................................................................................................ 30
        Appendix II. List of Florida panther kittens handled at natal dens in southern Florida by FWC and
                   BCNP staff from 7 April 1992 through 30 June 2023. Litters are sorted chronologically.
                    ........................................................................................................................................ 42
        Appendix III. List of all known dens of radiocollared female Florida panthers and Texas pumas in
                   southern Florida from June 1985 to June 2023. Kitten numbers preceded with “K”
                   indicate natal den was visited. Samples are ordered by female ID and secondarily by
                   year. Data collected by FWC and BCNP. ......................................................................... 61
        Appendix IV. Florida panther and Texas puma mortalities, injuries, and removals to captivity
                   sorted by year through 30 June 2023. Data collected by FWC and BCNP. Ages are
                   estimated unless panthers were handled as kittens at natal dens. Age values are in
                   years unless noted otherwise. ........................................................................................ 69
FPRMTF: FUNDING INFORMATION AS OF 30 JUNE 2023 ....................................................................89




                                                                                                                                                            iii
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24       Page 327 of 585
FWC Florida Panther Annual Report 2022-2023




                                              Executive Summary
           This report, prepared by the Florida Fish and Wildlife Conservation Commission (FWC),
highlights information collected on the Florida panther (Puma concolor coryi) during fiscal year 1 July
2022 through 30 June 2023 (FY22-23). In some cases, data (e.g., diagnostic or genetic test results) are
presented from samples collected in prior fiscal years due to lag times involved with processing.
Historical data are included as appendices. Panther research and management is a cooperative effort.
We acknowledge the involvement of other agencies, including the U.S. Fish and Wildlife Service (USFWS)
and particularly Big Cypress National Preserve (BCNP) and Everglades National Park (EVER) of the
National Park Service. BCNP and EVER have historically located radiocollared panthers by plane within
their respective park boundaries, and resulting data have been incorporated into a telemetry database
that is updated annually by FWC. However, no panthers were equipped with radiocollars during the
reporting period in EVER or BCNP. Population status within EVER and BCNP was monitored by trail
cameras during the fiscal year. Some data (e.g., biomedical, demographic) on panthers that have been
handled by the BCNP capture team are contained herein for completeness of datasets; more specific
information may be found in BCNP annual reports compiled by BCNP staff.
           FWC historically contracted with Rancher’s Supply and McBride Wildlife Solutions for
houndsman services for the capture of panthers. Contract changes required an Invitation to Bid to
initiate a new contract, however, no bids were received. McBride Wildlife Solutions agreed to provide
services for emergency situations, which occurred during this reporting period to capture a juvenile
panther to remove a failed collar. Without a contracted houndsman, the FWC initiated a modified
capture season. Cage traps baited with visual, audio, and/or scent lures were deployed for both
panthers and bobcats. No panthers were successfully trapped; however, six bobcats were captured and
radiocollared.
            Telemetry data were collected on five radiocollared Florida panthers, including one dependent
aged kitten, and 13 bobcats, including three dependent aged kittens in southern Florida during the
reporting period. One bobcat den was sampled resulting in the documentation of three (3♂) neonate
kittens. Kittens handled at their natal dens were permanently marked with subcutaneous transponder
chips, and tissue samples were collected for genetic analyses. A total of 264 panthers have been
captured since 1981, and 521 neonate panther kittens have been handled at dens since 1992.
           FWC and USFWS maintained 85 unique trail camera locations on public and private lands in
Central and South Florida in FY22-23 as part of concurrent research projects to: 1) monitor the


                                                                                                            1
    Case 1:21-cv-00119-RDM                    Document 149-2     Filed 01/12/24          Page 328 of 585
FWC Florida Panther Annual Report 2022-2023




distribution of panthers and any breeding activity north of the Caloosahatchee River in Central Florida;
and 2) to document any probable cases of feline leukomyelopathy (FLM), a neurological disorder
identified in panthers and bobcats—in both Central and South Florida. A trapping effort of 9,074 trap-
days produced 151 independent panther detections north of the Caloosahatchee River. These included
22 adult female detections likely representing 2 unique individuals. There were 4 kitten detections, likely
all the same individual. Additional photos submitted to the FWC Panther Sightings website or otherwise
                                                                                               T




communicated directly to FWC included 16 additional independent panther detections north of the
Caloosahatchee River. A trapping effort of 8,666 trap-days south of the river produced 479 independent
panther detections.
           Sixteen free-ranging panther deaths were documented during FY22-23 including: one
radiocollared panther kitten (1♀) and 15 (5♂, 10♀) uncollared panthers. Cause of mortality for all was
vehicular trauma. Significant biomedical findings in necropsied panthers included confirmation of feline
leukomyelopathy (FLM) in the kitten. Since 2017, FWC has documented 17 confirmed cases (via
necropsy; 6 Florida panthers, 11 bobcats) and 61 probable cases (via video; 26 panthers, 35 bobcats) of
this disorder in peninsular Florida. Assessing the impact of FLM and its root cause are the current focus
of several research projects being conducted by FWC.
           Panthers were confirmed to be involved in eight depredation events during FY22-23. Animals
killed or injured by panthers included: calves (3), goats (7), sheep (1), and dog (1).
           The FWC has documented a decreasing trend in the number of vehicular mortalities in Florida
panthers since this statistic peaked at 34 in 2016. It’s important to review vehicular mortality data prior
to and after the peak in 2016 to place these trends into perspective. For the period from 2010-2015,
FWC recorded an average of 19.0 vehicular mortalities per year. For the five years following 2016 (2017-
2022), FWC documented an average of 23.0 vehicular mortalities per year. The 5-year averages before
and after 2016 are not dissimilar.
           There has also been a decline in the number of depredations involving panthers reported to
FWC since a peak of 61 in 2017. For the period from 2013 to 2017, FWC recorded an average of 35
depredations per year. For the five years following the peak (2018 to 2022), FWC recorded an average of
14 depredations per year. Unlike the vehicle mortalities, these averages are different.
           The reason for these declines is not currently known, but there are potentially several factors
responsible. Some positive reasons for these trends could be improvements to roadways with fencing
and underpasses at key vehicular mortality hotspots and effective outreach helping to reduce
depredations within panther range. Alternatively, these trends could be signs of a stabilizing or declining


                                                                                                             2
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24       Page 329 of 585
FWC Florida Panther Annual Report 2022-2023




panther population. Nonetheless, monitoring these trends has been and continues to be an important
part of assessing the state of the panther population.
           While habitat loss, vehicular mortalities, and an emerging neurological disorder (FLM) all pose
challenges to the panther population, there are also positive indicators. The FWC has documented
notable improvements in population genetics and multiple occasions of female panthers having kittens
north of the Caloosahatchee River, providing clear evidence of breeding range expansion into Central
Florida. The FWC is sensitive to these ongoing challenges that highlight the need for continued research
and management to ensure that Florida’s panthers continue to progress toward population recovery.




                                                                                                             3
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24      Page 330 of 585
FWC Florida Panther Annual Report 2022-2023




                                              Acknowledgements




           FWC's panther research and management activities are funded almost entirely by the Florida
Panther Research and Management Trust Fund (FPRMTF). This trust fund is supported principally by the
sale of Florida panther license plates. A new license plate was designed and selected this year and
should be available for purchase in late 2023 or early 2024. The FWC panther research and management
group would like to thank the citizens of Florida that continue to support our efforts to conserve and
manage panthers via contributions to this fund. Specifics concerning the current financial status of the
FPRMTF can be found at the end of this annual report.
           We would like to acknowledge the following individuals, businesses, and agencies for their
assistance provided to this project: Cougar McBride (McBride Wildlife Solutions); Dr. Colin Hurd (Blue
Pearl Specialty and Emergency Pet Hospital [Blue Pearl]); Dr. Kevin Oomah (Emergency Pet Hospital of
Collier County); Dr. Darryl Heard (University of Florida – College of Veterinary Medicine); and David
Shindle (USFWS) for assistance on varied aspects of panther fieldwork, management, and research
collaborations. The Fish and Wildlife Foundation of Florida has provided grant funding to support
research on the neurological disorder affecting panthers and bobcats (FLM). We would also like to
extend our appreciation to the staff members at Big Cat Rescue (BCR), BCNP, Big Cypress Seminole
Indian Reservation (BCSIR), Conservation Collier, Corkscrew Regional Ecosystem Watershed (CREW),
Corkscrew Swamp Sanctuary (CSS), Dinner Island Ranch Wildlife Management Area (DIWMA), EVER,
Florida Panther National Wildlife Refuge (FPNWR), Fakahatchee Strand Preserve State Park (FSPSP),
Green Glades West, Lee County Port Authority (LCPA), Naples Zoo (NPZ), Pepper Ranch Preserve,
Picayune Strand State Forest (PSSF), Babcock Ranch Preserve (BRP), Fisheating Creek Wildlife
Management Area (FEC), Platt Branch Wildlife and Environmental Area, Lee County Parks and
Recreation, Highlands Hammock State Park, and Okaloacoochee Slough State Forest (OSSF) for their
continued cooperation and support of our research and management efforts. We thank the
Southeastern Cooperative Wildlife Disease Study (SCWDS) for histology of FLM cases and identification
of ticks removed from Florida panthers, and Mike Kinsella for the identification of helminths recovered
at necropsy. Finally, we are deeply appreciative of the many people involved in the efforts to save and
care for injured or orphaned panthers.


                                                                                                           4
    Case 1:21-cv-00119-RDM                    Document 149-2        Filed 01/12/24   Page 331 of 585
FWC Florida Panther Annual Report 2022-2023




                                                    Dedication
Roy McBride was recognized by FWC Commissioners 10 May 2023 for his decades of work with Florida
panthers. Working for the World Wildlife Fund in 1973, Roy and his hounds treed a female Florida
panther near Fisheating Creek, confirming the species was still extant in the state. Roy went on to serve
as the State of Florida’s contract houndsman for 38 years, tracking panthers with his hounds and
performing over 500 safe captures for both research and management needs. Roy’s knowledge and
expertise have been crucial to panther recovery efforts in the state.


Roy passed shortly after his recognition, doing what he loved, running his hounds on his ranch in Texas.




                                                  Roy Thomas McBride
                                              July 27, 1936 – May 24, 2023




                                                                                                           5
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24       Page 332 of 585
FWC Florida Panther Annual Report 2022-2023




                                                 Introduction
           Florida panthers (Puma concolor coryi) make up a population of puma that historically ranged
throughout most of the southeastern United States from western Louisiana to the swamps of South
Florida (Young and Goldman 1946; Onorato et al. 2010). Loss and fragmentation of wilderness, along
with unregulated killing, in the southeastern United States over the past two centuries reduced panthers
to the point where only one population remained at the tip of peninsular Florida by the mid-1900s
(Onorato et al. 2010). Florida panthers were listed as endangered in 1967 by the Federal Government on
the inaugural list of endangered plants and animals published in the Federal Register (Federal Register
1967). Subsequently, Florida panthers were afforded protection under the U.S. Endangered Species Act
(ESA; Public Law No. 93-205) in 1973.
           Today, Florida panthers persist on < 5% of their historical range and are endangered by a
combination of small population size, isolation, and loss of habitat (USFWS 2008a). Small population size
and geographic isolation increase the chance for extinction of Florida panthers due to demographic
instability inherent in small numbers and erosion of genetic diversity from restricted gene flow and
inbreeding. Natural exchange of genetic material occurred historically among the Florida panther
population in the southeastern United States and contiguous populations of puma to the north and west
(Young and Goldman 1946). Genetic exchange between Florida panthers and other populations of puma
ceased as the Southeast was settled. Florida panthers steadily declined in abundance and distribution
(Alvarez 1993), likely a result of persecution and habitat loss (but see Alvarez 1993, pp. 35-61, for
competing theories on the decline of panthers). Gene flow is reliant upon individuals that immigrate and
breed, but habitat fragmentation generally disrupts dispersal. Dispersal and immigration serve as a
natural mechanism for mixing the gene pool and help minimize inbreeding within populations. Elevated
levels of inbreeding can result in inbreeding depression, which can have varied implications for
populations, including loss of genetic variation, declining health, reduced survival, decreased fecundity,
and an increased risk of extinction (Laikre et al. 1996, Crnokrak and Roff 1999, Frankham et al. 2002).
           In the late 1980s and early 1990s inbreeding depression, habitat loss, and isolation had taken
their toll on the remaining population of panthers (Roelke et al. 1993). The complex interplay of social,
demographic, genetic, and health factors dictated that a timely and aggressive program be implemented
to address the multitude of problems faced by the 20 to 30 Florida panthers that persisted into the early
1990s (McBride et al. 2008; Onorato et al. 2010). A plan for genetic restoration and management of the
Florida panther was developed in September 1994 (Seal 1994; Johnson et al. 2010) and implemented in



                                                                                                             6
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24        Page 333 of 585
FWC Florida Panther Annual Report 2022-2023




1995 with the release of eight female pumas captured in West Texas. Five of the eight Texas pumas
produced litters with resident male Florida panthers, and a minimum of 20 F 1 kittens (first generation)
                                                                             R   R




were born in Florida as a result (Johnson et al. 2010; Onorato et al. 2010). No Texas female pumas
remained in the wild after 2003.
           Assessment of the genetic restoration project has shown that this management program was
successful and continues to have a positive impact on the Florida panther population (Johnson et al.
2010; van de Kerk et al. 2019). Genetic variation has doubled, survival and fitness measures have
improved, and physical correlates of inbreeding have declined significantly (Johnson et al. 2010;
Hostetler et al. 2010; van de Kerk et al. 2019). The panther population has increased in size from the 20
to 30 individuals that remained in the early 1990s (McBride et al. 2008). Using a combination of
minimum count data (lower bound; McBride and McBride 2015) as well as density estimates and
estimates of available habitat in south Florida (upper bound), the FWC has quantified the current
panther population size (inclusive of independent aged panthers [i.e., adults and subadults]) to be
within the range of 120 to 230 individuals (FWC Statement on Estimating Panther Population Size).
Knowledge gained from the genetic restoration project will undoubtedly influence future management
strategies for panthers and may have far-reaching implications to varied conservation projects
worldwide.
           The increase in the panther population since 1995 and an increasing human population in South
Florida has contributed to more frequent human-panther interactions. These interactions can be
perceived as either positive, neutral, or negative depending on the nature of the event. Risks to human
safety and property, such as pets and livestock, are perceived more negatively. These issues need to be
addressed because private landowners play a critical role in preserving panther habitat, which is
essential for advancing panther recovery throughout its former range. Education and outreach remain
critical components of panther recovery because conservation efforts will not be achieved without
public support. Fortunately, many people appreciate panthers as both a vital part of the ecosystem and
for their intrinsic value to our natural heritage.
           Human-panther interactions and depredations of domestic animals are handled following
protocols established in the Interagency Florida Panther Response Plan (USFWS 2008b). Depredation
events involve panthers preying upon livestock or pets (USFWS 2008b). Interactions and depredations
are expected to continue as human use and development increase near panther habitat. FWC and our
partners assist with mitigating these interactions. Depredations usually pose a low risk to human safety
because they typically don’t involve direct interactions between humans and panthers. However,



                                                                                                            7
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24       Page 334 of 585
FWC Florida Panther Annual Report 2022-2023




panthers preying on hobby farm livestock and cattle calves is an issue that FWC and USFWS continue to
address.
           Currently, the Florida panther population in southern Florida represents the only population of
puma east of the Mississippi River. Panthers have been documented in 26 Florida counties based on
occurrence records verified by FWC. A single dispersing male panther was killed by a hunter in central
Georgia near the Alabama state line in 2008. Telemetry, mortality, depredation, human interaction, and
sighting records indicate that panthers currently are distributed into central Florida at least as far north
as Interstate 4, but most of these records are adult or subadult males. From 1980 to 2016, all occurrence
data demonstrated that female panthers were present only south of the Caloosahatchee River and most
reproduction occurred in Collier, Hendry, Lee, and Miami-Dade counties. On 1 November 2016, a female
panther was documented via trail cameras deployed on the BRP in Charlotte County, Florida. FWC trail
cameras later documented a female with a minimum of two kittens on the same property on 15 March
2017 and several subsequent occasions that spring. A second female was documented with a trail
camera on Platt Branch Wildlife and Environmental Area in Highlands County, Florida in March 2017
(Kelly and Onorato 2020). These were the first females that have been confirmed north of the
Caloosahatchee River since a female was captured in Glades County in 1973 (Nowak and McBride 1974,
FWC 2017). Currently (2023), the FWC continues to detect at least two adult females in areas just north
of the Caloosahatchee River via an ongoing camera trap study to assess the distribution of panthers in
Central Florida. While this documentation of females north of the River is encouraging and has the
potential to have a major impact on recovery, it’s prudent to remain cautiously optimistic given the
varied challenges panthers face in terms of successful recruitment of litters and expanding range into
portions of Central Florida.
           A neuromuscular disorder of unknown cause, termed feline leukomyelopathy (FLM), was first
detected in Florida panthers and bobcats in May 2018. FLM appears to be a new/emerging disease
rather than one that has been present but not previously recognized or detected. The earliest suspected
case was a Florida panther kitten on BRP photographed in April 2017. Cases have been confirmed across
peninsular Florida but are concentrated in the southwest. FLM is characterized by mild to severe upper
motor neuron signs consisting primarily of hindlimb weakness and ataxia. Mortality related to FLM likely
occurs secondary to starvation, abandonment (i.e., kittens), or predation/intraspecific aggression,
although there is the possibility of undetected mortality in the den. Necropsy findings included
symmetrical axon (primarily) and myelin degeneration primarily in the ventral and lateral tracts of the
spinal cord.



                                                                                                               8
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24       Page 335 of 585
FWC Florida Panther Annual Report 2022-2023




           The FWC’s current panther research and management priorities include, but are not limited to:
monitoring genetic variation and correlates of inbreeding; evaluating the long-term impacts of genetic
restoration; assessing the presence and impacts of diseases and parasites; investigating the cause,
epidemiology, and impact of FLM in panthers and bobcats; assessing the utility of integrated population
models to estimate population size and demographic variables; delineating statistically robust methods
to estimate the panther population size; evaluating the utility of new GPS collar technology and
transponders to monitor kitten survival; minimizing loss of existing panther habitat; addressing human-
caused and other mortality factors; and reducing human-panther conflicts.
           Our overall research goal is to complement historical data sets with ongoing, objective-driven
research to provide the information necessary to manage and conserve panthers. The integration of
information on demographics, genetics, biomedical, and land management challenges has ultimately
assisted in the implementation of effective management plans that have promoted the long-term
survival and recovery of the panther in Florida.




                                                   Methods
           FWC staff were responsible for camera surveys, capturing and fitting panthers and bobcats with
radiocollars, handling neonates at dens, recovering carcasses from the field and roadside, and obtaining
aerial relocations (i.e., pinpointing panthers and bobcats fitted with radiocollars from aircraft) twice per
week.


Study Area

           The study area encompassed most of peninsular Florida. Primary areas in southern Florida
included large blocks of low-lying public lands such as CREW, EVER, BCNP, FSPSP, PSSF, and the FPNWR.
Significant private lands, primarily used for cattle and crop production, lie on higher terrain to the north
of public lands and are important habitat for Florida panthers. Additionally, many urban and suburban
areas statewide were included as suspected and confirmed FLM bobcats were detected. The overall
study area was divided into three Agency Monitoring Areas (AMA) for purposes of conducting aerial
relocations, capture/recovery efforts, and camera surveys. The FWC AMA was statewide excluding BCNP
south of I-75 and EVER. The BCNP AMA encompassed the area within the BCNP boundary south of I-75.
The EVER AMA encompassed the area within the EVER boundary.




                                                                                                            9
    Case 1:21-cv-00119-RDM                    Document 149-2         Filed 01/12/24   Page 336 of 585
FWC Florida Panther Annual Report 2022-2023




Trail Camera Monitoring

           FWC, in collaboration with the USFWS, monitored for Florida panthers in areas north of the
Caloosahatchee River via the use of motion-activated trail cameras. Between 2022 and 2023, 44
cameras were deployed on public lands between the River and State Road 70 in Central Florida. The
goals of this effort were to document the presence or absence of females and breeding activity and to
survey for presence of FLM in panthers and bobcats. FWC also monitored for FLM in panthers and
bobcats south of the Caloosahatchee River using 41 cameras in the eastern CREW area, PSSF, Rookery
Bay National Estuarine Research Reserve (RBNERR), and EVER.
           The BCNP AMA was monitored for the presence of panthers via trail cameras deployed by NPS
personnel.


Captures

           Free-ranging Florida panthers were captured using trained hounds and houndsmen provided by
McBride Wildlife Solutions (Clewiston, FL). Panthers were either treed or bayed on the ground and were
then darted with a 3 ml compressed-air dart fired from a CO 2 -powered rifle. Panthers were immobilized
                                                               R   RRR




with BAM™ (Zoopharm Wedgewood Pharmacy Laramie, WY) and ketamine HCl (10 mg/kg; Doc Lane’s
Veterinary Pharmacy, Lexington, KY) combination. Following immobilization, treed panthers were
lowered to the ground by a rope or caught with a net; in some cases, a portable cushion (McCown,
1990) was used to further mitigate the impact of a fall. Panthers were left to recover in a shaded area
away from water. Free-ranging bobcats were captured using cage traps (Tru Catch Traps, Belle Fourche,
SD) baited with visual (CDs, flagging), audio (prey calls), and/or varied scent lures. Bobcats were
chemically immobilized using Telazol or a combination of medetomidine and ketamine HCl (10 mg/kg;
Doc Lane’s Veterinary Pharmacy, Lexington, KY) injected via pole syringe. Staff attempted to capture
panthers with box traps (Models 60D and 72D, Tru Catch Traps, Belle Fourche, SD) using a combination
of visual, auditory and scent lures, although these efforts were not successful. All captures and handling
of wild felids followed the guidelines approved by the American Society of Mammalogists for humanely
conducting research on these species (Sikes et al. 2016).


Physical Examination

           All animals handled underwent a physical examination to assess general health and physical
condition. Vital signs (temperature, heart rate, respiration rate, and capillary refill time) and depth of
anesthesia were monitored and recorded. A sterile petrolatum ophthalmic ointment (PivetalTM, Aspen



                                                                                                             10
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24        Page 337 of 585
FWC Florida Panther Annual Report 2022-2023




Veterinary Resources, Liberty, MO) was applied to the eyes for lubrication. A covering was placed over
both eyes to decrease stimulation. A pulse oximeter was attached to the tongue to measure oxygen
saturation and pulse rate. For each panther handled, the skin over the medial saphenous or cephalic
vein was shaved, prepped, and an intravenous (IV) catheter (Abbocath®-T, Abbott Ireland, Sligo,
Republic of Ireland) was aseptically placed. Sterile isotonic fluids were administered either
subcutaneously (SQ) or IV. Physical examination of free-ranging bobcats followed the same general
protocols with slight modifications as necessary.


Live-capture Sample Collection

           Approximately 70-140 ml of blood (depending on body weight) were collected from the medial
saphenous or cephalic veins using a butterfly catheter (19 or 21 ga), Luer adapter/hub, and Vacutainer®
tubes (approximately 30 ml in serum separator, 30 ml in ethylenediaminetetraacetic acid (EDTA), 10 ml
in sodium heparin, and 3 ml in red top, no additive [Covidien, Mansfield, MA]) for serology, toxicology,
and long-term storage. A 4-mm skin biopsy was aseptically collected from the distal pinnae of uncollared
panthers and saved in 95% ethanol (EtOH) for DNA analysis. A triple antibiotic ointment was applied to
each biopsy site. Hair was plucked from the ventral abdomen for DNA analysis and stored in paper coin
envelopes. Other samples, such as bacterial cultures, skin scrapings, and diagnostic biopsies, were taken
if indicated. Blood smears were made in the field, or as soon as possible, from fresh whole blood.
Panthers were implanted with an SQ passive integrated transponder chip (Biomark®, Boise, ID) for
identification and were typically measured and weighed. Sample collection from free-ranging bobcats
followed the same general protocols with slight modifications as necessary.


Vaccination and Treatment

           Depending on vaccine history and, in some cases, titers at previous capture, panthers >6 months
old were vaccinated SQ against feline leukemia virus (FeLV), feline viral rhinotracheitis (FVR), feline
calicivirus (FCV), feline panleukopenia (FPV; Fel-O-Vax® LVK III + Calcivirus [FDAH], 1 ml, lower left leg),
and rabies (RabvacTM 3 [FDAH], 1 ml, lower right leg). Depending on body condition, captured panthers
were dewormed with ivermectin (0.1 mg/kg, Ivomec®, Merial Limited, Iselin, NJ) and praziquantel (5
mg/kg, Bimeda, Inc., Le Sueur, MN) administered SQ in the lateral aspect of the right thigh. Cefovecin
sodium (8 mg/kg, Convenia®, Pfizer, Inc., New York, NY) and penicillin G procaine/benzathine (22,000 to
44,000 U/kg, Combi-Pen-48®, Bimeda, Inc., Le Sueur, MN) were administered as needed. Bobcats were




                                                                                                           11
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24        Page 338 of 585
FWC Florida Panther Annual Report 2022-2023




only vaccinated for rabies (RabvacTM 3 [FDAH], 1 ml, lower right leg) and feline panleukopenia (FPV) (Fel-
O-Vax® LVK III + Calcivirus [FDAH], 1 ml, lower left leg).


Neonatal Kittens

           Neonatal panther kittens <6 weeks-of-age were handled at dens of radiocollared females
according to Land et al. (1998) and marked with an SQ transponder identification chip. A dewormer,
pyrantel pamoate (5 mg/kg, Columbia Laboratories, Lexington, KY), was administered orally. A 2-mm
biopsy sample was aseptically collected from the distal end of each pinna and saved in 95% EtOH for
DNA analysis. A triple antibiotic ointment was applied to each biopsy collection site. No neonatal
panther kittens were handled this year. Protocols for handling neonatal bobcats were similar with
adjustments made as necessary.


Collaring

           Captured panthers were fitted with a GPS radiocollar (Advanced Telemetry Systems [ATS], Isanti,
MN) or VHF radiocollar (ATS) and monitored twice per week (Mondays and Thursdays) from a Cessna
172 fixed-wing aircraft (aerial relocations). Captured bobcats that met the size requirements for
radiocollaring were fitted with a GPS radiocollar (ATS). Flights were scheduled two times per week this
fiscal year due to the small number of panthers that were radiocollared. GPS collars were programmed
to collect location data at regular intervals and transmitted data to staff via satellite. Testing was
conducted to assess the feasibility of monitoring neonatal panthers and bobcats using expandable VHF
radiocollars (Wildlife Materials International, Inc., Murphysboro, IL) deployed on kittens at the dens of
radiocollared adult females. These radiocollars provide the capability for us to assess kitten survival
rates, cause-specific mortality, and potentially identify acute cases of FLM. Locations are recorded by
FWC in the Universal Transverse Mercator coordinate system using ArcGIS Survey123 (v. 3.14 ESRI,
Redlands, CA) on an iPad (Apple, Inc., Cupertino, CA) to collect georeferenced location data on
radiocollared panthers from aircraft. Movements, home range estimates, survival, and other social and
ecological interactions were interpreted from radiotelemetry data, field investigations, genetic analyses,
or a combination of these data sets.


Necropsy

           Florida panthers and bobcats found dead were completely necropsied at the FWC Wildlife
Research Laboratory (Gainesville, Florida) or University of Florida College of Veterinary Medicine (UF-




                                                                                                          12
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24       Page 339 of 585
FWC Florida Panther Annual Report 2022-2023




CVM, Gainesville). When carcass condition allowed, tissue samples were collected at necropsy from all
major organs. Fluids collected included heart blood, venous blood, thoracic blood, aqueous humor, and
urine. Blood samples were centrifuged at 2000 rpm for 10 minutes, and the supernatant was decanted.
Representative tissues from fresh (unfrozen) and some previously frozen panthers were placed in 10%
neutral buffered formalin. Spinal cord and brain from FLM-suspect cases were placed in 2%
glutaraldehyde for electron microscopy. Fixed tissues were embedded in paraffin, sectioned at 5 to 6
µm, and stained with hematoxylin and eosin. Tissues were microscopically examined by pathologists at
the UF-CVM, Southeastern Cooperative Wildlife Disease Study (Athens, GA), University of Florida College
of Veterinary Medicine (Gainesville, FL), Bronson Animal Diagnostic Laboratory (Kissimmee, FL), or
Northwest Zoopath (Monroe, WA). All tissues from live-captured and necropsied panthers not
immediately analyzed were archived at -20° to -70°C.


Diagnostics

           Whole blood in EDTA, serum, and diagnostic samples were shipped overnight to Antech
Diagnostics (Farmingdale, NY) for a complete blood count (CBC), serum chemistry profile, and
appropriate diagnostic procedures (culture, histopathology). Tissue biopsies for DNA analyses were
stored at the FWC-Naples Field Lab.
           Reciprocal antibody titers and/or presence of antigen in serum were determined for feline
leukemia virus (FeLV, ELISA antigen), feline immunodeficiency virus/puma lentivirus (FIV/PLV; Western
Blot, Kinetics ELISA, and peptide ELISA), feline rhinotracheitis virus (FVR, serum neutralization [SN]),
feline calicivirus (FCV, SN), canine distemper virus (CDV, SN), and feline panleukopenia virus (FPL, SN) at
the New York State Diagnostic Laboratory (Cornell University, Ithaca, NY, [NYSDL]). EDTA whole blood
from panthers was tested for FeLV, FIV, and feline heartworm in the field using a rapid immunoassay
(SNAP Combo, IDEXX Laboratories, Westbrook, ME). Panthers were also tested for FeLV at necropsy
using thoracic, venous, or heart blood. Necropsied panthers were tested for rabies by direct fluorescent
antibody test at the Jacksonville Central Laboratory (Jacksonville, FL) or Kansas State University
(Manhattan, KS). Viral isolation and real-time and conventional Polymerase Chain Reaction (PCR) for
CDV, pseudorabies virus (PRV), Flaviviruses, and Alphaviruses was performed at SCWDS on brain, heart,
and other tissues collected from panthers dying of unknown causes. Quantitative PCR for PRV was
performed at the Diagnostic Center for Animal and Population Health (DCAPH, Lansing, MI).
           Toxicology (organic toxin screens by gas chromatography/mass spectrometry and anticoagulant
rodenticide screens, lead) was performed at DCPAH and at the Florida Department of Environmental



                                                                                                           13
    Case 1:21-cv-00119-RDM                     Document 149-2   Filed 01/12/24      Page 340 of 585
FWC Florida Panther Annual Report 2022-2023




Protection (organochlorines, mercury, and polychlorinated biphenyls, Tallahassee, FL). All diagnostic
tests performed on bobcat samples followed the same protocols with adjustments as necessary.




                                              Results and Discussion

Trail Camera Monitoring

           FWC and USFWS maintained 44 unique trail camera locations on public and private lands north
of the Caloosahatchee River in FY22-23 to monitor the distribution of panthers in Central Florida, to
document the presence or absence of females and breeding activity, and to record the presence of
probable cases of FLM. A trapping effort of 9,074 trap-days produced 151 independent panther
detections during the reporting period. These included 22 adult female detections likely representing
two unique individuals. There were four kitten detections, likely all the same individual. Although the
kitten was <6 months old, there were no adult female detections associated with it. Detections were
considered independent if they occurred more than one hour apart or more than 1 km apart, or if they
depicted multiple unique individuals. Panthers were detected at BRP, Bob Janes Preserve, Platt Branch
WEA, and FEC. The females were photographed at BRP and FEC. The kitten was photographed at FEC.
Photos submitted to the FWC Panther Sightings website or otherwise communicated directly to FWC by
members of the public included 16 additional independent panther detections on public and private
lands north of the Caloosahatchee River.
           FWC maintained 33 unique trail camera locations south of the River on public and private lands
in eastern CREW, PSSF, and RBNERR to monitor for the presence of FLM. A trapping effort of 8,666 trap-
days produced 479 independent panther detections during FY22-23. Eight unique trail camera locations
at EVER with 1,918 trap-days of effort produced no panther detections.


Captures

           There was no formal capture season using trained hounds FY22-23 due to the lack of a
contracted houndsman, so cage traps were deployed as an alternative method to capture and
radiocollar panthers and bobcats.
           One juvenile panther, K521 (♂), was captured using hounds outside of the formal capture
season on 11 Oct 2022 (Table 1) to remove a failed collar (see Biomedical Summaries below). FWC staff




                                                                                                          14
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24        Page 341 of 585
FWC Florida Panther Annual Report 2022-2023




captured and radiocollared six bobcats (4♀, 2♂) with GPS collars via opportunistic trapping events (e.g.,
sets on kills found by staff or the public) or during scheduled trapping efforts (Table 2).

Radiocollared Panthers and Bobcats

           Telemetry data were collected on five radiocollared Florida panthers in southern Florida in FY22-
23, including four adults (FP255, FP260, FP262, FP263) and one dependent aged kitten (K521). K521’s
radiocollar was replaced with an ear transmitter on 11 October 2022, however, it failed between 24 and
26 October 2022. Local convex hull home ranges for panthers monitored by FWC during FY 22-23 are
depicted in Figure 1. A complete historical compilation of data associated with the 264 panthers
captured since 1981 can be found in Appendix I.
           Telemetry data were collected on 13 radiocollared bobcats in southern Florida in FY22-23,
including ten adults (BOBs 58, 72, 76, 77, 79, 83, 85, 88, 94, 98) and three dependent aged kittens (BOBs
100, 101, 102). The three bobcat kittens were fitted with expandable VHF radiocollars on 7 June 2023 at
23 to 28 days old while in the den to continue testing this technology in bobcats, help obtain data to
estimate more robust measures of kitten survival, and monitor for the onset of FLM. During the first
aerial relocation, we detected anomalous VHF signals from two of the three collars, so the kittens were
handled again on 9 June 2023 to investigate. The adult female bobcat had destroyed or removed each
radiocollar, so we detached the remaining hardware from all bobcat kittens.


Reproduction

           No panther dens were located and no kittens were handled in FY22-23. A historical compilation
of data collected by FWC and NPS on Florida panther kittens handled at dens (1992 to 2023) and known
dens of radiocollared females (1985 to 2023) can be found in Appendix II and III, respectively. The den
of BOB88 was located on 7 June 2023 and contained three kittens (3♂; Table 3). Data was collected on
the kittens using similar protocols as used for panthers, with adjustments as necessary. This was the
first bobcat den located and sampled by FWC.

Biomedical Summaries

           K519, K520, and K521 were fitted with expandable VHF radiocollars at the den of FP262 on 23
March 2022 at an estimated age of 3 weeks. They were handled again at a den on 13 April 2022 to
assess collar fit, which was determined to be fine. The severely autolyzed remains of K520 were found
on 19 May 2022; cause of death was unknown. K519 was hit and killed by a car on 5 September 2022.



                                                                                                         15
    Case 1:21-cv-00119-RDM                    Document 149-2      Filed 01/12/24       Page 342 of 585
FWC Florida Panther Annual Report 2022-2023




When the carcass of K519 was examined, it was evident that the radiocollar was not expanding as
expected, and the decision was made to remove the collar from K521 in the event that collar expansion
was also an issue for that kitten. Capture attempts with cage traps were unsuccessful, so K521 was
captured using hounds 11 October 2022. The collar was removed, and the wound around his neck was
treated. This kitten has since been captured on trail cameras multiple times with the dam (FP262), and
the wound appears to have completely healed. Following these events, the decision was made to no
longer deploy these expandable kitten radiocollars from Wildlife Materials International Inc. on panther
kittens.
           As of 30 June 2023, there were 78 probable and confirmed FLM cases including 32 cases (6
confirmed and 26 probable) in Florida panthers and 46 cases (11 confirmed and 35 probable) in bobcats.
On histology, FLM affects the lateral and ventral tracks of the spinal cord. The syndrome is a primary
axonopathy with secondary myelin degeneration. FWC currently has one FLM suspect bobcat in captivity
for monitoring. FWC is continuing to opportunistically perform necropsies on bobcats killed by vehicles,
in addition to panthers. There have still been no reports of FLM in domestic felids or other wildlife.
However, there is concern of a possible spillover. FWC is in contact with regional wildlife rehabilitators,
veterinarians, animal shelters, and others to monitor a multitude of species for FLM.


Mortality

           Sixteen free-ranging panther deaths were documented during the reporting period including:
one radiocollared panther (K519 ♀) and 15 uncollared panthers (5 ♂, 10 ♀; Table 4). Cause of mortality
for all 16 panthers was vehicular trauma. A historical compilation of all recorded panther mortalities and
injuries can be found in Appendix IV.


Captive Florida Panthers

           There are currently ten Florida panthers in permanent captivity at six facilities (Table 5). Zoo
Tampa (Tampa, FL) houses three: K255 (“Lucy”) is a spayed female in captivity since 2007 due to a
cranial injury suffered as a kitten; FP243 (“Micanopy”) is an intact male in captivity since 2016 after
being removed from the wild due to human-wildlife conflict; and UCFP297 (“Walter”) is an intact male in
captivity since 2017 who is not suitable for the wild due to a severe snare injury. Zoo Miami (Miami, FL)
houses one: K434 (“Mahala”), daughter of FP219, was found abandoned at 11 weeks of age and has
been in captivity since 2014. Ellie Schiller Homosassa Springs Wildlife State Park (Homosassa, FL) houses
two intact males who were both abandoned as kittens: UCFP205 (“Yuma”) has been in captivity since



                                                                                                              16
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24       Page 343 of 585
FWC Florida Panther Annual Report 2022-2023




2014 and UCFP261 (“Sakata”) in captivity since 2016. Naples Zoo (Naples, FL): houses one: K480
(“Athena”) is a spayed female in captivity since she was a kitten in 2017. Palm Beach Zoo (West Palm
Beach, FL): houses one: UCFP253 (“Sassy”) is a spayed female in captivity since 2015. White Oak
Conservation (Yulee, FL) houses two: Male siblings of FP256, K498 (“Pepper”) and K499 (“Cypress”),
have been in captivity since 2019.


Florida Panther Response Plan Activity

            A total of eight depredation events involving domestic animals were confirmed by FWC staff in
FY22-23 (Figure 3). Depredation events occurred in Collier, Lee, and Hendry counties. Depredations
resulted in 11 fatalities and one injury of domestic animals. Animals killed or injured by panthers
included: calves (3), goats (7), sheep (1), and dog (1 [injury]). During depredation investigations, FWC
staff provide technical assistance and advice to affected residents on ways they can reduce the risk to
pets and hobby livestock. We recommend that hobby animals and pets be secured in barns or pens with
roofs or kept indoors, especially at night when predators are typically more active. Additionally, FWC
connects people with non-governmental organization partners, Defenders of Wildlife and The
Conservancy of Southwest Florida, who provide additional assistance with securing structures and
partial compensation (depending on the applicable program for the situation). FWC has produced “A
Guide to Living with Florida Panthers” brochure outlining these simple steps.


Land use, habitat impacts, environmental commenting and recovery tasks

           Land use changes and development in or adjacent to panther habitat can have long-term
impacts on Florida panther recovery. FWC staff work cooperatively with state and federal partners to
evaluate proposed developments, major road projects, and management plans for local, state, and
federal public lands. These evaluations may include measures to avoid, minimize, or mitigate the effects
of these projects on panthers. In FY22-23, evaluations included the management plan for a mitigation
bank, a proposed wildlife crossing, and several housing developments.
           Panther staff assisted the USFWS with the ongoing development of Version 2 of the Florida
Panther Species Status Assessment (SSA). Version 1 of the SSA was released in 2021. An SSA is a
biological risk assessment that helps guide decisions related to the ESA by providing the best available
scientific information for comparison to policy standards; the SSA does not result in a decision directly.
           Staff began to develop an FWC Florida Panther Conservation Plan that describes
multidisciplinary research and management actions designed to meet conservation objectives and



                                                                                                           17
    Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24       Page 344 of 585
FWC Florida Panther Annual Report 2022-2023




advance progress to recovery as outlined in the Florida Panther Recovery Plan (USFWS 2008a). The
FWC’s Conservation Plan will support the recovery strategy provided in the federal Recovery Plan and
build upon its recovery actions.
           With funding from the USFWS, FWC panther staff worked on establishing an FWC-led pilot
program to provide commercial cattle producers with compensation for panther depredations and
technical assistance on reducing depredation risk. Goals of this program are to mitigate panther-
livestock conflict and increase tolerance for panther presence and range expansion on Florida’s working
lands. Development of a payment for ecosystem service program also began, which will aim to
incentivize panther habitat conservation on private lands by providing payments to landowners who
maintain/restore high-quality panther habitat in priority areas.

Current Research

           Research continues to be an important part of Florida panther conservation. Research proposals
are vetted with FWC’s partners to ensure that the research and monitoring efforts are well-designed,
coordinated, and meet priority needs. FWC continues its protocol of disease monitoring and vaccination
of all panthers handled as well as monitoring the genetic health of the population via DNA analyses.
During FY22-23, FWC collected 36 DNA samples from panthers (e.g., tissue from vehicle-related
mortalities, swabs from depredations) that were sent to the National Genomics Center for Wildlife and
Fish Conservation (NGCWFC, U.S. Forest Service, Rocky Mountain Research Station, Missoula, MT) for
processing. An additional 24 tissue samples collected from bobcats were sent to the NGCWFC for
processing as part of FLM research and to answer population genetic questions related to this species of
wild felid. The FWC is currently involved in several collaborative research projects focusing on issues
related to Florida panther conservation and management. Among these are: identifying the cause of
FLM in Florida panthers; assessing the dynamics and persistence of the panther population via an
integrated population model; genetics of Mendelian traits (e.g., kinked tails, cowlicks, cryptorchidism) in
panthers; determining mortality factors; assessing the efficacy of panther rehabilitation; testing the use
of cage traps coupled with various types of lures to capture bobcats and panthers to monitor for FLM;
using geospatial and genomics data to improve management of predator-prey system in the Everglades;
using artificial intelligence to classify trail camera videos and photos by species; analyzing the long-term
benefits accrued to panthers via genetic restoration; and using camera trap data to assess differences in
panther density between public and private lands.




                                                                                                          18
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24        Page 345 of 585
FWC Florida Panther Annual Report 2022-2023




           FWC completed several collaborative research projects that were published in peer-reviewed
journals during FY 22-23. This included an evaluation of male panther reproductive parameters
following genetic rescue that showed the improvement to a suite of metrics (e.g., total testicular
volume, percent structurally normal spermatozoa) as individual heterozygosity values increased
(Penfold et al. 2022). An assessment of the effects of genetic admixture on mutation load in panthers
highlighted the need to be cognizant for the potential expression of novel deleterious alleles in
generations post-genetic rescue if the effective population size is small (Ochoa et al. 2022). FWC also
completed a pair of collaborative studies that identified how the feline leukemia virus (FeLV) has a
concerning history of spilling over into puma populations from domestic cats in North America (Petch et
al. 2022), as well as understanding the drivers of FeLV transmission in panthers that can assist with
pathogen management (Gilbertson et al. 2022). Additional studies nearing completion include: a
collaboration that is developing artificial intelligence models to assist with processing trail camera video
data more efficiently while identifying species as well as animals with abnormal gait (e.g., FLM probable
panthers or bobcats); a study on the persistence of the benefits of genetic rescue in the panther
population using an unprecedented 40 years of genetic, demographic, and biomedical data. Agency staff
served as lead or co-authors on 5 peer-reviewed publications and 3 presentations at professional
conferences or invited seminars (see page 22).




                                                                                                          19
     Case 1:21-cv-00119-RDM                   Document 149-2     Filed 01/12/24        Page 346 of 585
FWC Florida Panther Annual Report 2022-2023




                                                Literature Cited

Alvarez, K. 1993. Twilight of the panther. Myakka River Publishing, Sarasota, Florida, USA.

Crnokrak, P., and D. A. Roff. 1999. Inbreeding depression in the wild. Heredity 83:260-270.

Federal Register. 1967. Native fish and wildlife: endangered species. Federal Register-Department of the
        Interior-Fish and Wildlife Service, Washington D.C. USA.

Frankham, R., J. D. Ballou, and D. A. Briscoe. 2002. Introduction to conservation genetics. Cambridge
       University Press, Cambridge, United Kingdom.

Hostetler, J. A., D. P. Onorato, J. D. Nichols, W. E. Johnson, M. E. Roelke, S. J. O'Brien, D. Jansen, and M.
        K. Oli. 2010. Genetic introgression and the survival of Florida panther kittens. Biological
        Conservation 143:2789-2796.

 Jacobs, C. E., and M. B. Main. 2015. A Conservation-Based Approach to Compensation for Livestock
41




         Depredation: The Florida Panther Case Study. PLoS ONE 10:e0139203.

Johnson, W. E., D. P. Onorato, M. E. Roelke, E. D. Land, M. Cunningham, R. C. Belden, R. McBride, D.
       Jansen, M. Lotz, D. Shindle, J. Howard, D. E. Wildt, L. M. Penfold, J. A. Hostetler, M. K. Oli, and S.
       J. O'Brien. 2010. Genetic Restoration of the Florida Panther. Science 329:1641-1645.

Kelly, B., and D. Onorato. 2020. Assessment of the distribution of Florida panthers north of the
         Caloosahatchee River. Fish and Wildlife Research Institute, Florida Fish and Wildlife
         Conservation Commission, Naples, FL. 24 pp.

Laikre, L., R. Andrén, H. O. Larsson, and N. Ryman. 1996. Inbreeding depression in brown bears.
         Biological Conservation 76:69-72.

Land, E. D., D. R. Garman, and G. A. Holt. 1998. Monitoring female Florida panthers via cellular
        telephone. Wildlife Society Bulletin 26:29-31.

McCown, J. W., D. S. Maehr, and J. Roboski. 1990. A portable cushion as a wildlife capture aid. Wildlife
     Society Bulletin 18:34-36.

McBride, R.T., and C. McBride. 2015. Florida Panther Annual Count 2015. Rancher’s Supply Inc.
       Ochopee, FL. 34 pp.

McBride R. T., R. T. McBride, R. M. McBride, and C. E. McBride. 2008. Counting pumas by categorizing
       physical evidence. Southeastern Naturalist 7:381-400.

Nowak, R. M., and R. T. McBride. 1974. Status survey of the Florida panther. Pages 116-121 in W. W.
       Fund, editor. World Wildlife Fund Yearbook 1973-74. Danburry Press, Danburry, Connecticut,
       USA.




                                                                                                            20
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24       Page 347 of 585
FWC Florida Panther Annual Report 2022-2023




Onorato, D., C. Belden, M. Cunningham, D. Land, R. McBride, and M. Roelke. 2010. Long-term research
       on the Florida panther (Puma concolor coryi): historical findings and future obstacles to
       population persistence. Pages pp. 453-469 in D. Macdonald and A. Loveridge, editors. Biology
       and conservation of wild felids. Oxford University Press, Oxford, UK.

Roelke, M. E., J. S. Martenson, and S. J. O'Brien. 1993. The consequences of demographic reduction and
        genetic depletion in the endangered Florida panther. Current Biology 3:340-349.

Seal, U. S., ed. 1994. A plan for genetic restoration and management of the Florida panther (Felis
         concolor coryi). Report to the Florida Game and Freshwater Fish Commission. Conservation
         Breeding Specialist Group, Apple Valley, Minnesota, USA.

Sikes, R. S. 2016. 2016 Guidelines of the American Society of Mammalogists for the use of wild mammals
         in research and education. Journal of Mammalogy 97:663-688.

Smith, D. R., N. L. Allan, C. P. McGowan, J. A. Szymanski, S. R. Oetker and H. M. Bell. 2018. Development
        of a Species Status Assessment process for decisions under the Endangered Species Act. Journal
        of Fish and Wildlife Management 9:302-320.

USFWS. 2008a. Florida panther recovery plan (Puma concolor coryi), third revision. United States Fish
      and Wildlife Service. Atlanta, Georgia, USA.

USFWS. 2008b. Environmental assessment for the “Interagency Florida Panther Response Plan”. United
      States Fish and Wildlife Service, Naples, Florida, USA.

van de Kerk, M., D. P. Onorato, J. A. Hostetler, B. M. Bolker, and M. K. Oli. 2019. Dynamics, Persistence,
        and Genetic Management of the Endangered Florida Panther Population. Wildlife Monographs
        203:3-35.

Young, S. P., and E. A. Goldman. 1946. The puma: mysterious American cat. Part I. History, life habits,
        economic status, and control. The American Wildlife Institute, Washington D.C., USA.




                                                                                                          21
        Case 1:21-cv-00119-RDM                Document 149-2    Filed 01/12/24        Page 348 of 585
FWC Florida Panther Annual Report 2022-2023




           FWC Panther Staff Publications and Presentations 2022-2023

Gilbertson, M. L. J., N. M. Fountain-Jones, J. L. Malmberg, R. B. Gagne, J. S. Lee, S. Kraberger, S.
        Kechejian, R. Petch, E. S. Chiu, D. Onorato, M. W. Cunningham, K. R. Crooks, W. C. Funk, S.
        Carver, S. VandeWoude, K. VanderWaal, and M. E. Craft. 2022. Apathogenic proxies for
        transmission dynamics of a fatal virus. Frontiers in Veterinary Science 9.

Gould, M. J., J. W. Cain III, T. C. Atwood, L. E. Harding, H. E. Johnson, D. P. Onorato, F. S. Winslow, and G.
       W. Roemer. 2022. Pleistocene–Holocene vicariance, not Anthropocene landscape change,
       explains the genetic structure of American black bear (Ursus americanus) populations in the
       American Southwest and northern Mexico. Ecology and Evolution 12:e9406.

Ochoa, A., D. P. Onorato, M. E. Roelke-Parker, M. Culver, and R. R. Fitak. 2022. Give and take: effects of
       genetic admixture on mutation load in endangered Florida panthers. Journal of Heredity
       113:491-499.

Onorato, D. 30 November 2022. Assessing the path to recovery of the Florida panther: habitat selection
       and populations estimates. Invited speaker, Eckerd College, St. Petersburg, FL, USA.

Penfold, L. M., M. Criffield, M. W. Cunningham, D. Jansen, M. Lotz, C. Shea, and D. Onorato. 2022.
        Long-term evaluation of male Florida panther (Puma concolor coryi) reproductive parameters
        following genetic introgression. Journal of Mammalogy 103:835-844.

Petch, R. J., R. B. Gagne, E. Chiu, C. Mankowski, J. Rudd, M. Roelke-Parker, T. W. Vickers, K. A. Logan, M.
        Alldredge, D. Clifford, M. W. Cunningham, D. Onorato, and S. VandeWoude. 2022. Feline
        leukemia virus frequently spills over from domestic cats to North American pumas. Journal of
        Virology 96:e01201-01222.

Stewart, H. A. 12 May 2023. Feline leukomyelopathy in Florida panthers and bobcats. Presented at
       Corkscrew Watershed Science Forum, Naples, FL, USA.

Wasmuht, D., S. Kelly, H. Cox, C. Gallinat, M. Golovsky, D. P. Onorato, B. Kelly, P. Bunje, and A. Deghan.
     19 June 2023. Automated detection of an emerging disorder in wild felids. Presented at
     Computer Vision and Pattern Recognition Conference 2023, Vancouver, BC, Canada.


*
P   Authors in bold represent FWC panther staff employed in FY22-23
    P




                                                                                                           22
                                 Case 1:21-cv-00119-RDM                   Document 149-2                Filed 01/12/24        Page 349 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                      TABLES
Table 1. Florida panthers captured by FWC from 1 July 2022 to 30 June 2023.

  ANIMAL                           CAPTURE                                                                                                          MONITORING
    ID               SEX             DATE          AGE (YRS) WT. (LBS)                  COLLAR TYPE                        COMMENTS                LENGTH (DAYS) a
   K521               M           11 Oct 2022       7 mo       33                           VHF                  Removed collar. Fitted with ear        14--
                                                                                                                 tag transmitter.
a + indicates monitoring continued beyond the fiscal year; x indicates the animal died; -- indicates the collar failed.




                                                                                                                                                                     23
                                 Case 1:21-cv-00119-RDM                   Document 149-2                Filed 01/12/24       Page 350 of 585
FWC Florida Panther Annual Report 2022-2023




Table 2. Bobcats captured or released by FWC from 1 July 2022 to 30 June 2023.

      ANIMAL                          CAPTURE                                                                                                    MONITORING
        ID              SEX             DATE           AGE (YRS)         WT. (LBS)       COLLAR TYPE                     COMMENTSa              LENGTH (DAYS) b
     BOB76               F           11 Aug 2022         1                 12                GPS              Rehabilitated by BCR. Released         57x
                                                                                                              on private property
     BOB77               M           11 Aug 2022            1                14                GPS            Rehabilitated by BCR. Released          14--
                                                                                                              on PSSF.
     BOB79                F          15 Sep 2022            3                22                GPS            Cage trapped after goat                 59x
                                                                                                              depredation.
     BOB83               M           14 Nov 2022            1                13                GPS            Cage trapped with audio lure.          16--
     BOB85               F            6 Dec 2022            2                16                GPS            Cage trapped with audio and            205+
                                                                                                              visual lures.
     BOB88                F         30 Dec 2022             4                20                GPS            Cage trapped with visual lure.         184+
     BOB94                F         21 Feb 2023             5                18                GPS            Cage trapped with visual and           79+
                                                                                                              scent lure.
     BOB98               M          25 May 2023             3                16                GPS            Captured in a parking garage by         21--
                                                                                                              trapper with catch pole.
     BOB100              M            7 Jun 2023         3 wks                2                VHF            Collared in the den                     2--
     BOB101              M            7 Jun 2023         3 wks                2                VHF            Collared in the den                     2--

     BOB102              M            7 Jun 2023         3 wks                2                VHF            Collared in the den                     2--
a BCR = Big Cat Rescue; CSS = Corkscrew Swamp Sanctuary; PRP = Pepper Ranch Preserve.
 P




b + indicates monitoring continued beyond the fiscal year; x indicates the animal died; -- indicates the collar failed.




                                                                                                                                                                  24
                                 Case 1:21-cv-00119-RDM                 Document 149-2               Filed 01/12/24            Page 351 of 585
FWC Florida Panther Annual Report 2022-2023




Table 3. Neonate kittens handled at bobcat dens by FWC from 1 July 2022 to 30 June 2023.

                                                                                           DATE             ESTIMATED          ACTUAL WEIGHT
        BOB DAM            KITTEN ID          SEX       DEN LOCATION                    HANDLED             AGE (DAYS)            (GRAMS)
         BOB088            BOB100*             M    Pelican Marsh Golf Club             7 Jun 2023              25                  850
         BOB088            BOB101*             M    Pelican Marsh Golf Club             7 Jun 2023              25                  1000
         BOB088            BOB102 *     P      M    Pelican Marsh Golf Club             7 Jun 2023              25                  850
* Kittens from this litter were fitted with expandable VHF radiocollars to monitor for survival and feline leukomyelopathy. See Table 2.
P   P




                                                                                                                                                 25
                                 Case 1:21-cv-00119-RDM                   Document 149-2             Filed 01/12/24            Page 352 of 585
FWC Florida Panther Annual Report 2022-2023




Table 4. Verified Florida panther mortalities and injuries recorded between 1 July 2022 and 30 June 2023. Data collected by FWC staff. Causes of
death include hit-by-car (HBC). The presence of atrial septal defects (ASD) and other biomedical and morphometric data are also noted. Sex is
male (M) or female (F). Age is in years unless noted otherwise. Some characteristics were not determined (ND) or not applicable (NA).
                                                                                                                                                                     SIGNIFICANT
                                  DATE                                                             WEIGHT      KINKED                                      RABIES    NECROPSY
  PANTHER ID         SEX        DECEASED      CAUSE                LOCATION               AGE       (LB)        TAIL      COWLICK       ASD     TESTES      DFAA     RESULTS
                                                          Immokalee Rd., 1.25 mi
 UCFP428              F         9 Jul 2022     HBC                                         4         78.4         N           N          N        NA         NEG
                                                          south of Wild Turkey Dr.
                                                          CR846, near Bethune
 UCFP429              F        12 Jul 2022     HBC                                       7-12        81.8         N           N          N        NA         NEG
                                                          Ave.
 UCFP430              F        21 Jul 2022     HBC        I-75, MM89                      2-3        73.4         N           N          N        NA         NT
                                                          Joel Blvd./Edwards Dr.,
 UCFP431              M       25 Aug 2022      HBCb                                     1.5-2.5      93.0         N           N         ND         2         NEG
                                                          Lehigh Acres
                                                          Rattlesnake Hammock
 K519                 F        5 Sep 2022      HBC                                      6 moc        18.0         N          ND          N        NA         NEG      Severe FLM
                                                          Rd.
 UCFP432              F        8 Sep 2022      HBC        CR833, BCSIRd                    2          ND          ND         ND         ND        NA         NT       Scavenged
                                                          Keri Rd., 2.1 mi west of
 UCFP433              M       28 Oct 2022      HBC                                        2.5        98.6          Y          Y         ND         2         NEG
                                                          CR833
 UCFP434              F       13 Nov 2022      HBC        SR29                            4-5        72.2         N           N         ND        NA         NEG
                                                          W. Keysville Rd.,
 UCFP435              M        1 Dec 2022      HBC                                        1-2       102.0         N           N          N         2         NEG
                                                          Hillsborough County
                                                          SR82, just west of
 UCFP436              F        7 Dec 2022      HBC                                         3         71.2         N           N          N        NA             U
                                                          Corkscrew Rd.
                                                          CR846, 1.6 mi west of
 UCFP437              F        10 Jan 2023     HBCe                                       2-3        66.0         N           Y          N        NA         NEG       Mild FLM
                                                          County Line Rd.
 UCFP438              F        30 Jan 2023     HBC        Golden Gate Blvd.               3-4         74          N          ND         ND        NA         NT
 UCFP439              M       26 Feb 2023      HBC        Josie Billy Hwy., BCSIR          1         63.4         N           N         ND         1         NT       Cryptorchid
 UCFP440              M        25 May 2023     HBC        Oil Well Rd.                     4        128.0          Y          N          N         2         NT
                                                          SR29, south of Oil Well
 UCFP441              F        9 Jun 2023      HBC                                      5-7 mo       37.5         N          ND          N        NA         NT      Probable FLM
                                                          Rd.
                                                          SR29, south of Oil Well
 UCFP442              F       12 Jun 2023      HBC                                        3-4        71.2         N           N          N        NA      Pending    Viral myelitis
                                                          Rd.
a Rabies DFA = Direct Fluorescent Antibody test; U = tested but tissue condition was unsatisfactory for definitive diagnosis, NT = not tested, NEG = negative.
b Underwent surgery for vehicular trauma but succumbed to injuries.
c Precise age known due to handling and marking at natal den.
d Big Cypress Seminole Indian Reservation.
e Euthanized due to severe injuries sustained in a vehicular collision.




                                                                                                                                                                              26
                                 Case 1:21-cv-00119-RDM               Document 149-2      Filed 01/12/24       Page 353 of 585
FWC Florida Panther Annual Report 2022-2023




Table 5. Florida panthers in captivity between 1 July 2022 and 30 June 2023.

 PANTHER  CAPTIVE                              CAPTURE      CAPTURE     CURRENT         CURRENT
    ID     NAME                        SEX        DATE        AGE       AGE (YRS)      LOCATION          REASON FOR CAPTIVITY
 K255    Lucy                          F      3 Aug 2007     3 wks         16       Zoo Tampa            Cranial injury as kitten – Not suitable for wild
 FP243   Micanopy                      M      21 Jul 2016     2 yrs         7       Zoo Tampa            Human-wildlife conflict on Big Cypress Seminole
                                                                                                         Indian Reservation
 UCFP297           Walter              M      14 Jan 2017   2-4 yrs         6       Zoo Tampa            Snare injury- Not suitable for wild
 K434              Mahala              F      21 Nov        11 wks          8       Zoo Miami            Orphaned
                                              2014
 UCFP205           Yuma                M      22 Jan 2014    7 days         9       Homosassa            Found with hypothermia and semi-moribund.
                                                                                    Springs State Park
 UCFP261           Sakata              M      18 Jan 2016    3 mo           7       Homosassa            Found abandoned
                                                                                    Springs State Park
 K480              Athena              F      29 Jun 2017   19 days         6       Naples Zoo           Found abandoned
 UCFP253           Sassy               F      2 Nov 2015     3 mo           7       Palm Beach Zoo       Orphaned
 K498              Pepper              M      7 Jul 2019    14 days         4       White Oak            Mother had FLM – Would not survive
 K499              Cypress             M      7 Jul 2019    14 days         4       White Oak            Mother had FLM – Would not survive




                                                                                                                                                       27
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24   Page 354 of 585
FWC Florida Panther Annual Report 2022-2023




                                                    FIGURES




Figure 1. Depiction of the 95% local convex hull (k=20) home ranges for adult and subadult Florida
panthers monitored by FWC from 1 July 2022 to 30 June 2023. Data collected via aerial telemetry and
Iridium GPS collars by FWC.



                                                                                                      28
                                 Case 1:21-cv-00119-RDM   Document 149-2        Filed 01/12/24      Page 355 of 585
FWC Florida Panther Annual Report 2022-2023




Figure 2. Confirmed human-panther interactions from FY 2010-2011 through 2022-2023. Note: Data in FY 2011-2012 and FY 2012-2013 includes
five and six depredations of domestic animals, respectively, that involved radiotagged calves monitored as part of the UF-IFAS calf mortality
study (Jacobs and Main 2015). Data in 2021-2022 includes increased prey monitoring efforts of a radiocollared panther. Definitions of conflict
categories can be found in Appendix C of the USFWS Environmental Assessment for the Interagency Florida Panther Response Plan.




                                                                                                                                            29
                                 Case 1:21-cv-00119-RDM                   Document 149-2      Filed 01/12/24            Page 356 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                              APPENDICES
Appendix I. List of radiocollared Florida panthers and Texas pumas in southern Florida from 10 February 1981 to 30 June 2023. Data includes
panthers collared by FWC and BCNP staff.
                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST    BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE        DATE      DAM         SIRE                   USE AREAb                 DEATH DATE       CAUSE OF DEATHc
 FP01          M       10 Feb 1981             10            -         -           -                      FSPSP                   14 Dec 1983    Vehicle (SR 84 MM 18)
FP02           M       20 Feb 1981               10          -        -           -                       FSPSP                   28 Nov 1984    Intraspecific aggression
FP03            F      23 Jan 1982               9           -        -           -                       FSPSP                   17 Jan 1983           Capture
FP04           M       27 Jan 1982               7-8         -        -           -                       FSPSP                   18 Apr 1985    Vehicle (SR 84 mm17)
FP05            F      23 Feb 1982               7-8         -        -           -                      FPNWR                    18 Nov 1983           Unknown
FP06           M       27 Feb 1982               6-8         -        -           -                       SBCNP                   16 Apr 1982           Unknown
FP07           M       02 Mar 1982               6-7         -        -           -                   SBCNP, FSPSP                26 Oct 1985   Vehicle (SR 29 C. prison)
FP08            F      25 Mar 1984              9-10         -        -           -                       FSPSP                   20 Aug 1988     Liver failure, old age
FP09            F      26 Jan 1985               3-4         -        -           -                       FSPSP                        --        Collar failed 8/8/1997
FP10           M       15 Jan 1986             5 mo.      Aug 1985   FP09         -                 GG Estates, FSPSP             27 Jan 1987    Intraspecific aggression
FP11            F      21 Jan 1986               4-5         -        -           -              NBCNP, Private (Price’s)         25 Feb 2001    Intraspecific aggression
FP12           M       28 Jan 1986               5           -        -           -               NBCNP, FPNWR, FSPSP             8 Nov 1994     Intraspecific aggression
FP13           M       27 Feb 1986               4-5         -        -           -               NBCNP, Private (Alico)          14 Dec 1987   Vehicle (SR 29 Sunniland)
FP14            F      07 Dec 1986               5-6         -        -           -                       EVER                    21 Jun 1991           Unknown
FP15            F      13 Dec 1986               5-6         -        -           -                       EVER                    10 Jun 1988    Intraspecific aggression
FP16           M       12 Jan 1987            12-14 mo.      -       FP14         -                    EVER, SBCNP                 3 Jan 2000           Unknown
FP17           M       20 Jan 1987               6-7         -        -           -                   SBCNP, NBCNP                20 Jul 1990           Unknown
FP18            F      22 Jan 1987               7-8         -        -           -       Private (Gum Swamp, Scofields), BCSIR   1 Oct 1990     Intraspecific aggression
FP19            F      09 Feb 1987             9 mo.      May 1986   FP11       FP12         NBCNP, Private (Prices), FPNWR       2 Dec 1997        Aortic aneurysm
FP20           M       10 Mar 1987               3-4         -        -           -               Private (Alico), NBCNP          24 Aug 1988         Heart defect
FP21            F      16 Mar 1987            12-14 mo.      -       FP14         -                  EVER, White Oak              26 Dec 1997   Vehicle/Captivity/Old age
FP22            F      18 Mar 1987             5-6 mo.       -       FP15         -                       EVER                    20 Jul 1991           Infection




Appendix I
                                                                                                                                                                     30
                                 Case 1:21-cv-00119-RDM                  Document 149-2      Filed 01/12/24           Page 357 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST   BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE       DATE      DAM         SIRE                   USE AREAb                  DEATH DATE         CAUSE OF DEATHc
 FP23          F       18 Mar 1987           5-6 mo.        -       FP15          -                   EVER, SBCNP                25/26 Nov 2000         Unknown
FP24           M       30 Jan 1988             3-4          -        -           -                   Highlands Co.                22 Aug 1988             Unknown
FP25           M       16 Feb 1988             4-5          -        -           -                      FPNWR                     26 Aug 1988     Intraspecific aggression
FP26           M       01 Mar 1988             5-6          -        -           -                   BCSIR, NBCNP                  8 Jul 1994     Intraspecific aggression
FP27            F      11 Apr 1988             2-3          -        -           -                       EVER                      23 Jul 1989            Unknown
FP28           M       29 Nov 1988              1.5         -        -           -         Private (Ft. Myers, Lake Hicpochee,    25 Sep 1992     Intraspecific aggression
                                                                                                  Gum Swamp), NBCNP
FP29           M       03 Jan 1989            6.5 mo.    May 1988   FP11       FP20           NBCNP, Private (Gum Swamp)          27 May 1992           Pseudorabies
FP30           M       06 Jan 1989            9 mo.      Mar 1988   FP19       FP13      NBCNP, Private (Prices), FPNWR, FSPSP     29 Jan 1990    Intraspecific aggression
FP31            F      12 Jan 1989             7-9          -        -           -                      FPNWR                      3 Mar 1994     Vehicle (SR 29 Sunniland)
FP32            F      03 Feb 1989             2-2.5        -        -           -                      FPNWR                     12 Sep 2002             Unknown
FP33           M       05 Mar 1989             1.5-2        -        -           -          SBCNP (Loop Rd.), Private (Gum        23 Nov 1989              Rabies
                                                                                                      Swamp)
FP34           M       08 Jan 1990            10 mo.     Mar 1989   FP31       FP12       FPNWR, BCSIR, Private (Gum Swamp)       15 Nov 1993       Esophageal puncture
FP35           M       15 Jan 1990            10 mo.     Mar 1989   FP31       FP12             Private (Regency Farms)            24 Jan 1990    Bacterial infection from
                                                                                                                                                          capture
FP36            F      27 Jan 1990             4-5          -        -           -                      NBCNP                     10 Oct 1998     Unknown natural causes
FP37           M       30 Jan 1990             3-4          -        -           -               FSPSP, FPNWR, NBCNP              26 Nov 1990     Vehicle (SR 29 Miles City)
FP38            F      08 Feb 1990              4.5         -        -           -                   SBCNP, EWMA                   4 Aug 1994         Pleuritis in chest
FP39           M       19 Feb 1990             3-4          -        -           -                       EVER                     18 May 1990            Pyothorax
FP40            F      26 Feb 1990             1.5-2        -        -           -                      NBCNP                      1 Feb 1998     Intraspecific aggression
FP41            F      28 Feb 1990             1.5-2        -        -           -                   NBCNP, BCSIR                 22 Sep 1990     Intraspecific aggression
FP42           M       06 Mar 1990            11 mo.     May 1989   FP14       FP16                   EVER, SBCNP                  22 Jun 1995            Unknown
FP43           M       01 May 1990            9.5 mo.    Jul 1989   FP19       FP12                 FPNWR, NBCNP                  31 Oct 1991     Intraspecific aggression
FP44           M       30 Apr 1991            6 mo.      Nov 1990   FP40       FP26           NBCNP, Naples, EVER, SBCNP           6 Jul 1993     Intraspecific aggression
FP45           M       08 May 1991            6 mo.      Nov 1990   FP19       FP12              FPNWR, NBCNP, BCSIR               2 Aug 1998     Intraspecific aggression
FP46           M       30 Jan 1992             2-2.5        -        -           -         NBCNP, Private (Gum Swamp), OSSF        3 Feb 1999     Intraspecific aggression
FP47           M       21 Feb 1992            6 mo.      Jul 1991   FP11       FP12            NBCNP, Belle Meade, FSPSP          19 Feb 1993     Intraspecific aggression




Appendix I
                                                                                                                                                                       31
                                 Case 1:21-cv-00119-RDM                   Document 149-2      Filed 01/12/24            Page 358 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST   BIRTH                PURPORTED
   IDa        SEX         DATE              CAPTURE       DATE      DAM          SIRE                   USE AREAb                  DEATH DATE         CAUSE OF DEATHc
 FP48          F       24 Feb 1992            4 mo.      Oct 1991   FP31         FP12                    NBCNP                     23 Oct 2006           Unknown
FP49            F      25 Feb 1992              2           -         -           -                      NBCNP                      3 Jan 2002      Intraspecific aggression
FP50           M       04 Mar 1992            8 mo.      May 1991   FP36        FP26       NBCNP, Private (Alico, Devils Garden)   6 Dec 1993      Vehicle (CR 846 5 mi E of
                                                                                                                                                         Immokalee)
FP51           M       26 Mar 1992              3           -         -           -                   FSPSP, FPNWR                 17 Jul 1998          Vehicle (SR 29)
FP52            F      05 May 1992            6 mo.      Oct 1991   FP31        FP12         FPNWR, Private (Sadie Cypress)        14 Jan 1995    Vehicle (CR 846 & Dupree Rd)
FP53           M       10 Feb 1993            10 mo.     Apr 1992   FP19        FP12                     FPNWR                     26 Feb 1993      Intraspecific aggression
FP54           M       10 Feb 1993            10 mo.     Mar 1992   FP40          -                   FSPSP, FPNWR                      --         Collar failed 10/20/2000
FP55            F      25 Jan 1994             1.1.      Dec 1992   FP23        FP42                      SBCNP                    12 July 2004     Intraspecific aggression
FP56            F      03 Feb 1994             2-3          -         -           -                      NBCNP                          --          Collar failed 2/20/1998
FP57            F      31 Jan 1995              3           -         -           -                   FPNWR, FSPSP                      --           Collar failed 4/5/2000
FP58           M       08 Feb 1995            8 mo.      Apr 1994   FP56          -               NBCNP, FPNWR, FSPSP              30 Mar 1997      Intraspecific aggression
FP59           M       04 Jan 1996            6 mo.      Jun 1995   FP48          -               NBCNP, FPNWR, FSPSP              22 Nov 2004      Intraspecific aggression
FP60           M       06 Mar 1996            5 mo.      Oct 1995   FP40          -           NBCNP, FSPSP, FPNWR, SBCNP           14 Dec 2008    Euthanasia (Removed from
                                                                                                                                                       wild 6/29/2004)
TX101           F      05 Apr 1995              4           -         -           -                       BCSIR                    29 Mar 2000            Unknown
TX102           F      05 Apr 1995              4           -         -           -                 E. Hendry County               22 Sep 1995 Vehicle (CR833 5 mi. N BCSIR)
TX103           F      04 May 1995              4           -         -           -                       SBCNP                    19 Aug 1999     Metabolic complications
                                                                                                                                                      from pregnancy
TX104           F      24 Mar 1995              4           -         -           -                FSPSP, Belle Meade              18 Apr 1998           Gunshot
TX105           F       05 Jul 1995             4           -         -           -                       EVER                     1 July 2014    Renal failure (removed from
                                                                                                                                                        wild 1/27/2003)
TX106           F      09 Apr 1995              4           -         -           -                PSSF, FPNWR, FSPSP              13 Mar 2012    Cancer (Removed from wild
                                                                                                                                                            1/8/2003)
TX107           F      04 May 1995              3           -         -           -                       SBCNP                    18 Jan 2001             Pneumonia
TX108           F       26 Jul 1995             3           -         -           -                       EVER                     5 Feb 2014         Removed from wild
                                                                                                                                                          11/18/2002
FP61            F      04 Mar 1997            8 mo.      Jul 1996   TX108       FP16                      EVER                          --           Collar failed 6/4/2003
FP62           M       18 Mar 1997            6.5 mo.    Sep 1996   FP48          -               Catfish Creek, Polk Co.               --          Collar failed 7/21/2000
FP63           M       13 Apr 1997              2           -         -           -            BCSIR, NBCNP, Private Lands         15 Jan 2000        Vehicle / Drowning




Appendix I
                                                                                                                                                                       32
                                 Case 1:21-cv-00119-RDM                    Document 149-2     Filed 01/12/24            Page 359 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST     BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE         DATE     DAM          SIRE                USE AREAb                   DEATH DATE          CAUSE OF DEATHc
 FP64          M       24 May 1997            8 mo.       Sep 1996   FP48           -           CREW (Corkscrew Marsh)            26 Mar 1999      Intraspecific aggression
FP65           M       19 Nov 1997             11 mo.     Dec 1996   TX101       FP45        OSSF, Private (Collier Enterprise)        --          Collar failed 11/17/2010

FP66            F      09 Dec 1997               1        Dec 1996   TX101       FP45       Belle Meade, FPNWR, Private Lands     3 Sept 2014         Removed from wild
                                                                                                                                                          4/13/2014
FP67            F      19 Jan 1998             8 mo.      Jun 1997   FP56        FP45              BCSIR, Private Lands           15 Jan 2003    Intraspecific aggression (FP65)
FP68           M       23 Jan 1998               4.5         -         -           -                      NBCNP                   1 Mar 2000       Unknown (possible ISA)
FP69            F      05 Feb 1998             9 mo.      May 1997   FP40        FP45                     NBCNP                   12 Sep 2005             Unknown
FP70            F      25 Feb 1998             10 mo.     May 1997   TX107         -                      SBCNP                   14 Jan 2006               Vehicle
FP71            F      05 Mar 1998             10 mo.     May 1997   TX107         -                      SBCNP                        --          Collar failed 7/22/2005
FP72           M       24 Apr 1998               2.5         -         -           -                       BCSIR                  23 Dec 1998      Intraspecific aggression
FP73            F      12 Nov 1998               3        Sep 1995   TX101         -                       BCSIR                  27 June 2003            Unknown
FP74           M       12 Nov 1998               1.5         -       FP73          -          FEC, Glades and Highlands Co.       8 Sep 1999     Vehicle (SR 27 N of Palmdale)
FP75            F      11 Jan 1999             7 mo.      Jun 1998   FP48        FP68                     NBCNP                        --           Collar failed 4/5/2006
FP76           M       13 Jan 1999             22 mo.        -         -           -                 FPNWR, SBCNP                 13 Nov 1999    Intraspecific aggression (FP54)
FP77            F      22 Jan 1999              1.5-2        -         -           -                  NBCNP, BCSIR                12 July 2003            Unknown
FP78            F      16 Feb 1999               2.0         -         -           -                      FPNWR                   17 Oct 2002      Intraspecific aggression
FP79           M       03 Mar 1999               3.5      Sep 1995   TX101         -                      SBCNP                   31 Aug 2012        Removed from wild
                                                                                                                                                         2/21/2006
FP80            F      14 Jan 2000               4.0         -         -           -                       BCSIR                  10 Feb 2000          Vehicle (BCSIR)
FP81           M       14 Jan 2000               4.0         -         -           -         BCSIR, Hendry Co. Private Lands           --          Collar failed 9/16/2002
FP82            F      25 Jan 2000               3.0         -         -           -                       OSSF                   9 May 2003       Unknown (possible ISA)
FP83            F      08 Feb 2000             8 mo.      Jun 1999   TX106       FP54                     FSPSP                   25 Mar 2011           Vehicle (US41)
FP84           M       11 Feb 2000               1.0         -       FP73          -           Dispersed from BCSIR to FEC        20 Apr 2000             Unknown
FP85           M       17 Feb 2000            10-11 mo.   Mar 1999   FP61        FP16                      EVER                   1 Mar 2004              Unknown
FP86            F      21 Feb 2000             8 mo.      Jun 1999   FP71        FP79                     SBCNP                   7 Nov 2003            Spinal trauma
FP87            F      28 Feb 2000             10 mo.     Apr 1999   FP55        FP79                     SBCNP                   19 Jun 2003      Intraspecific aggression
FP88            F      02 Mar 2000             9 mo.      Jun 1999   FP70        FP79                     SBCNP                        --          Collar failed 10/18/2002




Appendix I
                                                                                                                                                                        33
                                 Case 1:21-cv-00119-RDM                   Document 149-2    Filed 01/12/24         Page 360 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST   BIRTH                PURPORTED
   IDa        SEX         DATE              CAPTURE       DATE      DAM          SIRE                USE AREAb               DEATH DATE          CAUSE OF DEATHc
 FP89          M       02 Mar 2000             2.5          -         -            -                  SBCNP                   9 Nov 2000      Intraspecific aggression
FP90           M       08 Mar 2000            9 mo.      Jun 1999   FP71        FP79                   SBCNP                 26 April 2001   Vehicle (US27 Terrytown)
FP91            F      17 Mar 2000            9 mo.      Jun 1999   FP70        FP79                   SBCNP                 12 Dec 2003      Intraspecific aggression
FP92           M       06 Apr 2000            10 mo.     Jun 1999   FP70        FP79         SBCNP, Belle Meade, CREW        16 Sep 2001             Unknown
FP93            F      10 Apr 2000            14 mo.     Feb 1999   TX107       FP79                   SBCNP                 2 Dec 2015              Unknown
FP94            F      01 May 2000            10 mo.     Jul 1999   TX105       FP16                    EVER                      --         Collar released 4/16/2007
FP95            F      07 Nov 2000              2.8      Jan 1998   TX108       FP16                    EVER                      --           Collar failed 1/9/2008
FP96           M       07 Jan 2001            9 mo.      Apr 2000   FP78        FP59                   FPNWR                 17 Jan 2002      Intraspecific aggression
FP97           M       19 Jan 2001            11 mo.        -       FP105         -                    FPNWR                 2 Dec 2001       Intraspecific aggression
FP98           M       25 Jan 2001              3           -         -           -        NBCNP, Hendry Co. Private Lands   1 July 2002     Vehicle (SR29 N of Pistol
                                                                                                                                                       Pond)
FP99           M       26 Jan 2001            11 mo.        -       FP105         -                    FPNWR                 28 Nov 2002      Vehicle (CR846 Collier
                                                                                                                                                   fairgrounds)
FP100          M       31 Jan 2001              4           -         -           -                NBCNP, BCSIR              25 Jan 2007            Unknown
FP101           F       5 Feb 2001              2           -         -           -                NBCNP, BCSIR                   --         Collar failed 10/17/2003
FP102           F      20 Feb 2001              3        Feb 1998   FP55          -                    SBCNP                 23 Oct 2010      Intraspecific aggression
FP103           F      13 Mar 2001            8 mo.      Aug 2000   FP102         -                    SBCNP                 8 Aug 2007       Intraspecific aggression
FP104          M        2 Apr 2001            6-7 mo.       -       FP70        FP79                   SBCNP                 9 Mar 2006              Unknown
FP105           F      12 Apr 2001              6           -         -           -                    FPNWR                 15 Jan 2002             Unknown
FP106           F      12 Apr 2001            13 mo.        -       FP105         -                    FPNWR                 20 Feb 2003     Vehicle (SR29 Sunniland)
FP107           F      01 Nov 2001            19 mo.     Apr 2000   FP78        FP59                   FPNWR                 4 Aug 2008              Unknown
FP108          M       03 Nov 2001            10 mo.     Jan 2001   FP87        FP79                   SBCNP                 16 Nov 2002             Unknown
FP109          M       10 Feb 2002             10+          -         -           -                     OSSF                 23 Feb 2003      Intraspecific aggression
FP110           F      13 Feb 2002            13 mo.     Dec 2000   FP82        FP65                    OSSF                      --          Collar failed 10/8/2014
FP111          M       14 Feb 2002              10          -         -           -                     OSSF                 4 Sep 2002       Intraspecific aggression
FP112           F      25 Feb 2002             3-4          -         -           -                    NBCNP                 11 Sep 2002      Intraspecific aggression
FP113           F      23 Oct 2002            6 mo.      Apr 2002   FP78        FP59                   FPNWR                      --         Collar failed 10/19/2012




Appendix I
                                                                                                                                                                 34
                                 Case 1:21-cv-00119-RDM                   Document 149-2   Filed 01/12/24         Page 361 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST    BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE        DATE     DAM          SIRE              USE AREAb              DEATH DATE          CAUSE OF DEATHc
 FP114         M       23 Oct 2002            6 mo.      Apr 2002   FP78         FP59               FPNWR                 17 Oct 2003      Intraspecific aggression
FP115           F      26 Nov 2002             4-5          -         -           -                   OSSF                17 May 2003        Pneumonia (FeLV)
FP116           F      20 Jan 2003            7 mo.      Jun 2002   FP67          -          Hendry Co. Private Lands     10 Jan 2007      Intraspecific aggression
FP117          M       25 Feb 2003            11 mo.        -         -           -                   BCSIR               28 Jul 2004           Pseudorabies
FP118           F      5 Mar 2003             11 mo.        -         -           -                   BCSIR               3 Apr 2003            Pseudorabies
FP119          M        2 Apr 2003              1        Apr 2002   FP93        FP79              FPNWR, FSPSP                 --           Collar failed 2/9/2011

FP120           F       8 Apr 2003              3           -         -           -                  SBCNP                7 May 2005     Vehicle (US 41 Turner River)
FP121           F       2 Dec 2003              2.5         -         -           -                   BCSIR                    --         Collar released 8/2/2006
FP122           F      30 Jan 2004             2-2.5        -         -           -                   OSSF                13 Feb 2004        Pneumonia (FeLV)
FP123          M        2 Feb 2004              3.5         -         -           -                   OSSF                15 Mar 2004      Intraspecific aggression
FP124           F      13 Feb 2004             3-4          -         -           -                  SBCNP                     --          Collar failed 8/22/2008

FP125          M       13 Feb 2004            8 mo.         -       FP124         -               SBCNP, EVER                  --          Collar found 9/28/2004
FP126          M       13 Feb 2004            8 mo.         -       FP124         -                SBCNP, OSSF             1 Jan 2005      Intraspecific aggression
FP127          M       16 Feb 2004              2           -         -           -                  SBCNP                14 Mar 2008      Intraspecific aggression
FP128           F      18 Feb 2004              3.7      Jun 2000   FP77          -               BCSIR, NBCNP            27 Sept 2007            Unknown
FP129           F      20 Feb 2004              3.1      Jan 2001   FP87        FP79                 SBCNP                22 Mar 2006      Intraspecific aggression
FP130          M       4 Mar 2004             9.5 mo.    May 2003   FP110         -            OSSF, FEC, BWWMA           21 Mar 2007     Vehicle (I-4 Reedy Creek)
FP131          M       10 Mar 2004              5           -         -           -                  FPNWR                16 Apr 2008            Pneumonia
FP132          M       17 Mar 2004              3           -         -           -              OSSF, DIRWMA             22 Jul 2004          Feline leukemia
FP133          M       18 Nov 2004              4.5         -         -           -               NBCNP, SBCNP            27 Feb 2012      Intraspecific aggression
FP134          M       14 Dec 2004              2.5         -         -           -                  NBCNP                29 Jan 2007      Intraspecific aggression
FP135          M       17 Dec 2004              1.7      Apr 2003   FP101       FP65          FPNWR, Private Lands        27 Oct 2006     Intraspecific aggression/
                                                                                                                                                 euthanized
FP136           F      13 Jan 2005              3.5         -         -           -                  SBCNP                13 Jun 2005          Spinal fracture
FP137          M       25 Jan 2005              2.5         -         -           -        OSSF, Private Lands, DIRWMA,        --           Collar failed 9/4/2009
                                                                                                      SWWMA
FP138          M       31 Jan 2005              4           -         -           -           SBCNP, BCSIR, NBCNP         12 May 2008             Unknown




Appendix I
                                                                                                                                                               35
                                 Case 1:21-cv-00119-RDM                   Document 149-2      Filed 01/12/24              Page 362 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST    BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE        DATE     DAM          SIRE                  USE AREAb                   DEATH DATE          CAUSE OF DEATHc
 FP139         M       31 Mar 2005             2.9       May 2002   FP75        FP100               OSSF, Private Lands                --          Collar released 8/24/2005
FP140           F      14 Nov 2005             3.5          -         -           -                       FPNWR                     7 Jun 2009      Intraspecific aggression
FP141          M       30 Nov 2005             3.5          -         -           -                   BCSIR, NBCNP                  3 Jan 2011             Unknown
FP142           F      14 Dec 2005             2.5          -         -           -                        EVER                         --          Collar failed 7/11/2007
FP143          M        9 Jan 2006             1.5          -         -           -                BCSIR, Private Lands                 --          Collar failed 7/30/2007
FP144          M        8 Feb 2006              2           -         -           -                       NBCNP                    21 Jun 2010      Intraspecific aggression
FP145           F      16 Feb 2006             1.7          -         -           -                       SBCNP                         --          Collar failed 5/25/2012
FP146          M       27 Feb 2006              3           -         -           -                        PSSF                         --         Collar released 7/16/2008
FP147          M       3 Mar 2006             11 mo.     Mar 2005   FP129         -             SBCNP, FSPSP, PSSF, RBNER               --          Collar failed 8/29/2007
FP148           F      24 Mar 2006             2.5          -         -           -                        PSSF                    20 Mar 2015      Intraspecific aggression
FP149           F      17 Jan 2007              2           -         -           -                        PSSF                         --         Collar released 5/11/2007
FP150           F       8 Feb 2007             3.6       Jul 2003   FP93        FP60                      SBCNP                         --           Collar failed 6/6/2008
FP151           F      10 Feb 2007             4.9       Apr 2002   FP93        FP79                      SBCNP                         --          Collar failed 5/19/2016
FP152          M       16 Feb 2007             4-5          -         -           -                       SBCNP                    22 Oct 2008      Intraspecific aggression
FP153           F      19 Feb 2007              6           -         -           -                       SBCNP                    16 June 2015            Unknown
FP154          M       21 Feb 2007              3           -         -           -                       FPNWR                         --           Collar failed 4/2/2008
FP155          M       29 Nov 2007             2.5          -         -           -                 OSSF, Private Lands            8 Sept 2008             Unknown
FP156          M        7 Dec 2007             2.5          -         -           -              PSSF, North Belle Meade           29 Jul 2011           Pseudorabies
FP157          M       19 Dec 2007              3           -         -           -               LCPA, CREW (Flint Pen)           9 Apr 2008       Intraspecific aggression
FP158           F      21 Jan 2008             2.5          -         -           -                PSSF, CSSP, RBNERR              22 May 2010              Vehicle
FP159          M       29 Jan 2008             5-6          -         -           -       LCPA, CREW (Flint Pen, Bird Rook), CSS   27 Apr 2015             Unknown
FP160           F       5 Feb 2008              5           -         -           -           CREW (Corkscrew Marsh), CSS               --         Collar failed 11/12/2008
FP161           F      10 Feb 2008             3.7       May 2004   FP70          -                       SBCNP                         --           Collar failed 5/8/2014
FP162           F      18 Feb 2008              3           -         -           -                       SBCNP                    6 May 2016       Intraspecific Aggression
FP163          M       21 Feb 2008              1        Feb 2007   FP93          -            SBCNP, NBCNP, Private Lands         25 April 2014            Vehicle
FP164          M       24 Feb 2008              2           -         -           -                       SBCNP                    30 Jun 2008             Unknown




Appendix I
                                                                                                                                                                        36
                                 Case 1:21-cv-00119-RDM                   Document 149-2      Filed 01/12/24            Page 363 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST   BIRTH                PURPORTED
   IDa        SEX         DATE              CAPTURE       DATE      DAM          SIRE                  USE AREAb                  DEATH DATE       CAUSE OF DEATHc
 FP165         M       24 Nov 2008              1           -         -            -          OSSF, DIRWMA, Private Lands             --         Collar failed 9/14/2009
FP166          M       30 Jan 2009             4-5          -         -           -               BCSIR, Private Lands            5 Oct 2009     Intraspecific aggression
FP167          M        6 Feb 2009             2.5          -         -           -               BCSIR, Private Lands                 --        Collar failed 11/25/2009
FP168           F       9 Feb 2009             7            -         -           -              CREW (Flint Pen), LCPA           12 Oct 2010    Intraspecific aggression
FP169          M       25 Feb 2009             4-5          -         -           -                      SBCNP                    21 May 2010            Vehicle
FP170           F      26 Feb 2009             2.5          -         -           -                    PSSF, FSPSP                28 Feb 2011    Intraspecific aggression
FP171          M       27 Feb 2009             2-3          -         -           -                  SBCNP, NBCNP                 14 Aug 2016            Vehicle
FP172           F      19 Nov 2009             5            -         -           -                      NBCNP                    22 Mar 2010    Intraspecific aggression
FP173          M       21 Jan 2010             4            -         -           -                CREW, PIMB, LCPA               22 Dec 2010         Pseudorabies
FP174          M       26 Jan 2010             4            -         -           -                       PSSF                    16 Mar 2010            Vehicle
FP175           F       7 Feb 2010             2.5       Jul 2007   FP150         -                  NBCNP, SBCNP                 24 Jan 2014          Peritonitis
FP176          M        8 Feb 2010             3-4          -         -           -                  OSSF, SWWMA                  17 Nov 2010            Vehicle
FP177          M        9 Feb 2010             3         Mar 2007   FP113       FP119                    NBCNP                    16 Jul 2014    Intraspecific aggression
FP178           F      10 Feb 2010             2            -         -           -                      NBCNP                         --         Collar failed 7/2/2014
FP179          M       14 Feb 2010             5            -         -           -                      SBCNP                         --         Collar failed 5/5/2010

FP180           F      21 Feb 2010             2         Feb 2008   FP151         -                      SBCNP                         --         Collar failed 8/5/2016
FP181          M       28 Feb 2010             9         Mar 2001   TX106       FP60               SBCNP, FSPSP, PSSF                  --         Collar failed 8/2/2010

FP182           F      1 Mar 2010              1         Feb 2009   FP161         -                      SBCNP                    11 Dec 2012            Vehicle
FP183          M       3 Nov 2010              4.5          -         -           -                  FPNWR, FSPSP                 25 Feb 2015            Vehicle
FP184           F      8 Nov 2010              3-4          -         -           -               NBCNP, Private Lands            26 Apr 2013    Intraspecific aggression
FP185           F      15 Nov 2010            1.5-2         -         -           -        Private Lands east of County Line Rd        --        Collar failed 9/25/2017

FP186          M       10 Jan 2011            7 mo.         -         -           -        CREW-Flint Pen, Bird Rookery Swamp     30 May 2011    Intraspecific aggression
FP187          M        5 Feb 2011             7            -         -           -                      SBCNP                         --        Collar failed 2/27/2015

FP188           F       8 Feb 2011             3            -         -           -         Alico Grove north of CREW Marsh       10 Sept 2011          Unknown
FP189          M       14 Feb 2011             3            -         -           -           NBCNP, FPNWR, Private Lands          5 Jan 2012    Intraspecific aggression




Appendix I
                                                                                                                                                                     37
                                 Case 1:21-cv-00119-RDM                      Document 149-2   Filed 01/12/24         Page 364 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST     BIRTH                 PURPORTED
   IDa        SEX         DATE              CAPTURE         DATE       DAM          SIRE              USE AREAb             DEATH DATE         CAUSE OF DEATHc
 FP190         F       14 Feb 2011              5             -          -            -                SBCNP                    --          Collar failed 12/21/2012
FP191           F      26 Feb 2011               12        Feb 1999    TX107       FP79                 SBCNP               13 Feb 2015            Unknown
FP192           F      28 Feb 2011               1.7       Jul 2009    FP170         -                  SBCNP               20 Mar 2020     Intraspecific aggression
FP193          M       7 Mar 2011               2-2.5          -         -           -         PSSF, CSSP, Private Lands         --          Collar failed 7/1/2019
FP194          M       30 Oct 2010              5 mo.      May 2010    FP102         -                  SBCNP               13 Jan 2012     Intraspecific aggression
FP195           F      30 Nov 2011               3.5           -         -           -                   PSSF               29 Aug 2016     Intraspecific aggression
FP196           F      20 Jan 2012                2            -         -           -                   PSSF                6 Oct 2012              Vehicle
FP197          M       25 Jan 2012                4            -         -           -                CREW/LCPA             18 Jul 2012            Unknown
FP198           F       8 Feb 2012                4            -         -           -                CREW/LCPA             22 Mar 2017     Intraspecific aggression
FP199           F       9 Feb 2012                2            -         -           -                  NBCNP                    --        Collar came off 1/17/2018
FP200          M       2 Nov 1984                3-5           -         -           -         Injured by vehicle on US41   3 June 1994    “Big Guy”. Died in captivity
FP201ª         M       20 Feb 1991              7 mo.      July 1990   FP31        FP12             FPNWR, SBCNP            11 Mar 1997       Released, unknown
FP202ª         M       22 Feb 1991              7 mo.      July 1990    FP9        FP37                  FSPSP              10 Feb 2002         Died in captivity
FP203ª         M       25 Feb 1991              7 mo.      July 1990    FP9        FP37              FSPSP, SBCNP           26 Feb 1997      Released, intraspecific
                                                                                                                                                   aggression
FP204ª          F      27 Feb 1991              7 mo.      July 1990   FP31        FP12                 FPNWR               28 July 2009        Died in captivity
FP205ª          F      3 May 1991               6 mo.      Dec 1990    FP19          -                  FPNWR               11 Oct 1992         Died in captivity
FP206ª          F      6 May 1991               6 mo.      Dec 1990    FP40          -               Private Lands          2 May 1992          Died in captivity
FP207ª         M       4 Mar 1992             8-10 mo.     Jun 1991    FP36          -               Nobles Ranch           10 Sept 2007        Died in captivity
FP208ª          F      25 May 1992            12-14 days   May 1992    FP32        FP12                 FPNWR               18 Feb 2007         Died in captivity
FP209ª          F      20 Aug 1992             10 days     Aug 1992    FP23        FP42                 SBCNP               16 Jan 2004         Died in captivity
FP210ª         M       20 Aug 1992             10 days     Aug 1992    FP23        FP42                 SBCNP                9 Oct 2008         Died in captivity
FP211          M       10 Feb 2012                2            -         -           -                  NBCNP               21 May 2012     Intraspecific aggression
FP212          M       13 Feb 2012                3            -         -           -                   OSSF               18 May 2012     Intraspecific aggression
FP213           F      15 Feb 2012               2.5           -         -           -                   OSSF               31 Dec 2014     Intraspecific aggression
FP214           F      17 Feb 2012               3-4           -         -           -                  SBCNP                    --          Collar failed 2/7/2019




Appendix I
                                                                                                                                                                38
                                 Case 1:21-cv-00119-RDM                    Document 149-2    Filed 01/12/24            Page 365 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST     BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE         DATE     DAM           SIRE                USE AREAb                DEATH DATE        CAUSE OF DEATHc
 FP215         F       23 Feb 2012             6.8        Apr 2005   FP113      FP131/133               FPNWR                   22 Jun 2016          Unknown
FP216          M       11 Mar 2012               1           -         -           -                     SBCNP                       --       Collar released 2/27/2014
FP217           F       7 Jan 2013               5           -         -           -                      OSSF                       --         Collar failed 6/13/2017
FP218           F      24 Jan 2013               2.5         -         -           -                  OSSF/Private                   --       Collar released 1/15/2014
FP219           F      23 Sep 2011             5 mo.      May 2011   FP188         -              FSPSP/PSSF/Captive            18 Sep 2015            Vehicle
FP220           F       4 Feb 2013               6        Feb 2007   FP93          -                     SBCNP                  15 Feb 2019           Unknown
FP221           F      22 Feb 2013            9-10 mo.       -         -           -                     SBCNP                       --         Collar failed 5/19/2016
FP222           F      26 Feb 2013               8           -         -           -                    FPNWR                   23 Oct 2015            Vehicle
FP223          M       23 Sep 2011             5 mo.      May 2011   FP188         -              Private Lands/Captive          4 Jan 2014          Pneumonia
FP224           F      13 May 2013             8-9 mo.       -         -           -          Golden Gate Estates/Captive                     Collar dropped 6/11/2022
FP225          M       15 Jan 2014             20 mo.        -         -           -                     NBCNP                       --         Collar failed 3/13/2015
FP226           F      15 Jan2014                5           -         -           -                     NBCNP                       --       Collar released 11/12/2014
FP227          M       10 Feb 2014               2-3         -         -           -                     NBCNP                       --        Collar failed 12/24/2014
FP228          M       20Feb 2014                4           -         -           -                     NBCNP                  17 Mar 2014            Vehicle
FP229           F      27 Feb 2014               3-4         -         -           -                     NBCNP                  14 Nov 2014           Unknown
FP230          M       8 Mar 2014                5-6         -         -           -                     SBCNP                       --         Collar failed 7/29/2014
FP231          M       24 Mar 2014               2           -         -           -          Clam Pass, Relocated, Naples      4 Aug 2014            Unknown
FP232          M       15 Apr 2014               2.5         -         -           -        Ft. Meade/Captive/Central Florida        --         Collar failed 10/7/2015
FP233          M        6 Jan 2015               1.5         -         -           -                     NBCNP                       --       Collar released 7/15/2015
FP234          M        7 Jan 2015              9-10         -         -           -                     NBCNP                  13 Aug 2017            Vehicle
FP235          M        8 Jan 2015               4           -         -           -                 NBCNP/BCSIR                     --        Collar released 8/3/2015
FP236          M       16 Jan 2015               6-7         -         -           -                     CREW                   21 Mar 2018           Unknown
FP237          M       20 Jan 2015            10-12 mo.      -         -           -                     CREW                   30 Mar 2015    Intraspecific aggression
FP238          M        3 Feb 2015              1.5-2        -         -           -         RBNER, Relocated, PSSF/SBCNP            --         Collar failed 10/2/2015
FP239           F      12 Feb 2015             11 mo.        -         -           -                     SBCNP                       --         Collar failed 4/18/2019
FP240           F      18 Feb 2015               2        Dec 2012   FP151         -                     SBCNP                  10 Aug 2015    Intraspecific aggression




Appendix I
                                                                                                                                                                  39
                                 Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24          Page 366 of 585
FWC Florida Panther Annual Report 2022-2023




                                           ESTIMATED
PANTHER                 CAPTURE           AGE AT FIRST     BIRTH               PURPORTED
   IDa        SEX         DATE              CAPTURE         DATE     DAM          SIRE              USE AREAb               DEATH DATE       CAUSE OF DEATHc
 FP241         M       12 Jan 2016             7-8            -        -            -             Immokalee Ranch               --         Collar failed 10/9/2017
FP242          M       20 Jan 2016             9-10          -         -           -              Immokalee Ranch           5 Aug 2016          Pseudorabies
FP243          M       12 Apr 2016              2            -         -           -        Farmworkers Village, Captive,                    Removed from wild
                                                                                            SBCNP, NBCNP, BCSIR, Captive                        7/21/2016
FP244          M        7 Dec 2016             6-7           -         -           -                  OSSF                  28 Aug 2017         Unknown
FP245          M       19 Jan 2017              6            -         -           -              Immokalee Ranch           14 Mar 2018         Pseudorabies
FP246           F       7 Feb 2017              2            -         -           -              Immokalee Ranch               --        Collar failed 11/24/2020
FP247           F      14 Feb 2017             3-4           -         -           -              Immokalee Ranch               --         Collar failed 7/20/2020
FP248«          F      11 May 2017              3            -         -           -          Corkscrew Road, Captive       2 Aug 2017       Removed from wild
                                                                                                                                           5/11/2017 after vehicle
                                                                                                                                            collision, euthanized
FP249          M       31 May 2017             1.5           -         -           -         Alva, Relocated, DIRWMA,       21 Nov 2017             Vehicle
                                                                                                 Immokalee Ranch
FP250          M       7 June 2017             1.5           -         -           -          Captive, GGE, DIRWMA          13 Nov 2018    Intraspecific aggression
FP251          M        2 Jan 2018            6 mo.      31 May 2017 FP224         -          Captive, GGE, FSPSP, PSSF     7 Dec 2018             Vehicle
FP252          M        2 Jan 2018            6 mo.      31 May 2017 FP224         -          Captive, GGE, FSPSP, PSSF     1 Aug 2018             Vehicle
FP253          M        12 Jul 2018           7 mo.          -         -           -                 CSS, CREW                  --        Collar released 9/19/2018
FP254           F      22 Jan 2019             10            -         -           -               FPNWR, NBCNP                 --        Collar failed 11/15/2019
FP255          M        4 Feb 2019              5            -         -           -            FPNWR, GGE, CREW                --          Collar failed 7/6/2023
FP256           F      14 Feb 2019              1            -         -           -                 CREW, PRP              9 Oct 2019      Removed from wild,
                                                                                                                                             euthanized (FLMd)
FP257           F      27 Feb 2019              5            -         -           -                    LCPA                25 Mar 2021           Vehicle
FP258          M       14 Mar 2019             3-4           -         -           -                   SBCNP                     ¨          Collar failed 6/8/2021
FP259          M        5 Dec 2018            15 mo.         -         -           -           Captive, DIRWMA, IMR         1 May 2020             Vehicle
FP260          M        9 Dec 2020              3            -         -           -              Captive, FPNWR                           Collar failed 8/22/2022
FP261           F      21 Oct 2021              2            -         -           -                Belle Meade             31 Jan 2022            Vehicle
FP262           F      16 Dec 2021              2            -         -           -               Eastern Naples
FP263          M       25 Feb 2022              9            -         -           -                   CREW                     --        Collar dropped 12/5/2022
FP264           F      22 Mar 2022            3 mo.          -         -           -                    CSS                 23 May 2022           Unknown




Appendix I
                                                                                                                                                               40
                                 Case 1:21-cv-00119-RDM                        Document 149-2                  Filed 01/12/24               Page 367 of 585
FWC Florida Panther Annual Report 2022-2023



a FP denotes panthers captured for radiocollaring. TX denotes female Texas pumas released in 1995 as part of the genetic introgression project.
P   P




b BCSIR = Big Cypress Seminole Indian Reservation; BWWMA=Babcock Webb Wildlife Management Area; CREW = Corkscrew Regional Ecosystem Watershed; CSS = Corkscrew Swamp Sanctuary; CSSP
P   P




= Collier Seminole State Park; DIRWMA = Dinner Island Ranch Wildlife Management Area; EVER = Everglades National Park; EWMA; Everglades Wildlife Management Area; FEC=Fisheating Creek;
FPNWR = Florida Panther National Wildlife Refuge; FSPSP = Fakahatchee Strand Preserve State Park; GGE = Golden Gate Estates; IMR = Immokalee Ranch; LCPA = Lee County Port Authority Mitigation
Area; NBCNP = Big Cypress National Preserve north of Interstate 75; OSSF = Okaloacoochee Slough State Forest; PIMB=Panther Island Mitigation Bank; PRP = Pepper Ranch Preserve; PSSF = Picayune
Strand State Forest/Wildlife Management Area; RBNER = Rookery Bay National Estuarine Research Reserve; SBCNP = Big Cypress National Preserve south of Interstate 75; SWWMA = Spirit of the Wild
Wildlife Management Area.
c ISA = Intraspecific aggression
P




d
P FLM = Feline Leukomyelopathy
-- Telemetry collar either failed or was released (via timed or remote release mechanisms) prior to the death of the animal.
ªPanthers removed from the wild for a captive breeding program from 1991-1992. Program was eventually dissolved in favor of genetic restoration.
«FP248 was the first panther to be documented with feline leukomyelopathy via postmortem histology.




Appendix I
                                                                                                                                                                                           41
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 368 of 585
FWC Florida Panther Annual Report 2022-2023




Appendix II. List of Florida panther kittens handled at natal dens in southern Florida by FWC and BCNP staff from 7 April 1992 through 30 June
2023. Litters are sorted chronologically.
                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
        K1                 FP40                7 Apr 1992     M         None            14-21           FP28        10 Feb 1993      FP54
         K2                FP40                7 Apr 1992    M         None             14-21            FP28
         K3                FP40                18 Jun 1993   M         None              21              FP26
         K4                FP40                18 Jun 1993    F        None              21              FP26
         K5                FP40                18 Jun 1993    F        None              21              FP26
         K6                FP48                30 Oct 1993   M         None              8               FP12
         K7                FP48                30 Oct 1993    F        None              8               FP12
         K8                FP48                30 Oct 1993    F        None              8               FP12
         K9                FP56                21 Apr 1994   M         None              14             Unknown
         K10               FP56                21 Apr 1994    F        None              14             Unknown
         K11               FP56                21 Apr 1994   M         None              14             Unknown
         K12               FP19               17 May 1994     F        None             14-17            FP51
         K13               FP19               17 May 1994     F        None             14-17            FP51
         K14               FP55                8 Apr 1995     F        None              12              FP42
         K15               FP55                8 Apr 1995     F        None              12              FP42
         K16               FP48                20 Jun 1995   M        12A4640            12             Unknown      7 Jan 1996      FP59
         K17               FP48                20 Jun 1995    F       129FE45            12             Unknown
         K18               TX101               10 Oct 1995    F        F82665            21             Unknown     12 Nov 1998      FP73
         K19               TX101               10 Oct 1995   M         F79CB9            21             Unknown      3 Mar 1999      FP79
         K20               FP56                31 Oct 1995   M         762141            14              FP45
         K21               FP56                31 Oct 1995   M         632448            14              FP45
         K22               FP56                31 Oct 1995   M         F6642F            14              FP45
         K23               TX106               1 Dec 1995     F       11DFD74            21              FP51
         K24               FP36                6 Feb 1996     F       12AB55F            14              FP45
         K25               FP36                6 Feb 1996    M        1147C9B            14              FP45
         K26               FP36                6 Feb 1996    M        11DF0DA            14              FP45




Appendix II
                                                                                                                                                42
                                 Case 1:21-cv-00119-RDM              Document 149-2      Filed 01/12/24      Page 369 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                       ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID      AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
     UCFP44 a  P           FP36                6 Feb 1996     U         none            Unknown        Unknown
      UCFP24               FP32               18 Mar 1996     F     dead not marked       10-14           Unknown
         K27               FP19                17 Apr 1996    F    114DAFE (11363DC)       24         FP54/FP51
         K28               FP19                17 Apr 1996    F        11EOD50             24         FP54/FP51
         K29               FP56               14 Aug 1996    U         11EAB72T            14              FP45
         K30               FP56               14 Aug 1996    U         1142876             14              FP45
         K31               FP48                18 Sep 1996   M          7037C2            14-17           Unknown     18 Mar 1997      FP62
         K32               FP48                18 Sep 1996   M         11EA2EC            14-17           Unknown     24 May 1997      FP64
         K33               FP48                18 Sep 1996   M          6FFD52            14-17           Unknown                     UCFP50
         K34               TX105               4 Oct 1996     F        11EAO30T           30-35            FP16
         K35               TX101               21 Dec 1996   M         12AFFBF             4               FP45       19 Nov 1997      FP65
         K36               TX101               21 Dec 1996    F        142581A             4               FP45        9 Dec 1997      FP66
         K37               FP40               14 May 1997    M         1146911             21              FP45
   unmarked1 b     P       FP40                5 Feb 1998     F          none             270             Unknown      5 Feb 1998      FP69
         K38               TX107               4 Jun 1997     F        1311B3B            30+             Unknown      5 Mar 1998      FP71
         K39               TX107               4 Jun 1997     F         771B4D            30+             Unknown     25 Feb 1998      FP70
         K40               FP56                17 Jun 1997   M         1412E16            25-28            FP45
         K41               FP56                17 Jun 1997    F        14259BF            25-28            FP45
         K42               FP56                17 Jun 1997    F        1425A07            25-28            FP45       19 Jan 1998      FP67
         K43               FP56                17 Jun 1997   M         12C2B93            25-28            FP45
         K44               FP55                2 Oct 1997    M         12A9E4AT           25-30           Unknown
         K45               TX108               11 Feb 1998    F       1D1DFDOT             21              FP16        7 Nov 2000      FP95
         K46               TX108               11 Feb 1998   M         143E96ET            21              FP16
         K47               TX106               17 Feb 1998   M         1D3E32OT           7-10             FP54
         K48               FP55                25 Feb 1998    F        121134F             14             Unknown     20 Feb 2001     FP102
         K49               FP55                25 Feb 1998    F        1D2B3AET            14             Unknown
         K50               FP55                25 Feb 1998   M         12A94A6T            14             Unknown
         K51               FP48                27 Jun 1998   M         1D2A504T            28             Unknown
   unmarked3 c     P       FP48                11 Jan 1999    F      00013C2DC7T        7 months          Unknown     11 Jan 1999      FP75




Appendix II
                                                                                                                                                  43
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 370 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
        K52                FP66                2 Oct 1998     M       1D21638T            12            FP72
         K53               FP66                2 Oct 1998     F       1C49E48T           12              FP72
         K54               FP66                2 Oct 1998    M        1D2CBC3T           12              FP72
         K55               FP49                23 Feb 1999   M        1211046            25             Unknown
         K56               TX107              11 Mar 1999     F       1327679T          21+              FP79       26 Feb 2011     FP191
         K57               TX107              11 Mar 1999    M        14245FOT          21+              FP79
         K58               TX107              11 Mar 1999     F       12A9FE5T          21+              FP79       10 Apr 2000      FP93
         K59               FP61                6 Apr 1999    M        1EFF6EFT           14              FP16       17 Feb 2000      FP85
         K60               FP55               10 May 1999     F       1EFFA75T          24-26            FP79       28 Feb 2000      FP87
         K61               FP55               10 May 1999    M        1EFF978T          24-26            FP79
         K62               TX106               18 Jun 1999    F       114C9D7T           14         FP54/FP60
         K63               TX106               18 Jun 1999    F       12AFC11T           14         FP54/FP60        8 Feb 2000      FP83
         K64               FP70                23 Jun 1999    F       1E2EB33T          10-12            FP79        2 Mar 2000      FP88
         K65               FP70                23 Jun 1999   M        703A4AT           10-12            FP79        6 Apr 2000      FP92
         K66               FP70                23 Jun 1999    F       1EFFF55T          10-12            FP79       17 Mar 2000      FP91
         K67               FP71                 4 Jul 1999   M        1E2EBFET           17              FP79        8 Mar 2000      FP90
         K68               FP71                 4 Jul 1999    F       20509A9T           17              FP79       21 Feb 2000      FP86
         K69               FP71                 4 Jul 1999   M        1E2F6B7T           17              FP79
         K70               FP71                 4 Jul 1999    F       1E2DF2BT           17              FP79
         K71               FP69                1 Aug 1999    M        1E2F276T           7              Unknown
         K72               FP69                1 Aug 1999     F       1F07255T           7              Unknown
         K73               FP69                1 Aug 1999     F       1FO14C2T           7              Unknown
         K74               FP48                25 Oct 1999    F       1EFFF38T          14-17       FP63, FP68
         K75               FP48                25 Oct 1999    F       1FO1BEDT          14-17       FP63, FP68
         K76               FP66                24 Dec 1999   M        1D2C5F6T           14              FP60
         K77               FP66                24 Dec 1999    F       1F00067T           14              FP60
         K78               FP66                24 Dec 1999    F       1E2F2D6T           14              FP60
         K79               FP78                26 Apr 2000    F      1D1CDD8T           10-14            FP59        1 Nov 2001     FP107
         K80               FP78                26 Apr 2000   M        1F07DD7T          10-14            FP59        7 Jan 2001      FP96




Appendix II
                                                                                                                                                44
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 371 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
        K81                FP77                27 Jun 2000    M       1D3B75CT            28         Unknown
         K82               FP77                27 Jun 2000    F       1433F77T           28             Unknown     18 Feb 2004     FP128
         K83               FP77                27 Jun 2000   M        1D3A078T           28             Unknown
         K84               FP67                19 Aug 2000   M        143F34DT           12             Unknown
         K85               FP67                19 Aug 2000    F       1E2E834T           12             Unknown
         K86               FP82                3 Jan 2001     F       1E2F17ET           14              FP65       13 Feb 2002     FP110
         K87               FP82                3 Jan 2001     F       1E2EFB7T           14              FP65
         K88               FP82                3 Jan 2001    M        1F00D57T           14              FP65
         K89               FP87                7 Feb 2001     F       20501C5T          14-21            FP79       20 Feb 2004     FP129
         K90               FP87                7 Feb 2001    M        1E2F06B           14-21            FP79        3 Nov 2001     FP108
         K91               FP87                7 Feb 2001    M        1F071F4T          14-21            FP79
         K92               TX106              17 Mar 2001     F       600DBE9           14-16            FP60
         K93               TX106              17 Mar 2001    M        600CCC4           14-16            FP60       28 Feb 2010     FP181
         K94               FP88               25 May 2001    M        1E2EB3DT           21             Unknown
         K95               FP88               25 May 2001     F       1EFF463T           21             Unknown
         K96               FP88               25 May 2001    M        1F00576T           21             Unknown
         K97               FP88               25 May 2001     F       204F878T           21             Unknown
         K98               FP67               26 May 2001     F       11D5AFD            21             Unknown                     UCFP49
         K99               FP67               26 May 2001    M        1248B13T           21             Unknown
        K100               FP67               26 May 2001    M        600EFAF            21             Unknown
        K101               FP67               26 May 2001    M        600E363            21             Unknown
        K102               FP75                15 Jun 2001   M        600E58A           10-12            FP59
        K103               FP75                15 Jun 2001   M        6000FA1           10-12            FP59
        K104               FP55                28 Jun 2001   M        1EFFFC5T           17             Unknown
        K105               FP102               12 Jul 2001   M        1E2DFA4T           21              FP79
        K106               FP102               12 Jul 2001   M        600E036            21              FP79
        K107               FP49                27 Aug 2001   M       000600F828          21             Unknown
        K108               FP77                30 Aug 2001   M       000600F0EA          30             Unknown
        K109               FP73                3 Mar 2002    M       000600FD77          7              Unknown




Appendix II
                                                                                                                                                45
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 372 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K110                FP73                3 Mar 2002     M      0001E2D9E2T          7          Unknown
        K111               FP73                3 Mar 2002     F      000600A2C9          7              Unknown
        K112               FP95                21 Apr 2002    F     0001E2E9D3T          25              FP85
   unmarked2 d   P         FP95                not marked    U          none          Unknown            FP85
        K113               FP93                23 Apr 2002    F     0001EFF813T          18              FP79       10 Feb 2007     FP151
        K114               FP93                23 Apr 2002    F      000600CC53          18              FP79
        K115               FP93                23 Apr 2002   M      0001F071E4T          18              FP79        2 Apr 2003     FP119
        K116               FP93                23 Apr 2002    F     0001F01C76T          18              FP79
        K117               FP78                30 Apr 2002    F      000600CDB3          21              FP59
        K118               FP78                30 Apr 2002    F      000600DB01          21              FP59
        K119               FP78                30 Apr 2002    F      000600E3E3          21              FP59       23 Oct 2002     FP113
        K120               FP78                30 Apr 2002   M      0001F01D1CT          21              FP59       23 Oct 2002     FP114
        K121               FP101               9 May 2002    M      000204F9EAT          10             Unknown
        K122               FP101               9 May 2002     F     0001E2D6FDT          10             Unknown
        K123               FP83               12 May 2002    M       000631AED6          28             Unknown
        K124               FP106              27 May 2002     F     0001F003A0T          10             Unknown
        K125               FP106              27 May 2002    M      0001D2CBC4T          10             Unknown
        K126               FP106              27 May 2002    M      0001E2E8F6T          10             Unknown
        K127               FP55               30 May 2002     F      000600EAD2          10              FP79
        K128               FP75                6 Jun 2002    M       000600E84B          10         FP100/FP98
        K129               FP75                6 Jun 2002    M       00060101BC          10         FP100/FP98      31 Mar 2005     FP139
        K130               FP112               15 Jun 2002   M      0001EFF497T          7          FP100/FP98
        K131               FP112               15 Jun 2002   M       000600E4CE          7          FP100/FP98
        K132               FP67                18 Jun 2002    F      000600D0F1          10             Unknown     20 Jan 2003     FP116
        K133               FP67                18 Jun 2002   M       000600EBA8          10             Unknown
        K134               FP67                18 Jun 2002   M       000600E776          10             Unknown
        K135               FP107               7 Jul 2002    M       0006010509         9-10            Unknown
        K136               FP107               7 Jul 2002     F      000600F465         9-10            Unknown
        K137               FP102               19 Jul 2002    F      0006318229          15              FP79




Appendix II
                                                                                                                                                46
                                 Case 1:21-cv-00119-RDM             Document 149-2      Filed 01/12/24      Page 373 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                      ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID     AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K138                FP102               19 Jul 2002    M      000630E287            15            FP79
        K139               FP61                27 Sep 2002    F     000204FBC3T           10             Unknown
        K140               FP61                27 Sep 2002   M       000600D0D4           10             Unknown
        K141               FP61                27 Sep 2002   M       000600F2F8           10             Unknown
        K142               FP61                27 Sep 2002    F     0001D29A56T           10             Unknown
        K143               FP87               25 Mar 2003     F      000600DD57           15              FP79
        K144               FP87               25 Mar 2003    M      ID not recorded       15              FP79
        K145               FP87               25 Mar 2003     F     ID not recorded       15              FP79
        K146               FP101               19 Apr 2003    F      00062EDF9D           10         FP65/FP100
        K147               FP101               19 Apr 2003   M       0006328F81           10         FP65/FP100      17 Dec 2004     FP135
        K148               FP101               19 Apr 2003    F      00062E2A15           10         FP65/FP100
        K149               FP110               3 Jun 2003     F      000600F8DE          6-10            Unknown
        K150               FP110               3 Jun 2003    M       000600CCD1          6-10            Unknown      4 Mar 2004     FP130
        K151               FP110               3 Jun 2003     F      000600C049          6-10            Unknown
        K152               FP93                5 Aug 2003     F      000600037C           21              FP60        8 Feb 2007     FP150
        K153               FP93                5 Aug 2003    M       0005FFE2D6           21              FP60
        K154               FP93                5 Aug 2003    M       0006000B2A           21              FP60
        K155               FP120               7 Feb 2004     F      0005FFEB0A           14             Unknown
        K156               FP120               7 Feb 2004    M       0005FFE0DA           14             Unknown
        K157               FP75               21 Mar 2004    M       0006327AC0           23             Unknown
        K158               FP75               21 Mar 2004    M       000632781C           23             Unknown
        K159               FP75               21 Mar 2004     F      00062EE361           23             Unknown
        K160               FP116               5/1//2004      F      0006479F70           14              FP65
        K161               FP116               5/1//2004      F      000647D7A6           14              FP65
        K162               FP116               5/1//2004     M       0006485640           14              FP65
        K163               FP107              21 May 2004    M       0006327255           7              Unknown
        K164               FP107              21 May 2004    M       0006326E04           7              Unknown
        K165               FP107              21 May 2004     F      000632227C           7              Unknown
        K166               FP107              21 May 2004     F      000647A475           7              Unknown




Appendix II
                                                                                                                                                 47
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 374 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K167                FP70                6 Jun 2004     F      00064DBAB1           12         Unknown
        K168               FP70                6 Jun 2004    M       00064DAB32          12             Unknown
        K169               FP70                6 Jun 2004     F      00064D7C86          12             Unknown     10 Feb 2008     FP161
        K170               FP102               5 Aug 2004     F      00064DEB7D          15              FP79
        K171               FP102               5 Aug 2004    M       00064DDEEA          15              FP79
        K172               FP102               5 Aug 2004     F      00064D918C          15              FP79
        K173               FP121               1 Sep 2004     F      0006000738          14             Unknown
      UCFP67               FP113               2 Sep 2004     F    dead not marked       <7             Unknown
        K174               FP124               29 Sep 2004   M       000647D79D         21+             Unknown
        K175               FP124               10 Feb 2005   M       0005FFF5E1          14             Unknown
        K176               FP124               10 Feb 2005   M       00064D67F9          14             Unknown
        K177               FP124               10 Feb 2005    F      0006000D6B          14             Unknown
        K178               FP110               7 Mar 2005    M       000601E07A          12             Unknown
        K179               FP110               7 Mar 2005     F      00064DD051          12             Unknown
        K180               FP107              15 Mar 2005     F      000600E4BB          14         FP119/FP131
        K181               FP107              15 Mar 2005     F      000600F978          14         FP119/FP131
        K182               FP129               6 Apr 2005     F      0006482822          10             Unknown
        K183               FP129               6 Apr 2005    M       00064DE502          10             Unknown
        K184               FP129               6 Apr 2005    M       00064D7610          10             Unknown      3 Mar 2006     FP147
        K185               FP113               20 Apr 2005    F      000647B5F9          15         FP131/FP133     23 Feb 2012     FP215
        K186               FP113               20 Apr 2005    F      000647AEBB          15         FP131/FP133
        K187               FP116               19 Jun 2005   M       00064D6A85          22             Unknown
        K188               FP116               19 Jun 2005    F     000647AEEE6          22             Unknown
        K189               FP116               19 Jun 2005   M       000647BC03          22             Unknown
        K190               FP128               21 Jul 2005   M        64D816A            24             Unknown
        K191               FP128               21 Jul 2005   M        647C7FE            24             Unknown
        K192               FP75                7 Aug 2005    M       000647CDE9          7               FP135
        K193               FP75                7 Aug 2005     F      00064DB63B          7               FP135
        K194               FP75                7 Aug 2005     F      00064DAC56          7               FP135




Appendix II
                                                                                                                                                48
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 375 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K195                FP75                7 Aug 2005     M      000600E8A6           7            FP135
        K196               FP110               1 Nov 2005    M       00063DE442          21             Unknown
        K197               FP110               1 Nov 2005    M       00063DA510          21             Unknown
        K198               FP110               1 Nov 2005    M       00064339FD          21             Unknown
        K199               FP110               1 Nov 2005     F      000643666C          21             Unknown
        K200               FP107               17 Feb 2006    F      0006009668          6               FP131
        K201               FP107               17 Feb 2006   M       000600F274          6               FP131
        K202               FP121               5 Mar 2006     F      000600DAB4          14             Unknown
        K203               FP121               5 Mar 2006    M       000600B508          14             Unknown
        K204               FP121               5 Mar 2006    M       0006483B07          14             Unknown
        K205               FP94                22 Jun 2006    F      00064DA2F2          18             Unknown
        K206               FP94                22 Jun 2006   M       00063D8B9D          18             Unknown
        K207               FP94                22 Jun 2006    F     00063DD7D8           18             Unknown
        K208               FP145               23 Jun 2006    F      000647B5DA          12              FP138
        K209               FP145               23 Jun 2006    F      00064ECCA4          12              FP138
        K210               FP145               23 Jun 2006    F      000672579C          12              FP138
        K211               FP93                 1 Jul 2006    F      0064068FF           18              FP133
        K212               FP93                 1 Jul 2006    F      00647879D           18              FP133
        K213               FP93                 1 Jul 2006    F      0064D988C           18              FP133
        K214               FP95                 3 Jul 2006    F      00064D852D          10             Unknown
        K215               FP95                 3 Jul 2006    F      00064D5EDC          10             Unknown
        K216               FP95                 3 Jul 2006   M       000647C887          10             Unknown
        K217               FP102               12 Jul 2006   M       000672358E          18              FP138
        K218               FP102               12 Jul 2006   M       000671CA33          18              FP138
        K219               FP140              15 Nov 2006     F      006435A2B          9-11             FP119
        K220               FP140              15 Nov 2006    M       0006436824         9-11             FP119
        K221               FP148               18 Jan 2007    F      000647D2EE          21              FP146
        K222               FP148               18 Jan 2007   M       00064DC433          21              FP146
        K223               FP148               18 Jan 2007    F      00064E23C           21              FP146




Appendix II
                                                                                                                                                49
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 376 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K224                FP124               17 Feb 2007    M       64EED68             9          Unknown
        K225               FP124               17 Feb 2007   M        64E00C9            9              Unknown
        K226               FP93                8 Mar 2007    M        6712488            16             Unknown
        K227               FP93                8 Mar 2007    M        64DF113            16             Unknown     21 Feb 2008     FP163
        K228               FP93                8 Mar 2007     F       64EO84F            16             Unknown      4 Feb 2013     FP220
        K229               FP110              20 Mar 2007     F      0006327849         10-12            FP137
        K230               FP110              20 Mar 2007    M       00063DD906         10-12            FP137
        K231               FP110              20 Mar 2007     F      00063DC6F3         10-12            FP137
        K232               FP110              20 Mar 2007    M       00063218EB         10-12            FP137
        K233               FP113              25 Mar 2007     F      00063DC1F0          7               FP119
        K234               FP113              25 Mar 2007    M       00063DC585          7               FP119
        K235               FP113              25 Mar 2007    M       0006439AB7          7               FP119       9 Feb 2010     FP177
        K236               FP103               4 Apr 2007     F      0006722801          24              FP127
        K237               FP103               4 Apr 2007     F      00067142C6          24              FP127
        K238               FP103               4 Apr 2007    M       000671D047          24              FP127
        K239               FP149               13 Apr 2007    F      00063DCBCC         11-13           Unknown
        K240               FP149               13 Apr 2007    F      000631A816         11-13           Unknown
        K241               FP151               21 Apr 2007   M        67245C4            16             Unknown
        K242               FP151               21 Apr 2007    F       67216AA            16             Unknown
        K243               FP151               21 Apr 2007    F       64E6E50            16             Unknown
        K244               FP145               26 Apr 2007   M        6718E19            16              FP133
        K245               FP145               26 Apr 2007   M        6718AEE            16              FP133
        K246               FP145               26 Apr 2007    F       6722453            16              FP133
        K247               FP107               27 Apr 2007    F      0006437F96         10-12           Unknown
        K248               FP107               27 Apr 2007   M       0006435576         10-12           Unknown
        K249               FP107               27 Apr 2007    F    dead not marked      10-12           Unknown
        K250               FP128              12 May 2007    M       0006435419         10-12           Unknown
        K251               FP128              12 May 2007    M       0006434A69         10-12           Unknown
        K252               FP128              12 May 2007     F      0006433EFA         10-12           Unknown




Appendix II
                                                                                                                                                50
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 377 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K253                FP150               20 Jul 2007    M        6726F07            18         Unknown
        K254               FP150               20 Jul 2007    F       671F6F3            18             Unknown      7 Feb 2010     FP175
        K255               FP150               20 Jul 2007    F       67231E8            18             Unknown
        K256               FP150               20 Jul 2007    F       671E895            18             Unknown
        K257               FP110               10 Aug 2007   M       0006439E20         13-15           Unknown
        K258               FP110               10 Aug 2007   M       000643422C         13-15           Unknown
        K259               FP151               27 Aug 2007   M     dead not marked      17-20           Unknown
        K260               FP151               27 Aug 2007   U     dead not marked      17-20           Unknown
        K261               FP107               25 Sep 2007   M       000643530F         10-14           Unknown
        K262               FP107               25 Sep 2007   M       0006435247         10-14           Unknown
        K263               FP107               25 Sep 2007   M       00063DC5C2         10-14           Unknown
        K264               FP151               4 Mar 2008     F       6957DE2            21             Unknown     21 Feb 2010     FP180
        K265               FP151               4 Mar 2008    M        695B244            21             Unknown
        K266               FP140               2 May 2008    M       00063DF3C8          7               FP154
        K267               FP140               2 May 2008    M       00063DEAA1          7               FP154
        K268               FP162              23 May 2008     F    dead not marked       14              FP138
        K269               FP162              23 May 2008    M     dead not marked       14              FP138
        K270               FP158               7 Jun 2008     F       6435FEC           14-17            FP146
        K271               FP158               7 Jun 2008    M        6435381           14-17            FP146
        K272               FP158               7 Jun 2008    M        642652B           14-17            FP146
        K273               FP158               7 Jun 2008    M        643824C           14-17            FP146
        K274               FP153               20 Jul 2008    F       695849E            14             Unknown
        K275               FP153               20 Jul 2008   M        695ACE5            14             Unknown
        K276               FP153               20 Jul 2008   M        6958EAA            14             Unknown
        K277               FP161               25 Feb 2009   M        698B098            16             Unknown
        K278               FP161               25 Feb 2009   M        69581FC            16             Unknown
        K279               FP161               25 Feb 2009    F       6959939            16             Unknown      1 Mar 2010     FP182
        K280               FP162               7 May 2009     F       695AOB3           25-27           Unknown
        K281               FP153                8 Jul 2009   M        671F728            30             Unknown




Appendix II
                                                                                                                                                51
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 378 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K282                FP153                8 Jul 2009    M       6958DCD             30         Unknown
        K283               FP168               21 Jul 2009   M       0006483E5C          7              Unknown
        K284               FP168               21 Jul 2009   M       0006434DB7          7              Unknown
        K285               FP170               28 Jul 2009   M       00063DF972          22             Unknown
        K286               FP170               28 Jul 2009   M       00063DE7FC          22             Unknown
        K287               FP170               28 Jul 2009    F      000600E52E          22             Unknown     28 Feb 2011     FP192
        K288               FP172               20 Feb 2010   M       00063DDEB6          15             Unknown
        K289               FP172               20 Feb 2010   M       0006435874          15             Unknown
        K290               FP172               20 Feb 2010   M       0006436050          15             Unknown
        K291               FP145               25 Feb 2010    F      00069577CI          28             Unknown
        K292               FP145               25 Feb 2010   M       000695BO19          28             Unknown
        K293               FP145               25 Feb 2010    F      00067214F1          28             Unknown
        K294               FP162              23 Mar 2010    M        6957879            14              FP133
        K295               FP162              23 Mar 2010     F       695A869            14              FP133
        K296               FP162              23 Mar 2010     F       695A5CF            14              FP133
        K297               FP148               13 Apr 2010    F      00063DFB49          14             Unknown
        K298               FP148               13 Apr 2010    F      0006436575          14             Unknown
        K299               FP148               13 Apr 2010   M       0006435550          14             Unknown
        K300               FP161              26 May 2010    M       000695AD83          16             Unknown
        K301               FP161              26 May 2010     F      0006723CE4          16             Unknown
        K302               FP161              26 May 2010     F      000695B151          16             Unknown
        K303               FP102               6 Jun 2010    M       0006958363          21             Unknown
        K304               FP102               6 Jun 2010    M       000695A272          21             Unknown     29 Nov 2011     FP194
        K305               FP178               22 Jun 2010   M       0006434D2E         14-17           Unknown
        K306               FP178               22 Jun 2010   M       000643461A         14-17           Unknown
        K307               FP113               15 Jul 2010    F      0001EFF852          5-7            Unknown
        K308               FP113               15 Jul 2010   M       000643352E          5-7            Unknown
        K309               FP113               15 Jul 2010    F      0006439939          5-7            Unknown
        K310               FP175               2 Aug 2010     F      0006959F9E          18             Unknown




Appendix II
                                                                                                                                                52
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 379 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K311                FP175               2 Aug 2010     F      0006959B00           18         Unknown
        K312               FP110               4 Aug 2010     F      0006436660         10-12           Unknown
        K313               FP110               4 Aug 2010     F      00063DCB00         10-12           Unknown
        K314               FP110               4 Aug 2010    M       00064359C2         10-12           Unknown
        K315               FP148               17 Jan 2011   M       0006433EE1          12             Unknown
        K316               FP148               17 Jan 2011   M       0006437C54          12             Unknown
        K317               FP178               27 Jan 2011   M       0006436F25         12-14           Unknown
        K318               FP178               27 Jan 2011   M       00063DECC8         12-14           Unknown
        K319               FP175               27 Jan 2011   M       0006959F88          21             Unknown
        K320               FP175               27 Jan 2011    F      000695A8A8          21             Unknown
        K321               FP113               9 Mar 2011    M       00063460F7          21             Unknown
        K322               FP162               15 Apr 2011    F      0006959680          19             Unknown
        K323               FP162               15 Apr 2011   M       000695A73E          19             Unknown
        K324               FP162               15 Apr 2011   M       0006959FC4          19             Unknown
        K325               FP162               15 Apr 2011   M       000695A29B          19             Unknown
        K326               FP184               26 Apr 2011   M       0006483D1B          12             Unknown
        K327               FP184               26 Apr 2011   M       00064DB286          12             Unknown
        K328               FP184               26 Apr 2011    F      000631C890          12             Unknown
        K329               FP184               26 Apr 2011   M       000647B1C4          12             Unknown
        K330               FP182               29 Apr 2011   M       0006959053          14             Unknown
        K331               FP182               29 Apr 2011   M       000695823A          14             Unknown
        K332               FP182               29 Apr 2011    F      0006957B55          14             Unknown
        K333               FP182               29 Apr 2011   M       0006958665          14             Unknown
        K334               FP188              26 May 2011     F     0001D3E191T          18             Unknown     31 Jan 2013     FP219
        K335               FP188              26 May 2011    M       00012AA1A2          18             Unknown      3 Apr 2013     FP223
        K336               FP188              26 May 2011    M      0001E2E62ET          18             Unknown
        K337               FP145               9 Jun 2011    M       00069584D5          12             Unknown
        K338               FP145               9 Jun 2011     F      000695B041          12             Unknown
        K339               FP145               9 Jun 2011     F      00069580FE          12             Unknown




Appendix II
                                                                                                                                                53
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 380 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K340                FP151               10 Jun 2011    F      000695B062           21           FP187
        K341               FP151               10 Jun 2011   M       0006957B2E          21              FP187
        K342               FP113               7 Aug 2011     F      000631A606          25             Unknown
        K343               FP110               15 Dec 2011    F      000631FC2A         10-14           Unknown
        K344               FP110               15 Dec 2011    F      0006321ECF         10-14           Unknown
        K345               FP145               16 Feb 2012   M       000695AFBA          24             Unknown
        K346               FP145               16 Feb 2012    F      000695A522          24             Unknown
        K347               FP145               16 Feb 2012   M       0006958FF1          24             Unknown
        K348               FP153               19 Feb 2012   M       000695ACD5          9              Unknown
        K349               FP153               19 Feb 2012   M      00066957F4D          9              Unknown
        K350               FP153               19 Feb 2012   M       000695A8EO          9              Unknown
        K351               FP153               19 Feb 2012   M       0006959029          9              Unknown
        K352               FP195               3 Mar 2012    M       0006328CF1          12             Unknown
        K353               FP191              28 Mar 2012    M       0007136AE7          14             Unknown
        K354               FP192               15 Apr 2012   M       0007138FD0          21             Unknown
        K355               FP192               15 Apr 2012   M       0007135EE2          21             Unknown
        K356               FP192               15 Apr 2012   M       000713972D          21             Unknown
        K357               FP161               25 Apr 2012    F      0007136CC3          14             Unknown
        K358               FP161               25 Apr 2012   M       000695ABF6          14             Unknown
        K359               FP161               25 Apr 2012   M       0006958D4E          14             Unknown
        K360               FP161               25 Apr 2012    F      0007136DC5          14             Unknown
        K361               FP190              14 May 2012     F      0007138138          20             Unknown
        K362               FP190              14 May 2012    M       0007136F0C          20             Unknown
        K363               FP190              14 May 2012     F      00071368E2          20             Unknown
        K364               FP213               5 Jun 2012    M       00063DFC55          6              Unknown
        K365               FP213               5 Jun 2012     F      00063DD656          6              Unknown
        K366               FP213               5 Jun 2012    M       0006319AC9          6              Unknown
        K367               FP162               26 Jun 2012   M       000695B179          22              FP187
        K368               FP162               26 Jun 2012    F      0006E37AD8          22              FP187




Appendix II
                                                                                                                                                54
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 381 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K369                FP178                7 Jul 2012    F      0006F3DB0E           20          unknown
        K370               FP178                7 Jul 2012    F      0006E758B9          20             unknown
        K371               FP178                7 Jul 2012    F      0006E7713A          20             unknown
        K372               FP191               11 Jul 2012    F      0007138363          14              FP187
        K373               FP175               18 Jul 2012    F      0006F3D4BC          14             unknown
        K374               FP175               18 Jul 2012   M       0006F3E3A0          14             unknown
        K375               FP175               18 Jul 2012   M       0006E7876A          14             unknown
        K376               FP180               6 Aug 2012    M       0006E3AF4C          18             unknown
        K377               FP180               6 Aug 2012    M       0007136BD2          18             unknown
        K378               FP180               6 Aug 2012    M       0007137F02          18             unknown
        K379               FP198               9 Oct 2012    M       0006F3F8DC          12              FP197
        K380               FP198               9 Oct 2012    M       0006EE4539          12              FP197
        K381               FP198               9 Oct 2012    M       0006E78830          12              FP197
        K382               FP198               9 Oct 2012     F      0006E76595          12              FP197
        K383               FP161               11 Dec 2012   M       0006959E24          16             unknown
        K384               FP161               11 Dec 2012    F      0006E373C9          16             unknown
        K385               FP151               2 Jan 2013     F      000695A4ED          17             unknown     18 Feb 2015     FP240
        K386               FP151               2 Jan 2013     F      000695830A          17             unknown
        K387               FP192               26 Feb 2013   M       0007138FC0          19             unknown
        K388               FP192               26 Feb 2013   M       0006957EEB          19             unknown
        K389               FP148              10 Mar 2013    M       0006F3D86E          18             unknown
        K390               FP148              10 Mar 2013     F      0006E7807F          18             unknown
        K391               FP148              10 Mar 2013     F      0006EE3A7F          18             unknown
        K392               FP215              21 Mar 2013     F      0006E777C2          13             unknown
        K393               FP215              21 Mar 2013     F      0006E76F0F          13             unknown
        K394               FP218              23 May 2013    M       0006E766AC          14             unknown
        K395               FP218              23 May 2013    M       0006EE21A2          14             unknown
        K396               FP218              23 May 2013     F      0006F3FA62          14             unknown
        K397               FP218              23 May 2013     F      0006E75162          14             unknown




Appendix II
                                                                                                                                                55
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 382 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K398                FP219               22 Jun 2013    F      0006E75AD7           30          unknown
        K399               FP213               10 Sep 2013    F      0006F3C3B4          21             unknown
        K400               FP213               10 Sep 2013   M       0006F3D29F          21             unknown
        K401               FP199               28 Sep 2013    F      0006E75E37          21             unknown
        K402               FP199               28 Sep 2013   M       0006E7833D          21             unknown
        K403               FP198               11 Dec 2013    F      0006F3D86D         18-20             159
        K404               FP198               11 Dec 2013   M       0006327768         18-20             159
        K405               FP198               11 Dec 2013   M       0001D278E9         18-20             159
        K406               FP220              13 Mar 2014     F      0006959321         21+             unknown
        K407               FP220              13 Mar 2014    M       0006959907         21+             unknown
        K408               FP220              13 Mar 2014     F      0007136A30         21+             unknown
        K409               FP178              22 Mar 2014     F      0006E752BD          17             unknown
        K410               FP178              22 Mar 2014    M       0006E75237          17             unknown
        K411               FP215              29 Mar 2014    M       0006E7740A          21             unknown
        K412               FP215              29 Mar 2014     F      0006E759F2          21             unknown
        K413               FP162               10 Apr 2014   M       00071386E3         28-35           unknown
        K414               FP162               10 Apr 2014    F      00071396F8         28-35           unknown
        K415               FP162               10 Apr 2014   M       0006E398E0         28-35           unknown
        K416               FP217               15 Apr 2014    F      0006F3DB91          6              unknown
        K417               FP217               15 Apr 2014   M      00066E75239          6              unknown
        K418               FP213               30 Apr 2014    F      0006EE38CC          21             unknown
        K419               FP213               30 Apr 2014   M       0006E75165          21             unknown
        K420               FP213               30 Apr 2014    F      0006E75309          21             unknown
        K421               FP229               7 May 2014    M       0006E7870C          14             unknown
        K422               FP229               7 May 2014    M       0006F3F496          14             unknown
        K423               FP229               7 May 2014     F      0006E7577A          14             unknown
        K424               FP221              31 May 2014    M       00069599FB          14             unknown
        K425               FP221              31 May 2014    M       0007135E88          14             unknown
        K426               FP222               24 Jun 2014   M       0006DE76D4          9              unknown




Appendix II
                                                                                                                                                56
                                 Case 1:21-cv-00119-RDM             Document 149-2     Filed 01/12/24      Page 383 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                     ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID    AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K427                FP222               24 Jun 2014    F      0006E7796A           9           unknown
        K428               FP222               24 Jun 2014    F      0006DE5FB4          9              unknown
        K429               FP162               17 Aug 2014   M       0006957D11          12             unknown
        K430               FP162               17 Aug 2014   M       00071386FA          12             unknown
        K431               FP162               17 Aug 2014    F      0007138A25          12             unknown
        K432               FP219               22 Sep 2014    F      0006EE2F81          23             unknown
        K433               FP219               22 Sep 2014    F      0006F3FCOE          23             unknown
        K434               FP219               22 Sep 2014    F      0006E7DCDC          23             unknown
        K435               FP226               12 Oct 2014    F      0006E75367          12              FP177
        K436               FP226               12 Oct 2014    F      0006E77032          12              FP177
        K437               FP224               1 Feb 2015    M       0006E773F9          17             unknown
        K438               FP224               1 Feb 2015    M       0006EE1F04          17             unknown
        K439               FP224               1 Feb 2015     F     0006DE7DD9           17             unknown
        K440               FP224               1 Feb 2015    M       0006EE4A0B          17             unknown
        K441               FP192              23 Mar 2015    M       00074FFB31          18             unknown
        K442               FP192              23 Mar 2015    M       000728A80A          18             unknown
        K443               FP240               10 Jun 2015    F      00071366D8          12              FP187
        K444               FP240               12 Jun 2015   M       0007137658          14              FP187
        K445               FP240               12 Jun 2015   M       0007135F8F          14              FP187
        K446               FP199               12 Jun 2015   M       0006E78648          21             unknown
        K447               FP199               12 Jun 2015   M       0006E77B7E          21             unknown
        K448               FP180               17 Sep 2015    F      000728885D          19             unknown
        K449               FP180               17 Sep 2015   M       0006E3B8D0          19             unknown
        K450               FP198               28 Oct 2015    F      0006E75DB5          11             unknown
        K451               FP198               28 Oct 2015   M       0006E7672F          11             unknown
        K452               FP214               3 Mar 2016    M       00074F8594          20             unknown
        K453               FP214               3 Mar 2016    M       00071371B1          20             unknown
        K454               FP185               9 Mar 2016     F      0006DE7EDE          12             unknown
        K455               FP185               9 Mar 2016     F      0006E78822          12             unknown




Appendix II
                                                                                                                                                57
                                 Case 1:21-cv-00119-RDM              Document 149-2     Filed 01/12/24      Page 384 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                      ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID     AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K456                FP185               9 Mar 2016     F      0006E771CB           12           unknown
        K457               FP221              27 Mar 2016    M       00071364A3           25             unknown
        K458               FP221              27 Mar 2016    M       0007136044           25             unknown
        K459               FP180               2 May 2016     F      00072838B8           14             unknown
        K460               FP180               2 May 2016     F      000728E7C8           14             unknown
        K461               FP180               2 May 2016     F      00072875A0           14             unknown
        K462               FP195              10 May 2016    M       0006E7759A           40             unknown
        K463               FP224               5 Oct 2016    M       0006E7774B           12             unknown
        K464               FP224               5 Oct 2016     F      0006F3EE4D           12             unknown
        K465               FP224               5 Oct 2016     F      0006E7796C           12             unknown
        K466               FP214               18 Jan 2017   M       0006E372BC           21             unknown
        K467               FP214               18 Jan 2017   M       0007136CF1           21             unknown
        K468               FP247               13 Apr 2017    F      0006EE357D           10             unknown
        K469               FP247               13 Apr 2017   M       0006E7568C           10             unknown
        K470               FP247               13 Apr 2017   M       0006EE23A4           10             unknown
        K471               FP199               25 Apr 2017    F      0006EE2125           8              unknown
        K472               FP199               25 Apr 2017    F      0006E78ADA           8              unknown
        K473               FP199               25 Apr 2017   M       0006EE4C2B           8              unknown
        K474               FP224               16 Jun 2017   M       0006E7647F           17             unknown     10 Apr 2018     FP251
        K475               FP224               16 Jun 2017    F    982000406136604        17             unknown                    PC01144
        K476               FP224               16 Jun 2017   M     982000406139337        17             unknown     10 Apr 2018     FP252
        K477               FP220               22 Jun 2017   M       00072A4331           12             unknown
        K478               FP220               22 Jun 2017    F      00074EFFC5           12             unknown
        K479               FP220               22 Jun 2017   M       000728A726           12             unknown
        K480               FP220               22 Jun 2017    F      0007283EDC           12             unknown
        K481               FP239              19 Aug 2017     F      00075802B7           28             unknown
        K482               FP239              19 Aug 2017    M       00075A5AB8           28             unknown
        K483               FP247               14 Oct 2017    F    982.000406136536       23             unknown
        K484               FP247               14 Oct 2017   M     982.000406137064       23             unknown




Appendix II
                                                                                                                                                 58
                                 Case 1:21-cv-00119-RDM              Document 149-2     Filed 01/12/24      Page 385 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                      ESTIMATED      PURPORTED                      EVENTUAL
     KITTEN ID            DAM ID              DATE MARKED    SEX   TRANSPONDER ID     AGE IN DAYS     FIELD SIRE    DATE COLLARED   PANTHER ID
       K485                FP220               19 Mar 2018    F      00075A5046            29          unknown
        K486               FP220              19 Mar 2018    M       0007283B8E           29             unknown
        K487               FP220              19 Mar 2018     F      0007136BB2           29             unknown
        K488               FP246               16 Jun 2018    F    982.000406135664       26             unknown
        K489               FP246               16 Jun 2018   M     982.000406137233       26             unknown
        K490               FP246               16 Jun 2018   M     982.000406137374       26             unknown
        K491               FP224               18 Aug 2018   M     982.000406138967       18             unknown
        K492               FP224               18 Aug 2018    F    982.000406136985       18             unknown
        K493               FP224               18 Aug 2018   M     982.000406136476       18             unknown
        K494               FP239               22 Feb 2019    F      00075A3E6D           21             unknown
        K495               FP239               22 Feb 2019    F      00075A582C           21             unknown
        K496               FP246              31 Mar 2019     F    982.000406136366       18             unknown
        K497               FP246              31 Mar 2019    M     982.000406136096       18             unknown
        K498               FP256                7 Jul 2019   M     982.000406138780       13             unknown
        K499               FP256                7 Jul 2019   M     982.000406136343       13             unknown
        K500               FP247               13 Aug 2019    F    982.000406139199       15             unknown
        K501               FP247               13 Aug 2019   M     982.000406138659       15             unknown
        K502               FP257               12 Oct 2019   M     982.000406137386       14             unknown
        K503               FP257               12 Oct 2019   M     982.000406139193       14             unknown
        K504               FP257               12 Oct 2019    F    982.000406136057       14             unknown
        K505               FP247               15 Feb 2020   M     982.000406138709       21             unknown
        K506               FP247               2/15/25020     F    982.000406139186       21             unknown
        K507               FP224               18 Feb 2020   M     982.000406138593       12             unknown
        K508               FP224               18 Feb 2020    F    982.000406136097       12             unknown
        K509               FP224               18 Feb 2020   M     982.000406139101       12             unknown
       K510 e P          Unknown              12 May 2020     F    982.000406138824       10             unknown
       K511 e P          Unknown              12 May 2020    M     982.000406135569       10             unknown
       K512 e P          Unknown              12 May 2020    M     982.000406136588       10             unknown
       K513 e P          Unknown              12 May 2020    M     982.000406138478       10             unknown




Appendix II
                                                                                                                                                 59
                                 Case 1:21-cv-00119-RDM                         Document 149-2                   Filed 01/12/24             Page 386 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                                              ESTIMATED              PURPORTED                             EVENTUAL
       KITTEN ID          DAM ID              DATE MARKED        SEX         TRANSPONDER ID                   AGE IN DAYS             FIELD SIRE          DATE COLLARED    PANTHER ID
         K514              FP246               16 Sep 2020        M          982.000406138865                      17                  unknown
         K515              FP246               16 Sep 2020        M          982.000406138729                       17                 unknown
         K516 fP           FP224               29 Jan 2021        F          982.000406136643                       14                 unknown               29 Jan 2021
         K517 fP           FP224               29 Jan 2021        M          982.000406138596                       14                 unknown               29 Jan 2021
         K518 fP           FP224               29 Jan 2021        M          982.000406136968                       14                 unknown               29 Jan 2021
         K519 fP           FP262              23 Mar 2022         F          982.000406136835                       20                 unknown               23 Mar 2022
         K520 fP           FP262              23 Mar 2022         F          982.000406139109                       20                 unknown               23 Mar 2022
         K521 fP           FP262              23 Mar 2022         M          982.000406136786                       20                 unknown               23 Mar 2022

a The remains of a sibling to K24-26 were found at the den site. Condition of the carcass made sex identification impossible.
P




b This kitten was not observed or marked at the den, but was captured at the carcass of the dam on 2/5/1998. Eventually released into the wild as FP69.
P




c
P   This kitten was not observed or marked at the den, but was captured near FP48 and collared as FP75 on 1/11/1999. Reunited with FP48 the following day.
d FP95 was observed with 2 kittens from the air on 1/2, 3/31, and 4/1/2003, verifying that at least 1 littermate of K112 was not recorded on 4/21/2002.
P




e
P   K510-513 were opportunistically discovered on private land and reported to FWC. The dam is unknown.
f These kittens were radiocollared with expandable VHF collars as neonates when they were marked at the den, so they were not assigned a new panther ID.




Appendix II
                                                                                                                                                                                        60
                                 Case 1:21-cv-00119-RDM         Document 149-2        Filed 01/12/24        Page 387 of 585
FWC Florida Panther Annual Report 2022-2023




Appendix III. List of all known dens of radiocollared female Florida panthers and Texas pumas in southern Florida from June 1985 to June
2023. Kitten numbers preceded with “K” indicate natal den was visited. Samples are ordered by female ID and secondarily by year. Data
collected by FWC and BCNP.
                                                                                 MIN NUMBER OF                                     PURPORTED
 PANTHER ID          DEN DATE         LOCATION aP             HABITAT            KITTENS AT DEN   KITTENS HANDLED                  FIELD SIRE
 FP009               Jun 1985         S Golden Gate Estates   Unknown                  1          FP10♂ den not visited            Unknown
 FP009               Jun 1987         FSPSP                   Hardwood hammock         1          den not visited                  FP12
 FP009               May 1989         FSPSP                   Mixed swamp           Unknown       den not visited                  Unknown
 FP009                Jul 1990        FSPSP                   Mixed swamp              2          FP202♂, FP203♂ den not visited   FP37
 FP009               Jun 1993         FSPSP                   Hardwood hammock      Unknown       den not visited                  FP51
 FP011               May 1986         BCNP - Bear Island      Pine/palmetto            3          FP19♀ den not visited            FP12
 FP011               May 1988         BCNP - Bear Island      Pine/palmetto            1          FP29♂ den not visited            FP20
 FP011               Apr 1990         BCNP - Bear Island      Palmetto/oaks            1          ♀(roadkill) den not visited      FP12
 FP011                Jul 1991        Price's                 Unknown                  1          FP47♂ den not visited            FP12
 FP011               Mar 1993         BCNP - Bear Island      Unknown               Unknown       den not visited                  FP12
 FP014               Apr 1989         Long Pine Key           Pine/palmetto            2          FP42♂, den not visited           FP16
 FP014               Mar 1991         Long Pine Key           Pine/palmetto         Unknown       den not visited                  FP16
 FP015               May 1988         Long Pine Key           Vines/ferns           Unknown       den not visited                  FP16
 FP019               Mar 1988         Price's                 Pine/palmetto            4          FP30♂ den not visited            FP13
 FP019                Jul 1989        FPNWR                   Palmetto, myrtle         1          FP43♂ den not visited            FP12
 FP019               Nov 1990         Rock Spring Island      Pine/palmetto            2          FP205♀, FP45♂ den not visited    FP12
 FP019               Mar 1992         NE Hog Pond             Pine/palmetto            2          UCFP21♀, FP53♂ den not visited   FP12
 FP019               May 1994         FPNWR                   Mixed swamp              2          K12♀, K13♀                       FP51
 FP019               Mar 1996         Barfield’s              Cypress swamp            2          K27♀, K28♀                       FP54, FP51
 FP023               Aug 1992         SBCNP-Raccoon Point     Pine/palmetto            2          FP209♀, FP210♂                   FP42
 FP023               Dec 1992         SBCNP-Raccoon Point     Pine/palmetto            1          FP55♀ den not visited            FP42
 FP031               Mar 1989         Catherine Island        Pine/palmetto            3          FP34♂, FP35♂ den not visited     FP12
 FP031                Jul 1990        Regency Farms           Palmetto/myrtle          2          FP201♂, FP204♀ den not visited   FP12
 FP031               Sep 1991         Barfield’s              Palmetto                 2          FP48♀, FP52♀ den not visited     FP12
 FP032               Mar 1989         Catherine Island        Pine/palmetto         Unknown       den not visited                  Unknown
 FP032               May 1992         FPNWR                   Palmetto                 1          FP208♀                           FP12
 FP032               Mar 1996         FPNWR                   Pine/palmetto            1          UCFP24 (Dead ♀)                  Unknown
 FP036               Mar 1990         BCSIR                   Pine/palmetto         Unknown       den not visited                  Unknown
 FP036               May 1991         BCNP - Addition Lands   Palmetto                 2          FP207♂, FP50♂ den not visited    FP26
 FP036               Oct 1993         N of BCSIR              Pine/palmetto            1          den not visited                  FP26, FP34




Appendix III
                                                                                                                                                61
                                    Case 1:21-cv-00119-RDM            Document 149-2        Filed 01/12/24       Page 388 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                       MIN NUMBER OF                                         PURPORTED
 PANTHER ID          DEN DATE         LOCATION aP                   HABITAT            KITTENS AT DEN   KITTENS HANDLED                      FIELD SIRE
 FP036                Jun 1995        Canoe Lake Strand             Mixed swamp           Unknown       den not visited                      FP45
 FP036                Jan 1996        Wilson Cypress                Hardwood hammock         4          K24♀, K25♂, K26♂, UCFP44             FP45
 FP040               Nov 1990         BCNP-Baker's Grade            Hardwood/Schinus         2          FP206♀, FP44♂ den not visited        FP26
 FP040               Mar 1992         BCNP-Baker's Grade            Pine/palmetto            2          FP54♂, K02♂                          FP28
 FP040               May 1993         BCNP-Baker's Grade            Cypress, cabbage         3          K03♂, K04♀, K05♀                     FP26
 FP040                Apr 1997        BCNP - Addition Lands         Pine/palmetto            2          FP69♀, K37♂                          FP45
 FP040               Sep 1995 b P     Unknown                       Unknown                  1          FP60♂, ♀ tracks, den not visited     Unknown
 FP048                Oct 1993        BCNP - Bear Island            Palmetto                 3          K06♂, K07♀, K08♀                     FP12
 FP048                Jun 1995        Dozier Hammock                Palmetto                 2          FP59♂, K17♀                          Unknown
 FP048               Sep 1996         NE Doctor's Hammock           Pine/palmetto            3          FP62♂, FP64♂, UCFP50♂                Unknown
 FP048                Jun 1998        BCNP - Bear Island            Pine/palmetto            2          K51♂, FP75♀                          FP68 or FP45
 FP048                Oct 1999        BCNP - Bear Island            Pine/palmetto            2          K74♀, K75♀(abandoned)                FP63 or FP68
 FP049                Jan 1999        BCNP - Addition Lands         Unknown                  1          K55♂                                 Unknown
 FP049               Aug 2001         BCNP - Addition Lands         Unknown                  1          K107♂                                Unknown
 FP052                Jul 1993        Sadie Cypress                 Palmetto                 2          UCFP23♂ (roadkill) den not visited   FP46
 FP052                Jul 1994        Sadie Cypress                 Hardwood hammock      Unknown       den not visited                      Unknown
 FP055                Apr 1995        BCNP                          Pine/palmetto            2          K14♀, K15♀                           FP42
 FP055               Sep 1997         SBCNP - N Burns Lake          Palmetto                 1          K44♂                                 Unknown
 FP055               Feb 1998         SBCNP - N Monument Lake       Palmetto                 3          FP102♀, K49♀, K50♂                   Unknown
 FP055                Apr 1999        BCNP                          Palmetto                 2          FP87♀, K61♂                          Unknown
 FP055                Jun 2001        SBCNP - NE Airplane Prairie   Palmetto                 1          K104♂                                FP79
 FP055               May 2002         BCNP                          Pine/palmetto            1          K127♀                                FP79
 FP055               Sep 2003         BCNP                          Pine/cabbage          Unknown       den not visited                      Unknown
 FP056                Apr 1994        BCNP-Baker's Grade            Pine/palmetto            3          K09♂, K10♀, K11♂                     Unknown
 FP056                Oct 1995        North BCSIR                   Sawgrass marsh           3          K20♂, K21♂, K22♂                     FP45
 FP056                Jul 1996        North BCSIR                   Fern bed                 2          K29♀, K30♀                           FP45
 FP056               May 1997         BCNP-Baker’s Grade            Unknown                  4          K40♂, K41♀, K43♂, FP67♀              FP45
 FP057                Jun 1998        FSPSP                         Palmetto              Unknown       den not visited                      FP54
 FP061               Mar 1999         Long Pine Key                 Pine/palm                1          FP85♂                                FP16
 FP061               Sep 2002         EVER - East                   Sawgrass marsh           4          K139♀, K140♂, K141♂, K142♀           Unknown
 FP066               Sep 1998         Belle Meade                   Palmetto                 3          K52♂, K53♀, K54♂                     FP72
 FP066               Dec 1999         Private lands                 Hardwood hammock         3          K76♂, K77♀, K78♀                     FP60
 FP067               Aug 2000         Private lands                 Pine/palmetto            2          K84♂, K85♀                           Unknown
 FP067               May 2001         Private lands                 Hardwood hammock         4          K98♀, K99♂, K100♂, K101♂             Unknown




Appendix III
                                                                                                                                                            62
                                    Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 389 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                      MIN NUMBER OF                                   PURPORTED
 PANTHER ID          DEN DATE         LOCATION a
                                               P                  HABITAT             KITTENS AT DEN   KITTENS HANDLED                FIELD SIRE
 FP067               Jun 2002         Private lands               Brazilian pepper          3          FP116♀, K133♂, K134♂           Unknown
 FP069                Jul 1999        BCNP - NE of Baker’s Camp   Hardwood hammock          3          K71♂, K72♀, K73♀               Unknown
 FP070               Jun 1999         SBCNP–NE of Monument Lk     Pine/palmetto             3          FP88♀, FP92♂, FP91♀            FP79
 FP070               May 2004         SBCNP - Turner River Unit   Palmetto/vines            3          K167♀, K168♂, FP161♀           Unknown
 FP071               Jun 1999         BCNP                        Mixed swamp               4          FP90♂, FP86♀, K69♂, K70♀       FP79
 FP073               Aug 1997 c P     BCSIR                       Unknown                   1          FP74♂ den not visited          Unknown
 FP073               Feb 1999         BCSIR                       Pine/palmetto             1          FP84♂ den not visited          Unknown
 FP073               Feb 2002         BCNP - Addition Lands       Pine/palmetto             3          K109♂, K110♂, K111♀            Unknown
 FP075               Apr 2000         Private lands               Hardwood hammock       Unknown       den not visited                Unknown
 FP075               Jun 2001         NBCNP - Bear Island         Pine/palmetto             2          K102♂, K103♂                   FP59
 FP075               May 2002         NBCNP - Bear Island         Pine/palmetto             2          K128♂, K129♂                   FP98, FP100
 FP075               Mar 2004         NBCNP - Bear Island         Pine/palmetto             3          K157♂, K158♂, K159♀            Unknown
 FP075               Aug 2005         NBCNP - Bear Island         Hardwood hammock          4          K192♂, K193♀, K194♀, K195♂     FP135
 FP077               May 2000         BCNP - Addition Lands       Palmetto/vines            3          K81♂, K82♀, K83♂               Unknown
 FP077               Aug 2001         BCNP - Addition Lands       Pine/palmetto             1          K108♂                          Unknown
 FP078               Apr 2000         FPNWR                       Palmetto/oak              2          FP107♀, FP96♂                  FP59
 FP078               Apr 2002         FPNWR                       Palmetto                  4          K117♀, K118♀, K119♀, K120♂     FP59
 FP082               Dec 2000         OSSF                        Unknown                   3          K86♀, K87♀, K88♂               FP65
 FP083               Apr 2002         FSPSP                       Pine/palmetto             1          K123♂                          Unknown
 FP083               Jun 2004         FSPSP                       Pine/palmetto          Unknown       den not visited                Unknown
 FP087                Jan 2001        SBCNP                       Pine/palmetto             3          K89♀, FP108♂, K91♂             FP79
 FP087               Mar 2003         SBCNP - N of Oasis          Pine/palmetto             3          K143♀, K144♂, K145♀            FP79
 FP088               May 2001         SBCNP - Loop Unit           Cypress/ferns             4          K94♂, K95♀, K96♂, K97♀         Unknown
 FP093               Apr 2002         SBCNP - Turner River Unit   Pine/palmetto             4          FP151♀, K114♀, FP119♂, K116♀   FP79
 FP093                Jul 2003        SBCNP - Turner River Unit   Hardwood hammock          3          FP150♀, K153♂, K154♂           FP60
 FP093               Jun 2006         SBCNP - Turner River Unit   Tropical hardwood         3          K211♀, K212♀, K213♀            FP133
 FP093               Feb 2007         SBCNP - Turner River Unit   Pine/palmetto             3          K226♂, FP163♂, FP220♀          Unknown
 FP094               Jun 2006         EVER - CIA hammock          Hardwood hammock          3          K205♀, K206♂, K207♀            Unknown
 FP095               Mar 2002         EVER - Long Pine Key        Pine/palmetto             1          K112♀                          FP85
 FP095               Jun 2006         EVER - Long Pine Key        Hardwood/palmetto         3          K214♀, K215♀, K216♂            Unknown
 FP101               Apr 2002         BCSIR                       Pine/palmetto             2          K121♂, K122♀                   Unknown
 FP101               Apr 2003         Private lands               Pine/palmetto             3          K146♀, K147♂, K148♀            FP65/FP100
 FP102               Jun 2001         SBCNP - Monument Lake       Pine/palmetto             2          K105♂, K106♂                   FP79
 FP102                Jul 2002        SBCNP - Monument Lake       Hardwood hammock          2          K137♀, K138♂                   FP79




Appendix III
                                                                                                                                                    63
                                    Case 1:21-cv-00119-RDM            Document 149-2        Filed 01/12/24       Page 390 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                       MIN NUMBER OF                                 PURPORTED
 PANTHER ID          DEN DATE         LOCATION aP                   HABITAT            KITTENS AT DEN   KITTENS HANDLED              FIELD SIRE
 FP102                Jul 2004        SBCNP - Burns Lake            Hardwood hammock         3          K170♀, K171♂, K172♀          FP79
 FP102               Jun 2006         SBCNP - Turner River Unit     Hardwood hammock         2          K217♂, K218♂                 FP138
 FP102               Jun 2010         SBCNP                         Pine/palmetto            2          K303♂, K304♂                 Unknown
 FP103               Apr 2007         SBCNP - Corn Dance            Hardwood hammock         3          K236♀, K237♀, K238♂          FP127
 FP106               May 2002         FPNWR                         Hardwood hammock         3          K124♀, K125♂, K126♂          Unknown
 FP107               Jun 2002         FPNWR                         Hardwood hammock         2          K135♂, K136♀                 Unknown
 FP107               May 2004         FPNWR                         Hardwood hammock         4          K163♂, K164♂, K165♀, K166♀   Unknown
 FP107               Mar 2005         FPNWR                         Hardwood hammock         2          K180♀, K181♀                 FP119, FP131
 FP107               Feb 2006         FPNWR                         Pine/palmetto            2          K200♀, K201♂                 FP131
 FP107               Apr 2007         FPNWR - Rock Island           Pine/palmetto            3          K247♀, K248♂, K249♀          Unknown
 FP107               Sep 2007         FPNWR                         Pine/palmetto            3          K261♂, K262♂, K263♂          Unknown
 FP110               May 2003         OSSF                          Pine/palmetto            3          K149♀, K150♂, K151♀          Unknown
 FP110               Feb 2005         OSSF                          Pine/palmetto            2          K178♂, K179♀                 Unknown
 FP110               Nov 2005         OSSF                          Hardwood hammock         4          K196♂, K197♂, K198♂, K199♀   Unknown
 FP110               Mar 2007         OSSF                          Pine/palmetto            4          K229♀, K230♂, K231♀, K232♂   FP137
 FP110               Aug 2007         OSSF                          Hardwood hammock         2          K257♂, K258♂                 Unknown
 FP110               Nov 2007         OSSF-Dog Island               Palmetto              Unknown       den not visited              Unknown
 FP110               Aug 2010         OSSF                          Palmetto                 3          K312♀, K313♀, K314♂          Unknown
 FP110               Dec 2011         OSSF                          Pine/palmetto            2          K343♀, K344♀                 Unknown
 FP112               Jun 2002         NBCNP - Bear Island           Pine/palmetto            2          K130♂, K131♂                 FP98, FP100
 FP113               Aug 2004         FPNWR                         Pine/palmetto         Unknown       UCFP67                       Unknown
 FP113               Apr 2005         FPNWR                         Pine/palmetto            2          K185♀, K186♀                 FP131, FP133
 FP113               Mar 2007         FPNWR                         Hardwood hammock         3          K233♀, K234♂, K235♂          FP119
 FP113               Apr 2009 d P     FPNWR                         Unknown                  1          1 kitten via remote camera   Unknown
 FP113                Jul 2010        Barron Collier, N. of FPNWR   Pine Palmetto            3          K307♀, K308♂, K309♀          Unknown
 FP113               Mar 2011         Barron Collier, N. of FPNWR   Pine Palmetto            1          K321♂                        Unknown
 FP113               Aug 2011         Barron Collier, N. of FPNWR   Pine Palmetto            1          K342♀                        Unknown
 FP116               Apr 2004         Hendry Co. Gum Swamp          Hardwood hammock         3          K160♀, K161♀, K162♂          FP65
 FP116               May 2005         NBCNP- Addition Lands         Pine/palmetto            3          K187♂, K188♀, K189♂          Unknown
 FP120                Jan 2004        SBCNP - Turner River Unit     Pine/palmetto            2          K155♀, K156♂                 Unknown
 FP121               Aug 2004         BCSIR                         Pine/palmetto            1          K173♀                        Unknown
 FP121               Feb 2006         BCSIR                         Pine/palmetto            3          K202♀, K203♂, K204♂          Unknown
 FP124               Sep 2004         SBCNP - Stairsteps            Pine/palmetto            1          K174♂                        Unknown
 FP124                Jan 2005        SBCNP - Pinecrest             Pine/palmetto            3          K175♂, K176♂, K177♀          Unknown




Appendix III
                                                                                                                                                    64
                                    Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24      Page 391 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                             MIN NUMBER OF                                 PURPORTED
 PANTHER ID          DEN DATE         LOCATION aP                     HABITAT                KITTENS AT DEN   KITTENS HANDLED              FIELD SIRE
 FP124               Feb 2007         SBCNP - Stairsteps              Cypress/hardwood             2          K224♂, K225♂                 Unknown
 FP128               Jun 2005         BCSIR                           Pine/palmetto                2          K190♂, K191♂                 Unknown
 FP128               May 2007         Stirelli property - Add Lands   Palmetto/fern                3          K250♂, K252♂, K252♀          Unknown
 FP129               Apr 2005         SBCNP- Corn Dance               Unknown                      3          K182♀, K183♂, K184♂          Unknown
 FP140               Nov 2006         FPNWR                           Hardwood hammock             2          K219♀, K220♂                 FP119
 FP140               May 2008         FPNWR                           Cypress/ferns                2          K266♂, K267♂                 FP154
 FP145               Jun 2006         SBCNP -Deep Lake                Pine/palmetto                3          K208♀, K209♀, K210♀          FP138
 FP145               Apr 2007         SBCNP - Deep Lake               Hardwood hammock             3          K244♂, K245♂, K246♀          FP133
 FP145               Feb 2010         SBCNP                           Palmetto                     3          K291♀, K292♂, K293♀          Unknown
 FP145               Jun 2011         SBCNP                           Palmetto                     3          K337♂, K338♀, K339♀          Unknown
 FP145               Feb 2012         SBCNP- Deep Lake                Hardwood hammock             3          K345♂, K346♀, K347♂          Unknown
 FP148                Jan 2007        Belle Meade-PSSF                Palmetto                     3          K221♀, K222♂, K223♀          FP146
 FP148               Apr 2010         Belle Meade-PSSF                Pine/palmetto                3          K297♀, K298♀, K299♂          Unknown
 FP148                Jan 2011        Belle Meade-PSSF                Cypress swamp/ferns          2          K315♂, K316♂                 Unknown
 FP148               Mar 2013         Belle Meade-PSSF                Cypress swamp/ferns          3          K389♂, K390♀, K391♀          Unknown
 FP149               Apr 2007         PSSF                            Bracken fern                 2          K239♀, K240♀                 Unknown
 FP150                Jul 2007        SBCNP                           Palmetto                     4          K253♂, K254♀, K255♀, K256♀   Unknown
 FP151               Apr 2007         SBCNP- Turner River             Palmetto                     3          K241♂, K242♀, K243♀          Unknown
 FP151               Aug 2007         SBCNP                           Palmetto                     2          K259♂, K260 unknown sex      Unknown
 FP151               Mar 2008         SBCNP-Turner River              Palmetto                     2          K264♀, K265♂                 Unknown
 FP151               Jun 2011         SBCNP-Turner River              Palmetto                     2          K340♀, K341♂                 FP187
 FP151                Jan 2013        SBCNP-Turner River              Palmetto                     2          K385♀, K386♀                 Unknown
 FP153                Jul 2008        SBCNP-Turner River              Palmetto                     3          K274♀, K275♂, K276♂          Unknown
 FP153                Jul 2009        SBCNP                           Hardwood hammock             2          K281♂, K282♂                 Unknown
 FP153               Feb 2012         SBCNP- Turner River             Saw Palmetto                 4          K348♂, K349♂, K350♂, K351♂   Unknown
 FP158               Jun 2008         CSSP                            Pepper/climbing fern         4          K270♀, K271♂, K272♂, K273♂   FP146
 FP158               Apr 2010 e P     PSSF                            Pine/palmetto                2          kittens not handled          Unknown
 FP160               Oct 2008         Jack-In-The-Box Ranch CREW      Hardwood hammock          Unknown       Den not visited              Unknown
 FP161               Feb 2009         SBCNP                           Palmetto                     3          K277♂, K278♂, K279♀          Unknown
 FP161               May 2010         SBCNP                           Pine/palmetto                3          K300♂, K301♀, K302♀          Unknown
 FP161               Apr 2012         SBCNP-Turner River              Pine/Palmetto                4          K357♀, K358♂, K359♂, K360♀   Unknown
 FP161               Dec 2012         SBCNP-Turner River              Pine/palmetto                2          K383♂, K384♀                 Unknown
 FP162               May 2008         SBCNP-Turner River              Hardwood hammock             2          K268♀, K269♂ (both dead)     FP138
 FP162               Apr 2009         SBCNP                           Hardwood hammock             1          K280♀                        Unknown




Appendix III
                                                                                                                                                        65
                                    Case 1:21-cv-00119-RDM                  Document 149-2          Filed 01/12/24      Page 392 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                               MIN NUMBER OF                                 PURPORTED
 PANTHER ID          DEN DATE           LOCATION aP                      HABITAT               KITTENS AT DEN   KITTENS HANDLED              FIELD SIRE
 FP162               Mar 2010           SBCNP                            Hardwood hammock            3          K294♂, K295♀, K296♀          FP133
 FP162               Apr 2011           SBCNP                            Palmetto                    4          K322♀, K323♂, K324♂, K325♂   Unknown
 FP162                Jun 2012          SBCNP                            Palmetto                    2          K367♂, K368♀                 FP187
 FP162               Apr 2014           SBCNP                            Hardwood hammock            3          K413♂,K414♀, K415♂           Unknown
 FP162               Aug 2014           BCNP-Turner River                Palmetto                    3          K429♂, K430♂, K431♀          Unknown
 FP168                Jul 2009          CREW-Flint Pen                   Pine/palmetto/fern          2          K283♂, K284♂                 Unknown
 FP170                Jul 2009          PSSF                             Cabbage Palm/shrub          3          K285♂. K286♂, K287♀          Unknown
 FP172               Feb 2010           NBCNP- Addition Lands            Palmetto                    3          K288♂. K289♂, K290♂          Unknown
 FP175               Aug 2010           NBCNP, Bear Island               Pine/palmetto               2          K310♀, K311♀                 Unknown
 FP175                Jan 2011          NBCNP, Bear Island               Palmetto/pine scrub         2          K319♂, K320♀                 Unknown
 FP175                Jul 2012          NBCNP, Bear Island               Hardwood hammock            3          K373♀, K374♂, K375♂          Unknown
 FP178                Jun 2010          NBCNP, Bear Island               Pine/palmetto               2          K305♂, K306♂                 Unknown
 FP178                Jan 2011          NBCNP, Bear Island               Palmetto/oak scrub          2          K317♂, K318♂                 Unknown
 FP178                Jul 2012          NBCNP, Bear Island               Pine/palmetto               3          K369♀, K370♀, K371♀          Unknown
 FP178               Mar 2014           Bear Island, south of E Hinson   Pine/palmetto               2          K409♀, K410♂                 Unknown
 FP180               Mar 2011 f     P   SBCNP                            Unknown                     2          den not visited              Unknown
 FP180               Aug 2012           SBCNP-Deep Lake Unit             Hardwood/fern               3          K376♂, K377♂, K378♂          Unknown
 FP180               Sep 2015           SBCNP-Deep Lake Unit             Saw Palmetto                2          K448♀, K449♂                 Unknown
 FP180               May 2016           SBCNP-Deep Lake Unit             Palmetto                    3          K459♀, K460♀, K461♀          Unknown
 FP182               Apr 2011           SBCNP                            Hardwood scrub              4          K330♂, K331♂, K332♀, K333♂   Unknown
 FP184               Apr 2011           NBCNP, Addition Lands            Saw Palmetto                4          K326♂, K327♂, K328♀, K329♂   Unknown
 FP185               Mar 2016           Immokalee Ranch                  Palmetto                    3          K454♀, K455♀, K456♀          Unknown
 FP188               May 2011           Troyer Bros., Lee County         Cypress/ferns               3          K334♀, K335♂, K336♂          Unknown
 FP190               May 2012           SBCNP-Raccoon Point              Oak Palmetto                3          K361♀, K362♂, K363♀          Unknown
 FP191               Mar 2012           SBCNP- Turner River              Pine Island                 1          K353♂                        Unknown
 FP191                Jul 2012          SBCNP- Turner River              Pine Island                 1          K372♀                        FP187
 FP192               Apr 2012           SBCNP-Corn Dance Unit            Hardwood/Fern               3          K354♂, K355♂, K356♂          Unknown
 FP192               Feb 2013           SBCNP-Corn Dance Unit            Pine-Hardwood               2          K387♂, K388♂                 Unknown
 FP192               Mar 2015           SBCNP-Corn Dance Unit            Pine/palmetto               2          K441♂, K442♂                 Unknown
 FP195               Mar 2012           PSSF                             Pine/palmetto               1          K352♂                        Unknown
 FP195                Jan 2014          FPNWR                            Sawgrass                    1          UCFP205♂                     Unknown
 FP195               Sep 2014 g P       SE Golden Gate Estates           Hardwood hammock            2          den not visited              Unknown
 FP195               Apr 2016           PSSF                             Pine cabbage/fern           1          K462♂                        Unknown
 FP198               Oct 2012           Corkscrew Water Treat Plant      Cogan grass                 4          K379♂, K380♂, K381♂, K382♀   FP197




Appendix III
                                                                                                                                                          66
                                 Case 1:21-cv-00119-RDM                  Document 149-2          Filed 01/12/24      Page 393 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                            MIN NUMBER OF                                  PURPORTED
 PANTHER ID          DEN DATE         LOCATION aP                     HABITAT               KITTENS AT DEN   KITTENS HANDLED               FIELD SIRE
 FP198               Dec 2013         LCPA Mitigation Land            Palmetto                    3          K403♀, K404♂, K405♂           FP159
 FP198               Oct 2015         FL Rock, N of LCPA              Palmetto, Grapevine         2          K450♀, K451♂                  Unknown
 FP199               Sep 2013         NBCNP - Addlands                Hardwood/fern               2          K401♀, K402♂                  Unknown
 FP199               Jun 2015         NBCNP- Addlands                 Hardwood/fern               2          K446♂, K447♂                  Unknown
 FP199               Apr 2017         NBCNP-Addlands                  Hardwood/fern               3          K471♀, K472♀, K473♂           Unknown
 FP213               Jun 2012         OSSF- 4 Sections                Palmetto                    3          K364♂, K365♀, K366♂           Unknown
 FP213               Sep 2013         OSSF- 4 Section                 Hardwood hammock            2          K399♀, K400♂                  Unknown
 FP213               Apr 2014         Alico Ranch south of Keri Rd.   Sawgrass                    3          K418♀, K419♂, K420♀           Unknown
 FP214               Mar 2016         SBCNP-Turner River              Palmetto                    2          K452♂, K453♂                  Unknown
 FP214               Dec 2016         SBCNP-Turner River              Palmetto                    2          K466♂, K467♂                  Unknown
 FP215               Mar 2013         Barron Collier                  Pine/palmetto               2          K392♀, K393♀                  Unknown
 FP215               Mar 2014         Barron Collier                  Shrub/brush                 2          K411♂,K412♀                   Unknown
 FP217               Apr 2014         OSSF- 4 Section                 Pine/palmetto               2          K416♀, K417♂                  Unknown
 FP218               May 2013         Alico North of Keri Rd          Palmetto                    4          K394♂, K395♂, K396♀ , K397♀   Unknown
 FP219               Jun 2013         FSPSP                           Maple Fern                  1          K398♀                         Unknown
 FP219               Sep 2014         Naples National Golf Course     Pine/palmetto               3          K432♀, K433♀, K434♀           Unknown
 FP220               Mar 2014         SBCNP-Turner River              Palmetto                    3          K406♀, K407♂, K408♀           Unknown
 FP220               Jun 2017         SBCNP-Turner River              Palmetto                    4          K477♂, K478♀, K479♂, K480♀    Unknown
 FP220               Feb 2018         SBCNP-Turner River              Pine/palmetto               3          K485♀, K486♂, K487♀           Unknown
 FP221               May 2014         SBCNP-Turner River              Palmetto                    2          K424♂, K425♀                  Unknown
 FP221               Mar 2016         SBCNP-Turner River              Palmetto                    2          K457♂, K458♂                  Unknown
 FP222               Jun 2014         Barron Collier                  Palmetto                    3          K426♂, K427♀, K428♀           Unknown
 FP224               Feb 2015         North Belle Meade               Pine/palmetto               4          K437♂, K438♂, K439♀, K440♂    Unknown
 FP224               Oct 2016         North Belle Meade               Pine/palmetto               3          K463♂, K464♀, K465♀           Unknown
 FP224               Jun 2017         North Belle Meade               Pine/palmetto               3          FP251♂, K475♀, FP252♂         Unknown
 FP224               Aug 2018         North Belle Meade               Pine/palmetto               3          K491♂, K492♀, K493♂           Unknown
 FP224               Feb 2020         North Belle Meade               Pine/palmetto               3          K507♂, K508♀, K509♂           Unknown
 FP224                Jan 2021        North Belle Meade               Fern                        3          K516♀, K517♂, K518♂           Unknown
 FP226               Oct 2014         NBCNP- Addlands                 Fern/palmetto               2          K435♀, K436♀                  FP177
 FP229               May 2014         NBCNP- Addlands                 Sawgrass                    3          K421♂, K422♂, K423♀           Unknown
 FP239                Jul 2017        SBCNP-Turner River              Pine/palmetto               2          K481♀, K482♂                  Unknown
 FP239               Feb 2019         SBCNP-Turner River              Pine/palmetto               2          K494♀, K495♀                  Unknown
 FP240               Jun 2015         SBCNP-Turner River              Palmetto                    3          K443♀, K444♂, K445♂           FP187
 FP246               Jun 2018         Immokalee Ranch                 Palmetto                    3          K488♀, K489♂, K490♂           Unknown




Appendix III
                                                                                                                                                        67
                                   Case 1:21-cv-00119-RDM                    Document 149-2                  Filed 01/12/24              Page 394 of 585
FWC Florida Panther Annual Report 2022-2023




                                                                                                     MIN NUMBER OF                                                      PURPORTED
            PANTHER ID     DEN DATE    LOCATION aP                       HABITAT                     KITTENS AT DEN           KITTENS HANDLED                           FIELD SIRE
            FP246          Mar 2019    Immokalee Ranch                   Palmetto                          2                  K496♀, K497♂                              Unknown
            FP246          Sep 2020    Immokalee Ranch                   Palmetto                          2                  K514♂, K515♂                              Unknown
            FP247          Apr 2017    Immokalee Ranch                   Agr/exotic grass                  3                  K468♀, K469♂, K470♂                       Unknown
            FP247          Oct 2017    Immokalee Ranch                   Palmetto                          2                  K483♀, K484♂                              Unknown
            FP247          Aug 2019    Immokalee Ranch                   Palmetto                          2                  K500♀, K501♂                              Unknown
            FP247          Feb 2020    Immokalee Ranch                   Hardwood Hammock                  2                  K505♂, K506♀                              Unknown
            FP256           Jul 2019   Trafford Oaks Road                Fern                              2                  K498♂, K499♂                              Unknown
            FP257          Oct 2019    Wild Turkey Preserve              Palmetto                          2                  K502♂, K503♂, K504♀                       Unknown
            FP262          Mar 2022    Naples National Golf Course       Mixed Swamp                       3                  K519♀, K520♀, K521♂                       Unknown
            Uncollared h
                      P    May 2020    Mills Ranch                       Pine/palmetto                     4                  K510♀, K511♂, K512♂, K513♂                Unknown
            TX101          Sep 1995    BCSIR                             Pine/palmetto                     2                  FP73♀, FP79♂                              Unknown
            TX101          Dec 1996    BCSIR                             Palmetto/oak                      2                  FP65♂, FP66♀                              FP45
            TX105          Aug 1996    EVER - Long Pine Key              Tropical hardwood                 1                  K34♀                                      FP16
            TX105           Jul 1999   EVER - Long Pine Key              Brazilian pepper                  1                  FP94F1♀ den not visited                   FP16
            TX106          Nov 1995    S Golden Gate Estates             Cypress/mixed                     1                  K23♀                                      FP51
            TX106          Feb 1998    N Golden Gate Estates             Vines/cabbage                     1                  K47♂                                      FP54, FP59
            TX106          Jun 1999    PSSF                              Cabbage                           2                  K62♀, FP83♀                               FP54
            TX106          Mar 2001    FPNWR                             Pine/palmetto                     2                  K92♀, FP181♂                              FP60
            TX107          Apr 1997    SBCNP - N of Oasis                Pine/palmetto                     2                  FP70♀, FP71♀                              Unknown
            TX107          Feb 1999    SBCNP - N of Buckskin Prairie     Pine/palmetto                     3                  FP191♀, K57♂, FP93♀                       FP79
            TX108          Jun 1996    EVER - Long Pine Key              Tropical hardwood                 1                  FP61♀ den not visited                     FP16
            TX108           Jan 1998   EVER - Long Pine Key              Tropical hardwood                 2                  FP95♀, K46♂                               FP16
a BCNP = Big Cypress National Preserve; BCSIR = Big Cypress Seminole Indian Reservation; CREW = Corkscrew Regional Ecosystem Watershed; CSSP = Collier-Seminole State Park; EVER = Everglades
P       P




National Park; FPNWR = Florida Panther National Wildlife Refuge; FSPSP = Fakahatchee Strand Preserve State Park; LCPA = Lee County Port Authority Mitigation Area; NBCNP = Big Cypress National
Preserve north of Interstate 75; OSSF = Okaloacoochee Slough State Forest; PSSF = Picayune Strand State Forest/Wildlife Management Area; SBCNP = Big Cypress National Preserve south of Interstate
75.
b FP40 had lost her collar when her kitten FP60 was captured at 6 months of age on 6 March 1996. Den is assumed to have dated to September 1995.
P       P




c FP73 was marked as a kitten then captured with her 15month old kitten FP74 on 12 November 1998. Den is assumed to have dated to August 1997.
P       P




d FP113 den in April 2009 was not documented by FWC during routine monitoring. A 4-month-old kitten was photographed with FP113 on 28 July 2009 via trail camera on FPNWR.
P       P




e FP158 den in April 2010 was visited by FWC, but kittens were not sampled or marked. This litter subsequently failed with the death of FP158 on 22 May 2010.
P       P




f
P FP180 den in March 2011 was not documented by BCNP staff. A visual was obtained of FP180 with two 4-month-old kittens on 8 July 2011 during routine aerial telemetry monitoring.
    P




g FP195 den in September 2014 was not documented by FWC after repeated attempts at locating the site. Video of FP195 with two kittens crossing under I75 from FPNWR verified litter in June 2015.
P       P




h K510-513 were opportunistically discovered on private land and reported to FWC. The dam is unknown.
P




Appendix III
                                                                                                                                                                                               68
                                 Case 1:21-cv-00119-RDM               Document 149-2                      Filed 01/12/24   Page 395 of 585
FWC Florida Panther Annual Report 2022-2023




Appendix IV. Florida panther and Texas puma mortalities, injuries, and removals to captivity sorted by year through 30 June 2023. Data
collected by FWC and BCNP. Ages are estimated unless panthers were handled as kittens at natal dens. Age values are in years unless noted
otherwise.
 DATE               PANTHER ID                SEX   AGE            LOCATION a P                                            CAUSE
 Circa 1940s        UCFP01                    U     Unknown        Immokalee, Collier Co.                                  Preserved skin, skull and bones
 Circa 1954         UCFP47                    U     Unknown        Rocky Lake, Hendry Co.                                  Taxidermy pelt from hunted specimen
 13 Feb 1972        UCFP28                    M     2 to 3         SR 25 S of Moore Haven                                  Vehicle
 8 Mar 1978         UCFP02                    M     2 to 3         L-28, Dade Co.                                          Illegally shot
 1 Feb 1979         UCFP03                    M     unknown        US 41, Gannet Strand                                    Unknown
 23 Dec 1979        UCFP04-(G80-4)            F     1.5 to 2.5     SR 29 just N SR 84 (now I-75)                           Vehicle
 7 Feb 1980         UCFP05-(G80-15)           M     1.5 to 2.5     SR 29 near Sunniland                                    Vehicle
 19 Apr 1981        UCFP06-(G81-19)           F     2 to 3         SR 29 near Copeland                                     Vehicle
 16 Apr 1982        FP06                      M     6 to 7         SBCNP                                                   Trauma-Unknown
 17 Jan 1983        FP03                      F     9+             FSSP                                                    Capture
 18 Mar 1983        UCFP09-(G83-22)           M     2 to 3         US 27 Palmdale                                          Vehicle
 22 May 1983        UCFP10                    F     adult          L-8 canal near Canal Point, Palm Beach Co.              Illegally shot
 18 Nov 1983        FP05                      F     8 to 9         Fakahatchee Conservation Club (now FPNWR)               Unknown
 1 Dec 1983         UCFP08                    M     3 to 6         BCSIR                                                   Illegally shot
 14 Dec 1983        FP01                      M     12 to 14       SR 84 (now I-75)                                        Vehicle
 28 Nov 1984        FP02                      M     14+            FSSP                                                    Intraspecific aggression
 30 Oct 1984        UCFP11                    F     2 to 3         Corbett WMA, Palm Bch. Co. (Elmer Brooker)              Illegally shot
 2 Nov 1984         BIG GUY (FP200)           M     2 to 4         US 41 near Turner River                                 Vehicle - injured
 12 Nov 1984        UCFP12-(G84-26)           F     8 to 10        SR 84 (now I-75)                                        Vehicle
 8 Jan 1985         UCFP13-(G85-BNZ)          F     1.5 to 2       SR 84 (now I-75)                                        Vehicle
 23 Mar 1985        UCFP14                    F     2 to 3         Collier Seminole State Park, Collier Co.                Illegally shot (skeleton)
 18 Apr 1985        FP04                      M     12+            SR 84 (now I-75)                                        Vehicle
 12 May 1985        NONE                      F     UNK            CR 951, 2 miles N of US 41                              Vehicle - injured
 26 Oct 1985        FP07                      M     10             SR 29, 4 miles S of SR 84 (now I-75)                    Vehicle
 1 Jan 1986         FP09                      F     3 to 4         Golden Gate Estates, S of SR 84 (now I-75)              Illegally shot (not fatal)
 15 Nov 1986        UCFP15                    F     4 to 5         SR 84 (now I-75)                                        Vehicle
 27 Jan 1987        FP10                      M     16 to 20 mo.   Mud Lake Strand, now FPNWR                              Intraspecific aggression - by adult male panther
 17 Jun 1987        FP20                      M     3 to 4         CR 858 .8 miles E of SR 29                              Vehicle - injured
 14 Dec 1987        FP13                      M     6 to 8         SR 29 Sunniland                                         Vehicle
 19 Dec 1987        UCFP17                    M     3              Crane Swamp, Farmton WMA, Volusia Co.                   Unknown (skeletal remains)
 10 Jun 1988        FP15                      F     7 to 8         EVER                                                    Instraspecific aggression




Appendix IV
                                                                                                                                                                              69
                                 Case 1:21-cv-00119-RDM           Document 149-2                 Filed 01/12/24   Page 396 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE        LOCATION a P                                       CAUSE
 23 Jul 1988        FP21                      F     2.5        1 mile E of US1 on Palm Drive                      Vehicle - injured
 20 Aug 1988        FP08                      F     13 to 15   Gainesville                                        Liver failure (old age)
 22 Aug 1988        FP24                      M     3 to 5     Glades Co. near Palmdale                           Unknown
 24 Aug 1988        FP20                      M     4 to 5     Bear Island                                        Congenital heart defect
 26 Aug 1988        FP25                      M     4 to 5     FPNWR                                              Intraspecific aggression - bacterial infection
 29 Nov 1988        FP28                      M     1.5 to 2   Near Daniels Road, RSW Airport                     Vehicle - injured
 25 Jan 1989        UCFP18                    M     3          CR 850, 1.5 miles S of SR 82                       Vehicle
 23 Jul 1989        FP27                      M     3 to 4     EVER                                               Unknown
 25 Nov 1989        FP33                      M     3          2 mi. NW of Hendry Prison                          Rabies
 24 Jan 1990        FP35                      M     10 mo.     Gainesville                                        Capture-related abandonment (infection)
 29 Jan 1990        FP30                      M     22 mo.     FSSP                                               Intraspecific aggression- killed by FP37
 18 Jun 1990        UCFP19                    M     10 mo.     CR 835, 1 mile E of CR 833                         Vehicle
 18 Jun 1990        FP39                      M     3 to 4     EVER                                               Pyothorax
 23 Jul 1990        FP17                      M     9          NBCNP, near Tangerine Camp                         Unknown
 26 Sep 1990        FP41                      F     2          W of BCSIR, Hendry Co.                             Intraspecific aggression- killed by FP28
 3 Oct 1990         FP18                      F     9          S of CR 846 near Rocky Lake, Hendry Co.            Intraspecific aggression- killed by FP28
 26 Nov 1990        FP37                      M     4 to 5     SR 29, 0.5 miles N of I-75                         Vehicle
 4 Feb 1991         UCFP20                    F     9 mo.      SR 29, at Pistol Pond                              Vehicle
 20 Jun 1991        FP14                      F     10 to 11   EVER                                               Unknown-suspect renal failure
 20 Jul 1991        FP22                      F     5          EVER                                               Infection
 1 Nov 1991         FP43                      M     2          BCSIR, Hendry Co.                                  Intraspecific aggression - killed by FP26
 7 Apr 1992         NONE                      M     Unknown    Alico Road, Lee Co.                                Vehicle - injured
 27 May 1992        FP29                      M     4          Hendry Co., Gum Swamp                              Pseudorabies
 25 Sep 1992        FP28                      M     5.5        BCSIR, Hendry Co.                                  Intraspecific aggression - possibly killed by FP26
 9 Nov 1992         UCFP21                    F     7 mo.      SR 29, Sunniland                                   Vehicle
 19 Feb 1993        FP47                      M     18 mo.     FSSP                                               Intraspecific aggression - killed by FP51
 26 Feb 1993        FP53                      M     11 mo.     Private lands N of FPNWR                           Intraspecific aggression-killed, eaten by uncollared male
 6 Jul 1993         FP44                      M     2.5        SBCNP, Raccoon Pt.                                 Intraspecific aggression-killed by FP42
 9 Aug 1993         UCFP22                    M     2 to 3     Daniels Rd, 1 mile E of I-75                       Vehicle
 15 Nov 1993        FP34                      M     5          SE Hendry Co. near L28 W feeder canal              Bacterial infection from lacerated esophagus
 6 Dec 1993         FP50                      M     2.5        CR 846, 5 miles E of Immokalee                     Vehicle
 28 Feb 1994        UCFP23                    M     8 mo.      County Line Road, 3 miles N of CR 858              Vehicle
 3 Mar 1994         FP31                      F     12 to 14   SR 29 Sunniland                                    Vehicle
 8 Jul 1994         FP26                      M     11 to 12   4 mi. E. Hendry Prison                             Intraspecific aggression- killed by FP46, punctured skull
 4 Aug 1994         FP38                      F     9          Conservation Area 3A                               Pleuritis related to chest puncture




Appendix IV
                                                                                                                                                                          70
                                 Case 1:21-cv-00119-RDM                Document 149-2                    Filed 01/12/24   Page 397 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE             LOCATION a  P                                         CAUSE
 8 Nov 1994         FP12                      M     13 to 14        Private lands, Hendry County                          Intraspecific aggression - infected bite wounds by FP46
 14 Jan 1995        FP52                      F     3.3             CR 846 near Dupree Road                               Vehicle
 22 Jun 1995        FP42                      M     6               SBCNP                                                 Unknown
 21 Sep 1995        TX102                     F     4               CR 833, just N of CR 835                              Vehicle
 18 Mar 1996        UCFP24                    F     1.5 to 2 wks.   FPNWR                                                 Unknown (dehydrated)
 24 Apr 1996        UCFP29                    M     3 to 5          CR 832, 5.5 miles E of SR 29                          Vehicle
 2 May 1996         UCFP30                    F     1               US 41, Turner River                                   Vehicle
 30 Mar 1997        FP58                      M     3               Sadie Cypress - Collier Co.                           Intraspecific aggression-septicemia from bite wounds
 13 Jul 1997        UCFP31                    U     UNK             CR 846, 1.5 miles W of CR 858                         Vehicle
 2 Dec 1997         FP19                      F     11.5            FPNWR                                                 Ruptured aorta
 26 Dec 1997        FP21                      F     11 to 12        White Oak                                             Euthanasia
 2 Feb 1998         FP40                      F     10              NBCNP                                                 Intraspecific aggression, infected bite wounds
 14 Feb 1998        FP64                      M     1.5             SR 29, at clearcut, FPNWR                             Vehicle - injured
 18 Apr 1998        TX104                     F     6 to 7          S of Sabal Palm Road in citrus grove                  Illegally shot
 13 Jun 1998        UCFP25                    F     2               CR 846, 3 miles E of CR 858                           Vehicle
 17 Jul 1998        FP51                      M     9               SR 29, Bear Island Grade                              Vehicle
 2 Aug 1998         FP45                      M     7.5             BCSIR, Hendry Co.                                     Intraspecific aggression
 17 Sep 1998        UCFP26                    M     3 to 5          US 41                                                 Vehicle
 10 Oct 1998        FP36                      F     14+             NBCNP, E of L28 interceptor canal                     Unknown (likely natural)
 23 Dec 1998        FP72                      M     3 to 4          BCSIR, Hendry Co.                                     Intraspecific aggression- killed by uncollared male
 3 Feb 1999         FP46                      M     9 to 9.5        Private land S. CR 846, Hendry Co.                    Intraspecific aggression
 26 Mar 1999        FP64                      M     2.5             Audubon's Corkscrew Sanctuary                         Intraspecific aggression- killed by uncollared male
 8 Jul 1999         UCFP27                    F     2               Farm Road E of Hendry Prison                          Vehicle
 19 Aug 1999        TX103                     F     UNK             SBCNP, Lostman's Pines 1 mile N of EVER boundary      Unknown
 8 Sep 1999         FP74                      M     2.5             US 27, near Venus                                     Vehicle
 29 Oct 1999        UCFP33                    M     11 mo.          CR 833, 2 miles N of BCSIR                            Vehicle
 13 Nov 1999        FP76                      M     2.5 to 3        FSSP, 1.9 miles W of SR 29 off of Lancaster Grade     Intraspecific aggression-killed by FP54
 3 Jan 2000         FP16                      M     14              EVER, NE boundary                                     Unknown
 15 Jan 2000        FP63                      M     5               SR 29, N of Pistol Pond                               Vehicle-drowning
 10 Feb 2000        FP80                      F     4 to 5          W Boundary Road, BCSIR                                Vehicle
 28 Feb 2000        K76                       M     3 mo.           CR 858, 1 mile W of SR 29                             Vehicle
 1 Mar 2000         FP68                      M     5 to 7          NBCNP, W of Tangerine tram                            Intraspecific aggression-probable
 23 Mar 2000        UCFP34                    M     1.5 to 2        CR 846, 2 miles E of Collier/Hendry line              Vehicle
 29 Mar 2000        TX101                     F     UNK             BCSIR, near game pen                                  Unknown
 20 Apr 2000        FP84                      M     14 mo.          FEC, 5 miles W of US 27                               Unknown




Appendix IV
                                                                                                                                                                                 71
                                 Case 1:21-cv-00119-RDM             Document 149-2                   Filed 01/12/24         Page 398 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE          LOCATION a P                                               CAUSE
 23 Jun 2000        UCFP35                    M     1.5 to 2     CR 846, 2 miles E of Immokalee                             Vehicle
 13 Aug 2000        UCFP36                    F     1.7          CR 846, near big powerline                                 Vehicle
 10 Nov 2000        FP89                      M     3.5          BCNP, 2 miles NW of Mud Lake                               Intraspecific aggression - killed by FP79
 1 Dec 2000         FP23                      F     14           BCNP, 2 miles E of Turkey Foot                             Unknown
 29 Dec 2000        UCFP37                    F     5            CR 846, 4.5 miles E of SR 29                               Vehicle
 18 Jan 2001        TX107                     F     8 to 9       SBCNP, near Eleven Mile Rd.                                Unknown
 27 Feb 2001        FP11                      F     19 to 20     Private land, 200yds. S of CR846, 1 mile E of Dupree Rd.   Intraspecific aggression
 14 Apr 2001        UCFP38                    F     2            CR 833, 1 mile N of BCSIR, Hendry Co.                      Vehicle
 26 Apr 2001        FP90                      M     1.9          US 27, 2.5 miles N of Terrytown                            Vehicle
 7 May 2001         UCFP39                    F     10 mo.       SR 29, 1/2 mile N of Jerome                                Vehicle
 7 May 2001         UCFP40                    M     10 mo.       SR 29, 1/2 mile N of Jerome                                Vehicle
 22 May 2001        UCFP41                    M     2 to 3       SR 29, Sunniland, near mine entrance                       Vehicle
 14 Jun 2001        UCFP42                    F     3 to 4       CR 846, 1 mile E of big powerline                          Vehicle
 17 Aug 2001        UCFP43                    M     2 to 3       CR 846, 1 mile E of big powerline                          Vehicle
 1 Sep 2001         FP92                      M     2.2          CREW, N Flint Pen Strand                                   Intraspecific aggression
 2 Dec 2001         FP97                      M     2            Private land, E of Gopher Ridge Grove, N of Immokalee      Intraspecific aggression
 3 Jan 2002         FP49                      F     12           BCNP Addition Lands                                        Intraspecific aggression- killed by uncollared male
 15 Jan 2002        FP96                      M     1.75         Private land, Hogan Island, Collier Co.                    Intraspecific aggression
 16 Jan 2002        FP105                     F     7            FPNWR, SW corner of clearcut                               Unknown
 5 Apr 2002         UCFP45                    M     3            US 27, 3.4 miles N of Palmdale, Glades Co.                 Vehicle
 10 Apr 2002        UCFP46                    M     6 mo.        SR 29, 1/2 mile N of Deep Lake, Collier Co.                Vehicle
 1 Jul 2002         FP98                      M     4 to 5       SR 29, 1 km N of Pistol Pond                               Vehicle
 5 Sep 2002         FP111                     M     9 to 10      OSSF, N of CR 832                                          Intraspecific aggression
 11 Sep 2002        FP112                     F     4            BCNP - Bear Island                                         Intraspecific aggression
 12 Sep 2002        FP32                      F     15           FPNWR - Rock Island                                        Malnutrition (old-age)
 16 Oct 2002        FP78                      F     6            FPNWR - Fire Tower                                         Intraspecific aggression
 10 Nov 2002        UCFP48                    F     8 to 9 mo.   CR 846, 5 miles E of Immokalee                             Vehicle
 16 Nov 2002        FP108                     M     22 mo.       SBCNP, Raccoon Point                                       Pseudorabies
 25 Nov 2002        UCFP49 (K98)              F     19 mo.       CR 846, 3 miles E of Immokalee                             Vehicle
 28 Nov 2002        FP99                      M     33 mo.       CR 846, 1/4 mile N of Collier fairgrounds                  Vehicle
 15 Jan 2003        FP67                      F     5.5          Private land, Gum Slough, Hendry Co.                       Intraspecific aggression-killed by FP65
 26 Jan 2003        UCFP50 (K33)              M     3 to 4       CR 846, 3.4 miles E of Everglades Blvd.                    Vehicle
 20 Feb 2003        FP106                     F     3            SR 29, entrance to Sunniland Mine                          Vehicle
 22 Feb 2003        FP109                     M     10+          OSSF, N of CR 832                                          Intraspecific aggression
 10 Mar 2003        UCFP51                    M     1.5 to 2.0   I-4, 0.25 miles E of I-75, near Tampa                      Vehicle




Appendix IV
                                                                                                                                                                                  72
                                 Case 1:21-cv-00119-RDM              Document 149-2                    Filed 01/12/24   Page 399 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE           LOCATION a P                                          CAUSE
 20 Mar 2003        UCFP52                    M     2 to 3        CR 833, 2 miles S of CR 832, Hendry Co.               Vehicle
 4 Apr 2003         FP118                     F     1             BCSIR - Game Pen                                      Pseudorabies
 10 May 2003        FP82                      F     6             OSSF                                                  Intraspecific aggression
 17 May 2003        FP115                     F     4 to 5        OSSF, Sick Island                                     FeLV
 25 May 2003        UCFP53                    F     2 to 3        SR 29, 1.4 miles N of CR 858, Collier Co.             Vehicle
 3 Jun 2003         UCFP54                    M     8 to 10 mo.   SR 29, 1.7 miles N of CR 858, Collier Co.             Vehicle
 13 Jun 2003        UCFP55                    M     1 to 1.5      BCSIR Safari Pen                                      Pseudorabies-probable
 14 Jun 2003        UCFP56                    M     1 to 1.5      BCSIR Safari Pen                                      Pseudorabies-probable
 16 Jun 2003        UCFP57                    F     4 to 6        BCSIR Safari Pen                                      Pseudorabies
 19 Jun 2003        FP87                      F     4             SBCNP - 7 miles NNE of Oasis                          Intraspecific aggression
 28 Jun 2003        FP73                      F     7.8           BCSIR - Game Pen                                      Pseudorabies
 30 Jun 2003        UCFP58                    F     1             CR 846, 3/4 miles E of Everglades Blvd.               Vehicle
 12 Jul 2003        FP77                      F     6             BCSIR- Game Pen                                       Pseudorabies
 17 Oct 2003        FP114                     M     1.5           FPNWR, S of Oil Pad Rd.                               Intraspecific aggression
 2 Nov 2003         UCFP59                    M     3 to 4 mo.    CR 858, 1.2 miles W of SR 29                          Vehicle
 7 Nov 2003         FP86                      F     4.5           University of Florida, Vet School, Gainesville        Euthanasia
 9 Dec 2003         UCFP60                    M     2 to 3        US 41, 1 mile E of CR 92                              Vehicle
 12 Dec 2003        FP91                      F     4.5           BCNP, Turner River Unit                               Intraspecific aggression
 25 Dec 2003        UCFP61                    F     2 to 3        CR 833, 1.7 miles N of CR 846 intersection            Vehicle
 11 Jan 2004        UCFP62                    F     7 to 8 mo.    US 41, near 40 Mile Bend                              Vehicle
 13 Feb 2004        FP122                     F     2 to 3        OSSF, NW Wild Cow Island                              FeLV
 26 Feb 2004        UCFP63                    M     3.5           I-75, 99 mm, Eastbound lane                           Vehicle
 1 Mar 2004         FP85                      M     5             EVER                                                  Unknown
 3 Mar 2004         UCFP64                    U     unknown       SR66, 0.75 miles W OF SR 635                          Vehicle - injured
 15 Mar 2004        FP123                     M     3.5           OSSF                                                  Intraspecific aggression
 6 Apr 2004         UCFP65                    M     2             SR 29, 200 yds. N of Bear Island Grade                Vehicle
 27 Jun 2004        UCFP66                    M     3             I-75, 93 mm, 0.5 miles W of Everglades Blvd.          Vehicle
 7 Jul 2004         FP55                      F     11.5          BCNP                                                  Intraspecific aggression
 11 Jul 2004        FP120                     F     4             US 41, 750 m W of Turner River Road                   Vehicle - injured
 22 Jul 2004        FP132                     M     3 to 3.5      OSSF                                                  FeLV
 28 Jul 2004        FP117                     M     27 mo.        OSSF                                                  Pseudorabies
 2 Aug 2004         K156                      M     6 mo.         US 41, Turner River                                   Vehicle
 17 Aug 2004        K94                       M     3.3           I-75, near 98 mm, Eastbound lane                      Vehicle
 2 Sep 2004         UCFP67                    F     < 7 days      FPNWR - Ridge Road                                    Unknown
 30 Sep 2004        UCFP68                    F     3 to 6        SBCNP - N of Oasis Ranger Station                     Unknown




Appendix IV
                                                                                                                                                   73
                                 Case 1:21-cv-00119-RDM          Document 149-2                    Filed 01/12/24        Page 400 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE       LOCATION a P                                               CAUSE
 25 Oct 2004        UCFP69                    F     2         SR 29 2.5 miles N of CR 858                                Vehicle
 22 Nov 2004        FP59                      M     9.4       Private property, just E of Ford Test Track, Collier Co.   Intraspecific aggression
 1 Dec 2004         UCFP70                    F     1         SR 29, Owl Hammock Curve                                   Vehicle
 6 Dec 2004         K128                      M     2.5       CR 832, 1 mile E of RR grade                               Vehicle
 1 Jan 2005         FP126                     M     1.6       Private property, 1/2 mile S of CR 846, Sadie Cypress      Intraspecific aggression
 4 Feb 2005         UCFP71                    M     2 to 3    US 41, just E of 11 Mile Road                              Vehicle
 25 Feb 2005        UCFP72                    M     2         SR 29, near Jerome                                         Vehicle
 7 Apr 2005         UCFP73                    M     7 mo.     CR 951, S of Rattlesnake Hammock Road                      Vehicle
 7 May 2005         FP120                     F     5         US 41, near Turner River                                   Vehicle
 4 Jun 2005         UCFP74                    M     3         I-95, St. John's/Flagler Co. line                          Vehicle
 14 Jun 2005        FP136                     F     4         SBCNP, 2 miles NE of Burns Lake                            Spinal trauma
 19 Jun 2005        UCFP75                    M     2         SR 29, Owl Hammock Curve                                   Vehicle
 29 Aug 2005        K153                      M     2.1       CR951, 1.2 miles S of Davis Blvd.                          Vehicle
 12 Sep 2005        FP69                      F     8.3       NBCNP - Addition Lands                                     Unknown
 18 Sep 2005        UCFP76                    M     1         US 41, 1.4 miles E of CR 951                               Vehicle
 2 Dec 2005         K49                       F     7.8       SR 29,1 mile N of Wagon Wheel Road                         Vehicle
 14 Jan 2006        FP70                      F     8.6       US 41, near Turner River                                   Vehicle
 15 Jan 2006        UCFP77                    F     2 to 3    BCSIR, W of Swamp Safari                                   Intraspecific aggression
 25 Jan 2006        UCFP78                    M     9 mo.     CR 846, 1 mile W of CR 858                                 Vehicle
 26 Jan 2006        UCFP79                    F     2         CR 846, 2 miles N of CR 858 - near Collier fairgrounds     Vehicle
 2 Feb 2006         UCFP80                    F     2         Card Sound Road, Dade Co.                                  Vehicle
 27 Feb 2006        UCFP81                    M     2         I-75, between exits 137-138, Lee Co.                       Vehicle
 27 Feb 2006        UCFP82                    U     unknown   Private property, 0.2 miles W of SR 29 Hendry Co.          Unknown (skeletal remains)
 9 Mar 2006         FP104                     M     5.5       SBCNP                                                      Unknown
 11 Mar 2006        UCFP83                    M     3         CREW, 1 mile S of Corkscrew Rd., Flint Pen Strand          Intraspecific aggression
 22 Mar 2006        FP129                     F     5         SBCNP                                                      Unknown
 6 Apr 2006         K203                      M     1 mo.     BCSIR                                                      Unknown
 14 Apr 2006        UCFP84                    M     3 to 4    I-4, SW of Orlando                                         Vehicle
 5 Jun 2006         UCFP85                    M     3 to 4    CR 832, 3 miles E of OSSF SF                               Vehicle
 6 Jul 2006         UCFP86                    U     unknown   SR 29, 0.6 miles S of Sunniland                            Vehicle - carcass not found (gator?)
 24 Aug 2006        UCFP87                    M     3         Corkscrew Rd. near Alico, Lee Co.                          Vehicle
 27 Oct 2006        FP135                     M     3.5       Private property, N of FPNWR                               Intraspecific aggression/euthanized at UF Vet School
 23 Oct 2006        FP48                      F     15        Sunniland, Collier Co.                                     Unknown
 26 Nov 2006        UCFP88                    F     2         US 41, between Manatee Rd and CR951                        Vehicle
 12 Dec 2006        UCFP89                    M     3 to 5    County Line Road, Collier/Hendry                           Vehicle




Appendix IV
                                                                                                                                                                                74
                                 Case 1:21-cv-00119-RDM                Document 149-2                    Filed 01/12/24      Page 401 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE             LOCATION a P                                             CAUSE
 10 Jan 2007        FP116                     F     4.5             Williams Ranch, Hendry Co.                               Intraspecific aggression
 24 Jan 2007        UCFP90                    F     4 to 6 mo.      CR 832, 1mile W of Forestry tower                        Vehicle
 25 Jan 2007        FP100                     M     10              Miccosukee Reservation, N of I-75                        Unknown
 29 Jan 2007        FP134                     M     5.5             NBCNP, W of L-28, S of pipeline                          Intraspecific aggression
 9 Mar 2007         UCFP91                    M     5 mo.           CR 832, W of Keri tower, OSSF                            Vehicle
 21 Mar 2007        FP130                     M     4               I-4, near Osceola/Orange County line                     Vehicle
 29 Mar 2007        UCFP92                    M     1.5             US 41, 1.2 miles W of SR 29                              Vehicle
 30 Mar 2007        UCFP93                    M     2               I-75, 0.5 miles N Corkscrew Road, Lee Co.                Vehicle
 3 Apr 2007         UCFP94                    M     2 to 3          I-75, 2 miles E of toll booth 98mm, Collier Co.          Vehicle
 18 Apr 2007        UCFP95                    M     2 to 3          Walk-in-Water road, Polk Co.                             Vehicle
 27 Apr 2007        K249                      F     10 to 12 days   FPNWR, Unit12                                            Septicemia
 3 May 2007         K247                      F     16 to 18 days   FPNWR, Unit12                                            Complications related to dermatophytosis
 3 May 2007         K248                      M     16 to 18 days   FPNWR, Unit12                                            Unknown
 9 May 2007         UCFP96                    F     3               US1, 1/2 mile S of Card Sound Rd., Dade Co.              Vehicle
 14 May 2007        UCFP97                    F     4 to 5          Corkscrew Road, near Alico, Lee Co.                      Vehicle
 11 Jun 2007        UCFP98                    M     20 to 24 mo.    SR 29, at Jerome wildlife crossing                       Vehicle
 14 Jun 2007        UCFP99                    M     12 to 15 mo.    SR 82, 0.7 miles W of Sunshine Blvd                      Vehicle
 23 Jun 2007        UCFP100                   M     2 to 3          SR 29, 3 miles S of Immokalee                            Vehicle
 23 Jun 2007        K199                      F     20 mo.          CR 832, 0.6 miles W of Forestry tower                    Vehicle
 26 Jun 2007        UCFP101                   M     4               US 41, 1 mile E of Krome Ave                             Vehicle
 2 Aug 2007         FP103                     F     7               SBCNP                                                    Intraspecific aggression
 3 Aug 2007         K255                      F     4 wks.          SBCNP                                                    Abandoned. CAPTIVITY Zoo Tampa
 27 Aug 2007        K259                      M     3 wks.          SBCNP                                                    Suspected black bear predation at den
 27 Aug 2007        K260                      U     3 wks.          SBCNP                                                    Suspected black bear predation at den
 12 Sep 2007        UCFP102                   M     2               I-75, 1.5 miles E of SR 29                               Vehicle
 27 Sep 2007        FP128                     F     7.5             BCSIR, game pen                                          Unknown
 9 Mar 2008         UCFP103                   M     2 to 3          Pine Ridge Road, halfway between CR951, Logan            Vehicle
 14 Mar 2008        FP127                     M     5               NBCNP                                                    Intraspecific aggression
 12 Apr 2008        UCFP104                   F     1 to 2          SR 29, 2.6 km N of US 41                                 Vehicle
 9 Apr 2008         FP157                     M     3               CREW                                                     Intraspecific aggression
 16 Apr 2008        FP131                     M     9               Horse Trial grounds, N of CR 858, W of SR 29             Pneumonia
 23 Apr 2008        UCFP105                   F     5 to 6          FSSP, 0.24 miles W of Janes Scenic, N side of Mud Tram   Unknown or Accidental
 4 May 2008         UCFP106                   M     2               Leonard Boulevard, Lehigh Acres, Lee Co.                 Vehicle
 12 May 2008        FP138                     M     7               SBCNP, 5.5 km N of Monument Lake Campground              Unknown
 22 May 2008        UCFP107                   F     2 to 3          CR 951, 2.4 km S of US 41 on CR951, crossed E to W       Vehicle




Appendix IV
                                                                                                                                                                        75
                                 Case 1:21-cv-00119-RDM             Document 149-2                     Filed 01/12/24           Page 402 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE          LOCATION a P                                                   CAUSE
 23 May 2008        K268                      F     2 wks.       SBCNP                                                          Consumed (possible intraspecific aggression)
 23 May 2008        K269                      M     2 wks.       SBCNP                                                          Consumed (possible intraspecific aggression)
 30 Jun 2008        FP164                     M     2.5          NBCNP                                                          Unknown
 28 Jul 2008        UCFP108                   F     3 to 4       CR 846, 1.7 mile E of Oil Grade Rd                             Vehicle
 6 Aug 2008         FP107                     F     8            FPNWR                                                          Unknown
 15 Sep 2008        FP155                     M     3            Lee-Hendry Landfill, Hendry Co.                                Unknown
 15 Sep 2008        UCFP109                   M     8            Private Property (J. Ivey), 2 miles E of Corkscrew Sanctuary   Unknown
 29 Sep 2008        UCFP110                   F     2 to 3 mo.   EVER                                                           Vehicle
 22 Oct 2008        FP152                     M     5 to 6       SBCNP                                                          Intraspecific aggression
 24 Oct 2008        UCFP111                   F     6 to 8 mo.   SR 29, 2.4km N of Oil Well Road                                Vehicle
 4 Nov 2008         UCFP112                   M     3            SR 80, E of CR 833                                             Vehicle
 16 Nov 2008        UCFP123                   M     3 to 4       Troup County, 15km West of LaGrange, Georgia                   Shot
 26 Nov 2008        UCFP113                   M     4 to 5       Alico Road, Lee Co.                                            Vehicle
 28 Nov 2008        UCFP114                   F     4            CR 858, 1 mile E of Camp Keais Rd                              Vehicle
 11 Jan 2009        UCFP115                   M     4            CR 832, E of OSSF                                              Vehicle
 17 Jan 2009        K253                      M     18 mo.       I-75, eastbound exit ramp for SR 29                            Vehicle
 20 Jan 2009        UCFP116                   F     4 to 5       SR 29, 3 miles S of Immokalee                                  Vehicle
 2 Feb 2009         UCFP117                   M     3            BCSIR                                                          Intraspecific aggression
 25 Mar 2009        UCFP118                   M     1.5          Treeline Ave, Lee Co.                                          Vehicle
 9 Apr 2009         UCFP119                   F     2 to 3       US 41, Turner River                                            Vehicle
 21 Apr 2009        UCFP120                   F     2            Big Cypress Mitigation Bank                                    Illegally Shot
 14 May 2009        UCFP121                   M     2            SR 29, ~4 miles S of I-75                                      Vehicle
 25 May 2009        UCFP122                   M     2            CR 846, near Camp Keais Rd                                     Vehicle
 12 Jun 2009        FP140                     F     7            FPNWR, SE of Hog Pond                                          Intraspecific aggression
 28 Jul 2009        FP204                     F     19           White Oak (captive)                                            Euthanasia
 5 Aug 2009         UCFP124                   M     1.5          I-75, 90mm                                                     Vehicle
 6 Sep 2009         UCFP125                   F     2            I-75, 96.5mm                                                   Vehicle
 15 Sep 2009        UCFP126                   M     2            E of Ave Maria, Ranch 1 Orange Gr.                             Vehicle
 5 Oct 2009         FP166                     M     5 to 6       BCSIR, N. of Safari Pen                                        Intraspecific aggression
 9 Oct 2009         UCFP127                   F     3 to 4       Turner River, 600m S of US 41                                  Unknown
 10 Oct 2009        UCFP128                   F     3            North Belle Meade                                              Illegally shot
 19 Oct 2009        UCFP129                   M     3 to 4 mo.   CR 846, 2 miles E of Immokalee                                 Vehicle
 21 Oct 2009        UCFP130                   F     3 to 4       CR 846, 2 miles E of Immokalee                                 Vehicle
 1 Nov 2009         UCFP131                   F     3 to 4 mo.   CR 833, N boundary of BCSIR                                    Vehicle
 19 Nov 2009        UCFP132                   M     3 to 4       FL Turnpike, S of Yeehaw Junction                              Vehicle (decapitated posthumously)
 17 Dec 2009        UCFP133                   M     3 to 4       I-75, 1/2 miles W Snake Road                                   Vehicle




Appendix IV
                                                                                                                                                                               76
                                 Case 1:21-cv-00119-RDM               Document 149-2                      Filed 01/12/24   Page 403 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE            LOCATION a P                                            CAUSE
 23 Dec 2009        UCFP134                   M     3              Corkscrew Road, near CREW Gate 5                        Vehicle
 29 Dec 2009        UCFP135                   F     4              SR 29, 2 miles N of Jerome                              Vehicle
 31 Dec 2009        UCFP136                   F     3 to 4 mo.     County Barn Rd, 0.3 miles S of Davis Blvd               Vehicle
 16 Jan 2010        UCFP137                   M     2.5            I mile S Corkscrew Rd, near Bella Terra                 Intraspecific aggression
 29 Jan 2010        UCFP138                   M     6 to 8         N of Shell Island Rd, Rookery Bay                       Unknown (skeletal remains)
 12 Mar 2010        UCFP139                   F     3              Corkscrew Rd, CREW Marsh Trailhead 1                    Vehicle
 16 Mar 2010        FP174                     M     4 to 5         I-75, 95mm, eastbound                                   Vehicle
 22 Mar 2010        FP172                     F     5              NBCNP                                                   Intraspecific aggression
 15 Apr 2010        UCFP140                   M     1.5 to 2       I-75, mm 117, Lee Co.                                   Vehicle
 29 Apr 2010        UCFP141                   F     6 mo.          Church Road, near Hendry Co landfill                    Vehicle
 4 May 2010         UCFP142                   F     8 mo.          Golden Gate Blvd., between 5th and 7th St NW            Vehicle
 21 May 2010        FP169                     M     5 to 6         US 41, 4km W of Monroe Station                          Vehicle
 22 May 2010        FP158                     F     5              US 41, 1km E of SR92                                    Vehicle
 23 May 2010        UCFP143                   M     7 to 8 mo.     US 41, 2.2km E of CR951                                 Vehicle
 31 May 2010        UCFP144                   M     12 to 14 mo.   CR 833, 0.66km N of intersect with CR 832               Vehicle
 21 Jun 2010        FP144                     M     6              NBCNP                                                   Intraspecific aggression
 24 Jun 2010        UCFP145                   M     16 to 18 mo.   SR 29, 3.7km S of Farm Workers Village                  Vehicle
 3 Aug 2010         UCFP146                   F     3 to 4         SR 29, 1 mile S of Owl Hammock, Collier Co.             Vehicle
 1 Oct 2010         UCFP147                   F     3              US 41, 1.7 miles E of Monroe Station                    Vehicle
 15 Oct 2010        FP168                     F     8              CREW, Flint Pen Strand                                  Intraspecific aggression
 25 Oct 2010        FP102                     F     12 8mo.        SBCNP                                                   Intraspecific aggression
 17 Nov 2010        FP176                     M     4 to 5         CR 832, OSSF                                            Vehicle
 12 Dec 2010        UCFP148                   M     2 to 3         US 27, 0.5 miles E of SR 80, Hendry Co.                 Vehicle
 13 Dec 2010        UCFP149                   M     1.5            Golden Gate Blvd., 7th ST NW, Collier Co.               Vehicle
 19 Dec 2010        UCFP150                   M     8 to 9 mo.     CR 846, 1.5 miles S of CR 833                           Vehicle
 22 Dec 2010        FP173                     M     5              Lee County Port Authority Mitigation Land               Pseudorabies
 23 Dec 2010        UCFP151                   F     10 to 18 mo.   Private property, Collier Co.                           Intraspecific aggression
 5 Jan 2011         FP141                     M     8.5            Private property, Hendry Co.                            Unknown
 7 Jan 2011         K284                      M     1.5            SR 29, S of Sears Rd., Hendry Co.                       Vehicle
 13 Jan 2011        UCFP152                   F     3              I-75, 98mm, eastbound, Collier Co.                      Vehicle
 21 Jan 2011        UCFP153                   M     8 mo.          I-75, 98mm, westbound, Collier Co.                      Vehicle
 21 Jan 2011        UCFP154                   M     8 mo.          Orange grove N of Sears Rd, Hendry Co.                  Intraspecific aggression
 23 Feb 2011        UCFP155                   F     4              Golden Gate Estates                                     Illegally Shot
 26 Feb 2011        UCFP156                   M     3 to 4         I-75, near 114mm, Collier Co.                           Vehicle
 2 Mar 2011         FP170                     F     4.5            PSSF, Swan Lake Prairie, Collier Co.                    Intraspecific aggression
 15 Mar 2011        UCFP157                   F     >3             SBCNP                                                   Unknown (skeletal remains)
 17 Mar 2011        UCFP158                   M     Adult          Seminole Co.                                            Illegally Shot




Appendix IV
                                                                                                                                                        77
                                 Case 1:21-cv-00119-RDM               Document 149-2                      Filed 01/12/24    Page 404 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE            LOCATION a P                                             CAUSE
 25 Mar 2011        UCFP159                   F     4 to 5         SR 29, near Farmworkers Village                          Vehicle (survived gunshot to head)
 25 Mar 2011        FP83                      F     11 10 mo.      US 41, W of Port of the Islands, Collier Co.             Vehicle
 30 Apr 2011        UCFP160                   M     12 to 14 mo.   US 41, between 40 and 50 mile bend, Miami-Dade Co.       Vehicle
 3 May 2011         K322                      F     5 wks.         SBCNP, Collier Co.                                       Wildfire
 3 May 2011         K323                      M     5 wks.         SBCNP, Collier Co.                                       Wildfire
 3 May 2011         K324                      M     5 wks.         SBCNP, Collier Co.                                       Wildfire
 3 May 2011         K325                      M     5 wks.         SBCNP, Collier Co.                                       Wildfire
 1 Jun 2011         FP186                     M     11.5 mo.       CREW, Bird Rookery Swamp, Collier Co.                    Intraspecific aggression
 6 Jul 2011         UCFP161                   M     7 to 9         Silver Strand Grove, N of Immokalee, Collier Co.         Intraspecific aggression
 11 Jul 2011        UCFP162                   M     1 to 1.5       SR 29, Owl Hammock Curve, Collier Co.                    Vehicle
 29 Jul 2011        FP156                     M     6              PSSF, Belle Meade, Collier Co.                           Pseudorabies
 3 Sep 2011         UCFP163                   M     3 to 4         Palmer Ranch, Hendry Co.                                 Unknown
 14 Sep 2011        FP188                     F     3.5            Private Land, Collier Co.                                Unknown
 19 Sep 2011        UCFP164                   F     3 to 4         SR 29, Owl Hammock Curve, Collier Co.                    Vehicle
 30 Oct 2011        UCFP165                   F     3 to 4         SR 29, Collier-Hendry line                               Vehicle
 2 Jan 2012         UCFP166                   M     4 to 5         SR 82, 3.8km W of SR 29, Collier Co.                     Vehicle
 5 Jan 2012         FP189                     M     3.5            Tomato field S of Oil Well Rd, Collier Co.               Intraspecific aggression
 7 Jan 2012         UCFP167                   F     4              US 41, 0.5km W of Manatee Rd, Collier Co.                Vehicle
 13 Jan 2012        FP194                     M     20 mo.         SBCNP, Collier Co.                                       Intraspecific aggression
 6 Feb 2012         UCFP168                   M     5              US 41, 0.4km E of Bass Rd, Collier Co.                   Vehicle
 23 Feb 2012        K351                      M     12 days        SBCNP, Collier Co.                                       Malnutrition
 27 Feb 2012        FP133                     M     12             FSSP, Collier Co.                                        Intraspecific aggression
 13 Mar 2012        TX106                     F     21             White Oak Conservation Center, (in captivity)            Age related- cancer
 31 Mar 2012        UCFP190                   U     U              US 41, W of Trail Lakes Campground; Ducati panther       Vehicle- injured
 7 Apr 2012         UCFP169                   M     9 wks.         Orange grove N of Church Rd., Hendry Co.                 Vehicle
 16 Apr 2012        UCFP170                   M     3 to 4         Alico Rd, 0.1 km W of Airport Haul Rd, Lee Co.           Vehicle
 18 May 2012        FP212                     M     3              2 km NW of CR 846 and County Line Rd intersection        Intraspecific aggression
 21 May 2012        FP211                     M     2              Orange grove 8.7km SE of prison, Hendry Co.              Intraspecific aggression
 23 May 2012        UCFP171                   M     1.5 to 2       SR80, 23km E of I-75, Lee Co.                            Vehicle
 26 May 2012        UCFP172                   M     4 mo.          Found injured on SR82, E of Church Rd., Lee Co.          Vehicle - rescued but died in captivity
 19 Jun 2012        UCFP173                   F     7 mo.          CR 846, 2.4 km E of Oil Well Grade Rd, Collier Co.       Vehicle
 18 Jul 2012        FP197                     M     4.5            Port Authority Mitigation Land, Lee Co.                  Unknown
 28 Aug 2012        UCFP174                   M     10 mo.         Private property, N of CR 832, E of OSSF, Hendry Co.     Intraspecific aggression
 31 Aug 2012        FP79                      M     17             Captivity, F1 panther originally radiocollared in BCNP   Euthanasia- cancer
 6 Oct 2012         FP196                     F     2.5            US 41, 1.4km E of San Marco Rd, Collier Co.              Vehicle
 8 Oct 2012         UCFP175                   M     12 to 14 mo.   SR 29, 2.7km N of US 41, Collier Co.                     Vehicle
 9 Oct 2012         UCFP176                   F     3 mo.          Immokalee Rd, 2 miles N of fairgrounds, Collier Co.      Vehicle




Appendix IV
                                                                                                                                                                      78
                                 Case 1:21-cv-00119-RDM             Document 149-2                      Filed 01/12/24   Page 405 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE          LOCATION a P                                            CAUSE
 4 Nov 2012         UCFP177                   F     4 mo.        18th Ave NE, Golden Gate Estates, Collier Co.           Vehicle
 14 Nov 2012        UCFP178                   F     1            SR 29, 1.5 miles S of I-75, Collier Co.                 Vehicle
 19 Nov 2012        UCFP179                   M     3            SR 29, Owl Hammock Curve, Collier Co.                   Vehicle
 19 Nov 2012        UCFP180                   M     4 to 5       US 41, 0.5 miles W of Manatee Road, Collier Co.         Vehicle
 26 Nov 2012        UCFP181                   F     2 to 3 mo.   Immokalee Rd, 3.6 miles N of Oil Well Rd, Collier Co.   Vehicle
 9 Dec 2012         UCFP182                   M     3            SR 528, Orange Co.                                      Vehicle
 11 Dec 2012        FP182                     F     3.8          US 41, near Turner River canoe launch, Collier Co.      Vehicle
 28 Dec 2012        UCFP183                   U     unknown      CR 835, 0.21km S of Dooley Grade Rd, Hendry Co.         Vehicle
 1 Jan 2013         UCFP184                   F     7 mo.        CR 833, 2 miles E CR 846, Hendry Co.                    Vehicle
 3 Jan 2013         UCFP185                   M     10 mo.       SR 29, 600 ft. S Oil Well Rd, Collier Co.               Vehicle
 26 Jan 2013        UCFP186                   M     2 to 4       Sadie Cypress, 2 miles S 846, Collier Co.               Intraspecific aggression
 31 Jan 2013        UCFP187                   F     4 mo.        CR835, Hendry Co.                                       Vehicle
 1 Feb 2013         UCFP188                   M     2 to 3       OSSF, S of Dove Field Rd, Hendry Co.                    Unknown
 20 Feb 2013        UCFP189                   F     5 to 6 mo.   Everglades Blvd S, Golden Gate Estates, Collier Co.     Vehicle
 16 Mar 2013        UCFP191                   M     2 to 3       SR 80, just E of Labelle, Hendry Co.                    Vehicle
 26 Apr 2013        FP184                     F     5 to 6       NBCNP, Collier Co.                                      Intraspecific aggression
 28 Apr 2013        UCFP192                   F     10           CR 846, 2.3 miles W of County Line Road, Collier Co.    Vehicle
 13 May 2013        FP224                     F     9 mo.        12 Street NE, Golden Gate Estates, Collier Co.          Vehicle-injured
 31 May 2013        UCFP193                   M     2            US 192, E of Triple N WMA, Osceola Co.                  Vehicle
 29 Jun 2013        UCFP194                   M     2-3          Orange River Rd, 1.2km E of Staley Rd, Lee Co.          Vehicle
 8 Jul 2013         UCFP195                   M     2 to 3       CR 846, 7.9km E of County Line Rd, Hendry Co.           Vehicle
 15 Jul 2013        UCFP196                   M     2 to 3       I-75, 96.5mm, Collier Co.                               Vehicle
 7 Aug 2013         UCFP197                   F     16 mo.       US41, 2.4km W of Oasis, Collier Co.                     Vehicle
 19 Aug 2013        UCFP198                   F     3            I-75, 93 MM on Miller Canal Bridge, Collier Co.         Vehicle
 20 Sep 2013        UCFP199                   M     4            CR951, Collier Co.                                      Vehicle
 12 Nov 2013        UCFP200                   M     2-3          Treeline Ave. N of Daniels Pkwy., Lee Co.               Vehicle
 2 Dec 2013         UCFP201                   M     1            Northbound I75 W of Faka Union MM92, Collier Co.        Vehicle
 7 Dec 2013         K368                      F     1.5          Big Cypress National Preserve, Collier Co.              Illegally Shot
 11 Dec 2013        UCFP202                   U     9 mo.        FL Panther National Wildlife Refuge, Collier Co.        Intraspecific aggression
 2 Jan 2014         UCFP203                   M     2-3          I-75 near MM 111, Collier Co.                           Vehicle
 4 Jan 2014         FP223                     M     2.7          Private Land, Hendry Co.                                Pneumonia
 22 Jan 2014        UCFP204                   M     1.5          SR 29, Owl Hammock Curve, Collier Co.                   Vehicle
 23 Jan 2014        UCFP205                   M     7 days       Yuma- FPNWR, Collier Co.                                Hypothermic – CAPTIVITY HOMOSASSA SPRINGS
 24 Jan 2014        FP175                     F     6.5          BCNP Addition Lands, Collier Co.                        Peritonitis
 1 Mar 2014         UCFP206                   M     3            SR80, Lee/Hendry Co line                                Vehicle
 8 Mar 2014         UCFP207                   M     1.5          CR 833, Hendry Co.                                      Vehicle
 17 Mar 2014        FP228                     M     4            Everglades/Francis Taylor WMA, Broward Co.              Vehicle




Appendix IV
                                                                                                                                                                     79
                                 Case 1:21-cv-00119-RDM              Document 149-2                     Filed 01/12/24       Page 406 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE           LOCATION a P                                               CAUSE
 29 Mar 2014        UCFP208                   U     2             Concho Billy Trail, SBCNP                                  Intraspecific aggression
 3 Apr 2014         UCFP209                   M     3 to 5        CR 833, just S of CR 832, Hendry Co.                       Vehicle
 8 Apr 2014         UCFP210                   M     2 to 3        CR 846, 6 miles E of Immokalee, Collier Co.                Vehicle
 11 Apr 2014        UCFP211                   U     8 to 10 mo.   Belle Meade, PSSF, Collier Co.                             Intraspecific aggression
 14 Apr 2014        UCFP212                   M     4 to 5        US27, N of Lake Placid, Highlands Co.                      Vehicle
 14 Apr 2014        FP232                     M     3             East Broadway Street, Ft. Meade, Polk Co.                  Vehicle - injured
 25 Apr 2014        FP163                     M     7.2           Co Line Rd, Collier/Hendry Co. Line                        Vehicle
 25 Apr 2014        FP231                     M     2             Golden Gate Blvd, just W of Everglades, Collier Co         Vehicle - injured
 1 May 2014         UCFP213                   F     3             I-75 near MM 134, Lee Co.                                  Vehicle
 16 May 2014        UCFP214                   M     14 mo.        Oil Well Rd, E of Pacific Grade, Collier Co.               Vehicle
 12 Jun 2014        K390/UCFP215              F     1-2           US41, SE of Collier Seminole SP, Collier Co.               Vehicle
 25 Jun 2014        UCFP216                   F     1             Corkscrew Rd, near CREW gate 5, Lee/Collier Co. line       Vehicle
 1 Jul 2014         TX105                     F     22            White Oak Conservation Center, (died in captivity)         Age related- Renal failure
 16 Jul 2014        FP177                     M     7             BCNP - North Addition Lands, Collier Co.                   Intraspecific aggression
 4 Aug 2014         FP231                     M     2.5yrs        Golden Gate Estates, Collier Co.                           Unknown
 6 Aug 2014         UCFP217                   F     2             CR833, between CR 832 and SR 80, Hendry Co.                Vehicle
 24 Aug 2014        UCFP218                   F     4 mo.         Immokalee Rd/Wildwood Blvd, Collier Co.                    Vehicle
 24 Aug 2014        UCFP219                   M     4 mo.         Immokalee Rd/Krape Rd, Collier Co.                         Vehicle
 2 Sep 2014         UCFP220                   F     3 to 4        CR833, N of BCSIR, Hendry Co.                              Vehicle
 3 Sep 2014         FP66                      F     17            Homosassa Springs Wildlife Park (died in captivity)        Age related
 11 Oct 2014        UCFP221                   M     2             Uno - Found blinded by shotgun on CR 846, Collier Co.      CAPTIVITY - NAPLES ZOO
 20 Oct 2014        UCFP222                   M     3             Florida's Turnpike, MM 192, Yeehaw Junction, Osceola Co.   Vehicle
 13 Nov 2014        UCFP223                   F     3-4           County Line Road, just S of CR846, Collier Co.             Vehicle
 14 Nov 2014        FP229                     F     4-5           Northern Addition Lands, BCNP, Collier Co.                 Unknown
 21 Nov 2014        K434                      F     11 wks.       Parker's Hammock Road, Collier Co.                         Separated from dam, CAPTIVITY – MIAMI ZOO
 28 Nov 2014        UCFP224                   M     6 mo.         Golden Gate Blvd/6th St NE, Collier Co.                    Vehicle
 18 Dec 2014        UCFP225                   M     4             Flaghole Road, 8km S of US27, Hendry Co.                   Vehicle
 18 Dec 2014        UCFP226                   M     3             Collier Blvd, 2.4km S of US41, Collier Co.                 Vehicle
 19 Dec 2014        UCFP227                   M     2             US41, MM 57, 3.8 km W of Oasis, Collier Co.                Vehicle
 28 Dec 2014        UCFP228                   M     2             Golden Gate Blvd/10th St NE, Collier Co.                   Vehicle
 30 Dec 2014        UCFP229                   F     2.5           16th ST SE, Golden Gate Estates, Collier Co.               Vehicle
 31 Dec 2014        FP213                     F     5.5           Dinner Island Ranch WMA, Hendry Co.                        Intraspecific aggression
 16 Jan 2015        UCFP230                   F     1.5           I-75 1/2 mile E of toll booth, Collier Co.                 Vehicle
 20 Jan 2015        UCFP231                   F     1.5           Immokalee Rd, 250m S of Bethune RD, Collier Co             Vehicle
 24 Jan 2015        UCFP232                   M     4             MM132, I75, Lee Co.                                        Vehicle
 25 Jan 2015        UCFP233                   M     5-6           MM95, I75, Collier Co.                                     Vehicle
 29 Jan 2015        UCFP234                   U     U             Corkscrew Swamp Sanctuary, Collier Co. (skeletal)          Unknown (skeletal remains)




Appendix IV
                                                                                                                                                                         80
                                 Case 1:21-cv-00119-RDM               Document 149-2                      Filed 01/12/24         Page 407 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE            LOCATION a P                                                  CAUSE
 6 Feb 2015         UCFP235                   U     10 mo.         Golden Gate Estates, Collier Co.                              Unknown
 13 Feb 2015        FP191                     F     16             Big Cypress National Preserve, Collier Co.                    Unknown
 15 Feb 2015        UCFP236                   M     1              CR846, 1/2 mi S of CR833 intersection, Hendry Co.             Vehicle
 25 Feb 2015        FP183                     M     9              SR29, 2.75 mi S of I-75, Collier Co.                          Vehicle
 7 Mar 2015         K402                      M     1.5            I-75, 0.5 miles S of Exit 123, Corkscrew Road, Lee Co.        Vehicle
 8 Mar 2015         UCFP237                   M     2.5            CR951, 300 m N of Port au Prince Rd, Collier Co.              Vehicle
 20 Mar 2015        FP148                     F     11.5           Picayune Strand State Forest, Collier Co.                     Intraspecific aggression
 22 Mar 2015        UCFP238                   M     5              Immokalee Road, 3.4km W of Camp Keais Rd., Collier Co.        Illegally Shot
 30 Mar 2015        FP237                     M     1              Audubon’s Corkscrew Swamp Sanctuary, Collier Co.              Intraspecific aggression
 3 Apr 2015         UCFP239                   M     3 to 4         I-75, 1.1 miles E of toll booth, Collier Co.                  Vehicle
 13 Apr 2015        UCFP240                   F     1              SR29, 1.3 mi N. of CR858, Collier Co.                         Vehicle
 27 Apr 2015        FP159                     M     12 to 13       Private land, 2 miles N of Corkscrew Rd., Lee Co.             Unknown
 30 Apr 2015        UCFP241                   M     2 to 3         I-75, 0.5 miles S of Exit 123, Corkscrew Road, Lee Co.        Vehicle
 19 May 2015        UCFP242                   F     3              CR833, 1/4 mi south of CR832, Hendry Co.                      Vehicle
 11 Jun 2015        UCFP243                   M     4              US 41, BCNP, Collier Co.                                      Vehicle
 16 Jun 2015        FP153                     F     14             BCNP, Collier Co.                                             Unknown
 5 Jul 2015         UCFP244                   M     1.5            Immokalee Rd., 0.4 mi south of Wild Turkey Dr., Collier Co.   Vehicle
 8 Jul 2015         UCFP245                   M     10 to 11 mo.   Daniels Pkwy, 1 mi SW of SR82, Lee Co.                        Vehicle
 1 Jul 2015         UCFP246                   U     2 wks.         Lee County Port Authority Mitigation Land, Lee Co.            Unknown
 13 Jul 2015        UCFP247                   M     2 to 3         SR80, 5 mi west of LaBelle, Hendry Co.                        Vehicle
 30 Jul 2015        UCFP248                   F     4 to 5 mo.     Golden Gate Blvd, Collier Co.                                 Vehicle
 9 Aug 2015         FP240                     F     2.7            Deep Lake Unit of Big Cypress NP, Collier Co.                 Intraspecific aggression
 18 Sep 2015        FP219                     F     4.3            I-75, just west of exit 101, Collier Co.                      Vehicle
 22 Sep 2015        UCFP249                   M     4 mo.          CR858. 1/4 mi west of County Line Rd, Collier Co.             Vehicle
 28 Sep 2015        UCFP250                   M     3 to 4         US41, just west of Trail Lakes Campground, Collier Co.        Vehicle
 30 Sep 2015        K432                      F     13 mo.         I-75, MM102, Collier Co.                                      Vehicle
 8 Oct 2015         UCFP251                   F     3              US 41, west of CR 92, Collier Co.                             Vehicle
 23 Oct 2015        FP222                     F     10.5           I75, MM90, Collier Co.                                        Vehicle
 31 Oct 2015        UCFP252                   M     4 mo.          CSSP near boat ramp, Collier. Co.                             Emaciation due to orphaning
 2 Nov 2015         UCFP253                   F     4 mo.          CSSP campground, Collier Co.                                  Orphaned, CAPTIVITY – PALM BEACH ZOO
 23 Nov 2015        UCFP254                   M     8 to 10 mo.    CR846, just W Everglades Blvd., Collier Co.                   Vehicle
 25 Nov 2015        K387                      M     2.8            SR29 between Pollywog Rd and SR78, Glades Co.                 Vehicle
 2 Dec 2015         FP93                      F     16.8           Turner River Unit, BCNP, Collier Co.                          Unknown (skeletal remains)
 8 Dec 2015         UCFP255                   F     1              CR832, Hendry Co.                                             Vehicle
 15 Dec 2015        UCFP256                   F     2.5            Corkscrew Road, Collier Co.                                   Vehicle
 16 Dec 2015        UCFP257                   M     6              CR835, 2.5 km S of Dooley Grade Rd, Hendry Co.                Vehicle
 21 Dec 2015        UCFP258                   M     1              SR29, Owl Hammock Curve, Collier Co.                          Vehicle




Appendix IV
                                                                                                                                                                        81
                                 Case 1:21-cv-00119-RDM               Document 149-2                    Filed 01/12/24           Page 408 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE            LOCATION a P                                                  CAUSE
 30 Dec 2015        UCFP259                   F     7 mo.          CR832, 3 mi west of CR833, Hendry Co.                         Vehicle
 3 Jan 2016         UCFP260                   M     6 mo.          18th Ave SE, W of Desoto, Collier Co.                         Unknown
 18 Jan 2016        UCFP261                   M     3 mo.          Sakata Farms off SR82, Lee Co.                                Orphaned. CAPTIVITY – HOMOSASSA SPRINGS
 20 Jan 2016        UCFP262                   F     7 to 9 mo.     Daniel's Parkway, 1/2 mile east of Treeline Avenue, Lee Co.   Vehicle
 21 Jan 2016        UCFP263                   M     2 to 3         Florida Tnpk, S of Ft. Drum Service Plaza, Okeechobee Co.     Vehicle
 30 Jan 2016        UCFP264                   F     4              SR82, 1.4 km west of Church Rd, Hendry Co.                    Vehicle
 2 Feb 2016         UCFP265                   M     2 to 3         I75, 2 km north of Daniel's Parkway, Lee Co.                  Vehicle
 12 Feb 2016        UCFP266                   F     1.5 to 2       SR82, near Sparta Avenue, Lee Co.                             Vehicle
 15 Feb 2016        UCFP267                   U     5 to 6 mo.     SR82, just E of Hendry Co line, Collier Co.                   Vehicle
 17 Feb 2016        UCFP268                   M     4              SR 82, 1.25 miles E of Corkscrew Road, Collier Co.            Vehicle
 18 Feb 2016        UCFP269                   U     2              Private Property S of CR864, W of CR951, Collier Co.          Unknown
 5 Mar 2016         UCFP270                   U     2 to 4         NBCNP, Addition Lands Unit, west of L28I, Collier Co.         Intraspecific aggression
 10 Mar 2016        UCFP271                   M     3              Polk Parkway (SR570) west of Lakeland, Polk Co.               Vehicle
 25 Mar 2016        UCFP272                   M     14 to 16 mo.   Golden Gate Blvd., 0.3 miles east of CR951, Collier Co.       Vehicle
 1 Apr 2016         UCFP273                   U     1              I-75, near MM96 bordering Belle Meade, Collier Co.            Vehicle
 6 Apr 2016         UCFP274                   M     3              I-75, near Luckett Rd Exit, MM138, Lee Co.                    Vehicle
 6 Apr 2016         UCFP275                   M     3              Immokalee Rd, 4km east of CR951, Collier Co.                  Vehicle
 9 Apr 2016         UCFP276                   M     4-5            I-75, 0.6 mi south of Bonita Beach Rd, Lee Co.                Vehicle
 10 Apr 2016        UCFP277                   M     5 to 6 mo.     Golden Gate Blvd, just east of 22nd St NE, Collier Co.        Vehicle
 15 Apr 2016        UCFP278                   M     16 to 18 mo.   Randall Blvd, 110 m east of 16th St. NE, Collier Co.          Vehicle
 26 Apr 2016        UCFP279                   F     3 to 4         I-75, southbound at 122 MM, Lee Co.                           Vehicle
 26 Apr 2016        UCFP280                   M     1              CR833, 735m north of junction with CR835, Hendry Co.          Vehicle
 28 Apr 2016        UCFP281                   M     4              OSSF, 3.5 mi N of Keri Rd, Twin Mills Grade, Hendry Co.       Intraspecific aggression
 3 May 2016         UCFP282                   M     2 to 3         SR 29, 1/4 mi N of US 41, Collier Co.                         Vehicle
 6 May 2016         FP162                     F     11             SBCNP, Turner River Unit, Collier Co.                         Intraspecific aggression
 26 May 2016        K403                      F     4              Daniel's Parkway junc. with Commerce Lakes Drive, Lee Co.     Vehicle
 26 May 2016        UCFP283                   M     2              US 27 near Venus, Highlands Co.                               Vehicle
 16 Jun 2016        UCFP284                   F     6 mo.          CR 858 at Camp Keais Road, Collier Co.                        Vehicle
 22 Jun 2016        FP215                     F     11             Private Property NW of FPNWR, Collier Co.                     Unknown
 5 Aug 2016         UCFP285                   F     4              SR 82, 1/2 mile W of Church Road, Collier County              Vehicle
 5 Aug 2016         FP242                     M     10             Immokalee Ranch, 670m south of CR846, Hendry County           Pseudorabies
 14 Aug 2016        FP171                     M     9-10           SR29, 4.3km north of I75, Collier County                      Vehicle
 29 Aug 2016        FP195                     F     8.5            36th Avenue SE, Golden Gate Estates, Collier County           Intraspecific aggression
 2 Oct 2016         K421                      M     2yr 5 mo.      2685 SR 29, Immokalee, Collier County                         Vehicle
 10 Oct 2016        UCFP286                   M     2              SR 80 at the Lee/Hendry Co. line                              Vehicle
 18 Oct 2016        UCFP287                   M     3-4            US27, near Venus, Highlands County                            Vehicle
 28 Oct 2016        UCFP288                   M     6 mo.          Daniels Parkway southwest of SR82, Lee County                 Vehicle




Appendix IV
                                                                                                                                                                           82
                                 Case 1:21-cv-00119-RDM         Document 149-2                      Filed 01/12/24         Page 409 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE       LOCATION a P                                                 CAUSE
 31 Oct 2016        UCFP289                   F     3         Golden Gate Blvd 1km west of Everglades Blvd, Collier Co.    Vehicle
 16 Nov 2016        UCFP290                   F     adult     SR 29, 2.3 miles S of CR 858, Collier County                 Vehicle
 20 Nov 2016        UCFP291                   M     9 mo.     CR 832 two miles E of SR29, Hendry County                    Vehicle
 6 Dec 2016         UCFP292                   F     2         SR 29 2 miles N of CR 858, Collier County                    Vehicle
 8 Dec 2016         UCFP293                   F     4 mo.     Paul J. Doherty Pkwy, just S of Daniels Pkwy, Lee County     Vehicle
 9 Dec 2016         UCFP294                   F     2         Corkscrew Rd 250m E of Ben Hill Griffin Pkwy, Lee Co.        Vehicle
 10 Dec 2016        UCFP295                   F     4-5 mo.   Ben Hill Griffin Pkwy & FGCU Blvd, Lee County                Vehicle
 12 Jan 2017        UCFP296                   M     3 mo.     CR832 5 miles W of CR833, Hendry County                      Vehicle
 14 Jan 2017        UCFP297                   M     3-4       State Road 8 near Venus, Highlands County                    Injured- CAPTIVITY
 27 Jan 2017        K388                      M     4         Private property east of CR835, Hendry County                Intraspecific aggression
 23 Feb 2017        UCFP299                   U     U         2nd Ave NE, east of Desoto, GGE, Collier County              Unknown
 27 Feb 2017        UCFP300                   M     5-6       SR82 1/2 mile east of CR850, Collier County                  Vehicle
 28 Feb 2017        UCFP301                   M     2.5-3     NE Four Mile Road, Desoto County                             Vehicle
 4 Mar 2017         UCFP302                   F     2         SR82 1.7 miles west of CR850, Hendry County                  Vehicle
 9 Mar 2017         UCFP303                   F     2 mo.     SR82 1.4 miles east of CR850, Collier County                 Vehicle
 14 Mar 2017        UCFP304                   F     4         CR846, 2 miles east of Immokalee, Collier County             Vehicle
 22 Mar 2017        FP198                     F     9         Consolidated Citrus, near CREW, Lee County                   Intraspecific aggression
 5 Apr 2017         UCFP305                   F     1.5       CR835 south of Dooley Grade, Hendry County                   Vehicle
 13 Apr 2017        UCFP306                   M     3         I-4, at CR532 exit, Polk County                              Vehicle
 20 Apr 2017        UCFP307                   F     4-5       CR846, 2.6 miles west of County Line Rd, Collier County      Vehicle
 8 May 2017         UCFP308                   F     3-4       CR832, 5 mi. east of OSSF, Hendry County                     Vehicle
 11 May 2017        FP248                     F     3         Corkscrew Rd, just south of CR82, Collier County             Vehicle-injured
 7 Jun 2017         FP250 (PC1095)            M     1.5       Immokalee Road, 260 m east of Krape Rd., Collier Co.         Vehicle-injured
 11 Jun 2017        UCFP309                   U     U         Keri Island Rd. GGE, Collier County                          Unknown
 16 Jun 2017        UCFP310                   M     2-3       CR846, 2 mi east of County Line Road, Hendry Co              Vehicle
 28 Jun 2017        K480                      F     18 days   SBCNP, Turner River Unit, Collier County                     Abandoned- CAPTIVITY- NAPLES ZOO
 3 Jul 2017         UCFP311                   M     5         Immokalee Rd, 2 mi east of CR951, Collier County             Vehicle
 18 Jul 2017        UCFP312                   F     2.5       CR951, 400 ft N of City Gate, Collier County                 Vehicle
 2 Aug 2017         FP248                     F     3         Injured by vehicle 5/11/2017 on Corkscrew Rd., Collier Co.   Vehicle, necropsy revealed Feline leukomyelopathy
 13 Aug 2017        FP234                     M     12        I75, MM54, Collier County                                    Vehicle
 14 Aug 2017        UCFP313                   M     2         CREW, Marsh Hiking Trails, Collier County                    Intraspecific aggression
 18 Aug 2017        UCFP314                   M     1.5       Ft. Denaud Rd., LaBelle, Hendry Co.                          Vehicle
 24 Aug 2017        UCFP315                   F     1         CR846, Robert's Ranch Rd (Duck Curve), Hendry County         Vehicle
 28 Aug 2017        FP244                     M     7         Dinner Island Ranch WMA, Hendry County                       Unknown
 16 Sep 2017        UCFP316                   M     3.5       SR98, north of Lake Istokpoga, Highlands County              Vehicle
 15 Oct 2017        UCFP317                   F     1.5       CR835, 1 mi south of Dooley Grade Rd, Hendry County          Vehicle
 7 Nov 2017         K411                      M     3.7       Immokalee Rd, Collier County                                 Vehicle




Appendix IV
                                                                                                                                                                               83
                                 Case 1:21-cv-00119-RDM          Document 149-2                      Filed 01/12/24         Page 410 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE       LOCATION a P                                                  CAUSE
 13 Nov 2017        UCFP318 (K364)            M     6         CR833. 1 mi south of Hill Grade, Hendry County                Vehicle
 20 Nov 2017        FP249                     M     2         CR833, 3.6 km south of junction with CR835, Hendry Co.        Vehicle
 23 Nov 2017        UCFP319                   M     2         Daniels Pkwy, east of 75, Lee Co.                             Vehicle
 9 Dec 2017         UCFP320                   M     3 mo.     Desoto Blvd, near 24th Ave SE, Collier County                 Vehicle (euthanized)
 20 Dec 2017        UCFP321                   M     2-3       North of SR78, 8.8km east of junction with SR29, Glades Co.   Intraspecific aggression
 29 Dec 2017        FP224                     F     5.4       CR 951 at City Gate, Collier Co.                              Vehicle-injured
 7 Jan 2018         K475 (PC1144)             F     4-5 mo.   I75 southbound lanes, just west of exit 101, Collier Co.      Vehicle
 8 Jan 2018         UCFP322                   F     3-4       Josie Billie Highway, 6 miles E of SIR, Hendry Co.            Vehicle
 13 Jan 2018        UCFP323                   M     1.5       Immokalee Road at Wildwood, Collier County                    Vehicle
 30 Jan 2018        UCFP324                   M     2.5       SR80, west of LaBelle, Hendry County                          Vehicle
 2 Feb 2018         UCFP325                   F     3         CR835, 1/2 mi south Dooley Gr Rd, Hendry County               Vehicle
 3 Feb 2018         UCFP326                   F     5 mo.     CR835, 1/2 mi south Dooley Gr Rd, Hendry County               Vehicle
 5 Feb 2018         UCFP327                   M     4 mo.     Immokalee Rd south of Stockade St, Collier County             Vehicle
 19 Feb 2018        UCFP328                   F     5-6       Immokalee Rd, 8.8km east of Everglades Blvd, Collier Co.      Vehicle
 22 Feb 2018        UCFP329                   M     2         US27, 6km west of Clewiston, Hendry Co.                       Vehicle
 28 Feb 2018        UCFP330                   F     5-6       SR 29 in Jerome, Collier Co.                                  Vehicle
 28 Feb 2018        UCFP331                   F     6         CR846, 2.5 miles west of County Line Rd, Collier County       Vehicle
 14 Mar 2018        FP245                     M     7         Immokalee Ranch, 2mi ESE of the Bishop Pens; Hendry Co.       Pseudorabies
 21 Mar 2018        FP236                     M     9-10      Rock Rd, Golden Gate Estates, Collier County                  Dermatophytosis
 3 Apr 2018         UCFP332                   F     3         SR 82, 332m west of Corkscrew Rd., Collier Co.                Vehicle
 18 May 2018        UCFP333                   M     2.5       I-75, 2km east of SR29, Collier County                        Vehicle
 20 Jun 2018        UCFP334                   M     9 mo.     CR833 0.2 km north of CR832, Hendry County                    Vehicle
 25 Jun 2018        UCFP335                   M     2         SR29 3km south of CR858, Collier County                       Vehicle
 21 Jul 2018        K430                      M     4         Stewart Blvd, W of Miller Canal Bridge, Collier Co.           Vehicle
 1 Aug 2018         FP252                     M     14 mo.    Golden Gate Blvd between 15 th and 17 th St SW, Collier Co.
                                                                                             P   P     P   P                Vehicle
 25 Aug 2018        UCFP337                   F     5         CR832, 2.4km W of junction with CR833, Hendry Co.             Vehicle
 28 Aug 2018        UCFP336                   F     2 mo.     Naples Zoo, in enclosure, Collier Co.                         Unknown
 10 Sep 2018        UCFP338                   F     4         CR846 at the intersection of Wild Turkey Dr. Collier Co.      Vehicle
 17 Sep 2018        UCFP221 (Uno)             M     6         Naples Zoo, Collier Co.                                       CAPTIVITY-Other
 7 Oct 2018         UCFP339                   M     5         SR29, N of Immokalee, Collier Co.                             Vehicle
 10 Oct 2018        UCFP340                   F     4 mo.     On CR833, 1/3 mi E of CR846, Hendry Co.                       Vehicle
 10 Oct 2018        UCFP341                   M     4 mo.     On CR833, 1/3 mi E of CR846, Hendry Co.                       Vehicle
 17 Oct 2018        UCFP342                   M     4 mo.     5.1km W of Duck Curve on CRR846, Hendry Co.                   Vehicle
 17 Oct 2018        UCFP343                   M     2         Daniel’s Parkway, Lee Co.                                     Vehicle
 5 Nov 2018         FP250 (PC1095)            M     2.9       Private Property in Belle Meade, Collier Co.                  Intraspecific aggression
 5 Dec 2018         FP259 (PC1290)            M     15 mo.    SR82, 920m E of junction with Nimitz Blvd, Lee Co.            Vehicle-injured
 7 Dec 2018         FP251                     M     1.6       Immokalee Rd, 1.2km N of Jones Mining Rd, Collier Co.         Vehicle




Appendix IV
                                                                                                                                                       84
                                 Case 1:21-cv-00119-RDM             Document 149-2                          Filed 01/12/24     Page 411 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE          LOCATION a P                                                  CAUSE
 8 Dec 2018         UCFP344                   F     9            Felda, Church Rd about 2mi W of SR29, Collier Co.             Vehicle
 29 Dec 2018        UCFP345                   M     4.5 mo.      300m N of 14 th Ave NE along canal, Collier Co.
                                                                                P   P                                          Intraspecific aggression
 30 Jan 2019        UCFP346                   M     3            SR80, 1.8km E of Wellington Pkwy Junction, Hendry Co.         Vehicle
 1 Feb 2019         FP220                     F     12           BCNP, Turner River Unit, 3km E of junction, Collier Co.       Unknown
 8 Feb 2019         UCFP347                   F     8 mo.        DeSoto Blvd. between 4 th and 6 th Ave SE GGE, Collier Co.
                                                                                         P   P      P   P                      Vehicle
 11 Feb 2019        UCFP348                   M     9 mo.        Dude Orange Grove, Hendry Co.                                 Intraspecific aggression
 19 Feb 2019        UCFP349                   M     2            Golden Gate Blvd approx. 100ft E of 7 th St SW, Collier Co.
                                                                                                             P   P             Vehicle
 8 Mar 2019         UCFP350                   M     2            CR846, 3.25km W of County Line Rd, Collier Co.                Vehicle
 24 Mar 2019        UCFP351                   M     7 mo.        SR82, 390m W of Corkscrew Rd intersection, Collier Co.        Vehicle
 30 Mar 2019        UCFP352                   M     4            SR80 W of Labelle, E of bridge crossing creek, Hendry Co.     Vehicle
 23 Apr 2019        K181                      F     13.5         Jacksonville Zoo                                              CAPTIVITY- Euthanasia for chronic kidney disease
 14 Apr 2019        UCFP353                   F     1.5          CR846 2mi W of County Line Road, Collier Co.                  Vehicle
 30 Apr 2019        UCFP354                   M     5.5 mo.      CR833, 3mi E of CR846, Hendry Co.                             Vehicle
 21 May 2019        UCFP355                   M     1.8          SR82, Lehigh to south, preserve to north, Lee Co.             Vehicle
 27 Jun 2019        UCFP356                   F     5            East of Gopher Ridge Rd, 6km E of Immokalee, Collier Co.      Intraspecific aggression
 3 Jul 2019         UCFP357                   F     1.5          SR82 at the junction with Alabama Road, Lee Co.               Vehicle
 22 Jul 2019        UCFP359                   F     fetus        Golden Gate Blvd, near 9th Av. NW., Collier Co.               Vehicle
 22 Jul 2019        UCFP360                   M     fetus        Golden Gate Blvd, near 9th Av. NW., Collier Co.               Vehicle
 22 Jul 2019        UCFP358                   F     5            Golden Gate Blvd, near 9th Av. NW., Collier Co.               Vehicle
 26 Jul 2019        UCFP361                   F     10-12 mos.   SR82, 100m east of Homestead Rd., Lee Co.                     Vehicle
 15 Aug 2019        UCFP362                   U     U            CR846, 3 miles west of Duck Curve, Hendry Co.                 Vehicle
 2 Sep 2019         UCFP363                   F     2            SR80. 16.4km east of LaBelle (SR29), Glades Co.               Vehicle
 24 Sep 2019        UCFP364                   F     4 mos.       Golden Gate Estates, Collier Co.                              Vehicle
 5 Oct 2019         UCFP365                   M     2.5          I75 southbound at mile marker 120, Collier Co.                Vehicle
 9 Oct 2019         FP256                     F     1.7          Removed from wild 9/8/19. Euthanized on 9/9/19,               Feline leukomyelopathy ó   P




 31 Oct 2019        UCFP366                   M     3.5          SR29; 700m south of the Felda Store, Hendry Co.               Vehicle
 1 Nov 2019         UCFP367                   F     4.5 mos.     Orange grove SE of old Hendry County Prison, Hendry Co.       Vehicle
 2 Nov 2019         UCFP368                   M     3.5          Hwy 710 (Beeline), 3.2km south of Indiantown, Martin Co.      Vehicle
 6 Nov 2019         UCFP369                   F     2.25 mos.    Owl Hammock Curve SR29, Collier Co.                           Vehicle
 13 Nov 2019        UCFP370                   M     2.5          Church Rd. 2.25 mi north of SR82, Hendry Co.                  Vehicle
 14 Nov 2019        UCFP371                   F     3.5 mos.     CR832 in OK Slough, Hendry Co.                                Vehicle
 10 Dec 2019        K180                      F     14.75        Jacksonville Zoo                                              CAPTIVITY- Euthanized
 30 Dec 2019        UCFP372                   F     11 mos.      I-75, MM82.5, Collier Co.                                     Vehicle
 1 Jan 2020         UCFP375                   U     U            CR833, Hendry Co.                                             Vehicle
 2 Jan 2020         UCFP373                   F     2            Felda Church Rd and David C. Brown Rd. Hendry Co.             Vehicle
 4 Jan 2020         UCFP376                   M     3.5          CSX train tracks south of South Scenic Highway, Polk Co.      Train
 9 Jan 2020         UCFP374                   F     3            SR 29, Farmworker Village, Collier Co.                        Vehicle




Appendix IV
                                                                                                                                                                                  85
                                 Case 1:21-cv-00119-RDM          Document 149-2                   Filed 01/12/24      Page 412 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE       LOCATION a P                                            CAUSE
 21 Jan 2020        UCFP377                   F     1         SR82, Collier Co.                                       Vehicle
 27 Jan 2020        UCFP378                   M     1.75      SR82, Collier Co.                                       Vehicle
 19 Feb 2020        UCFP380                   M     U         SR29 6.4km south of Immokalee, Collier Co.              Vehicle
 19 Feb 2020        UCFP379                   M     3.5       CR846 near Dupree Grade, Collier Co.                    Vehicle
 2 Mar 2020         UCFP381                   M     3         SR80 by future C-43 reservoir, Hendry Co.               Vehicle
 8 Mar 2020         UCFP382                   F     1.5       CR846, west of County Line Rd, Collier Co.              Under investigation
 20 Mar 2020        FP192                     F     10        SBCNP, Collier Co.                                      Intraspecific aggression
 1 May 2020         FP259                     M     2.5-3     CR846. 8km east of SR29, Collier Co.                    Vehicle
 3 May 2020         UCFP383                   M     2         East end of White Boulevard, Collier Co.                Vehicle
 11 May 2020        UCFP384                   M     7         SR80, 17km east of Labelle, Hendry Co.                  Vehicle
 30 May 2020        UCFP385                   F     1.17      CR951. 140m north of The Lords Way, Collier Co.         Vehicle
 30 Jul 2020        UCFP386                   F     4 mos.    SR82 and Homestead Rd, Lee Co.                          Vehicle
 12 Aug 2020        UCFP387                   F     3         CR832 (Keri Rd.),Wild Cow Grade on OSSF, Hendry Co.     Vehicle
 18 Sep 2020        UCFP388                   M     3.5       CR846, 5.6km west of County Line Road., Collier Co.     Vehicle
 18 Nov 2020        UCFP389                   M     9 mos.    Corkscrew Road, Lee Co.                                 Vehicle
 1 Dec 2020         UCFP390                   M     2         SR80, east of Labelle, Hendry Co.                       Vehicle
 9 Dec 2020         FP260                     M     2         CR858, west of SR29. Collier Co.                        Vehicle-injured
 25 Dec 2020        UCFP391                   M     2         I-75, MM97, Collier Co.                                 Vehicle
 28 Dec 2020        UCFP392                   M     3         Oil Well Grade Rd., Collier Co.                         Vehicle
 2 Jan 2021         UCFP393                   F     3         Terminal Access Road to RSW, Lee Co.                    Vehicle
 4 Jan 2021         UCFP394                   F     2         SR29, 1km north of CR858, Collier Co.                   Vehicle
 11 Jan 2021        UCFP395                   M     2         County Road 74, 3.2km west of SR29, Glades Co.          Intraspecific aggression
 21 Jan 2021        UCFP396                   M     2         SR82, east of Rod and Gun Club Rd., Lee Co.             Vehicle
 1 Feb 2021         UCFP397                   M     5         5.1 km N of Big Cypress SIR Airfield, Hendry Co.        Intraspecific aggression
 13 Feb 2021        UCFP398                   F     7         SR82, 950 m SE of Daniels Pkwy, Lee Co.                 Vehicle
 10 Mar 2021        UCFP399                   M     4.5       SR62, 2.2 km east of Brewster Rd., Hardee Co.           Vehicle
 19 Mar 2021        K517                      M     70 days   North Belle Meade, Collier Co.                          Unknown
 21 Mar 2021        UCFP400                   M     1.5       I-75, MM94, Collier Co.                                 Vehicle
 25 Mar 2021        FP257                     F     7         Chamberlain Pkwy just S of Daniels Pkwy, Lee Co.        Vehicle
 1 Apr 2021         K518                      M     3 mos.    North Belle Meade, Collier Co.                          Malnutrition
 1 Apr 2021         K516                      F     3 mos.    North Belle Meade, Collier Co.                          Malnutrition
 10 Apr 2021        UCFP401                   F     1         Immokalee Rd., east of Oil Well Grade Rd, Collier Co.   Vehicle
 12 Apr 2021        K504                      F     1.5       I-75, MM132, Lee Co.                                    Vehicle
 18 May 2021        UCFP402                   F     3.5       CR846, 1km west of County Line Road, Collier Co.        Vehicle
 27 May 2021        UCFP403                   M     2         SR29. 1.2 km north of US41, Collier Co.                 Vehicle
 3 Jun 2021         UCFP404                   F     4.5       Church Rd. south of Hendry Co. Landfill, Hendry Co.     Vehicle
 4 Jun 2021         UCFP405                   M     2         SR29, 2miles south of I-75, Collier Co.                 Vehicle




Appendix IV
                                                                                                                                                 86
                                 Case 1:21-cv-00119-RDM           Document 149-2                     Filed 01/12/24             Page 413 of 585
FWC Florida Panther Annual Report 2022-2023




 DATE               PANTHER ID                SEX   AGE        LOCATION a P                                                     CAUSE
 9 Jul 2021         UCFP406                   M     2.5        Daniels Pkwy 1.5 mi E of I-75, Lee Co.                           Vehicle
 15 Aug 2021        UCFP407                   U     2.5        Old agricultural fields east of Miller Blvd. PSSF, Collier Co.   Unknown
 25 Aug 2021        UCFP408                   M     8          West of junction SR82 and Corkscrew Rd, Collier Co.              Vehicle
 28 Sep 2021        UCFP409                   M     4.5 mos.   Turner River Rd, 5.1km N of Wagon Wheel Rd, Collier Co.          Vehicle
 28 Sep 2021        UCFP410                   M     3          SR29. 1 mile south of I-75, Collier Co.                          Vehicle
 29 Sep 2021        UCFP411                   F     11         Daniels Parkway 1.8km NE of Gateway Blvd., Lee Co.               Vehicle
 16 Oct 2021        UCFP412                   M     3          SR80, 1/2 mi west of Townsend Canal Rd. Hendry Co.               Vehicle
 30 Oct 2021        UCFP413                   F     4 mos.     Corkscrew Rd., west of Alico Rd., Lee Co.                        Vehicle
 16 Nov 2021        K373                      F     9          OSSF on Keri Rd at North Loop trail entrance. Hendry Co.         Vehicle
 3 Jan 2022         UCFP414                   M     2.5        CR951, 2km N of Rattlesnake Hammock Rd., Collier Co.             Vehicle
 9 Jan 2022         UCFP415                   M     3          US27, 1.6 miles SE of SR29 junction, Glades Co.                  Vehicle
 15 Jan 2022        UCFP416                   M     2 mos.     Golden Gate Blvd. Between 20th and 22nd St. SE, Collier Co.      Vehicle
 28 Jan 2022        UCFP417                   F     3          Carson Rd, just north of Roy Way, Immokalee, Collier Co.         Vehicle
 31 Jan 2022        FP261                     F     2.5        West of Alligator Alley toll booth, MM100, Collier Co.           Vehicle
 8 Feb 2022         UCFP418                   M     5          CR832, 260m west of Collins Slough Rd., Hendry Co.               Vehicle
 18 Feb 2022        UCFP419                   F     1.5        Flaghole Rd, 3.9 km S of US 27. Hendry Co.                       Vehicle
 28 Feb 2022        UCFP420                   M     1.5        SR82, 1.2km east of Corkscrew Road. Collier Co.                  Vehicle
 27 Mar 2022        UCFP421                   F     1.5        CR833, 1.8km north of BCSIR, Hendry Co.                          Vehicle
 11 Apr 2022        UCFP422                   F     4          SR29, Chapparal Slough, Glades Co.                               Vehicle
 17 Apr 2022        UCFP423                   M     2.5        SR570, 100m south of US92, Polk Co.                              Vehicle
 10 May 2022        UCFP424                   F     2          US27 at FEC, Glades Co.                                          Vehicle
 14 May 2022        UCFP425                   F     10 mos.    Treeline Ave. 1/2 mile N of Terminal Access Rd. Lee Co.          Vehicle
 16 May 2022        UCFP426                   M     2          Goggin Road, 765m south of SR80. Lee Co.                         Vehicle
 19 May 2022        K520                      F     2.5 mos.   Wildflower Way in Lely, Collier Co.                              Unknown
 20 May 2022        UCFP427                   M     3          US41 5 miles SE of CR951. Collier Co.                            Vehicle
 23 May 2022        FP264                     F     5 mos.     Corkscrew Swamp Sanctuary, Collier Co.                           Unknown
 9 Jul 2022         UCFP428                   F     4          Immokalee Rd., 1.25 mi S. of Wild Turkey Dr., Collier Co.        Vehicle
 12 Jul 2022        UCFP429                   F     7-12       CR846, near Bethune Ave., Collier Co.                            Vehicle
 21 Jul 2022        UCFP430                   F     2-3        I-75, MM89, Collier Co.                                          Vehicle
 25 Aug 2022        UCFP431                   M     1.5-2.5    Joel Blvd./Edwards Dr., Lehigh Acres, Lee Co.                    Vehicle – Succumbed to injuries
 5 Sep 2022         K519                      F     6 mos.     Rattlesnake Hammock Rd., Collier Co.                             Vehicle – Necropsy revealed severe FLM
 8 Sep 2022         UCFP432                   F     2          CR833, BCSIR, Hendry Co.                                         Vehicle
 28 Oct 2022        UCFP433                   M     2.5        Keri Rd., 2.1 mi west of CR833, Hendry Co.                       Vehicle
 13 Nov 2022        UCFP434                   F     4-5        SR29, Owl Hammock Curve, Collier Co.                             Vehicle
 1 Dec 2022         UCFP435                   M     1-2        W. Keysville Rd., Hillsborough County                            Vehicle
 7 Dec 2022         UCFP436                   F     3          SR82, just west of Corkscrew Rd., Collier Co.                    Vehicle
 10 Jan 2023        UCFP437                   F     2-3        CR846, 1.6 mi west of County Line Rd., Collier Co.               Vehicle – Euthanized, necropsy revealed mild FLM




Appendix IV
                                                                                                                                                                                   87
                                 Case 1:21-cv-00119-RDM                       Document 149-2                     Filed 01/12/24          Page 414 of 585
FWC Florida Panther Annual Report 2022-2023




    DATE            PANTHER ID                SEX       AGE                LOCATION a P                                                   CAUSE
    30 Jan 2023     UCFP438                   F         3-4                Golden Gate Blvd., Collier Co.                                 Vehicle
    26 Feb 2023     UCFP439                   M         1                  Josie Billy Hwy., BCSIR, Hendry Co.                            Vehicle
    25 May 2023     UCFP440                   M         4                  Oil Well Rd. just west of Oil Well Grade, Collier Co.          Vehicle
    9 Jun 2023      UCFP441                   F         5-7 mos.           SR29, south of Oil Well Rd., Collier Co.                       Vehicle
  12 Jun 2023       UCFP442                    F        3-4                SR29, south of Oil Well Rd., Collier Co.                        Vehicle
a BCSIR = Big Cypress Seminole Indian Reservation; CREW = Corkscrew Regional Ecosystem Watershed; EVER = Everglades National Park; FEC = Fisheating Creek WMA; FPNWR = Florida Panther
P




National Wildlife Refuge; FSPSP = Fakahatchee Strand Preserve State Park; NBCNP = Big Cypress National Preserve north of Interstate 75; OSSF = Okaloacoochee Slough State Forest; PSSF = Picayune
Strand State Forest/Wildlife Management Area.; SBCNP = Big Cypress National Preserve south of Interstate 75.




Appendix IV
                                                                                                                                                                                               88
    Case 1:21-cv-00119-RDM                    Document 149-2   Filed 01/12/24   Page 415 of 585
FWC Florida Panther Annual Report 2022-2023




                FPRMTF: FUNDING INFORMATION AS OF 30 JUNE 2023

 Beginning Balance 1 July 2022                                                          $1,852,115

 Fiscal Year 2021-2022

 Panther License Plate Annual Use Fees                                                  $1,007,375
 Interest Earnings                                                                         $30,972
 Donations/Transfers                                                                         $440

 Total Revenue                                                                          $1,038,791

 Fiscal Year 2021-2022 Expenditures

 Panther Management                                                                      $422,636
 Panther Research                                                                        $458,483
 Transfer to Department of Management Services                                             $3,115
 Transfer to Department of Financial Services                                              $8,459
 Service Charge to General Revenue                                                        $84,098
 Transfer to Administrative Trust Fund                                                   $111,270

 Total Expenditures                                                                     $1,088,061

 Projected Fund Balance 30 June 2023                                                    $1,802,845

 FWC Florida Panther Management Operating Program Appropriations

 Division of Habitat and Species Conservation                                            $383,995
 Fish and Wildlife Research Institute                                                    $438,009

 Total Florida Panther Program Appropriations                                            $822,004




                                                                                                  89
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 416 of 585




                   Attachment C
 Case 1:21-cv-00119-RDM                   Document 149-2                 Filed 01/12/24   Page 417 of 585


From:            Keltner, James
To:              SD-ERPcomments
Cc:              Florida_404@fws.gov; Raininger, Christine; Hight, Jason
Subject:         State 404 Permit App. No.: 396364-001SFI Individual Collier
Date:            Thursday, January 28, 2021 12:55:45 PM
Attachments:     image001.png
                 image002.png


Dear Toby:

Florida Fish and Wildlife Conservation Commission staff has reviewed the Collier Enterprises
Management Inc., Bellmar Community State 404 Program Application (No. 13-396394-001- SFI)
for the proposed impacting of 135.19 acres of state assumed waters in order to construct a mixed use
residential community in Collier County. The review of the application materials has prompted the
following requests for further information. Please direct any questions regarding this information by
phone or e-mail to the FWC point of contact shown below.

       1. A wetland mitigation plan. [Application Form Section A Part 1, Section C Parts 1-3
          and Section 1 (1) through (7) and Applicant’s Handbook Volume I (AHI) 5.5.3 and
          State 404 Program Handbook 8.0].
       2. A species survey containing dates of survey, habitat, survey methodology, and
          wildlife observed [Chapter 68A-27.003].
       3. A list of potentially affected federally and state listed species, including species in
          the vicinity of the project that may be affected [State 404 Program Handbook 8.2(f),
          Application Form Section I (6)]. The list should include, but is not limited to: state
          listed wading birds, Big Cypress fox squirrel (Sciurus niger avicennia ), wood stork
          (Mycteria americana), Everglade snail kite (Rostrhamus sociabilis plumbeus),
          Florida panther (Puma [=Felis] concolor coryi), red-cockaded woodpecker
          (Picoides borealis), Florida scrub-jay (Aphelocoma coerulescens), and Florida
          bonneted bat (Eumops floridanus).
       4. Preliminary determinations of effect for federally listed species, and anticipated
          adverse impacts to state listed species, as assessed by the applicant [State 404
          Program Handbook 8.2(f), Application Form Section I (6)].
       5. A description of how the project will be designed to avoid and minimize adverse
          effects and impacts to fish and wildlife [AHI Section 10.2.1; Application Form
          Section C Part 2 (1) and Section I (6)].
       6. Analysis of any cumulative and secondary effects, including the effects of future
          State or private activities that are reasonably certain to occur within the project area
          [AHI Section 10.2.7. and 10.2.8; State 404 Program Handbook 8.3.5 and 8.3.6;
          Application Form Section C Part 2 (8) and (9)].
       7. Provide any other information relevant to the project that would significantly assist
          the public and State or Federal agencies in reviewing, understanding, and
          commenting on the proposed project, including all information needed for review of
          impacts to federally or state-listed species, [Rule 62-331.060(1)(d) through (i),
          F.A.C.; State 404 Program Handbook 5.2.3 and 5.3.1(a)(7)] including, but not
          limited to:
                  a. Any existing Biological Opinion(s) or Incidental Take Statements issued
                     by USFWS that would be relevant to the proposed action, or any approved
                     Habitat Conservation Plan (HCP) issued by USFWS within the proposed
                     action area.
 Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 418 of 585


Please notify FWC staff once the additional information is received. FWC staff will use this
information to inform our coordination with the U.S. Fish and Wildlife Service and develop the
affected species list and effect determinations for the Public Notice.

Sincerely,

Jim Keltner
Biological Scientist
Florida Fish and Wildlife
  Conservation Commission
2423 Edwards Drive
Ft. Myers, FL 33901
(863) 273-0629




Bellmar Community_43152_01282021




From: SD-ERPcomments <SD-ERPcomments@dep.state.fl.us>
Sent: Wednesday, December 30, 2020 7:39 AM
To: CompliancePermits@dos.myflorida.com; Conservation Planning Services
<conservationplanningservices@MyFWC.com>; Florida_404@fws.gov
Cc: Chase, Kelly L <Kelly.L.Chase@FloridaDEP.gov>; Hardman, Curtis
<Curtis.Hardman@FloridaDEP.gov>
Subject: State 404 Permit App. No.: 396364-001SFI Individual Collier


[EXTERNAL SENDER] Use Caution opening links or attachments
The attached State 404 Program application was submitted to the Submerged Lands and
Environmental Resources Program. We are currently processing the request as required by Chapters
253, 258, and 373, F.S. This application is being submitted for your review and comment.

Applicant Name: Collier Enterprises Management, Inc.

Project Name: Bellmar Community

Permit Application Link: https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
documents/ERP_396364/gis-facility!search Documents may not be available for up to 48 hours

Location Map Link (Clearly Depicting Project Boundaries):
See Attachments

Project Location (such as GPS Coordinates, Township Range Section (TRS), street address, parcel
ID, etc.):
 Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 419 of 585




Project Description: A total of 132.23 acres of wetlands and 2.96 acres of surface waters will be
impacted as a result of the construction of a master-planned community and associated
infrastructure.

Concurrent Review Information
Is the permit application being submitted for authorizations under both the State 404 program and
ERP program?
No
The ERP application has been submitted to FWC and SHPO ☐ No
The ERP application is for a project type that does not require FWC review ☐ No
Is ERP already issued? ☐ No (If Yes, provide Permit No.:Click or tap here to enter text. ).

DEP requires your response in order to issue a permit. If you do not have adequate information to
provide comments at this time, please return written questions and/or requests for additional
information by the below due date. The requested information will be incorporated into the DEP
response to the applicant. If you have no questions at this time but require additional time to prepare
final comments, you preserve your ability to comment as the application is processed, but please let
us know you intend to provide comments.

SHPO: Return your comments by 1/27/2021. This date represents 30 days from the date the
application was received by DEP.

FWC and USFWS: Return your comments by 12/17/2020 This date represents 20 days from the date
the application was received by DEP. If a few more days are needed in order to respond, please
contact me for a possible modified due date.

Return your comments (referencing the applicant's name and file number) to our office at the
following email address: SD-ERPcomments@floridadep.gov If you have questions, please call me at
Curtis Hardman at (239) 344-5639. Thank you.
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 420 of 585




                  Attachment D
             Case 1:21-cv-00119-RDM          Document 149-2           Filed 01/12/24       Page 421 of 585


Hughes, Rhonda

From:               Irving, Robert <Robert.Irving@MyFWC.com>
Sent:               Wednesday, May 25, 2022 3:10 PM
To:                 Schwetje, Toby; SW_ERP
Cc:                 Florida_404@fws.gov; Hight, Jason; Cucinella, Josh; Phillips, Bryan; Conservation Planning Services;
                    DiGruttolo, Laura; Hall, Jaime; Ganey, Jessica
Subject:            FWC Public Notice Information for Bellmar; State 404 Permit App No. 396364-001; Collier County
Attachments:        FWC Public Notice for Bellmar_43152_05252022.pdf

Categories:         Upload to Oculus



                                                  EXTERNAL MESSAGE
This email originated outside of DEP. Please use caution when opening attachments, clicking links, or responding to this
                                                         email.
Mr. Schwetje:

FWC’s information for the Public Notice for the Bellmar project (396364-001) is attached. This response should be
combined with other information from FDEP for the project’s Public Notice. For technical questions, please contact
Bryan Phillips at (850) 767-3646 or by email at Bryan.Phillips@MyFWC.com.

Sincerely,

Robert Irving
Land Use Planning Program Administrator
Florida Fish and Wildlife Conservation Commission
1875 Orange Ave. East
Tallahassee, Florida 32311-6160
Phone: (850) 617-6034




                                                            1
  Case 1:21-cv-00119-RDM           Document 149-2         Filed 01/12/24     Page 422 of 585

May 25, 2022



              Florida Fish and Wildlife Conservation Commission’s Public Notice Response
              Bellmar Community
              State 404 Permit Application (396364-001), Collier County



FEDERALLY AND STATE-LISTED SPECIES: The project is located within the U.S. Fish and
Wildlife Service (USFWS) Consultation Areas for the Audubon’s crested caracara (Polyborus
plancus audubonii, Federally Threatened [FT]), Everglade snail kite (Rostrhamus sociabilis
plumbeus, Federally Endangered [FE]), Florida scrub-jay (Aphelocoma coerulescens, FT),
Florida panther (Felis concolor coryi, FE), red-cockaded woodpecker (Picoides borealis, FE),
Florida bonneted bat (Eumops floridanus, FE), and Core Foraging Areas (CFA) for the wood
stork (Mycteria americana, FT). The project site may also provide habitat for the eastern indigo
snake (Drymarchon corais couperi, FT), gopher tortoise (Gopherus polyphemus, State
Threatened [ST]), Florida pine snake (Pituophis melanoleucus mugitis, ST), southeastern
American kestrel (Falco sparverius paulus, ST), Florida sandhill crane (Antigone canadensis
pratensis, ST), little blue heron (Egretta caerulea, ST), roseate spoonbill (Platalea ajaja, ST),
tricolored heron (Egretta tricolor, ST), Everglades mink (Neovison vison evergladensis, ST), and
Big Cypress fox squirrel (Sciurus niger avicennia, ST).

Florida Fish and Wildlife Conservation Commission (FWC) staff determined the proposed
project will have no effect on the Florida scrub-jay and red-cockaded woodpecker; and may
affect but is not likely to adversely affect the wood stork, Everglade snail kite, and Audubon’s
crested caracara. The project may affect and is likely to adversely affect the Florida panther,
Florida bonneted bat, and eastern indigo snake.

Florida Panther: The entire project site is located with the Panther Focus Area Primary Zone.
Use of the USFWS Panther Effect Determination Key, resulted in the following sequential
determination: A > C = “may affect” the Florida panther. Florida panthers have been
documented utilizing the forested uplands and forested wetland areas on the project site based on
radio-collar telemetry points. According to the applicant’s environmental representative,
Passarella and Associates Inc. (PAI), the proposed project would result in impacts to 1,793.4
acres. The estimated number of Panther Habitat Unit (PHU) credits needed is 16,844 based on
PAI’s use of USFWS’s Panther Compensation Calculator. The applicant has proposed to offset
potential impacts to the Florida panther through a combination of onsite preservation and
enhancement consisting of 2,391.6 acres. According to information provided by PAI, the project
would provide compensation totaling 18,648 PHUs, which is a net increase of 1804 PHUs. The
applicant has indicated a willingness to evaluate and implement avoidance, minimization, and
compensation measures needed to offset potential adverse impacted to Florida panthers
associated with any roadway improvements needed to accommodate future increases in traffic.
Based on this information, the proposed project “may affect, and is likely to adversely affect” the
Florida panther. FWC staff will work with USFWS staff, Florida Department of Environmental
Protection (FDEP) staff, and the applicant to determine any necessary permit conditions for the
State 404 permit based on this information.
  Case 1:21-cv-00119-RDM            Document 149-2        Filed 01/12/24      Page 423 of 585

May 25, 2022


Florida Bonneted Bat: The Florida bonneted bat roosts in a variety of habitats including tropical
hardwoods, pinelands, and mangroves that include tall, mature trees or other areas in which
suitable structural features for breeding and sheltering are present. Foraging habitat is comprised
of relatively open areas including open fresh water, permanent or seasonal freshwater wetlands,
within and above wetland and upland forests, agricultural lands, and man-made habitats such as
golf courses and parks. The project site is located within proposed Critical Habitat for the
Florida bonneted bat and PAI has noted that the site contains physical and biological habitat
features for bonneted bat. According to PAI, the project would result in an impact to
approximately 1,550 acres of potential foraging and/or roosting habitat, but approximately 821
acres is currently in active row crop production and provides limited foraging and roosting
habitat. An acoustic survey for the Florida bonneted bat was performed at 30 stations located on
the property. A total of 153 Florida bonneted bat calls were recorded at 6 survey stations, with
12 identified as near the time of roosting.

The applicant has proposed to implement several Best Management Practices from the
Consultation Key. PAI indicates that the proposed project would preserve and enhance
approximately 2,571 acres of foraging and roosting habitat, resulting in an overall net increase in
permanently protected habitat, so that the impacts would not result in an overall loss of available
critical habitat for Florida bonneted bat. Based on this information, use of the USFWS Florida
Bonneted Bat Consultation Guidelines key resulted in the following sequential determination: 1a
> 2a > 3b > 6a > 7a > 8b, “likely to adversely affect.” FWC staff will work with USFWS staff,
FDEP staff, and the applicant to determine any necessary permit conditions for the State 404
permit based on this information. The potential impacts to the Florida bonneted bat were
evaluated using the. and further coordination with USFWS staff is required.

Eastern Indigo Snake: Over most of its range, the eastern indigo snake inhabits pine flatwoods,
scrubby flatwoods, high pine, dry prairie, tropical hardwood hammocks, edges of freshwater
marshes, agricultural fields, coastal dunes, and human-altered habitats. Eastern indigo snakes
appear to need a mosaic of habitats to complete their life cycle. Wherever the eastern indigo
snake occurs in xeric habitat, it is closely associated with the gopher tortoise. No gopher tortoise
burrows were observed during the 2019-2020 surveys of the site. The project site includes
approximately 2,724 acres of habitat that could potentially be used by the eastern indigo snake.
According to information provided by PAI, eastern indigo snakes were documented on the site
during surveys conducted in 2007 and 2009. The potential impacts to the eastern indigo snake
were evaluated using the USFWS Eastern Indigo Snake Programmatic Effect Determination
Key. Use of the key resulted in the following sequential determination: A > B > C, “may affect”
since the project will result in impacts to more than 25 acres of potential habitat for the eastern
indigo snake. The applicant has committed to following the USFWS-approved Standard
Protection Measures for the Eastern Indigo Snake during the clearing and construction phases of
the project. Based on the available information, the proposed project “may affect, and is likely
to adversely affect” the eastern indigo snake. FWC staff will work with USFWS staff, FDEP
staff, and the applicant to determine any necessary permit conditions for the State 404 permit
based on this information.

Wood Stork: The project lies within the 18.6-mile buffer of the 619141, 619018 (Corkscrew),
619316, and 619161 (North Catherine Island II) colonies and wood storks have been observed
  Case 1:21-cv-00119-RDM           Document 149-2         Filed 01/12/24     Page 424 of 585

May 25, 2022


foraging on the property. The project site is located approximately 1.7 miles from the North
Catherine Island II nesting location. The proposed project would potentially affect suitable
foraging habitat and impacts are unavoidable. The applicant is proposing to provide on-site
mitigation which is within the appropriate CFA and of matching hydroperiod of the proposed
impacts, and the project is not contrary to the Habitat Management Guidelines for the Wood
Stork in the Southeast Region. Use of the USFWS South Florida Ecological Services Office
Effect Determination Key, resulted in the following sequential determination: A > B > C > E,
“not likely to adversely affect” provided the permit is conditioned on the applicant complying
with approved wetland mitigation and monitoring requirements. FWC staff will work with
USFWS staff, FDEP staff, and the applicant to determine any necessary permit conditions for the
State 404 permit based on this information.

Audubon’s Crested Caracara: The Audubon’s crested caracara prefers habitats that contain
largely short-stature vegetation with a low density of trees, including dry or wet prairie and
improved and unimproved pasture containing scattered cabbage palms, their preferred nesting
tree. They may also be found in lightly wooded areas with scattered saw palmetto, scrub oaks,
and cypress. Seasonal freshwater marsh wetlands of less than 2.47 acres may increase habitat
attractiveness. Audubon’s crested caracaras have been observed foraging on site and a nest was
documented on-site during 2020. PAI conducted bi-weekly observations and documented that
the young fledged. PAI conducted surveys in 2021 and no nesting activity was observed on the
property. Potential nesting habitat is present on the property. The applicant intends to conduct
additional surveys and will avoid any nests during the nesting season. Based on this information,
FWC staff determined that the proposed project “may affect but is not likely to adversely affect”
Audubon’s crested caracara. FWC staff will work with USFWS staff, FDEP staff, and the
applicant to determine any necessary permit conditions for the State 404 permit based on this
information.

Everglade Snail Kite: Everglade snail kite foraging habitat consists of relatively shallow wetland
vegetation, either within extensive marsh systems, or in lake littoral zones. This species nests in
a variety of vegetation types, usually over open water and almost always in areas with good
foraging habitat nearby. Its preferred habitat is lowland freshwater marshes mostly in the
Everglades, Lake Okeechobee, Lake Kissimmee, and upper St. Johns River watersheds. Most of
the wetlands on the property are forested, but the property does contain approximately 78 acres
of potential habitat. According to information provided by PAI, an adult Everglade snail kite
was observed flying on the property during 2019-2020 surveys, and piles of apple snail shells
have been observed on the property. No nesting has been observed on the site. Based on this
information, FWC staff determined that the proposed project “may affect but is not likely to
adversely affect” the Everglade snail kite. FWC staff will work with USFWS staff, FDEP staff,
and the applicant to determine any necessary permit conditions for the State 404 permit based on
this information.

Florida Scrub-Jay: The Florida scrub-jay is endemic to peninsular Florida’s ancient dune
ecosystems of oak-dominated scrub, or xeric oak scrub habitat, which occur on well-drained to
excessively well-drained sandy soils. Optimal habitat for scrub-jays is dominated by low
growing oaks (sand live oak [Quercus geminata], Chapman oak [Q. chapmanii], myrtle oak [Q.
myrtifolia], scrub oak [Q. inopina]), which are 1 to 3 meters high, interspersed with 10 to 50
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24      Page 425 of 585

May 25, 2022


percent unvegetated, sandy openings for foraging and acorn-caching space, and a sand pine
(Pinus clausa) canopy of less than 20 percent. The project lies within the consultation area for
Florida scrub-jay, but suitable habitat for this species is not present on the site based on existing
site conditions. Based on this information, FWC staff has determined that the project would
have “no effect” on the Florida scrub-jay and no State 404 permit conditions are necessary for
this species.

Red-Cockaded Woodpecker: The red-cockaded woodpecker lives and forages in mature pine
forests, specifically those with longleaf pines averaging 80 to 120 years old and loblolly pines
averaging 70 to 100 years old. Red-cockaded woodpeckers live in groups with a breeding pair
and as many as four helpers, usually male offspring from the previous year. Each group needs
about 200 acres of old pine forest to support its foraging and nesting needs. The applicant’s
environmental representative, PAI, conducted surveys during 2020 and 2021 and no potential
nesting cavities were observed on the property. No red-cockaded woodpeckers have been
observed foraging on the property. Based on this information, FWC staff has determined that the
proposed project would have “no effect” on the red-cockaded woodpecker and no State 404
permit conditions are necessary for this species.

Gopher Tortoise: Gopher tortoises are found in dry, sandy soils in habitats such as sandhills,
xeric oak, and dry pine flatwoods. The onsite uplands represent potentially suitable habitat for
the gopher tortoise. In their Biological Assessment, PAI indicated that no gopher tortoise
burrows were observed onsite during surveys performed in 2019-2020. FWC’s Gopher Tortoise
Permitting Guidelines found at http://www.myfwc.com/license/wildlife/gopher-tortoise-permits/
can be referenced for survey methodology, measures for avoiding impacts, as well as options and
state requirements for minimizing, mitigating, and permitting. FWC staff will work with FDEP
staff and the applicant to establish appropriate avoidance measures prior to issuance of the State
404 permit that will be included as permit conditions.

Southeastern American Kestrel: The project site may provide suitable habitat for the
southeastern American kestrel, including the open field habitat present on-site. PAI conducted
surveys in March and April 2020 and observed kestrels on site but was not able to determine if
the kestrels were non-migratory. The Species Conservation Measures and Permitting Guidelines
for Southeastern American Kestrel found at https://myfwc.com/wildlifehabitats/wildlife/species-
guidelines/ can be referenced for biological information, survey methodology, measures for
avoiding impacts, and recommended conservation practices. If nesting is identified on the
project site, avoidance measures include maintaining a 490-feet (150-meter) buffer around the
nest cavity location. FWC staff will work with FDEP staff and the applicant to establish
appropriate avoidance measures prior to issuance of the State 404 permit that will be included as
permit conditions.

State-Listed Wading Birds: The forested wetlands present onsite may provide potential habitat
for wading birds, including the little blue heron, roseate spoonbill, and tricolor heron which have
been observed foraging on-site. No nesting was observed during surveys conducted in 2019-
2020. The Species Conservation Measures and Permitting Guidelines for Little Blue Heron,
Reddish Egret, Roseate Spoonbill, Tricolored Heron found at
https://myfwc.com/wildlifehabitats/wildlife/species-guidelines/ can be referenced for biological
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 426 of 585

May 25, 2022


information, survey methodology, measures for avoiding impacts, and recommended
conservation practices. If nesting is discovered after site activities have begun, the applicant will
need contact the FWC to discuss potential avoidance measures, which include maintaining a
330-feet (100-meter) buffer around the nesting area, or other alternatives. FWC staff will work
with FDEP staff and the applicant to establish appropriate avoidance measures prior to issuance
of the State 404 permit that will be included as permit conditions.

Florida Sandhill Crane: The open marsh on the project site may provide suitable foraging and
nesting habitat for the Florida sandhill crane. Florida sandhill cranes have been observed
foraging on-site and a potential nesting area was documented on the property. The Species
Conservation Measures and Permitting Guidelines for Florida Sandhill Crane found at
https://myfwc.com/wildlifehabitats/wildlife/species-guidelines/ can be referenced for biological
information, survey methodology, measures for avoiding impacts, and recommended
conservation practices. If nesting is identified on the project site, avoidance measures include
maintaining a 400-foot (122-meter) buffer around the nesting area. FWC staff will work with
FDEP staff and the applicant to establish appropriate avoidance measures prior to issuance of the
State 404 permit that will be included as permit conditions.

Big Cypress Fox Squirrel: The Big Cypress fox squirrel typically inhabit pine flatwoods,
cypress swamps and hard wood hammocks with open to moderately dense understory and shrub
cover. According to information provided by PAI, Big Cypress fox squirrels have been observed
during on-site surveys conducted in 2007-2009, 2019-2020, and during other field work on the
site. The Species Conservation Measures and Permitting Guidelines for Big Cypress Fox
Squirrel (https://myfwc.com/media/11559/bigcypressfoxsquirrelguidelines-2018.pdf) can be
referenced for biological information, survey methodology, measures for avoiding impacts, and
recommended conservation practices. FWC staff will work with the applicant and FDEP staff to
establish appropriate avoidance measures prior to issuance of the State 404 permit that will be
included as permit conditions.

Everglades Mink: The project site is located within the range of the Everglades mink and the
site contains potential habitat including ditches, freshwater marsh, and prairie. Everglades mink
rely on multiple wetland habitat types, do not avoid human activity, and frequently utilize man-
made structures such as canals and levees located near wetland habitat. Their dens, if present,
may be located near canals and wetlands. In March and April 2020, PAI conducted a camera
trap survey for Everglades mink, and none were observed or recorded. FWC staff will work with
the applicant and FDEP staff to determine any necessary permit conditions for the State 404
permit based on this information.
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 427 of 585




                   Attachment E
              Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24        Page 428 of 585
                            September 18, 2023



                            Toby Schwetje
                            Florida Department of Environmental Protection
                            South District Office
                            2295 Victoria Avenue, Suite 364
Florida Fish                Fort Myers, FL 33901
and Wildlife                toby.schwetje@FloridaDEP.gov
Conservation
Commission                  Re:     Bellmar Community, State 404 Permit Application (396364-001), Collier County

Commissioners               Dear Mr. Schwetje:
Rodney Barreto
Chairman
Coral Gables                Florida Fish and Wildlife Conservation Commission (FWC) staff reviewed the above-referenced
                            permit application and provides the following comments, recommendations, and permit
Steven Hudson
Vice Chairman               conditions during your review of the State 404 permit application pursuant to Chapter 62-331,
Fort Lauderdale             Florida Administrative Code, Chapter 373, Florida Statutes (FS), and in accordance with FWC’s
Preston Farrior
                            authorities under Chapter 379, FS. These comments have been coordinated with the U.S. Fish
Tampa                       and Wildlife Service (USFWS) to ensure the conservation of Florida’s federally and state-listed
                            wildlife and their habitats.
Gary Lester
Oxford

Albert Maury
Coral Gables
                            Project Description

Gary Nicklaus                 The applicant, Collier Enterprises Management Inc., requests authorization to construct a master-
Jupiter
                              planned, mixed-use community on an approximately 5,105-acre site in Collier County. The
Sonya Rood                    planned features include an approximately 1,000-acre residential village, a 350-acre commercial
St. Augustine
                              town center, 750 acres of continued agriculture, 400 acres of water management features, and
                              approximately 2,500 acres of conservation lands. The site is located on Golden Gate Boulevard
Office of the                 East and is situated approximately 4 miles north of I-75. Currently, the proposed project site
Executive Director            contains approximately 1,661 acres of irrigated cropland, 1,573.7 acres of cypress, 625.5 acres of
Roger A. Young
Executive Director
                              mesic flatwoods, 399.2 acres of improved pasture, 141.7 acres of mixed scrub-shrub wetland,
                              116.9 acres of fallow cropland, 101.8 acres of wet flatwoods, 101.3 acres of shrub and brushland,
Jessica Crawford              79.9 acres of cypress/tupelo, 62.6 acres of mixed hardwood coniferous swamp, 57.3 acres of
Chief of Staff
                              palmetto prairie, 56.7 acres of mixed hardwood wetlands, 54.6 acres of isolated freshwater
850-487-3796                  swamp, 32.5 acres of rural open land, 22.1 acres of freshwater marsh, 9.6 acres of canal, 3.4 acres
850-921-5786 FAX
                              of low density residential, 3.0 acres of urban open land, 2.2 acres of roads, and 0.9 acres of ponds.
Managing fish and wildlife    The proposed project would result in 132.23 acres of direct impacts and 12.0 acres of secondary
resources for their long-term impacts to jurisdictional wetlands. The applicant has proposed to offset wetland impacts through
well-being and the benefit
of people.                    the implementation of an on-site conservation area consisting of approximately 2,570.7 acres,
                              which would include preservation and enhancement of 2,100.2 acres of jurisdictional wetlands.
                              This mitigation would be implemented in three phases, consisting of 645.0 acres in Area 1,
                              1,011.6 acres in Area 2, and 873.1 acres in Area 3.
620 South Meridian Street
Tallahassee, Florida        The applicant has developed and will implement the Listed Species Management and Human-
32399-1600                  Wildlife Co-existence Plan (dated July 2021) which contains conditions and best management
Voice: 850-488-4676         practices to avoid and minimize impacts to the listed species and their habitat referenced in these
Hearing/speech-impaired:    plans. The applicant has also agreed to implement voluntary conservation measures intended to
800-955-8771 (T)            further avoid and minimize impacts to multiple species (Attachment 1).
800 955-8770 (V)

MyFWC.com
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                            Document 149-2           Filed 01/12/24        Page 429 of 585
Page 2
September 18, 2023

                     Potentially Affected Resources

                     The project is located within the USFWS Consultation Areas for the following species:

                         •   Audubon’s crested caracara (Polyborus plancus audubonii, Federally Threatened [FT]),
                         •   Everglade snail kite (Rostrhamus sociabilis plumbeus, Federally Endangered [FE]),
                         •   Florida scrub-jay (Aphelocoma coerulescens, FT),
                         •   Florida panther (Felis concolor coryi, FE),
                         •   Red-cockaded woodpecker (Picoides borealis, FE), and
                         •   Florida bonneted bat (Eumops floridanus, FE).

                     The project is also within one or more Core Foraging Areas (CFA) for the wood stork (Mycteria
                     americana, FT) and may provide habitat for the following species:

                         •   Eastern indigo snake (Drymarchon couperi, FT),
                         •   Gopher tortoise (Gopherus polyphemus, State Threatened [ST]),
                         •   Southeastern American kestrel (Falco sparverius paulus, ST),
                         •   Florida sandhill crane (Antigone canadensis pratensis, ST),
                         •   Little blue heron (Egretta caerulea, ST),
                         •   Roseate spoonbill (Platalea ajaja, ST),
                         •   Tricolored heron (Egretta tricolor, ST),
                         •   Everglades mink (Neovison vison evergladensis, ST), and
                         •   Big Cypress fox squirrel (Sciurus niger avicennia, ST).

                     FWC staff provided a Public Notice response to the Florida Department of Environmental
                     Protection (FDEP) on May 25, 2022, for this project. The Public Notice included the following
                     effect determinations based on coordination with USFWS staff: “no effect” for Florida scrub-jay;
                     “may affect but is not likely to adversely affect” the wood stork, and Everglade snail kite, and
                     “may affect and is likely to adversely affect” the Florida panther and Florida bonneted bat.

                     Based on further coordination after the Public Notice was issued by FDEP, USFWS staff
                     determined that the project “may affect but is not likely to adversely affect” the eastern indigo
                     snake and red-cockaded woodpecker. USFWS staff also determined that the project “may affect
                     and is likely to adversely affect” the Audubon’s crested caracara and the tricolored bat
                     (Permimyotis subflavus, Proposed FE).

                     FWC staff also reviewed the South Florida Water Management District Conceptual
                     Environmental Resource Permit application (201005-4401) and provided general technical
                     assistance regarding state listed species and the Listed Species Management and Human-Wildlife
                     Co-existence Plan in a letter dated February 10, 2021.


                     Comments and Recommendations

                     Florida Panther

                     The entire project site is located within the Panther Focus Area Primary Zone. Panthers prefer
                     native, upland forested habitat, particularly hardwood hammocks and pine flatwoods where a
                     thick understory of saw palmetto exists; this type of suitable habitat is present on the project site.
                     Florida panthers have been documented utilizing the forested uplands and forested wetland areas
                     on the project site based on radio-collar telemetry points. The applicant’s environmental
                     representative, Passarella and Associates, Inc. (PAI), has made direct observations of Florida
                     panthers and their signs (such as tracks and scat) in the native upland and wetland habitats on the
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                            Document 149-2          Filed 01/12/24        Page 430 of 585
Page 3
September 18, 2023

                     site, as well as on the perimeter berms of the farm fields. According to information provided by
                     PAI, the proposed project would result in impacts to 1,793 acres of habitat for Florida panther and
                     would result in a need for an estimated 16,844 Panther Habitat Units (PHU) based on PAI’s use
                     of the USFWS Panther Compensation Calculator. The applicant has proposed to offset the
                     potential impacts to the Florida panther through a combination of on-site preservation and habitat
                     enhancement of a 2,570-acre conservation area, which would provide 2,391.6 acres of Florida
                     panther habitat. PAI has calculated that the implementation of the on-site mitigation would result
                     in compensation totaling 18,648 PHUs and a net increase of 1,804 PHUs.

                     Based on the available information, the proposed Bellmar residential project “may affect, and is
                     likely to adversely affect” the Florida panther but “is not likely to jeopardize” the species since
                     the loss of 1,793 acres of habitat represents a small portion of its overall range (0.15 percent) and
                     since the proposed mitigation would provide compensation resulting in a net increase of PHUs.
                     USFWS staff estimated that the project would result in harm to no more than four individual
                     panthers from the construction of the project. USFWS staff has also estimated that the project
                     would result in the loss of three panthers per year due to traffic volume and confirmed that the
                     applicant committed to fund and install a panther-suitable wildlife crossing north of the project
                     site as a minimization measure. USFWS staff confirmed this effect determination and provided
                     specific conditions on September 14, 2023, that should be included in the State 404 permit. The
                     applicant has also offered to implement voluntary conservation measures that would benefit the
                     species (Attachment 1).

                     Florida Bonneted Bat

                     The Florida bonneted bat (FBB) roosts in a variety of habitats including tropical hardwoods,
                     pinelands, and mangroves that include tall, mature trees or other areas in which suitable structural
                     features for breeding and sheltering are present. Foraging habitat is comprised of relatively open
                     areas including open fresh water, permanent or seasonal freshwater wetlands, within and above
                     wetland and upland forests, agricultural lands, and man-made habitats such as golf courses and
                     parks. The proposed project site is located within the USFWS Consultation Area for Florida
                     bonneted bat, and the entire site is suitable habitat. A portion of the site overlaps with the
                     proposed Critical Habitat for FBB, however, the designation has not been finalized. Since this
                     part of the site is located within an area proposed for conservation lands, the proposed project is
                     not expected to adversely affect FBB Critical Habitat when designated. PAI indicates that the
                     proposed project would preserve and enhance approximately 2,392 acres of foraging and roosting
                     habitat. An acoustic survey for the FBB was performed at 30 stations located on the property. A
                     total of 153 FBB calls were recorded at 6 survey stations, with 12 calls identified as near the time
                     of roosting, which indicates that roosting may occur on or near the site.

                     The applicant has proposed several Best Management Practices from the USFWS FBB
                     Consultation Key. The proposed practices include:

                         •   Conducting pre-construction roost surveys within 30 days prior to the removal of trees,
                             snags, or structures,
                         •   Removing trees, snags or structures outside the breeding season when possible,
                         •   Stopping removal of trees or structures and contacting USFWS if FBB is observed,
                         •   Maintaining a 250-foot buffer for heavy equipment around known or suspected FBB
                             roosts,
                         •   Avoiding widespread application of insecticides in FBB foraging areas,
                         •   Retaining mature trees and snags in conservation areas, and
                         •   Planting native trees and shrubs in open space and buffer areas.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                            Document 149-2          Filed 01/12/24        Page 431 of 585
Page 4
September 18, 2023

                     The implementation of the proposed mitigation/conservation areas will provide additional
                     measures from the USFWS approved Best Management Practices (BMPs) for Development
                     Projects. Based on the available information, the proposed Bellmar residential project “may
                     affect and is likely to adversely affect” the Florida bonneted bat. USFWS staff confirmed this
                     effect determination and provided specific conditions on September 14, 2023 that should be
                     included in the State 404 permit.

                     Tricolored Bat

                     The tricolored bat has been proposed for federal listing as endangered but is still under review.
                     This species is recognizable by its tri-colored fur and may have a yellow or orange appearance.
                     Most of the year, tricolored bats in the southern U.S. are often found in forested habitats, roosting
                     in hardwoods, pine trees, and occasionally human structures. During the winter, they exhibit
                     shorter hibernation periods, foraging floodplains and riparian areas on warmer nights, and often
                     roost in human structures such as culverts. The entire site is considered potential foraging and
                     roosting habitat for tricolored bat and the proposed project would result in the loss of 1,793 acres
                     of habitat. USFWS staff estimated that the project would result in the loss of one roost and ten
                     individuals. USFWS staff confirmed the “may affect and is likely to adversely affect” effect
                     determination and provided specific conditions on September 14, 2023, that should be included in
                     the State 404 permit.

                     Audubon’s Crested Caracara

                     The Audubon’s crested caracara prefers habitats that contain largely short-stature vegetation with
                     a low density of trees, including dry or wet prairie and improved and unimproved pasture
                     containing scattered cabbage palms, their preferred nesting tree. They may also be found in
                     lightly wooded areas with scattered saw palmetto, scrub oaks, and cypress. Seasonal freshwater
                     marsh wetlands of less than 2.47 acres may increase habitat attractiveness. Audubon’s crested
                     caracaras have been observed foraging on site and a nest was documented on-site during 2020.
                     PAI conducted bi-weekly observations and documented that the young fledged. PAI conducted
                     surveys in 2021 and no nesting activity was observed on the property. A survey in 2022 indicated
                     that the 2020 nest was inactive but an active nest was present on another part of the property. The
                     2020 and 2022 nests were found to be inactive in 2023 but an active nest was present just north of
                     the site. Potential nesting habitat is present on the property and caracara appear to be shifting
                     territories on and around the project site. The site contains approximately 1,440 acres of suitable
                     habitat for caracara and the proposed project is estimated to result in the loss or failed
                     reproduction of one caracara pair. The applicant has committed to conducting additional surveys
                     on the property and will avoid any nests during the nesting season. If evidence of Audubon’s
                     crested caracara nesting is observed before construction (including the presence of nesting pairs
                     or nesting behavior), the applicant will follow conservation measures outlined in USFWS
                     Guidelines, including a 300-meter primary and 1,500-meter secondary buffer to the extent
                     feasible.

                     Based on the available information, USFWS staff confirmed the “may affect and is likely to
                     adversely affect” effect determination and provided specific conditions on September 14, 2023,
                     that should be included in the State 404 permit.

                     Eastern Indigo Snake

                     Over most of its range, the eastern indigo snake inhabits pine flatwoods, scrubby flatwoods, high
                     pine, dry prairie, tropical hardwood hammocks, edges of freshwater marshes, agricultural fields,
                     coastal dunes, and human-altered habitats. Eastern indigo snakes appear to need a mosaic of
                     habitats to complete their life cycle. Wherever the eastern indigo snake occurs in xeric habitat, it
                     is closely associated with the gopher tortoise. No gopher tortoise burrows were observed during
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                            Document 149-2         Filed 01/12/24       Page 432 of 585
Page 5
September 18, 2023

                     the 2019-2020 surveys of the site. The project site includes approximately 2,724 acres of habitat
                     that could potentially be used by the eastern indigo snake. According to information provided by
                     PAI, eastern indigo snakes were documented on the site during surveys conducted in 2007 and
                     2009. The applicant has committed to following the USFWS-approved Standard Protection
                     Measures for the Eastern Indigo Snake during the clearing and construction phases of the project
                     and placing approximately 2,392 acres into preservation with a conservation easement with site
                     enhancement and management. Based on the available information, the proposed Bellmar
                     residential project “may affect but is not likely to adversely affect” the eastern indigo snake.
                     USFWS staff confirmed this effect determination and provided specific conditions on September
                     14, 2023 that should be included in the State 404 permit.

                     Red-Cockaded Woodpecker

                     The red-cockaded woodpecker lives and forages in mature pine forests, specifically those with
                     longleaf pines averaging 80 to 120 years old and loblolly pines averaging 70 to 100 years old.
                     Red-cockaded woodpeckers live in groups with a breeding pair and as many as four helpers,
                     usually male offspring from the previous year. Each group needs about 200 acres of old pine
                     forest to support its foraging and nesting needs. The applicant’s environmental representative,
                     PAI, conducted surveys during 2020 and 2021 and no potential nesting cavities were observed on
                     the property. No red-cockaded woodpeckers have been observed foraging on the property.
                     USFWS staff confirmed the “may affect but is not likely to adversely affect” effect determination
                     and provided specific conditions on September 14, 2023, that should be included in the State 404
                     permit.

                     Everglade Snail Kite

                     Everglade snail kite foraging habitat consists of relatively shallow wetland vegetation, either
                     within extensive marsh systems, or in lake littoral zones. This species nests in a variety of
                     vegetation types, usually over open water and almost always in areas with good foraging habitat
                     nearby. Its preferred habitat is lowland freshwater marshes mostly in the Everglades, Lake
                     Okeechobee, Lake Kissimmee, and upper St. Johns River watersheds, and the species feeds
                     almost exclusively on apple snails. The project site is located within the consultation area for
                     Everglade snail kite but is not located within or near Designated Critical Habitat. According to
                     information provided by PAI, most of the wetlands on the property are forested, but the property
                     does contain approximately 78 acres of potential habitat. During site investigations conducted by
                     PAI, an adult Everglade snail kite was observed flying on the property during 2019-2020 surveys,
                     and piles of apple snail shells have been observed on the property. No nesting has been observed
                     on the site. Based on the available information, the proposed project “may affect but is not likely
                     to adversely affect” the Everglade snail kite. USFWS staff confirmed this effect determination on
                     September 14, 2023, and no State 404 permit conditions are necessary for this species.

                     Wood Stork

                     The project lies within the 18.6-mile buffer of the 619141, 619018 (Corkscrew), 619316, and
                     619161 (North Catherine Island II) colonies and wood storks have been observed foraging on the
                     property. The project site is located approximately 1.7 miles from the North Catherine Island II
                     nesting location. The proposed project would potentially affect suitable foraging habitat and
                     impacts are unavoidable. The applicant is proposing to provide on-site mitigation which is within
                     the appropriate CFA and of matching hydroperiod of the proposed impacts, and the project is not
                     contrary to the Habitat Management Guidelines for the Wood Stork in the Southeast Region.
                     Based on the available information, the proposed Bellmar residential project “may affect but is
                     not likely to adversely affect” the wood stork. FWC staff coordinated with USFWS staff, and the
                     wetland mitigation required by FDEP in the State 404 permit will ensure the effect determination
                     provided in the public notice.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2           Filed 01/12/24       Page 433 of 585
Page 6
September 18, 2023


                     Gopher Tortoise

                     Gopher tortoises are found in dry, sandy soils in habitats such as sandhills, xeric oak, and dry pine
                     flatwoods. The onsite uplands represent potentially suitable habitat for the gopher tortoise. In
                     their Biological Assessment, PAI indicated that no gopher tortoise burrows were observed onsite
                     during surveys performed in 2019-2020. FWC’s Gopher Tortoise Permitting Guidelines located
                     at (http://www.myfwc.com/license/wildlife/gopher-tortoise-permits/) can be referenced for survey
                     methodology, measures for avoiding impacts, as well as options and state requirements for
                     minimizing, mitigating, and permitting. FWC staff have provided conditions for gopher tortoise
                     that should be included in the State 404 permit.

                     Florida Sandhill Crane

                     The open marsh on the project site may provide suitable foraging and nesting habitat for the
                     Florida sandhill crane. Florida sandhill cranes have been observed foraging on-site and a
                     potential nesting area was documented on the property. The Species Conservation Measures and
                     Permitting Guidelines for Florida Sandhill Crane found at
                     (https://myfwc.com/wildlifehabitats/wildlife/species-guidelines/) can be referenced for biological
                     information, survey methodology, measures for avoiding impacts, and recommended
                     conservation practices. The applicant intends to conduct pre-construction surveys for Florida
                     sandhill cranes following the Guidelines. If nesting is identified on the project site, avoidance
                     measures include maintaining a 400-foot (122-meter) buffer around the nesting area. FWC staff
                     have provided avoidance conditions for this species that should be included in the State 404
                     permit.

                     Wading Birds

                     The forested wetlands present onsite may provide potential habitat for wading birds, including the
                     little blue heron, roseate spoonbill, and tricolor heron which have been observed foraging on-site.
                     No nesting was observed during surveys conducted by PAI in 2019-2020. The Species
                     Conservation Measures and Permitting Guidelines for Little Blue Heron, Reddish Egret, Roseate
                     Spoonbill, Tricolored Heron found at (https://myfwc.com/wildlifehabitats/wildlife/species-
                     guidelines/) can be referenced for biological information, survey methodology, measures for
                     avoiding impacts, and recommended conservation practices. The applicant intends to conduct
                     pre-construction surveys for wading birds following the Guidelines. If nesting is discovered after
                     site activities have begun, the applicant is aware of the need to contact the FWC to discuss
                     potential avoidance measures, which include maintaining a 330-feet (100-meter) buffer around
                     the nesting area, or other alternatives. FWC staff have provided avoidance conditions for these
                     species that should be included in the State 404 permit.

                     Southeastern American Kestrel

                     The project site may provide suitable habitat for the southeastern American kestrel, including the
                     open field habitat present on-site. PAI conducted surveys in March and April 2020 and observed
                     kestrels on site but was not able to determine if the kestrels were non-migratory. The Species
                     Conservation Measures and Permitting Guidelines for Southeastern American Kestrel found at
                     (https://myfwc.com/wildlifehabitats/wildlife/species-guidelines/) can be referenced for biological
                     information, survey methodology, measures for avoiding impacts, and recommended
                     conservation practices. If nesting is identified on the project site, avoidance measures include
                     maintaining a 490-foot (150-meter) buffer around the nest cavity location. FWC staff have
                     provided avoidance conditions for this species that should be included in the State 404 permit.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2          Filed 01/12/24        Page 434 of 585
Page 7
September 18, 2023

                     Everglades Mink

                     The project site is located near the northern edge of the range of the Everglades mink and the site
                     contains potential habitat including ditches, freshwater marsh, and prairie. Everglades mink rely
                     on multiple wetland habitat types, do not avoid human activity, and frequently utilize man-made
                     structures such as canals and levees located near wetland habitat. Their dens, if present, may be
                     located near canals and wetlands. In March and April 2020, PAI conducted a camera trap survey
                     for Everglades mink, and none were observed or recorded. FWC staff have provided avoidance
                     conditions for Everglades mink that should be included in the State 404 permit.

                     Big Cypress Fox Squirrel

                     The pine flatwoods, wetland hardwoods, cypress swamps, and freshwater marshes may provide
                     potential habitat for Big Cypress fox squirrels. Camera-based surveys (e.g., using game cameras
                     at baited sites) can be more effective than pedestrian surveys for nests to determine their
                     presence. Big Cypress fox squirrels typically nest between October and February and from April
                     to August. According to information provided by PAI, Big Cypress fox squirrels have been
                     observed during on-site surveys conducted in 2007-2009, 2019-2020, and during other field work
                     on the site. The Species Conservation Measures and Permitting Guidelines for Big Cypress Fox
                     Squirrel (https://myfwc.com/media/11559/bigcypressfoxsquirrelguidelines-2018.pdf) can be
                     referenced for biological information, survey methodology, measures for avoiding impacts, and
                     recommended conservation practices. This species can use more than one nest and nest use can
                     vary over time. If nests are found onsite, a 574-feet (175-meter) buffer distance from the nest tree
                     should be maintained. If it will be necessary to remove a nest tree or work within 574 feet of a
                     nest tree, the applicant should coordinate with FWC staff to discuss permitting alternatives. FWC
                     staff have provided avoidance conditions for this species that should be included in the State 404
                     permit.

                     Florida Black Bear Technical Assistance

                     The FWC has received 1,090 reports of human-bear conflicts within a 5-mile radius of the project
                     site since 1997. Florida black bears are frequent in this area which is within the Big Cypress Bear
                     Management Unit identified in the 2019 Bear Management Plan. While black bears tend to shy
                     away from people, they are adaptable and will take advantage of human-provided food sources.
                     This includes sources that are currently available near this site, sources that may be available
                     during construction, and sources available after construction including unsecured garbage. Once
                     bears become accustomed to finding food around people, their natural wariness is reduced to the
                     point that there can be an increased risk to public safety or private property.

                     During construction, construction sites should be kept clean, with refuse that might attract bears
                     kept separate from construction debris and stored securely in bear-resistant containers or removed
                     daily from the construction site before dark. Refuse that might attract bears includes all food and
                     drink-related materials, as well as any items with strong scents like cleaning agents. Once the
                     development is completed, residents should be provided with bear-resistant garbage cans as part
                     of their regular waste service and any larger waste storage containers should also be bear-
                     resistant. Providing residents with information on how to avoid human-bear conflicts is also
                     recommended. This information can include:

                         •   Options for keeping garbage secure which can include using bear-resistant garbage
                             containers, modifying regular containers to be bear-resistant, or keeping containers secure
                             in a garage or sturdy shed and then placing garbage on the curb the morning of pick-up
                             rather than the night before
                             (http://myfwc.com/wildlifehabitats/managed/bear/living/attractants/ );
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                              Document 149-2          Filed 01/12/24        Page 435 of 585
Page 8
September 18, 2023

                           •   Removing bird and wildlife feeders, or modifying them to exclude bears
                               (http://myfwc.com/wildlifehabitats/managed/bear/wildlife-feeders/ );
                           •   Using electric fencing to secure outdoor attractants like fruiting trees/shrubs, gardens,
                               compost, and small livestock (https://myfwc.com/media/1886/electricfence.pdf);
                           •   Proper composting in bear range
                               (https://myfwc.com/media/1888/howtocompostinbearcountry.pdf);
                           •   Keeping pets safe (https://myfwc.com/media/1892/protect-your-pet.pdf/); and
                           •   Cleaning and securing barbeque grills.

                     Information should also include guidelines for how residents should respond to bears in the area,
                     such as:

                           •   What to do if they encounter a bear, whether from a distance or at close range,
                           •   How to keep pets and livestock safe in bear range, and
                           •   When and how to contact the FWC regarding a bear issue.

                     FWC staff is available to assist with residential planning to incorporate the above features.
                     Additional information about Florida black bears can be found on FWC’s website
                     at http://www.myfwc.com/wildlifehabitats/managed/bear.

                     FWC staff appreciates the opportunity to provide input on this project and will continue working
                     with the applicant and FDEP throughout the permitting process. For specific technical questions
                     regarding the content of this letter, please contact Bryan Phillips at (850) 767-3646 or by email at
                     Bryan.Phillips@MyFWC.com. All other inquiries may be sent to
                     ConservationPlanningServices@MyFWC.com.

                     Sincerely,



                     Jason Hight, Director
                     Office of Conservation Planning Services

                     jh/bp
                     Bellmar_43152_09182023


                     Attachments:
                         1) Bellmar Applicant Voluntary Conservation Measures
                         2) Wildlife Crossings: Traffic Analysis and Conservation Measures Summary
                         3) Standard Protection Measures for the Eastern Indigo Snake
                         4) State-Threatened Wading Bird Ranges, Breeding Seasons, and Recommended Survey
                            Dates, by Zone (FWC)

                     cc:       FDEP 404 Inbox, 404_listed_species@floridadep.gov
                               USFWS 404 Inbox, Florida_404@fws.gov
                               Bob Carey, USFWS, robert_carey@fws.gov
                               Adam Knutson, USFWS, adam_knutson@fws.gov
                               Kenneth C. Passarella, Passarella and Associates, Inc., kenp@passarella.net
                               Heather Samborski, Passarella and Associates, Inc., heatherp@passarella.net
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2          Filed 01/12/24        Page 436 of 585
Page 9
September 18, 2023

                        Species Conditions for the State 404 Permit, Bellmar Community, ST 404 396364-001

                     Florida Panther
                         1. The permittee shall make contributions to the Paul J. Marinelli Fund as follows:
                                 i. The permittee shall deposit $350 per acre of land within the development
                                          footprint of the project no later than 90 days after the closing of the first
                                          dwelling unit sold within the project. Upon deposit of the funds, the
                                          permittee shall provide correspondence from the Fund to U.S. Fish and
                                          Wildlife Service’s Florida Ecological Services Office (USFWS FESO) by e-
                                          mail (fw4flesregs@fws.gov), the Department, and FWC
                                          (ConservationPlanningServices@MyFWC.com) confirming that the
                                          contribution has been provided.
                                 ii. The permittee shall establish transfer fee provisions in the deed for each
                                          residential unit constructed and sold within the project that specify that $200
                                          will be deposited to the Fund each time the unit is sold (including the initial
                                          sale and each re-sale). The permittee shall provide an annual report
                                          confirming the sale and contribution to the Fund to USFWS FESO by e-mail
                                          (fw4flesregs@fws.gov), the Department, and FWC
                                          (ConservationPlanningServices@MyFWC.com).
                         2. The permittee shall, at its sole cost and expense, construct five wildlife crossings within
                             the geographic region where this and the proposed Rural Lands West project are located,
                             including one just north of the project site on Oil Well Road, approximately 1.44 miles
                             east of Desoto Boulevard. The wildlife crossings shall be constructed to provide and
                             preserve a wildlife movement corridor and the locations shall be constructed in the
                             locations shown on Attachment 2. The permittee shall contact the USFWS FESO at
                             (772) 562-3909 (e-mail fw4flesregs@fws.gov) for technical assistance and will notify the
                             FWC at ConservationPlanningServices@MyFWC.com prior to start of the construction
                             activities and shall provide the location and plans of the proposed wildlife crossings for
                             review. The permittee shall report the final location and as-built plans of wildlife
                             crossings to the USFWS FESO, the Department, and the FWC upon completion of
                             construction.
                         3. The permittee shall ensure that HOA and/or homeowners’ documents for the Bellmar
                             community state that pets within the community should be kept indoors, on leash, or
                             supervised when outdoors in common areas, or within a secure covered kennel.
                             Residents shall be informed that vaccinating cats for feline leukemia virus (FLV) can
                             prevent disease transmission from house cats to Florida panthers. The permittee shall
                             ensure that the HOA and/or homeowners’ documents inform residents of the importance
                             community-wide vaccination of all pet cats for FLV since it protects homeowners’ pets
                             from illness, as there is no definitive cure, and assists in preventing illness in Florida
                             panthers.

                     Florida Bonneted Bat and Tricolored Bat
                         1. The permittee shall conduct a cavity tree and roost survey on the Project site within 30
                             days prior to the removal of trees, snags, or structures. When possible, trees, snags, and
                             structures will be removed outside the breeding season (January 1 through April 15 for
                             Florida bonneted bat, May through July for tricolored bat). If evidence of use by Florida
                             bonneted bats or tricolored bats is observed, the tree removal will be discontinued, and
                             the permittee shall contact the USFWS FESO for technical assistance at (772) 562-3909
                             (e-mail fw4flesregs@fws.gov) and will notify the FWC at
                             ConservationPlanningServices@MyFWC.com.
                         2. The permittee shall maintain a 250-foot buffer around known or suspected Florida
                             bonneted bat or tricolored bat roosts when using heavy equipment so that disturbance to
                             roosting bats is minimized.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2           Filed 01/12/24        Page 437 of 585
Page 10
September 18, 2023

                         3. The permittee shall implement creation of the Project’s proposed buffer lake system and
                            shall implement the preservation and enhancement of 2,100.17± acres of on-site wetlands
                            which will promote Florida bonneted bat and tricolored bat foraging opportunities.
                         4. The permittee shall enhance riparian habitat by planting native vegetation along the lake
                            shorelines (i.e., littoral zone plantings).
                         5. Widespread application of insecticides by the permittee shall be avoided in areas where
                            Florida bonneted bats or tricolored bats are known or expected to forage or roost.
                         6. The permittee shall implement planting of native trees and shrubs within open space and
                            buffer areas to promote insect diversity, availability, and abundance.
                         7. The permittee shall retain mature trees and snags within the proposed Conservation Areas
                            that could provide roosting habitat for Florida bonneted bat and tricolored bat.
                         8. The permittee shall implement International Dark-Sky Association lighting initiatives to
                            minimize use of artificial lighting and retain natural light conditions to the greatest extent
                            practicable.
                         9. The permittee shall implement prescribed fire as a management tool within Conservation
                            Areas to promote foraging habitat for Florida bonneted bat and tricolored bat.

                     Eastern Indigo Snake
                     The permittee shall comply with the attached USFWS Standard Protection Measures for the
                     Eastern Indigo Snake dated March 23, 2021 (Attachment 3). If an indigo snake is encountered,
                     the snake must be allowed to vacate the area prior to additional site manipulation in the vicinity.
                     Holes, cavities, and snake refugia other than gopher tortoise burrows shall be inspected each
                     morning before planned site manipulation of a particular area, and if occupied by an indigo snake,
                     no work shall commence until the snake has vacated the vicinity of the proposed work.

                     Wood Stork
                     In order to offset the loss of Suitable Foraging Habitat, the permittee shall comply with the
                     approved wetland mitigation and monitoring requirements as specified by the FDEP State 404
                     permit for the project related wetland impacts within the same Core Foraging Areas.

                     Audubon’s Crested Caracara
                        1. Prior to conducting any clearing activities within 1,500 meters (4,920 feet) of any
                           previously documented or newly discovered crested caracara nest site, the permittee shall
                           conduct a survey during the crested caracara nesting season (January 1 through April 30)
                           to determine if the document or discovered nest is active, and if other crested caracara
                           nests are present. The survey area shall include potential nesting and foraging habitat
                           within 4,920 feet (1,500 meters) of the identified caracara nest, including potential habitat
                           located in land adjacent to the project site that is under the permittee’s ownership or
                           neighboring areas where access is allowed.
                        2. To minimize the potential for disturbance to nesting crested caracaras, the permittee shall
                           conduct land clearing activities outside the nesting season for areas that occur within the
                           primary zone, 984 feet (300 meters) of any documented crested caracara nest site.
                           Should it be necessary to conduct land clearing activities during the nesting season, land
                           clearing within 984 feet (300 meters) of any nest identified during the survey referenced
                           above shall not occur until monitoring has determined the nest has either been
                           abandoned, or chicks within the nest have fledged and left the nest site. Once the nest is
                           empty, clearing of that primary zone and nest tree can proceed, in concert with condition.
                        3. If construction activities are to occur within 984 feet (300 meters) of an active nest
                           identified in the most recent nesting season, the permittee shall conduct restoration of
                           caracara nesting and foraging habitat on a scale equal to the portion of the breeding
                           territory that is impacted by construction activities. Restoration activities shall be
                           conducted by restoring native dry or wet prairie with scattered cabbage palms or creating
                           improved pasture and planting scattered cabbage palms. Restoration activities shall occur
                           on existing agricultural lands located within the Project site or on agricultural lands
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2           Filed 01/12/24        Page 438 of 585
Page 11
September 18, 2023

                             adjacent to the project site that is under the permittee’s ownership. The permittee shall
                             contact the USFWS FESO for technical assistance at (772) 562-3909 (e-mail
                             fw4flesregs@fws.gov) and will notify the FWC at
                             ConservationPlanningServices@MyFWC.com prior to start of the construction activities
                             and shall provide the location and extent of proposed restoration activities. Once
                             restoration activities have been completed, the restored habitat shall be maintained in
                             perpetuity and managed in a state that supports use by crested caracara. The permittee
                             shall report the final location and extent of restored habitat to the USFWS FESO, the
                             Department, and the FWC upon completion of restoration activities.

                     Gopher Tortoise
                        1. Within 90 days prior to commencing any site preparation activities, a gopher tortoise
                            burrow survey shall be conducted covering potentially suitable habitat on the subject
                            property. Potentially suitable habitat may include, but is not limited to, sandhill, scrub,
                            scrubby flatwoods, pine flatwoods, dry prairies, xeric hammock, mixed pine-hardwoods,
                            old fields, agricultural lands, ruderal areas, and a variety of disturbed habitats and areas
                            having relatively well-drained sandy soils. Surveys shall be conducted in accordance
                            with the following methods.
                                 a. One or multiple observers shall systematically search for gopher tortoise burrows
                                     along evenly spaced, parallel belt transects.
                                 b. Sufficient distance shall exist between each observer to ensure that transects do
                                     not overlap. The width of each transect shall allow for 100% detection of
                                     burrows within the transect.
                                 c. The location of burrows observed within or partially within each transect shall be
                                     recorded with sub-meter accuracy GPS. Burrows shall be marked with flagging
                                     tape indicating its unique identifying label and burrow activity class.
                                          i. Potentially Occupied Burrows – burrows with obvious signs of use and
                                              minimal or no sign of use. These burrows appear in good repair with a
                                              half-moon shaped entrance and may have tortoise tracks or scrapes
                                              clearly visible on the burrow floor or on the mound. The burrow floor
                                              may contain loose soil or it may be hard-packed, and the mound may or
                                              may not have vegetation growing on it.
                                         ii. Abandoned Burrows – these burrows lack the half-moon shaped
                                              entrance; appears unused or dilapidated with an entrance that is partially
                                              or completely collapsed; the burrow can be partially or completely filled
                                              with soil or leaves.
                        2. If site preparation or other project activities do not commence within 90 days of the
                            gopher tortoise burrow survey, a new survey shall be conducted.
                        3. Gopher tortoise burrow surveys shall encompass any areas having potentially suitable
                            habitat within 25 feet of all project activities, including habitats that extend onto adjacent
                            properties. If lawful access cannot be achieved to adjacent properties, surveys may be
                            conducted by visual inspection from the subject property boundary.
                        4. If gopher tortoise burrows are found, buffers of 25 feet in all directions from the mouth of
                            all burrows shall be established. The buffering shall not result in 50-foot diameter circles
                            of undisturbed habitat surrounded by the project activities. Silt fencing may be used to
                            demarcate the buffers but shall not block gopher tortoise access to burrows.
                        5. No site preparation, clearing, staging, or other project activities shall occur within the 25-
                            foot buffer.
                        6. If maintaining the required buffer is not possible, the permittee shall contact the FWC
                            Gopher Tortoise Program Coordinator at (850) 921-1031 or GTPermits@MyFWC.com
                            for additional information.
                        7. Injury or mortality of a gopher tortoise shall be immediately reported to the FWC
                            Wildlife Alert Hotline at (888) 404-3922 and the Gopher Tortoise Program Coordinator
                            at (850) 921-1031.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                            Document 149-2           Filed 01/12/24        Page 439 of 585
Page 12
September 18, 2023


                     Florida Sandhill Crane
                         1. Surveys for nesting Florida sandhill cranes shall be conducted during the breeding season
                             (December 1 through August 30) within 30 days prior to commencing any clearing or
                             construction activities, including maintenance mowing. Surveys shall include either one
                             aerial survey or two ground surveys in accordance with the following methodologies:
                             a. Aerial Surveys:
                                     i.    Aerial transects shall cover 100% of the suitable nesting habitat.
                                    ii.    Survey transects shall be conducted at a minimum altitude of 250 feet.
                                           Florida sandhill cranes may react differently to different types of aircraft, and
                                           altitude shall be adjusted to prevent disturbance.
                             b. Ground Surveys:
                                     i.    Surveys shall be conducted between dawn and 10 a.m. or between 4 p.m. and
                                           dusk.
                                    ii.    The wet prairies, marshy lake margins, pastures, hydric flatwoods, and
                                           vegetated marshes shall be scanned along its periphery from as far away as
                                           practical in order to observe nesting areas without disturbing any sandhill
                                           cranes.
                                   iii.    Observation points shall be spaced to provide approximately 100% coverage
                                           of suitable habitat.
                         2. If active Florida sandhill crane nests are found, a buffer of 400 feet (122 meters) shall be
                             demarcated around each nest site. The buffer zone shall be clearly visible to all personnel
                             associated with the project. The perimeter of the buffer zone shall be demarcated with
                             material with an open design that allows ingress and egress for adult cranes and chicks.
                             Examples of acceptable materials include 3-4 foot (91-122 cm) tall stakes with a single
                             line of string or rope, suspended at least 18 inches (46 cm) off of the ground. Silt fencing
                             is discouraged, but if it must be used, leave regularly spaced gaps that are either sized at
                             least 24 inches (61 cm) wide, or the silt fencing is staggered to allow passage by chicks.
                             The buffer zone materials may be removed when the eggs have hatched, and chicks are
                             walking on their own.
                         3. No pedestrian traffic, vehicle operations, site preparation, staging, clearing, or project
                             activities shall occur within the 400-foot (122-meter) buffer.
                         4. All personnel associated with the project shall be advised of the presence of Florida
                             sandhill crane nesting and that it is a violation of state law to harass, harm, pursue, hunt,
                             shoot, wound, kill, trap, capture, or collect Florida sandhill cranes or their eggs or nests,
                             or to attempt to engage in such conduct.
                         5. No direct or indirect impacts shall occur to wetland habitats found to be utilized by
                             Florida sandhill cranes for breeding, feeding, or sheltering.
                         6. If the project will take place over multiple years, additional surveys shall be conducted
                             during the breeding season within 30 days prior to the start of clearing or project
                             activities.
                         7. If permanent fencing is constructed adjacent to wetlands found to be utilized by Florida
                             sandhill cranes for nesting, it shall be made of materials in which the birds cannot
                             become entangled, trapped, or injured. If woven or welded wire fencing is used, framed
                             walk-throughs 18 inches (46 cm) high by 24 inches (61 cm) wide shall be incorporated at
                             least every 0.3 miles. If barbed wire fencing is used, a maximum of 3 strands shall be
                             used with the top wire no more than 42 inches (107 cm) above the ground and the bottom
                             wire no less than 18 inches above the ground.
                         8. Any installation of temporary or permanent above-ground utility lines shall include
                             reflective kinetic markers to increase visibility to sandhill cranes inflight and reduce
                             collisions.
                         9. If additional nest locations are identified after clearing or other activities have begun or if
                             maintaining the required buffers is not possible, the permittee shall contact the FWC
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2           Filed 01/12/24        Page 440 of 585
Page 13
September 18, 2023

                             Protected Species Permit Coordinator at (850) 921-5990 or
                             WildlifePermits@MyFWC.com for more information.
                         10. Injury or mortality of a Florida sandhill crane shall be immediately reported to the FWC
                             Wildlife Alert Hotline at (888) 404-3922.

                     State-Listed Wading Birds
                         1. The permittee shall conduct surveys for wading birds in the freshwater marshes and
                             forested wetlands throughout the project site prior to commencing any site preparation,
                             staging, clearing, or project activities. Surveys should be conducted during the
                             appropriate survey timeframe indicated in Attachment 3 and in accordance with one of
                             the following methodologies.
                                 a. Direct count surveys shall be conducted of potential breeding sites that are
                                       narrow or small in which the observer can see all the way through the vegetation
                                       to identify all nests.
                                     i.     Direct counts of all nests shall be made from a minimum distance of 330 feet
                                            (100 meters) from the freshwater forested wetlands.
                                    ii.     A minimum of 2 direct counts shall be made at least 1 month apart to ensure
                                            the counts occur during the optimal survey dates for each species likely to be
                                            present (Attachment 3).
                                   iii.     Observers shall record the following information:
                                            a) Location or project name
                                            b) General location (latitude/longitude) of the colony
                                            c) Date and start and end times of the survey
                                            d) Species names of birds observed and number of nests for each.
                                 b. Flight-line surveys shall be conducted of potential breeding sites that are large or
                                       wide enough that the observer cannot see through the vegetation from a distance
                                       of 330 feet (100 meters).
                                     i.     A minimum of 2 flight-line surveys shall be made at least 1 month apart to
                                            ensure the counts occur during the optimal survey dates for each species
                                            likely to be present (Attachment 3). Surveys shall be conducted under
                                            favorable weather conditions (i.e., good visibility, low wind, and no rain).
                                    ii.     At least 2 observers shall be stationed on opposite sides of the colony and at
                                            a distance of 330 feet (100 meters) from the site.
                                   iii.     Observers shall identify any incoming and outgoing wading birds at the site
                                            for 2 hours beginning approximately 1 hour after sunrise.
                                   iv.      Observers shall record the following information:
                                            a) Location or project name
                                            b) General location (latitude/longitude) of the colony
                                            c) Date and start and end times of the survey
                                            d) Notes on issues that may affect the nest counts, such as problematic
                                                weather or bird behaviors or nest stage that may affect nest estimates.
                                            e) Species names or birds observed and number of nests for each.
                                            f) Flight direction of each individual bird and whether it was flying into or
                                                out of the colony, excluding birds carrying sticks.
                         2. If there is evidence of active nests, a buffer of 330 feet (100 meters) shall be established
                             around the nesting area(s). A nest is considered active when supporting essential
                             behavioral patterns, which occur from the point of nest building when a breeding pair
                             exhibits courtship behavior, is carrying nest material, and/or engaging in construction or
                             repair of a nest, until young of the season become capable of sustained flight or
                             permanently leave the nest. The buffer zone shall be clearly visible to all personnel
                             associated with the project.
                         3. No pedestrian traffic, operation of a vehicle or watercraft vessel, site preparation, staging,
                             clearing, or project activities shall occur within the 330-foot (100-meter) buffer.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                       Document 149-2            Filed 01/12/24        Page 441 of 585
Page 14
September 18, 2023

                     4. The use of unmanned or remotely controlled unmanned aerial systems (UAS) shall
                        adhere to the following guidance:
                             a. A pre-flight check for birds shall be performed immediately before takeoff to
                                  determine the location of any nearby birds.
                             b. A minimum buffer of 200 feet (61 meters) shall be maintained from active nests
                                  including the airspace above nests.
                             c. Launching and landing shall be conducted a minimum of 600 feet (183 meters)
                                  from known and observed wading bird colonies.
                             d. All UAS operations shall immediately cease if birds flush or become agitated.
                                  Signs that birds are agitated or disturbed include birds moving away from the
                                  UAS as it passes overhead, decreasing other natural behaviors to watch the UAS,
                                  or nodding their heads up and down to continuously size up the distance between
                                  themselves and the UAS.
                             e. If UAS is utilized to conduct surveys for wading birds, the following additional
                                  guidance shall be followed:
                                        i. One observer shall act as a spotter to ensure the UAS is at the correct
                                           altitude and to look out for behavioral responses from the birds.
                                       ii. The survey shall begin by flying at the maximum allowable UAS flight
                                           ceiling (typically 400 feet [122 meters] above ground level) over the
                                           focal birds using a straight-line transect. Once an initial pass has been
                                           made without noticing bird disturbance, lower the aircraft altitude by
                                           approximately 50 feet (15 meters) at a location away from the target
                                           birds, and then make another straight-line pass over the birds. Continue
                                           repeating this process until an altitude of no less than 200 feet is reached,
                                           an ideal altitude for the UAS sensor payload is achieved, or the birds
                                           exhibit signs of disturbance, whichever occurs first.
                                      iii. If birds become agitated or disturbed, UAS altitude shall immediately be
                                           increased.
                                      iv. If the signs of agitation or disturbance continue after a subsequent pass at
                                           higher elevation, the survey shall immediately be aborted.
                     5. Site preparation, staging, clearing, and project activities shall not cause loss or
                        modification of habitat within any active or recent wading bird breeding site at any time
                        and shall not render it unsuitable for breeding. A breeding site is the area used by wading
                        birds for the essential behavior of breeding, including the substrate (e.g., vegetation)
                        supporting nesting and the shallow, open areas immediately adjacent to (i.e., within 50
                        feet [15 meters] of) the nesting substrate. A breeding site is active if wading birds are
                        displaying courtship behavior or nest-building activities, or eggs or young are present. A
                        breeding site is considered recent if it has been used for breeding at least once in the
                        preceding 5 years.
                     6. All personnel associated with the project shall be advised of the presence of wading bird
                        nesting and that it is a violation of state law to harass, harm, pursue, hunt, shoot, wound,
                        kill, trap, capture, or collect wading birds or their eggs or nests, or to attempt to engage in
                        such conduct.
                     7. If wading bird nesting is discovered after site activities have begun, or if any of the
                        conditions above cannot be met, the permittee shall contact the FWC Protected Species
                        Permit Coordinator at (850) 921-5990 or WildlifePermits@MyFWC.com for more
                        information.
                     8. Injury or mortality of a wading bird shall be immediately reported to the FWC Wildlife
                        Alert Hotline at (888) 404-3922.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2           Filed 01/12/24        Page 442 of 585
Page 15
September 18, 2023

                     Southeastern American Kestrel
                        1. Surveys for southeastern American kestrels shall be conducted during the survey season
                            (April – August) prior to commencing site preparation or clearing activities in accordance
                            with the following methodology.
                                a. A minimum of 3 surveys shall be conducted at least 4 to 7 days apart.
                                b. Surveys shall be conducted from sunrise to 3-4 hours past sunrise on clear, calm
                                    days by walking transects spaced 330 feet (100 meters) apart through all potential
                                    habitat. Transects may be completed from a vehicle at a speed of no more than
                                    25 miles (40 kilometers) per hour only under the following conditions:
                                          i. Road coverage is extensive,
                                         ii. Road transects pass through all potential habitat, and
                                        iii. Habitat along the road transects is open enough to allow sighting of birds
                                             throughout the entirety of the habitat area.
                                c. All observations of kestrels perching or hovering and cavities in both natural and
                                    man-made structures shall be recorded with GPS locations, date, time, kestrel
                                    breeding behaviors observed (e.g., copulation, feeding), and type of cavity if
                                    found.
                                          i. A “suitable cavity” is a hollow space within a tree or man-made structure
                                             that can potentially support kestrel breeding and sheltering during or
                                             outside of the breeding season, having an entrance hole roughly 3 inches
                                             (7.6 centimeters) in diameter located at least 10 feet (3 meters) from the
                                             ground.
                                         ii. An “active nest cavity” is a suitable cavity while it is supporting
                                             breeding, which occurs from the point of cavity selection, when one or
                                             both kestrels may be seen entering, exiting, or sitting inside the cavity, to
                                             incubation and rearing of dependent chicks.
                                        iii. An active nest cavity is considered inactive after the young have fledged.
                                d. If a kestrel is observed displaying distressed behaviors, such as alarm calls or
                                    circling flights, or if a kestrel is perched with food that they are not consuming,
                                    the observer shall back away from the area.
                                e. If an active nest cavity is found or kestrels are observed entering a cavity with
                                    food, the observer shall immediately leave the area.
                        2. If active nest cavities are found, a buffer of 490 feet (150 meters) shall be established
                            around each nest cavity location. The buffer zone shall be clearly visible to all personnel
                            associated with the project. No activities shall occur within the buffer during the
                            breeding season (March 1 to July 30).
                        3. Kestrel sightings shall be mapped, and the Habitat Use Centroid shall be determined
                            using the following method:
                                a. Plot kestrel sightings from all surveys conducted. Kestrel sightings that are
                                    greater than 0.31 mile (0.50 kilometer) away from each other are considered
                                    different territories. To determine if a group of sightings are part of one territory,
                                    buffer each sighting with an 820-foot (0.25-kilometer) radius. Sightings where
                                    the 820-foot buffer intersect are considered a single territory and those locations
                                    should be taken together to determine the habitat use centroid.
                                b. Locations can be included in the calculation more than once if kestrels were
                                    recorded at that location multiple times over the survey.
                                c. Calculate the average of the latitudes and the average of the longitudes of the
                                    kestrel locations to determine the coordinates of the Habitat Use Centroid (the
                                    approximate center of the kestrel’s territory).
                                d. Plot the habitat use centroid on the map of the project and draw a 0.31-mile
                                    radius around the habitat use centroid to determine the kestrel territory.
                                    Determine the total acreage of Suitable Foraging Habitat within 0.31-mile radius
                                    of the Habitat Use Centroid:
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                            Document 149-2           Filed 01/12/24       Page 443 of 585
Page 16
September 18, 2023

                                   e. Overlay development plans to determine the reduction of Suitable Foraging
                                        Habitat within a 0.31-mile radius around the Habitat Use Centroid.
                         4.   If available Suitable Foraging Habitat within 0.31 miles around the Habitat Use Centroid
                              prior to development is 124 acres or more (including habitat that is off-site as well as
                              onsite within 0.31-mile radius), then the project shall not reduce Suitable Foraging
                              Habitat to less than 124 acres within the radius.
                         5.   Active and inactive nest cavities found on the subject property shall not be removed or
                              disturbed.
                         6.   If site preparation, clearing, or project activities commence on the project site after March
                              1 of the following breeding season, a new survey shall be conducted.
                         7.   If any of the above conditions cannot be adhered to, the permittee shall contact the FWC
                              Protected Species Permit Coordinator at (850) 921-5990 or
                              WildlifePermits@MyFWC.com for more information.

                     Big Cypress Fox Squirrel
                         1. Within 60 days prior to commencing site preparation or clearing activities, surveys for
                            Big Cypress fox squirrel shall be conducted covering 100% of onsite suitable habitat
                            using the following methods.
                                 a. If presence of Big Cypress fox squirrel is unknown, camera-trap surveys of all
                                      suitable habitat onsite shall be conducted by personnel knowledgeable about fox
                                      squirrels and fox squirrel nests. Surveyors shall ensure the use of appropriate
                                      bait to avoid attracting fire ants. Camera-trap stations shall be separated by 820
                                      feet (250 meters) and operated for a minimum of 8 days, with traps rebaited after
                                      4 days.
                                 b. If Big Cypress fox squirrels are observed or are known to be present onsite,
                                      parallel or meandering pedestrian transects covering 100% of suitable habitat
                                      shall be conducted to locate nests.
                         2. If a tree is found to have Big Cypress fox squirrel nests, a buffer zone of 574 feet (175
                            meters) shall be demarcated around each tree.
                                 a. The buffer zone shall be clearly visible to all personnel associated with the
                                      project. The permittee shall ensure that the perimeters of designated buffer zones
                                      are marked with posts and twine or other symbolic fencing and FWC-approved
                                      signs stating “Do Not Enter” around the perimeter.
                                 b. Posts shall not exceed 4 feet in height once installed. Symbolic fencing,
                                      consisting of twine, string, or rope, shall be placed between all posts at least 2.5
                                      feet above the ground. The posting shall be maintained in good repair through
                                      the duration of project activities.
                                 c. No activities shall occur within the 574-foot (175-meter) buffer zone around nest
                                      trees.
                                 d. A nest shall be considered active regardless of appearance until it degrades to the
                                      point that it can no longer provide shelter.
                         3. All personnel associated with the project shall be advised of the presence of Big Cypress
                            fox squirrels and that it is a violation of state law to feed, harass, harm, pursue, hunt,
                            shoot, wound, kill, trap, capture, or collect Big Cypress fox squirrels, their young, and
                            nests, or to attempt to engage in such conduct.
                         4. Documentation of Big Cypress fox squirrel nesting in addition to incidental observations
                            of Big Cypress fox squirrel on the subject property shall be reported to FWC at
                            Imperiled@MyFWC.com.
                         5. If maintaining the required buffer is not possible or if removal of nest trees is required,
                            the permittee shall contact the FWC Protected Species Permit Coordinator at (850) 921-
                            5990 or WildlifePermits@MyFWC.com for information on permitting alternatives.
                         6. Injury or mortality of a Big Cypress fox squirrel shall be immediately reported to the
                            FWC Wildlife Alert Hotline at (888) 404-3922.
         Case 1:21-cv-00119-RDM
Toby Schwetje
                                           Document 149-2           Filed 01/12/24       Page 444 of 585
Page 17
September 18, 2023

                     Everglades Mink
                        1. If an Everglades mink is observed, all project activities in the area shall cease and it shall
                            be allowed to leave under its own power without being harmed.
                        2. Injury of an Everglades mink shall be immediately reported to the FWC Wildlife Alert
                            Hotline at (888) 404-3922.
   Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24         Page 445 of 585




 Special Conditions:

General Planning Tenets: As a condition of this permit, and for purposes of compliance with the
Endangered Species Act and completion of technical assistance between the U.S. Fish and Wildlife Service
(USFWS) and the Florida Department of Environmental Protection (FDEP), the Permittee has agreed to and
will implement the following planning tenets that reflect the Eastern Collier Multiple Species Habitat
Conservation Plan (HCP) prepared and submitted by the Permittee and other landowners, with support from
four leading conservation organizations, for Eastern Collier County in connection with applications
submitted to USFWS for incidental take permits (ITPs) pursuant to Section 10 of the Endangered Species
Act (the ITP applications were withdrawn on July 28, 2022, but the applicant has committed to work with
the other landowners and conservation organizations to voluntarily implement the HCP).

            a. Location of Project Footprint and Preserved Lands. The project will be developed
               and project impacts will be offset consistent with the above-referenced landscape-level
               planning tenets. Specifically, all areas that will be directly impacted by project
               development (e.g., wetland fill or species impacts) will be located within areas identified
               as “Covered Activities,” and all areas to be preserved as mitigation for those impacts will
               be located within the areas identified for “Preservation/and Plan Wide Activities” as
               depicted in Exhibit [ ] attached.

            b. Permanent Protection of Preserved Lands. As required by FDEP condition [ ],
               permanent conservation easements will be placed on preservation lands before project
               construction begins, so that mitigation is achieved prior to project impacts. These
               conservation easements will run with the land and will be held by FDEP or another a
               State of Florida agency.

            c. Marinelli Fund Contributions. The project will be conducted in manner consistent
               with the Permittee’s description of the project in the application and in materials
               associated with its application. As part of the proposed project, the Permittee has
               committed to make contributions to the Paul J. Marinelli Fund to be used to initiate and
               support conservation activities selected by the Fund’s Board of Directors, which will be
               made up of Eastern Collier Property Owners (ECPO) landowners, a representative of
               the landowner’s four conservation partners, and an at-large member who will serve at
               the invitation of the other six members of the Board. Conservation activities to be
               supported through expenditures from the Fund include such activities as construction of
               wildlife crossings and fencing, habitat acquisition and restoration, corridor
               enhancement, public education and outreach focused on the importance of wildlife
               conservation, and scientific research relevant to species conservation. Contributions to
               the Fund will be made as follows.

                       i.   The Permittee will deposit $350 per acre of land within the development
                            footprint of the project no later than 90 days after the closing of the first
                            dwelling unit sold within the project.

                    ii.     The Permittee will establish transfer fee provisions in the deed for each
                            residential unit constructed and sold within the project that specify that $200
                            will be deposited to the Fund each time the unit is sold (including the initial
                            sale and each re-sale).

            d. Best Management Practices. The Permittee has committed to the following
               conservation measures and best management practices (BMPs).


                                                       1
Case 1:21-cv-00119-RDM            Document 149-2           Filed 01/12/24       Page 446 of 585



                 i.   Prescribed Fire and Smoke Notice: The Permittee will provide notice of the use
                      of prescribed fire in the Bellmar area. This notice will be provided and recorded
                      in a manner such that initial and subsequent residents and owners will be
                      made aware of the use of prescribed fire in the vicinity of the Bellmar area to
                      manage wildland fuels and maintain fire-adapted ecological communities
                      within preserve areas. The following notice concerning the use of prescribed
                      fire will be provided:

                      “Periodic prescribed burning is a recognized land management tool and a
                      recommended method of fuel management in Southwest Florida, including in
                      the vicinity of the Bellmar area, for minimizing wildfire hazards and
                      maintaining healthy fire-adapted ecological communities. Homeowners
                      acknowledge that they have received notice that prescribed burning may result
                      in the periodic occurrence of temporary smoke and ash that drifts through
                      developed areas.”

                ii.   Environmental Education and BMPs for Living with Wildlife: The materials
                      outlined in Special Condition 2.e. below will be included with the
                      Homeowners’ Association (HOA) documents for the Bellmar community at
                      the time of HOA incorporation. Decisions regarding which educational
                      materials and BMPs will be implemented within each community are left to
                      the HOA and community residents, but the materials will be transferred to the
                      developer and HOA.

               iii.   Securing and Vaccinating Pets: HOA and/or homeowners’ documents for the
                      Bellmar community will state that pets within the community should be kept
                      indoors, on leash when outdoors, or secured within a secure covered kennel.
                      Residents will be informed that vaccinating cats for feline leukemia virus
                      (FLV) can prevent disease transmission from house cats to Florida panthers. As
                      there is no definitive cure for FLV, community-wide vaccination of all pet cats
                      protects homeowners’ pets from illness, as well as preventing illness in Florida
                      panthers.

2. Additional Best Management Practices: The Permittee will work with developers and HOAs
   to promote additional BMPs that will be implemented within the project area, where appropriate,
   to minimize potential wildlife impacts and/or provide wildlife conservation benefits. BMPs that
   will be implemented at the project are described below.

        a. Community Environmental Education: http://www.buildgreen.ufl.edu/enveducation.htm
           ̶ This University of Florida program promotes residential environmental education that
            engages homeowners in understanding and implementing natural resource conservation
            strategies. Research has demonstrated that engaging residents improves environmental
            attitudes, knowledge, and behaviors (Hostetler et al. 2008).

        b. Environmental Covenants, Codes, and Restrictions for HOAs:
           http://edis.ifas.ufl.edu/pdffiles/UW/UW24800.pdf ̶ This publication provides sample
           language for the development of HOA covenants, codes, and restrictions that relate to
           wildlife within residential development communities and environmental management in
           general (Hoestetler 2006).

        c. Landscaping: http://www.floridayards.org/ ̶ “Florida-Friendly Landscaping” promotes
           the use of native plants, efficient watering and fertilizing, xeriscaping, integrated pest

                                                 2
Case 1:21-cv-00119-RDM           Document 149-2           Filed 01/12/24        Page 447 of 585



          management, and similar strategies to attract birds, butterflies, and beneficial insects to
          residential yards.

      d. Community Lighting and “Dark Skies”: The mission of the International Dark-Sky

          Association “is to preserve and protect the nighttime environment and our heritage of
          dark skies through environmentally responsible outdoor lighting.” Light pollution (the
          inappropriate use of light at night) can affect wildlife and ecosystems, human health,
          energy consumption, and the aesthetics of viewing the night sky. The Association notes
          that, “A dark sky does not necessarily mean a dark ground. Smart lighting that directs
          light where it is needed creates a balance between safety and starlight.” The International
          Dark-Sky Association webpage (http://www.darksky.org/) provides links to numerous
          resources for planning and implementing appropriate outdoor lighting within
          residential/commercial developments. These resources include the use of five outdoor
          lighting zones within communities (http://www.darksky.org/lighting/model-lighting-
          laws-policy/recommended-lighting-zones/), outdoor lighting basics
          (http://www.darksky.org/lighting/lighting-basics/), and practical guidelines for energy-
          efficient LED lighting (http://www.darksky.org/lighting/led-guide/). Implementation of
          “dark skies” practices can reduce disturbances to wildlife within and adjacent to
          development areas. The Florida Wildlife Commission (FWC) maintains a “Wildlife
          Lighting” webpage that provides basic information and links to outdoor lighting resources
          (http://myfwc.com/conservation/you-conserve/lighting/).

      e. Living With Wildlife: The Permittee will employ and promote a series of community
         design elements that advance wildlife conservation and minimize the potential for
         human-wildlife interactions within development areas, especially for large mammals
         (e.g., Florida panther; bear; deer; feral hogs), nocturnal species (e.g., Florida bonneted
         bat), and species that may pose human health risks (e.g., Eastern diamondback
         rattlesnake). FWC has published educational brochures for HOAs and residents living in
         proximity to Florida wildlife species such as the Florida panther, black bear, and various
         bats, birds, and reptiles (http://myfwc.com/conservation/you-conserve/wildlife/). Links
         for these wildlife brochures and/or webpages are as follows:

               i. A Guide to Living with Florida Panthers
                  (http://myfwc.com/media/152454/LivingWithPanthers.pdf)

              ii. Florida Panther Safety Tips
                  (http://myfwc.com/media/152457/PantherSafetyTipsFlyer.pdf)

             iii. Florida’s BearWise (http://myfwc.com/wildlifehabitats/managed/bear/wise/ and
                  bearwise.org)

             iv. A Guide to Living in Bear Country
                 (http://myfwc.com/media/1333887/LivinginBearCountryBrochure.pdf)

              v. Living with Bats (http://myfwc.com/media/3031963/LivingWithBats.pdf)

             vi. Sandhill Cranes (http://myfwc.com/conservation/you-conserve/wildlife/sandhill-
                 cranes/)

             vii. Everglade Snail Kite (http://myfwc.com/media/152978/kitesbrochure.pdf)

            viii. A Guide to Living with Alligators (http://myfwc.com/media/152524/Alligator-
                  Brochure.pdf)
                                             3
Case 1:21-cv-00119-RDM           Document 149-2           Filed 01/12/24        Page 448 of 585



              ix. Getting Along with Snakes (https://www.floridamuseum.ufl.edu/herpetology/fl-
                  snakes/gettingalong/)

               x. A Guide to Living with Gopher Tortoises
                  (http://myfwc.com/media/1329739/GopherTortoise_LivingWithBrochure.pdf)

              xi. A Guide to Living with Urban Coyotes
                  (http://myfwc.com/media/2675483/Living-With-Urban-Coyotes.pdf)

             xii. Plants for Birds. The National Audubon Society provides an online database for
                  selecting native plant species (by zip code) that support bird species
                  (http://www.audubon.org/plantsforbirds).

3. Management Plans for Specific Species: The Permittee will implement the following
   protection guidelines during and after project construction.

       a. American Alligator

                i.   Signs will be posted to instruct on-site workers and community residents not to
                     feed or harass the American alligator, and will indicate that to do so is
                     punishable by law.

               ii.   Construction personnel and residents will be instructed that in the event there is
                     a problem with a persistent nuisance alligator, they will need to contact FWC,
                     as that is the only agency empowered to handle nuisance alligators.

              iii.   American alligator habitat will be provided within the conservation areas
                     associated with the project. Following the completion of the mitigation
                     program, these conservation areas will serve as potential foraging and nesting
                     habitat. Invasive exotic species removal will result in wetland preserves that
                     are more suitable as habitat and provide suitable habitat for American alligator
                     prey species. The conservation areas will be maintained per the FDEP’s State
                     404 Wetland Mitigation/Monitoring/ Maintenance Plan.

       b. Eastern Indigo Snake

                i.   The permittee shall implement the U.S. Fish and Wildlife Service’s Standard
                     Protection Measures for the Eastern Indigo Snake (SPM; Service March 23,
                     2021) during construction of the Project and restoration of the conservation
                     area.

               ii.   Informational brochures addressing identification and conservation of Eastern
                     indigo snake will be provided to all construction staff.

              iii.   The conservation areas associated with the project will be maintained per the
                     FDEP’s State 404 Wetland Mitigation/Monitoring/Maintenance Plan and will
                     provide habitat for the Eastern indigo snake.

       c. Bald Eagle: Proposed construction activities within 660 feet of an active bald eagle nest
          will follow the applicable protection guidelines as described in FWC’s Bald Eagle
          Management Plan Handbook (FWC 2010) and the USFWS National Bald Eagle
          Management Guidelines (USFWS 2007).

       d. Crested Caracara

                                                4
Case 1:21-cv-00119-RDM         Document 149-2           Filed 01/12/24        Page 449 of 585



              i.   Prior to conducting any clearing activities within 1,500 meters (4,920 feet) of
                   any previously documented or newly discovered crested caracara nest site, the
                   permittee shall conduct a survey during the crested caracara nesting season
                   (January 1 through April 30) to determine if the documented or discovered nest
                   is active, and if other crested caracara nests are present. The survey area shall
                   include potential nesting and foraging habitat within 4,920 feet (1,500 meters)
                   of the identified caracara nest, including potential habitat located in land
                   adjacent to the project site that is under the permittee’s ownership or
                   neighboring areas where access is allowed.

             ii.   To minimize the potential for disturbance to nesting crested caracaras, the
                   permittee shall conduct land clearing activities outside the nesting season for
                   areas that occur within the primary zone, 984 feet (300 meters), of any
                   documented crested caracara nest site. Should it be necessary to conduct land
                   clearing activities during the nesting season, land clearing within 984 feet (300
                   meters) of any nest identified during the survey referenced above will not occur
                   until monitoring has determined the nest has either been abandoned, or chicks
                   within the nest have fledged and left the nest site. Once the nest is empty,
                   clearing of that primary zone and nest tree can proceed, in concert with
                   condition iii.

            iii.   If construction activities are to occur within 984 feet (300 meters) of an active
                   nest identified in the most recent nesting season, the permittee shall conduct
                   restoration of caracara nesting and foraging habitat on a scale equal to the
                   portion of the breeding territory that is impacted by construction activities.
                   Restoration activities will be conducted by restoring native dry or wet prairie
                   with scattered cabbage palms or creating improved pasture and planting
                   scattered cabbage palms. Restoration activities will occur on existing
                   agricultural lands located within the Project site or on agricultural lands
                   adjacent to the project site that is under the permittee’s ownership. The
                   permittee shall contact the U.S Fish and Wildlife Service's Florida Ecological
                   Services Office (FESO) at (772) 562-3909 for technical assistance and will
                   notify the Florida Fish and Wildlife Conservation Commission (FWC) at
                   ConservationPlanningServices@MyFWC.com prior to start of the construction
                   activities and shall provide the location and extent of proposed restoration
                   activities. Once restoration activities have been completed, the restored habitat
                   will be maintained in perpetuity and managed in a state that supports use by
                   crested caracara. The permittee shall report the final location and extent of
                   restored habitat to the FESO, the Florida Department of Environmental
                   Protection (Department), and the FWC upon completion of restoration
                   activities.

      e. Wood Stork and Other Wading Birds

              i.   Enhancement and restoration activities will be conducted within existing
                   wetlands located within the conservation areas associated with the project.
                   These activities will include the removal of invasive exotic plants and the
                   installation of supplemental plantings, and will result in habitats that are more
                   suitable for wading bird foraging and roosting.

             ii.   The creation of lakes and lake littoral zones as part of the project will provide
                   foraging habitat for wading birds.

                                              5
Case 1:21-cv-00119-RDM           Document 149-2           Filed 01/12/24         Page 450 of 585



              iii.   Plans for the project include wetland restoration and wetland creation. These
                     activities will convert agricultural and exotic plant infested habitats to native
                     wetland habitats. This restoration will also enhance sheet flow through Camp
                     Keais Strand and restore significant areas of habitat for wildlife, including
                     wading birds such as the wood stork.

              iv.    The grading plan for the wetland restoration areas includes the establishment of
                     wading bird foraging habitat by grading to varying depths to allow the
                     concentration of prey for wading birds at alternating times of the year as water
                     levels seasonally rise and recede.

               v.    Bellmar residents and maintenance staff will be provided with a brochure titled
                     “Wading Bird Informational Pamphlet,” prepared by Passarella and Associates,
                     Inc. This brochure provides wading bird information and methods to prevent
                     human-wading bird interactions. In addition, the brochure informs residents of
                     the need to avoid disturbance around nesting colonies should a colony be
                     identified on the property in the future.

      f.   Florida Bonneted Bat and Tricolored Bat

                i.   The permittee shall conduct a cavity tree and roost survey on the Project site
                     within 30 days prior to the removal of trees, snags, or structures. When
                     possible, trees, snags, and structures will be removed outside the breeding
                     season (January 1 through April 15 for Florida bonneted bat, May through July
                     for tricolored bat). If evidence of use by either Florida bonneted bats or
                     tricolored bats is observed, the tree removal will be discontinued, and the
                     permittee shall contact the FESO at (772) 562-3909 for technical assistance and
                     will notify the FWC at ConservationPlanningServices@MyFWC.com.

              ii.    The permittee shall maintain a 250-foot buffer around known or suspected
                     Florida bonneted bat or tricolored bat roosts when using heavy equipment so
                     that disturbance to roosting bats is minimized.

              iii.   The permittee shall implement creation of the Project’s proposed buffer lake
                     system and shall implement the preservation and enhancement of 2,100.17±
                     acres of on-site wetlands which will promote Florida bonneted bat and
                     tricolored bat foraging opportunities.

              iv.    The permittee shall enhance riparian habitat by planting native vegetation
                     along the lake shorelines (i.e., littoral zone plantings).

               v.    Widespread application of insecticides by the permittee shall be avoided in
                     areas where Florida bonneted bats or tricolored bats are known or expected to
                     forage or roost.

              vi.    The permittee shall implement planting of native trees and shrubs within open
                     space and buffer areas to promote insect diversity, availability, and abundance.

             vii.    The permittee shall retain mature trees and snags within the proposed
                     Conservation Areas that could provide roosting habitat for Florida bonneted
                     bat.



                                                6
Case 1:21-cv-00119-RDM         Document 149-2           Filed 01/12/24        Page 451 of 585



           viii.   The permittee shall implement International Dark-Sky Association lighting
                   initiatives to minimize use of artificial lighting and retain natural light
                   conditions to the greatest extent practicable.

             ix.   The permittee will implement prescribed fire as a management tool within
                   Conservation Areas to promote foraging habitat for Florida bonneted bat and
                   tricolored bat.

      g. Big Cypress Fox Squirrel

              i.   Prior to commencement of clearing activities during project construction, a
                   survey will be conducted in forested areas to be cleared to identify potential
                   Big Cypress fox squirrel nests. If potential nests are identified within the
                   clearing limits, observations will be conducted to determine if the nests are
                   being utilized by Big Cypress fox squirrels. No clearing will be conducted
                   within 125 feet of an active Big Cypress fox squirrel nest tree. The nest tree
                   and buffer may be cleared only after completion of nesting and confirmation
                   that any juvenile squirrels have left the nest.

             ii.   The conservation areas associated with the project will be enhanced and
                   managed per the FDEP’s State 404 Wetland
                   Mitigation/Monitoring/Maintenance Plan and will provide foraging and nesting
                   habitats for Big Cypress fox squirrels.

      h. Florida Black Bear

              i.   In order to deter the potential for interactions between humans and large
                   mammals such as the Florida black bear, a lake buffer will be constructed
                   between the conservation areas and development areas associated with the
                   project. Where construction of a lake buffer is not feasible, fencing will be used
                   between development and conservation areas.

             ii.   The Permittee will confer with FWC regarding management initiatives such as
                   the use of bear-resistant dumpsters and garbage receptacles for residential
                   areas. These management initiatives will include the following.

                     1. Residents of units that have curbside garbage service will be required to
                        place garbage containers curbside no earlier than the morning of the days
                        of garbage pickup, and garbage containers will be returned to their
                        permitted location no later than the evening of the days of garbage
                        pickup. All garbage, trash, refuse, or rubbish will be required to be
                        placed in appropriate garbage containers or stored inside an enclosed
                        area except for the days when there is curbside garbage pickup service.
                        Areas adjacent to any passive recreation facilities will also have routine
                        garbage pickup service.

                     2. Residents of units without curbside garbage service will be required to
                        place all garbage, trash, refuse, or rubbish in bear-resistant dumpsters
                        with the lid closed and secured.

            iii.   Bellmar residents, community association managers, and maintenance staff
                   will be provided with an educational brochure preparded by FWC, titled “A


                                             7
Case 1:21-cv-00119-RDM           Document 149-2           Filed 01/12/24        Page 452 of 585



                     guide to living in bear country,” available at
                     https://myfwc.com/media/1891/livinginbearcountrybrochure.pdf.

      i.   Florida Panther

                i.   The project will be conducted in consistent with the Permittee’s description of
                     the project in materials associated with its application. As part of the proposed
                     project, the Permittee has committed to make contributions to the Paul J.
                     Marinelli Fund as follows:

                       1. The Permittee will deposit $350 per acre of land within the development
                          footprint of the project no later than 90 days after the closing of the first
                          dwelling unit sold within the project. Upon deposit of the funds, the
                          permittee shall provide correspondence from the Fund to the FESO by e-
                          mail (Florida_404@fws.gov), the Department, and FWC
                          (ConservationPlanningServices@MyFWC.com) confirming that the
                          contribution has been provided.

                       2. The permittee will establish transfer fee provisions in the deed for each
                          residential unit constructed and sold within the project that specify that
                          $200 will be deposited to the Fund each time the unit is sold (including
                          the initial sale and each re-sale). The permittee shall provide an annual
                          report confirming the sale and contribution to the Fund to the FESO by
                          e-mail (Florida_404@fws.gov), the Department, and FWC
                          (ConservationPlanningServices@MyFWC.com).

               ii.   The permittee will, at its sole cost and expense, construct or fund the
                     construction of five wildlife crossings within the geographic region where this
                     and proposed Rural Lands West project is located, including one just north of
                     the Project site on Oil Well Road, approximately 1.44 miles east of Desoto
                     Boulevard. These wildlife crossings will be constructed to fulfill the state and
                     federal permitting requirements for Rural Lands West and Bellmar,
                     collectively. The wildlife crossings shall be constructed to provide and
                     preserve a wildlife movement corridor and the locations shall be constructed in
                     the locations shown in Figure 1. The permittee shall contact the FESO at (772)
                     562-3909 for technical assistance and          will notify the FWC at
                     ConservationPlanningServices@MyFWC.com prior to start of the construction
                     activities of the crossings and shall provide the location and plans of the
                     proposed wildlife crossings for review. The permittee shall report the final
                     location and as-built plans of wildlife crossings to the FESO       , the
                     Department, and the FWC upon completion of construction.

              iii.   The permittee shall ensure that HOA and/or homeowners’ documents for the
                     Bellmar community states that pets within the community should be kept
                     indoors, on leash when outdoors, or secured within a secure covered kennel.
                     Residents shall be informed that vaccinating cats for feline leukemia virus
                     (FLV) can prevent disease transmission from house cats to Florida panthers.
                     The permittee shall ensure that the HOA and/or homeowners’ documents
                     inform residents of the importance of community-wide vaccination of all pet
                     cats for FLV since it protects homeowners’ pets from illness, as there is no
                     definitive cure, and assists in preventing illness in Florida panthers.

               iv.   In order to deter the potential for interactions between humans and large
                                                8
Case 1:21-cv-00119-RDM           Document 149-2           Filed 01/12/24       Page 453 of 585



                     mammals such as the Florida panther, a lake buffer will be constructed between
                     the conservation areas and development areas. Where a lake buffer is not
                     feasible, fencing will be used between development and conservation
                     areas.Bellmar residents, community association managers, and maintenance
                     staff will be provided with an educational brochure preparded by USFWS and
                     FWC, titled “A guide to living with Florida Panthers.” This brochure, which
                     provides safety tips and instructions for panther encounters, is available at
                     https://myfwc.com/media/3112/livingwithpanthers.pdf.

      j.   Gopher Tortoise: Prior to commencing project construction, a gopher tortoise survey will
           be conducted in accordance with FWC’s gopher tortoise permitting guidelines (FWC
           2020) to identify potential gopher tortoise burrows within the construction area. If gopher
           tortoise burrows are identified, the Permittee will obtain the appropriate permit from the
           FWC for the relocation of the gopher tortoises.

      k. Everglade Snail Kite: Impacts to potential Everglade snail kite foraging habitat will be
         offset through the implementation of the on-site wetland mitigation and the creation of
         the project’s lake buffer and stormwater management ponds, with associated littoral
         zones and native plantings. These activities will result in an increase in potential foraging
         habitat for the Everglade snail kite within the landscape and therefore is expected to have
         an incremental beneficial effect to the Everglade snail kite.




                                                9
  Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 454 of 585



Additional Commitments:

   1. Open Space Buffers: The Bellmar community will comply with Policy 4.13 of the Collier
      County Future Land Use Element for the County’s Rural Lands Stewardship Program (RLSP),
      which states as follows:

       “Open space within or contiguous to a [stewardship receiving area (SRA)] shall be used to
       provide a buffer between the SRA and any adjoining [flowway stewardship area (FSA)], [habitat
       stewardship area (HSA)], or existing public or private conservation land delineated on the
       Overlay Map. Open space contiguous to or within 300 feet of the boundary of a FSA, HSA, or
       existing public or private conservation land may include: natural preserves, lakes, golf courses
       provided no fairways or other turf areas are allowed within the first 200 feet, passive
       recreational areas and parks, required yard and set-back areas, and other natural or manmade
       open space. Along the west boundary of the FSAs and HSAs that comprise Camp Keais Strand,
       i.e., the area south of Immokalee Road, this open space buffer shall be 500 feet wide and shall
       preclude golf course fairways and other turf areas within the first 300 feet.”

   2. Construction of Wildlife Crossings: In addition to any wildlife crossings to be to be
      constructed through expenditures from the Paul J. Marinelli Fund at the discretion of the Fund’s
      Board of Directors, the Permittee will, at its sole cost and expense, construct five wildlife
      crossings within the geographic region where the project is located. The crossings will be
      constructed in order to preserve a wildlife movement corridor located within the project, at the
      locations depicted in Exhibit [ ].

   3. Management Plans for Specific Species: The Permittee will implement the following
      protection guidelines during and after project construction.

           a. Habitats within Shaggy Cypress Swamp and Camp Keais Strand that are part of the
              conservation areas associated with the project will be managed for the Florida black bear,
              Florida panther, and other species through the enhancement, restoration, and preservation
              of uplands and wetlands to provide quality habitat and wildlife corridors. Enhancement
              activities will provide higher quality habitat for these species than exist in the currently
              degraded condition. The preservation of Shaggy Cypress Swamp and the portion of
              Camp Keais Strand located within the project boundary are part of the larger regional
              wildlife habitat preservation plan proposed through the establishment of SSAs 14, 15, 17
              and 18 under the Collier County RLSP.




                                                    1
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 455 of 585
  Case 1:21-cv-00119-RDM            Document 149-2        Filed 01/12/24      Page 456 of 585




  STANDARD PROTECTION MEASURES
   FOR THE EASTERN INDIGO SNAKE
     U.S. Fish and Wildlife Service
                                         March 23, 2021

The eastern indigo snake protection/education plan (Plan) below has been developed by the U.S.
Fish and Wildlife Service (USFWS) in Florida and Georgia for use by applicants and their
construction personnel. At least 30 days prior to any clearing/land alteration activities, the
applicant shall notify the appropriate USFWS Field Office via e-mail that the Plan will be
implemented as described below (North Florida Field Office: jaxregs@fws.gov; South Florida
Field Office: verobeach@fws.gov; Panama City Field Office: panamacity@fws.gov; Georgia
Field Office: gaes_assistance@fws.gov). As long as the signatory of the e-mail certifies
compliance with the below Plan (including use of the attached poster and brochure), no further
written confirmation or approval from the USFWS is needed and the applicant may move
forward with the project.

If the applicant decides to use an eastern indigo snake protection/education plan other than the
approved Plan below, written confirmation or approval from the USFWS that the plan is
adequate must be obtained. At least 30 days prior to any clearing/land alteration activities, the
applicant shall submit their unique plan for review and approval. The USFWS will respond via
e-mail, typically within 30 days of receiving the plan, either concurring that the plan is adequate
or requesting additional information. A concurrence e-mail from the appropriate USFWS Field
Office will fulfill approval requirements.

The Plan materials should consist of: 1) a combination of posters and pamphlets (see Poster
Information section below); and 2) verbal educational instructions to construction personnel by
supervisory or management personnel before any clearing/land alteration activities are initiated
(see Pre-Construction Activities and During Construction Activities sections below).

POSTER INFORMATION
Posters with the following information shall be placed at strategic locations on the construction
site and along any proposed access roads (a final poster for Plan compliance, to be printed on 11
x 17in or larger paper and laminated, is attached):

DESCRIPTION: The eastern indigo snake is one of the largest non-venomous snakes in North
America, with individuals often reaching up to 8 feet in length. They derive their name from the
glossy, blue-black color of their scales above and uniformly slate blue below. Frequently, they
have orange to coral reddish coloration in the throat area, yet some specimens have been
reported to only have cream coloration on the throat.
  Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 457 of 585




These snakes are not typically aggressive and will attempt to crawl away when disturbed.
Though indigo snakes rarely bite, they should NOT be handled.

SIMILAR SNAKES: The black racer is the only other solid black snake resembling the
eastern indigo snake. However, black racers have a white or cream chin, thinner bodies, and
WILL BITE if handled.

LIFE HISTORY: The eastern indigo snake occurs in a wide variety of terrestrial habitat types
throughout Florida and Georgia. Although they have a preference for uplands, they also utilize
some wetlands and agricultural areas and often move seasonally between upland and lowland
habitats, particularly in the northern portions of its range (North Florida and Georgia). Eastern
indigo snakes will often seek shelter inside gopher tortoise burrows and other below- and above-
ground refugia, such as other animal burrows, stumps, roots, and debris piles. Reliance on xeric
sandhill habitats throughout the northern portion of the range in northern Florida and Georgia is
due to the dependence on gopher tortoise burrows for shelter during winter. Breeding occurs
during October through February. Females may lay from 4 - 12 white eggs as early as April
through June, with young hatching in late July through October.

PROTECTION UNDER FEDERAL AND STATE LAW: The eastern indigo snake is
classified as a Threatened species by both the USFWS and the Florida Fish and Wildlife
Conservation Commission. Taking of eastern indigo snakes is prohibited by the Endangered
Species Act without a permit is defined by the USFWS as an attempt to kill, harm, harass,
pursue, hunt, shoot, wound, trap, capture, collect, or engage in any such conduct. Penalties
include a maximum fine of $25,000 for civil violations and up to
$50,000 and/or imprisonment for criminal offenses, if convicted.

Only individuals currently authorized through an issued Incidental Take Statement in
association with a USFWS Biological Opinion, or by a Section 10(a)(1)(A) permit issued by the
USFWS, to handle an eastern indigo snake are allowed to do so.

IF YOU SEE A LIVE EASTERN INDIGO SNAKE ON THE SITE:

   •   Cease clearing activities and allow the live eastern indigo snake sufficient time to move
       away from the site without interference;
   •   Personnel must NOT attempt to touch or handle snake due to protected status.
   •   Take photographs of the snake, if possible, for identification and documentation
       purposes. Â
   •   Immediately notify supervisor or the applicants designated agent, and the
       appropriate USFWS office, with the location information and condition of the
       snake.
   •   If the snake is located in a vicinity where continuation of the clearing or construction
       activities will cause harm to the snake, the activities must halt until such time that a
       representative of the USFWS returns the call (within one day) with further guidance as
       to when activities may resume.
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 458 of 585



IF YOU SEE A DEAD EASTERN INDIGO SNAKE ON THE SITE:
   • Cease clearing activities and immediately notify supervisor or the applicants
     designated agent, and the appropriate USFWS office, with the location information
     and condition of the snake.
   • Take photographs of the snake, if possible, for identification and documentation
     purposes.
   • Thoroughly soak the dead snake in water and then freeze the specimen. The
     appropriate wildlife agency will retrieve the dead snake.

Telephone numbers of USFWS Florida Field Offices to be contacted if a live or dead
eastern indigo snake is encountered:

North Florida Field Office: (904) 731-3336
Panama City Field Office: (850) 769-0552
South Florida Field Office: (772) 562-3909
Georgia Field Office: (706) 613-9493

PRE-CONSTRUCTION ACTIVITIES
1. The applicant or designated agent will post educational posters in the construction office
and throughout the construction site, including any access roads. The posters must be clearly
visible to all construction staff. A sample poster is attached.

2. Prior to the onset of construction activities, the applicant/designated agent will conduct a
meeting with all construction staff (annually for multi-year projects) to discuss identification of
the snake, its protected status, what to do if a snake is observed within the project area, and
applicable penalties that may be imposed if state and/or federal regulations are violated. An
educational brochure including color photographs of the snake will be given to each staff
member in attendance and additional copies will be provided to the construction superintendent
to make available in the onsite construction office (a final brochure for Plan compliance, to be
printed double-sided on 8.5 x 11in paper and then properly folded, is attached). Â Photos of
eastern indigo snakes may be accessed on USFWS and/or FWC or GADNR websites.

3. Construction staff will be informed that in the event that an eastern indigo snake (live or
dead) is observed on the project site during construction activities, all such activities are to
cease until the established procedures are implemented according to the Plan, which includes
notification of the appropriate USFWS Field Office. The contact information for the USFWS is
provided on the referenced posters and brochures.

DURING CONSTRUCTION ACTIVITIES
1. During initial site clearing activities, an onsite observer may be utilized to determine whether
habitat conditions suggest a reasonable probability of an eastern indigo snake sighting
(example: discovery of snake sheds, tracks, lots of refugia and cavities present in the area of
clearing activities, and presence of gopher tortoises and burrows).
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 459 of 585




2. If an eastern indigo snake is discovered during gopher tortoise relocation activities (i.e.
burrow excavation), the USFWS shall be contacted within one business day to obtain further
guidance which may result in further project consultation.

3. Periodically during construction activities, the applicants designated agent should visit the
project area to observe the condition of the posters and Plan materials, and replace them as
needed. Construction personnel should be reminded of the instructions (above) as to what is
expected if any eastern indigo snakes are seen.

POST CONSTRUCTION ACTIVITIES
Whether or not eastern indigo snakes are observed during construction activities, a monitoring
report should be submitted to the appropriate USFWS Field Office within 60 days of project
completion. The report can be sent electronically to the appropriate USFWS e-mail address
listed on page one of this Plan.
                    Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 460 of 585




                                                              ATTENTION
                                              Federally‐Threatened Eastern Indigo
                                              Snakes may be present on this site!
                                               Killing, harming, or harassing eastern indigo
                                              snakes is strictly prohibited and punishable under
                                                           State and Federal Law.

If you see a LIVE eastern indigo snake on the site:




If you see a DEAD eastern indigo snake on the site:




LIFE HISTORY.




PROTECTED STATUS.
                                                                           Please contact your nearest USFWS
                                                                           Ecological Services Field Office if a
                                                                           live or dead eastern indigo snake is
                                                                           encountered:

                                                                           Jacksonville, FL, (904) 731‐3336
                                                                           Panama City, FL, (850) 769‐0552
                                                                           Vero Beach, FL, (772) 562‐3909
                                                                           Athens, GA, (706) 613‐9493
                           Case 1:21-cv-00119-RDM     Document 149-2      Filed 01/12/24   Page 461 of 585



If you see a LIVE eastern indigo snake        If you see a DEAD eastern indigo snake        Description. The eastern indigo snake is one
                                              on the site:                                  of the largest non-venomous snakes in North
on the site:
                                                                                            America, with individuals often reaching up to
                                                                                            8 feet long. They derive their name from the
   •   Cease clearing activities and allow       •   Cease clearing activities and
                                                                                            glossy, blue-black color of their scales above
       the eastern indigo snake sufficient           immediately notify the supervisor
                                                                                            and uniformly slate blue below. They often
       time to move away from the site               or designated applicant/agent, and
                                                                                            have orange to reddish coloration in the
       without interference.                         the USFWS Field Office (see            throat area, yet some may only have cream
   •   Personnel must NOT attempt to                 below for contact information),        coloration on the throat. These snakes are not
       touch or handle snake due to                  with the location and condition of     typically aggressive and will attempt to crawl
       protected status.                             the snake.                             away when disturbed. Though indigo snakes
   •   Take photographs of the snake, if         •   Take photographs of the snake, if      rarely bite, they should NOT be handled.
       possible, for identification and              possible, for identification and
       documentation purposes.                       documentation purposes.                 Similar Species. The black racer is the only
   •   Immediately notify supervisor or          •   Thoroughly soak the dead snake in       other solid black snake resembling the
       the applicant's designated agent,             water and then freeze the specimen.     eastern indigo snake. However, black racers
                                                     The appropriate wildlife agency         have a white or cream chin, thinner bodies,
       and the appropriate U.S. Fish and
                                                     will retrieve the dead snake.           and WILL BITE if handled.
       Wildlife Service (USFWS) office,
       with information regarding the
                                                                                            Life History. The eastern indigo snake
       location and condition of the snake.   USFWS Ecological Services Field Offices
                                                                                            occurs in a variety of terrestrial habitats.
   •   If the snake is in a vicinity where    to be contacted if a live or dead eastern
                                                                                            Although they prefer uplands, they also use
       clearing or construction activities    indigo snake is encountered:                  wetlands and agricultural areas. Eastern
       will cause harm to the snake, the                                                    indigo snakes will often take shelter inside
       activities must be paused until a      Jacksonville Office: (904) 731-3336           gopher tortoise burrows and other below- and
       representative of the USFWS            Panama City Office: (850) 769-0552            above-ground refugia, such as other animal
       returns the call (within one day)      Vero Beach Office: (772) 562-3909             burrows, stumps, roots, and debris piles.
       with further guidance as to when       Georgia Office: (912) 403-1873                Females may lay from 4 to 12 white eggs as
       activities may resume.                                                               early as April through June, with young
                                                                                            hatching in late July through October.
    Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 462 of 585




                                                                       ATTENTION:
                                                                     THREATENED EASTERN

                                                                    PRESENT ON THIS SITE!




                                                                                 Photo: Dirk Stevenson




.
                   Case 1:21-cv-00119-RDM       Document 149-2      Filed 01/12/24    Page 463 of 585




Attachment 2. State Threatened Wading Bird Ranges, Breeding Seasons, and Recommended Survey Dates, by Zones.
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 464 of 585




                   Attachment F
  Case 1:21-cv-00119-RDM           Document 149-2         Filed 01/12/24       Page 465 of 585




               State 404 Permit Application Review/Response Form

Date:                        10/31/2023
USFWS Reviewer:              Adam Knutson
FWC Contact:                 Bryan Phillips
FDEP Contact:                Toby Schwetje
Permit App. No./Title:       Bellmar ST404 396364-001
Permit App. Location:        Collier
Ecosphere Project Code       2022-0022196

INSTRUCTIONS

LIComplete all relevant sections of the Project Review Form.

®For each species for which incidental take is anticipated, complete Section A.1 — C.2

IZI Obtain supervisory approval of comments and any incidental take determination and
     quantification.

CI Ensure that the Ecosphere Project is linked to Project Code # 2022-0002197 (Florida 404
    Assumption Programmatic) and the species determinations and take quantification is entered
    in the Project's Species Determination and Take Information widget.

®Upload completed Project Review Form to Ecosphere and supporting public notice.

FEDERALLY LISTED SPECIES AND EFFECTS

  1. Does the State 404 Permit Application Package contain an accurate list of all federally
     listed species and critical habitats that may be affected?
MYes

ON°

If USFWS checks No on question 1, USFWS will coordinate with FWC according to the MOA
and list any species expected to occur within the project-specific action area.

   2. Does the State 404 Permit Application Package accurately determine the permit
      application's effects on the species and critical habitats?
E]Yes

CINo
If No is selected for question 2, USFWS will provide technical assistance on the effects
determination with an explanation with supporting information to FWC.

                                                1
Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 466 of 585




   3. Does the State 404 Permit Application Package have adequate protection measures to
      ensure the permitted activity will not jeopardize any federally listed species?

III Yes

IIINo

   4. Does the State 404 Permit Application Package have adequate protection measures to
      avoid and minimize any incidental take that is reasonably certain to occur?

El Yes

®No

If the answers to questions 1-4 are all "Yes", then the USFWS has concluded its review of the
     permit application, as well as the status of the affected species, any cumulative effects within
     the permit applications' action area, and concludes that the permit application is not likely to
     jeopardize any federally listed species and has no further comments on this State 404 permit
     application.

If the answer to question 3 or 4 is "No", the USFWS will provide a list of the any necessary
avoidance and minimization measures (AMMs) to ensure that the permitted activity is not likely
to jeopardize any species, adversely modify or destroy critical habitat or to ensure that any
incidental take is avoided or minimized.

Note that if the description of the permitted activities changes, new species or critical habitat are
   listed, or the status of a species changes, or other new information becomes available that
   was not considered during this USFWS technical assistance review, the USFWS will be
   contacted for further comments.

If No is selected for any of the questions, the USFWS will provide questions, comments, or any
other appropriate information to assist FDEP and FWC in processing the permit application.

The USFWS will use section A.1- C.2, to document species determinations, AMMs and provide
effects summary to track take.

A.1.      Species and Critical Habitat that are likely to be adversely affected

Species that are listed in Table 1-1 of the PBO/CO are those that are likely to be adversely
affected (LAA) by certain activities, even when all appropriate AMMs are incorporated.


                                                  2
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 467 of 585




Federally Listed Species
      Taxa                            Common Name                               Critical Habitat
 Mammal             Florida bonneted bat                                   Proposed
 Mammal             Florida panther                                        Has not been designated
 Bird               Audubon's crested caracara                             Has not been designated
 Mammal             Tricolored bat (proposed)                              Has not been designated

A.2. Species and Critical Habitat that are not likely to be adversely affected (includes no
effect) —

Federally Listed Species
       Taxa                          Common Name                              Critical Habitat
 Bird               Everglade snail kite; Wood stork; Florida scrub-jay; Has not been designated
                    Red-cockaded woodpecker
 Reptile            Eastern indigo snake                                 Has not been designated

B.1.   Additional and Necessary Avoidance and Minimization Measures

             Additional Avoidance and Minimization Measures as included in the permittee's
       Bellmar Listed Species Conditions (Enclosure A).
 El                 1. Prior to conducting any clearing activities within 1,500 meters (4,920 feet) of
 Audubon's             any previously documented or newly discovered crested caracara nest site, the
 crested               permittee shall conduct a survey during the crested caracara nesting season
 caracara              (January 1 through April 30) to determine if the documented or discovered
                       nest is active, and if other crested caracara nests are present. The survey area
                       shall include potential nesting and foraging habitat within 4,920 feet (1,500
                       meters) of the identified caracara nest, including potential habitat located in
                       land adjacent to the project site that is under the permittee's ownership or
                       neighboring areas where access is allowed.
                    2. To minimize the potential for disturbance to nesting crested caracaras, the
                       permittee shall conduct land clearing activities outside the nesting season for
                       areas that occur within the primary zone, 984 feet (300 meters), of any
                       documented crested caracara nest site. Should it be necessary to conduct land
                       clearing activities during the nesting season, land clearing within 984 feet
                       (300 meters) of any nest identified during the survey referenced above will
                       not occur until monitoring has determined the nest has either been abandoned,
                       or chicks within the nest have fledged and left the nest site. Once the nest is
                       empty, clearing of that primary zone and nest tree can proceed, in concert
                       with condition 3.
                    3. If construction activities are to occur within 984 feet (300 meters) of an active
                       nest identified in the most recent nesting season, the permittee shall conduct
                       restoration of caracara nesting and foraging habitat on a scale equal to the
                       portion of the breeding territory that is impacted by construction activities.
                       Restoration activities will be conducted by restoring native dry or wet prairie
                       with scattered cabbage palms or creating improved pasture and planting

                                                3
Case 1:21-cv-00119-RDM        Document 149-2         Filed 01/12/24       Page 468 of 585




                    scattered cabbage palms. Restoration activities will occur on existing
                    agricultural lands located within the Project site or on agricultural lands
                    adjacent to the project site that is under the permittee's ownership. The
                    permittee shall contact the U.S Fish and Wildlife Service's Florida Ecological
                    Services Office (FESO) at FW4FLESRegs@fws.gov for technical assistance
                    and will notify the Florida Fish and Wildlife Conservation Commission
                    (FWC) at ConservationPlanningServices@MyFWC.com prior to start of the
                    construction activities and shall provide the location and extent of proposed
                    restoration activities. Once restoration activities have been completed, the
                    restored habitat will be maintained in perpetuity and managed in a state that
                    supports use by crested caracara. The permittee shall report the final location
                    and extent of restored habitat to the FESO, the Florida Department of
                    Environmental Protection (Department), and the FWC upon completion of
                    restoration activities.
   Eastern          The permittee shall implement the U.S. Fish and Wildlife Service's Standard
indigo snake        Protection Measures for the Eastern Indigo Snake (SPM; Service March 23,
                    2021) during construction of the Project and restoration of the conservation
                    area.
   Florida       1. The permittee shall conduct a cavity tree and roost survey on the Project site
bonneted bat        within 30 days prior to the removal of trees, snags, or structures. When
and                 possible, trees, snags, and structures will be removed outside the breeding
tricolored bat      season (January 1 through April 15 for Florida bonneted bat, May through
                    July for tricolored bat). If evidence of use by either Florida bonneted bats or
                    tricolored bats is observed, the tree removal will be discontinued, and the
                    permittee shall contact the FESO at FW4FLESRegs@fws.gov for technical
                    assistance and will notify the FWC at
                    ConservationPlanningServices@MyFWC.com.
                 2. The permittee shall maintain a 250-foot buffer around known or suspected
                    Florida bonneted bat or tricolored bat roosts when using heavy equipment so
                    that disturbance to roosting bats is minimized.
                 3. The permittee shall implement creation of the Project's proposed buffer lake
                    system and shall implement the preservation and enhancement of 2,100.17±
                    acres of on-site wetlands which will promote Florida bonneted bat and
                    tricolored bat foraging opportunities.
                 4. The permittee shall enhance riparian habitat by planting native vegetation
                    along the lake shorelines (i.e., littoral zone plantings).
                 5. Widespread application of insecticides by the permittee shall be avoided in
                    areas where Florida bonneted bats or tricolored bats are known or expected to
                    forage or roost.
                 6. The permittee shall implement planting of native trees and shrubs within open
                    space and buffer areas to promote insect diversity, availability, and
                    abundance.
                 7. The permittee shall retain mature trees and snags within the proposed
                    Conservation Areas that could provide roosting habitat for Florida bonneted
                    bat.



                                            4
Case 1:21-cv-00119-RDM       Document 149-2          Filed 01/12/24       Page 469 of 585




             8. The permittee shall implement International Dark-Sky Association lighting
                initiatives to minimize use of artificial lighting and retain natural light
                conditions to the greatest extent practicable.
             9. The permittee will implement prescribed fire as a management tool within
                Conservation Areas to promote foraging habitat for Florida bonneted bat and
                tricolored bat.
El Florida   1. The permittee will make contributions to the Paul J. Marinelli Fund as
panther         follows: i. The Permittee will deposit $350 per acre of land within the
                development footprint of the project no later than 90 days after the closing of
                the first dwelling unit sold within the project. Upon deposit of the funds, the
                permittee shall provide correspondence from the Fund to the FESO by e-mail
                (Florida 404(a,fws.gov), the Department, and FWC
                (ConservationPlanningServicesAMyFWC.com) confirming that the
                contribution has been provided. ii. The permittee will establish transfer fee
                provisions in the deed for each residential unit constructed and sold within the
                project that specify that $200 will be deposited to the Fund each time the unit
                is sold (including the initial sale and each re-sale). The permittee shall
                provide an annual report confirming the sale and contribution to the Fund to
                the FESO by e-mail (Florida 404(ifws.gov), the Department, and FWC
                (ConservationPlanningServicesAMvFWC.com).
             2. The permittee will, at its sole cost and expense, construct five wildlife
                 crossings within the geographic region where this and proposed Rural Lands
                West project are located, including one just north of the Project site on Oil
                Well Road, approximately 1.44 miles east of Desoto Boulevard. These
                wildlife crossings will be constructed to fulfill the state and federal permitting
                 requirements for Rural Lands West and Bellmar, collectively. The wildlife
                 crossings shall be constructed to provide and preserve a wildlife movement
                 corridor and the locations shall be constructed in the locations shown in
                 Figure 1. The permittee shall contact the FESO at FW4FLESRegs@fws.gov
                 for technical assistance and will notify the FWC at
                 ConservationPlanningServices@MyFWC.com prior to start of the
                 construction activities of the crossings and shall provide the location and
                 plans of the proposed wildlife crossings for review. The permittee shall
                 report the final location and as-built plans of wildlife crossings to the FESO,
                 the Department, and the FWC upon completion of construction.
             3. The permittee shall ensure that HOA and/or homeowners' documents for the
                 Bellmar community states that pets within the community should be kept
                 indoors, on leash or supervised when outdoors in common areas, or within a
                 secure covered kennel. Residents shall be informed that vaccinating cats for
                 feline leukemia virus (FLV) can prevent disease transmission from house cats
                 to Florida panthers. The permittee shall ensure that the HOA and/or
                 homeowners' documents inform residents of the importance of community-
                 wide vaccination of all pet cats for FLV since it protects homeowners' pets
                 from illness, as there is no definitive cure, and assists in preventing illness in
                 Florida panthers.



                                          5
Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 470 of 585




B.2.   Voluntary Conservation Measures

Describe any voluntary/discretionary conservation activities that may be incorporated into the
permit at the discretion of FDEP. Reference the measure by species and number as described in
section 2.5 or describe any conservation measures not included in the PBO/CO.

 Species            Recovery Activity
       n/a                                                   n/a

C.1.   Effects Summary and Tracking Take

       Common Name               No       Not Likely         Likely to          Amount of Take (e.g,
                                Effect   to Adversely     Adversely Affect     numbers of individuals
                                            Affect        — Take is RCTO       or all individuals within
                                                                                 a specified acreage)
 Everglade snail kite             ■                                ■
 Florida scrub jay                X            ■                   ■
 Wood stork                       ■            ©                   ■
 Red-cockaded woodpecker          ■                                ■
 Eastern indigo snakes            ■            DI                  ■
 Florida bonneted bat             ■            ■                                 1 roost, 11 individuals
 Florida panther                  ■            ■                   el            4 individuals at year of
                                                                                 buildout (3 via vehicle
                                                                                collision, 1 due to habitat
                                                                                  loss and reduction in
                                                                                carrying capacity), and 3
                                                                                    individuals a year
                                                                                         thereafter
 Audubon's crested                ■            ■                   MI                  Loss or failed
 caracara                                                                          reproduction of one
                                                                                       caracara pair
 Tricolored bat                   ■            ■                   la            1 roost, 10 individuals

C.2 The following analysis supports the non jeopardy determination.

If possible, the Service may reference the public notice sections that describe the action area,
status of the species within the action area, effects of the action, cumulative effects, and the
amount of take.

Species and Critical Habitat Determinations
Refer to Ecosphere Project S7 Consultation Code 2022-0022196 the consultation summary:

Audubon's crested caracara


                                                 6
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 471 of 585




Action Area:

The Action Area is defined as all areas to be affected directly or indirectly by the action and not
merely the immediate area involved in the action. The Action Area for the Audubon's crested
caracara (caracara) is the entire 5,105.49-acre project site.

Status of the Species in the Action Area:

The project lies within the consultation area for the caracara and contains approximately 2,285
acres of suitable habitat, dominated by row crops (1,242.33 acres). The amount of suitable
habitat is anticipated to fluctuate as the cropland shifts seasonally and is expected to be used
opportunistically by caracara. A caracara survey conducted in 2020 identified an active nest on
the project site, which successfully fledged juvenile caracara. A subsequent survey was
conducted in 2021 that found the previous nest was inactive and caracara were absent from the
project site during that survey period. In 2022, another survey was conducted and found the
2020 nest was still inactive but discovered a different active nest within the Project footprint.
Finally, a 2023 survey found both previous nests from 2020 and 2022 to be inactive but have
identified that caracara are nesting just offsite to the north. Based on the results of these surveys,
we expect caracara to shift their territory between the project site and an off-site location in
response to annual changes in agricultural intensity and the suitability of the cropland.

Effects of the Action:

The Applicant proposes to develop a mixed-use community on approximately 1,793.4 acres and
preserve and enhance approximately 2,391.63 acres of native upland and wetland habitats.
Through these actions, approximately 1,440.33 acres of suitable caracara habitat will be
converted to development. Of the 1,440.33 acres, approximately 1,424.02 acres is current
cropland and only 16.31 acres is dry prairie and pasture. Caracara home ranges are known to
vary from approximately 1,000 acres to approximately 5,000 acres, depending on habitat
suitability and proximity to other caracara territories (Morrison 2001). To account for this
variation in home range size and lack of more specific data, we will use an average home range
of approximately 3,000 acres for our analysis. Accordingly, the development of 1,440.33 acres
would constitute a loss of 48 percent of an average caracara territory. Because of the variable
suitability of the existing cropland for caracara use, we expect caracara in the area have
seasonally shifted territories to accommodate the changing value. However, the proposed project
will eliminate any intermittent suitability of the cropland, likely permanently shifting the
caracara territory. This habitat loss could result in increased intraspecific aggression with
adjacent caracaras as the pair moves to neighboring territories in search of forage and nesting
sites. This aggression and/or decrease in foraging area could also ultimately result in a lower
reproductive potential.

In addition to habitat loss, we anticipate the noise and activity from personnel and vehicles
during site preparation and construction would disturb foraging or nesting caracara, potentially

                                                   7
Case 1:21-cv-00119-RDM              Document 149-2           Filed 01/12/24       Page 472 of 585




leading birds to change their behavior and abandon a foraging or nesting opportunity. The
degree of disturbance is related to the distance of these activities from the nest, as well as the
nesting pairs' tolerance to human activities. Adverse effects could range from abandoning a
nesting attempt, if construction is close to the nest during breeding season, to general avoidance
of the area for foraging. The avoidance and minimization measure of maintaining a 984 foot
exclusion buffer around an active nest is expected to reduce this risk of abandoning a nest
attempt; however, avoidance of the Project site for foraging could still adversely affect the
breeding pair through lowering the adult fitness and/or reproductive success of a nest (via lower
adult fitness or decreased food availability for young). Because we expect the documented pair
to currently avoid portions of the cropland areas during times of lower suitability, we anticipate
that these caracara may be less disturbed by noise and disturbance. Furthermore, the cropland
areas will be ultimately converted to development, eliminating suitability for use by caracara.
Therefore, the effects of disturbance is expected to be superseded by the habitat loss described
above.

Cumulative Effects

Cumulative effects include the effects of future State, Tribal, local, or private actions that are
reasonably certain to occur in this Project's Action Area. Future Federal actions unrelated to the
proposed action are not considered in this section because they require separate consultation
pursuant to section 7 of the Act.

The effects of this action on caracara are not expected to extend beyond the proposed project's
footprint; therefore, no additional cumulative effects are included in this analysis.

Amount of Take

The Service has reviewed the biological information for caracara, information presented by the
Applicant's consultant, and other available information relevant to this action. The Project will
result in take of caracara in the form of harm due to the disturbance from development and
construction activities, as well as loss of foraging and nesting habitat in the Project footprint that
is expected to result in a loss of reproductive success. Therefore, the Service expresses the
amount of incidental take from the Project as: 1) the loss of caracara reproductive success for
the known breeding pair for the first year of the Project; and 2) loss of 1,440.33 ac of suitable
caracara foraging and nesting habitat in the Project footprint.

Incidental take resultingfrom the project

Section 9 of the Act and Federal regulation pursuant to section 4(d) of the Act prohibit the take
of endangered and threatened species, respectively, without special exemption. "Take" is defined
as to "harass, harm, pursue, hunt, shoot, wound, kill, trap, capture or collect, or to attempt to
engage in any such conduct." "Harm" is further defined by the Service to include significant
habitat modification or degradation that results in death or injury to listed species by significantly

                                                  8
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24        Page 473 of 585




impairing essential behavioral patterns, including breeding, feeding, or sheltering. "Harass" is
defmed by the Service as intentional or negligent actions that create the likelihood of injury to
listed species to such an extent as to significantly disrupt normal behavior patterns that include,
but are not limited to, breeding, feeding, or sheltering. Incidental take is defined as take that is
incidental to, and not the purpose of, the carrying out of an otherwise lawful activity. Under the
terms of section 7(b)(4) and section 7(o)(2), taking, that is incidental to and not intended as part
of the action of a Federal agency, is not considered to be prohibited taking under the Act
provided that such taking is in compliance with the terms and conditions of the Incidental Take
Statement listed in the Service's biological opinion for the action.

With respect to the assumption of the CWA 404 permitting program by the State of Florida, any
take incidental to the execution of activities peimitted by a State 404 permit will be considered
exempt through the Incidental Take Statement provided in the Service's biological opinion to
EPA dated November 17, 2020, if the permittee implements all permit conditions agreed to by
the Service and the State of Florida.

The Service expects the proposed project to incidentally result in take of the caracara in the form
of harm (i.e., the loss of, degradation and fragmentation of 1,440.33 acres of habitat; and the loss
of caracara reproductive success for the known breeding pair for the first year of the Project).

Jeopardy assessment

After considering the status of the caracara, additional information on the proposed project
provided by the applicant, the adverse effects of the proposed project and any potential
cumulative effects, the Service finds that the project as proposed is not likely to jeopardize the
continued existence of the caracara. "Jeopardize the continued existence" is defmed as reducing
appreciably the likelihood of both the survival and recovery of the species in the wild by
reducing its reproduction, numbers, or distribution. We base this finding on the following:

        1) Disturbance from site preparation and construction activities is anticipated to cause
        caracara to permanently shift their territory; however, as these caracara likely shift
        territories with some regularity, we expect the caracara to acclimate and resume normal
        behavior following the first year. A reduction in breeding success during this time would
        occur, but abandonment of this territory by caracara is not anticipated.
        2) The reduction of the breeding success is only expected for a short period, while birds
        adjust, and given that all suitable caracara habitat is believed to be saturated, this loss in
        breeding is expected to have minimal effect on the overall population.
        3) The permanent loss of approximately 1,440.33 ac of suitable caracara habitat will
        likely lead to increased competition for suitable foraging habitat and a reduction in nest
        productivity, but as discussed above the loss in breeding is not expected to adversely
        affect the overall population to a significant degree.
        4) The habitat loss (1,440.33 ac) is small reduction in the overall range of the species.

Florida Panther


                                                   9
Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24      Page 474 of 585




Action Area:

The Action Area is defined as all areas to be affected directly or indirectly by the action and not
merely the immediate area involved in the action. For this Project, the Service considers the
action area for panthers as all lands within the footprint of the Project, and all lands within 25
miles of the Project footprint. The 25-mile buffer around the Project footprint is designed to
encompass mean dispersal distance of sub-adult male panthers, which was reported by Maehr et
al. (2002) to be 23.2 miles and by Comiskey et al. (2002) to be 24.9 miles. The 25-mile buffer
distance encompasses the dispersal distance of both male and female panthers because male
panther dispersal distances are known to exceed those reported for female panthers (Comiskey et
al. 2002; Maehr et al. 2002). The size of the Action Area for this consultation is consistent with
action areas defined in our recent biological opinions for the panther, and it accounts for the
wide-ranging movements of sub-adult panthers and the large home territories of adult panthers.
While the action area is a 25-mile buffer around the Project footprint, effects to species other
than panthers are not expected to extend beyond the Project boundaries.

Status of the Species in the Action Area:

This Project lies within the consultation area for the Florida panther and is within the Primary
Zone of the focus area. Over 7,400 telemetry locations have been documented within 5 miles of
the Project from February 1982 to October 2019, with 10 occurring within the development
footprint. While these telemetry locations demonstrate that panthers use this area, they do not
reflect whether these are resident panthers or dispersing panthers, how much time they spend
there, or how many individuals may be present. The closest identified panther den is
approximately 2.27 miles southeast of the project site. The exact number of panthers that may
use the project site is not known but the Project areas comprises only approximately 3 to 7
percent of an individual female or male panther home range respectively (see below, effects of
the action).

According to the Service's GIS database, since monitoring of panthers began in 1982, there have
been 398 panther documented deaths within the Action Area (e.g. 25 miles of the proposed
Project) as of December 2, 2022. Specifically, 275 of those deaths were attributed to motor
vehicles, 49 were due to intraspecific aggression, and 74 were due to other causes (disease,
starvation, etc.). We assume that based on population size, that these causes represent the variety
of ways that panthers are most often killed.

Although an exact population size of panthers is not known, numbers were estimated to be
between 90 and 120 in the early 2000s as described below (FWC and USFWS 2017). Recent
modeling techniques using vehicle mortality data from radio-collared panthers estimated a
population of approximately 269 individuals in 2012, with a 95 percent confidence interval from
143 to 509 panthers (McClintock et al. 2015). In 2019, the McClintock et al. (2015) model was
updated with six additional years of data, resulting in size point estimate of 407 panthers in 2018,
with a 95 percent confidence interval ranging from 222 to 773 panthers. Based on the data

                                                10
  Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 475 of 585




provided in both iterations of the McClintock et al. (2015) model, the panther population has
increased from approximately 62 individuals in 2000 to between approximately 222 and 773
individuals in 2018, an average increase of between 9 and 39 [(222-62)/18 years and (773-62)/18
years] panthers per year. Although survival rates for Florida panthers were described by Benson
et al. (2011), those values are model-averaged and categorized by sex and age cohort, making
them difficult to apply to a panther population of unknown demographics. Current survival
estimates range between approximately 0.63 (SE 0.08) and 0.95 (SE 0.034) but these vary by age
and sex. Given the uncertainty of using these survival rates, as well as variability in number of
breeding females in the population and litter size, the Service will use the approximate
population growth described above as an estimate of recruitment.

Effects of the Action:

In the absence of the Project, continued development and increases in traffic will occur in this
area but with fewer conservation measures than those proposed by the applicant to maintain large
blocks of intact habitat and improve road conditions to reduce impacts to panthers and other
wildlife. The land clearing and construction activities associated with the Project have the
potential to injure or kill panthers. However, panthers are intelligent and highly agile.
Therefore, the Service expects that panthers will avoid the Project footprint during land clearing
and construction, and injuries or mortalities of panthers due to these activities are unlikely.

Land clearing and construction activities associated with the Project will result in the permanent
loss of habitat for panthers, and their prey. Specifically, approximately 1,793 acres of panther
habitat will be permanently lost. According to the most current home range estimates of the
panther (Lotz et al. 2005), this loss represents 6.17 percent of a single female panther's average
home range (29,059 acres) and 2.8 percent of a male panther's average home range (62,542
acres). Moreover, this loss represents 0.15 percent of the 1,202,699 acres of available rural
private lands available to panthers in the Service's focus area south of the Caloosahatchee River.
As a conservation measure to benefit the survival and recovery of the panther, the applicant will
develop the lowest quality habitat (row crops) within the project area, and strategically restore
and permanently protect 2,391.63 acres of currently unprotected habitat in areas where habitat
connectivity can be maintained. The Consultant used the Service's Panther Habitat Assessment
Methodology (2012) to determine the amount of panther habitat units (PHUs) needed to
compensate for the panther habitat lost on the Project site. It is the Service's judgement that the
PHUs provided by the onsite conservation, restoration, and preservation of the highest quality
panther habitat available within the project area adequately compensates for the habitat lost to
development.

Panthers are known to sometimes attack and kill other panthers. This is called intraspecific
aggression and occurs when males may kill other rival males when defending a territory or
juveniles from another sire. Habitat loss may increase the potential for this to occur as individual
panthers adjust their home ranges. As mentioned above, a total of 49 documented panther deaths
due to intraspecific aggression have occurred within the action area since 1982 with the most

                                                 11
Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 476 of 585




recent known death occurring in July 2019. The Project will remove about 1,793.4 acres of
panther habitat. Based on estimates of home range size (described above) this loss of habitat is
expected to impact no more than 1 male or female panther home range. As such, the Service
fmds that an increase in intraspecific aggression among panthers could occur as a result of the
project displacing a resident panther.

In addition to habitat loss and disturbance, the Project will result in increased vehicular traffic in
the Action Area. It should be noted that there is considerable uncertainty when correlating the
number of panther deaths due to vehicle strikes to the overall population. This is because an
increase in the number of panthers hit by cars may indicate an increase in the total number of
panthers in the population and may not be attributable to a change in the volume of traffic. In
evaluating a Project's potential to increase injuries and mortalities to panthers resulting from
motor vehicle collisions, we consider the location of the Project in relation to surrounding native
habitats, preserved lands, and wildlife corridors that are frequently used by panthers. We also
consider the current road configuration and traffic patterns within the action area and the
projected increase and patterns of traffic expected to result from the proposed action. We
evaluate the habitats present on site, their importance in providing feeding and dispersal needs
for panthers and panther prey species, and if the site development would further restrict access to
surrounding lands important to panthers and panther prey species. The Project has been
designed to conserve native habitat, maintain and improve existing wildlife corridors, and reduce
impacts from vehicles by installing strategically placed wildlife crossings and fencing.

As discussed above, several panthers have been killed by collisions with motor vehicles in the
action area. To analyze the Project's effects on motor vehicle related panther injuries and
mortalities, the Service used a Traffic Impact Statement (TIS) for the Project site provided by the
Applicant and reviewed by the Service. This information indicated that most vehicles entering
and leaving the Project site would use three entrances onto Desoto Boulevard, one of which
provides access to Golden Gate Boulevard and a total of 121,200 trips per day would be
generated by vehicles associated with the Project. Approximately 53 percent of the Project's
generated motor vehicle traffic would travel west on either Golden Gate Boulevard or 6th Avenue
and 39 percent would travel north on Desoto Boulevard towards Oil Well Road. The remaining 8
percent would remain within the Golden Gate Estates subdivision. Of the northbound Desoto
Boulevard traffic, approximately 28 percent would continue west towards the city of Naples, and
11 percent would travel east on Oil Well Road towards Ave Maria. It should be noted that this
increase in traffic would likely occur regardless of the implementation of the Project as increased
residential development will occur in this area.

Further, motor vehicle accidents are somewhat stochastic and influenced by many variables that
are outside of the control of the project proponents. Several factors such as panther population
size and composition, individual animal behavior, habitat configuration, road design, driver
behavior and others, all play a role in circumstances that lead to a panther (or any species of
wildlife) being hit by a car. As such, attributing panther mortality due to project induced traffic
within 25 miles of the project area is challenging and fraught with uncertainty because the

                                                  12
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 477 of 585




precise cause of future accidents cannot be known. Nonetheless, we used best available scientific
model to provide an assumed estimate of how the traffic associated with the project may
influence the panther population for the purpose of determining whether the project may
jeopardize the panther population.

The Traffic Impact Statement used in our analysis covered a 27-year period from 2015 through
2042. This included both background traffic and traffic generated from the Project. According to
the TIS, both future background traffic as well as traffic created from the Project is expected to
significantly increase from 2015 levels. By 2042, background traffic based on annual average
daily traffic (AADT) in the Project area is expected to increase approximately 74 percent over
the 27-year evaluation period from 916,110 AADT in 2015 to 1,592,800 AADT by 2042,
excluding the additional trips from the Project. The TIS further estimates that the Project alone
would increase traffic by 13 percent over 2015 background traffic. Combined, the estimated
increase in traffic is 87 percent over 2015. By 2042, the Project generated traffic of 121,200 trips
will increase traffic by 8 percent over the future 1,592,800 background trips. This is largely due
to an increase in the human population as people move to Florida from other areas.

Although the Project is expected to increase traffic in the action area, it will be difficult to
distinguish from the predicted non-Project traffic. Furthermore, attributing any panther mortality
due to vehicle collision with traffic generated by the Project is anticipated to be indiscernible
from background traffic. Nonetheless, the Service acknowledges that vehicle collision is the
most documented cause of death for Florida panthers (FWC 2019), and the Project's potential
effects on this mortality requires analysis.

Range-wide, 226 panthers were killed by vehicle collisions from 2014 through 2022 (FWC
2023), with a yearly average of roughly 26 panther deaths. Over that same time period within
the action area, 149 panthers were killed as a result of vehicle collisions, with a yearly average of
17 panther deaths. If we were to assume that traffic volume is directly correlated to the number
of panthers killed by vehicle collisions, the 13 percent increase over current background traffic
generated by the Project would add 3 (17*0.132-2.18, rounded to 3) panther deaths to the yearly
average once construction is completed in 2042. For comparison, the forecasted 2042
background traffic without the Project would add 13 (16.5*0.739=12.19, rounded to 13), and
background plus Project traffic would contribute 15 (16.5*0.871=14.4, rounded to 15) additional
panther deaths. Said another way, our methods predict that an increase in background traffic
would result in 13 panther deaths and an additional 3 would result from project related traffic by
2042 for a total of 15 additional panther deaths per year.

However, there are many variables associated with vehicles colliding with panthers (time of
traffic, speed of vehicle, panther population size and composition, duration of panther presence
on the roadway, panther habitat near the roadway etc.), and there is a high likelihood that this
relationship is not directly correlated and the numbers above are overestimations. Additionally,
evaluation of both the action area and range-wide data between 2014 through 2022 indicates no
clear trend in panther deaths, although linear regression shows a potential decline of vehicle

                                                 13
Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 478 of 585




mortality over that time. Because of the uncertainties in describing the effects of traffic volume
and speed on panther vehicle mortality outlined above, as well as any bias within the reporting of
panther deaths, the Service expects that the calculation expressed above (17*0.132=2.18,
rounded to 3) conservatively estimates the number of panthers that could be killed by Proj ect-
generated traffic every year. To be clear, these are estimates based on the assumptions stated
above and used here to determine the potential impacts to the panther population.

To assist in reducing the threat of vehicle-related panther deaths, the Applicant has committed to
fund and install a wildlife crossing just north of the Project site on Oil Well Road. This east-
west roadway facilitates travel away from developed areas into an area where there is a higher
risk of vehicles striking panthers because of the remote nature of the area and more suitable
habitat for panthers. Therefore, this crossing is expected to provide safe passage for panthers in
an area that is designed to become a conserved wildlife corridor under the Rural Lands
Stewardship Program. Additionally, the Applicant has committed to contribute to the Paul J.
Marinelli Fund (as described above) which supports land acquisition, corridor enhancement, and
wildlife crossing installation. As more wildlife crossings are installed and wildlife corridors
delineated through development of habitat-based models, risk of vehicle-related panther deaths is
expected to be minimized and mitigated to the maximum extent practicable. By identifying
individual road segments where there is a high likelihood of panthers crossing roads based on
habitat conditions and past history of vehicles striking panthers, efforts can be made to install
crossing and fences where they are most effective at reducing impacts to panthers.

Cumulative Effects:

The Service defines cumulative effects as the effects of future State, Tribal, local, or private
actions that have the potential to affect Federally listed threatened and endangered species and
are reasonably certain to occur in the Project's Action Area. Federal actions unrelated to the
proposed action are not considered cumulative effects because they require separate consultation
pursuant to section 7 of the Endangered Species Act of 1973, as amended (87 Stat. 884; 16
U.S.C. 1531 et seq. (Act).

Our projection of non-Federal actions (i.e., cumulative effects) in the action area incorporates
Florida Land Use Cover and Forms Classification System (FLUCCS) mapping to decide if a
property may be exempt from Federal Clean Water Act, section 404 wetland regulatory review
by the Corps or by the State of Florida (Florida Department of Environmental Protection) who
has recently assumed administration of the Section 404 permitting program from Corps (through
approval of the Environmental Protection Agency). To assess if a development project would
likely be exempt from regulatory review, we identified the percentage of the project site that was
classified as wetland habitat based on FLUCCS 600 series (wetland), and the 411 and 419
(hydric pine flatwood) mapping unit classifications. Projects on properties with less than 5
percent wetlands were considered exempt from the Corps' regulatory review because impacts to
wetlands could likely be avoided by project design.

Based on this approach, and information provided by the Applicant's consultant, the Service
fmds that from 2017 through 2020, 554 projects in the action area affecting 7,967 acres were
                                                14
  Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 479 of 585




exempt from regulatory review. Therefore, the Service estimates approximately 1,992 acres per
year (7,967 acres/4 years = 1,992 acres per year) would be exempt from regulatory review in the
action area. We find this value is representative of future yearly development likely to occur in
the action area. The Service notes many unforeseen factors can affect development in the action
area. Therefore, we acknowledge it is difficult to forecast development related to non-Federal
actions and it comes with unknown uncertainty. However, the Service believes the rate of
development based on 2017 through 2020 development provides a reasonable approximation of
future, non-Federal actions reasonably certain to occur and meets our definition of a cumulative
effect. This level of development represents 6.85 percent of a female panther's average home
range (29,059 acres) and 3.2 percent of a male panther's average home range (62,542 acres).
However, we expect the development to be spread over multiple home ranges instead of that
belonging only to one female and one male Florida panther. This level of development also
represents 0.1 percent of the non-urban private lands at risk of development in the Service's
panther core area which covers 1,962,294 acres. In relation to the anticipated 2042 buildout of
the proposed Project, non-Federal actions could develop approximately 43,823 acres without
regulatory review. In conjunction with the Project, this would amount to 45,616 acres or 2.32
percent of the estimated 1,962,294 acres of non-urban private lands at risk of development in the
Service's panther core area by 2042. In addition, the Service is aware of three other
development projects under Section 404 permitting within the action area that if approved will
convert approximately 11,977 acres of non-urban private lands (Kingston: 3081 acres; FFD:
2292 acres; Rural Lands West: 6603). In total, these Section 404 and non-Federal projects are
 expected to develop 57,593 acres or 2.93 percent of the estimated remaining non-urban private
lands in the panther core area over the next two decades. However, it is also of note that the
 Section 404 projects mentioned above will conserve in perpetuity 9,849 acres (Kingston : 3,272
 acres; FFD: 2,916 acres; Rural Lands West: 3,661 acres), removing that subset from risk of
 development. In addition, development of these Section 404 projects is expected to reduce the
 likelihood that smaller, non-Federally reviewed actions will be needed to meet the commercial
 and residential needs of the rapidly growing human population in this area regardless of whether
 these 404 projects are authorized. The Service believes the conservation measures included in
 these 404 projects will provide greater benefits to panthers compared to non-Federally reviewed
 projects because they include measures to maintain high quality habitats that are connected,
 install fencing and crossings to reduce roadway mortality and are planned to reduce human and
 wildlife conflicts.

Based on the above analysis, we believe the effects to the panther due to the loss of the habitat
associated with these lands will be minor in the short term but will increase as development
continues to occur in the future. Consequently, the Service continues to monitor the effects of
habitat loss to the panther throughout its range, and we encourage project proponents to develop
Habitat Conservation Plans and seek Incidental Take Permits under section 10 of the Act to
receive take coverage and minimize and mitigate any adverse effects to the panther resulting
from non-Federal actions if not covered under Section 404 permitting.

In addition to land development, these non-Federal projects are expected to also contribute to
additional motor vehicle traffic in the action area. However, as these projects are anticipated to
be dispersed throughout the action area, this increase is expected to be reflected by the future



                                                15
Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24        Page 480 of 585




background numbers provided in the TIS previously discussed. Therefore, the cumulative
effects of traffic is conservatively estimated as stated in the Effects of the Action section above.

Amount of Take:

The increase in noise and human activities due to construction activities may increase
disturbance to panthers in the project vicinity during construction of the project. Consequently,
the Service notes that these activities may cause resident or dispersing panthers to avoid the
project site during construction. Moreover, resident panthers may adjust their territories due to
the disturbance. To quantify the effect of habitat lost due to the Project, we considered the
reduction of panther habitat carrying capacity due to the loss of 1,793 acres of panther habitat.
We used panther habitat selection ranking (Onorato, et al. 2011) to estimate the loss of panther
habitat carrying capacity. Based on the habitat preference values in Onorato et al. 2011, the loss
of 1,793 acres of panther habitat approximates the loss of habitat carrying capacity for 0.25
panthers. Therefore, the Service expects no more than one Florida panther to be harmed by this
loss in habitat carrying capacity and a potential increase in intraspecific aggression.

In addition to habitat loss, the Service has evaluated the potential impacts to panthers based on
an increase in traffic in the action area. As described above, our method of evaluation assumed
that Project-related traffic will increase the number of panthers killed by vehicles each year. To
support decision making, we also take into account the magnitude of potential uncertainty in the
estimate by approximating uncertainty in the inputs (ADDT and average PVM counts). Based
on the expected 13 percent increase over current background traffic generated by the Project, the
Service estimates three additional panthers could be killed by vehicle collision annually upon
Project buildout in 2042. Therefore, for the purposes of estimating impacts to panthers, we
assume the Project could result in the loss of four panthers the first year of Project completion,
and three panthers each year following.

Incidental take resultingfrom the Project:

Section 9 of the Act and Federal regulation pursuant to section 4(d) of the Act prohibit the take
of endangered and threatened species, respectively, without special exemption. "Take" is defined
as to "harass, harm, pursue, hunt, shoot, wound, kill, trap, capture or collect, or to attempt to
engage in any such conduct." "Harm" is further defined by the Service to include significant
habitat modification or degradation that results in death or injury to listed species by significantly
impairing essential behavioral patterns, including breeding, feeding, or sheltering. "Harass" is
defined by the Service as intentional or negligent actions that create the likelihood of injury to
listed species to such an extent as to significantly disrupt normal behavior patterns that include,
but are not limited to, breeding, feeding, or sheltering. Incidental take is defined as take that is
incidental to, and not the purpose of, the carrying out of an otherwise lawful activity. Under the
terms of section 7(b)(4) and section 7(o)(2), taking, that is incidental to and not intended as part
of the action of a Federal agency, is not considered to be prohibited taking under the Act



                                                  16
  Case 1:21-cv-00119-RDM             Document 149-2         Filed 01/12/24       Page 481 of 585




provided that such taking is in compliance with the terms and conditions of the Incidental Take
Statement listed in the Service's biological opinion for the action.

With respect to the assumption of the CWA 404 permitting program by the State of Florida, any
take incidental to the execution of activities permitted by a State 404 permit will be considered
exempt through the Incidental Take Statement provided in the Service's biological opinion to
EPA dated November 17, 2020, if the permittee implements all permit conditions agreed to by
the Service and the State of Florida.

The Service expects the proposed Project to incidentally result in take of the Florida panther in
the form of harm due to the destruction of habitat in the Project footprint, disturbance due to land
clearing and construction activities, and mortality. The combined loss of 1,793 acres of panther
habitat and increase in traffic related mortality is expected to result in harm for three to 4
panthers per year as the result of the Project. Therefore, the Service expects no more than four
Florida panthers to be harmed by the combination of this loss in habitat carrying capacity,
intraspecific aggression, and vehicle collision in year one, and three panthers each year
following.

Jeopardy assessment:

After considering the status of the Florida panther, additional information on the proposed
project provided by the applicant, the adverse effects of the proposed project and any potential
cumulative effects, the Service fmds that the project as proposed is not likely to jeopardize the
continued existence of the Florida panther. "Jeopardize the continued existence" is defined as
reducing appreciably the likelihood of both the survival and recovery of the species in the wild
by reducing its reproduction, numbers, or distribution. We base this finding on the following:

    1) Due to their mobility and large home ranges, panthers are not expected to be killed or
       injured during land clearing associated with the Project's development and restoration
       activities;
    2) Although 1,793 acres currently used by the panther and their prey will be permanently
       lost, this acreage represents a small portion (0.15 percent) of panther habitat available in
       south Florida. Also, the loss of 1,793 acres of panther habitat is a small percentage of a
       female (6.17 percent) and male (2.8 percent) panther territories;
    3) The small reduction in panther habitat from the Project is not expected to significantly
       increase the potential for intraspecific aggression among panthers in the Action Area.
    4) The loss of this habitat is expected to be minimized by the restoration and permanent
       preservation of 2,372 acres of habitat that will remain available to the panther onsite;
    5) The potential increase in vehicle-related panther deaths from Project-generated traffic is
       expected to be minimized through the Applicant's funding of wildlife crossings on area
       roads and increased understanding and maintenance of permanent wildlife corridors,
    6) While our estimated increase in panther mortality due to vehicle strikes does not exceed
       the approximate population growth rate of nine panthers a year, we do not expect the
       actual number of panthers killed by vehicles to reach the estimated value for the reasons
       stated above. There are too many unknown variables related to calculating a precise

                                                 17
Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 482 of 585




       number of panthers killed by vehicles to quantify the actual impacts. As such, we will
       rely on monitoring the number of vehicle collisions with panthers and take steps
       necessary to reduce this number if it exceeds the annual current average of three panthers
       per year within the action area. These steps can include construction of additional
       fencing, recommending installation of additional crossings, recommending reducing
       speed limits, adding signage or other methods to increase driver awareness.


With respect to reason 2, the Service notes that many thousands of acres of panther habitat
remain in Florida. Therefore, we do not expect that this minor loss of habitat resulting from the
Project to significantly affect the range-wide population size of this species. However, we
acknowledge, that collectively, habitat loss could threaten the survival and recovery of this
species at some point in the future. Therefore, we will continue to monitor the effects of habitat
loss to the panther throughout its range. With respect to reason 5, the Service also acknowledges
that motor vehicle related injuries and mortalities of panther, in concert with other threats to the
panther, could collectively threaten the survival and recovery of this species. Therefore, we will
continue to monitor the effects of motor vehicle related injuries and mortalities to the panther
throughout its range. Actions specifically aimed at reducing traffic impacts such as those
included in the design for this project will continue to be high priority recommendations and
permit conditions for projects moving forward.

Florida bonneted bat

Action Area:

The Action Area is defined as all areas to be affected directly or indirectly by the action and not
merely the immediate area involved in the action. The Action Area for this species is the entire
5,105-acre Project site.

Status of the Species in the Action Area:

This Project lies within the consultation area for the Florida bonneted bat (FBB). The entire
Project site contains suitable FBB foraging and/or roosting habitat. The nearest documented FBB
roost is located approximately 2 miles southeast of the Project site. Acoustic surveys identified
FBBs flying above the Project site, with 12 calls occurring in close proximity to sunrise or
sunset, indicating that roosting is likely nearby (Service 2019).

Effects of the Action:

The FBB is expected to occur within the Project footprint and, like many bat species, is known to
forage along wetlands and open water and roost within pine flatwoods and other forested habitats
(Belwood 1981, Robson 1989, Belwood 1992, Eger 1999). Potential effects to the FBB due to
the proposed action include a number of direct and indirect effects on the bat and its habitat.
Potential direct effects include: (1) direct mortality from destruction of roosting sites; (2)
harassment by construction activities; and (3) disruption of normal behaviors from the

                                                 18
  Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 483 of 585




conversion of available habitat for roosting, foraging, breeding, and dispersing. Potential indirect
effects include reduced foraging and roosting opportunities due to habitat loss. The timing for
construction of this project, relative to sensitive periods in the life history of the FBB, is
unknown.

Any actions that occur in areas known to be occupied by the FBB and result in the removal of
potential roost sites (i.e., snags, trees, utility poles, buildings, etc.) or impact foraging habitat
(i.e., filling in of canals and ditches) are likely to have direct and indirect adverse effects to the
FBB and its habitat. The Service evaluated the project in the context of how the action has the
potential to result in both beneficial and adverse effects to the FBB, at the individual, population,
and landscape scales. The use of specific minimization measures as part of the action such as
pre-construction acoustical and roost surveys, preservation of roost trees, the use of avoidance
buffers around known roosts, and retention of potential roosting habitat (wherever possible) are
expected to significantly reduce the potential adverse effects to the FBB as a result of
construction activities. However, some adverse effects to the FBB are likely to occur despite the
inclusion of these measures into the proposed action.

The Project footprint overlaps with the currently proposed designated critical habitat for the
FBB. As this area will ultimately be included as part of the conservation lands, Project activities
are not expected to adversely affect FBB critical habitat when designated.

Cumulative Effects:

Cumulative effects include the effects of future State, Tribal, local, or private actions that are
reasonably certain to occur in the action area considered in this Project's Action Area.
Future Federal actions unrelated to the proposed action are not considered in this section because
they require separate consultation pursuant to section 7 of the Act.

The effects of this action on FBB is not expected to extend beyond the proposed Project's
footprint; therefore, no additional cumulative effects are included in this analysis.

Amount of Take:

The Service has reviewed the biological information for the FBB presented by the Applicant's
consultant, and other available information relevant to this action. Incidental take in the form of
harm (i.e., the loss of, degradation and fragmentation of 1,793 acres of habitat, and the direct
injury or mortality of 11 FBBs and one roost), and harassment is expected to result from the
action. The Service bases the amount of take (11 individuals and one roost) on findings of the
Status of the Species report by Marks and Marks (2012).

The Service anticipates incidental take of FBB will be difficult to detect and quantify for the
following reasons: 1) FBB roost sites are difficult to identify; 2) tree cavities used by the FBB as
roost sites are not easily located or examined; 3) the small size of individual FBB make fmding
an injured or dead specimen unlikely; and 4) FBB are patchily distributed within suitable habitat.
Incidental take of FBBs is anticipated for one FBB roost containing up to 11 individual FBBs,
and 1,793 ac of roosting and foraging habitat within the construction footprint. The Service

                                                  19
Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 484 of 585




believes all individuals occurring within this portion of the project footprint will be incidentally
taken. In addition, disturbance to FBBs may occur from increased human activity and noise from
the proposed action.

Incidental take resultingfrom the project:

Section 9 of the Act and Federal regulation pursuant to section 4(d) of the Act prohibit the take
of endangered and threatened species, respectively, without special exemption. "Take" is defined
as to "harass, harm, pursue, hunt, shoot, wound, kill, trap, capture or collect, or to attempt to
engage in any such conduct." "Harm" is further defined by the Service to include significant
habitat modification or degradation that results in death or injury to listed species by significantly
impairing essential behavioral patterns, including breeding, feeding, or sheltering. "Harass" is
defined by the Service as intentional or negligent actions that create the likelihood of injury to
listed species to such an extent as to significantly disrupt normal behavior patterns that include,
but are not limited to, breeding, feeding, or sheltering. Incidental take is defined as take that is
incidental to, and not the purpose of, the carrying out of an otherwise lawful activity. Under the
terms of section 7(b)(4) and section 7(o)(2), taking, that is incidental to and not intended as part
of the action of a Federal agency, is not considered to be prohibited taking under the Act
provided that such taking is in compliance with the terms and conditions of the Incidental Take
Statement listed in the Service's biological opinion for the action.

With respect to the assumption of the CWA 404 permitting program by the State of Florida, any
take incidental to the execution of activities permitted by a State 404 permit will be considered
exempt through the Incidental Take Statement provided in the Service's biological opinion to
EPA dated November 17, 2020, if the permittee implements all permit conditions agreed to by
the Service and the State of Florida.

The Service expects the proposed project to incidentally result in take of the FBB in the form of
harm (i.e., the loss of, degradation and fragmentation of 1,793.4 acres of habitat; and the
disturbance, injury or mortality of 11 FBBs and one roost).

Jeopardy assessment:

After considering the status of the FBB, additional information on the proposed project provided
by the applicant, the adverse effects of the proposed project and any potential cumulative effects,
the Service finds that the project as proposed is not likely to jeopardize the continued existence
of the FBB. "Jeopardize the continued existence" is defined as reducing appreciably the
likelihood of both the survival and recovery of the species in the wild by reducing its
reproduction, numbers, or distribution. We base this finding on the following:

    1) The FBB consultation area encompasses approximately 5,691,000 acres of land in South
       Florida. Construction activities for the Project will result in the conversion of 1,793 acres
       of potential roosting and foraging habitat in the consultation area. This is less than 0.01
       percent of the FBB consultation area;

                                                 20
  Case 1:21-cv-00119-RDM             Document 149-2          Filed 01/12/24       Page 485 of 585




   2) The project will result in the preservation of approximately 2,392 acres of suitable FBB
      roosting and forging habitat in the FBB consultation area;
   3) The State permit, if issued, will include conditions to implement a FBB roost survey prior
      to tree removal, reducing the likelihood that individual bats that use the roost will be
      injured or killed.
   4) The FBB is expected to be able to forage over the development area following
      construction completion.

Candidate species

Tricolored bat

Action Area:

The Action Area is defined as all areas to be affected directly or indirectly by the action and not
merely the immediate area involved in the action. The Action Area for this species is the entire
5,105-acre Project site.

Status of the Species in the Action Area:

This Project lies within the range of the proposed Federally endangered tricolored bat (TCB).
The entire Project site contains suitable TCB foraging and/or roosting habitat, which commonly
forage along waterways and forest edges, and roost primarily in deciduous hardwood trees
(Service 2021). According to data available through the U.S. Geological Survey North
American Bat Monitoring Program, the TCB has been detected via acoustic surveys in the area
of Golden Gate Estates and Florida Panther National Wildlife Refuge in 2006 and 2020 (USGS
2023). TCB will use leaf clusters, moss, lichens, and some evergreen trees to roost during the
non-hibernating season, and move to more robust (caves, mines, etc.) shelter to hibernate. In the
southern portions of its range where caves are limited, TCB typically hibernate in road-
associated culverts (Service 2021). A recent study on TCB by Smith et al. (2022) found
evidence that suggests TCB at the southern edge of its range (i.e. south Florida) may move north
to find cooler hibernacula to support torpor and reproductive success. Furthermore, as TCB
generally move between winter hibernacula and summer roosting sites, up to 151 miles
(Samoray et al. 2019), this species may only use the Project site seasonally.

Effects of the Action:

Potential effects to the TCB due to the proposed action include a number of direct and indirect
effects on the bat and its habitat. Potential direct effects include: (1) direct mortality from
destruction of roosting sites; (2) harassment by construction activities; and (3) disruption of
normal behaviors from the conversion of available habitat for roosting, foraging, breeding, and
dispersing. Potential indirect effects include reduced foraging and roosting opportunities due to
habitat loss. The timing for construction of this project, relative to sensitive periods in the life
history of the TCB, is unknown.

                                                 21
Case 1:21-cv-00119-RDM              Document 149-2          Filed 01/12/24       Page 486 of 585




Any actions that occur in areas known to be occupied by the TCB and result in the removal of
potential roost sites (i.e., snags, trees, utility poles, buildings, etc.) or impact foraging habitat
(i.e., filling in of canals and ditches) are likely to have direct and indirect adverse effects to the
TCB and its habitat. The Service evaluated the project in the context of how the action has the
potential to result in both beneficial and adverse effects to the TCB, at the individual, population,
and landscape scales. The use of specific minimization measures as part of the action such as
pre-construction acoustical and roost surveys, preservation of roost trees, the use of avoidance
buffers around known roosts, and retention of potential roosting habitat (wherever possible) are
expected to significantly reduce the potential adverse effects to the TCB as a result of
construction activities. However, some adverse effects to the TCB are likely to occur despite the
inclusion of these measures into the proposed action.

Cumulative Effects:

Cumulative effects include the effects of future State, Tribal, local, or private actions that are
reasonably certain to occur in the action area considered in this Project's Action Area.
Future Federal actions unrelated to the proposed action are not considered in this section because
they require separate consultation pursuant to section 7 of the Act.

The effects of this action on TCB is not expected to extend beyond the proposed Project's
footprint; therefore, no additional cumulative effects are included in this analysis.

Amount of Take:

The Service has reviewed the biological information for the TCB presented by the Applicant's
consultant, and other available information relevant to this action. Incidental take in the form of
harm (i.e., the loss of, degradation and fragmentation of 1,793 acres of habitat, and the direct
injury or mortality of 10 TCBs and one roost), and harassment is expected to result from the
action. The Service bases the amount of take (10 individuals and one roost) on findings of the
Species Status Assessment (Service 2021) that 40 percent of hibernating TCB colonies consisted
of one to ten individuals. As TCB typically roost singly or in pairs during non-hibernating
seasons, an occupied hibernacula conservatively represents the upper limit of expected take.

The Service anticipates incidental take of TCB will be difficult to detect and quantify for the
following reasons: 1) TCB roost sites are difficult to identify; 2) trees used by the TCB as roost
sites are not easily located or examined; 3) the small size of individual TCB make finding an
injured or dead specimen unlikely; and 4) TCB are not uniformly distributed across suitable
habitat. Incidental take of TCBs is anticipated for one TCB roost containing up to 10 individual
TCBs, and 1,793 ac of roosting and foraging habitat within the construction footprint. The
Service believes all individuals occurring within this portion of the project footprint will be
incidentally taken. In addition, disturbance to TCBs may occur from increased human activity
and noise from the proposed action.

Incidental take resultingfrom the project:


                                                  22
  Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24       Page 487 of 585




Section 9 of the Act and Federal regulation pursuant to section 4(d) of the Act prohibit the take
of endangered and threatened species, respectively, without special exemption. "Take" is defined
as to "harass, harm, pursue, hunt, shoot, wound, kill, trap, capture or collect, or to attempt to
engage in any such conduct." "Harm" is further defined by the Service to include significant
habitat modification or degradation that results in death or injury to listed species by significantly
impairing essential behavioral patterns, including breeding, feeding, or sheltering. "Harass" is
defined by the Service as intentional or negligent actions that create the likelihood of injury to
listed species to such an extent as to significantly disrupt normal behavior patterns that include,
but are not limited to, breeding, feeding, or sheltering. Incidental take is defined as take that is
incidental to, and not the purpose of, the carrying out of an otherwise lawful activity. Under the
terms of section 7(b)(4) and section 7(o)(2), taking, that is incidental to and not intended as part
of the action of a Federal agency, is not considered to be prohibited taking under the Act
provided that such taking is in compliance with the terms and conditions of the Incidental Take
Statement listed in the Service's biological opinion for the action.

With respect to the assumption of the CWA 404 permitting program by the State of Florida, any
take incidental to the execution of activities permitted by a State 404 permit will be considered
exempt through the Incidental Take Statement provided in the Service's biological opinion to
EPA dated November 17, 2020, if the permittee implements all permit conditions agreed to by
the Service and the State of Florida.

The Service expects the proposed project to incidentally result in take of the TCB in the form of
harm (i.e., the loss of, degradation and fragmentation of 1,793 acres of habitat; and the
disturbance, injury or mortality of 10 TCBs and one roost).

Jeopardy assessment:

After considering the status of the TCB, additional information on the proposed project provided
by the applicant, the adverse effects of the proposed project and any potential cumulative effects,
the Service fmds that the project as proposed is not likely to jeopardize the continued existence
of the TCB. "Jeopardize the continued existence" is defined as reducing appreciably the
likelihood of both the survival and recovery of the species in the wild by reducing its
reproduction, numbers, or distribution. We base this finding on the following:

    1) Although construction activities for the Project will result in the conversion of 1,793
       acres of potential roosting and foraging habitat, only 90 acres consists of forested area.
       Because of the wide range and semi-migratory nature of the species, this loss is not
       expected to have a measurable impact on the species as a whole.
    2) The project will result in the permanent preservation of approximately 2,392 acres of
       suitable TCB roosting and forging habitat in the TCB consultation area.
    3) The State permit, if issued, will include conditions to implement a bat roost survey prior
       to tree removal, reducing the likelihood that individual bats that use the roost will be
       injured or killed.



                                                  23
Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 488 of 585




   4) The TCB is expected to be able to forage over the development area following
      construction completion.

The Service may confirm this Technical Assistance if the TCB is listed in Florida. If the Service
reviews the proposed action and finds there have been no significant changes in the action as
planned or in the information used during the Technical Assistance, the Service will confirm that
this Technical Assistance remains valid and no further review will be necessary.




                                               24
  Case 1:21-cv-00119-RDM            Document 149-2             Filed 01/12/24               Page 489 of 585




D.     APPROVAL


Based on the information provided in this form, it has been determined that

©Upon FDEP's incorporation of the necessary avoidance and minimization measures as permit
  conditions, the USFWS concludes the issuance of the State 404 permit is not likely to
  jeopardize any federally listed species or adversely modify or destroy any critical habitat and
  complies with the USFWS programmatic biological opinion addressing Florida's assumption
  of the CWA 404 program. This is based on the information in the permit application, as well
  as the status of the affected species, and any cumulative effects within the permit
  applications' action area.

CIThe USFWS concludes the issuance of the State 404 permit does not comply with the USFWS
   programmatic biological opinion addressing Florida's assumption of the CWA 404 program
   for the following reasons:

Reviewing Biologist
 Adam Knutson/ Fish and Wildlife
                                                                           Digitally signed by ADAM
 Biologist
                                     ADAM KNUTSON                          KNUTSON
                                                                           Date: 2023.10.31 12:48:52 -04'00'

 Name/Title                           Signature                                                     Date


Supervisor


 Name/Title                           Signature                                                     Date


If project results in take:
USFWS Regulatory Division Manager or Project Leader
                                                               Digitally signed by ROBERT
                                        ROBERT CAREY CAREY
                                                     Date: 2023.10.31 14:11:55 -04'00'

 Name/Title                            Signature                                                    Date




                                                 25
Case 1:21-cv-00119-RDM            Document 149-2          Filed 01/12/24      Page 490 of 585




LITERATURE CITED

Belwood, J.J. 1981. Wagner's mastiff bat, Eumops glaucinusfloridanus (Molossidae) in
      southwestern Florida. Journal of Mammalogy 62(2):411-413.

Belwood, J.J. 1992. Florida mastiff bat Eumops glaucinusfloridanus. Pages 216-223 in S.R.
      Humphrey (ed.), Rare and Endangered Biota of Florida. Vol. I. Mammals. University
      Press of Florida. Gainesville, Florida.

Benson, J. F., J. A. Hostetler, D. P. Onorato, W. E. Johnson, M. E. Roelke, S. J. O'Brien, D.
      Jansen, and M. K. Oh. 2011. Intentional genetic introgression influences survival of
      adults and subadults in a small, inbred felid population. Journal of Animal Ecology
      80:958-967.

Comiskey, E.J., O.L. Bass, Jr., L.J. Gross, R.T. McBride, and R. Salinas. 2002. Panthers
      and forests in south Florida: an ecological perspective. Conservation Ecology 6:18.
      Forman, R.T.T., D. Sperling, J.A. Bissonette, A.P. Clevenger, C.D. Cutshall, V.H. Dale,
      L. Fahrig, R. France, C.R. Goldman, K. Heanue, J.A. Jones, F.J. Swanson, T. Turrentine,
      and T.C. Winter. 2003. Road Ecology: Science and Solutions, Island Press, Washington,
      D.C.

Eger, J.L. 1999. Wagner's mastiff bat, Eumops glaucinus. Pp. 132-133 in The Smithsonian
        book on North American Mammals (D.E. Wilson and S. Ruff, eds.). Smithsonian
        Institution Press. Washington, D.C.

Florida Fish and Wildlife Conservation Commission (FWC). 2019. Annual report on the research
       and management of Florida panthers: 2018-2019. Fish and Wildlife Research Institute
       and Division of Habitat and Species Conservation, Naples, Florida.

Florida Fish and Wildlife Conservation Commission (FWC). 2023. Panther Pulse. Tallahassee,
       Florida. Available from: https://myfwc.com/wildlifehabitats/wildlife/panther/pulse/.
       Accessed February 22, 2023.

Florida Fish and Wildlife Conservation Commission and U.S. Fish and Wildlife Service (FWC,
       and USFWS). 2017. Determining the size of the Florida panther population. Outreach
       Document.

Lotz, M., D. Land, M. Cunningham, and B. Ferree. 2005. Florida panther annual report
       2004-05. Florida Fish and Wildlife Conservation Commission, Tallahassee,
       Florida.

Maehr, D.S., E.D. Land, D.B. Shindle, O.L. Bass, and T.S. Hector. 2002. Florida panther
       dispersal and conservation. Biological Conservation 106:187-197.

Marks, G.E. and C.S. Marks. 2012. Status of the Florida bonneted bat (Eumopsfloridanus).
       Submitted by George E. Marks and Cynthia S. Marks of the Florida Bat Conservancy for
       the U.S. Fish and Wildlife Service under grant agreement number 40181AG121. May 4,

                                                26
  Case 1:21-cv-00119-RDM           Document 149-2         Filed 01/12/24      Page 491 of 585




       2012. Florida Bat Conservancy. Bay Pines, Florida.

McClintock, B.T., D.P. Onorato, and J. Martin. 2015. Endangered Florida panther population
      size determined from public reports of motor vehicle collision mortalities. Journal of
      Applied Ecology 52:893-901.

Morrison, J.L. 2001. Recommended management practices and survey protocols for Audubon's
       crested caracaras (Caracara cheriway audubonii) in Florida. Technical Report Number
       18. Florida Fish and Wildlife Conservation Commission; Tallahassee, Florida.

Onorato, D. P., M. Criffield, M. Lotz, M. W. Cunningham, R. McBride, E. H. Leone, O. L. Bass,
      and E. C. Hellgren. 2011. Habitat selection by critically endangered Florida panthers
      across the diel period: implications for land management and conservation. Animal
      Conservation 14:196-205.
Robson, M.S., F.J. Mazzotti, and T. Parrott. 1989. Recent evidence of the mastiff bat in
      southern Florida. Florida Field Naturalist 17(4):81-82.

Samoray, S.T., S.N. Cotham, and M.W. Gumbert. 2019. Spring migration behavior of a
      Perimyotis subflavus (tri-colored bat) from Tennessee. Southeastern Naturalist 18(3):16-
      20.

Smith, L.M., J.A. Gore, T.J. Doonan, and C.J. Campbell. 2022. Tricolored bats at a southern
       range edge exhibit partial migration northward in autumn. Movement Ecology 10 (56).

U. S. Fish and Wildlife Service (Service). 2012. Panther Habitat Assessment Methodology.
        https://ipac.ecosphere.fws.gov/guideline/assessment/population/8/office/41420.pdf


U.S. Fish and Wildlife Service (Service). 2013. Standard Protection Measures for the Eastern
       Indigo Snake. South Florida Ecological Services Office; Vero Beach, Florida.
U.S. Fish and Wildlife Service (Service). 2019. Consultation Key for the Florida bonneted bat.
       South Florida Ecological Services Office; Vero Beach, Florida.

U.S. Fish and Wildlife Service (Service). 2021. Species Status Assessment Report for the
       Tricolored Bat (Perimyotis subflavus), Version 1.1. December 2021. Hadley, MA.

U.S. Geological Survey (USGS). 2023. North American Bat Monitoring Program (NABat).
       Reston, Virginia. Available from: https://sciencebase.usgs.gov/nabat/#/data/inventory.
       Accessed March 2, 2023.




                                               27
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 492 of 585




                          Enclosure A
   Case 1:21-cv-00119-RDM                 Document 149-2            Filed 01/12/24          Page 493 of 585




 Special Conditions:

General Planning Tenets: As a condition of this permit, and for purposes of compliance with the
Endangered Species Act and completion of technical assistance between the U.S. Fish and Wildlife Service
(USFWS) and the Florida Department of Environmental Protection (FDEP), the Permittee has agreed to and
will implement the following planning tenets that reflect the Eastern Collier Multiple Species Habitat
Conservation Plan (HCP) prepared and submitted by the Permittee and other landowners, with support from
four leading conservation organizations, for Eastern Collier County in connection with applications
submitted to USFWS for incidental take permits (ITPs) pursuant to Section 10 of the Endangered Species
Act (the ITP applications were withdrawn on July 28, 2022, but the applicant has committed to work with
the other landowners and conservation organizations to voluntarily implement the HCP).

             a. Location of Project Footprint and Preserved Lands. The project will be developed
                and project impacts will be offset consistent with the above-referenced landscape-level
                planning tenets. Specifically, all areas that will be directly impacted by project
                development (e.g., wetland fill or species impacts) will be located within areas identified
                as "Covered Activities," and all areas to be preserved as mitigation for those impacts will
                be located within the areas identified for "Preservation/and Plan Wide Activities" as
                depicted in Exhibit [ ] attached.

             b. Permanent Protection of Preserved Lands. As required by FDEP condition [ ],
                permanent conservation easements will be placed on preservation lands before project
                construction begins, so that mitigation is achieved prior to project impacts. These
                conservation easements will run with the land and will be held by FDEP or another a
                State of Florida agency.

             c. Marinelli Fund Contributions. The project will be conducted in manner consistent
                with the Permittee's description of the project in the application and in materials
                associated with its application. As part of the proposed project, the Permittee has
                committed to make contributions to the Paul J. Marinelli Fund to be used to initiate and
                support conservation activities selected by the Fund's Board of Directors, which will be
                made up of Eastern Collier Property Owners (ECPO) landowners, a representative of
                the landowner's four conservation partners, and an at-large member who will serve at
                the invitation of the other six members of the Board. Conservation activities to be
                supported through expenditures from the Fund include such activities as construction of
                wildlife crossings and fencing, habitat acquisition and restoration, corridor
                enhancement, public education and outreach focused on the importance of wildlife
                conservation, and scientific research relevant to species conservation. Contributions to
                the Fund will be made as follows.

                        i.   The Permittee will deposit $350 per acre of land within the development
                             footprint of the project no later than 90 days after the closing of the first
                             dwelling unit sold within the project.

                       ii.   The Permittee will establish transfer fee provisions in the deed for each
                             residential unit constructed and sold within the project that specify that $200
                             will be deposited to the Fund each time the unit is sold (including the initial
                             sale and each re-sale).

             d. Best Management Practices. The Permittee has committed to the following
                conservation measures and best management practices (BMPs).


                                                        1
Case 1:21-cv-00119-RDM             Document 149-2            Filed 01/12/24        Page 494 of 585




                   i.   Prescribed Fire and Smoke Notice: The Permittee will provide notice of the use
                        of prescribed fire in the Bellmar area. This notice will be provided and recorded
                        in a manner such that initial and subsequent residents and owners will be
                        made aware of the use of prescribed fire in the vicinity of the Bellmar area to
                        manage wildland fuels and maintain fire-adapted ecological communities
                        within preserve areas. The following notice concerning the use of prescribed
                        fire will be provided:

                        "Periodic prescribed burning is a recognized land management tool and a
                        recommended method offuel management in Southwest Florida, including in
                        the vicinity of the Bellmar area, for minimizing wildfire hazards and
                        maintaining healthyfire-adapted ecological communities. Homeowners
                        acknowledge that they have received notice that prescribed burning may result
                        in the periodic occurrence of temporary smoke and ash that drifts through
                        developed areas."

                  ii.   Environmental Education and BMPs for Living with Wildlife: The materials
                        outlined in Special Condition 2.e. below will be included with the
                        Homeowners' Association (HOA) documents for the Bellmar community at
                        the time of HOA incorporation. Decisions regarding which educational
                        materials and BMPs will be implemented within each community are left to
                        the HOA and community residents, but the materials will be transferred to the
                        developer and HOA.

                 iii.   Securing and Vaccinating Pets: HOA and/or homeowners' documents for the
                        Bellmar community will state that pets within the community should be kept
                        indoors, on leash when outdoors, or secured within a secure covered kennel.
                        Residents will be informed that vaccinating cats for feline leukemia virus
                        (FLV) can prevent disease transmission from house cats to Florida panthers. As
                        there is no defmitive cure for FLV, community-wide vaccination of all pet cats
                        protects homeowners' pets from illness, as well as preventing illness in Florida
                        panthers.

  2. Additional Best Management Practices; The Permittee will work with developers and HOAs
     to promote additional BMPs that will be implemented within the project area, where appropriate,
     to minimize potential wildlife impacts and/or provide wildlife conservation benefits. BMPs that
     will be implemented at the project are described below.

          a. Community Environmental Education: http://www.buildgreen.ufl.edu/enveducation.htm
             — This University of Florida program promotes residential environmental education that
              engages homeowners in understanding and implementing natural resource conservation
             strategies. Research has demonstrated that engaging residents improves environmental
             attitudes, knowledge, and behaviors (Hostetler et al. 2008).

          b. Environmental Covenants, Codes, and Restrictions for HOAs:
             http://edis.ifas.ufl.edu/pdffiles/UW/UW24800.pdf — This publication provides sample
             language for the development of HOA covenants, codes, and restrictions that relate to
             wildlife within residential development communities and environmental management in
             general (Hoestetler 2006).

          c. Landscaping: http://www.floridayards.org/ — "Florida-Friendly Landscaping" promotes
             the use of native plants, efficient watering and fertilizing, xeriscaping, integrated pest

                                                   2
Case 1:21-cv-00119-RDM           Document 149-2             Filed 01/12/24         Page 495 of 585




         management, and similar strategies to attract birds, butterflies, and beneficial insects to
         residential yards.

      d. Community Lighting and "Dark Skies": The mission of the International Dark-Sky

         Association "is to preserve and protect the nighttime environment and our heritage of
         dark skies through environmentally responsible outdoor lighting." Light pollution (the
         inappropriate use of light at night) can affect wildlife and ecosystems, human health,
         energy consumption, and the aesthetics of viewing the night sky. The Association notes
         that, "A dark sky does not necessarily mean a dark ground. Smart lighting that directs
         light where it is needed creates a balance between safety and starlight." The International
         Dark-Sky Association webpage (http://www.darksky.org!) provides links to numerous
         resources for planning and implementing appropriate outdoor lighting within
         residential/commercial developments. These resources include the use of five outdoor
         lighting zones within communities (http://www.darksky.org/lighting/model-lighting-
         laws-policy/recommended-lighting-zones/), outdoor lighting basics
         (http://www.darksky.org/lighting/lighting-basics/), and practical guidelines for energy-
         efficient LED lighting (http://www.darksky.org/lighting/led-guide/). Implementation of
         "dark skies" practices can reduce disturbances to wildlife within and adjacent to
         development areas. The Florida Wildlife Commission (FWC) maintains a "Wildlife
         Lighting" webpage that provides basic information and links to outdoor lighting resources
         (http://myfwc.com/conservation/you-conserve/lighting/).

      e. Living With Wildlife: The Permittee will employ and promote a series of community
         design elements that advance wildlife conservation and minimize the potential for
         human-wildlife interactions within development areas, especially for large mammals
         (e.g., Florida panther; bear; deer; feral hogs), nocturnal species (e.g., Florida bonneted
         bat), and species that may pose human health risks (e.g., Eastern diamondback
         rattlesnake). FWC has published educational brochures for HOAs and residents living in
         proximity to Florida wildlife species such as the Florida panther, black bear, and various
         bats, birds, and reptiles (http://myfwc.com/conservation/you-conserve/wildlife/). Links
         for these wildlife brochures and/or webpages are as follows:

               i. A Guide to Living with Florida Panthers
                  (hftp://myfwc.com/media/152454/LivingWithPanthers.pdf)
              ii. Florida Panther Safety Tips
                  (http://myfwc.com/media/152457/PantherSafetyTipsFlyer.pdf)

             iii. Florida's BearWise (http://myfwc.com/wildlifehabitats/managed/bear/wise/ and
                  bearwise.org)

             iv. A Guide to Living in Bear Country
                 (http://myfwc.com/media/1333887/LivinginBearCountryBrochure.pdf)

              v. Living with Bats (http://myfwc.com/media/3031963/LivingWithBats.pd.f)

              vi. Sandhill Cranes (http://mvfwc.com/conservation/you-conserve/wildlife/sandhill-
                  cranes!)

             vii. Everglade Snail Kite (http://myfwc.com/media/152978/kitesbrochure.pdf)

            viii. A Guide to Living with Alligators (http://myfwc.com/media/152524/Alligator-
                  Brochure.pdf)
                                             3
Case 1:21-cv-00119-RDM             Document 149-2           Filed 01/12/24         Page 496 of 585




                ix. Getting Along with Snakes (https://vvww.floridamuseum.ufl.edu/herpetology/fl-
                    snakes/gettingalong/)

                 x. A Guide to Living with Gopher Tortoises
                    (http://myfwc.com/media/1329739/GopherTortoise LivingWithBrochure.pdf)

                xi. A Guide to Living with Urban Coyotes
                    (http://myfwc.com/media/2675483/Living-With-Urban-Coyotes.pdf)

               xii. Plants for Birds. The National Audubon Society provides an online database for
                    selecting native plant species (by zip code) that support bird species
                    (http://www.audubon.org/plantsforbirds).

  3. Management Plans for Specific Species: The Permittee will implement the following
     protection guidelines during and after project construction.

         a. American Alligator

                  i.   Signs will be posted to instruct on-site workers and community residents not to
                       feed or harass the American alligator, and will indicate that to do so is
                       punishable by law.

                 ii.   Construction personnel and residents will be instructed that in the event there is
                       a problem with a persistent nuisance alligator, they will need to contact FWC,
                       as that is the only agency empowered to handle nuisance alligators.

                iii.   American alligator habitat will be provided within the conservation areas
                       associated with the project. Following the completion of the mitigation
                       program, these conservation areas will serve as potential foraging and nesting
                       habitat. Invasive exotic species removal will result in wetland preserves that
                       are more suitable as habitat and provide suitable habitat for American alligator
                       prey species. The conservation areas will be maintained per the FDEP's State
                       404 Wetland Mitigation/Monitoring/ Maintenance Plan.

         b. Eastern Indigo Snake

                  i.   The permittee shall implement the U.S. Fish and Wildlife Service's Standard
                       Protection Measuresfor the Eastern Indigo Snake (SPM; Service March 23,
                       2021) during construction of the Project and restoration of the conservation
                       area.

                 ii.   Informational brochures addressing identification and conservation of Eastern
                       indigo snake will be provided to all construction staff.

                iii.   The conservation areas associated with the project will be maintained per the
                       FDEP's State 404 Wetland Mitigation/Monitoring/Maintenance Plan and will
                       provide habitat for the Eastern indigo snake.

         c. Bald Eagle: Proposed construction activities within 660 feet of an active bald eagle nest
            will follow the applicable protection guidelines as described in FWC's Bald Eagle
            Management Plan Handbook (FWC 2010) and the USFWS National Bald Eagle
            Management Guidelines (USFWS 2007).

         d. Crested Caracara

                                                  4
Case 1:21-cv-00119-RDM          Document 149-2            Filed 01/12/24         Page 497 of 585




             i.    Prior to conducting any clearing activities within 1,500 meters (4,920 feet) of
                   any previously documented or newly discovered crested caracara nest site, the
                   permittee shall conduct a survey during the crested caracara nesting season
                   (January 1 through April 30) to determine if the documented or discovered nest
                   is active, and if other crested caracara nests are present. The survey area shall
                   include potential nesting and foraging habitat within 4,920 feet (1,500 meters)
                   of the identified caracara nest, including potential habitat located in land
                   adjacent to the project site that is under the permittee's ownership or
                   neighboring areas where access is allowed.

            ii.    To minimize the potential for disturbance to nesting crested caracaras, the
                   permittee shall conduct land clearing activities outside the nesting season for
                   areas that occur within the primary zone, 984 feet (300 meters), of any
                   documented crested caracara nest site. Should it be necessary to conduct land
                   clearing activities during the nesting season, land clearing within 984 feet (300
                   meters) of any nest identified during the survey referenced above will not occur
                   until monitoring has determined the nest has either been abandoned, or chicks
                   within the nest have fledged and left the nest site. Once the nest is empty,
                   clearing of that primary zone and nest tree can proceed, in concert with
                   condition iii.

            iii.   If construction activities are to occur within 984 feet (300 meters) of an active
                   nest identified in the most recent nesting season, the permittee shall conduct
                   restoration of caracara nesting and foraging habitat on a scale equal to the
                   portion of the breeding territory that is impacted by construction activities.
                   Restoration activities will be conducted by restoring native dry or wet prairie
                   with scattered cabbage palms or creating improved pasture and planting
                   scattered cabbage palms. Restoration activities will occur on existing
                   agricultural lands located within the Project site or on agricultural lands
                   adjacent to the project site that is under the permittee's ownership. The
                   permittee shall contact the U.S Fish and Wildlife Service's Florida Ecological
                   Services Office (FESO) at (772) 562-3909 for technical assistance and will
                   notify the Florida Fish and Wildlife Conservation Commission (FWC) at
                   ConservationPlanningServices@MyFWC.com prior to start ofthe construction
                   activities and shall provide the location and extent of proposed restoration
                   activities. Once restoration activities have been completed, the restored habitat
                   will be maintained in perpetuity and managed in a state that supports use by
                   crested caracara. The permittee shall report the final location and extent of
                   restored habitat to the FESO, the Florida Department of Environmental
                   Protection (Department), and the FWC upon completion of restoration
                   activities.

      e. Wood Stork and Other Wading Birds

              i.   Enhancement and restoration activities will be conducted within existing
                   wetlands located within the conservation areas associated with the project.
                   These activities will include the removal of invasive exotic plants and the
                   installation of supplemental plantings, and will result in habitats that are more
                   suitable for wading bird foraging and roosting.

             ii.   The creation of lakes and lake littoral zones as part of the project will provide
                   foraging habitat for wading birds.

                                              5
Case 1:21-cv-00119-RDM           Document 149-2             Filed 01/12/24         Page 498 of 585




               iii.   Plans for the project include wetland restoration and wetland creation. These
                      activities will convert agricultural and exotic plant infested habitats to native
                      wetland habitats. This restoration will also enhance sheet flow through Camp
                      Keais Strand and restore significant areas of habitat for wildlife, including
                      wading birds such as the wood stork.

               iv.    The grading plan for the wetland restoration areas includes the establishment of
                      wading bird foraging habitat by grading to varying depths to allow the
                      concentration of prey for wading birds at alternating times of the year as water
                      levels seasonally rise and recede.

                v.    Bellmar residents and maintenance staff will be provided with a brochure titled
                      "Wading Bird Informational Pamphlet," prepared by Passarella and Associates,
                      Inc. This brochure provides wading bird information and methods to prevent
                      human-wading bird interactions. In addition, the brochure informs residents of
                      the need to avoid disturbance around nesting colonies should a colony be
                      identified on the property in the future.

       f.   Florida Bonneted Bat and Tricolored Bat

                 i.   The permittee shall conduct a cavity tree and roost survey on the Project site
                      within 30 days prior to the removal of trees, snags, or structures. When
                      possible, trees, snags, and structures will be removed outside the breeding
                      season (January 1 through April 15 for Florida bonneted bat, May through July
                      for tricolored bat). If evidence of use by either Florida bonneted bats or
                      tricolored bats is observed, the tree removal will be discontinued, and the
                      permittee shall contact the FESO at (772) 562-3909 for technical assistance and
                      will notify the FWC at ConservationPlanningServicesAMyFWC.com.

                ii.   The permittee shall maintain a 250-foot buffer around known or suspected
                      Florida bonneted bat or tricolored bat roosts when using heavy equipment so
                      that disturbance to roosting bats is minimized.

               iii.   The permittee shall implement creation of the Project's proposed buffer lake
                      system and shall implement the preservation and enhancement of 2,100.17±
                      acres of on-site wetlands which will promote Florida bonneted bat and
                      tricolored bat foraging opportunities.

               iv.    The permittee shall enhance riparian habitat by planting native vegetation
                      along the lake shorelines (i.e., littoral zone plantings).

                v.    Widespread application of insecticides by the permittee shall be avoided in
                      areas where Florida bonneted bats or tricolored bats are known or expected to
                      forage or roost.

               vi.    The permittee shall implement planting of native trees and shrubs within open
                      space and buffer areas to promote insect diversity, availability, and abundance.

              vii.    The permittee shall retain mature trees and snags within the proposed
                      Conservation Areas that could provide roosting habitat for Florida bonneted
                      bat.



                                                 6
Case 1:21-cv-00119-RDM           Document 149-2            Filed 01/12/24         Page 499 of 585




           viii.    The permittee shall implement International Dark-Sky Association lighting
                    initiatives to minimize use of artificial lighting and retain natural light
                    conditions to the greatest extent practicable.

             ix.    The permittee will implement prescribed fire as a management tool within
                    Conservation Areas to promote foraging habitat for Florida bonneted bat and
                    tricolored bat.

      g. Big Cypress Fox Squirrel
              i.    Prior to commencement of clearing activities during project construction, a
                    survey will be conducted in forested areas to be cleared to identify potential
                    Big Cypress fox squirrel nests. If potential nests are identified within the
                    clearing limits, observations will be conducted to determine if the nests are
                    being utilized by Big Cypress fox squirrels. No clearing will be conducted
                    within 125 feet of an active Big Cypress fox squirrel nest tree. The nest tree
                    and buffer may be cleared only after completion of nesting and confirmation
                    that any juvenile squirrels have left the nest.

             ii.    The conservation areas associated with the project will be enhanced and
                    managed per the FDEP's State 404 Wetland
                    Mitigation/Monitoring/Maintenance Plan and will provide foraging and nesting
                    habitats for Big Cypress fox squirrels.

      h. Florida Black Bear

              i.    In order to deter the potential for interactions between humans and large
                    mammals such as the Florida black bear, a lake buffer will be constructed
                    between the conservation areas and development areas associated with the
                    project. Where construction of a lake buffer is not feasible, fencing will be used
                    between development and conservation areas.

              ii.   The Permittee will confer with FWC regarding management initiatives such as
                    the use of bear-resistant dumpsters and garbage receptacles for residential
                    areas. These management initiatives will include the following.

                      1. Residents of units that have curbside garbage service will be required to
                         place garbage containers curbside no earlier than the morning of the days
                         of garbage pickup, and garbage containers will be returned to their
                         permitted location no later than the evening of the days of garbage
                         pickup. All garbage, trash, refuse, or rubbish will be required to be
                         placed in appropriate garbage containers or stored inside an enclosed
                         area except for the days when there is curbside garbage pickup service.
                         Areas adjacent to any passive recreation facilities will also have routine
                         garbage pickup service.

                      2. Residents of units without curbside garbage service will be required to
                         place all garbage, trash, refuse, or rubbish in bear-resistant dumpsters
                         with the lid closed and secured.

             iii.   Bellmar residents, community association managers, and maintenance staff
                    will be provided with an educational brochure preparded by FWC, titled "A


                                               7
Case 1:21-cv-00119-RDM           Document 149-2            Filed 01/12/24          Page 500 of 585




                      guide to living in bear country," available at
                      https://myfwc.com/media/ 1891/livinginbearcountrybrochure.pdf.

       i.   Florida Panther

                i.    The project will be conducted in consistent with the Permittee's description of
                      the project in materials associated with its application. As part of the proposed
                      project, the Permittee has committed to make contributions to the Paul J.
                      Marinelli Fund as follows:

                        1. The Permittee will deposit $350 per acre of land within the development
                           footprint of the project no later than 90 days after the closing of the first
                           dwelling unit sold within the project. Upon deposit of the funds, the
                           permittee shall provide correspondence from the Fund to the FESO by e-
                           mail (Florida 404@fws.gov), the Department, and FWC
                           (ConservationPlanningServices@WWC.com) confirming that the
                           contribution has been provided.

                        2. The permittee will establish transfer fee provisions in the deed for each
                           residential unit constructed and sold within the project that specify that
                           $200 will be deposited to the Fund each time the unit is sold (including
                           the initial sale and each re-sale). The permittee shall provide an annual
                           report confirming the sale and contribution to the Fund to the FESO by
                           e-mail (Florida 404@fws.gov), the Department, and FWC
                           (ConservationPlanningServices@MyFWC.com).

                ii.   The permittee will, at its sole cost and expense, construct or fund the
                      construction of five wildlife crossings within the geographic region where this
                      and proposed Rural Lands West project is located, including one just north of
                      the Project site on Oil Well Road, approximately 1.44 miles east of Desoto
                      Boulevard. These wildlife crossings will be constructed to fulfill the state and
                      federal permitting requirements for Rural Lands West and Bellmar,
                      collectively. The wildlife crossings shall be constructed to provide and
                      preserve a wildlife movement corridor and the locations shall be constructed in
                      the locations shown in Figure 1. The permittee shall contact the FESO at (772)
                      562-3909 for technical assistance and          will notify the FWC at
                      ConservationPlanningServices@MyFWC.com prior to start ofthe construction
                      activities of the crossings and shall provide the location and plans of the
                      proposed wildlife crossings for review. The permittee shall report the final
                      location and as-built plans of wildlife crossings to the FESO       , the
                      Department, and the FWC upon completion of construction.

               iii.   The permittee shall ensure that HOA and/or homeowners' documents for the
                      Bellmar community states that pets within the community should be kept
                      indoors, on leash when outdoors, or secured within a secure covered kennel.
                      Residents shall be informed that vaccinating cats for feline leukemia virus
                      (FLV) can prevent disease transmission from house cats to Florida panthers.
                      The permittee shall ensure that the HOA and/or homeowners' documents
                      inform residents of the importance of community-wide vaccination of all pet
                      cats for FLV since it protects homeowners' pets from illness, as there is no
                      definitive cure, and assists in preventing illness in Florida panthers.

                iv.   In order to deter the potential for interactions between humans and large
                                                 8
Case 1:21-cv-00119-RDM           Document 149-2            Filed 01/12/24         Page 501 of 585



                    mammals such as the Florida panther, a lake buffer will be constructed between
                    the conservation areas and development areas. Where a lake buffer is not
                    feasible, fencing will be used between development and conservation
                    areas.Bellmar residents, community association managers, and maintenance
                    staff will be provided with an educational brochure preparded by USFWS and
                    FWC, titled "A guide to living with Florida Panthers." This brochure, which
                    provides safety tips and instructions for panther encounters, is available at
                    https://myfivc.com/media/3112/livingwithpanthers.pdf.

          Gopher Tortoise: Prior to commencing project construction, a gopher tortoise survey will
          be conducted in accordance with FWC's gopher tortoise permitting guidelines (FWC
          2020) to identify potential gopher tortoise burrows within the construction area. If gopher
          tortoise burrows are identified, the Permittee will obtain the appropriate permit from the
          FWC for the relocation of the gopher tortoises.

      k. Everglade Snail Kite: Impacts to potential Everglade snail kite foraging habitat will be
         offset through the implementation of the on-site wetland mitigation and the creation of
         the project's lake buffer and stormwater management ponds, with associated littoral
         zones and native plantings. These activities will result in an increase in potential foraging
         habitat for the Everglade snail kite within the landscape and therefore is expected to have
         an incremental beneficial effect to the Everglade snail kite.




                                                9
Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24         Page 502 of 585




Additional Commitments:

   1. Open Space Buffers: The Bellmar community will comply with Policy 4.13 of the Collier
      County Future Land Use Element for the County's Rural Lands Stewardship Program (RLSP),
      which states as follows:

      "Open space within or contiguous to a [stewardship receiving area (SRA)] shall be used to
      provide a buffer between the SRA and any adjoining [flowway stewardship area (FSA)], [habitat
      stewardship area (HSA)], or existing public or private conservation land delineated on the
      Overlay Map. Open space contiguous to or within 300feet of the boundary of a FSA, HSA, or
      existing public or private conservation land may include: natural preserves, lakes, golf courses
      provided no fairways or other turf areas are allowed within the first 200feet, passive
      recreational areas and parks, required yard and set-back areas, and other natural or manmade
      open space. Along the west boundary of the FSAs and HSAs that comprise Camp Keais Strand,
      i.e., the area south oflmmokalee Road, this open space buffer shall be 500feet wide and shall
      preclude golf coursefairways and other turf areas within the first 300 feet."

   2. Construction of Wildlife Crossings: In addition to any wildlife crossings to be to be
      constructed through expenditures from the Paul J. Marinelli Fund at the discretion of the Fund's
      Board of Directors, the Permittee will, at its sole cost and expense, construct five wildlife
      crossings within the geographic region where the project is located. The crossings will be
      constructed in order to preserve a wildlife movement corridor located within the project, at the
      locations depicted in Exhibit [

   3. Management Plans for Specific Species: The Permittee will implement the following
      protection guidelines during and after project construction.

           a. Habitats within Shaggy Cypress Swamp and Camp Keais Strand that are part of the
              conservation areas associated with the project will be managed for the Florida black bear,
              Florida panther, and other species through the enhancement, restoration, and preservation
              of uplands and wetlands to provide quality habitat and wildlife corridors. Enhancement
              activities will provide higher quality habitat for these species than exist in the currently
              degraded condition. The preservation of Shaggy Cypress Swamp and the portion of
              Camp Keais Strand located within the project boundary are part of the larger regional
              wildlife habitat preservation plan proposed through the establishment of SSAs 14, 15, 17
              and 18 under the Collier County RLSP.




                                                    1
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 503 of 585




                  Attachment G
 Case 1:21-cv-00119-RDM                     Document 149-2                Filed 01/12/24            Page 504 of 585


From:               Sempsrott, Michelle
To:                 SD-ERPcomments
Cc:                 Guinn, Jonathan; US Fish & Wildlife Service,; Cucinella, Josh; DiGruttolo, Laura; Irving, Robert
Subject:            RE: State 404 Permit App No. 423130-001 SFI Individual / Associated ERP Permit App No. 220623-34938 / Lee
                    County
Date:               Friday, July 22, 2022 4:05:26 PM



                                  EXTERNAL MESSAGE
This email originated outside of DEP. Please use caution when opening attachments, clicking
                              links, or responding to this email.
      Dear Jonathan,

           Florida Fish and Wildlife Conservation Commission (FWC) staff reviewed the
           Kingston (aka Joseph Cameratta, Cameratta Companies) State 404 Program
           Application (No. 423130-001) for the proposed filling of state-assumed waters for a
           multi-use development in Lee County.

           Based on a review of the available application materials, the information required to
           assess potential impacts to federally and state-listed species is incomplete. In order for
           the application to be considered administratively complete, the following information
           is needed. Please direct any questions regarding this information by phone or e-mail to
           the FWC point of contact shown below.

                  1.      The Biological Assessment provided with the application materials
                         indicates that the applicant is in the process of coordinating a Florida
                         bonneted bat (Eumops floridanus) acoustic survey for the project. Please
                         provide a copy of the results of the survey and survey report upon
                         completion as well as a preliminary determination of effects for this species
                         [State 404 Program Handbook 8.2(f), Application Form Section I (6)].
                  2.      The project site is located within the U.S. Fish and Wildlife Service
                         (USFWS) Consultation Area for the Florida grasshopper sparrow
                         (Ammodramus savannarum floridanus). Please provide a preliminary
                         determination of effects for this species [State 404 Program Handbook
                         8.2(f), Application Form Section I (6)].

           Please include the following in any RAI correspondence being sent to the applicant
           and copy FWC (ConservationPlanningServices@MyFWC.com) and the assigned FWC
           and USFWS reviewers on all official responses related to the application (e.g., RAI
           response, withdrawals, permit redesignation).

              ·         “Note: The Department shall submit any changes to the scope or changes in
                      the project design to FWC upon receipt for review and comment prior to the
                      file being deemed administratively complete.”


Michelle Sempsrott
Florida Fish and Wildlife Conservation Commission
Office of Conservation Planning Services
(407) 572-9122
 Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24       Page 505 of 585


From: SD-ERPcomments <SD-ERPcomments@dep.state.fl.us>
Sent: Thursday, July 7, 2022 8:29 AM
To: CompliancePermits@dos.myflorida.com; Conservation Planning Services
<conservationplanningservices@MyFWC.com>; Florida_404@fws.gov
Cc: Guinn, Jonathan <Jonathan.Guinn@FloridaDEP.gov>
Subject: State 404 Permit App No. 423130-001 SFI Individual / Associated ERP Permit App No.
220623-34938 / Lee County

[EXTERNAL SENDER] Use Caution opening links or attachments
The attached State 404 Program application was submitted to the Submerged Lands and
Environmental Resources Program. We are currently processing the request as required by Chapters
253, 258, and 373, F.S. This application is being submitted for your review and comment.

Applicant: Joseph Cameratta , Cameratta Companies

Project Name: Kingston

Permit Application Link: https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
documents/ST404_423130/gis-facility!search

Location Map Link (Clearly Depicting Project Boundaries): Attached

Project Location (such as GPS Coordinates, Township Rage Section (TRS), Street address, parcel ID,
etc): Corkscrew Rd , Estero FL , 33913; Parcel ID: 35-45-27-00000.1090 35-45-27-00000.0P30 15-46-
27-00000.1820 10-46-27-00000.1620 10-46-27-00000.1660 10-46-27-00000.1650 15-46-27-
00000.1680 10-46-27-00000.1630 15-46-27-00000.0P20 15-46-27-00000.1720 15-46-27-
00000.1740 14-46-27-00000.1670 35-45-27-00000.0000 35-45-27-00000.1010 03-46-27-
00000.1040 35-45-27-00000.1030 36-46-27-00000.0010 35-45-27-00000.0P10 02-46-27-
00000.0R10 02-46-27-00000.1160 02-46-27-00000.1100 15-46-27-00000.1790 25-46-27-
00000.0010 25-46-27-00000.0000 25-46-27-00000.0020 15-46-27-00000.1690 26-46-27-
00000.0000 35-45-27-00000.1020 35-45-27-00000.1050 02-46-27-00000.1200 15-46-27-
00000.1660 11-46-27-00000.1610 10-46-27-00000.1640 15-46-27-00000.1750 02-46-27-
00000.1150 15-46-27-00000.1730 02-46-27-00000.1140 02-46-27-00000.1190 03-46-27-
00000.0P20 02-46-27-00000.1120 15-46-27-00000.1800 03-46-27-00000.0P30 02-46-27-
00000.0000 10-46-27-00000.1500 03-46-27-00000.1480 11-46-27-00000.1670 24-46-27-
00000.0000 02-46-27-00000.1350 11-46-27-00000.0000 10-46-27-00000.155A 11-46-27-
00000.1560 15-46-27-00000.0P10 10-46-27-00000.1610 03-46-27-00000.1440 02-46-27-
00000.1440 02-46-27-00000.1270 03-46-27-00000.1420 02-46-27-00000.1340 03-46-27-
00000.138E 02-46-27-00000.1260 03-46-27-00000.1380 02-46-27-00000.1210 03-46-27-
00000.1080 03-46-27-00000.1070 03-46-27-00000.141B 02-46-27-00000.1170 02-46-27-
00000.1310 03-46-27-00000.0000 02-46-27-00000.1300 03-46-27-00000.1430 02-46-27-
00000.0R20 02-46-27-00000.1230 15-46-27-00000.1780 03-46-27-00000.1370 11-46-27-
00000.1520 10-46-27-00000.1490 10-46-27-00000.162A 14-46-27-00000.0000 14-46-27-
00000.1660 14-46-27-00000.0010 15-46-27-00000.1700 11-46-27-00000.1580 11-46-27-
00000.1570 02-46-27-00000.1130 02-46-27-00000.1180 15-46-27-00000.1760 03-46-27-
 Case 1:21-cv-00119-RDM               Document 149-2           Filed 01/12/24        Page 506 of 585


00000.1390 03-46-27-00000.1400 11-46-27-00000.1510 02-46-27-00000.1450 02-46-27-
00000.1110 03-46-27-00000.138A 03-46-27-00000.1060 02-46-27-00000.1360 02-46-27-
00000.1280 03-46-27-00000.141A 10-46-27-00000.0000 02-46-27-00000.1480 10-46-27-
00000.1530 10-46-27-00000.1540 11-46-27-00000.0010 15-46-27-00000.0000 11-46-27-
00000.1590 11-46-27-00000.1600 15-46-27-00000.1770 15-46-27-00000.1710 34-46-27-
00000.0000 03-46-27-00000.0P10 35-45-27-00000.0P20 15-46-27-00000.0010 11-46-27-
00000.1660 03-46-27-00000.138B 02-46-27-00000.1290 02-46-27-00000.1320 10-46-27-
00000.1550 34-46-27-00000.0020 15-46-27-00000.1810 35-46-27-00000.0000 02-46-27-
00000.1250 02-46-27-00000.1220 02-46-27-00000.1240 02-46-27-00000.1330; Section Township
Range: 35 / 45S / 27E , 3 / 46S / 27E , 10 / 46S / 27E , 14 / 46S / 27E , 15 / 46S / 27E , 24 / 46S / 27E ,
25 / 46S / 27E , 2 / 46S / 27E , 11 / 46S / 27E , 23 / 46S / 27E , 26 / 46S / 27E , 34 / 46S / 27E , 35 /
46S / 27E , 36 / 46S / 27E

Project Description: This project proposes the construction of single-family development,
commercial development, and amenities.

Concurrent Review Information
Is the permit application being submitted for authorizations under both the State 404 program and
ERP Program? Yes

The ERP application also requires FWC and SHPO Review: Yes

DEP requires your response in order to issue a permit. If you do not have adequate information to
provide comments at this time, please return written questions and/or request for additional
information by the below due date. The requested information will be incorporated into the DEP
response to the applicant. If you have no questions at this time but require additional time to
prepare final comments, please let us know you intend to provide comments.

DEP received the application information on 06/28/2022. DEP must issue a response to the applicant
within 30 days of receipt. Return your comments at least two days before the 30-day deadline to
allow sufficient time for DEP to process the response.

Return your comments (referencing the applicants name and file number) to our office at the
following email address: SD-ERPcomments@floridadep.gov If you have questions, please call me at
239-344-5600. Thank you,
LS
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 507 of 585




                  Attachment H
              Case 1:21-cv-00119-RDM               Document 149-2         Filed 01/12/24       Page 508 of 585
                            November 6, 2023



                            Jonathan Guinn
                            Florida Department of Environmental Protection
                            South District Office
                            2295 Victoria Avenue
Florida Fish                Fort Myers, FL 33901
and Wildlife                Jonathan.Guinn@FloridaDEP.gov
Conservation
Commission                  Re:       Kingston, Florida Department of Environmental Protection, State 404 Permit Application
                                      (423130-001), Lee County
Commissioners
Rodney Barreto
Chairman                    Dear Mr. Guinn:
Coral Gables
                            Florida Fish and Wildlife Conservation Commission (FWC) staff reviewed the above-referenced
Steven Hudson
Vice Chairman               State 404 permit application and provides the following comments, recommendations, and permit
Fort Lauderdale             conditions pursuant to Chapter 62-331, Florida Administrative Code, Chapter 373, Florida
Preston Farrior
                            Statutes (FS), and in accordance with FWC’s authorities under Chapter 379, FS. These
Tampa                       comments have been coordinated with the U.S. Fish and Wildlife Service (USFWS) to ensure the
                            conservation of Florida’s federally and state-listed wildlife and their habitats.
Gary Lester
Oxford

Albert Maury
Coral Gables
                            Project Description

Gary Nicklaus               The applicant, CAM7-Sub, LLC, is proposing the construction of a mixed-use development on
Jupiter
                            6,676 acres. The proposed project is located south of State Road 82, west of Corkscrew Regional
Sonya Rood                  Ecosystem Watershed (CREW), north of Corkscrew Swamp Sanctuary, and east of Imperial
St. Augustine
                            Marsh Preserve in Lee County. The dominant land covers on the site include 4,221 acres of
                            citrus grove, 627 acres of cypress, 588 acres of sod farm, 276 acres of drainage canals, 194 acres
Office of the               of freshwater marsh, 159 acres of berms, 110 acres of cypress/pine/cabbage palm wetland, 106
Executive Director          acres of disturbed lands, 99 acres of melaleuca dominated wetlands, and 48 acres of reservoirs.
Roger A. Young
Executive Director
                              The applicant proposes to impact 12.87 acres of wetlands and 133 acres of other surface waters
Jessica Crawford              and offers to preserve and enhance 1,173.58 acres of wetlands, and 173.74 acres of surface waters
Chief of Staff
                              as compensatory mitigation. In addition, 1,926.30 acres of uplands and agricultural fields will be
850-487-3796                  restored to native wetland and upland habitat types. The proposed preservation and enhancement
850-921-5786 FAX
                              areas will be placed under a conservation easement and are expected to provide regional flow-
Managing fish and wildlife    ways, wildlife corridors, and habitat to complement the adjacent Imperial Marsh Preserve to the
resources for their long-term west and the CREW to the south and east. The applicant has also offered to implement voluntary
well-being and the benefit
of people.                    conservation measures that would benefit listed and managed species (Attachment 1).


                            Potentially Affected Resources
620 South Meridian Street
Tallahassee, Florida        The project is located within the USFWS Consultation Areas for the following species:
32399-1600
Voice: 850-488-4676
                                  •   Florida panther (Felis concolor coryi, Federally Endangered [FE])
Hearing/speech-impaired:          •   Florida bonneted bat (Eumops floridanus, FE)
800-955-8771 (T)
800 955-8770 (V)
                                  •   Everglade snail kite (Rostrhamus sociabilis plumbeus, FE)
                                  •   Red-cockaded woodpecker (Picoides borealis, FE)
MyFWC.com
                                  •   Audubon’s crested caracara (Polyborus plancus audubonii, Federally Threatened [FT])
                                  •   Florida scrub-jay (Aphelocoma coerulescens, FT).
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2           Filed 01/12/24       Page 509 of 585
Page 2
November 6, 2023

                   The project is also within one or more Core Foraging Areas (CFA) for the wood stork (Mycteria
                   americana, FT) and may provide habitat for the following species:

                       •   Tricolored bat (Permimyotis subflavus, Proposed FE)
                       •   Eastern indigo snake (Drymarchon couperi, FT)
                       •   Gopher tortoise (Gopherus polyphemus, State Threatened [ST])
                       •   Florida burrowing owl (Athene cunicularia floridana, ST)
                       •   Florida sandhill crane (Antigone canadensis pratensis, ST)
                       •   Little blue heron (Egretta caerulea, ST)
                       •   Tricolored heron (Egretta tricolor, ST)
                       •   Least tern (Sternula antillarum, ST)
                       •   Snowy plover (Charadrius nivosus, ST)
                       •   Big Cypress fox squirrel (Sciurus niger avicennia, ST).

                   Application materials provided by Passarella & Associates, Inc. (PAI) indicate that the following
                   species were observed during assessments conducted between February 23 and September 23,
                   2022: gopher tortoise, Audubon’s crested caracara, little blue heron, tricolored heron, Florida
                   sandhill crane, wood stork, Big Cypress fox squirrel, Florida panther, and Florida black bear
                   (Ursus americanus floridanus). FWC staff in coordination with USFWS staff determined the
                   proposed project “may affect and is likely to adversely affect” the Florida panther, Audubon’s
                   crested caracara, eastern indigo snake, and tricolored bat, “may affect, but is not likely to
                   adversely affect” the Florida bonneted bat, wood stork, Everglade snail kite, and red-cockaded
                   woodpecker; and have “no effect” on the Florida scrub-jay.

                   FWC staff provides the following information to address the completeness review, Public Notice
                   content, and final comments for this project.


                   Comments, Recommendations, and Public Notice Information

                   Florida Panther

                   Panthers prefer native, upland forested habitat, particularly hardwood hammocks and pine
                   flatwoods where a thick understory of saw palmetto exists. The entire project site is located
                   within the Panther Focus Area Primary and Secondary Zones. Florida panthers have been
                   documented utilizing the forested wetland and agricultural areas on the project site based on
                   radio-collar telemetry points. The applicant’s environmental representative, PAI, has made
                   observations of Florida panthers and their signs (such as tracks and scat) in the citrus groves on
                   the site. According to information provided by PAI, the proposed project would impact 3,400
                   acres of Florida panther habitat (0.28 percent of its overall range) resulting in a need for an
                   estimated 22,279 Panther Habitat Units (PHU) based on PAI’s use of the USFWS Panther
                   Compensation Calculator. USFWS staff estimates the project would result in harm to between 4
                   and 23 panthers at year of buildout due to vehicle collisions, habitat loss and reduction in carrying
                   capacity and between 3 and 22 panthers a year thereafter.

                   The applicant has proposed to offset the potential impacts to the Florida panther through the
                   restoration and protection of 3,273.62 acres of currently unprotected habitat in areas where
                   habitat connectivity can be maintained. PAI has calculated that the implementation of the on-site
                   mitigation would result in compensation totaling 18,469 PHUs. The difference will be offset by
                   the purchase of 3,810 PHUs from the Panther Passage Conservation Bank. In addition, the
                   applicant committed to fund and install a panther-suitable wildlife crossing along the four-lane
                   spine road and funding for a wildlife crossing on Corkscrew Road to Lee County as minimization
                   measures. Based on the available information, the proposed project “may affect and is likely to
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                          Document 149-2          Filed 01/12/24        Page 510 of 585
Page 3
November 6, 2023

                   adversely affect” the Florida panther but “is not likely to jeopardize” the species. USFWS staff
                   have provided conditions for this species that should be included in the State 404 permit.

                   Audubon’s Crested Caracara

                   The Audubon’s crested caracara prefers habitats that contain largely short-stature vegetation with
                   a low density of trees, including dry or wet prairie and improved and unimproved pasture
                   containing scattered cabbage palms, their preferred nesting tree. They may also be found in
                   lightly wooded areas with scattered saw palmetto, scrub oaks, and cypress. Seasonal freshwater
                   marsh wetlands of less than 2.47 acres may increase habitat attractiveness. An Audubon’s crested
                   caracara nesting season survey was completed on the project site from January through April
                   2022 following the USFWS Crested Caracara Draft Survey Protocol–Additional Guidance
                   (2016-2017 Breeding Season). A breeding pair of caracaras were observed engaged in nest
                   building behavior within a bald cypress tree located approximately 400 feet west of the northern
                   portion of the proposed project area. The USFWS Conservation Guidelines for the caracara
                   establishes habitat management zones within 985 feet from a nest tree (the primary zone) and
                   4,920 feet from a nest tree (the secondary zone). The breeding pair was observed nest building,
                   feeding, and exhibiting behaviors indicative of incubation. One chick was observed in the nest on
                   March 31, 2022, and continued to be observed through the end of the survey period. In addition,
                   multiple caracaras were observed throughout the project area during the survey effort, although
                   no additional nests were located.

                   USFWS staff determined the site contains approximately 5,383 acres of suitable habitat for
                   caracara and the proposed project is estimated to result in the loss or failed reproduction of one
                   caracara pair and the loss of 3,233.36 acres of suitable foraging and nesting habitat. The
                   applicant has committed to conducting additional surveys on the property and will avoid any
                   nests during the nesting season. If evidence of Audubon’s crested caracara nesting is observed
                   before construction (including the presence of nesting pairs or nesting behavior), the applicant
                   will follow conservation measures outlined in USFWS Guidelines, including a 300- meter
                   primary and 1,500-meter secondary buffer to the extent feasible. Based on the available
                   information, the proposed project “may affect and is likely to adversely affect” the Audubon’s
                   crested caracara but “is not likely to jeopardize” the species. USFWS staff have provided
                   conditions for this species that should be included in the State 404 permit.

                   Eastern Indigo Snake

                   Over most of its range, the eastern indigo snake inhabits pine flatwoods, scrubby flatwoods, high
                   pine, dry prairie, tropical hardwood hammocks, edges of freshwater marshes, agricultural fields,
                   coastal dunes, and human-altered habitats. Eastern indigo snakes appear to need a mosaic of
                   habitats to complete their life cycle. The project site includes approximately 5,439.62 acres of
                   habitat that could potentially be used by the eastern indigo snake and 3,242 of those acres are
                   proposed for development. USFWS staff estimated that the project would result in the loss of 36
                   individual eastern indigo snakes and 27 nests with eggs. The applicant has committed to
                   following the USFWS Standard Protection Measures for the Eastern Indigo Snake during the
                   clearing and construction phases of the project and proposes to restore and place in a conservation
                   easement approximately 3,273.62 acres. Based on the available information, the proposed project
                   “may affect and is likely to adversely affect” the eastern indigo snake but “is not likely to
                   jeopardize the species”. USFWS staff have provided conditions for this species that should be
                   included in the State 404 permit.

                   Tricolored Bat

                   The tricolored bat has been proposed for federal listing as endangered but is still under review.
                   This species is recognizable by its tri-colored fur and may have a yellow or orange appearance.
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                          Document 149-2         Filed 01/12/24        Page 511 of 585
Page 4
November 6, 2023

                   Most of the year, tricolored bats in the southern U.S. are found in forested habitats, roosting in
                   hardwoods, pine trees, and occasionally human structures. During the winter, they exhibit shorter
                   hibernation periods, foraging in floodplains and riparian areas on warmer nights, and often
                   roosting in human structures such as culverts. The entire site is considered potential foraging and
                   roosting habitat for the tricolored bat and the proposed project would result in the loss of 3,403.2
                   acres of habitat. USFWS staff estimated that the project would result in the loss of 1 roost and 10
                   individuals. Based on the available information, the proposed project “may affect and is likely to
                   adversely affect” the tricolored bat but is not likely to jeopardize the species. USFWS staff have
                   provided conditions for this species that should be included in the State 404 permit.

                   Florida Bonneted Bat

                   The Florida bonneted bat roosts in a variety of habitats including tropical hardwoods, pinelands,
                   and mangroves that include tall, mature trees or other areas in which suitable structural features
                   for breeding and sheltering are present. Foraging habitat is comprised of relatively open areas
                   including open fresh water, permanent or seasonal freshwater wetlands, within and above wetland
                   and upland forests, agricultural lands, and man-made habitats such as golf courses and parks. The
                   proposed project site is located within the USFWS Consultation Area for the Florida bonneted
                   bat, and the entire site is suitable habitat. An acoustic survey was performed at 20 stations
                   located on the property. A total of 12 Florida bonneted bat calls were recorded at 3 survey
                   stations; however, none were recorded within the one-and-a-half-hour window before sunrise or
                   after sunset indicating a low probability of roosting activity within the site.

                   The applicant has proposed several Best Management Practices from the USFWS Florida
                   Bonneted Bat Consultation Key. The proposed practices include:

                       •   Conducting pre-construction roost surveys within 30 days prior to the removal of trees,
                           snags, or structures,
                       •   Removing trees, snags or structures outside the breeding season when possible,
                       •   Stopping removal of trees or structures and contacting USFWS if the Florida bonneted
                           bat is observed,
                       •   Maintaining a 250-foot buffer for heavy equipment around known or suspected Florida
                           bonneted bat roosts,
                       •   Avoiding widespread application of insecticides in Florida bonneted bat foraging areas,
                       •   Retaining mature trees and snags in conservation areas, and
                       •   Planting native trees and shrubs in open space and buffer areas.

                   The implementation of the proposed mitigation/conservation areas will provide additional
                   measures from the USFWS approved Best Management Practices (BMPs) for Development
                   Projects. Based on the available information, the proposed project “may affect but is not likely to
                   adversely affect” the Florida bonneted bat. USFWS staff have provided conditions for this
                   species that should be included in the State 404 permit.

                   Wood Stork

                   The project site lies within the 18.6-mile CFA buffer of the Barron Collier, Collier Hendry,
                   619018, 619040, and 619041 wood stork nesting colonies. Wood storks occur in a wide variety
                   of wetland habitats. Typical foraging sites for the wood stork include freshwater marshes and
                   stock ponds, shallow, seasonally flooded roadside and agricultural ditches, narrow tidal creeks
                   and shallow tidal pools, managed impoundments, and depressions in cypress heads and swamp
                   sloughs. According to application material provided by PAI, wood storks have been observed on
                   the project site during surveys conducted between February 23 and September 23, 2022. The
                   applicant is proposing on-site restoration and enhancement activities, particularly in the form of
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                          Document 149-2         Filed 01/12/24       Page 512 of 585
Page 5
November 6, 2023

                   preserving, enhancing, and restoring 1,173.58 acres of existing wetlands and 447.33 acres of
                   extensive flow-way restoration from agricultural lands (i.e., citrus grove, abandoned grove, and
                   associated ditches/berms). The proposed habitat compensation that is within the appropriate CFA
                   will replace the foraging value matching the hydroperiods of the wetland affected and will
                   provide a foraging value much higher than that of impacted waters (i.e., ditches). Use of the
                   USFWS South Florida Ecological Services Office Effect Determination Key (2010) resulted in
                   the following sequential determination: A > B > C > E, “may affect but is not likely to adversely
                   affect.” FWC staff coordinated with USFWS staff, and the wetland mitigation requirements
                   required by the Florida Department of Environmental Protection (FDEP) in the State 404 permit
                   will ensure this effect determination.

                   Everglade Snail Kite

                   Everglade snail kite foraging habitat consists of relatively shallow wetland vegetation, either
                   within extensive marsh systems, or in lake littoral zones. This species nests in a variety of
                   vegetation types, usually over open water and almost always in areas with good foraging habitat
                   nearby. Its preferred habitat is lowland freshwater marshes mostly in the Everglades, Lake
                   Okeechobee, Lake Kissimmee, and upper St. Johns River watersheds, and the species feeds
                   almost exclusively on apple snails. The project site is located within the USFWS Consultation
                   Area for the Everglade snail kite but is not located within or near Designated Critical Habitat.
                   According to information provided by PAI, the project site includes approximately 1,372 acres of
                   potential nesting and foraging habitat for the Everglade snail kite. There has been no
                   documentation of this species on the project site; however, snail kites have been observed on
                   adjacent conservation lands. The site plan incorporates the creation of numerous stormwater
                   ponds that could support apple snails, the snail kite’s primary food source. Based on the available
                   information, the proposed project “may affect but is not likely to adversely affect” the Everglade
                   snail kite. FWC staff coordinated with USFWS staff, and no State 404 permit conditions are
                   necessary for this species.

                   Red-Cockaded Woodpecker

                   The red-cockaded woodpecker lives and forages in mature pine forests, specifically those with
                   longleaf pines averaging 80 to 120 years old and loblolly pines averaging 70 to 100 years old.
                   Red-cockaded woodpeckers live in groups with a breeding pair and as many as four helpers,
                   usually male offspring from the previous year. Each group needs about 200 acres of old pine
                   forest to support its foraging and nesting needs. The applicant’s environmental representative,
                   PAI, conducted surveys between February 23 and September 23, 2022, and no potential nesting
                   cavities were observed on the property and no red-cockaded woodpeckers have been observed
                   foraging on the property. Based on the available information, the proposed project “may affect
                   but is not likely to adversely affect” the red-cockaded woodpecker. FWC staff coordinated with
                   USFWS staff, and no State 404 permit conditions are necessary for this species.
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2         Filed 01/12/24        Page 513 of 585
Page 6
November 6, 2023

                   Florida Scrub-Jay

                   The Florida scrub-jay is endemic to peninsular Florida’s ancient dune ecosystems of oak-
                   dominated scrub, or xeric oak scrub habitat, which occur on well-drained to excessively well-
                   drained sandy soils. Optimal habitat for scrub-jays is dominated by low growing oaks (sand live
                   oak [Quercus geminata], Chapman oak [Q. chapmanii], myrtle oak [Q. myrtifolia], scrub oak [Q.
                   inopina]), which are 1 to 3 meters high, interspersed with 10 to 50 percent unvegetated, sandy
                   openings for foraging and acorn-caching space, and a sand pine (Pinus clausa) canopy of less
                   than 20 percent. The project site lies within the USFWS Consultation Area for the Florida scrub-
                   jay, but existing site conditions do not provide suitable habitat for this species. Additionally,
                   according to the application material provided by PAI, no Florida scrub-jays have been observed
                   during surveys conducted between February 23 and September 23, 2022. FWC staff in
                   coordination with USFWS staff determined that the project would have “no effect” on the Florida
                   scrub-jay and no State 404 permit conditions are necessary for this species.

                   Gopher Tortoise

                   The gopher tortoise typically inhabits uplands with relatively well-drained, sandy soils and
                   herbaceous ground cover for forage. According to the Biological Assessment from PAI, one
                   potentially occupied gopher tortoise burrow has been observed on-site during surveys performed
                   between February 23 and September 23, 2023. The applicant intends to conduct a 100% survey
                   of suitable habitat prior to any site work and either afford identified burrows with a 25-foot
                   undisturbed buffer or pursue an FWC permit for the excavation of the burrows and relocation of
                   the tortoises to an FWC approved recipient site. The applicant can refer to the FWC's Gopher
                   Tortoise Permitting Guidelines (revised April 2023) for survey methodology and permitting
                   guidance prior to any development activity (http://www.myfwc.com/license/wildlife/gopher-
                   tortoise-permits/). Survey methodologies require a burrow survey covering a minimum of 15
                   percent of potential gopher tortoise habitat to be impacted by development activities including
                   staging areas (refer to Appendix 4 in the Gopher Tortoise Permitting Guidelines for additional
                   information). Specifically, the permitting guidelines include methods for avoiding impacts (such
                   as preservation of occupied habitat) as well as options and state requirements for minimizing,
                   mitigating, and permitting potential impacts of the proposed activities. Any commensal species
                   observed during burrow excavation should be handled in accordance with Appendix 9 of the
                   Guidelines. FWC staff have provided survey and avoidance conditions for this species that
                   should be included in the State 404 permit.

                   Florida Burrowing Owl

                   Burrowing owls typically occupy areas with short groundcover like agricultural fields and prairies
                   and also use urban areas such as golf courses and airports. They prefer sandy, well-drained areas
                   with low vegetation and good visibility around burrows. The project site is located within the
                   range of the Florida burrowing owl and contains potentially suitable habitat for the species. FWC
                   staff recommends the applicant survey the property for burrowing owls prior to construction
                   activities to ensure that no burrowing owl burrows occur on-site. Additional information and
                   guidance for conducting burrowing owl surveys can be found in the Species Conservation
                   Measures and Permitting Guidelines for Florida Burrowing Owl
                   (https://myfwc.com/media/2028/florida-burrowing-owl-guidelines.pdf). FWC staff have
                   provided avoidance conditions for this species that should be included in the State 404 permit.

                   Florida Sandhill Crane

                   Florida sandhill cranes rely on shallow, freshwater marshes and other herbaceous wetlands
                   adjacent to open habitats for foraging including agricultural fields, pastures, and golf courses.
                   According to the Biological Assessment from PAI, Florida sandhill cranes have been observed in
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2          Filed 01/12/24       Page 514 of 585
Page 7
November 6, 2023

                   the citrus groves on the project site. The applicant intends to perform pre-construction surveys no
                   more than 30 days prior to the start of construction during the breeding season. The Species
                   Conservation Measures and Permitting Guidelines for Florida Sandhill Crane
                   (https://myfwc.com/media/11565/florida-sandhill-crane-guidelines.pdf) can be referenced for
                   biological information, survey methodology, measures for avoiding impacts, and recommended
                   conservation practices. If nesting is identified on the project site, avoidance measures include
                   maintaining a 400-foot (122-meter) buffer around the nesting area. FWC staff have provided
                   survey and avoidance conditions for this species that should be included in the State 404 permit.

                   Wading Birds

                   The project site provides potential nesting and foraging habitat for state-listed wading birds
                   including the little blue heron and tricolored heron which have been observed utilizing the
                   drainage canals on the site. While there was no nesting observed during wildlife surveys
                   conducted on the project site, surveys should be conducted immediately prior to the
                   commencement of any clearing, grading, or filling activities and during their breeding season,
                   which extends from March through August. Additional information and guidance for conducting
                   surveys can be found in the Species Conservation Measures and Permitting Guidelines for Little
                   Blue Heron, Reddish Egret, Roseate Spoonbill, Tricolored Heron
                   (https://myfwc.com/media/18634/threatened-wading-birds-guidelines.pdf). If nesting is
                   discovered after site activities have begun, buffers of 330 feet (100 meters) should be maintained
                   around the nesting sites to avoid disturbance by human activities. FWC staff have provided
                   avoidance conditions for this species that should be included in the State 404 permit.

                   Imperiled Beach Nesting Birds

                   Although existing site conditions may not support beach-nesting bird breeding habitat, clearing
                   associated with construction may create conditions conducive for nesting. Cleared sites such as
                   areas that have undergone surface scraping and that leave open sandy soils may attract ground-
                   nesting species such as least terns, snowy plovers, or other imperiled beach-nesting birds (IBNB).
                   IBNB nests have been documented on a variety of disturbed sites, including construction sites.
                   Least terns deposit their eggs in shallow depressions or scrapes in the substrate, possibly lined
                   with pebbles, grasses, or coquina shells. Egg-laying usually begins in late April or early May and
                   colonies may range in size from a few breeding pairs to many hundreds. FWC staff have
                   provided avoidance conditions for this species that should be included in the State 404 permit.

                   Big Cypress Fox Squirrel

                   Big Cypress fox squirrels use a range of habitats including tropical hardwood forest, live oak
                   forest, mangrove forest, cypress swamp, pine flatwoods, pastures, and suburban habitats,
                   especially golf courses. They use cypress, pine trees, and cabbage palms for nesting, and forage
                   in surrounding areas with low and open groundcover. This species can use more than one nest
                   and nest use can vary over time. According to the Biological Assessment from PAI, Big Cypress
                   fox squirrels have been observed utilizing forested and disturbed areas on the project site;
                   however, no nests were observed during assessments conducted between February 23 and
                   September 23, 2022. Big Cypress fox squirrels typically nest between October and February and
                   from April to August. Surveys to locate nests should be conducted within 60 days prior to the
                   start of clearing or construction to determine if this species is onsite. The Species Conservation
                   Measures and Permitting Guidelines for Big Cypress Fox Squirrel
                   (https://myfwc.com/media/11559/big-cypress-fox-squirrel-guidelines.pdf) can be referenced for
                   biological information, survey methodology, measures for avoiding impacts, and recommended
                   conservation practices. If nests are found onsite, a 574-foot (175-meter) buffer distance from the
                   nest tree should be maintained. If it will be necessary to remove a nest tree or work within 574
                   feet of a nest tree, the applicant should coordinate with FWC staff to discuss permitting
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                             Document 149-2     Filed 01/12/24       Page 515 of 585
Page 8
November 6, 2023

                   alternatives. FWC staff have provided survey and avoidance conditions for this species that
                   should be included in the State 404 permit.

                   FWC staff appreciates the opportunity to provide input on this project and will continue working
                   with the applicant and FDEP throughout the permitting process. For specific technical questions
                   regarding the content of this letter, please contact Michelle Sempsrott at 470-572-9122 or by
                   email at Michelle.Sempsrott@MyFWC.com. All other inquiries may be sent to
                   ConservationPlanningServices@MyFWC.com.

                   Sincerely,



                   Jason Hight, Director
                   Office of Conservation Planning Services

                   jh/ms
                   Kingston_49358_11062023


                   Attachment:
                       1) Kingston Applicant Voluntary Conservation Measures
                       2) Standard Protection Measures for the Eastern Indigo Snake
                       3) State-Threatened Wading Bird Ranges, Breeding Seasons, and Recommended Survey
                          Dates, by Zone (FWC)

                   cc:      FDEP 404 Inbox, 404_listed_species@floridadep.gov
                            U.S. Fish and Wildlife Service 404 Inbox, Florida_404@fws.gov
                            FDEP District Inbox, SD-ERPcomments@dep.state.fl.us
                            Bob Carey, USFWS, robert_carey@fws.gov
                            Adam Knutson, USFWS, adam_knutson@fws.gov
                            Shane Johnon, Passarella & Associates, Inc., shanej@passarella.net
                            Joseph Cameratta, CAM7-Sub, LLC, jcameratta@camerattacompanies.com
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2           Filed 01/12/24        Page 516 of 585
Page 9
November 6, 2023

                                 Species Conditions for the Kingston State 404 Permit, 423130-001

                   Florida Panther
                       1. The permittee shall provide correspondence from the Fish and Wildlife Foundation of
                           Florida Fund (Fund) confirming contributions for panther conservation and research have
                           been provided as described below. Documentation for each contribution shall be sent to
                           the U.S. Fish and Wildlife Service’s Florida Ecological Services Office (USFWS FESO)
                           by email (fw4flesregs@fws.gov), the Department, and FWC
                           (ConservationPlanningServices@MyFWC.com). The permittee shall ensure the
                           following is completed and reflected in the documentation provided:
                                a. Upon issuance of the permit, the permittee will pay $350 per development acre
                                    (or approximately $1,186,150) of the project to fund panther conservation and
                                    research. Upon deposit of the funds, the permittee shall provide correspondence
                                    from the Fund confirming that the contribution has been provided.
                                b. The permittee will pay $200 per each building permit at date of issuance (or
                                    approximately $2,000,000) and $200 per each home resale to the Fund.
                                c. The permittee shall provide an annual report confirming the sale and contribution
                                    to the Fund to USFWS FESO by e-mail (fw4flesregs@fws.gov), the Department,
                                    and FWC (ConservationPlanningServices@MyFWC.com).
                       2. The permittee shall provide correspondence from the Lee County Proportionate Share
                           Fee fund confirming contributions of approximately $20,000,000 for Corkscrew Road
                           roadway improvements inclusive of pavement widening, flow-way culverts, and wildlife
                           crossings. Documentation for each contribution shall be sent to the USFWS FESO by
                           email (fw4flesregs@fws.gov), the Department, and FWC
                           (ConservationPlanningServices@MyFWC.com).
                       3. The permittee will, at its sole cost and expense, ensure the construction of a large wildlife
                           crossing along the four-lane spine road and 12 small wildlife crossings within the project
                           site to maintain intra-preserve connectivity and hydrologic flow throughout the project
                           site. The wildlife crossings shall be constructed as per the approved maps, drawings, and
                           specifications in this permit. Prior to the start of construction, the permittee shall contact
                           the USFWS FESO by email (fw4flesregs@fws.gov) for technical assistance and notify
                           the Department and FWC (ConservationPlanningServices@MyFWC.com) and shall
                           provide the location and plans of the proposed wildlife crossings for review. The
                           permittee shall report the final location and provide as-built plans of wildlife crossings to
                           the USFWS FESO, the Department, and the FWC upon completion of construction.
                       4. The permittee shall ensure that Homeowners Association (HOA) and/or homeowners’
                           documents for the Kingston community state that pets within the community should be
                           kept indoors, on leash, or supervised when outdoors in common areas, or secured within
                           a covered kennel. Residents shall be informed that vaccinating cats for feline leukemia
                           virus (FLV) can prevent disease transmission from house cats to Florida panthers. The
                           permittee shall ensure that the HOA and/or homeowners’ documents inform residents of
                           the importance of community-wide vaccination of all pet cats for FLV since it protects
                           homeowners’ pets from illness, as there is no definitive cure, and assists in preventing
                           illness in Florida panthers.
                       5. Kingston residents, community association managers, and maintenance staff will be
                           provided with an educational brochure prepared by USFWS and FWC, titled A guide to
                           Living with Florida Panthers.

                   Audubon’s Crested Caracara
                      1. Prior to conducting any clearing activities within 4,920 feet (1,500 meters) of any
                         previously documented or newly discovered crested caracara nest site, the permittee shall
                         conduct a survey during the crested caracara nesting season (January 1 through April 30)
                         to determine if the documented or discovered nest is active, and if other crested caracara
                         nests are present. The survey area shall include potential nesting and foraging habitat
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2          Filed 01/12/24        Page 517 of 585
Page 10
November 6, 2023

                          within 4,920 feet (1,500 meters) of the identified caracara nest, including potential habitat
                          located in land adjacent to the project site that is under the permittee’s ownership or
                          neighboring areas where access is allowed.
                       2. To minimize the potential for disturbance to nesting crested caracaras, the permittee shall
                          conduct land clearing activities outside the nesting season for areas that occur within the
                          primary zone, 984 feet (300 meters), of any documented crested caracara nest site.
                          Should it be necessary to conduct land clearing activities during the nesting season, land
                          clearing within 984 feet (300 meters) of any nest identified during the survey referenced
                          above will not occur until monitoring has determined the nest has either been abandoned,
                          or chicks within the nest have fledged and left the nest site. Once the nest is empty,
                          clearing of that primary zone and nest tree can proceed, in concert with condition 3.
                       3. If construction activities are to occur within 984 feet (300 meters) of an active nest
                          identified in the most recent nesting season, the permittee shall conduct restoration of
                          caracara nesting and foraging habitat on a scale equal to the portion of the breeding
                          territory that is impacted by construction activities. Restoration activities will be
                          conducted by restoring native dry or wet prairie with scattered cabbage palms or creating
                          improved pasture and planting scattered cabbage palms. Restoration activities will occur
                          on existing agricultural lands located within the project site or on agricultural lands
                          adjacent to the project site that is under the permittee’s ownership. The permittee shall
                          contact the USFWS's Florida Ecological Services Office (FESO) at
                          FW4FLESRegs@fws.gov for technical assistance and will notify the Department and
                          FWC (ConservationPlanningServices@MyFWC.com) prior to start of the construction
                          activities and shall provide the location and extent of proposed restoration activities.
                          Once restoration activities have been completed, the restored habitat will be maintained
                          in perpetuity and managed in a state that supports use by crested caracara. The permittee
                          shall report the final location and extent of restored habitat to the USFWS FESO, the
                          Department, and the FWC upon completion of restoration activities.

                   Eastern Indigo Snake
                       1. The permittee will follow the USFWS Standard Protection Measures for the Eastern
                           Indigo Snake dated March 23, 2021 (Attachment 2) during construction of the project and
                           restoration of the conservation area.
                       2. Informational brochures addressing the identification and conservation of the eastern
                           indigo snake will be provided to all construction staff.
                       3. The conservation areas associated with the project will be maintained per the project’s
                           Indigenous Preserve, Restoration, and Management Plan.

                   Tricolored Bat and Florida Bonneted Bat
                       1. The permittee shall conduct a cavity tree and roost survey on the project site within 30
                           days prior to the removal of trees, snags, or structures. When possible, trees, snags, and
                           structures will be removed outside the breeding season (January 1 through April 15 for
                           Florida bonneted bat, May through July for tricolored bat). If evidence of use by either
                           Florida bonneted bats or tricolored bats is observed, the tree removal will be
                           discontinued, and the permittee shall contact the FESO at FW4FLESRegs@fws.gov for
                           technical assistance and will notify the Department and FWC
                           (ConservationPlanningServices@MyFWC.com).
                       2. The permittee shall maintain a 250-foot buffer around known or suspected Florida
                           bonneted bat or tricolored bat roosts when using heavy equipment so that disturbance to
                           roosting bats is minimized.
                       3. The permittee shall implement creation of the project’s proposed buffer lake system and
                           shall implement the preservation and enhancement of 1,173.58± acres of existing on-site
                           wetlands which will promote Florida bonneted bat and tricolored bat foraging
                           opportunities. In addition, approximately 447 acres of wetland flow-way marsh will be
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                          Document 149-2           Filed 01/12/24        Page 518 of 585
Page 11
November 6, 2023

                            created from existing agricultural lands that will provide additional foraging habitat for
                            the Florida bonneted bat and tricolored bat.
                       4.   The permittee shall enhance riparian habitat by planting native vegetation along the lake
                            shorelines (i.e., littoral zone plantings).
                       5.   Widespread application of insecticides by the permittee shall be avoided in areas where
                            Florida bonneted bats or tricolored bats are known or expected to forage or roost.
                       6.   The permittee shall plant and maintain native trees and shrubs within open space and
                            buffer areas to promote insect diversity, availability, and abundance.
                       7.   The permittee shall retain mature trees and snags within the proposed Conservation Areas
                            that could provide roosting habitat for Florida bonneted bat and tricolored bat.
                       8.   The permittee shall implement International Dark-Sky Association lighting initiatives to
                            minimize use of artificial lighting and retain natural light conditions to the greatest extent
                            practicable.
                       9.   The permittee will implement prescribed fire as a management tool within Conservation
                            Areas to promote foraging habitat for the Florida bonneted bat and tricolored bat.

                   Wood Stork
                   The permittee shall comply with the approved wetland mitigation and monitoring requirements
                   specified in this permit for the onsite wetland impacts within the same wood stork Core Foraging
                   Areas. If a modification regarding wetland mitigation and/or monitoring requirements is
                   proposed, technical assistance with the FWC and USFWS is required prior to issuance.

                   Gopher Tortoise
                      1. Within 90 days prior to commencing any site preparation activities, a gopher tortoise
                          burrow survey shall be conducted covering potentially suitable habitat on the subject
                          property. Potentially suitable habitat may include, but is not limited to, sandhill, scrub,
                          scrubby flatwoods, pine flatwoods, dry prairies, xeric hammock, mixed pine-hardwoods,
                          old fields, agricultural lands, ruderal areas, and a variety of disturbed habitats and areas
                          having relatively well-drained sandy soils. Surveys shall be conducted in accordance
                          with the following methods.
                              a. One or multiple observers shall systematically search for gopher tortoise burrows
                                   along evenly spaced, parallel belt transects.
                              b. Sufficient distance shall exist between each observer to ensure that transects do
                                   not overlap. The width of each transect shall allow for 100% detection of
                                   burrows within the transect.
                              c. The location of burrows observed within or partially within each transect shall be
                                   recorded with sub-meter accuracy GPS. Burrows shall be marked with flagging
                                   tape indicating its unique identifying label and burrow activity class.
                                        i. Potentially Occupied Burrows – burrows with obvious signs of use and
                                            minimal or no sign of use. These burrows appear in good repair with a
                                            half-moon shaped entrance and may have tortoise tracks or scrapes
                                            clearly visible on the burrow floor or on the mound. The burrow floor
                                            may contain loose soil, or it may be hard-packed, and the mound may or
                                            may not have vegetation growing on it.
                                       ii. Abandoned Burrows – these burrows lack the half-moon shaped
                                            entrance; appears unused or dilapidated with an entrance that is partially
                                            or completely collapsed; the burrow can be partially or completely filled
                                            with soil or leaves.
                      2. If site preparation or other project activities do not commence within 90 days of the
                          gopher tortoise burrow survey, a new survey shall be conducted.
                      3. Gopher tortoise burrow surveys shall encompass any areas having potentially suitable
                          habitat within 25 feet of all project activities, including habitats that extend onto adjacent
                          properties. If lawful access cannot be achieved to adjacent properties, surveys may be
                          conducted by visual inspection from the subject property boundary.
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2           Filed 01/12/24       Page 519 of 585
Page 12
November 6, 2023

                       4. If gopher tortoise burrows are found, buffers of 25 feet in all directions from the mouth of
                          all burrows shall be established. The buffering shall not result in 50-foot diameter circles
                          of undisturbed habitat surrounded by the project activities. Silt fencing may be used to
                          demarcate the buffers but shall not block gopher tortoise access to burrows.
                       5. No site preparation, clearing, staging, or other project activities shall occur within the 25-
                          foot buffer.
                       6. If maintaining the required buffer is not possible, the permittee shall contact the FWC
                          Gopher Tortoise Program Coordinator at (850) 921-1031 or GTPermits@MyFWC.com
                          for additional information.
                       7. Injury or mortality of a gopher tortoise shall be immediately reported to the FWC
                          Wildlife Alert Hotline at (888) 404-3922 and the Gopher Tortoise Program Coordinator
                          at (850) 921-1031.

                   Florida Burrowing Owl
                       1. If Florida burrowing owls are observed on the project site, project planning surveys for
                           Florida burrowing owls shall be conducted within 90 days prior to commencing site
                           preparation, clearing, or earthwork activities covering 100% of potentially suitable
                           habitat onsite. Surveys shall also include the area within 33 feet of the project footprint
                           to detect burrows that may be impacted by project activities in a manner that could result
                           in take, even if the burrows occur on adjacent properties. If lawful access cannot be
                           achieved to adjacent areas, surveys can be performed by visual inspection from the
                           project boundary.
                       2. If potentially occupied Florida burrowing owl burrows are found during the project
                           planning surveys, pre-activity surveys shall be conducted in the active part of the project
                           site (e.g., the area scheduled for clearing and/or grading) within 48 hours prior to
                           commencing site preparation, clearing, earthwork, or other project activities. Potentially
                           occupied burrows include: 1) active burrows—those containing eggs or flightless young,
                           and 2) inactive burrows—those previously occupied by burrowing owls where no
                           indications of recent occupancy are evident, but the burrow entrance is still open. No
                           scoping of potentially occupied burrows shall be performed without coordination with
                           FWC staff.
                       3. Buffer zones around potentially occupied burrows shall be posted as follows:
                                a. Prior to earthwork or other construction activities that are to occur in the general
                                    vicinity of the burrow(s), posting shall be installed to deter equipment operators
                                    or project personnel from entering the buffered area.
                                b. Posting shall be placed at a minimum of 33 feet (10 meters) from the burrow(s)
                                    between February 15 and July 10, and a minimum of 10 feet (3 meters) between
                                    July 11 and February 14. No posting materials shall be placed within 10 feet (3
                                    meters) of the burrow(s) at any time.
                                c. Silt fencing shall not be used for posting, except when needed to prevent soil and
                                    construction debris from encroaching upon a burrow. In these instances, silt
                                    fencing shall be installed on the uphill side but shall not completely encircle the
                                    burrow(s).
                                d. No solid fences or other tall structures which would reduce adequate visibility for
                                    the burrowing owls to see and avoid predators shall be used to provide the buffer
                                    posting.
                                e. Posting shall consist of 1 to 4 PVC poles, or 2-inch by 1-inch by 4-foot wooden
                                    stakes. The wooden stakes may be constructed in t-perch fashion.
                                f. Educational signage warning of the State Threatened status of the burrowing owl
                                    shall be posted on wooden stakes at minimum of 10 feet (3 meters) from the
                                    burrow(s).
                       4. During the non-breeding season (July 11 to February 14), no site preparation, clearing,
                           staging, or other project activities shall occur within a 10-foot (3-meter) radius from the
                           entrance of potentially occupied burrows, including those on adjacent properties.
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2          Filed 01/12/24        Page 520 of 585
Page 13
November 6, 2023

                       5. During the breeding season (February 15 to July 10), no site preparation, clearing,
                          staging, or project activities shall occur within a 33-foot (10-meter) radius from the
                          entrance of potentially occupied burrows, including those on adjacent properties.
                       6. If Florida burrowing owls are found to be using a man-made structure located on or
                          within 33 feet (10 meters) of the project site, the structure shall not be modified or
                          removed unless:
                               a. An approved Wildlife/Habitat Management Plan (see definition in Florida's
                                   Imperiled Species Management Plan) is in place for the area in which the activity
                                   will occur has been approved, or
                               b. Notification has been provided to the FWC’s Species Conservation Planning
                                   Biologist in the region where the activity will occur at least 14 days in advance,
                                   no eggs or dependent young are present or the nesting cycle is complete, and the
                                   activity can be done in such a way to avoid direct take of individual animals.
                       7. All personnel associated with the project shall be advised of the presence of Florida
                          burrowing owls and that it is a violation of state law to harass, harm, pursue, hunt, shoot,
                          wound, kill, trap, capture, or collect Florida burrowing owls or their eggs, or to collapse
                          or block their burrows, or to attempt to engage in such conduct. All personnel shall be
                          directed not to enter posted areas around potentially occupied burrows.
                       8. If previously-undetected burrows are found either in pre-activity surveys or later during
                          project activities, or the required buffers cannot be maintained, the permittee shall contact
                          the FWC Protected Species Permit Coordinator at (850) 921-5990 or
                          WildlifePermits@MyFWC.com.
                       9. Injury or mortality of a Florida burrowing owl shall be immediately reported to the FWC
                          Wildlife Alert Hotline at (888) 404-3922.

                   Florida Sandhill Crane
                       1. If any sandhill cranes are observed on the project site, surveys for nesting Florida sandhill
                           cranes shall be conducted during the breeding season (December 1 through August 30)
                           within 30 days prior to commencing any clearing or construction activities. Surveys shall
                           include either one aerial survey or two ground surveys in accordance with the following
                           methodologies:
                           a. Aerial Surveys (most effective):
                                  i.    Aerial transects shall cover 100% of the non-forested wetland habitat.
                                 ii.    Survey transects shall be conducted at a minimum altitude of 250 feet. Nests
                                        typically are easier to detect at higher altitudes (e.g., 500-700 feet). Aerial
                                        transects at an altitude above 250 feet are not expected to result in flushing
                                        from nests. Sandhill cranes may react differently to different types of
                                        aircraft, and altitude shall be adjusted to prevent disturbance.
                           b. Ground Surveys:
                                  i.    Surveys shall be conducted between dawn and 10 a.m., or between 4 p.m.
                                        and dusk. Sandhill crane breeding pairs engage in “unison calling” early in
                                        the morning or when switching incubation duties, which can help identify
                                        habitat areas used for nesting. A lone adult sandhill crane observed foraging
                                        during the breeding season is a good indicator that nesting may be occurring
                                        nearby.
                                 ii.    The non-forested wetlands shall be scanned along the peripheries from as far
                                        away as practical in order to observe nesting areas without disturbing any
                                        sandhill cranes. Transects through the wetland can result in disturbance and
                                        are not recommended. Sandhill crane nests can be difficult to detect from the
                                        ground, and observers should take care to avoid flushing nesting cranes.
                                iii.    Observation points shall be spaced to provide approximately 100% coverage
                                        of suitable habitat.
                       2. If active Florida sandhill crane nests are found, a buffer of 400 feet (122 meters) shall be
                           demarcated around each nest site. The buffer zone shall be clearly visible to all personnel
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2           Filed 01/12/24        Page 521 of 585
Page 14
November 6, 2023

                           associated with the project. The perimeter of the buffer zone shall be demarcated with
                           material with an open design that allows ingress and egress for adult cranes and chicks.
                           Examples of acceptable materials include 3-4 foot (91-122 cm) tall stakes with a single
                           line of string or rope, suspended at least 18 inches (46 cm) off the ground. Silt fencing is
                           discouraged, but if it must be used, leave regularly spaced gaps that are either sized at
                           least 24 inches (61 cm) wide, or the silt fencing is staggered to allow passage by chicks.
                           The buffer zone materials may be removed when the eggs have hatched, and chicks are
                           walking on their own.
                       3. No pedestrian traffic, vehicle operations, site preparation, staging, clearing, or project
                           activities shall occur within the 400-foot (122-meter) buffer.
                       4. All personnel associated with the project shall be advised of the presence of Florida
                           sandhill crane nesting and that it is a violation of state law to harass, harm, pursue, hunt,
                           shoot, wound, kill, trap, capture, or collect Florida sandhill cranes or their eggs or nests,
                           or to attempt to engage in such conduct.
                       5. No direct or indirect impacts shall occur to wetland habitats found to be actively utilized
                           by Florida sandhill cranes for breeding, feeding, or sheltering.
                       6. If the project will take place over multiple years, additional surveys shall be conducted
                           during the breeding season within 30 days prior to the start of clearing or project
                           activities.
                       7. Any installation of temporary or permanent above-ground utility lines shall include
                           reflective kinetic markers to increase visibility to sandhill cranes inflight and reduce
                           collisions.
                       8. If permanent fencing is constructed adjacent to wetlands found to be utilized by Florida
                           sandhill cranes for nesting, it shall be made of materials in which the birds cannot
                           become entangled, trapped, or injured. If woven or welded wire fencing is used, framed
                           walk-throughs 18 inches (46 cm) high by 24 inches (61 cm) wide shall be incorporated at
                           least every 0.3 miles. If barbed wire fencing is used, a maximum of 3 strands shall be
                           used with the top wire no more than 42 inches (107 cm) above the ground and the bottom
                           wire at least 18 inches above the ground.
                       9. If additional nest locations are identified after clearing or other activities have begun or if
                           maintaining the required buffers is not possible, the permittee shall contact the FWC
                           Protected Species Permit Coordinator at (850) 921-5990 or
                           WildlifePermits@MyFWC.com for more information.
                       10. Injury or mortality of a Florida sandhill crane shall be immediately reported to the FWC
                           Wildlife Alert Hotline at (888) 404-3922.

                   Wading Birds
                     1. If any species of state-listed wading bird is observed onsite, the permittee shall conduct
                         surveys for wading birds in the freshwater marshes, freshwater forested wetlands, ditches,
                         and other areas of appropriate habitat containing woody vegetation surrounded by
                         standing water prior to commencing any site preparation, staging, clearing, or project
                         activities. Surveys should be conducted during the appropriate survey timeframe
                         indicated in Attachment 3 and in accordance with one of the following methodologies.
                             a. Direct count surveys shall be conducted of potential breeding sites that are
                                  narrow or small in which the observer can see all the way through the vegetation
                                  to identify all nests.
                                       i. Direct counts of all nests shall be made from a minimum distance of 330
                                           feet (100 meters) from the freshwater marshes and forested wetlands.
                             b. Flight-line surveys shall be conducted of potential breeding sites that are large or
                                  wide enough that the observer cannot see through the vegetation from a distance
                                  of 330 feet (100 meters).
                     2. If there is evidence of active nests, a buffer of 330 feet (100 meters) shall be established
                         around the nesting area(s). A nest is considered active when supporting essential
                         behavioral patterns, which occur from the point of nest building when a breeding pair
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                         Document 149-2          Filed 01/12/24       Page 522 of 585
Page 15
November 6, 2023

                          exhibits courtship behavior, is carrying nest material, and/or engaging in construction or
                          repair of a nest, until young of the season become capable of sustained flight or
                          permanently leave the nest. The buffer zone shall be clearly visible to all personnel
                          associated with the project.
                       3. If wading bird nesting is discovered after site activities have begun, or if any of the
                          conditions above cannot be met, the permittee shall contact the FWC Protected Species
                          Permit Coordinator at (850) 921-5990 or WildlifePermits@MyFWC.com for more
                          information.
                       4. Injury or mortality of a wading bird shall be immediately reported to the FWC Wildlife
                          Alert Hotline at (888) 404-3922.

                   Imperiled Beach Nesting Birds
                      1. If least terns or other imperiled beach nesting birds are observed on the subject property
                           at any time throughout the duration of project activities, the permittee shall alert Alexis
                           Cardas at 863-648-3828 or Alexis.Cardas@MyFWC.com, the FWC Regional Shorebird
                           Biologist. In addition, a qualified Bird Monitor shall be used to identify breeding
                           behavior and the location of active nests. The permittee shall ensure that the Bird
                           Monitor meets the minimum qualifications established by the FWC as outlined below:
                               a. Ability to identify all species of beach-nesting birds that nest in the project area
                                    by sight and sound.
                               b. Ability to identify breeding/territorial behaviors and find nests of shorebirds that
                                    occur in the project area.
                               c. Ability to identify habitats preferred by shorebirds nesting in the project area.
                               d. Have a clear working knowledge of, and adhere to, the Breeding Bird Protocol
                                    for Florida’s Seabirds and Shorebirds.
                               e. Complete the full-length webinars and annual refresher training, Route-Surveyor
                                    Training and Rooftop Monitoring Training, available on the Florida Shorebird
                                    Database (FSD) website at
                                    https://app.myfwc.com/crossdoi/shorebirds/resources.aspx.
                               f. Familiar with FWC beach driving guidelines.
                               g. Previously participated in beach-nesting bird surveys in Florida and is a
                                    registered contributor to the FSD.
                               h. Experience posting beach-nesting bird sites, consistent with Florida Shorebird
                                    Alliance Guidelines (https://flshorebirdalliance.org/media/1231/2021-guidelines-
                                    for-posting-shorebird-and-seabird-sites-in-florida.pdf).
                      2. If least terns or other imperiled beach nesting birds are present within the project
                           boundary, surveys for detecting breeding behavior and the presence of flightless chicks
                           shall be completed daily by a qualified Bird Monitor when construction activities are
                           occurring during the breeding season (March 1 through September 1). These surveys
                           shall be conducted each day when construction is actively taking place and prior to
                           movement of equipment or other activities that could potentially disrupt breeding
                           behavior or cause harm to the birds, their eggs, or their young.
                      3. If active nests are observed onsite, all project activities conducted during the breeding
                           season shall maintain a minimum buffer of 300 feet (91 meters) around active nests. The
                           buffer zone shall be clearly visible to all personnel associated with the project. The
                           perimeter of the buffer zone shall be marked with posts, twine, and signs approved by the
                           FWC stating “Do Not Enter, Important Nesting Area” or similar language. Posts shall
                           not exceed 4 feet in height once installed. Symbolic fencing, consisting of twine, string,
                           or rope, shall be placed between all posts at least 2.5 feet above the ground. The posting
                           shall be maintained in good repair until breeding is completed (when all chicks have
                           fledged) or terminated. Signs and fencing shall not be removed, repositioned, or
                           otherwise modified by anyone other than the Bird Monitor. Sign examples and templates
                           are available at https://flshorebirdalliance.org/resources/signs/.
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                          Document 149-2            Filed 01/12/24        Page 523 of 585
Page 16
November 6, 2023

                                 a. If birds appear to be agitated by any activities on the site, the width of the buffer
                                      zones shall be increased immediately to a sufficient size that does not incite
                                      behavioral indicators of disturbance, which include birds standing or walking
                                      away from nests or chick, flushing off nests, making alarm calls, and diving at
                                      bystanders.
                       4.   If least tern nesting is observed, all personnel associated with the project shall be advised
                            of the presence of least terns and that it is a violation of state law to harass, harm, pursue,
                            hunt, shoot, wound, kill, trap, capture, or collect least terns or their eggs, or to attempt to
                            engage in such conduct. The Permittee shall place and maintain a bulletin board in the
                            project staging area with the location map of the construction site showing the bird
                            breeding areas and a warning, clearly visible, stating that “NESTING BIRDS ARE
                            PROTECTED BY LAW INCLUDING THE FLORIDA ENDANGERED AND
                            THREATENED SPECIES ACT AND THE STATE and FEDERAL MIGRATORY
                            BIRD ACTS”.
                       5.   No pedestrian traffic, operation of a vehicle, site preparation, staging, clearing, or other
                            project activities shall occur within the 300-foot (91-meter) nest buffer zone.
                       6.   If maintaining the required buffer is not possible or if least tern nesting is observed after
                            project activities have started, the permittee shall contact the FWC Regional Shorebird
                            Biologist, Alexis Cardas at 863-648-3828 or Alexis.Cardas@MyFWC.com, for more
                            information.
                       7.   Injury or mortality of a least tern, including crushing eggs or chicks, shall be immediately
                            reported to the FWC Wildlife Alert Hotline at (888) 404-3922.

                   Big Cypress Fox Squirrel
                       1. Within 60 days prior to commencing site preparation or clearing activities, surveys for
                          Big Cypress fox squirrel shall be conducted covering 100% of onsite suitable habitat
                          using the following methods.
                               a. If presence of Big Cypress fox squirrel is unknown, camera-trap surveys of all
                                    suitable habitat onsite shall be conducted by personnel knowledgeable about fox
                                    squirrels and fox squirrel nests. Surveyors shall ensure the use of appropriate
                                    bait to avoid attracting fire ants. Camera-trap stations shall be separated by 820
                                    feet (250 meters) and operated for a minimum of 8 days, with traps rebaited after
                                    4 days.
                               b. If Big Cypress fox squirrels are observed or are known to be present onsite,
                                    parallel or meandering pedestrian transects covering 100% of suitable habitat
                                    shall be conducted to locate nests.
                       2. If a tree is found to have Big Cypress fox squirrel nests, a buffer zone of 574 feet (175
                          meters) shall be demarcated around each tree.
                               a. The buffer zone shall be clearly visible to all personnel associated with the
                                    project. The permittee shall ensure that the perimeters of designated buffer zones
                                    are marked with posts and twine or other symbolic fencing and FWC-approved
                                    signs stating “Do Not Enter” around the perimeter.
                               b. Posts shall not exceed 4 feet in height once installed. Symbolic fencing,
                                    consisting of twine, string, or rope, shall be placed between all posts at least 2.5
                                    feet above the ground. The posting shall be maintained in good repair through
                                    the duration of project activities.
                               c. No activities shall occur within the 574-foot (175-meter) buffer zone around nest
                                    trees.
                               d. A nest shall be considered active regardless of appearance until it degrades to the
                                    point that it can no longer provide shelter.
                       3. All personnel associated with the project shall be advised of the presence of Big Cypress
                          fox squirrels and that it is a violation of state law to feed, harass, harm, pursue, hunt,
                          shoot, wound, kill, trap, capture, or collect Big Cypress fox squirrels, their young, and
                          nests, or to attempt to engage in such conduct.
         Case 1:21-cv-00119-RDM
Jonathan Guinn
                                       Document 149-2          Filed 01/12/24       Page 524 of 585
Page 17
November 6, 2023

                     4. Documentation of Big Cypress fox squirrel nesting in addition to incidental observations
                        of Big Cypress fox squirrel on the subject property shall be reported to FWC at
                        Imperiled@MyFWC.com.
                     5. If maintaining the required buffer is not possible or if removal of nest trees is required,
                        the permittee shall contact the FWC Protected Species Permit Coordinator at (850) 921-
                        5990 or WildlifePermits@MyFWC.com for information on permitting alternatives.
                     6. Injury or mortality of a Big Cypress fox squirrel shall be immediately reported to the
                        FWC Wildlife Alert Hotline at (888) 404-3922.
 Case 1:21-cv-00119-RDM          Document 149-2         Filed 01/12/24      Page 525 of 585




SPECIAL CONDITIONS

  1. Compliance with Project Commitments: As a condition of this permit, and for purposes
     of compliance with the Endangered Species Act and completion of technical assistance
     between the U.S. Fish and Wildlife Service (USFWS) and the Florida Department of
     Environmental Protection (FDEP), the Permittee has agreed to and will implement the
     following commitments for the Project.

     a. Location of Project Footprint and Preserved Lands: The Project totals 6,676.82± acres
        and is located in Sections 2, 3, 10, 11, 14, 15, 23-26, and 34-36; Townships 46 South;
        Range 27 East; and Section 35; Township 45 South; Range 27 East; Lee County.
        Development of the Project will require direct impacts to 12.87± acres of South Florida
        Water Management District (SFWMD) and FDEP wetlands and 133.42± acres of
        surface waters. Additionally, the Project will result in secondary impacts to 3.53± acres
        of wetlands.

     b. Wetland Mitigation: As required by FDEP condition, 4.57 wetland mitigation credits
        will be purchased from Corkscrew Regional Mitigation Bank (CRMB) for off-site
        wetland impacts within the Project. The CRMB wetland credits will be purchased
        before initiating construction on the Project site.

     c. Permanent Protection of Preserved Lands: As required by FDEP condition, permanent
        conservation easements will be placed on the on-site preservation lands before Project
        construction begins so that mitigation for listed species is achieved prior to Project
        impacts. The conservation easements will be recorded in phases, will run with the land,
        and will be held by Lee County with third-party beneficiary rights to the USFWS.

     d. Fish and Wildlife Foundation of Florida Fund Contributions: The Permittee will make
        contributions to the Fish and Wildlife Foundation of Florida Fund to be used to initiate
        and support conservation activities selected by the Fund’s Board of Directors.
        Conservation activities to be supported through expenditures from the Fund include
        such activities as the construction of wildlife crossings and fencing, habitat acquisition
        and restoration, corridor enhancement, public education and outreach focused on the
        importance of wildlife conservation, and scientific research relevant to species
        conservation. Contributions to the Fund will be made as follows.

        i.    Upon issuance of the FDEP permit, the Permittee will pay $350 per development
              acre (or approximately $1,186,150) to fund panther conservation and research.

        ii.   The Permittee will pay $200 per residential building permit at the date of building
              permit issuance (or approximately $2,000,000) and $200 per home resale.

     e. Additional Off-Site Contribution: Upon issuance of the FDEP permit the Permittee has
        voluntarily agreed to convey, via quitclaim deed to the National Audubon Society, Inc.,
        or its nominee which must be agreed to by the Service, those portions of the outstanding
        oil, gas, and mineral interests in Sections 16, 17, 20, 21, and 22; Township 47 South;



                                              1
Case 1:21-cv-00119-RDM          Document 149-2         Filed 01/12/24      Page 526 of 585




       and Range 27 East in Collier County located within and outside of the Corkscrew
       Swamp Sanctuary, pursuant to deed recorded in Official Records Book 2497, Page
       2505 of the Public Records of Collier County, Florida. The Service understands that
       this conveyance will contain appropriate reverter language if third-party litigation is
       filed that interrupts the activities that would otherwise be authorized by the Permit.

   f. Best Management Practices: The Permittee has committed to the following
      conservation measures and best management practices (BMPs).

       i.     Prescribed Fire and Smoke Notice: The Permittee will provide notice of the use
              of prescribed fire in the Kingston area. This notice will be provided and recorded
              in a manner such that initial and subsequent residents and owners will be made
              aware of the use of prescribed fire in the vicinity of the Kingston area to manage
              wildland fuels and maintain fire-adapted ecological communities within preserve
              areas. The following notice concerning the use of prescribed fire will be provided:

              “Periodic prescribed burning is a recognized land management tool and a
              recommended method of fuel management in Southwest Florida, including in the
              vicinity of the Kingston area, for minimizing wildfire hazards and maintaining
              healthy fire-adapted ecological communities. Homeowners will receive notice
              that prescribed burning may result in the periodic occurrence of temporary
              smoke and ash that drifts through developed areas.”

       ii.    Environmental Education and BMPs for Living with Wildlife: The materials
              contained in Appendices D through I of the Projects Protected Species
              Management & Human-Wildlife Coexistence Plan will be included with the
              Homeowners’ Association (HOA) documents for the Kingston community.
              Decisions regarding which educational materials and BMPs will be implemented
              within each community are left to the HOA and community residents, but the
              materials will be transferred to the developer and HOA.

       iii.   Securing and Vaccinating Pets: HOA and/or homeowners’ documents for the
              Kingston community will state that pets within the community be kept indoors,
              on a leash when outdoors, or kept within a securely covered kennel. Residents
              will be informed that vaccinating cats for the feline leukemia virus (FLV) can
              prevent disease transmission from house cats to Florida panthers. As there is no
              definitive cure for FLV, community-wide vaccination of all pet cats protects
              homeowners’ pets from illness, as well as preventing illness in Florida panthers.


2. Additional Best Management Practices: The Permittee will work with developers and
   HOAs to promote additional BMPs that will be implemented within the Project area, where
   appropriate, to minimize potential wildlife impacts and/or provide wildlife conservation
   benefits. BMPs that will be implemented at the Project are described below.




                                              2
Case 1:21-cv-00119-RDM         Document 149-2         Filed 01/12/24      Page 527 of 585




   a. Community Environmental Education: This University of Florida program promotes
      residential environmental education that engages homeowners in understanding and
      implementing natural resource conservation strategies. Research has demonstrated that
      engaging residents improves environmental attitudes, knowledge, and behaviors
      (Hostetler et al. 2008). http://www.buildgreen.ufl.edu/enveducation.htm

   b. Environmental Covenants, Codes, and Restrictions for HOAs: This publication
      provides sample language for developing HOA covenants, codes, and restrictions
      related to wildlife within residential development communities and environmental
      management                in          general         (Hoestetler         2006).
      http://edis.ifas.ufl.edu/pdffiles/UW/UW24800.pdf

   c. Landscaping: “Florida-Friendly Landscaping” promotes using native plants, efficient
      watering and fertilizing, xeriscaping, integrated pest management, and similar
      strategies to attract birds, butterflies, and beneficial insects to residential yards.
      http://www.floridayards.org/

   d. Community Lighting and “Dark Skies”: The mission of DarkSky International “is to
      preserve and protect the nighttime environment and our heritage of dark skies through
      environmentally responsible outdoor lighting.” Light pollution (the inappropriate use
      of light at night) can affect wildlife and ecosystems, human health, energy
      consumption, and the aesthetics of viewing the night sky. DarkSky International states,
      “A dark sky does not necessarily mean a dark ground. Smart lighting that directs light
      where it is needed creates a balance between safety and starlight.” The DarkSky
      International webpage (http://www.darksky.org/) provides links to numerous resources
      for planning and implementing appropriate outdoor lighting within
      residential/commercial developments. These resources include the use of five outdoor
      lighting zones within communities (http://www.darksky.org/lighting/model-lighting-
      laws-policy/recommended-lighting-zones/),          outdoor         lighting       basics
      (http://www.darksky.org/lighting/lighting-basics/), and practical guidelines for energy-
      efficient LED lighting (http://www.darksky.org/lighting/led-guide/). Implementing
      DarkSky-approved practices can reduce disturbances to wildlife within and adjacent to
      development areas. The Florida Wildlife Commission (FWC) maintains a “Wildlife
      Lighting” webpage that provides basic information and links to outdoor lighting
      resources (http://myfwc.com/conservation/you-conserve/lighting/).

   e. Living With Wildlife: The Permittee will employ and promote a series of community
      design elements that advance wildlife conservation and minimize the potential for
      human-wildlife interactions within development areas, especially for large mammals
      (e.g., Florida panther; bear; deer; feral hogs), nocturnal species (e.g., Florida bonneted
      bat), and species that may pose human health risks (e.g., Eastern diamondback
      rattlesnake). FWC has published educational brochures for HOAs and residents living
      in proximity to Florida wildlife species such as the Florida panther, black bear, and
      various      bats,   birds,     and     reptiles    (http://myfwc.com/conservation/you-
      conserve/wildlife/). Links for these wildlife brochures and/or webpages are as follows:




                                            3
Case 1:21-cv-00119-RDM          Document 149-2        Filed 01/12/24       Page 528 of 585




      i.     A Guide to Living with Florida Panthers
             (http://myfwc.com/media/152454/LivingWithPanthers.pdf)

      ii.    Florida Panther Safety Tips
             (http://myfwc.com/media/152457/PantherSafetyTipsFlyer.pdf)

      iii.   Florida’s BearWise
             (http://myfwc.com/wildlifehabitats/managed/bear/wise/ and www.bearwise.org)

      iv.    A Guide to Living in Bear Country
             (http://myfwc.com/media/1333887/LivinginBearCountryBrochure.pdf)

      v.     Living with Bats
             (http://myfwc.com/media/3031963/LivingWithBats.pdf)

      vi.    Sandhill Cranes
             (http://myfwc.com/conservation/you-conserve/wildlife/sandhill- cranes/)

      vii. Everglade Snail Kite
           (http://myfwc.com/media/152978/kitesbrochure.pdf)

      viii. A Guide to Living with Alligators
            (http://myfwc.com/media/152524/Alligator- Brochure.pdf)

      ix.    Getting Along with Snakes
             (https://www.floridamuseum.ufl.edu/herpetology/fl- snakes/gettingalong/)

      x.     A Guide to Living with Gopher Tortoises
             (http://myfwc.com/media/1329739/GopherTortoise_LivingWithBrochure.pdf)

      xi.    A Guide to Living with Urban Coyotes
             (http://myfwc.com/media/2675483/Living-With-Urban-Coyotes.pdf)

      xii. Plants for Birds. The National Audubon Society provides an online database for
           selecting native plant species (by zip code) that support bird species
           (http://www.audubon.org/plantsforbirds).


3. Management Plans for Specific Species: The Permittee will implement the following
   protection guidelines during and after Project construction.

   a. American Alligator

      i.     Signs will be posted to instruct on-site workers and community residents not to
             feed or harass the American alligator, and will indicate that to do so is punishable
             by law.



                                             4
Case 1:21-cv-00119-RDM          Document 149-2         Filed 01/12/24      Page 529 of 585




      ii.    Construction personnel and residents will be instructed that in the event there is
             a problem with a persistent nuisance alligator, they will need to contact FWC, as
             that is the only agency empowered to handle nuisance alligators.

      iii.   Extensive, high-quality American alligator habitat will be provided throughout
             the property through wetland preservation, enhancement, and restoration.
             Following enhancement activities, these conservation areas will serve as potential
             foraging and nesting habitat. Invasive exotic species removal will result in
             wetland preserves more suitable to alligators and their prey species. The
             conservation areas will be maintained per the Project’s Indigenous Preserve,
             Restoration, and Management Plan.

   b. Eastern Indigo Snake

      i.     The Permittee shall implement the U.S. Fish and Wildlife Service’s Standard
             Protection Measures for the Eastern Indigo Snake (SPM; Service March 23, 2021)
             during the construction of the Project and restoration of the conservation area.

      ii.    Informational brochures addressing the identification and conservation of the
             Eastern indigo snake will be provided to all construction staff.

      iii.   The conservation areas associated with the Project will be maintained per the
             Project’s Indigenous Preserve, Restoration, and Management Plan.

   c. Crested Caracara

      i.     Prior to conducting any clearing activities within 1,500 meters (4,920 feet) of any
             previously documented or newly discovered crested caracara nest site, the
             Permittee shall conduct a survey during the crested caracara nesting season
             (January 1 through April 30) to determine if the documented or discovered nest
             is active, and if other crested caracara nests are present. The survey area shall
             include potential nesting and foraging habitat within 4,920 feet (1,500 meters) of
             the identified caracara nest, including potential habitat located in land adjacent to
             the Project site that is under the Permittee’s ownership or neighboring areas where
             access is allowed.

      ii.    To minimize the potential for disturbance to nesting crested caracaras, the
             Permittee shall conduct land clearing activities outside the nesting season for
             areas that occur within the primary zone, 984 feet (300 meters), of any
             documented crested caracara nest site. Should it be necessary to conduct land
             clearing activities during the nesting season, land clearing within 984 feet (300
             meters) of any nest identified during the survey referenced above will not occur
             until monitoring has determined that the nest has been abandoned or chicks within
             the nest have fledged and left the nest site. Once the nest is empty, clearing that
             primary zone and nest tree can proceed in concert with condition no. iii.




                                             5
Case 1:21-cv-00119-RDM          Document 149-2        Filed 01/12/24       Page 530 of 585




      iii.   If construction activities are to occur within 984 feet (300 meters) of an active
             nest identified in the most recent nesting season, the Permittee shall conduct
             restoration of caracara nesting and foraging habitat on a scale equal to the portion
             of the breeding territory that is impacted by construction activities. Restoration
             activities will be conducted by restoring native dry or wet prairie with scattered
             cabbage palms or creating improved pasture and planting scattered cabbage
             palms. Restoration activities will occur on existing agricultural lands located
             within the Project site or on agricultural lands adjacent to the Project site under
             the Permittee’s ownership. The Permittee shall contact the USFWS’s Florida
             Ecological Services Office (FESO) at (772) 562-3909 for technical assistance and
             will notify the FWC at ConservationPlanningServices@MyFWC.com prior to the
             start of the construction activities and shall provide the location and extent of
             proposed restoration activities. Once restoration activities have been completed,
             the restored habitat will be maintained in perpetuity and managed in a state that
             supports the use of crested caracara. The Permittee shall report the final location
             and extent of the restored habitat to the FESO, the FDEP, and the FWC upon the
             completion of restoration activities.

   d. Florida Sandhill Crane and Other Wading Birds

      i.     Enhancement and restoration activities will be conducted within existing
             wetlands located within the conservation areas associated with the Project. These
             activities will include removing invasive exotic plants and installing
             supplemental plantings, resulting in more suitable habitats for wading bird
             foraging and roosting.

      ii.    The creation of flow-ways from existing agricultural lands, along with the
             creation of lakes and lake littoral zones as part of the Project, will provide
             foraging habitat for wading birds.

      iii.   Plans for the Project include wetland enhancement and restoration. These
             activities will convert agricultural and exotic plant-infested habitats to native
             wetland habitats. This restoration will also enhance sheet flow through the Project
             and restore significant areas of habitat for wildlife, including wading birds.

      iv.    The grading plan for the wetland restoration areas includes the establishment of
             wading bird foraging habitat by grading to varying depths to allow the
             concentration of prey for wading birds at alternating times of the year as water
             levels seasonally rise and recede.

      v.     Project residents and maintenance staff will be provided with a brochure titled
             “Wading Bird Informational Pamphlet,” prepared by Passarella and Associates,
             Inc. This brochure provides wading bird information and methods to prevent
             human-wading bird interactions. In addition, the brochure informs residents of
             the need to avoid disturbance around nesting colonies should a colony be
             identified on the property in the future.



                                             6
Case 1:21-cv-00119-RDM         Document 149-2        Filed 01/12/24      Page 531 of 585




   e. Florida Bonneted Bat and Tricolored Bat

      i.     The Permittee shall conduct a cavity tree and roost survey on the Project site
             within 30 days prior to the removal of trees, snags, or structures. When possible,
             trees, snags, and structures will be removed outside the breeding season (January
             1 through April 15 for Florida bonneted bat, May through July for tricolored bat).
             If evidence of use by either Florida bonneted bats or tricolored bats is observed,
             the tree removal will be discontinued, and the Permittee shall contact the FESO
             at (772) 562-3909 for technical assistance and will notify the FWC at
             ConservationPlanningServices@MyFWC.com.

      ii.    The Permittee shall maintain a 250-foot buffer around known or suspected
             Florida bonneted bat or tricolored bat roosts when using heavy equipment to
             minimize disturbance to roosting bats.

      iii.   The Permittee shall implement the preservation and enhancement of 1,173.58±
             acres of existing on-site wetlands to promote Florida bonneted bat and tricolored
             bat foraging and roosting opportunities. In addition, approximately 447± acres of
             wetland flow-way marsh will be created from existing agricultural lands,
             providing additional foraging habitat for the Florida bonneted bat and tricolored
             bat.

      iv.    The Permittee shall enhance riparian habitat by planting native vegetation along
             the lake shorelines (i.e., littoral zone plantings).

      v.     Widespread application of insecticides by the Permittee shall be avoided in areas
             where Florida bonneted bats or tricolored bats are known or expected to forage
             or roost.

      vi.    The Permittee shall plant native trees and shrubs within open spaces and buffer
             areas to promote insect diversity, availability, and abundance.

      vii. The Permittee shall retain mature trees and snags within the proposed
           Conservation Areas that could provide roosting habitat for Florida bonneted bat.

      viii. The Permittee shall implement DarkSky International lighting initiatives to
            minimize the use of artificial lighting and retain natural light conditions to the
            greatest extent practicable.

      ix.    The Permittee will implement prescribed fire as a management tool within
             Conservation Areas to promote foraging habitat for Florida bonneted bat and
             tricolored bat.




                                            7
Case 1:21-cv-00119-RDM         Document 149-2        Filed 01/12/24      Page 532 of 585




   f. Big Cypress Fox Squirrel

      i.     Prior to the commencement of clearing activities in the development area and
             removal of exotic trees within the preserve areas, a survey will be conducted by
             a qualified ecologist to identify potential Big Cypress fox squirrel nests. If
             potential nests are identified within the clearing limits or the preserve areas,
             observations will be conducted to determine if Big Cypress fox squirrels are
             utilizing the nests. The FWC will be notified of nests determined to be utilized
             by Big Cypress fox squirrels. Active nests will be temporarily protected from
             clearing by a 125-foot radius undisturbed buffer until juvenile fox squirrels have
             vacated the nest(s), as confirmed by a qualified ecologist. After the completion
             of nesting and observations document that juvenile fox squirrels have vacated the
             nest(s), a written request to remove the nest tree(s) will be made to the FWC.
             After receipt of the written authorization from the FWC, the nest tree and buffer
             can be cleared.

      ii.    The conservation areas associated with the Project will be enhanced and managed
             per the Project’s Indigenous Preservation, Restoration, and Management Plan and
             will provide foraging and nesting habitats for Big Cypress fox squirrels.

   g. Florida Black Bear

      i.     In order to deter the potential for interactions between humans and large
             mammals such as the Florida black bear, perimeter fencing will be utilized
             between the development and the conservation areas to deter large mammals from
             accessing the development areas.

      ii.    Kingston residents, community association managers, and maintenance staff will
             be provided with an educational brochure prepared by FWC, titled “A guide to
             living         in        bear           country,”        available         at
             https://myfwc.com/media/1891/livinginbearcountrybrochure.pdf.

   h. Florida Panther

      i.     As stated in 1.d. above, the Permittee will make contributions to the Fish and
             Wildlife Foundation of Florida Fund as follows:

      ii.    Upon issuance of the FDEP permit, the Permittee will pay $350 per development
             acre (or approximately $1,186,150) to fund panther conservation and research.

      iii.   The Permittee will pay $200 per each residential building permit at date of
             building permit issuance (or approximately $2,000,000) and $200 per each home
             resale.




                                            8
Case 1:21-cv-00119-RDM         Document 149-2         Filed 01/12/24      Page 533 of 585




      iv.   The Permittee will contribute approximately $20,000,000 to Lee County
            Proportionate Share for Corkscrew Road roadway improvements inclusive of
            pavement widening, flow-way culverts, and wildlife crossings.

      v.    The Permittee will, at its sole cost and expense, construct a large wildlife crossing
            along the four-lane spine road. This location will provide and preserve a wildlife
            movement corridor between conservation lands east and west of the property.
            Additionally, 12 small wildlife crossings shall also be constructed within the
            Project to maintain intra-preserve connectivity and hydrologic flow throughout
            the Project. The wildlife crossing locations are shown in the Project plans.

      vi.   The Permittee shall ensure that HOA and/or homeowners documents for the
            Kingston community state that pets within the community should be kept indoors,
            on a leash or supervised when outdoors in common areas, or secured within a
            covered kennel. Residents shall be informed that vaccinating cats for feline
            leukemia virus (FLV) can prevent disease transmission from house cats to Florida
            panthers. The Permittee shall ensure HOA and/or homeowners documents inform
            residents of the importance of community-wide vaccination of all pet cats for
            FLV since it protects homeowners’ pets from illness, as there is no definitive cure,
            and assists in preventing illness in Florida panthers.

      vii. Kingston residents, community association managers, and maintenance staff will
           be provided with an educational brochure prepared by USFWS and FWC, titled
           “A guide to living with Florida Panthers.” This brochure, which provides safety
           tips and instructions for panther encounters, is available at
           https://myfwc.com/media/3112/livingwithpanthers.pdf.

   i. Gopher Tortoise: Prior to commencing Project construction, a gopher tortoise survey
      will be conducted in accordance with FWC’s gopher tortoise permitting guidelines
      (FWC 2020) to identify potential gopher tortoise burrows within the construction area.
      If gopher tortoise burrows are identified, the Permittee will obtain the appropriate
      permit from the FWC for the relocation of the gopher tortoises.

   j. Florida Burrowing Owl: Prior to clearing activities, a survey will be conducted in the
      impact area and adjacent habitats for the presence of burrowing owl burrows. Inactive
      (i.e., contains no eggs or flightless chicks) nest burrows within the proposed impact
      area will be removed with an FWC permit and in accordance with State and Federal
      regulations. Nest burrows can generally be considered inactive from July 10 to
      February 15, although some nesting occurs as early as October each year. Between
      February 15 and July 10, burrows attended by one or more burrowing owls are
      considered active nests unless information is available to suggest otherwise (i.e., proof
      that young fledged from the nest prior to July 10). Burrows within the impact area that
      are determined to be active will be temporarily protected from clearing by a 50-foot
      radius of undisturbed buffer (staked and/or roped-off) until the young fledge, as
      confirmed by a qualified biologist. These burrows will then be removed with an FWC
      permit and in accordance with state regulations.



                                            9
Case 1:21-cv-00119-RDM         Document 149-2         Filed 01/12/24       Page 534 of 585




   k. Everglade Snail Kite: Impacts to potential Everglade snail kite foraging habitat will be
      offset through the implementation of the on-site wetland preservation and enhancement
      and the creation of the Project’s flow-ways, lake buffers, and stormwater management
      ponds, with associated littoral zones and native plantings. These activities will result in
      an increase in potential foraging habitat for the Everglade snail kite within the
      landscape and therefore is expected to have an incremental beneficial effect to the
      Everglade snail kite.




                                            10
  Case 1:21-cv-00119-RDM            Document 149-2        Filed 01/12/24      Page 535 of 585




  STANDARD PROTECTION MEASURES
   FOR THE EASTERN INDIGO SNAKE
     U.S. Fish and Wildlife Service
                                         March 23, 2021

The eastern indigo snake protection/education plan (Plan) below has been developed by the U.S.
Fish and Wildlife Service (USFWS) in Florida and Georgia for use by applicants and their
construction personnel. At least 30 days prior to any clearing/land alteration activities, the
applicant shall notify the appropriate USFWS Field Office via e-mail that the Plan will be
implemented as described below (North Florida Field Office: jaxregs@fws.gov; South Florida
Field Office: verobeach@fws.gov; Panama City Field Office: panamacity@fws.gov; Georgia
Field Office: gaes_assistance@fws.gov). As long as the signatory of the e-mail certifies
compliance with the below Plan (including use of the attached poster and brochure), no further
written confirmation or approval from the USFWS is needed and the applicant may move
forward with the project.

If the applicant decides to use an eastern indigo snake protection/education plan other than the
approved Plan below, written confirmation or approval from the USFWS that the plan is
adequate must be obtained. At least 30 days prior to any clearing/land alteration activities, the
applicant shall submit their unique plan for review and approval. The USFWS will respond via
e-mail, typically within 30 days of receiving the plan, either concurring that the plan is adequate
or requesting additional information. A concurrence e-mail from the appropriate USFWS Field
Office will fulfill approval requirements.

The Plan materials should consist of: 1) a combination of posters and pamphlets (see Poster
Information section below); and 2) verbal educational instructions to construction personnel by
supervisory or management personnel before any clearing/land alteration activities are initiated
(see Pre-Construction Activities and During Construction Activities sections below).

POSTER INFORMATION
Posters with the following information shall be placed at strategic locations on the construction
site and along any proposed access roads (a final poster for Plan compliance, to be printed on 11
x 17in or larger paper and laminated, is attached):

DESCRIPTION: The eastern indigo snake is one of the largest non-venomous snakes in North
America, with individuals often reaching up to 8 feet in length. They derive their name from the
glossy, blue-black color of their scales above and uniformly slate blue below. Frequently, they
have orange to coral reddish coloration in the throat area, yet some specimens have been
reported to only have cream coloration on the throat.
  Case 1:21-cv-00119-RDM           Document 149-2        Filed 01/12/24      Page 536 of 585




These snakes are not typically aggressive and will attempt to crawl away when disturbed.
Though indigo snakes rarely bite, they should NOT be handled.

SIMILAR SNAKES: The black racer is the only other solid black snake resembling the
eastern indigo snake. However, black racers have a white or cream chin, thinner bodies, and
WILL BITE if handled.

LIFE HISTORY: The eastern indigo snake occurs in a wide variety of terrestrial habitat types
throughout Florida and Georgia. Although they have a preference for uplands, they also utilize
some wetlands and agricultural areas and often move seasonally between upland and lowland
habitats, particularly in the northern portions of its range (North Florida and Georgia). Eastern
indigo snakes will often seek shelter inside gopher tortoise burrows and other below- and above-
ground refugia, such as other animal burrows, stumps, roots, and debris piles. Reliance on xeric
sandhill habitats throughout the northern portion of the range in northern Florida and Georgia is
due to the dependence on gopher tortoise burrows for shelter during winter. Breeding occurs
during October through February. Females may lay from 4 - 12 white eggs as early as April
through June, with young hatching in late July through October.

PROTECTION UNDER FEDERAL AND STATE LAW: The eastern indigo snake is
classified as a Threatened species by both the USFWS and the Florida Fish and Wildlife
Conservation Commission. Taking of eastern indigo snakes is prohibited by the Endangered
Species Act without a permit is defined by the USFWS as an attempt to kill, harm, harass,
pursue, hunt, shoot, wound, trap, capture, collect, or engage in any such conduct. Penalties
include a maximum fine of $25,000 for civil violations and up to
$50,000 and/or imprisonment for criminal offenses, if convicted.

Only individuals currently authorized through an issued Incidental Take Statement in
association with a USFWS Biological Opinion, or by a Section 10(a)(1)(A) permit issued by the
USFWS, to handle an eastern indigo snake are allowed to do so.

                 -
IF YOU SEE A LIVE EASTERN INDIGO SNAKE ON THE SITE:

   •   Cease clearing activities and allow the live eastern indigo snake sufficient time to move
       away from the site without interference;
   •   Personnel must NOT attempt to touch or handle snake due to protected status.
   •   Take photographs of the snake, if possible, for identification and documentation
       purposes. Â
   •   Immediately notify supervisor or the applicants designated agent, and the
       appropriate USFWS office, with the location information and condition of the
       snake.
   •   If the snake is located in a vicinity where continuation of the clearing or construction
       activities will cause harm to the snake, the activities must halt until such time that a
       representative of the USFWS returns the call (within one day) with further guidance as
       to when activities may resume.
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 537 of 585



IF YOU SEE A DEAD EASTERN INDIGO SNAKE ON THE SITE:
   • Cease clearing activities and immediately notify supervisor or the applicants
     designated agent, and the appropriate USFWS office, with the location information
     and condition of the snake.
   • Take photographs of the snake, if possible, for identification and documentation
     purposes.
   • Thoroughly soak the dead snake in water and then freeze the specimen. The
     appropriate wildlife agency will retrieve the dead snake.

Telephone numbers of USFWS Florida Field Offices to be contacted if a live or dead
eastern indigo snake is encountered:

North Florida Field Office: (904) 731-3336
Panama City Field Office: (850) 769-0552
South Florida Field Office: (772) 562-3909
Georgia Field Office: (706) 613-9493

PRE-CONSTRUCTION ACTIVITIES
1. The applicant or designated agent will post educational posters in the construction office
and throughout the construction site, including any access roads. The posters must be clearly
visible to all construction staff. A sample poster is attached.

2. Prior to the onset of construction activities, the applicant/designated agent will conduct a
meeting with all construction staff (annually for multi-year projects) to discuss identification of
the snake, its protected status, what to do if a snake is observed within the project area, and
applicable penalties that may be imposed if state and/or federal regulations are violated. An
educational brochure including color photographs of the snake will be given to each staff
member in attendance and additional copies will be provided to the construction superintendent
to make available in the onsite construction office (a final brochure for Plan compliance, to be
printed double-sided on 8.5 x 11in paper and then properly folded, is attached). Â Photos of
eastern indigo snakes may be accessed on USFWS and/or FWC or GADNR websites.

3. Construction staff will be informed that in the event that an eastern indigo snake (live or
dead) is observed on the project site during construction activities, all such activities are to
cease until the established procedures are implemented according to the Plan, which includes
notification of the appropriate USFWS Field Office. The contact information for the USFWS is
provided on the referenced posters and brochures.

DURING CONSTRUCTION ACTIVITIES
1. During initial site clearing activities, an onsite observer may be utilized to determine whether
habitat conditions suggest a reasonable probability of an eastern indigo snake sighting
(example: discovery of snake sheds, tracks, lots of refugia and cavities present in the area of
clearing activities, and presence of gopher tortoises and burrows).
  Case 1:21-cv-00119-RDM            Document 149-2         Filed 01/12/24      Page 538 of 585




2. If an eastern indigo snake is discovered during gopher tortoise relocation activities (i.e.
burrow excavation), the USFWS shall be contacted within one business day to obtain further
guidance which may result in further project consultation.

3. Periodically during construction activities, the applicants designated agent should visit the
project area to observe the condition of the posters and Plan materials, and replace them as
needed. Construction personnel should be reminded of the instructions (above) as to what is
expected if any eastern indigo snakes are seen.

POST CONSTRUCTION ACTIVITIES
Whether or not eastern indigo snakes are observed during construction activities, a monitoring
report should be submitted to the appropriate USFWS Field Office within 60 days of project
completion. The report can be sent electronically to the appropriate USFWS e-mail address
listed on page one of this Plan.
                    Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 539 of 585




                                                              ATTENTION
                                              Federally‐Threatened Eastern Indigo
                                              Snakes may be present on this site!
                                               Killing, harming, or harassing eastern indigo
                                              snakes is strictly prohibited and punishable under
                                                           State and Federal Law.

If you see a LIVE eastern indigo snake on the site:
   • Do NOT attempt to touch or handle the snake. Stop land disturbing activities and allow the snake
     time to move away from the site without interference.
   • Take photographs of the snake, if possible, for identification and documentation purposes.
   • Immediately notify supervisor/applicant, and a U.S. Fish and Wildlife Service (USFWS) Ecological
     Services Field Office,with the location information and condition of the snake.
   • If the snake is located near clearing or construction activities that will cause harm to the snake, the
     activities must pause until a representative of the USFWS returns the call (within one day) with
     further guidance.
If you see a DEAD eastern indigo snake on the site:
   • Stop land disturbing activities and immediately notify supervisor/applicant, and a USFWS
     Ecological Services Field Office, with the location information and condition of the snake.
   • Take photographs of the snake, if possible, for identification and documentation purposes.
   • Thoroughly soak the dead snake in water and then freeze the specimen. The appropriate wildlife
     agency will retrieve the dead snake.

DESCRIPTION. The eastern indigo snake is one of the largest non-venomous snakes in North America,
reaching up to 8 ft long. Named for the glossy, blue-black scales above and slate blue below, they often
have orange to reddish color (cream color in some cases) in the throat area. They are not typically
aggressive and will try to crawl away when disturbed.
SIMILAR SPECIES. The black racer resembles the eastern indigo snake. However, black racers have a
white or cream chin, thinner bodies, and WILL BITE if handled.
LIFE HISTORY. Eastern indigo snakes live in a variety of terrestrial habitat types. Although they prefer
uplands, they also use wetlands and agricultural areas. They will shelter inside gopher tortoise burrows,
other animal burrows, stumps, roots, and debris piles. Females may lay from 4 to 12 white eggs as early
as April through June, with young hatching in late July through October.

PROTECTED STATUS. The eastern indigo snake is protected by
the USFWS, Florida Fish and Wildlife Conservation                          Please contact your nearest USFWS
Commission, and Georgia Department of Natural Resources.                   Ecological Services Field Office if a
Any attempt to kill, harm, harass, pursue, hunt, shoot, wound,             live or dead eastern indigo snake is
trap, capture, collect, or engage eastern indigo snakes is                 encountered:
prohibited by the U.S. Endangered Species Act. Penalties
include a maximum fine of $25,000 for civil violations and up to           Jacksonville, FL, (904) 731‐3336
$50,000 and/or imprisonment for criminal offenses. Only                    Panama City, FL, (850) 769‐0552
authorized individuals with a permit (i.e., Recovery [l0alA] or            Vero Beach, FL, (772) 562‐3909           U.S.
HCP ITP [l0alB]), or an Incidental Take Statement associated               Athens, GA, (706) 613‐9493         FISH & WILDLIFE
                                                                                                                  SERVICE

with a USFWS Biological Opinion may handle an eastern
indigo snake.
                           Case 1:21-cv-00119-RDM     Document 149-2      Filed 01/12/24   Page 540 of 585



If you see a LIVE eastern indigo snake        If you see a DEAD eastern indigo snake        Description. The eastern indigo snake is one
                                              on the site:                                  of the largest non-venomous snakes in North
on the site:
                                                                                            America, with individuals often reaching up to
                                                                                            8 feet long. They derive their name from the
   •   Cease clearing activities and allow       •   Cease clearing activities and
                                                                                            glossy, blue-black color of their scales above
       the eastern indigo snake sufficient           immediately notify the supervisor
                                                                                            and uniformly slate blue below. They often
       time to move away from the site               or designated applicant/agent, and
                                                                                            have orange to reddish coloration in the
       without interference.                         the USFWS Field Office (see            throat area, yet some may only have cream
   •   Personnel must NOT attempt to                 below for contact information),        coloration on the throat. These snakes are not
       touch or handle snake due to                  with the location and condition of     typically aggressive and will attempt to crawl
       protected status.                             the snake.                             away when disturbed. Though indigo snakes
   •   Take photographs of the snake, if         •   Take photographs of the snake, if      rarely bite, they should NOT be handled.
       possible, for identification and              possible, for identification and
       documentation purposes.                       documentation purposes.                 Similar Species. The black racer is the only
   •   Immediately notify supervisor or          •   Thoroughly soak the dead snake in       other solid black snake resembling the
       the applicant's designated agent,             water and then freeze the specimen.     eastern indigo snake. However, black racers
                                                     The appropriate wildlife agency         have a white or cream chin, thinner bodies,
       and the appropriate U.S. Fish and
                                                     will retrieve the dead snake.           and WILL BITE if handled.
       Wildlife Service (USFWS) office,
       with information regarding the
                                                                                            Life History. The eastern indigo snake
       location and condition of the snake.   USFWS Ecological Services Field Offices
                                                                                            occurs in a variety of terrestrial habitats.
   •   If the snake is in a vicinity where    to be contacted if a live or dead eastern
                                                                                            Although they prefer uplands, they also use
       clearing or construction activities    indigo snake is encountered:                  wetlands and agricultural areas. Eastern
       will cause harm to the snake, the                                                    indigo snakes will often take shelter inside
       activities must be paused until a      Jacksonville Office: (904) 731-3336           gopher tortoise burrows and other below- and
       representative of the USFWS            Panama City Office: (850) 769-0552            above-ground refugia, such as other animal
       returns the call (within one day)      Vero Beach Office: (772) 562-3909             burrows, stumps, roots, and debris piles.
       with further guidance as to when       Georgia Office: (912) 403-1873                Females may lay from 4 to 12 white eggs as
       activities may resume.                                                               early as April through June, with young
                                                                                            hatching in late July through October.
                            Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 541 of 585




                                                                                               ATTENTION:
Killing, harming, or harassing indigo
snakes is strictly proh'ibited and
pimishable under State and Federal
Law.                                                                                         THREATENED EASTERN
Only individuals currently authorized to
                                                                                            INDIGOSNAKES    MAYBE
handle an eastern indigo snake through                                                      PRESENT ON THIS SITE!
an issued Incidental Take Statement in
association with a USFWS Biological
Opinion, or by a Section lO(a)(l)(A)
permit issued by the USFWS, are allowed
to do so.

Legal Status. The eastern indigo snake
is classified as a Threatened species by
both the USFWS and the Florida Fish
and Wildlife Conservation Commission.
"Taking" of eastern indigo snakes is
prohibited by the Endangered Species                                                                     Photo: Dirk Stevenson

Act without a permit. "Take" is defined by
the USFWS as an attempt to kill, harm,
harass, pursue, hunt, shoot, wound, trap,
                                                                                             Please read the following
capture, collect, or engage in any such
                                                                                         information provided by the U.S.
conduct. Penalties include a maximum
fine of $25,000for civilviolations and up to
                                                                                            Fish and Wildlife Service on
$50,000 and/or imprisonment for criminal                                                 standard protection measures for
offenses, if convicted.                                                                       the eastern indigo snake.
                                Case 1:21-cv-00119-RDM               Document 149-2         Filed 01/12/24
                                                                                           SPECIES            Page
                                                                                                   CONSERVATION    542 ofAND
                                                                                                                MEASURES  585PERMITTING GUIDELINES
                                                                                           SPECIES CONSERVATION MEASURES AND PERMITTING GUIDELINES


State-Threatened Wading Bird Ranges, Breeding Seasons, and Recommended Survey Dates, by Zone
  Portion of range used by all species for breeding and foraging                  Portion of range used by tricolored heron and little blue heron for breeding and
                                                                                  foraging, roseate spoonbill for foraging, and (coast only) reddish egret for foraging

                                                                                                               Central Zone
                                                                                                                       Species           Breeding          Survey
                                                                                                               Tricolored heron       Mar - Aug        Apr 15 - Jun 31
                                                                                                               Little blue heron      Mar - Aug        Apr 15 - Jun 31
                                                                                                               Roseate spoonbill      Feb - Aug        Feb 15 - Apr 31
                                                                                                               Reddish egret          Feb - Aug        Mar 1 - Apr 31
                                                             North
       North Zone
               Species              Breeding            Survey
       Tricolored heron         Late Mar - Aug      May 1 - Jun 31
       Little blue heron        Late Mar - Aug      May 1 - Jun 31
       Roseate spoonbill        Feb - Jul           Mar 1 - May 31
       Reddish egret            Late Mar - Aug      May 1 - Jun 31
                                                                                                                          Central




       South Zone
               Species             Breeding             Survey
       Tricolored heron         Feb - Aug           Mar 1 - Jun 31
       Little blue heron        Feb - Aug           Mar 1 - Jun 31
       Roseate spoonbill        Nov - Feb¹          Dec 1 -Feb 28
       Reddish egret            Oct - May²          Dec 1 - Mar 31
                                                                                                                              South
       ¹ Can be year-round in Florida Bay and the Florida Keys
       ² Can extend as late as June in Florida Bay



Figure 1. Breeding season dates and recommended survey dates for state-Threatened wading birds in different zones of Florida (Cook 2013, 2014, 2016; Cook and Baranski
2017, 2018; Cook and Kobza 2010, 2011, 2012; Smith and Duvall 2017; Anderson 2018; personal communications with G. Anderson, V. Doig, J. Lorenz, A. Paul, K. Smith, M.
van Deventer, R. Zambrano).
     FLORIDA FISH AND WILDLIFE CONSERVATION COMMISSION                                                                                                          2
     FLORIDA FISH AND WILDLIFE CONSERVATION COMMISSION                                                                                                          2
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 543 of 585




                   Attachment I
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 544 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 545 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 546 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 547 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 548 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 549 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 550 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 551 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 552 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 553 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 554 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 555 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 556 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 557 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 558 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 559 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 560 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 561 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 562 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 563 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 564 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 565 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 566 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 567 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 568 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 569 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 570 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 571 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 572 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 573 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 574 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 575 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 576 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 577 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 578 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 579 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 580 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 581 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 582 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 583 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 584 of 585
Case 1:21-cv-00119-RDM   Document 149-2   Filed 01/12/24   Page 585 of 585
